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                            COMPLAINT AND DEMAND FOR JURY TRIAL
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                          EXHIBIT A
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                                                                                                                     6961 Cintas Blvd
                                                                                                                     Mason, OH 45040

                   TRUCK LEASING, INC.                                                                               800-766-2874
                                                                                                                     www.bushtrucks.com
                                                                       LEASE AGREEMENT
                       Contract Date:            f   ~   I    5 · )..,.._, / S-                           Lease ID No.            CLBC8712


Individual Legal Name(if applicable)~
Company Legal Namefrf applh:.able):      Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Sujte 205
City:Na1ional OtyState:CA       Zip: 91950
ii')i;J1'f,'f"]~~~\sr::~ttt;,:;;i;f,•~lB·~'1;'1E&2'.2S1filh'f"J('f"!!:i'.::u:;ci':'i'!'1fiiliPMENr::'.G•'.)I':;; -···: , . • ,,, ,., •.. :S'.".~'-''~7SS0Y'C?-•:c';',:;c'i•··
V..ebicle Year
 .   '                                                                                                                             1FUJGLBG7CLBC8712 /
2012
         Refer to Sc.hedule J of this                        emmtfor Equipment d         ·is in     e)•ent that no Equip ent inf(JrlfU1Jion app~bove
;-;;,,;iXi'.i\'·iH•!/ :i·;'c(,::?f<;:13jq{i,:±0/~H'i%!.\i8iii:!i'ifSIJMMAAY,'Oii"i:i:AsEiTERMS{i:Uii·i•!•!ii·-•:<;•:;::::;;;::L:~:;o-'01":/•;;";:···;'i': .;::
Commencement                 Initial     e.ntal Periods         Tobtal of   Do"l'\·o       Advance        Basic Rent         Doc Fee         Security       End of Term
Date & lst Bllsic            Term                              um er      Payment+           or            (without                          Deposit          Option
  Rent Date                                                   Payments Ta~es at            Arrears          Taxes)
                                                                           Closing
 ? - I · ·;,...~ i-:; 36   MONTHLY                               36        Sl,S00.00       .Arrears        $2,036.67         $400.00           $0.00            TRAC
Cf - /. d--,..:.J) MONTHLY
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be S:Z.6,300.00

     THlS LEASE AGREEMENT ("Lease'') is                  h~      entered into as of the Contract Date above by and between BUSH TRUCK LEASING. ENC.
     (..Lessoi"), .imd LESSEE referenced above.                                             ·

                   I. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, 1he Equipment described he:re:in, together
     with all   repfacem~ts.,repairs and additions thoreto {indi\·idoatly and coUeaively, the ..Vehicles") on 1he terms und conditions set forth ln this Lefl3~
     Lessee agrees that Lessee leases the Vehicles ..as-is''. and confirms thflt as of the date of delivery of each Vc.hicle, such Vehicle is of the design Md
     manufacture selected by Lessee, and HS of such date, Les!i:ee has uncondiiion11Jly accepted s.uch Vehicles in .all respcuts. Lessee further oonfinns thll.l it
     has selected the Vehicles on the basis of its own judgment. and expressJy disc:lalms reliance upon any statements., rcprcscnta.Uons, oEYt1II11ntics made by
     Lessor~ and Lessee acknowledges that Lessor is not tlte manufacturer of the Vehicles Lessee certifies that the Vehicles identified herein wm be used for
     commercial purposes.
                  2. INITIAL TERM. The tenn of this Lease for each Vehicle shall commence on the Contract Date and shall continue for thfrt number of
     rnonths from the first (lst) day of the month following the Contract Date {unless the Contract D11te is the first {1st) day of the month,. in which case th!i!
     Contract Dat~ shall be the d.Eite on which the term of this Lease commences.) rcomrnencement Date"'} each as se1 forth in the Summary of Lease Terms
     (such period as extended or sooner terminated by Lessor as provided herein, the-Term").
                   3, RENT, The rental payment amount for each Vehicle herelmdcr (the "Basic Rent") is set forth in the Summary of Lease Terms, Basic
     Rent on each Vebfole shall begin to H.CCTUe on the Contract Date and shall he due and payable in U.S. dollars in immediately available funds by Lessee
     in advance or arreara for the periods (each a "Rental Period") and for the total number of payments as set forth in the Summery or Lease Terms. in each
     case, on the first day of each such Rental Period. If the Contract Date does not fall on the first day of the month. the ~tal for that period of time from
     the Contract Date until the Commencement Date shall be an arriount equal to tht: daily rental (Basic Rent divided by 7 day:; for One Weck, 14 days for
     One Bi:wceldy and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Date to
     (but not including) the Commencement Thrte and shall be due and pay11ble on the Commencement Date. Lessee shall pay all amounts other than Basic
     Rent Lessee is obligated to pay herc\mder {the "Stipplememat Rent" and iogeiher with Basic Rent., the "Rent") when due or if no dale is specified
     herein, on demand. 1f any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal lO the lesser of 10% of
     the lme rental payment amount, and the maximum amount permitted by law, LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
     OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDITJONAL AND WITHOUT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
     WHATSOEVER, INCLUDING, BUT NOT LIMITED TO, ANY RIGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE
     AGAINST LESSOR, ANY OF LESSOR'S AFFJLlATES, ANY ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF THE VEHICLES FOR
     ANY REASON WHATSOEVER, SPECIFICALLY INCLUDING, WITHOUT LIMITATION, ANY CLAIMS THAT LESSEE MAY HA VE AGAINST
     LESSOR, ANY OF LESSOR'S AFFILIATF.S, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SF.RVlCF. AND MAfNTENANCE
     AGREEMENT REFERENCED fN SECTION 7 HEREOF.
                   4. OPTION UPON EXPiltA'110N OF 1Nn'IAL TERM OF LEASE. Upon expiratiori of the Initial Tenn of the Lease, Lessee shall
     comply Vl'ith the provisions ofClauso A or B below, in either case, as spe-cified in the Summary of Lease Terms

                        A.        Terminal Rental Adjustment Clause ("TRAC''). Lessee agrees thf!.t there shall be an adjustment of the Rent to be paid
                                   Lessor under the Lease for the Vehicles, It is presently antioiplltcd that the fair market value of the Equipment (the
                                   ..Estimated Fair Market Value~') will equal the TRAC Residual set fortb in the Summary of Lease Terms. Upon



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                                                                                                                                                                                Exhibit A
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                           expi:ration of the Initial Term, Lessor will aUempl to selJ the EquipmeDt. Jn the event that the Net Proceeds (as defined belov.'.)
                           are less than the Estimated Fair Market V.alue, Lessee shall pay to Le!sor the full amount of such shortfall If the Equipment
                           has not been sold on the last day of the Initial Term, then the Net Proceeds shall be deemed to be zero and Lessee shall
                           immediately pay to Lessor the TRAC Residual. lf the Lessor thereafter shall sell the Equipment, the Net Proceeds shall be
                           paid by Lessor to Lessee. Any such payment by either Lessee or Lessor sbll.11 be deemed to be a Terminal Rental Adjusbncnt
                           with respect to the Vehicles. As used herein, "Net Pro:ceeds" shall mean the proceeds received by Lessor, after deducting (l}
                           all costs and expenses incurred in connection with the recovery, repair, storage, and sale of the Vehicles, including any and all
                           attorneys' fees and legal expenses, (ii) all late charges and all interest accrued at the Default Rate (as hereinafter defined), and
                           (iii) aJI rent payments and other obligations of Lessee due and unpaid under the Lewe as of the date of the sflle or dispo-sition.
                           As lo eaclt Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment ufter
                           expiration of the friitie1 Tenn are less than the TRAC Residua! amount for such Equipment as set forth in the Summary of
                           Lease Terms, then Lessee shall immediately pay to Lessor the amount of such deficiency as additional Rent hereunder. If the
                           Net Proceeds are in excess of the TRAC Residual amount, then l 000/a of such excess shall be returned to Lessee as a reduction
                           in the Rent for SllCh Equipment, provided. however, that Lessor shall be entitled to retain all or any portion of such amount to
                           satisfy any of Lessee's obligations under the Lease

                            Lessee hereby certifies, under penalty of perjury, that
                 (i)   Lessee intends: that more than 50% of the use of the Equipment subject to this TR./\C is to be used in a trade or business of the
                          Les.,.,,
                 (ii) Lessee has been advised by tax counsel or other tax advisor, and
                 (iii) Lessee understands and agrees that. Lessee will not be treated as the owner of the Equipment identified above for federal income
                          tax purposes.

                  B.         $1.00 :Buyout. Lessee hereby unconditionally agrees to purchase all, but not less than all, ofthe Equipment for $1.00 upon
                           expiration of the lnitial Term of the Lease. Lessee and Lessor ~ that Lcss.ee is owner of the Equipment and shall file and
                           pay all license, registmtion f'ecs, and documentary, saJe and use taxes, and personal property taxes end all Other ll:IXCS, fees and
                           charges relating to the ownership, leasing, rental, sale, purchase, possessk>n or use of the Equipment

                   With respect to any option upon expiration of the Initial Term of the Lca!ie set forth herein, if wrilten notice of Lessee's intention to
                   exercise such elected option is not received on a timely basis, then such :failure shall constitute an Event of Default, end to the exlent
                   that the Lessee fails Jo return to Lessor the Equipment in accordance with Section 1 hereof, Lessee agrees to pay a daily rental fee
                   equal tD 150% of the daily Rent for each day that the Equipment is retained by Lessee; provided, however, such payments shall no\
                   extend Lessee's right to llRVC and use the Equipment beyond the Initial Term of the Lease as provided herein. Upon exercise of the
                   option elected by Lessee and payment in :fu11 by Lessee of any related purchase amounts and a.JI Rent, Lessor will e~oute and deliver
                   to Lessee the title to the Vehicles, and any other documentation necessary to transfer title to Lessee.. THIS SALE WfLL BE
                   WJTHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHEIBER EXPRESS OR IMPLIED IN
                   FACT OR LAW and, Les!ice will &Loept the Vehicles" AS IS" :and ''WHERE IS".

               5. TAX INDEMNIFICATION. Except to the extent Se-otion 4B is applicable upon expiration at the Initial Term, it is understood and
agreed that Lessor is ov.11er of the Equipment and lhat Lessor shalt be entitled to such tnx benefits that are available as owner of the Equipment through
depreciation of the total capitalized cost of the Equipment thereof for federal income ta:x purposes:, In the event that Lessor suffers any loss,
disa1lowance, unavailability, or recapture of such depreciation for any reason whatsoever, then, after written notice tbcreofby Lessor to Lessee, Lessee
shall pay to Lessor an .additionaJ incremental amount payable Oil each date that the Basic Rent is thereafter due, which in the. opinion of Lessor, will
cause Lessor's net aft.er-tax annual cash flow and net after-tax rate ofretum rospcctivcly, that would have been available if Lessor had been entitled to
full utilization of the depreciation. In the event that any payment is required to be made pursuant to this Section 5, and sucfJ. paymenl is to be made on
Bucceeding rent paymmt dates, but at such time this Lease shall have been 1cnninat.cd or Rent otherwise no longer shall be due and payable on the
remaining rent payment dates, Lessee shall promptly pay Lessor any amount equal to the incren1ental increase in Basic Rent which would have be.en
required if such tax: Joss had occurred immediately prior to tlw lest rent.el payment date on or prior to the expiration or other 1ennination of the Lease.
Lessor shall promptly notify Lessee of the commencement of any proceeding by the Internal Revenue Service in respect of MY item as to which
indemnity is sought hereunder, Lessee's agreement to pey any sums which may become payable pursuant to this Section 5 shall survive the expiration
or other termination of this Lease.
               6. USE OF VEHICLES. Lessee shall use the Vehicles on1y in its business and in compliance wi1b all laws, rules, and regulalions of any
jurisdiction where the Vehicles are used or located Lessee represents and >Varrants to Lessor et all times that (i) Lessee has !he right and ability to enter
into this Lease; (ii) this Lease constitutes a valid, legal, .and binding obligation and agreement of Lessee, enforceable against Lessee in accordance with
its terms; and (iii) that the entering into and performance of this Lense by Lessee will not result in a breach. violation, or default under any judgment,
order, law, regulation, loan, mortgage, agreement, indenture, or other iJlstrument applicable lo Lessee, or result in any breach of, or constitute a default
under, or result ln the creation of any lien, charge, security interest. or other encumbrance upon the Vehicles pursuant to .any instrument to whicJ:i. Lessee
is a party or by which it is bound. Lessee shall (i) use and operate the Vehicles in a careful and prudent manner for tbe purposes and in the manner
intended to be use~ (ii) shatl keep the Vehicles properly housed or otherwise prolected from damage; and (iii) shall pay for all maintenance of Vehicles
to keep them in good and efficient working order and condition during the Tenn of the Lease, including, but is not limited to, Lessee's supplying all
fuel, lubricants, and· other parts, supplies, maintenance end services, and/or Le:ssec, upon Lessor's request, entering into a service and n"W.intennnce
agreetnet1t with Lessor or an a.IlIJiate of Lessor upon such terms and conditions provided by Lessor. After notice to Lessor, Lessee may, ft.1. ii£ O\\'Jt
expense, make alterations or add attachments to the Vehicles, provided that such alterations or attachments arc removable and do not reduce the value,
utility or useful life of the Vehicles. Upon the expiration or termination of the Lease, all alterations or 111.tachments affixed to the Vehicles shall become
the property of Lessor if not removed, and jf Lcssee does remove such attachments, Lessee shaJI be liable to Lessofor any damage to the Vehicles as the
result of so.ch rcmo\·al. ln the event that any mdernl, state, or local law, ordinance, rule or regulation shall require the installation of any additional
accessories to any of the Vehicles, including, but not limited ta, antiwpoUution and/or safety devices, or in lhe event that any other modifications to the
Vehicles shall be required by virtue of such law, ordinence, rule or regulation, then and in any of such events, Lessee shall pay the full cost thereof,
inchJding installatiOfJ expenses. I~essor may, et its option, ammge for lhe installation of such Vehicles or the perfonnanae of such modifications, and
Lessee agrees to pay the full cost thereof immediately upon receipt of an invoice for the same
               7. SURRENDER. Upon either the {j) failure by Lessee to exercise any purchase option for any Vehicle set forth herein., or (ii) upon
demand by Le!isor made pursuant to an Event of Default (as set forth in Section 19 hereof), Lessee shall, at its own expense, return such Vehicle to

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                                                                                                                                                                  Exhibit A
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Lessor to such location within the continental United States es Lessor shall designate, in the same condition as when delivered, reasonable wear and tenr
except~ and otherwise     in the condition required by this Lease Upon ret'um of thf.': Vehicles, Lessor, or such entity desigmrted by Lessor, shall perfonn a
physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated with the inspection. and
fur rmy and all repairs necessary to place the Vehicles in the same condition as when delivered, reasonable wear and tear excepted and otherwise in the
condition required by this Lease.
              8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manm~r and affix advertising or identifying insignia. provided that,
upon the expiraLion or termination of this Leese, and in the event that Lessee does not purchase the Vehicles pursuant to Section 4.B hereof, Lessee
shall. upon the request of Lessor and at Lessees expense. restore the Vehicles to original condition, ordim11y wear and tear excepted
              9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LGSSOR HAS NOT MADE. AND SHA!.l. NOT BE
DEI!MllD TO HAVE MADE, ANY EXPRESS OR IMPLIED WARRANTY AS TO MERCHANT ABILffY, FITNESS FORANY PURPOSE OR USE,
DESIGN OR CONDITION OF VEHICLES. QUALITY OF MATERIAL OR WORKMANSHIP, OR AS TO ANY OTHER MATIER WHATSOEVER
RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAi.. INCIDENTAL, OR
PUNrrJVE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE l1IB VEHICLES, OR ANY INADEQUACY, DEFICIENCY. OR
DEFECT IN THE VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEHlCLES "AS JS", Lessor agrees, to the extent possible and
without increasing i1s liability hereunder, and upon request, to assign to Lessee, any warranty of a manufacturer -0r seller relating to the Vel1it;les
available to Lessor, provided, however, that the foregoing rights shall automatfoaJly revert to Lessor upon the occurrence and during the continuance of
eny Event of Defauh hereunder, or upon return of the Vehicles to LessoL Lessee agrees to settle all claims with respect. to the Vehicles directly with the
manufacturers thereof;. and to give Lessor prompt notice of any suc:h settlement and the details of such seltlement
               10. TITLE AND INSPECTJON. Lessee, at its expense, shall prote.ct and defend Lessor's title and keep it free of all claims and liens
except those claims and liens created by Lessor in connection with any assignment or financing by Lessor. Lessor mny inspect the Vehicles at any time
without prior notice during regular business hours. If. at any time during the Tenn of this Lease, Lessor supplies Lessee with labels, plates or other
marlcings stating trurt the Vehicles are owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
               ll. LICENSES. Lessee shall at its expense obtain ell necessary licensc!i{including motor Vehick plates) and registrations, }'(;quired for the
use and operation of each Vehicle All certificates of title or registration of each Vehicle shall nmne Lessor as the owner thereuf
               12. INTERESTS IN VEHICLES. Lessee's rights with respect to this Lease and !lflY Vehicles leased hereunder will be subject to any
rights and interest in and to said Vehicles which may be granted by Lessor (or Lessor's affiliates) to any assignee or lendt::r of Lessor (or Lessor's
affiliates). Lessor may assign to a lenrlc:r or any other ossignee al! or any part of Lessor's rights hereunder, including a security interest in the Vehicles
and the right to receive rents and othersums due hereunder. Upon notice of such assignment in writing by a lender, assiguee and/or Lessor, Lessee shall
pay all rents and other sums due or to become due Wldcr chis Lease directly to such lender or assignee without set off. coun1erclaim, or any Qefcnse
whatsoever.
               13. TAXES. Lessee shell pay all personal property, sales or use tax.es, business licenses, assessments, penalties, and charges which may be
levied or asserted with respect to the Vehicles (except income taxes levied on lease payments to Lessor). ln the event that eny such taxes. licenses,
assessments, penalties, or charges m: paid by Lessor, Lessee shall reimbW3e Wld p11y Lessor immediately aflu Lessor notifies Lessee in writing of the
amount of such taxes, licenses, ass.essments, penalties, charges or exi)enses paid by Lessor, as well as W1 administrative fee. Increases or decreases in
sales or use tax rates will affect all lease payments after the effective date of the change by the taxing authority. Lessee shaII indcrrmify and hold Lessor
harmless from and against any loss, cost or expense arising out of or relating toa.ny such tax, import or levy, including, without limitation, any penalties,
interest and flnes relaling thereto
               14.1',NES. Lessee shall pay all ~s due Lo overload, overlength, overweight, lack of plates or perrnits, speeding, and any other charges
vrhich may be imposed or llssessed in respc;el Lo the Vehicles and/or Lessee's use thereof: The provisions of this Section 14 shall survive the expiration
or other termination of this Lease.
               15. LOSS OR DAMAGE, Lessee shall bear the entire risk of loss, theft, destruction of or damage to any Vcliiclc from any cause
whatsoever (""Loss or Damage"). Lessee shall promptly notify Lessor in writing of BIIY Loss or DBFnl:tg~. No Loss or DmPage to any Vehicles shall
relieve Lessee of any obligation withrespect to such Vehicle under this Lease. Jn the event of Loss or Damage, Lessee shall, 11t the option of Lessor: (a)
put such Vehicle in good condilion and repair in accordance with the manufacturer's recommendations, and to the· reasonable satisfaction of Lessor, et
Lessee's expense; (b) replace such Vehicle with a like Vehicle (same value, utility and useful life as damaged Vehicle) in good condition and repair as
approved by Lessor in Lessor's sole discretion with clear title thereto vested in Lessor. or (c) pay Lessor on or before the next rent payment date as set
forth in accordance with Section 3 herrof (such peymeet date, the "Loss Payment Dale") in cash the swn of: (i) all amounlS then due Lessor by Lessee
under the Lease relating to such Vehicle, which amounts shall be prorated through the Loss Payment Dale, plus (ii) an amount e.quW to the present value
of the TRAC Residual, if any. relating to such Vehicle (m set forth i11 the Swnmary of Lease Terms), discounted at S.OD.4 computed from the expiration
of the lni1ial ienn of the Lease to the Loss Payment Date, plus (iii) an amount equal to the present value of the unpaid future rem11ining Re11ts for the
Initial Tenn of the Lease. relating to such Vehicle discounted at 5.0% computed from the scheduled payment dates for such Rents to the Loss Payment
Date (the ..Casualty Value Amount..), Upon receipt of the Casualty Value Amount set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
insurer) Lessor's interest in such Vehicle in its then condition and lOCBtion, "AS lS" without any warranty whatsoever, express or implied. ff Lessee is
required to repair any Vehicle in accordance with (fl) above, or to replace any Vehicle in accordance wjth (b) above, the insurance proceeds actually
recdved by Lessor, if any, pursuant lo Section 16 hereof shall be first applied lo pay any amounts then due under this Agreemeni. end then shall be paid
to Lessee upon proof satisfactory to Lessor thal such rcp~irs have been completed as required hcrei~in the case or (a}), or of adequalc purchase and title
documents in Lessor's sole discretion (in the ease of (b)). In the event tha1 Lessee is obligated to pay to Lessor the amount spccifiOO in (c} above, Lessee
shall be entitled to a credit against such amount -equal to the amounl of insurance proceeds Pictual\y rcceivcid by Lessor, if any, punrnant to Section 16
hereof. on account of such Vehicle.
               16. JNSURANCE. Lessee shall obtain and maintain insurance on or with respect to each Vehicle at its own expense and in the amounts
and forms satisfactory to Lessor. ln no event shall 811)' insurance. coverage be Jess than the following: (a) physical damage insurance insuring against
loss or dam.age to the Vehicles in an amount not less than the full replacement value of such Vehicle; and (b){i) in all States except Florida: (l) not
greater than $500 deductible for collision, fire. theft, and comprehensive, and (2) $500,000 combined single limi1 for bodily injury liability and property
damage; or (b)(ii) for the State of Florida: (1) not greater then $500 deductible for collision, fire, theft, and comprehensive, and (2) $250,000 per person
I $500,000 per incident bodily injury liability, and (3) $100,000 proplITTy damage liability. In addition., the following require Sl,000,000 excess liability
coverage (umbrella): (a) truck/tractors over 45,000 lbs.; (b) trnilers/semi-tr11ilers; tow trucks; and (c) limo uses for livery. Less~ shall "furnish Lessor
with a certificate of insurance evidencing issuance of such insurani;o;! to Lessee in at least the minimum mnount required heR:in. naming Lessor and such
other parties designated by Lessor ns additional insured ther~nder for liability coverage, und 8!l loss payee for propert)' damage coverage. Each po-lit.")'
shall require insurer to give Lessor30 days prior written notice of imy material alteration in terms of policy or cancellation thereof, and shall provide that
no action, misrepresentation or breach of wammty of Lessee shall invalidate the policy. lf Lessee fails io provide such insurance, Lessor shall have tho
right, but no duty. to obtain such insurance, and Lessee shall pay Lessor all costs thereof, including all costs incurred by Lessor in obtaining such
insurance together with interest at the Default Rate from the date paid by Lessor to the dale paid in full by Lessee. Lessoo shall not use any Vchic;le if
the insurance required herein is not in full force and effect with respect to such Vehicle. Upon Loss or Damage as set forth in Section 15 hereof, Lessee
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                                                                                                                                                                 Exhibit A
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shall receive credit for any amounts paid to Lessor by the insurer against Lessees obligations hereunder.
               17 • .INDEMNJTY. Lessee sha11 indemnify Lessor against, and hold Lessor harmless from, 'IUl)' M.Ild .all claims, actions, damages,
obligations, liabilities, liens (mcluding any arising or imposed under the doctrines or strict liability in ton or product liability), and costs and exptmses
(including attorneys fees), arising from or out of the manufacture, purohase, Jease, possession, operation, condition, return, or use of the Vehicles, or by
operation of law, excluding however any of foregoing w.;uJting solely from the gross negligence OT willful misconduct of Lessor. Les.sec agrees tlurt.
upon written notice by Lessor of nssertion of BilY such claim. action, dnm.age, obligation, liability, or lien. Lessee, at Lessee's expense shall assume full
responsibility for the defl:mse thereof provided that Lessor shall have the right, but not the obligation, to participate ir'I an}' defense conducted by Lessee
without relieviag Lessee of any of its obligations hereunder The provisions of this Section 17 shall sl.lrviyc termination of this Lease
               18. ASSIGNMENT. Except as otherwise pt:rmitted herein. withoutLessofs prior written consent, Lessee shall notassign. transfer, pledge,
hypathccate or ottierwist dispose of this Lease, the Vehicles or any interest therein. or sublet or lend the Vehicles, orpennit the Vehicles to be used by
anyone except Lessee or Lessees uuthoriz.ed employees Lessor may assign this Lease or any interest therein in whole OT part without notice to Lessee
               19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions which shall
constitute "'Events of Default": (a) Lessee fails to pay any Rent or other amount when due; (b) Lessee fails to ohsenre, keep or pcrf01m any other
covenant or provision of this Lease required to be observed, kept, or perfonned, by Less~c; (c) Lessee removes, sells, transfers, encumbers, creates 11
security intcrc~1 in. relinquishes possession of tile Vehicles, or performs any act which impairs Lt!SSor's title to any Vehicle or attempts uny of ll1e
foregoing; {d) Lessee makes a misrepresentation to Lessor of DJJ)' matter or covenan1 connected with this Lcn.sc~ (c) Lessee. fails to satisfy any traffic
ticket or summons or fails to register HnY Vehicle; (f) Lessee becomes insolvent, bankrupt or has a trustee or receiver appointed for Lessee or for a
substantial part of Lessee's property; (g) Lessee experiences a material change ln its business or a:ffuirs (including termination of Lessee's employment
or tennination of the contract under which Lessee provides services or a change in the. control or ownership of Lessee or Lessee's employer or the party
with which Les~e contracts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the credit risk
involved therein; (h} Lcasee attempts to assign this Lease without the consent of Lessor; or (i} Lessee fails to notify Lessor of any material change in i~
business and affairs, including: a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
 Inc. and its successors und assigns, the true Md lawful attorney-in-fact of Lessee, with full power in the name of Lessee upon the occurrence of an Event
 of Default, (i) to demand and receive any and all moneys and claims for moneys due in respect of or relating to the Equipment, (ii) to nssign or transfer
 any of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee to BDY replacement Jessee hereunder and/or causing
any other person to become "the ~gistered owner of the Equipment) and (iii) to take any other action in respect of this Lease or any of the Equipmenl
Lessee ratifies and approves all acts of Bush Truck Leasing, Inc., as 11ttomey-in-fact Bush Truck Le11Sing, lnc., as attorney-in-fact will not be liable for
any at:ts or omissions or errors of judgment or mistake of fact or law. This power, being coupled with an inrerest. is irrevocable until all obligations
 under this Lease have been fu!Jy satisfied
                20. REMEDIES. Upon the occurrence of any Event ofDefil.ult,. Lessor may declare this Lease to be in default, and at any time thereafte1,                                     1.
Lessor, at its option,. muy do any one or more of the following: (a) cancel this Lease; (b) proceed by appropriate action to enforce performance of the
Lease at Lessee's expense or to recover dam.ages (including attorneys fees) for the breach thereof; (c) demBnd that Lessee, and in such case the Lessee
 shall, return a1J or any part of the Vehicles promptly in the manner required by 11nd in accordance with Section 7 hereof; (d) enter, with or without legal
process, Lessee's premises or mlY other premises where the Vehicles are located, Wld take possession of all or nny plirl. of lhc Vehicles without any
 liability to Lessee by reason of such entry: (e) seH, leasc, or otherwise dispose of all or B11Y part of the Vehicles at a public or private sale. which may be
 conducted where suob Vehicles are th.en located; (f) demand that Lessee. and in such case Lessee shall, pay to Lessor as liquidated damages for Joss of a
bargain and not as a penalty an amount equal to the sum of (i) all amounts due and unpaid under the Lease (including without limitation l!D)' indemnity
 obligations) plus interest thereon from the due ~ thereof at a per annum interest rete equal to the prime rate of interest then in effect as published in
 the Wall Street Journal plus 2.00.4 (the "Default Rall:"), plus (ii) the pre~nl vulue of all future Rent payments for such Vebicles,discounted l:lt 5.0%, plus
 (iii) the present value of the TRAC Residual, if any, discounted at 5.0o/e., plus (iv) all costs and expenses incurred by Lessor in enforcing Lessor's rights
 hereunder (including, without limitation. all costs of repossession, recovery, storage, repair, sale, re-lease, and attorneys' fees), together w(th interest
 theJ"eon at lhe Default Rate from the date of demand to the dare of payment in full (the ''Liquidated Damages"), or (g) exercise any other right or remedy
 ·which may be uvailable- to Lessor under the Uniform Commercial Code or any other applicable law The proceeds of any sale or lease of the Vehicles by
 Lessor shall be applied in the following order of priority (l) to pay all of Lessor's expenses in taking, holding. preparing for sale or lease, and disposing
 of the Vehicles.. including a\1 attorneys fees and legaJ expenses, then (2) to pay any late charges and ull interest Dcc:rued at the Dcfauh Rate; then (3) lO
 pay accrued but unpaid Rent payments, then (4) to pay any other unpaid sums due under this Cease including Liquidated Damages. If th~ proceeds of
 any sale or lease are not sufficient to pay !he amoll!ltS owed to Lessor under this Lease, J.essee will pay the deficiency. 1..essor mcy also, without
 liability, take any pc.trs:onal propeny stored within the Vehicles and may store any such property at Lessee's expensl\ for 30 days. Lcs~-ec will be
 obligated to reclaim such property within 30 days nnd hereby waives any rights in such property thereafter. Any unclaimed property will be deemed
 abandoned after 30 days mJd will be discarded by Lessor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
 Lessor in connection with this Lease shflll be forfeited by Lcsscc upon the happening of any Event of Default, and shall be applied to Lessee's
 obligations ooder this Lease pursuont to this Sc:ction 20. Lessor's remedies hereunc:kr may be exercised instead of or in addition to any other le.gal or
 equitable remedies. Lessor has the right to set off an)' sums received from any source (including insurance proceeds) against Lessee's obligations under
 this Lease, Lessee waives its right to object to the notice. of the time or place of sale or lease, and to the manner and place of any advertising therefo~.
 Lessee wai)les any defense based on statutes of limitations or !aches in actions: for damages.. 1n case of failure by Lessee to pay any fees, asscssrnenu,
 charges, or tax.es arising with respect to the Vehicles, Lessor shall have the right, but not the obligation to pay such amounts, and in that event, the cost
 thereof shall be payable by L!:ssce to Lessor upon denlfilld, together with interest at the Default Rate from the date of disbursement by J,essor
                21. SECURITY DEPOSIT. The Security Deposit shell be held by Lessor during lhc entire Tenn of the Lease, including the lntcrim Term
 and any renewal term, as security for the full payment and perfurman~ of the terms, conditions and obligations of Lessee hereunder Bnd under any and
 all Schedules. The Security Deposit shill! not excuse the perfonnance at the time and in the manner prescribed or any obligation of Lessoe or cure a
 dcfnul1 of Lessee. Lessor may, but shall not be required to, apply such Security Deposit towurds discharge of any overdue obligation of Lessei-:. Lessor
 shall be entitled to commingle the Security Deposit with any of its own funds. No lnterest shell accrue on the Security Deposit and Lessor shall have no
 liability to account to Les.see fur any interest If Lessor shall apply any of the Security Dcposi1 towards any obligations ofLessea.mdcr the Lease, Lessee
 shall. upon demand, pay to Lessor art amount nceessmy to rctllnl the Security Deposit to the sum specified above. In furtheran~ thereof, Lessee hereby
 grants to Lessor a security interest in the cash comprising the Security Deposil from time to time and any and all interest thereon, together with the
  proceeds thereof, to secure the prompt puyment as and when due of all ind~btedness, and the prompt performance as and when due of all obligations, of
  Lessee now or hereufier required under the Lease. lf no Default has then occurred, upon the expiration or earlier termination of the Term of the Lease.
 the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee
                22.. SEVERABILITY. 'I"h1: invalidation of any t:irovisian or provisions of this Lease as uncoforceablc shall not operate lo invalidate the
 remainder of the Lease which shuIJ remain in full force !lild effect
                23. NOTJCF..S. All notices relating to this Lease shall be delivered in person to an officer of Lessor or Lessee or mailed to lhe respective
 ad.dresses shown above on the first page of this Le115e, or to such nddress: as otherwise spc:cified in writing by the appropriate party hereto
                :24. "°'AIYER. Lessor's forbearance of exercise of any right or remedy on Lessee's breach of any terms, covenants or conditions hereunder
                                                                           Page4 of6




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shall not be deemed a waiver of such right or remedy, the n:quirement of punctuaf performance, or any of its remedies upon any other or subsequent
breach or default
             25.. GOVERNING LAW. This Lease takes e:ffect upon its acceptance and execution by Lessor, and shall be gcrvemed,. interpreted and
construed under the laws of the State of Ohio. Ohio law shall prevail in the event of any conflict of t11w without regard lO, and without giving effect to,
the application of choice of law rules LESSEE WAIVES ALL RIGHTS TO TRlAL BY JURYIN Am' LJTIGATJONARlSThlG FROM OR RELATED
TO THIS LEASE, AND LESSEE SUBMITS TO THE JURISDICTION OF THE FEDERAL DISTRICT COURT FOR THE SOUTHERN DISTRJCT
OF OHJO, OR ANY STATE OOURT OF COMPETENT JURISDICTION WITil!N MONTGOMERY COUNTY, OHIO, AND WAIVES ANY RIGHT
TO ASSERT THAT ANY ACDON INSTITUTED BY LESSOR IN ANY SUCH COURT JS IN THE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.      W AIYER OF DAMAGES. Lessee \VJUves to the fullest extcntpennitted by law any right to or claim of any punitive, exemplary,
indirect, special, consequential. or incidental damages aga_inst Lessor. Lessee agrees that, in the e:vGI1t of a dispute, claim or controversy against Lessor,
Lessee shall be limited to the recovery of actual di~ damages sustained by it, subject to t1I1Y Jimibn direct damages set forth in this Lease. Lessee will
not accept or aticmpt to collect through the courts or othcrn isc any punitive, exemplary, indirect, consequential, or incidenttil damages from Lessor
                                                              1


              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the- benefit of Lessor and Lessee and their respective
successors and assigns permitted hereunder.
              28. FORCE MAJEURF.. The obligations of Lessor herelmdc:r shall be suspended to the extent that it ;s hindered or pre\'ented from
complying therewith because of labor disturbances, acts of God, fires, storms, accidents, failure of the manufacturer to deliver any of the Vehicles, court
order, governmental regulations, or otiler interference or any cause whatsoever not within the sole control of Lessor

                                                            [SIGNATURE PAGES FOLLOW]




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fN \VITNF...SS WHEREOF, lhe parties hereto have entered into this Lease Agreement as of the date first 1:1bovc wrillcn


                                                                                    LESSOR:             ~µsh 'fu;ckU,-"'1S!ng..IAA.

                                                                                    By:                u ~__:_                   )G; ..,Jtiv---
                                                                                    Name:.~_.E>_ia_n_a_s_._C!_o_rnette
                                                                                                               ___~
                                                                                                Vice President
                                                                                    Tttl~~~~~~~~~~~~~-




                                                                                    LES$EE: Sonet Transportation and Logistics Inc.



                                                                                    ~Y' L:i1A£
                                                                                          ~SIGNATURE




EQUIPMENT ACCEPTANCE
Lessee hereby confirms that the Equipment has been delivered, duly assembled and in good working order and conditi{)ll. Lessee confirms that after a
reasooable opportunity to inspect the Equipment, it has soiety selected, and unconditionally and irrevocably accepted the Equipment as-is, where-is for all
purposes of this Lease as of this date, In the event that the Equipment is not delivered and accepted wtthin thirty (30) days of Lessee's signing of this
Equipment Acceptance, Lessee hereby authorizes Lessor to increase the Payments to refled any Lease rate increase applicable to the Lease




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.          ~BTTS'ZI
                                                                                                                   6961 Cintas Blvd
                                                                                                                   Mason, OH 45040

           7TRUCK~S!G,lp                                                                                           800-766-2874
                                                                                                                   www.bushtrucks.com
                                                                      LEASE AGREEMENT
                         Contract Date:                                                                 Lease ID No.          CLBC8715

                                                                                 LESSEE
Individual Legal Name(if applicable):
Company Legal Name(if applicable):      Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA     Zip: 91950
                                                                              EQUIPMENT
Vehicle Year                                    Vehicle Make                            Vehicle Model                         Vehicle Identification Number
2012                                            Freightliner                            Cascadia                              1FUJGLBG2CLBC8715
           Refer to Schedule I of this Lease Agreement/or Equipment details in the event that no Equipment information appears above
                                                     SUMMARY OF LEASE TERMS
Commencement                  Initial     ~ental Periods N To:!         Down
                                                                        f                 Advance       Basic Rent       Doc Fee        Security      End of Term
                                                               um ero Payment+              or           (without                       Deposit         Option
Date & 1st Basic              Term
                                                             Payments Taxes at            Arrears         Taxes)
  Rent Date
                                                                       Closing
 :'J - I . ;;__<.;/ .,          36          MONTHLY              36         $1,500.00     Arrears        $2,036.67       $400.00          $0.00          TRAC
  (. . I    ;)_U/) MONTHLY

If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $26,300.00

    TIIlS LEASE AGREEMENT (''Lease") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
    (..Lessol""), and LESSEE refefenced above.

                  1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
    with all replacements, repairs and additions thereto (individually and collectively, the "Vehicles") on the tenns and conditions set forth in this Lease.
    Lessee agrees that Lessee leases the Vehicles "as-is", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
    manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
    has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements, representations, OM"arranties made by
    Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identifiedherein will be used for
    commercial purposes.
                  2. INITIAL TERM. The term of this Lease foreach Vehicle shall commence on the Contract Date and shall continue for that number of
    months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month, in which case the
    Contract Date shall be the date on which the term of this Lease commences) ("Conunencement Date") each as set forth in the Summary of Lease Terms
    (such period as extended or sooner terminated by Lessor as provided herein, the''Term").
                  3. RENT. The rental payment amount for each Vehicle hereunder (the "Basic Rent") is set forth in the Summary of Lease Terms. Basic
    Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
    in advance or arrears for the periods (each a "Rental Period") and for the total number of payments as set forth in the Summary of Lease Terms, in each
    case, on the first day of each such Rental Period. If the Contract Date does not fall on the first day of the month, the rental for that period of time from
    the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
    One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Date to
    (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
    Rent Lessee is obligated to pay hereunder (the "Supplemental Renf' and together with Basic Rent, the "Rent") when due or if no date is specified
    herein, on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of I 0% of
    the late rental payment amount, and the maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
    OF ALLOTilER OBLIGATIONSARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
    WHATSOEVER, INCLUDING, BUT NOT LIMITED TO, ANY RJGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE
    AGAINST LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF THE VEHICLES FOR
    ANY REASON WHATSOEVER, SPECIFICALLY INCLUDING, WITHOUT LJMITA TION,ANY CLAIMS THAT LESSEE MAY HA VE AGAINST
    LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
    AGREEMENT REFERENCED IN SECTION 7 HEREOF.
                  4. OPTION UPON EXPJRATJON OF INITIAL TERM OF LEASE. Upon expiration of the Initial Tenn of the Lease. Lessee shall
    comply with the provisions of Clause A or B below, in either case, as specified in the Summary of Lease Terms

                         A.          Terminal Rental Adjustment Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                                      Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                                      "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Terms. Upon



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                                                                                                                                                                    Exhibit A
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'''"_"""'''"'"""'"''==         -==""'~"'""~~"'="""''"~""''''''"
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                                                                                                ,.,,,__"'"~·.      ··-~~' '·=-~~"'"'"''""""""'""'"""               "™"'""'p
                           expiration of the Initial Tenn, Lessor will attempt to sell the Equipment. In the event that the Net Proceeds (as defined below)               l-
                          .are less than the Estimated Fair Market Value, Lessee shall pay to Wsor the full amount of such shortfall. If the Equipment
                          has not been sold on the last day of the Initial Tenn, then the Net Proceeds shall be deemed to be zero and Lessee shall
                          immedUitely pay to Lessor the TRAC Residual, Jfthe Lessor thereafter shall sell the Equipment, the Net Procwd.s shall be
                          paid by Lessor to Lessee. AJly such payment by either Lessee or Lessor shall be deemed to be a Terminal Rental Adjustment
                          with respect to the Vehicles. As used herein, ''Net Proceeds" shall mean the proceeds received by Lessor, after deducting (i)
                          all costs end expenses incum:d io connection with the recovery, repair, storage, and sa1c of the Vehicles, including any and all
                          attorney8' fees and legal expenses, {ii} an late charges filld all interest accrued at the Defilult Ra!e (as hereinafter defined), and
                                                                                                                                                                          I
                                                                                                                                                                          !
                          (Hi) all rent payments and other obligations of Lessee due and unpaid under the Lease as of the date of the sale or disposition.
                          As to each Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment after
                          cxpinn:ion of the Initial Term are less than the TRAC Residual amount for such Equipment as set forth in the Summary of
                          Lease Tcnns, then Lessee shall immediately pay to Lessor1he amount of such deficiency .as additional R<:nt hereunder. lf the
                          Net Proceeds are in excess of the TRAC Residual amount. then 100% of such excess: shall be returnet;I to Lessee as a reduction
                          in the Rent for such Equipment, provided, however. that Lessor sha!J be entitled to retain all or any portion of such amount tu
                          satisfy any of Lessee1s obligations under the Lease

                            Lessee hereby certifies, under penalty of perjury, that
                 (i)   Lessee intends that more than 50% of the use of the Equipment subject to this TRAC is to be used in a trade or business of the
                          Lessee,
                 (ii) Lessee has been advised by tax counsel or otber tax advisor, and                          ;
                 (iii) Lessee understands and agrees that, Lessee will not be treated as the owner of the Equipm6nt identified above for federal income
                          tax purposes.                                                                         ·

                  B.         $1.00 Buyout. Lessee hereby unconditionally agrees to purchase all, but not less than all, of1he Equipment for $1.00 upon
                           e~irn.tion
                                    of the lnitil'U Tenn ~f the Lease. Lessee anO Lessor agree thHt Lessee is owner of the Equipment Wld shall file and
                           pay all license, registration fees, and documentary, sale and use taxes, and peraonal property taxes and all other taxes, fee!l and
                           charges relating to the o~rship, l~ing, rental, sale, purchase, possession or use of the Equipmenl

                   With respect to any option upon expira.J.ion of the Initial Tenn of the Lease set fGrth herein, if written nolice of Lessee's intention fo
                   exercise such elected option is not received on u timely basis, then such failure shall constitute an Event of Default, and to the extent
                   that the Lessee fails to retum to Lessor the Equipment in accordance with Section 7 hereof;, Lessee agrees to pay a daily rental fee                    i
                   equal to 150% of the daily Rtint for each day that the Equipment is retained by Lessee; provided, however, such payments shall not
                   extend Less~'s right to have and use the Equipment beyond the Initial Tenn of the Lease as provided herein. Upon exercise of the
                                                                                                                                                                           i·
                   option elected by Lessee and payment in full by Lessee of any related purchase amounts and all Rent, Lessor will execute and deliver
                                                                                                                                                                           !
                   lo Lessee the title to the Vehicles, and any other documentation necessary to transfer title to Lessee. TlflS SALE Wil.L BE
                   WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHETHER EXPRESS OR IMPLIED IN
                   FACT OR LAW and, Lessee will accept the Vehiolcs"AS IS" and 4 \VHERB IS''.

             S. TAX INDEMNtFf,_q...\;fJON, Except to the exicnt Section 4B is applicable upon expiration at the Initial Term,. it is understood and
agreed that Lessor is owner of the Ejiiip'ment and that Lessor shall be entitled to such lnx benefits that are available as owner of the Equipment through
depreciation of the total capitalize'd 'cost of the Equipment thereof for federal inoome tax purposes. ln the event that Lessor suffers any toss,
disaJlowance~ unavailability, 01 rec:apture of such depreciation for any reason whatsoever, then, ~e:r written notice tbert:ofby Lessor to Lessee, Lessee
shall pay to Lessor Bii additional increroental amount payable 011 each date that the Basic Rent is thereafter due. which in the opinion of Lessor, will
cause Lessor's net aftcr.:tax annual cash fiow and net after-tax rate of return respectively. that would have been available if Lessor had been entitled to
full utilization of the deprccis.tioa In the event thHt &ny payment is required tc be made pursuant to this Section 5. and such pa}ment is lo be made on
succeeding rent payment dates, but at such time this Lcnse shall have been terminated or Rent otherwise no longer shall be due and payable on the
remaining rent payment dates, Les.see shall promptly pay Lessor any amount equal to the incremental increase in Basic Rent which would have been
required if such tax loss had occurred immediately prior to the I~ rental payment dide on or prior to the expiration or other iennination of the Lease.
Lessor shall promptly notify Lessee of the commenc:ement of any proceeding by the Internal Revenue Servic'.e in respect of any ilem as to which
 indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable pursunnt to thiS Section 5 shall survive the expiration
 or othertennination of this Lease.                                                                                   !
               6, USE OF VEIDCLES. Lessee sbidl use the Vehicles only jn its business and in compliance witl:i all Jaws, rules, and reguli:itions of any
jurisdiction where the Vehicles are used or Jocated. Lessee repiesents ~d wammts to Lessor at all times that (i) Lessee has the right und ability to enter
into this Lease; (ii) this Let1Se constitutes a valid. Jegal. and binding obJi"gation and agreement of Lessee, enforceable against Lessee in accordance with
 its tenns; and (iii) that the entering into and perlbrmanee of this Leese by Lessee will not result in a breach~ violation. or default under any judgment,
 order, law. regulation, loan, mortgage, agreement. indenture, or other instrument applicable to Lessee, or result in any breach of, or constitute a default
 under, or resuh in the creation of any lien, chmge, security interest, or other encumbrance upon the Vehicles pursuant to any instrument 10 which Lessee
 ls a party or by which it is bound. Lessee shall (i) use and oper.a1e the Vehicles in a careful and prudent manner for the purpose's and in the manner
 intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) sha11 pay fur ell maintenance of Vehicles
 to keep them hi good and efficient working order and condition during the Teml of the Lease, including, but is not limited to, Lessee's supplying all
 fuel,. lubricants, end other parts. supplies, mainklmm~ and servic:es. and/or Lessee, upon Lessor's request, entering into a service and maintenance
 agreement with Lessor or an affiliate of Lessor upon such terms and conditions provided by Lessor. After notice to Lessor, Lessee may, at its 0\\11
 expense, make alterations or add attachments to the Vehicles, prt:ntided that such alterations or attachments are removable and do not reduce the value,
 utility or useful life of the Vehicles. Upon the expiration or termination of the Lease, all alterations or attachments affixed to the Vehicles shall become
 the property of Lessor If not removed, nnd if Lessee docs remove such attachments, Lessee slmll be liable to Lessofur any damage to the Vehicles as the
 result of such removal. ln the event that any federal, stnte, or local law, ordinance, ru1e or regulation shall require the installation of any additional
 accessories to any of the Vehicles, including, but not lim~d tD, anti-pollution mid/or safety devices, or in the event that any other modifications to the
 Vehicles slmll be required by virtue of such law, ordinance, rule or regulation, then mid in any of such events. 'Lessee &hall pay the full cost thereof,
 including instollation expenses. Lessor may, at its option, arrange for the installation of such Vehicles or the performance of such modifications, and
 Lessee agrees to pay the full cost thereof immediately upon receipt ofBD invoice for the same                        i
                7. SURRENDER. Upo11 either the {i) failure by Lessee to exercise any purchase optio11 for any· Vehicle set forth herein, or (ii) upon
 demand by Lessor made purswmt to an Event of Default (as set forth in Section 19 hereof), Lessee shall, ut its own expense, return suoh Vehicle to
 Lessor to such location within the continental United States as Lessor shall designate, in the seme condition as when delivered, reasonable wear and tear
 excep1ed ancl otbeIWise in the condition required by this Lease Upon return oftbe Vehicles, Lessor~or such entity designated by Lessor, sha.ll perform a

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pbysical and mechanical inspection of tlic: Vehicles. Lessee shall be responsible for the payment of filly and all costs associated with the inspection, and
for any and all repairs necessary to place the Vehicles in the same condition as when delivered, reasonable m:ar and tear excepted and otherwise in the
condition required by this Lease.
               8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and o.ffix advertising or identifying insignia. provided that,
upon the expiration or termination of this Lease, and in the event that Lessee does not purchase the Vehicles pursuant to Section 4.B htireof, Lessee
shall, upon the Iequ~ of~ssor and at Les5~e's expen$C, restore the Vehicles to oricinaJ condition, ordinary wear and tear excepted
               9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES TI!AT LESSOR HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HA VE MADE. ANY EXPRESS OR IMPLIED WAl<RANTY AS TO MERCHANTABILITY, FITNESS FORANY PURPOSE OR USE,
DESIGN OR CONDIT!ON OF VEHICLES, QUALITY OF MATERIAL OR WORKMANSHIP, OR AS TO ANY OTHER MATTER WHATSOEVER
RELATING TO THE VEIBCLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY lNDIRECT, CONSEQUENTIAL, INCIDENTAL, DR
PUNITIVE DAMAGES ARISING OUT OF THE USE OR INABJLlTY TO USE THE VEIBCLES, OR ANY INADEQUACY, DEFICIENCY, OR
DEFECT IN THE VERJ.CLES. LESSEE AGREES TI-I.AT LESSEE LEASES TilE VEIDCLES '"AS IS". Lessor agrees, to the extent possible end
without increasing its liability hereunder, and upon request, to assign to Lessee, miy wruranty of a manufactllrer Dr seJJer relating to the Vehicles
available to Lessor, provided, however, that the foregoing rights shall automatically revert to Lessor upon the occurrence and during the continuance of
any Event of Dcfauh hereunder, or 'Upon return of the Vehicles to Lessor. Lessee agrees to settle all claims with respect to the Vehicles directly with the
manufacturers thereof, and to give Lessor prompt notice of any such settlement and the details of such settlement
               10. TITLE AND INSPECTION. Lessee, at its expense, shall protect end defend Lessor's title and keep ii free of all claims and liens
 except those. c:laims and liens created by Lessor in connection with any assignment or financing by Lessor. Lessor may inspect the Vehicles at any time
 without prior notice during regular business hours. If;, at any time during the Tenn of this Lease, Lessor supplies lM>sec with label~. plates or other
 markings slating that the Vehicles lll'e owned by Lessor, Lessee shall affix ond keep the same ln a prominent place on tbe Vehicles
               11. LICENS:ES. Lessee shall at its expense obtain all necessary licenses(including motor Vehicle plates) and registrations. required for the
 use and operation of each Vehicle. All certificates of title or registration of each Vehicle shall name Lessor as the owner thereof
               12. INTERESTS IN VEWCLES. Lessee's rights with respect to this Lease and any Vehicles leased hereunder will be subject to any
 rights ~d interest in and to said Vehicles which may be granted by Lessor (or Lessor's affiliates) to any assignee or lender of Lessor {or Lessor's
 affiliates). Lessor may assign to a leader or any other assignee all or any part of Lessofs rights hereunder, including a security interest in the Vehicles
 and the right to receive rents and other sums due hereunder. Upon notiot: of such assignmenl in writing by a lender, assignee and/or Lessor, Lessee shall
 pay all rents and other sums due or to become due under this Lease directly to such lender or assignee without set oft counterclaim, or any defense
 whatsoever.
                13. TAXES. Lessee shall pay Bil personal property, sales or use taxes, bwine5s licellses, assessment.ii. penalties, and charges which may be
 levied or asserted with respect to the Vehicles {except income tHxes levied on le&se" payments to Lessot). ln tqe event that any such tax.es,. licenses,
 assessments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immediately after (.essor notifies Lessee ;n writing of the
 amount of such tax.es, licenses, assessments, penal tie&, charges or expenses paid by Lessor, as wel1 as an administrative fee. Increases or decreases in
 sales or use tHX. rates will affect all lease payments after the effective date of the change by the i:axing 11uthority. Lessee shaJI indemnify and hold Lessor
 harmless from and against any loss, cost or expense arising out of or relating toany such tax, imp on or I~. including, without limitation, any penalties,
 interest and fines relating theretn
                14. FINES. Lessee shall pay all fines due to overload, overlength, overweight, l~k of pistes or permits, speeding and any other charges
 which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof The provisions of this Section 14 shall survive the expiration
 or other termination of this Lease.
                15. LOSS OR DAJ't'IAGE. Lessee shall bear the entire risk of loss, theft. destruction of or damage to any Vehicle from any cause
 whatsoever (Loss or Damage"). Less;ee shall promptly notify Lessor in writing of any Loss or DBmage. No Loss or DamHge' to any Vehicles shall
 relieve Lessee of any obligation withrespcctto such Vehicle under this Lease. In the event of Loss or Damage. Lessee shall, at the option of Lessor. (a)
 put such Vehicle in good condition and repair in accordance with the manufacturer's recommendations, and to the reasonable satisfaction of Lessor. at
 Lessee's exvense; (b) replace such Vehicle with a like Vehicle {same value, utflity and qseful life as damaged.Vehicle) in good condition and repair as
 approved by Lessor in Lessor's sole discretion with clear title thereto vested in Lessor; or (c) pay Lessor on or before tbe next rent payment date as set
 forth in accordsoce with Section 3 hereof {such payment date, the "Loss Peyment Date'') in cash the sum of (i) all amounts then due Lessor by Lessee
 under the Lease relating kl such Vehicle, which amounts shall be prorated through the Loss Pi:iyment Dare, plus (ii) an amount equal to the present value
 of the TRAC Residua!. if any, relating to such Vehicle (as set forth in the Summary of Lease Tenns), discounted ·at 5.0% computed from the expiration
 of the Initial Tenn of the Lease to the Loss Payment Date, plus (iii) an amount equal to the present value of the unpaid future Temaining Rt:nts for the
 Initial Term of1he Lease. '°"lnting to such Vehicle discounted at S.0% computed from the scheduled payment dates fur such Rents to the Loss Payment
 Date (the ..Casualty Value Amounf'). Upon receipt of the Casualty Value Amount set forth in {c) above, Lessor shell assign to Lessee (or Lessee's                       ]'
 insurer) Lessor's interest in suc;b Vehicle in its then <.Jondition and location, "AS IS" ·without any warranty whatsoever, express or implied If Lessee is
  required to repair any Vehicle in accordance with (a) above, or to replace any Vehicle in accordance with (b) above, the insurance proceeds actuaHy
  reoeived by Lessor, if any, pursuant to Section 16 hereof shall be first applied to pay any amounts then due under this Agreement, and then shall be paid
  to Lcsaee upon proof satisfactory to Lessor that such repflirn have been completed as required hereil(m the case of (a)). or of adequate purchase and title
  d~uments in Lessor's sole discretion (in the C8!1e of{b)). In the event that 1:-essee is obligated 'kl pay to Lessor the amount specified in (c) above, Lessee
 shall be entitled to a credil against such amollllt equal to the amount of insurance proceeds actually rea:ived by Lessor, if any, purauant to Section 16
  hereof: on account of such Vehicle.
                16. INSURANCE. Lessee shall obtain and maintain insurance on or with :respect to each Vehicle at its own eKpense and in the mnount5
  and forms satisfactOf)' to Lessor. 1n no evenl shall any insurance coverage be Jess lb.an the following: (a) physical damage insurance insuring against
  loss 01 damage lo the Vehicles in an amount not less than the full replacement value of such Vehicle; and {b)(i) in all States exeept Florida: {I) not
 greater than $500 deductible for collis.ian, fire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injmy liability and property
  damage~ or (b)(ii) for the State ofFlorldu: (I) not greater than $500 ded~bDle for collision, fire, theft, and comprehensive, and (2) $250,000 per per:5on
 I $1,000,000 per incident bodily injury liability, nnd (3) $100,000 property damage liability. In addition, the following require $1,000,000 exc.ess
  liability coverage (umbrella): (a) truckltra.cton; over 45,000 lbs.; {b) trailers/semkrailcrs; tow trucks; and (c) limo uses fur livery. Lessee shall furnish
 Lessor with a certificate of insurnnce evidencing issuance of such insurnnce to Lessee in at least the minimum amount ~quired herein, nwning Lessor
  and such other parties designated by Lessor as additional insured thereunder for liability coverage. and as loss payee for property damag-e coverage.
  Each policy shall require insurer to give Lessor30 days prior written notice of any material alteration in ~nns of policy or cancellation thereof; nnd shall
  provide that no action, misrepresentation or breach of warranty of Lessee shan invalidate the policy. If Lessee fails to provide such insurance., Lessor
 shall have the right, bul no duty, to obtain such iru.'Urance, and Lessee shall pay Lessor all costs thereof, including all costs incurred by Lessor in
  obtaining such insurance together with interest at tbe Default Rale from the dare paid by Lessor to the date paid in full by Lessee. Lessee shall not use
  any Vehicle if the insurance required ben:in is not in full force and effect with respect 10 such Vehicle. Upon Loss or Damage as set forth in Section 15
  hereof, Lessee shall receive credit for any ammmts paid to Lessor by the insurer against Lessels obligations hereunder
                17. INDEMNITY. Lessee shall indemnify Lessor against, Rnd hold Lessor harmless from, any and all claim&, actions, damages.,
  obligations, 1iahilities, liens (including any arising or imposed under the doctrines or strict liability in tort or product liability), and .costs and expenses
  (mcluding attorneys fees), arising from or out of the mll!lufacture, purchase, lease, possession, operation, condition, return, or use of the Vehicles, or by
                                                                            Page3 of6




                                                                                                                                                                     Exhibit A
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operation of linv, excluding however any of foregoing resulting solely from the gross neg1igence or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assertion of any such claim, action, damage, obligation, liability, or lien, Lessee. at Lessee's experue shall assume full                                                                         '
responsibility for the defense thereo~ provided that Lessor shall have the right, but not the obligation, tc:> participate in any defense conducted by Lessee
without relie-ving Lessee of any of its obligations hcmindcr The provisions of this Section l 7 shall survive tennination of this Lease
               18. ASSIGNMENT. Except as otherwise permitted herein, withmrt Leasoi's prior written consent, Lessee shall notassign, transfur, pledge,
hypothecate or otherwise dispose of1his Lease, the Vehicles or any interest therein, or sublet or lend the VchicleS, or pennit the Vehicles W be used by
anyone except Lessee or Lessees authorized mnployees. Lessor may assign this Lease or any interest therein in vlhole or part without notice to Lessee                                                                               ~
                19. DEFAULT. Lessee shall be in defaalt of this Lease upon the happening- of any of the following .events or conditions which shall
constitim ..Events of Default": {a) Lessee fails to pay any Rent or other amount when due; (b) Lessee fails to observe, keep or perfunn any other
                                                                                                                                                                                                                                    r
covenant or provision of this Lease required to be observed, kept, or performed, by Lessee; (c) Lessee removes, sells, transfers~ encnmbers, creates a
                                                                                                                                                                                                                                    !I
security interest in, relinquishes possession of the Vehicles, or performs any at:t which impairs Lessor's title to any Vehicle or attempts any of the                                                                              !
foregoing; (d} Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lease; (e) Lessee fails to satisfy any traffic
ticket or summons or fails to register any Vehicle; {f) Lessee becomes insolvent, bankrupt or has a tnm:ee or receiver appointcd for Lessee or for a
substantial part of Lessee's property; {g) Lessee experiences a material change in its business or affairs (including tennination of Lessee's employment
or termination of the contract under which Lessee provides services or a change in the control or ownership of Lessee or Lessee's employer or the party
with which Lessee contracts to provide services) wJiich in Lessor's sole judgment impairs the security of any Vehicle or iocrenses the credit risk
iavolved therein; {h) Lessee Bttempts to assign this Lease without the consent of Lessor, or (i) Lessee fails to notify Lessor of any material change in its
business and affairs:, including a change in the ownership .or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
Jnc. and its" successors and assigns, the true and lawful attomey-in-fact of Lessee. with full power in 1he name of Lessee upon the occurrence of an Event
of Defaul~ (i) to demand and receive any and all moneys and claims for moneys due in respect of or relating to the Equipment, {ii) to assign or transfer
any of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee to any replacement lessee hereunder and/or causing
any other person to become the registered owner of the Equipment) and {iii) to take any other action in respect of this Lease or any ofthe Equipmenl
Lessee ratifies and approves alJ acts of Bush Truck Le11Sing, Inc., as attomey-in-facL Bush Truclt Leasing, Inc.., as attorney-in-fact will not be liable for
 any acts or omissions or errors of judgment or mistake cf fact or law. This power, being coupled with an interest, is irrevocable until all obligations
 under this Lease have been fully satisfied
                20. REtt!EDIES. Upon the occurrence of any Event of Default. Lessor may dix;lare this Lease to be in default, and at any tim' thereafter.
Lessor, al its option, may do any one or more of the fo1lowing: (a) cancel this Lease~ (b) proceed by appropriate action lo enforce performance of the
 Lease at Lessee's expense or to recover damages (including attorneys fees) for the breach thereof; (c) dmrumd that Lessee, and in such case the Lessee
 shall, return all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof, (d) enter, with or without legal
 process, Lessee's premises or any other premises where the Vehicles are located, and take possession of all or any part of the Vehicles wittiout any
 liability to Lessee by reason of such entry~ (e) sell, leas:~ or otherwise dispose of aU or any part of the Vehicles at a public or private sale, which moy be
 conducted where such Vehicles ore then loca!ed; {t) demw1d thD1. Lessee, and in soch case Lessee shall, pay to Lessor as liquidated damages for loss of n
 bargain and nnt as a penalty an amount eqUBl to the sum of (i) all amounts due and unpaid under the Lease (inc1~ding witllout limitation any indemnity
 obligations) plus intctcst thereon "from the due date ~ereof at a per annum interest rate equal to lhe prime rate of interest then in effect as published in
 the WaJ1 Street Journal plus2.0% (the "Default Rate"), plus (ii) the present value of all future Rent payments fur such Vehicles., discounted a1 5.0%, plus
 (iii) the present value of the TRAC Residual, jf any, discounted at 5.0o/a, plus (iv) all costs and expenses incurr-ed by Lessor in enforcing Lessor's rights
 hereundu (including, witltout limitation. all costs of rcposse.ssion, recovery, storage, repair, sale, re-lease~ and attorneys• fees).. together with interest.
 thereon at the Default Rate from the date of demand to the dllie of payment in full {lhe "Liquidared Datnagcsj, or (g) exercise any other right or remedy
 which may be avaiiab!e to Lessor under the Uoifonn Commercial Code or any other applicable law The proceeds of any saJ~ or l.ease of the Vehicles by
 Lessor shall be sppJied .in the foU[Jwing order of prlor(ty (t) to pay all of Lessor's expenses in taking, holding, preparing for sale or lease, and disposing
 of the Vehicles, including all ~ttomeys fees and Jegal cx:penscs, then (2) to pay any late chaiges and aU interest accrued at lhe Default Rate; then (3) to
 pay accrued but unpaid Rent payments, then (4) to- pay any other unpaid swns due WJder this Lease including Li.qui dated l>mnagcs. If the proceeds of
 any sale or lease arc not sufficient to pay the amounts awed to Lessor under this Lease, Lessee v.'ill pay the deficiency. Lessor may also, without
 liability, take any personal property storetl within die Vehicles and may store any such property at Lessee'' expense for 30 days. Lessee will be                                                                                      Ii
 obligated to reclaim such property within 30 days and hereby waives any rights in such property 1hen:after. Any unclaimed property will be deemed
 abandoned after 30 days and will be discarded by Lessor, Lessor's remedies hereunder shall be cumulative. Any security de.posit paid by Lessee to                                                                                      !
 Lessor in connection \l.ith this Lease shall be forfeited by Lessee upon the. happening of .any Event of De.fault, and shall be applied to Lessee's                                                                                    \·.
 obligatiDRS under this Leese pursuant to this Section 20. Lessor's remedies hereunder may be exercised instead of or in addition to any other legal or
 eqnitable remedies. Lessor hns the right to set off any sums received from any source (mc1uding insuranae proceeds) against Lessee's obligations under
 this Lease. Lessee waives its right to object to the notice of the time or place of soJe or lease, .and to the manner nnd place of any advertising therefore.
 Lessee waives any defense based on st&tutes of limitations or laches in actions for damage&. In case _of failure by Lessee to pey any fees, assessments,                                                                               ;
 charges. or taxes arising with respect to the Vehicles, Lessor sha11 ha:ve the right., but not the obligation to pay such amounts, and in that event, the cost
 thereof shall be payable by Lessee to Lessor upon demand, together with interest at lhe Default Rate from the date {If disbursement by Lessor
                                                                                                                                                                                                                                        ;·
                21. SECURITY DEPOSIT. The Security Deposit shaJl be held by Lessor during the entire Term offhe Lease, including the Interim Term                                                                                       I
 and any renewal term, as security for the full payment and performahce of the terms. conditions and obligations of Lessee hereunder and under any and                                                                                  !
 all Schedules. The Security Deposit shall not excuse the performance et the time nnd in the manner prescribed or any obligation of Lessee or cure a                                                                                    I
                                                                                                                                                                                                                                        I
 default of Lessee. Lessor may, but shoJl not be required to, apply such Security Dcposit towards discharge of any overdue obligation of Lessee. Lessor
 sholl be entitled to eonuningie the Security Deposit with any of its own funds, No Interest shall accrue on the Secwity Deposit and Lessor shall have no
                                                                                                                                                                                                                                        i
 liability 10 account to Lessee for MY interest If Lessor shall apply any of the Security Deposit toward.<; any obligations ofLesseumder the Lease, Lessee
 shall, upon demand, pay to Lessor an mnowrt necessary to return the Security Deposit to the sum specified above. !n furtherance thereof, Lessee hereby
 grants to Lessor a security interest in the cash comprising [he Se[;l!rity Deposit from time to time and any and all interest thereon, together with the
  proceeds thereof, to secure the prompt payment as and when due of all indebtedness, and lhe prompt performance as and when due of all obligations, of
 Lessee now or hereafter required under the Lease. Ifno Default h115 then occurmd, upon the expiration or earlier termination of the Tenn of the Lease,
  the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee
                 22. SEVERABILITI', The invalidation of any provision or provisions of this Lease as unenforceable shall not operate to invalidate the
  remainder of the Lease which shall remain in full force and effect
                 23. NOTICES. A11 notices relating to this Lease shall be delivered in person to nn officer of Lessor or Lessee or mailed to the n:spective
  addresses shown above on the first page of this Lease, or to such address as otherwise specified in writing by the appropriate party hereto
                 24. W AIYER. Lessor's forbearance of exercise of any right or remedy on Lessee's breach of any terms, covenants or conditions herei.mdor
  shall not be deemed a waiver of such right or remedy, the requirement of punctual performance, or any of lts remedies upon aay other or subsequent
  breach or default                                                                                                      i
                 25. GOVERNING LAW. This Lease takes effect upon its acceptance and execution by Lessor, and shall be governed, interpreted and
  construed under the laws of the State of Dela.ware. Del.aware law shaU prevail in the event of any conflict otlaw without 1'egard to, and without giving
  effect to, the application of choice of law ml es. LESSEE WAIVES ALL RIGHTS TO TRIAL BY JURY IN ANY LITlGATlON AR.ISING FROM OR
  RELATED TO THIS LEASE, AND LESSEE SUBMITS TO TIIE JURISDJCTION OF DBLAWARE, AND WAIVES ANY RIGHT TO ASSERT
                                                                               Page 4 of6




                                                                                                                                                                                                                       Exhibit A
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THAT ANY ACTlON !NSTITIITED BY LESSOR IN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE TRANSFERRED TO
A MORE CONVENIENT FORUM
              26.      W AJVER OF DAMAGES. Lessee waives to the fullest i:xtentpennitted by I~· any right to or claim of any pun hive, exemplary,
indirect, special. consequential, or incidental damages against Lessor, Lessee agrees tlmt, in the event of a dispute. claim or controversy against Lessor,
Lessee shall b~ limited to the recovery of actual direct damages sustained by it. subject to BTIY limibn direct damages set forth in Ibis Lease. Lessee will
not accept or attempt to collect through the courts or otherwise any punitive, exemplflTY, indirect, consequential, or incidental damages ftom Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shalt be binding on and inure to the benefit of Lessor and Lessee and their respective
successors and assigns pennined hereunder.
             28. FORCE MAJEUR.E. The obligations of Lessor            he~undtr   shall be suspended to the extent that it is hindered or prevented from
complying therewith because of labor disturbances, acts of God, fires, stonns, accidents, failure of the manufacturer to deliver any of the Vchi~les, court
order, governmental regulations, or other inmrfercncc or any cause whatsoever not within the sole control of Lessor

                                                           (SIGNATURE PAGES FOLLOW]




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                                                                                                                                                               Exhibit A
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IN "'ITNESS \\'IIEREOF, the parties hereto have entered into this Lease Agreement as of the date first above written


                                                                                    LESSOR:               ~~h 'D;®k~l!ig,.1=.

                                                                                    By:            u-~-v-j~~
                                                                                    Name:       Diana S. Cornette
                                                                                    Title:      Vice President




                                                                                                                                                                    I


                                                                                    LESSEE: Sonet Transportation and LogisU.s Inc.


                                                                                     ©By,L~
                                                                                          0IGNATURE                .




EQUIPMENT ACCEPTANCE
Lessee hereby confirms that the Equipment has been delivered, duly assembled and in good working order and condition, Lessee confirms that after a
reasonable opportunity to inspect the Equipment. it has solely selected, and unconditionally and irrevocably accepted the Equipment a~-is., where-is for all
purposes of thi& Lease es of this date. In the event that the Equipment is not delivered and accepted within thirty (30) days of Lessee's signing of this
Equipment Acceptance, Lessee hereby authorizes Lessor to increase the Payments to reflect any Lease rate increase applicable to the Lease
                                                                                                                    i
                                                                                                                    '

                                                                                     LESSEE: Sonet Transportation and Logistics Inc.


(X)Dated;_ _'-1_1_)_.J.,_~ i
                                                                                      .           ~~
                                                                                              By:~
                                         5
                                                                                     ®c:.,_     --

                                                                                          /AIGNATURE                :




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                                                                                                                                                               Exhibit A
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;
;


                                                                                                                                                                6961 Cintas Blvd
                                                                                                                                                                Mason, OH 45040

                                                                                                                                                                800-766-2874
                                                                                                                                                                www .bushtrucks.com
                                                                                         LEASE AGREEMENT
                                        Contract Date:                   (., - I - °)..u i 5             Le.,. ID No.                                                           CLBC8718


          Individual Legal Name(if applicable):
          Company Legal Name(lrappHcnble):                                      Sonet T1·ansportation and Logistics Inc.
          Mnillng Addross: 22 W 35 Street Solle 205
    ··--- ~i1r;__Nal~!lna!_Q!)'.State:CA                        Zip: 91950                         ------·-------·---·--- -·---~-----------...- -·-·------···--.. -------------·----- _
          :~ili~-~~~~~~~~!:::\tt}fi~~~}~~~'.-~~::~i~m:;~~B~~it~ttiq((~S:~J%~;w~~~·~lt{!i~~~:,~-\~P.<':f.t~~?i;E&UtP-.1Y1e-~t;~1.~.~~;!~;r~i::~m~'.;~~-~~).~:,;~Jit{}iiK%;;~;i}f;(1~:!~.1~\::~;:~::~~s~~.~~.:s~~\1it:(:~1~~t;\ii:\;~·~{:¥%~
            Vehicle Year                                          I Vehicle Make                                         IVehicle Model                                        I Vehicle Identification Number
            2012                                                  J Freighlllner                                         J CoscHdi•                                            J 1 FUJGLBG8CLBC8718
                       Refer to Scfledule 1 tif 111/8.' Let1Se Agree111e11tfor Equipment de1ai111· In tile event that 110 Equip11W11t infor1n11tlon appears 11bove
            _(;;,, _;i;i::':'i:·:;:,,~ci'i''""[':\':..c..·:{)f::,,:•.: :;::.:::'.•c:\::.·;,;::,·:.·;surilri1ARY::Cif.•:l]EA$i;'lf£RNIS'':· ·:)'. ;:;;• _, :. ;.; ' -·:;:::, '·:_ .'~::.:'i'~·~;·;:~', :~·;;..:•:•·:,:::H:i
            Commencement                      Initial        Rental Periods           Total      Down                          Advance            Basic Rent              Doc Fee              Security           Ehd ofTern1
            Date & lst Basic                  Term                                   Number of Payment+                          or                (wllhoul                                    Deposit                Option
                                                                                     Payments Taxes ac
                 Rent Dote                                                                                                     Arrears              Taxes)
                                                                                                           Closing
            (.,-1-~ ... , ,                     36            MONTHLY                      36             $1,500.00            Arrears             $2,036.67              $400.00                 $0.00                TRAC
             7-1- ),ul5 MONTHLY
            If Option Upon Expil'atioo of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be 526,300.00

                  11118 LEASE AGREJ:MENT ("Leaf!e") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
                  ("Lessor"}. and LESSEE referenced above.

                                    I. GAANT OF LEASE, Lessor hereby leases to Lessee, und Lessee hereby lenses ftom Lessor, the llquipment described·hercin, together
                  with 1111 replacc1nents, repairs and additions thereto (ind~v1dually and col1ecfively, the "Vehicles'') on the 1enns and conditions set forch in this Lease.
                  Lessee agrees thRl Usseo leases the Vehicles "BS~is'\ and confirms that ru; of the dale of delivery of each Vehicle, such Vehicle is .of the design nnd
                  mt1nufact\lro selected by Lessee. and as ur such dale, Lessee has unconditionally accepted such Vehicles in all respects, Les!ce further confinus that It
                  has ~leete(.) lhc Vehfoles on the bpsis orits own judgment, and expressly disclaims reliance Upon any statements, rcpre:sentatiuns, umammtles madu by
                  Lessor, and Lessee acknowledges that Lessor is not the munufaclurer ofthc Vehicles Lessee certifies lhat tbe Vehicleli' identified herein will be used fbr
                  commer<lial purposes,
                                  2. INITIAL TERM, 'lbe term of this Lease foruch Vehtclc shall commence on the Contmct Date and shall continue for that number of
                  months ftom the first (1st} day Of111e month following the Conlracl Date (unless the Contract Date is the first (Isl) dny of the month~ in which c• the
                  Contract Date shall be the date on which the tenn ofthis Lease commences) {"'Commcnco1~nt Date"') euch as set forth Jn the Summery of Lease Terms
                  (such period os extended or sooner 1ctminated by Lessor as provided heroin, thd'TerM"),
                                  3. RENT. The rental payment amou11t for each Vehiule hereunder (the '"Basic Rent") ls set forth in 1he Summary of Lel\!lc Terms, Basic
                  Rem on each Vchiclr: shall begin to accrue on the Contract Date and shall be due and payable Jn U.S. do11ars in tmmcdialely availab1e f\mds by J..essee
                  In advance or arteal'3 for the period8 (each a "Rental Petiolf') and for the total nwnber of payments l\S att forth in the SumtnaJ}' of Lens~ Tenns; in each
                  case, on the first day of ench such Rental Period. If the Contract Date does not fall On tho firs! duy of the month, the rcntel for lhat period of time from
                  the Contrai.:.1 Dute until lh~ Comniencemenl Date shall~ an .amount equal lo the dailyrcnlal (Basic Rent divided by 7 days for One Weck, 14 days for
                  One Biweekly and 30 days for One Month Rental Periods, as applicable), mulll11licd by the number of duys fiom (and including) the Contract Date to
                  (but not including) the Commencement Date and shall be due and pl'yable on 1t1e Cornrnenootncnl Dute. Les.see shall pay all amounts other than Basic
                  Rent Lesse.o is obligated lo pay hereunder (the "Supplcmcnlal Rent" and IUbrtlher wilh Basic ltcnt, the "Rimi") when due or if no date is specified
                  h~ri:iu, 011 di:ma.nd. If any Reul paym1:.nt is nut made within five (5) days nR!!r its due dale, Lessee shall pay a late charge eqL1a) to the lesser of Hlo/o Qf
                  the late rental pnymenl nmonnl, nnd lhe maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
                  OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDfTIONAl, AND WITHOUT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
                  WHATSOEVER. INCLUDJNG, BUT NOT LIMITED TO, /\NY RIGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE
                  AGAINST LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE Of LESSOR. OR THE MANUFACTURER OF THE VF.HICl.RS FOR
                  ANY REASON WHATSOEVER. SPECIFICALLYINCLlJDING, WITHOUT LIMITATION.ANY CLAIMS THAT LF.SSER MAY HAVE AGAIN!>>
                  LESSOR, ANY OF LESSOR'S AFFILIATES. OR ANY ASSJONHF. OF LESSOR WITH RESPECT TO THE SERVICH AND MAINTENANCE
                  AGREEMENT REFERENCED JN SECT!ON7 HEREOF.
                                  4. OPTION UJ>ON F.XPJRATJON OF JNl11Al.. TERM 01'~ LEASE. Upon expiration oftht' Initial Term of the Lease, Lessee shnll
                  comply with 1h1: provisions of Clouse A or B below, in either case, as specified in the Summary ol"LellSC Terms

                                         A.          Tu·minal Rental Adj11stment Ch1.m1c ("IDAC1'), Lessee ag~i.:s tl1111 there shn11be1111 adjustme.nt of the Rent to be paid
                                                      Lessor m1der the J.eBSe for the Vehicles. l1 is prc:rontly anticipated that the fair market value of the Equipmc1~! {!he
                                                      "Bstimated Fair Mlllket Value") will equnl the TRAC Residual set forth in the Summary of Lease Terms. Upoll



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                                                                                                                                                                                                                                             Exhibit A
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                                                                                                                                                                           ··,
                                                                                                                                                                             l



                            expiration of the Initial Tenn, Lessor will attempt to sell the Equipment. In the event thal lhe Ne! Proceeds (as defined below)
                            are less than the Estimnled Fair Market Value, Lessee Shall pay to Lessor the full amount of such shortfall. If the Equipment
                            hBS not been sold on the last day of the Initial Tenn, lhen the Net Proceeds shall be deemed to be zero and Lossee shall
                            immediately pay to Lessor the TRAC Residual. If the Lessor thereaf\er shall sell the Equipment, lhe Net Proceeds shall be                        '11
                            paid by Lessor to Lessee. Any such payment by either Lessee or Lessor shall be deemed to be a Tcnnimtl Rental Adjustment
                            with respecl lo the Vehicles. As used he.rein, "Net Proceeds" shall mean the proceeds received by Lessor, after dcducling (i)
                                                                                                                                                                             i'
                            all costs and expenses incurred in connection with tbe recovery, repair, storage, and sale oflhc Vehicles, including any and all
                            attorneys' fees and legal expenses, (ii) all lalc charges and all inlcrcsl act."Tm:d at the Dcfaull Rate (as hereinafter defined), and
                            (iii) all rent payments and other obligations ol'Lcs.'icc due und unpaid under the Lease us of the date of the sale or disposition.
                            As to each Vehicle, if the Net Pmceeds received by 1.essor Lessor from lhe sale or olher disposilion of such Equipment after
                            cxpirallon or the lnlllal Term arc less thnn the TRAC Residual amount for such Equipment as set forth In the Summary of
                            Lease Terms, then Lessee shall immediately pay to l.essor the amount of such deficiency as additional Rent hereunder. If the
                            Net Proceeds are in excess of the 'fMCltesldual amount, then I001Yo of such excess shall be rolumcd to Lessee l1!l a rcduc1io11
                            in the Rent for such llquipment, provided, however, thnt Lessor shall be cnlitli;d to retain ull or uny por1ion of such umount to
      -----~-----Sati~t.J..essec!s.obJiptiOAS.Undlcr--lhe-J"".,_                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                              Lessee hereby certifies, under penalty of perjury, th11t
                   {i)   Lessee intends that mo1e than S~A. ofthl.! use of the Equipment subject to this TRAC is to be used in a trade or business of the
                            Lessee,
                   (ii) Lessee has been advised by tax counsel or other lax advisor. and
                   (iii) Lessee understands and agrees Iha!, Lessee will not be treated as the owner or the Hquipmenl identified nbovc for federal income
                             lax -purposes,
                   8.          Sl,00 Buyout. Lessee hereby uncondilionally agrees to purchase all, but not less limn ull, of the Equipment for $1.00 upon
                             expiration of the Initial Tenn of the Leese. Lessee and Lessor agree lhal Lessee is owner of the EqulJ'lment and shall file and
                             pay all license, icgistratlon fees, and documentaiy, sale and uiic lax.es, and personal propm.y tuxes and all other twces, fees and
                             charges relutlng to the ownership, leasing. rental. sate, purchase, possession or use orthe F.q11ipmen1                                             I
                     With respect to any option upon expiration of lhc Initial Term of the I.ease set forth herein, ir written notice of Lessee's intcnUon 10
                     exercise such elected option is not received on ft limely basis, then such fuih1~ shall constitute an Bvent of Default, and 10. the extent
                     that the Lessee fails to return to Lessor the Equipment in accordance with Section 7 hereof, Lessee agrees to pay a daily rental rec
                     equal to t SO% of the daily Rent for caeh day 1hal !he Equipment Is retained by l.cssee: provided, however, such payments shall no!
                     extend Lessee's right to have and use 1hc Equipmenl beyond the lnitiel Tenn of the Lease as provided herein. Upnn exercise of the
                     option elected by 1.essee and payment in 1\111 by Lessee of any related J'IUrohase amounts and all Rent, Lessor will execute and deliver
                     to Lessee the title to tbe"')'~hicles, and any other dm"Umentution
                                                                                .             necessruy lo transfer title lo Lessee, THIS SALE WILL BE
                     WITHOUT ANY         REE·    .~TATION OR WARRANTY OF ANY KIND BY LESSOR, WHETHER EXPRESS OR IMPl.IF.D IN
                     PACT OR LAW and, l: ...;         ill 11cccpt the Vehicles"AS IS'' and ..WHERE IS".

                5. TAX INDEMNIFJCA ·. _·:Jexcept tot.he extent Section 4B is applicable upon cxpir!lrion at the Initial Term. it is understood and
 agreed that Lessor is owner of the F..quipment and that Lessor shall be entitled to such tax benefits that ere available as owner of the Equipment through
 dcprecialion of !he total Cft)litali7.ed cost of the Equipment thereof for federal income lax purposes-, In the event that Lessor suJTcrti any loss,
 dlsallowarice, unavailability, or n:~pture Ofs-uch deprcclnlion tor any reason whatsoever, then, after writcen nolice lherco(by Lessor to Lessee, 1..essee
 shall pay to Lessor an additional incremental amounl payable on ea.ch date th11t the Basic Rent Is thereancr due, wlileh In 1he opinion of Lessor, will
 caU$l Lessor's net after·lax annual cesh How and net afler·tax rale of return respectively, that would have been available if Lessor had been entillcd to
 full utilization of the depn:oiation. In the event that any payment is required to be mado pursuant lo Utls Section S, and such payment is to bo made on
 succeeding rent paymenl dates, but at such time this Lease shaJI have been tcrminalcd_or Rent otherwise no longer shall be due and payable on the
 romaining rent payment dales, Lessee shall promptly pay Lessor any amount equal lo lhc incremental increase in Bilsic Rent which would have been
 required ii' such lax loss had occurred immediatdy prior to die last rental payment dole on or prior to d1e expb'atlon or olhcr tcrinination of the I.ease.
 Lessor :shall promptly noliry ~-ee of die commencement of any proceeding by the lntcmtil Revenue Service In respect or any ik..'ID as 10 which
 indemnity is sought hereunder. Lessee's agreement to p8)' any·sums which may become payable pursuant to this Section S shall !.-urvive the expiration
 or other termination oflhis tense.
                (), US•c OF VElUCLES. Lessee shall use tile Vehicles only in lrs business and in compli1U1ee with aU Jaws. rules, and regulations of any
 jurisdiction where the Vehicles arc used or located. Lessee represents and wammts to Lessor at all times that (I) Lessee hus the righl and ability to enter
 into tllis Lease; (ii) this Lease conslitutcs a valid, legal, and binding obligation and agreement of Lessee, enforceable against ~see in accordance wilh
 its tcnns; and (iii) tbal the entering into and perfonmmceofthis Lease by Lessee wilt not rosull in a breach, violation, or default under any judgment,
 order, law, regulation, loan, mortgage, ogreemcnt, indenture, or other instrument npp1iCable to 1.essee, or result in any breai..'11 of, or constitute a default
 11nder, or result in the creation uf any lien, charge, security Interest, or other encumbrance upon the Vehicles pursuant to any inslrument to which lessee
  is a party or by which II ls bound. Lessee shall (i) use and operate Ilic Vehicles In u careful and pr\ldent manner ror tho purposes nnd in the manner
  ln1ended lo be used; (II) shall keep the Vehicles properly ho11sed or otherwise protecled from damage; and (Iii) shall pay for a11 maintenance of Vehicles
  to keep them in good ancl efficient working order and candltion during the Tenn of the Lease, ineludlng, but is 1101 limited to. Lessee's supplying all
 fuel, htbricants, and other parts, supplies, maintenance and services, and/or Lessee, upon Lessor's req1.1cs1, entering into a service and maintenance
  agreemenl with Lessor or nn nffiliatc of l.essor upon such tenns ond condition.'1 provided by Lessor. Aller notice tu Lessor, Lessee may, at its own
 expense, make alterations or ndd nttnchmenls to the Vehicles, provided lhat sucb alterations or attachments nrc removable und do not reduce lhc valUC;.
  utility or useful lifo of lhc Vchlclcs. Upon the upiration or terininalion oflhc Le11sc, all alterations or attochmenls a1Tixcd to the Vehicles shall become
  the property of Lessor If not removcd, nnd irWst.'C does remove such a11achmen1s, Lessee shall be liable to l.essofor any damage to the Vehicles as the
  resull of such removal. In the cvcnl that uny fudcr11l, stale, or local law, ordinance, mlc ur rcguluiion shall require the ins1allation of any additional
  accessories to any of the Vehicle's, including. b11t 110l lhni1ed to, nnli-pollution nndlor Sflfcty devices, or in the event that any olbcr mutlifiL'ftlitms lo the
  Vehicles shall be required by vi11uc of such law, ordinance, nlle or regulalion, then nnd in eny of such events, Lessee shall pay lhi: l"ull cost lhcreof,
  including lnstallatlon expenses. Lessor may, nt ils uplion, ennnge for the inslnllatlon ofsnch Vehicles or the perfonnancc of such modificntiuns, and
  l.essee agrees to p11y the full cost thereof immediately upon receipl of an invoice for the s11mc
                 7. SURRENDER. Upon either the {i) failure by L.csscc to exercise MY purchese option for any Vcl1icle set forth herein, or (ii) upon
  demfmd by Lessor made pursuant to an Event of Default (as set forlh in Section 19 lrercol), l.essee shall, at its own expense, retum such Vehicle to

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 l.es~or to   1mch le cation within the oontincnb!I Un ired Slalcs as Lessor shall designate:, in the s111nc condition as when delivered, rell.lloneble we11r and I.ear
 ~x-cepted    and olhenYise in the condition rtquired by lhi$ Lo&Sc Upon return of th~ Vehiclu, ~.eswr, or :;uch cntily designated by Lessor, shall perform ft
 physical and mechnnfolll inspection of the Vchlclc.<t Lessee.shall be responsible for the puymcm of any and all costs asaoeiated with the inspection, .onil
 for any imd alT repairs necessary 10 place lhc Vehicles in the same condition as when delivered, reasonable we.ar and tear excepted 11J1d otherwise in the
 amllltlon required by this Lell.llc.
                 8. PAINTING. Lessee may paint the. Vehicles in Les5ec's euslomruy manner mld affiK mlYi:tti.~ing or identifying insignia, provided that,
 upon the expiration or termination of this Lease, and in the event that Lessee does not purchase the Vebicl~s 1nn'Sl1anl to Section 4.B hereof. Lessee
 sht1ll, upon the request of Lessor and at Lessees expense, n:~tore the V~hiclc~ to original condition. ordinai:y weer and teur exoopted
                 9. WARRANTIES. LESSEE ACKNOWLBOOES ANO AOREES THAT LESSOR HAS NOT MADE, AND SHALL NOT BE
 DEEMED TO HA VE MADE, ANY EXPRESS OR IMPL!BD WARRANTY AS TO MERCHANTABILITY, FITNESS l'OAANY PURPOSE OR USE,
 DESIGN OR O)NDITION OP VEHICLES, QUALITY OF MATERIAL OR WORKMANSffiP, OR AS TO ANY OTHER MATfER WHATSOEVER
 RELATING TO 11iE VEHICLES, AND LESSOR SHALL NOT BU LlABLE FOR ANY JNDIRECT, CONSEQUENTIAL. INCIDENTAi., OR
 PUNITIVE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE THE VEHICLES, OR ANY INADEQUACY, DHflCIENCY, DR
 DEFECT fN TI-IE VEHICLES. LESSEE AGREES THAT LESSiill LBASES THE VEH1CLES "AS IS". Lc!lSOt agrees, to the extent possible tmd
 without increasing its lit1biUty hereunder, ond uplln rcques~ to o.sslgn lo Lessee. any warranty of tt mt1nun1cturcr or !lellcr rcl~ting to tile Vchieles
 avai\abli:: to Lessor, provided, however, 1hat Ilic rorcgoing rishts shall automatically revert to Lessor upon the occurrence !Ind during the continuance of ··-· ·-----·..--···-
 any £vent of Default h"C-reundcr, Ofupon rec.Um oftho.VclifotCS-fO LeJ;5or. Lessee agfcCSTu-SCttlC-8ITCfiifiOSWlili rcij)ii:CtT.O"ihC-veructcSillfc"Cilywlifitn:C ·-
 munufacturers thewof, and to give LessDr prompt 001icc of any such settlement and the details of such settlement
                  10. TITI...E AND lNSPli:C'flON. Lessee, at its expense. sball protect ai1d defend Lessor's title and l.."CCJl it fte.e of all claims and liens
 cxr;:ept Ehose cl:alms and liens created by Lessor in co1U1ection with any assignment or rmancing by Less Gr. Lessotmay inspect the Vebicl"'5" at 1m)' ti1ne
 wltho1.1t prior notice dttring regular business hours. I~ al any lime duting the Tenn of this Lease, Lessor supplies Lessee with labels~ plates or other
 mllfklng~ stating that the Vchicfos are owned by Lessor, Lessee. shall affix and keep the same in a prominent place on 1he Vabiclcs
                  11. LJCltNSES. Lessee shall at its expe~ obtab1 all necessary licrmscs(inclllding motor Vehicle phi~ 8Jld rcgisb-alhms. required for the
  uSt: and operation of each Vehicle AU cerrificnte5 of title or rcgi5tration of each Vchl()le shall name Lessor as the owner thereof
                  12. INTERESTS IN VEIIICLES. Lessi::e's rights with respect to this l..ea5e and any Vehiclll$ lensed bcreun~cr will be subject to any
 rights :and interest in nnd ta suid Vehic"'s which may be granted by Lessor (or Lessor's affiliates) ta any assignee or lender -of Lessor (or Lessor's
 filfillah:s). Lessor may assigri to a tender or ony othu assignee ulJ or any pnrt of l.&:1.sor's rights heteu11'31:r, h1cluding. n security intorcst in the Vehicles
  and the right to receive nmts arnl other sums rlue hereunder. Upon notice of.'!uch assignment in writing by a lmdc:-r. 11.SSignoe andl<lt ~1101, LcMce s~ll
  pay all ten1s mid other sUITl!i dlli.! i;ir to become d1.1c wider !his Lease dirccdy to such lender or n.ssignce without stt off, oountcrclaim. or an~· defon!e
  whlIDoover,
                  13. TAXES. Lessee shall puy all per11onal property, sales or use laxes, hll.!lines!! licenses, 3!1sessntenls, penalties,. and charges which mny be
  levied or asserted with respect to the Vehicles (except income tnxes Jevi~d on lc11se payments to Lessor). lll 1he event !hat any suoh taxes> liccnsti11,
  assessments, penalties. or charges ere paid by 1..essor, l&Ssee shqll relmbllrse and pl{)' Lessor immediately after Lwor notifies Lessee in writing of the
  amount of such taxes, licenses, assmmenlS, penalties, charges or expenses paid by Leu1or, llS wtoill w: an 1nJmlnls1111tive fee. Increases or decreases In
  sale.s or use tax rates wlll 11.ffect all lease payments after the effective date of the change "by the 1a.1lng authority, Lessee shall Indemnify and hold Lessor
  hatmless from and against any loss, .cost or expense arising out of or relating toany such tax, Import or levy, inctudipg, wltf\out limitation, any penalties,
  interest and fines rclaUng thereto.
                  14. l~INJ:S. Lessee shall pay all lines due lo ovetload, overlengtll, overweighl, lack of plates or permits, speeding nnd 1my other churg~
  which may be imp0st:d-0r ns~ssed in respect to U1e Vehi~lcs and/or Ltssec's use thereof: The provisions of this Section 14 shnll survive the expiration
  or other termination of this Le.a.11~
                  15. LOSS OR DAMAGE. Licssec shall be11r the i;nti~ risk or Joss, thef\, de1nruction (lf ar dauiage to any Vehicle from any cause
  wlmtsoevct {"Loss ot Damage"). Lessee shall promptly no-1ify Lessor in writing of any Lrus <Ir 011mage. No Loss or Dnmage to any Vehicle~ shalt
  rel~vc Lessee of any ohilgRtion withrespect to scch Vel1icle under this l.em:~ In tho; ev~n of l.."OS$ or P~mage, J,~iiee shall, at ttie option CJf LC!lsor. (n)
  put such Vehicle in good condition and repair in accordance with the manufacturer's recommendn.tions, and to the reasonable sutisfilc1ion of Lessor, at
  Lessee's expense; (b) replace such Vehicle with a like Vehicle (snmc vaJue, utility a11d use.ful life as damaged Vehicle) in uood condition and rcpuir a11:
  approved by Lessor in Lessor's sole discretion wl1h cle&r tille lhereto vested in Lessor; or (c) pay l.essoron or before the next rent pnyment dRle as i;t:I
  forth in accordanoo with Section 3 hereof(sui;h payment d~ the ..Loss Payment Date") In cash tJie sum of. (i) ell anxiunts then due Lessor by Lessee
  1mder lhe Lease relRti:rig to such Vehicl(l, which iimounta shell be prorated through the Loss Pe.yment Date. plus (Ii) an amount equal to the present value
  of the TRAC Residual, if any, rclnting to such Vehicle (as set forth Jn the Summary of Lease Terms), discounted at S.0% computod ftom the expiration
  of the Initial Tenn of the Leu$e lo lh9' Loss Payment Date, plus (iii} an amoQnt eqiml lo the present value of tho unpaid future remaining Rents for the
  initial Tonn of the Lease, relating 10 suoh Vohiclc discounted at S.0% oomputcd from the schedl1lcd payment dmas for such Rents to th~ Loss P.ayn1enl
  Dal~ {the "Casualty Valoe Amount"). Ut:io.h receipt of the Casualty Value Amoont set forth jn (c) ebov~ Lessor shllll asslgn to Lcssoe (ot l.csseets
  Jnsurer) Lessor's interest h1 such Vehiole In its 1hen condilion snd location, "AS IStt wi1hout any warranty whatsoever, expn:.ss or J01plled. If Lessee is
  required to repair any Vehicle ln accordance with {a) ~hove, or to replace an)' Vehicle Jn ae<:ordence with (b) i.bovc, the insur®ce proceeds actually
  received by Lessor, if t1ny, pummnt to Section 16 hertofsball bo first npplicd to pay any 11molJt1tS then due und<!r this Agrccmen~ and then shall be r•id
  to 1.essi::e upon proof satlsfnctOJ}' to J,cs5or 0111t such replliJs have been complt!l-ed as required hereir(in tht case (,)f {11)), or of ackiqu111e purchase. and title
  documents in teii:sor's .sole dist.'Tt=tion (in 011! Cll~ of(b)). 111 tht! evt:.nt l11Hl Lei.:see is obligntcd 10 pay lO Lessor the U:Tfll.l11nl ~~ciliotl in (c) nliove, Lcs-s-ce
  shall be entitled to a credit against such amount equal oo the amount of insurance proceeds actually receiv~d by Lessor, if any, pursnrmt to Section 16
  hereof, en account of such Vehicle
                  Hi. INSURANCE. L-essee sh1lll obtain and maintain imruranae on or with respect lo each Vehicle ftt Its own eKpense and in the amounls
  and fomts satisfactory to Lessor. Jn no event sh111I any insurance coverage be lt:ss than the following: (a) physioal damage insurance in5uring against
  loss or damage to the Vehicles in an mnou11t not less than the full replacement value of such Vehicle; and (bXi) in all States except Florida: (I) not
  grc.alcr tbnn $500 deductible for oolllsion, fife, theft, and comprehensive, and (2) $500,000 con1bined single liml1 for bodily injury linbilily and property
  damage; or (b)(H) tOr1be State ofFloridtr (I) not greater than $500 deductible for co!ll~ion, fire> lhcft, and eamprc:hen11ive,and (2) $250,000 per person
  /$500,000 per incident bodily injury liability. and (3) $100,000 property damage liubillty. (n addition, Ille following.require $1,000,000 excess liobilil)'
  coverage {umbrella): (a) truck/tractors over 45.COO lbs.; (b) trnilers/semi-trniler5; Cow trucks; and (c) limo uses for livery. Lessee shoJI furnish l..es.sor
  with a certificntc of insurance evidenc!J1g issuance of such ins1mmce to Lessee in al least the minimum amount required hctcill, naming Lessor and sooh
  other parties designated by l..essor as cdditionnl inswed there-undl'.'r for liability coverage, and as lo5s payee for property damage coverage. Each policy
  stuill roqulrc lnsurcr 10 give Lessor30 days priot wtl1lcn no ti co of 11ny material alteration in tcnnsof policy or cnneellntion thereof, Wld :shall provide 1hul
  no uction, misrcprescntution or bw.ai;:h ofw11rrnntyofLe.1Gecshnll invalidn.le the policy. If Lessee foils m provide such insurance. Lessor shall have thi.::
  tight, but tlO duty~ to obtain such Insurance, t111d Less~ shnll pay L1;1sso1 all wst:i thereo~ including all oosts incurred liy l.i;:ssor in obtaining such
   insurance together with interest nt the Dditltlt Rate ftom the dute paid by Lessor to the dt1~ p11id in full by L..essec, Lessee shall not use any Vehicle if
  the lnsumnce required herein is nol in f u11 force end effect with respect to such Vehicle. Upon Loss or Damage RS sci forth in Section IS horoof, Lcssc.c
                                                                              P11ge3 of6




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 shall rccciVl: credit for am)' amounts p1dd 10 Lessor by lhe insurer against Less~ obligations he~undcr,
                17. INDEMNITY. LcsS« shtll im:tcmnify Le:sor agAinst, alld hold 1M5Qf hlll"mless fi"Qm, WlY wtd nll -claims, actions, dnnuiges,
 obligations, liabilities, liens (including an)' arising or imposed under the doctrines or striot liability in lorl or product lh1bllity), and r:o!l1s and exj:lenses
 (including a1tomeys fees), arising fron1 or out of the ma11ufacture, purchase, lease, possession, operation, condition, return, or use of dle Vehicles, or by
 operation of law, e;i.;cluding howr:ver uny of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees tlial
 upon written notice by Lessor of assCJUon of any such claim, action, damage~ obligation, liabitity, or lien, l.essct, ol l.e~see's expense tihnll nssume fuJl
 responsibility for the defonse thcrcor, pm'1idcd that Lessor sl111!1 bave the right, but net the obligation, to pnrtloipate in any ~fense conducted by Lessee
 without relieving Lessee of any of Its obligations 11crctmder The provisions of this Section 17 shall sun•lve lermination of this lease
                18. A.SSJGNMEN1", Except as otherwise penniltcd herein, without Lmtrofs prior written consent, Lessee shall notasslgn, tranrl'er, pledge,
 hypotbeoate or olllervdse dispose of this L~se. the Vehicles or llfiY interest lherein, or l'!ublet or lend the Vehicles, or permit the Vehicles lo be used by
 anyone except Lessee or Lessees authurized employees. Lessor may assign this Lease or any interest lherein in whole or part wlthollt notice to Lessee
                19. DEl<'AULT. Lessee shall be In default of this Lease upon the happening of any of the following events or conditions which shall
 constitute ..E"enls of Defilulf': (a) Lessee fells to pay nny Rent or otheJ 11motmt when due; (b) Lessee foils to obscive, keep or perform any other
 ce>vcnant or provJslon of this Lease required to be observed, kept, or porformcc:t, by Lessee; (c) Lessee removes, sells, transfers, eneumbtn, cre11te$ ~
 security interest in, relinquishes possession of the Vehicles, or performs any act which impairs Lessor's title to any Vehicle or altempts any of lhe

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 substantiRI. part of Lessee's pmpcrly; (g) Les11-ce ex~ric.nct.!i a tmiterial .chungc in its business or affairs (including tem1i11utio11 of Lcsstc's c:mploymcnl
 or termination of Uu; contract under which Lessee f)Tovidi:s service!t Dr e change in the control or ownership of l.essee or 1.essee's employer or the party
 with which Lessee contracts to provide services) which in 1,essor's sole ju<lgincnt imp11irs the se<:urity of eny Vehicle or increases lhe credit rlsl;
 invoh•ed tilc.tcin; (h) Lessee !diempts to assign this Lense without the consent ofl,essor; or (i) Lessee fails to notify l..essor of en}' materiel change in its
 bu:dness nnd affairs, including a change in the ownersbip or con1rol of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Loe.sing,
 Jnc. and its succe-ssor5 and assigns:, the- true and lswtlll attomcy-ln·.fect of Lc.ttce, with t\111 power in the nrune of Ltsse~ upon lhc occurrence of an Evant
 of Default, (i) to demand and re~ive any end all moneys and claims for moneys due in rospecl of or relaling 10 !he Equiptoont, (Ii} to 8ssign or trllllsfor
 1111y of Lessee's rights UDder this J.oase OT in the F'..quipment (including assigning lhe rights oflAssee to any replaeemen1 lessee hereundct Md/or causing
 any otlu.:r pemin to become the registered owner of lhe Equipment) and (Iii) to tnke any <Jther ncUon In respect or this l.c!lllC or any of 100 Equipment.
 Lessee ratifies and approves l!Jl acls of Bnsh Truck Leasing, Inc., as attomcy-in-fnct. Bush Truek Leasing, Inc., ns nttorney-in·f°"' will not bo liable for
 l1Jll' IK\ts 01 omissions or errors of judgment or mistQk.c ol' fact or law. This power, being coupled witli an iritetcst, is irrevocable- until all obligations
 under this Lease have been ftt[ly satisfied
                  :lf.l. REMEDIES. Upon the occurrence of any Event of Dcfaull 1 Lessor may declare this Lease to be In default, 11.nd til any tinte: thereafter,
 Lessor, ut ils option. may do w1y one or more of the following: (n) cunccl lhi11 Lemc; {b) pro(Xlcd by 11pproprillte .action lQ enforce performanoe of the
 Lease at Lessee's expense QT to reoover damages (including attorneys fees) for the breach thereof; (e) demand Ihat Lessee, and In such case the Lessee
 shall, return all or any part of the Vehicles promptly in the manner required by and in accordance wlth Section 7 '11:lreof; (d) ente.r, with or without legal
 process. Lessw's premises or any o1her premises where the VCblcles are located, and take possession of alt or any part of the Vehicles without any
 liability to L~sseeby reason of such entry; (e)scll, least; or otherwise dispose of all or any part of the Vehicles at a public or private sale, whicil ma)' be
 conducted where such Vchidcs are then 1ocattid; (I) ~and ~t Lessee, 1111d in such cttSe I.es.see shall, pay to t.es:sor as li<iuld1ted damages for loss of n
 bargain end not as a penalty an amoWll equal to the sul1qof~1) nil amm.ints due and unpaid uncler the Lease (including without limitation any indcmAlty
 oblie:ations) plus inter1.1st lherirot1 from the due. dnte the~~ifpt .a per annum interest mte equal to lhe prime rate of inlcreil then in effect as published in
 the Wall Street Joun1al plus2.0% (the "Dofault Rate"), JnUs. (ii) the present value of all future Rent pny1ncnis for such Vchlclcs,dlscounled al 5.Q'l.4, plus
 (iii) the present 'Va1ue of1hc TRAC Resldu11l, if 11ny, dfacounted at 5.00A., plus (iv) all cosls and expenses incurred by Lcisorin enforcing Lc.ssor's right<>
 hereunder (incl1.11Hng,. without limi111tio11, 1tl1 co~lS ofre1K1ssession. recovery, st<lragc, repnir, sale, re-lease, and attorneys' fees). together wilh interest
 Ihereon at the Defitult Rufe from the dntc of demand to the date t1f payment in full Ohe "'Liquidated Damnges"), OT (g) exercise any other right or rt:mcdy
 which 11111y be- llvaih1b)e to ~r under the Uniform Q>nunercial Code 9r t111y other appJi~Mt.1 Jirw Tbi:; prQCR.ds Qf any sule or lease of the Vchicl= by
 Lessor shall be uppJiC«l in t11e following order of priority (J) to pay all of Lessor's expenses: in taking, holding. preparing for sale or lease, .and disposing
 of the Vehicles, including all attomey11 fees and legal expenses, then (2) to pay any la1e charges and all interest accrued a1 the Defilult ll..ate; then (3) to
 pay accrued but unpatd Rent payments, then (4) lo pay any other unpaid sums due under lhis Lease including Liquidated Damages. lfthe proceeds of
 any sale or lease are nol sufficient to pay lhe amounts <JWCd to Lessor under this Lease, Lessee will pay the defioicncy. Lessor mey al~o. withou1
 liability, ~ke any peJSonaJ vmperty stored wJtllin the Vehicles: and may store any such property at Lessee'a expense for 30 d~ys, Lessee will be
 obligated to reclaim Stich property within 30 dllYS lrlil hcNby waives any ri~h15 in .such property thereafter. Any unclaimed pro]l\!'l'CY will be deemed
 abandoned after 30 days and wlll be 41senrdi:;d by Le5sor. l&ssor's remedies hereunder :shall be cumulatl'/o, Any securit)' deposit paid by Lessee to
 Lessor in cDnncction wilh this Lease i.;hall be fQrfefted by l..es~ee upon the happening of any Event of Dcfa\llt, IUld shall be applied to Lt1Ssee's
 obligations under tlils Lease pursuant to lhls ~clion 20. Lessor's remedies hereunder may be exercised ins load <Jf or in nddllion to nny otiler legal or
 equitable remedies. Lessor; has the right lo sr:I cff any sums roceived from 1111y source (including insurance proceOOs) 11galnst l.cssec's obligations under
 this Lease. Lessee w11ives its right lo object to the no lice of the time or place of .sale or lcmc, and lo the m1UU11;r and pl see of any advertising therefore.
 Lc.esec w11ivC11 nny defense based on .statutes of limitatioll!I or Inches in ~ciions fbr d11.mttges. In case of failu~ by Lessee lo pny sny fees, a...sussme11ts,
 charges, or taxes arising with rospco.t lo the Vehicles, L.essor shall ha\'e lhc right, but not the ohligu.tion lo pll)' such amounts, and in that even!, the cost
 lhcreof shall be payable by Lessee: to Lessnr upon demallff, togethct witli hllc:resl 111 lhe Default Rate from 1hc dale of dlsbursenicnt b}' Lessor
                  21. SECURITY DEPOSIT. The. Security Deposit shall be held by Lessor during Uu;i entire Term oflhe Lcuse, including the ln1erim Term
 D,nd any renewal tem1, es ~c11rity for the full pnymeut ttnd pcTformance of the terms, conditions 11nd ohligalions of Lessee hereunder and under any and
 WI Schedules. The Security Dcposi1 sh111l 1101 e11cu:re- the performance al the time and In the- manner prescribed or sny oblig11tion nf Lessee or cure a
 default of Lessee. Lessor may, tiut sliall not be required to, npply such Security Deposit towurds disclrnrge of any overdue obligallon of Lessee. Lessor
 shall be entitled to commingle the Security Deposit with nny of its own funds:, No Interest shHll accrue on the Security Deposit nnd Lessor shall heve no
 liability lo account to t.e.ssee for any inleresl If Lessor shall apply any of the Security Ol:!poslt lowards any obligations of Lesseo.mder the Leaso. Lessee
 shall, upon demn.nd, pay lo Lessor ru1 amount necesswy tn retum 1he Security Deposit to the Sum specified t1bove. Jn furtheram;ie thereof, Lessee bore: by
 grants lo Lessor a security h11crcs1 in the cash comprising the Securicy Deposit from lime to time and IUlf n1td ull interest thereon, together with the
 proceeds thereof, lfl secure the prompt payme11111s and when due of nll indebtedness, and the prompt pcrfonnance as and when due of all obligations, of
  Lessee now or hereafter re<1u1ted under the Lo11se. lfno DefJJult h~s tticn occurred, llpon 1he e~piratlon or earlier lcnnlnntlon of the Term of the Lease,
 the balance ofd1c Security Deposit thon held by Lll~or shall promp!ly be poid to Lessee
                  22. SEVERABILITY, The involidatioo of m1y provision or provisions of lhis Lease us unenforceable slia!I not operate to invalidalc the
 remainder of tho Lel!Se which shull remain in full force and effect
                  23. NOTICES. All notices refall11g to this Le"-~e shall be delivered in pcrsan to im officer of Lessor or Lessee or malled to 1he rt:i:.pective
 addresses shown above on the fhst page of this LcllSo. or 1o such address 11s otherwise spoolfied in writing by !he appropriate party hereto
                  24, WAJVKn. Les11or's forbcGrBnc-0 of exercise of any righl or temedy on Lessee's brc:ai:ih of 11ny terms, covenants or conclition."ii hc1cunder
                                                                               Page4 of6




                                                                                                                                                                        Exhibit A
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                                                                                                                                                                                             .
              shrill not be deemed a waiver of such right or remedy, the requirement of ptmctual performance. or miy of iU remedies upon any other or subsequent
              breach or default
                             25. GOVERNING LA\V. This Lease takes effect upDn ib acceptance and ~x~ution by Lessor, nnd shall be g,ovemcd. interpreted 11nd
              construed under lhe. hnvs of the State of Ohio. Ohio low stud I prevall In the event of llfJ)' oonflicl of law without l'~gattl lo, and wltho\lt giving effect to,
              the spplf Dlllion of cl1oice of law rul., LESSEE WAIVES ALL RIGHTS TO TRIAL BY JURYIN ANY LITIGAT!ON ARISING FROM OR RELATED
              TO THIS LEASE, AND LESSEE SUBMITS TO THE JURISDICTION OF THE FEDERAL DISTRICT COURT FOR THE SOUTHERN DISTR!C1'
              OF OHIO, OR ANY ~rATECOURTOF COMPETENT JURISDICTION WITHIN MONTGOMERY COUNTY, OHIO, AND WAIVES ANY RIGHT
              TO ASSERT 'l1iAT ANY ACTION INSTITUTED l!Y LESSOR IN ANY SUCH COURT IS IN TliE IMPROPER VBNUE OR SHOULD BE
              TRANSFERRED TO A MOl\E CDNVENlBNT FORUM
                             '.lfi.     WAIVER oi<· DAMAGF..S. Lessee wAiVes to the fullest e~tcntp1mnlttcd by law any right lo or el aim of any punitlve, exemplary,
              indirect, special, oonscquential. or incidental dome.ge11 against Les~r. L.esaee agrees that, in the event of a: dispute, oeluim er eontrover.iy ngainst !Miaor.
              Lessee shnll be lltnited tc the recovery of actual direct damages sustained b)' lt, subject to any limibn direct da1m1ges :iet forth in this LeRSl.l, L.cssec wilt
              not acwpt c:ir au em.pt to cDllect through the courts or otl1eiwise any punitive, exemplary, indirect, corniequential, t1r incidental damages from Lesser
                             27. SUCCF.SSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee and their respective
              successt1rs and assigns pcnnitted hereunder.
· · ··-·······-··--·· · ··c0inp1y·in&d~~~=~~£~t!c~W-~J!rdis~liaii~~~~~~~fbfarta£~~;\~iill~:~r~~;~I::~diAi~~ ~~~~¥~~-i~~~-~o ~e~1vt~~t.;;triliuVc;~!d~·!ciim···
               QTder, gQvemmental wguletlons, or other interference or any ct1use whatsoever not within the sole control of Lessor

                                                                            (SIGNATURE PAGES FOLLOW!




                                                                                                                                                                                              ;.   ~:~




                                                                                                                                                                                                   :··




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IN \\'ITNESS 'WHEREOF, the pruties hereto have entered into this Leese Agreement as of the dale first above written

                                                                                    LESSOR:              ~\µ411. 'Jll1l<Ck. !Aas!n3.. ll.W·

                                                                                    Dy:           ~~..J.G_p,_
                                                                                           L>lana
                                                                                    Name:_ _ _ _ _S.
                                                                                                  __ Cornette
                                                                                                      _ _ _ _ __
                                                                                                Vice President
                                                                                    Title:. _ _ _ _ _ _ _ _ _ _ __

 ·----··--- ··-··----------- ------------                                                                                  - - - - - - - - - · - - - ..-




                                                                                    LESSEE: Sonet Transportallon and Logl10cs Inc.


                                                                                    ®By:~tAAd
                                                                                        Y°SJONATURE




 EQUIPMENT ACCEPTANCE
 Lessee hcitby confinns that the llquipmcol has been delivered, duly asiromb1ed and in good working order and condllion. Lessee confirms that after a
 reasonable opportunity lO inspect the Equipment, it has soluly selected, und unconditionally end inevocably aceepted 1he Equipment as·is, whcrc·is for oll
 purposes of this Lease as of this date. In lhe eVcnt that the Equl1>mcnt is no1 delivered and accepted within lhirty (30) days of Lesse1fs signing of this
 Equipment Acceptance, Lessee l1crcby authorizes Lessor to increase the P11yments to reflect any 1..cose rate inGrCasc applicable to the Lease




                                                                                                                 orlatlon and Logistics Inc.



 (X)Dntcd:




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                                                                                                                                  6961 Cintas Blvd

            ~BTTS'.H
            ,V V;
                                                                                                                                  Mason, OH 45040

             ..        TRUCK LEASING, INC.                                                                                        800-766-2874
                                                                                                                                  www.bushtrucks.com
                                                                                LEASE AGREEMENT
                              Contract Date:                          I{ . / :;-                                       Lease ID No.             CLBC8816

                                                                                            LESSEE
Individual Legal Name(ifapplicable):
Company Legal Name(if applicable):                              Sonet Transportation and Logistics Tnc..
Mailing Address: 22 W 35 Street Suite 205
- . .:. ::_:.. .______ ~ -- .-~       --         -- ... ::!!~--.-..---..--...--..-.-_-.---_-_-_-_-_-_-_-_-_---·------.-.-..-..-------..-.-....-.-.-..-.--..-.-.------.-_-_-_-..-..----..-_-__-,_-_-_--..+-----
                                                                                         EQUIPMENT
 Vehicle Year                                       I Vehicle Make                                IVehicle Model                               IVehicle Identification Number
 2012                                               I Freightlioer                                ICa!;:cadia                                  I IFUJGLBG8CLBC8816
            Refe1' IO S~l1edule 1 of this Lease Agreement/or Eqllipn1e1l'f details 111 the event that no Equipment hrfornul1io1111ppean.. (lbove
                                                                           SUMMARY OF LEASE TERMS
Commencement                       Initial       Rental Periods         '.fotal f Down  Advance Basic Rent                                 Doc Fee          Security       End of Tern1
Date & 1st Basic                   Term                             Number o        Payment+             or             (without                            Deposit          Option
                                                                     Payments         Taxes at
      Rent Date                                                                                        Arrears           Taxes)
                                                                                      Closing
  1 ·i      .;,__,/~            36                MONTHLY                 36         Sl,500.00         An·ears         $2,036.67           $400.00            $0.00            TRAC
                              MONTHLY
  8'- I      d-.~I      '5"
 If Option Upon Expiration of Initial Term of Lease is TRAC under Sect.ion4A herein, the "TRAC Residual" shall be $26,.300.00

       THIS LEASE AGREEf\.iENT \Lease") is hereby entered into as of I.he Contract Date above by and between BUSH TRUCK LEASING, INC.
       ("Lessor"), and LESSEE referenced above. ·                        .. ~
                                                                                                 ~f-
                       l. GRANT OF lJEASE. Lessor hereby leases to L.essce, an ·· .·v hereby leases from Lessor, the Equipment described h~in, together
       with all replacements, repairs and additions thereto (individually and               coll~v.C.
                                                                                              , the "VehiclcSj on the l-erms and conditions set forth in this Lease,
       Lessee agrees that Lessee leases the Vehicles "'.as~is", and confirms that as oft c date of dcliv1.o'T)' of each Vehicle, sµch _Vehicle is of the design and
       manufacture selected by Lessee, and as of such date. Lessee has uoconditionally accepted such Vehicles in all respects. Lessee further confirms that it
       has selected the Vehicles on the basis of its own judgment, and expressly disclaims relhince upon any statements, representations, 01Narranlics made by
       Lessor~ and Lessee acknowledges that Lessor is nor the manufacturer of lhc Vehicles Lessee certifies that the Vehicles identifiedhercin will be used for
       commercial purposes.
                       2. INITIAL TERM, The term of this Lease for each Vehicle shall commence on the Coctract Date and shall continue for that number of
       months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (Isl) day oflhe month., in which case the
       Contrac:t Date shall be the date on which the term of this Lease commences) ("Commencement Dale") each as set forth in the Summ81)' of Lease Terms
       (such period as extended or soom:r tenninated by Lessor as provided herein. the"Tcnn").
                       3. RENT. The rental payment amount for c;ach Vehicle hereunder (lht: "Basic Rent'') is set forth in the Summary of Lease TcOllS, Basic
       Rent on each Vehicle shall bcgjn to ac;crue on the Contract Dale and shall be due and payable in U.S. dollars in imm~ialcly available funds by Lessee
       in advance or arrears for the periods (each a ..RcnlBI Pcriocl'') and for the totaJ number of payments as set forth in lhc Summary of Lease Tem1s, in each
       case, on the first day of each such Rental Period. Tfthe Contract Date does not fall on the first day of the month, the rental for that period of time from
       the Contract Date until rhc Commencement Date shall be an umount equal to the daily rental (Basic Rent divided by 7 duys for One Week • l 4 days for
       One Biweekly and 30 days for One Month Rental Periods, as applicable), rnulliplied by the number of days TI-om {and including) the Contract Date lo
       (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
       Rent L<..-ssec is obligated to pay hereunder (the ..Supplemental Rent" and together with Basic Rent, the "'Rent") when due or if no date is specified
       herein, on demand. lf any Rent payment is not made within five (5) days allc1 its due date, t.esseeshaJI pay a late charge equal to the lesser of 10% of
       the l1:1te rental payment amount, and the maximum amount pcrmiued by law. LESSF.:E'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
       OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITIIOUT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
       WHATSOEVER, INCLUDING, BUT NOT LIMITED TO, ANY RIGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER llA.VE
       AGAINST LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR, OR Tl!E MANUFACTURER OF THE VElllCLES FOR
       ANY REASON WHATSOEVER, SPECIFlCALLY INCLUDING, WlTHOUT LIMITATION, ANY CLAIMS TllA T LESSEE MAY HA VE AGAINST
       LESSOR ANY OF LESSOR'S AFFILIATES. OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
       AGREEMENT REFERENCED IN SECTION 7 llEREOF.
                       4. OPTION UPON EXPIRATION OF INITL<\.L TERJ\f OF LE..\SE. Upon expiration of the initial Tt:rrn of the Lease, Lessee shall
       cumply witl1 the provisions of Clause A or B below, in ei!her ca!le, as specified in the Summary of Lease Terms

                              A.           Terminal Rental Adjustment CtauSt' (""lllAC"). Lessee agrees tha1 there shall be .11n adjustment of the Rent to be paid
                                            Lessor under the Lease for the Vchh:Jes. lL is presently anticipated that the fuir market value of the Equipment (lhc
                                            "Estimated Fair Markel VW.uej will equal the TRAC Residual SCI forth in the Summury of Lease Terms. Upon




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                                                                                                                                                                                                   Exhibit A
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                                      expiration of lhc Initial Term., Lessor will atlr.:mpi to sell the EquipmcnL In lhc event that ihe Net Proceeds (as defined below)
                                      arc less than the Estimated Fair Market Value, Lessee sha11 pay lo Lessor the full ;miowll of such shortfall ]f the Equipmcnl
                                      has not been sold on the last day of the Initial Tenn. then the NcL Proceeds shall be deemed to be zero and Lessee shall
                                      immediately pay to Lessor the TRAC Residual. Tf the Lessor thereafter shall sell the Equipment, lhc Nc:l Proceeds shall be
                                      paid by Lessor to Lessee. Any such payment by either Lesse.e or Lessor shall be deemed to be: a Terminal Rental Adjusl.ment
                                      with respect to the Vehicles. As used herein., ..Net Proceeds" shall mean the proceeds received by Less.or, after deducting (i)
                                                                                                                                                                                  I
                                                                                                                                                                                  !
                                      all costs and expenses incurred in connection with the recovery, repair, atorage, and :sale of the Vehiclea, including any and all
                                      attorneys' fees and legal expenses, (ii) all late charges and all interest accrued at the Default Rate (as hereinafter defined), and
                                      (iii) all rent payments and other obligations of Lessee due and unpaid under the Lease as of the date of the sale or disposition.
                                      k;. to each Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment 11.0cr
                                      expiration of the initial Term are less than the TRAC Residual amount for such Equipment as.set forth in the Summary of
                                      Lease Terms, then Lessee shall immediately pay to Lessor the amounl of such deficiency ru; addllional Rent hereunder. If the
                                      Net Proceeds ~ in excess of the TRAC Residual am01.ml, then l 00% or such excess shull be returned to Lessee as a reduction
                                      in the Rent for such Equipment, provided, however, that Lessor shall be entitled to retain all or uny portion of such umount to
~~~~~~~~~~~~~~~~·aatuis~~~'~•~•~Y~o~f~b~e~·~se~e~'•~•~•~h~gaa•uio~•~•~•~1~•d""'-l!l<-i.,ease-~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-


                                        Lessee hereby certifies, under penalty ofpcrjury, that
                             (i)   Lessee intends that more than 50% of the use of the Etjuipment subject to this TRAC is to be used in a trade or business of the
                                      Lessee,
                             (ii) Lessee has been advised by tax counsel or otm.'T tax advisor, and
                             (iii) Lessee understands and agrees that., Lessee will not be treated as the owner of the Equipment identified above for federal income
                                      tax purposes.

                             B.         $1.00 Buyout. Lessee hereby unconditionally agrees to purchase all. but not Jess lhnn all, orlhc Equipment for $1.00 upon
                                      expiration of the Initial Tenn of the Lease. Lessee and Lessor agree: that Lessee is owner of the Equipment and shall file and
                                      pay all license, registration fees, and documentary, sale and use laxes, and personal property taxes and all other taxes, fees and
                                      charges relating to the ownership, leasing, rental, sale, purehasc, posscss_ion or use of the Equipmenl

                               With respect to any option upon expiration of lhc lniLial Term of the Lease set forth herein, if written notice of Lessee's intention lo
                               el(ercise such elected option is not received on 8 timely basi:s, then sLtCh failure shall constitute an Event of Default. and to the extent
                               that tho Lessee fails to return to Lessor lhe Equipment in accordance with Section 7 hereof, Lessee agrees to pay a daily rental fee
                               equal to 150% of the daily Rent for each day that the Equipment is retained by Lessee; provided. however, such payments shall not
                               extend Lessee's right to have and use lhe Equipment beyond the Initial Tenn of the Lease as provided herein. Upon exercise of the                   l
                               option elected by Lessee and peym1;nt in full by Lessee of any related purchase amounlS and .all Rent, Lessor will execute and deliver                 f,
                               to Lessee the title to the Vehicles, and any other documentation necessary to lransfer title to Lessee. THIS SALE WILL BE                              r
                               WITHOUT ANY REPRESENT ATJDN DR WARRANTY OF ANY KIND BY LESSOR, WHffrJ !ER EXPRESS DR IMPLIED IN                                                     '
                               FACT OR LAW and, Lessee will accept the Vehieles"AS IS" Elld "WHERE lS".

                          S. TAX J.NDEJ\INIFICATION. Extcpt lo the extent Section 48 is applicable upon expiration at the Initial Tenn, it is understood and
           agreed that Lessor is owner of the Equipment and lhal Lessor shall Qe entitleO to such tax benefits lhnt arc ayailable as owner of the Equipment through
           depreciation of the total capitalized cost of the Equipment thereof for federal income tax purposes. In the event that Lessor sulfers any loss,
           dis allowance, unavailability, or recapture of such depreciation for any reason whatsoever, then, after written notice thereof by Lessor to Lessee, Lessee
           shall pay to Lessor an additional incremental amount payable on eacn date that the Basic Rcnl is: thereafter due, which in the opinion of Lessor, will
           cause Lessor's net after-tax annual caah flow and net after-tax rate of retum respectively, that would have been available if Lessor had been entitled to
           fall utilization of the depreciation. In the event that any payment is required to be made pursuant to this Section S. and such payment is to be made on
           sLtCeeedin_g rent payment dales, but at such time this Lease shall have been terminated or Rent otllerwise no longer shell be due and payable on the
           remaining rent payment dates, Lessee shall promptly pay Lessor any amow1t equal to the incremental increase in Basic Rent \Vhich would have been
           required if such tax loss had occurred immediately prior to the last rentaJ payment date on or prior to the expiration or other termination of the Leese.
           Lessor shall proinplly notify Lessee of the commencement of any proceeding by the Internal Revenue Service in n:spcel of any item as to which
           indemnity is sought hereunder. Lessee's agreement to pay any sums which maf become payable pursuant to this Section 5 ahall survive the expiration
           or other termination of this Lease.
                          6. USE OF VEHICLE..~. Les~eeshall use the Vehicles only in its business and in compliance with all laws, rulbs, and regulations of any
           jurisdiction where the Vehicles a.re used or located. Lc:ssee represents and warrants to Lessor at al\ times that {i) Lessee has the right end ;i.bility in enter
            into this Lease; (ii) this Lease constitutes a valid, legal. and binding obligation and agreement of Lessee, enforceable against Lessee in accl)rdance with
            its terms; and (iii) that the enlering into and perfonnance of this Lease by Lessee will not result in a breach, violation, or dcfaull under any judgment,
            order, law, regulation. loan, mortgage, agreement, indenture, or other Instrument applicable to Lessee, or result in any breach of. or constitute a defaul1
           under. or result in the creation of any lien, churge, security interest, or other encumbrance upon the Vehicles pursuant to any instrument to which Lessee
            is a party or by which it is bound. Lessee shall (i) use and operate the Vehicles in .a careful and prudent manner for the purposes and in the manner
            intended lO be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) shall puy for all maintenance of Vehicles
            to keep them in good and efficient working order and condition during the Tenn of the Lcnsc, including. but is not limitecl lo, Lcss~'s supplying all
            fuel, lubricmts. Wld other parts, supplies, maintenance and :services, and/or Lessee, upon Lessor's request, entering into a service and maintenance
            agreement with Lessor or an affiliate of Lessor upon such terms mid conditions provided by Lessor. After notice to Lessor, Lessee may, et its own
           expense, make alterntions or add attachments to the Vehicles, provided that such alterations or attachments are removable and do not reduce the vatue,
            utility or useful life of the Vehicles. Upon the expiration or termination of the Lease, all alterations or allachments affixed to the Vehicles shall become
            the property of Lessor if nol removed, and if Lessee does remove such nuachmcnts, Lessee shall be Hable lo Lcssofur any damage to the Vehicles as the
            result of such removal In lhe event that any federal, state, or local law, ordinmice, rule or regulation shall require the installation of any additional
            accessories to any of lhc Vr.:hicles, including, but not limited to, anli-pollution and/or safety devices, or in lhc event that any other modifications to the
            Vehicles shall be required by virtue of such law, ordinance, rule or rugulalion, then and in any of such events, Lessee shell pay the full cost thereof,
            including installation expenses. Lessor ma)', at its option, arrange for the installntion of such Vehicles or the perfommncc or such modifications., and
            Lessee agrees to pay the full cosl thereof immediately upon receipt of an invoice for the same
                          7. SURRENDER. Upon either the (i) failure by Lessee lo exercise any purchase option fo1 any Vehicle set forth herein, or (ii) upon
            demand by Lessor made pursuant lo 1:111 Event ofDefuult (as set forth in Section 19 hereof), Le.-:.~ee shall, at its ov.n expense, return such Vehicle to

                                                                                       Page 2 of6




                                                                                                                                                                               Exhibit A
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       Lessor to such locatioJ1 within the continental United States as Lessor shall designate, in the same condition as when delivered, reasonable wear and tear
       excepted and otherwise in the condition required by this Lease Upon return of the Vehicles, Lessor.or such entity designated by Lessor, shall perfom1 a
       physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the paymemof any and all costs associated with the inspection, and
       for any and all repairs necessary to place the Vehicles in the same condition as when delivered, reasonable wear and tear excepted and otherwise in the
       condition required by lhis Lease
                      8. PAD'\"TJNG, Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided that,
       upon the expiration or tennination or this Lease, and in the event lhat Lessee docs not purchase the Vehicles pursuant to Section 4.B hereof, Lessee
       shall, upon I.he request of Lessor and al Lessees expense, restore the Vehicles. lo original condition. ordinary wear and tcHT cxccplcd
                      9. WARRANTIES. LESSEE ACk'NOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE. AND SHALL NOT BE
       DEEMED TO HAVE MADE. ANY EXPRESS OR IMPLIED WARRANTY AS TO MERCHANr ABILITY, FITNESS FORANY PURPOSE OR USE,
       DESIGN OR CONDITION OF VElUCLES, QUALITY OF MA TERlAL OR WORKMANSHIP, OR AS TO ANY OTHER MATTER WHATSOEVER
       RELATING TO THE VElilCLES. AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT. CONSEQUENTIAL. INCIDENTAL. OR
       PUNITIVE DAMAGBS ARISING OUT OF THE USE OR INABILITY TO USE THE VEHICLES. OR ANY INADEQUACY, DEFICIENCY, OR
       DBFECT JN THE VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEHlCLES "AS IS", Lessor agrees, to the extent possible and
       without increasing its liability hereunder, and upon roqm~st.. to assign to Lessee, any warranty of a manufacturer or seller relating to the Vehicles
       available to Lcss01, piuvidcd, howcvci, l11ac che finegoiug 1ights shall au10111alically 1eve1t w Lc&sor up011 die occu11em:.-e and elm hig the cm1chma11oe UI
· · -- any EVent of'DefaulffiCieiiildcr, or uj)oJi re tum ol ffiCVCfilclCs to ~sor. ""WSCe agrees to settleS:llCTalrii.s- Wlffi reSjiect fo" ftle-Vemcres· c1rectly w1fl1Bie
       mrmufacturers thereof, and to give Lcssur prompt notice of any such settlement nnd the details Of such settlement
                       tf). TITLR ANO INSPECTION. Lessee, at its expense, shall protect end defend Lessor's title and keep ii free or all claims and liens
       except those claims and liens created by Lessor in connection wi1h any assignment or financing by Lessor. Lessor may inspet:t the Vehicles at any time
       without prior notice during regular business houra. Ii: at any time during the Term of this Lease. Lessor supplies Lcssuc wiU1 labels. plates or other
       markings stating thal the Vehicles ar; owned by Lessor, Lessee shall affix and keep the same in e prominent place on the Vehicles
                      11. LICENSES. Lessee shall al its cxpcnsc obtain all necessary Jicenses(including motor Vehicle pie~ and registrations, required for the
        use and operation of each Vehicle. All certificates oftitlc or registration uf each Vehicle shall name Lessor as the owner thereof
                       U. INTERESTS JN VEHICLES. Lessee's rights with respect to this Lease and t1ny Vehicles leased hereunder will be subject to any
       rights and interest in und to said Vehicles which may be granted by Lessor (or Lessor's affiliates) lo any assignee or \ender of Lessor (or Lessor's
        affiliates). Lessor may assign to a lenQer or any other as'signee all or any part of Lessor's rights hereunder, including a security interest in the Vehicles
       and the right Lo receive rents and oth~rsums due hereunder. Upon notice of such assignment in wriling by a lender. assignee and/or t.essor, Lessee shall
        pay all rents and other sums due or to become due under this Lease directly to such Jcnd'-'f or assignee without set off, counterclaim, or any defense
        whatsoever,
                       13. TAXES. Lessee shall pay all personal property. sales or t:1sc laxes, business licenses, assessments, penalties, and charges which may be
        levied or RSserted with respect to the Vehicles (except income laxes levied on lease payments to Lessor). In the event lhat any such t<1xes, licenses.
        assessments, penalti~. or charges are paid by Lessor, Lessee shull reimburse and pay Lessor immediately after Lessor notifies Lessee in writing of the
        amount of such taxes, licenses, as:scssmL"llts, pcna1tic.s, charges or expenses paid by Lessor, as well as an administrative fee. Increases or decreases in
        sales or use tnx rates will affect all lease payments after the cfTectivc date of the change by the taxing authoril)'. Lessee shell indemnify and hold Lessor
        harmless from 8Ild against any loss, cost or expense arising out of or relating toaey such tax, import or levy, including, without limitation, any penalties,
        interest and fines relating thereto.
                       14. FINES. Lessee shall pay au fines due to overload, over1ength, overweight, luck of plates or permits, speeding and any other charges
        which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof. The provisions nf this Section 14 shall survive the expiration
        or other termination of this Lease.
                       15. LOSS OR DAMAGE. Lessee shall bear the entire risk of loss, theft, destruction of or damage to uny Vehicle from any cause
        whatsoever ("Loss or Damage"}. Lessee shall promptly notify Lessor in writing of any Loss or Damage. No Loss or Damage to any Vehicles shall
        relieve Lessee of any obligation with respect to such Vehicle under th.is Lease. ln the event of Loss or Damage, Lessee shall, at the option of Lessor; {a)
        put such Vehicle in good condition and repair in accordance with the manufacturer's recommendations, and to the reasonable s~tisfaction of Lessor, at
        Lessee's expense; (b) n<place such Vehicle with a like Vehicle (same vah1e, utility l:llld useful life as damaged Vehicle) in good condition and repair as
        approved by Lessor in Lessor's sole discretion with clear title lhi:..-reto vested in LCssor; or (c) pay Lessor on or before the nexl rent payment date as set
        forth in accordance with Section 3 hereof{such paymcnl dale, the "Loss Payment Date} in cash the sum of: (i) all amounb then due Lessor by Lessee
        under the !..case relating to such Vehicle, which amounls shall bi= prorated through the Loss Payment Dale, plus (ii) an amount equal to the present v.a\uc
        of the TRAC Residual, if any, relating, to such Vehicle (as set forth in the Summary of Lease Terms), discounted al S.0% computed from the expiration
        of the Initial Term of the Lease to the Loss Payment Date, plus (iii) an amount equal to the presenl value of the unpaid future remaining Rents for lhc
        Initial Term of the Lease, relating to such Vehicle discounted at S.0% computed from the scheduled payment dates for such Rents to the Loss Paymcn\
        Date (the "Casualty Value Amount"). Upon receipt of the Casualty Velue Amount set forth in (c) above, J,essor shall assign to Lesse<.! (or Lessee's
        insurer) l.essor's interest in such Vehicle in its then condition and location, "AS IS" without any warranty whatsoever, express or implied. lfLesscc is
        required to repair any Vehicle in accordance with (1:1) above, or to replace any Vehicle in accordance with (b) above, the insurance proceeds t1ctu11lly
        received by Lessor, if any, pursuant to Section 16 hereof shall be first f!Pplied lo pay any amounm then due under this Agreement.. and lhen shall be paid
        to Lessee upon proof satisfactory to Lessor that such repairs have been completed as required hereir(in the case of (e)), or of adequate purchase and title
        documents in Lessor's sole discretion (in tht cuse of (b)). In th~ event that Lessee is obligated to pay to Lessor the amounl specified in (c) above, Lessee
        shall be entitled to a credit against such amount equal to the amoun1 of insurance proceeds acrually received by Lessor, if any, pursuant to Section 16
        hereof, on account of such Vehicle.
                       16. INSURANCE. Lessee shall obtain and maintain insurance on or wilh respect to ench Vehicle at its own expense HJ1d in the amounts
        and forms satisfactory to Lessor. In no event shall nny insurance: coverage be less than the following (n) physical damage insurance insuring against
        Jos.~ or damage to the Vehicles in an amount not less than the full replacement value of such Vehicle; and (b)(i} in all States except Florida: (1) not
        greater than $500 deductible for collision, fire, !heft, and comprehensive, and (2) $500,000 combined single limit for bodily injury tiabilily and property
        damage: or (b)(ii} for the Stele of Florido: (I) not greater than $500 deductible for collision, fire, thcli., and comprehensive. and (2) $250,000 per person
        I $500.000 per incident bodily iajury liability, and (3) SI 00,000 properly dumlige liahility. Jn addition, the following require $J ,OOO.OOO excess liability
         cuvcrnge (umbrella): (a) truck/tractorS over 45,000 lbs.; (b) trailernlscmi-tr.tilers; tow trucks; and {c) limo uses for livery. Lessee shall furnish Lessor
        with a certificate of insurance evidencing issuance- ofsm:h insurance lo Lessee in at least the minimum amount required herein. naming Lessor and such
        other pruties designated by Lessor as additional insured thereunder for liability coverage. and as Joss PHYL'C for property damage coverage. Each policy
        shall require. insurer to give Le.ssor30 days prior written notice or any materill:I elleration in termsof policy or c1mccllation thereof, and shall provide lhat
        no action, misrepresentation or breach of warranty of Lesseeshal! invalidate the policy. If Lessee fails to provide such insurance, Lessor shall have the
        right, but no duty. to obtain such insurance, and Lessee shall pay Lessor all costs thereof. including all ooslS incurred by Lessor in obtaining such
         insurance logether with interest at the Default Rate from the date paid by Lessor to the date paid in full by Lessee. Lessee shall not use any Vehicle if
         the insurance required herein is nol in full force and effect with respect to such Vehicle. Upon Loss or Damage as SC! forth in Section l 5 hereof,_ Lessee
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shall receive credit for any amounts paid to Lessor by the insurer against Lessees obligalions hereunder.
                 17. INDEMNITI'. Lessee shall indemnify Lessor against, and hold Lessor harmless from, any and all claims, actions, damages,
obligations. liabiliti~. liens (including any arising or imposed under the doctrines or strict liability in tort or produ~t liability), and costs.and expenses
(including attorneys fees), arising from or out of the mBTiufil.cture, purchase, lease, possession, operation, condition, return, or use of the Vehicles, or by
operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assertion of any such claim, action. damage, obligation, liability, or lien, 1.essee, at Lessee's expense shall assume full
responsibility for the defense thereof, provided that Lessor shall have the right. but not the obligation, to partieipate in any defense conducted by Lessee
without relieving Lessee of any of its obligations h~under The provisions of this Section 17 shall survive termination of this Lease
                 18. ASSIGNJHENT. Except as otherwise permitted herein, without Lessors prior Yr!rittcn consent, Lessee shall notassign, transfer, pledge.
hypothecate or otherwise dispose of this Lease, the Vehicles or any interest therein, or sublet or lend the Vehicles, or pcnnit the Vehicles to be ~d by
anyone except Lessee or Lessees auU1orizcd employees Lessor may assign this Lease or any interest UlCrcin in whole or part without notice to Lessee
                 19. DEFAULT. Lessee shall be in default of t11is Lease upon the happening of any of the following ~ents or conditions which shall
constitute "Events of Default": (a) Lessee fails to pay any Rent or other arnount when due; (b) Lessee fails to observe, keep or perform any other
covenant or provision of this Lea.r;e required to be observed, kept, or performed, by Lessee; (c) Lessee removes, sells, transfers, encumbers, creates a
security interest in, relinquishes poss~sion of the Vehicles, or performs any a-ct which impairs Lessor's title to any Vehicle or attempts any of the
m1egolng, (d) Lessee makes a 111is1ep1ese11tatl0t1 to Lesso1 01 any ma1re1 or oovenmu 001mected' with cflfS" tease, (e) Lessee ntU:s co sattsry any traffic
l1ckct or summons or Tails to register any ·vemcre;-on::essee becomesiiiSolvent, bBliKfiij)t·orTiii.Sfi-fiustee or receiver appo1nte0f01I:essee or lor a
substantial part of Lessee's property; (g) Lessee experiences a material change in its business or affairs (including termination of Lcs:see's employment
or tennination of the contract under which Lessee provides services or a change in the contro-1 or OV!'llcrship of Lessee or Lessee's employer or the party
with which Lessee contracts to provide services) which in Lessor's !,/Ole judgment impairs lhc security of any Vehicle or increaw.; the credit risk
involved therein; (h) Lessee attempts to assign this Lease without the consent of Lessor: or (i) Lessee fails lo notify Lessor of tµiy material change in its
business and affairs, including a change in the ownership ot control of Lessee. Lessee hereby irrovoc1:1bly appoinll! and constitutes Bush Truck Leasing,
Inc. and its successors and assigns, the true and lawful allomcy-inwfncl of Lessee, with foll power in the name of Lessee upon the occwrence of an Event
of Default, (i) to demand and receive any and all moneys. and claim~ for moneys due in respect of or relating to the Equipment, (ii) to assign or transfer
any of Lessee's rights under !his Lease or in the Equipment (including assigning the rights of Lessee to any replacement lessee hereunder and/or causing
any other person to become the registered owner of the Equipment) and {iii) to take any other action in respect of this Lease or any oflhe Equipment
 Lessee ratifies and approves alt acts of Bush Truck Leasing, Inc., as attomcy..in-facl Bush Truck Leasing. Inc.., as attorney-in-fact will not be liable for
 any acts or omissions or errors of judgment or mistake of rac1 or law. This power, being coupled with an intcrc~1.., is irrevocable until all obligations
 under this Lease have been fully satisfied
                 20. REMEDIES. Upon the occurrence of any Evenl ofDel'ault, Lessor may declare this Lease to be in default. and at any time thereafter,
Lessor, al its option, may do any one or more of the following: (a) cancel this Lease; (b) proceed by appropriate action to enforce performance of the
Lease at Lesse.e's expense or to recover damages (including attorneys foes) for !he breach thereof; (cj demand that Lessee, and in such case the Lessee
 shall, return all or any part oflhe Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) enter. with or without legal
 process, Lessee's premises or any other premises where the Vehicles are loc:atcd, and tuke possession of all or any part of the Vehicles without any
 liability to Lessee by reason of such entry~ (c) sell, lease,. or otherwise dispose of all or any part of the Vehicles at a public or private sale., which may be
 conducted where such Vehicles are then located; (f) demand thal Lessee, and in such case Lessee shall, pay to Lessor as liquidated damages for loss of a
bargain and not as a penally an amount equal lo the sum of (i) all amounts due end unpaid under the Lease (including without limitation any indemnity
 obligations) plus interest thereon from the due date thereof at a per annum interest rate equal to the prime rate of interest then in effect as publishcil in
 the Wall Street Journal plus2.0% (the "Default Rate"), plus (ii) the present value of ell future Rent payments for such Vehicles.discounted at S.Oo/o, plus
 (iii) the present value of the TRAC Residual, if any, discounted at 5.0%, plus [rv) all costs and expenses incurred by Lessor in enforcing Less.or's rights
 hereunder (including, without limifotion, all costs of repossession1 recovery, storage, repair, sale, re-lease,. and allomcys' foes), together with int~rcsl
 thereon at the Default Rate ITom the date of demand to the date of payment in full {the "Liquidated Damages"), or (g) exercise any other right or remedy
 which may be available to Lessor under the Uniform Conunercial Code or any olhcr applicable law The proceeds of any sale or lease of the Vehicles by
 Lessor shall be applied in the following order of priority (1) to pay all of Lessor's expenses in t&king, holding, preparing for sale or lease, and disposing
 of the Vehicles, including all attorneys fees and legal expenses, then (2) to pay any late charges and all interest accrued at the Default Rate~ then (3) to
 p11y accrued but unpaid Rent pa)"Dlents, then (4) to p11y any other unp11id sums due under this Lease including Liquidated Damages. If the proceeds of
 any sale or lease arc not sufficient to pay lhc ttmounts owed to Lessor under this tease, lessee will pay the deficiency. Lessor may also, without
 liability, take .any personal property stored wi1hin the Vehicles and may s~ore any such property at Lessee's expense for 30 days. Lessee will be
 obligated to recla.icri such properly within 30 days and hcre:by waives any rights in such property tberee.ftcr. Any unclaimed property will bc.·dccmcd
 abandoned after 30 days and will be discarded by Lessor. tessor's remedies 'hereunder shall be cuniulativc. Any security deposit paid by Lessee to
 Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied to Lessee's
 obligations under this Lc:BSe pursuant to this Section 20. Lessor's remedies hereunder may be exercised instead or or in addition to 1lllY other legal or
 equitable remedies. Lessor has the right to set off any sums received from any source (including insurance proceeds) against 1.essee's obligations under
 this Lease. Lessee waives its right to object to the notice of the time or place or sale or lease, and to the manner and place of any advertising; therefore.
 Lessee waives any defense based on statutes of limitations or Iaches in actions for damages. In case of failure by Lessee to pay any fees, assessments,
 charges, or taxes arising with respect to the Vehicles, Lessor shall have the right, but not the obligation to pay such amounts, and in that event, the cost
 thereof shall be p11yable by Lessee lo Lessor upon demand, togt:lhr:.r wilh interest at the Default Rate from the date of disbursement by Lessor
                  21. SECURITY DEPOSIT. 'l1te Security Deposit shall be held by Lessor during the entire Tenn of the Lease, including the Interim Term
 and any renewal tenn, as secutity for the full payment and perfonnance of the terms, conditions and obligations of Lessee hereunder and under any and
 all Schedules. The Security Deposit shall not excuse the performance al the ttmc and in the .manner prescribed or any obligation of Lessee or cure a
 default of Lessee.. Lessor may. but shall not be required to, apply such Security Deposit towttrds discharge of any overdue obligation of Lessee. Lessor
 shall be entn:led to commingle the Security Deposit with any of its own funds. No Interest shall accrue on the Security Deposit and Lessor shall have no
 Iial:ijli!y to account to Lessee for any interest If Lessor shall apply any of the Security Deposit lownrds any obligations ofLessemnder the Lease, Lessee
 shall, upon demand, pay lo Lessor an amount necessary to return the Security Deposit to the sum specified above.. ln furtherance thereof. Les:see hereby
 grants to Lessor a security interest in the ell.Sh comprising the Security Deposit from time to time and any and all interest thereon, together with the
 proceeds thereof, 10 secure the prompt payment as uncl when dl1e of all indebtedness, and the prompt perfom1ance as and when due of all obligations, of
 J_essee now or hereafter required under the Lease. If no Defaull has then occurred, upon the expiration or earlier tem1ination of the Term of the Lease,
 the balance of the Security !)eposit then held by Lessor shall promptly be paid lo Lessei:
                  22. SEVERABlLITY. The invalidation of any provision or provisions of this Lease as unenforceable shall not operate to invalidate the
 remainder of the Lease which shall remain in full force and effect
                  23. NOTICES. All notices relating to this Lease shall be delivered in person to an officer of Lessor or Lessee or mailed to the respective
 address~ shown above on Lht: first page of this Lease, or to such address as otherwise specified in writing by lhc ~ppropriate party hereto
                  24. \\1 AIV•~R. L!:Ssor's forbearance of exercise of any right or remedy on Lessee's breach of any terms, covenants or conditions hereunder
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shall not be deemed a waiver of such right or remedy, the requirement of punctual perfonnance, or BJ1)' of its remedies upon any other or subsequent
breach or default
              25. GOVERNING LAW. This Leese takes effect upon its acceptance and execution by Lessor, and shall be governed, interpreted and
construed under the laws of the State of Ohio. Ohio I.aw shall prevail in the event of any conflict of law without regard to, and ·without giving effect to,
the ~plic:.ation of choice; of law rules LESSEE WAIVES ALL RIGHTS TO TRIAL BY JURYlN ANY LlTJGA TIONARJSING FROM OR RELATED
TO THIS LEASE, AND LESSEE SUBMITS TO TilE JURJSDJCT!ON OF TilE FEDERAL DlSTRJCT COURT FOR THE SOUTHERN DISTRICT
OF OHIO, OR ANY STATE COURT OF COMPETENT lURISDTCTIO"N WTTHTN MONTGOMERY COUNTY, OHIO, AND WANES A"NY RlGHT
TO ASSERT THAT ANY ACTION INSTITVTED BY LESSOR IN A"NY SUCH COURT IS IN THE TMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENTENT FORUM
              26.       WAJVER OF DAMAGli:S. Lessee waives to the fullest extentpermitted by law any right to or claim of any punttive, exemphuy,
indirect, special, consequential, or incidental damages against Lessor. Lessee agrees that, in the event of a dispute, claim or <:.ontroversy against Lessor,
Lessee shall be limited to the recovery of actual direct damages sustained by it, subject to any limibn direct damages sci forth in this Lease, Lessee will
not ncccpt or attempt to collect through the courts or otherwise any pllnitive, e>:emplary. indirect, consequential, or incide;ntal damages from Lessor
              27. SUCCESSORS AND ASSIGNS. lbis Lease shall be binding on and inure to the benefit of Lessor ond Ltissee and their respective
successors and assigns permitted hereunder.
              28. FORCE MA.JEURE. The obligations of Lessor hereunder shall be suspended to the extent that it is hindered or prevented from                         t
                                                                                                                                                                  __j.
complymg therewfth bCCausc of labor disturbances, acts of God, fires, stonns, flCCidents, failure· of the mamITacturer to deliver any of the Vehicles, court
order, governmental regulations, or other intcr.R::rence or any cause whatsoever not within the sole control of Lessor                                               i!
                                                            !SIGNATURE PAGES FOLLOW!                                                                                 i
                                                                                                                                                                     i•




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IN WITNESS "'HEREO:F, the parties hereto have entered into this Lease Agreement as of the date first above wriUcn -


                                                                                     LESSOR:           tlr;i;;;h ~h: ~mg, Iiw.
                                                                                                                                     9~               1,

                                                                                     By:               '=I).___._~?~ ~
                                                                                            _ _ _ _S.
                                                                                     Name: _.Jiana __ Cornette
                                                                                                       _ _ _ _ __
                                                                                                ' 1 ice   President
                                                                                     Title: _ _ _ _ _ _ _ _ _ _ _ __




                                                                                     LESSEE: Sonet Transportation and Logistics Inc.



                                                                                     Msy:. , ; ( : ; ,                 ~ .c
                                                                                     ~..~ilfoNATURE



:EQUIPMENT ACCEPTANCE
Lessee hereby confinns that the Etjuipment has been delivered. duly assembled and in good working order and condition. Lessee confirms that after a
reasonable opportunily to irtspect the Equipment, it has solely selected, and unconditionally and irrevocably accepted the Equipment B!l-is, whcro-is for all
purposes of this Lease as of this date. 1n the event that Lhe Equipment is not delivered and accepted within thirty (30) days of Lessee's signing of this
Equipment Acceptance, Lessee hereby authorizes Lessor to increase the Payments to reflect any Lease rate increBSe applicable to the Lease




                                                                                     LESSEE: Sonct Transportation and Logistics Inc.


{X)Dated:        & - ~~ J           'l>,...                                          MBy:~
                                                                                     v:_J   ..-"§10NATURE




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                                                                                                              6961 Cintas Blvd




<       )BUSH                                                                                                 Mason, OH 45040

               TRUCK LEASING, INC.                                                                            800-766-2874
                                                                                                              www .bushtrucks.com
                                                                 LEASE AGREEMENT
                    Contract Date:           5- / 3        - ,;;._..., i '5'                       Lease ID No.           CLBC8917

                                                                               LESSEE
Individual Legal Name(if applicable):
Company Legal Name (if applicable):      Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA     Zip: 91950
                                                           EQUIPMENT
 Vehicle Year                          I
                                  Vehicle Make                    Vehicle Model   I                                      j Vehicle Identification Number
2012                                   I Freightliner                             I Cascadia                             I 1FUJGLBG3CLBC8917
       Refer to Schedule 1 of this Lease Agreement for Equipment details in the event that no Equipment information appears above
                                                 SUMMARY OF LEASE TERMS
Commencement             Initial   Rental Periods Ni Total f Down                     Advance      B::isic ·Rent     Doc Fee         Security      End of Term
Date & 1st Basic         Term
                                                   umbero Payment+                      or          (without                         Deposit         Option
                                                  Payments Taxes at
  Rent Date                                                                           Arrears        Taxes)
                                                             Closing
 {,,-f-:i,_..,15'    36    MONTHLY                        36          $1,500.00       Arrears       $2,036.67        $400.00           $0.00           TRAC
  7 - I · ).u/ -,; MONTHLY
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $26,300,00

   THIS LEASE AGREEMENT ("Lease") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
   ("Lessor"), and LESSEE referenced above.

                 1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
   with all replacements, repairs and additions thereto (individua11y and collectively, the "Vehicles") on the terms and conditions set forth in this Lease.
   Lessee agrees that Lessee leases the Vehicles "as-is", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
   manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confinns that it
   has selected the Vehicles on the basis of its own judgment, and expressly disclaiins reliance upon any statements, representations, orwarranties made by
   Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identified herein will be used for
   commercial purposes.
                 2. INITIAL TERM. The term of this Lease foreach Vehicle sha1l commence on the Contract Date and shall continue for that number of
   months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (lst) day of the month, in which case the
   Contract Date shall be the date on which the term of this Lease commences) ("'Commencement Date") each as set forth in the Summary of Lease Terms
   (such period as extended or sooner terminated by Lessor as provided herein, the''Term").
                 3. RENT. The renta1 payment amount for each Vehicle hereunder (the "Basic Rent") is set forth in the Summary of Lease Terms. Basic
   Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
   in advance or arrears for the periods (each a "Renta1 Period") and for the total number of payments as set forth in the Summary of Lease Terms, in each
   case, on the first day of each such Renta1 Period. If the Contract Date does not fall on the first day of the month, the renta1 for that period of time from
   the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week , 14 days for
   One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Date to
   (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
   Rent Lessee is obligated to pay hereunder (the "Supplemental Rent" and together with Basic Rent, the "Rent") when due or if no date is specified
   herein, on demand_ If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equa1 to the lesser of 10% of
   the late rental payment amount, and the maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
   OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF. COUNTERCLAIM. OR ANY DEFENSE
   WHATSOEVER, INCLUDING. BUT NOT LIMITED TO, ANY RIGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HA VE
   AGAINST LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF THE VEHICLES FOR
   ANY REASON WHATSOEVER. SPECIFICALLY INCLUDING, WITHOUT LIMITATION,ANY CLAIMS THAT LESSEE MAY HA VE AGAINST
   LESSOR, ANY OF LESSOR'S AFFILIATES. OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
   AGREEMENT REFERENCED IN SECTION 7 HEREOF.
                 4. OPTION UPON EXPIRATION OF INITIAL TERM OF LEASE. Upon expiration of the Initial Tenn of the Lease, Lessee shall
   comply with the provisions of Clause A or B below, in either case, as specified in the Summary of Lease Terms

                    A.        Terminal Rental Adjustment Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                               Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                               "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Tenns. Upon




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,-                              expiration of the Initial Term, ~sor wil! attempt to sen the Equipment In the event that the Net Proceeds (as defined below)
                                are less than the EsUmated Fair Market Value, Lessee shall pay to Lessor the full amount of such shortfall. If the Equipment
                                has not been sold on the last day of the Initial Tenn, then the Net Proceeds sha11 be deemed to be zero and Lessee shall
                                immediately pay to Lessor the TRAC Residual. If the Lessor thereafter shall seJI the Equipment, the Net Proteeds shall be
                                paid by Lessor to Lessee. Any such payment by either Lessee or Lessor shall be deemed to be a Terminal Rental Adjusbnent
                                with respect to the Vehicles. As used hetein, "Net Proceeds" shall mean the proceeds received by Lessor, after deducting (i)
                                all costs and expenses incurred in connection with the recovery, repair, storage, and sale of the Vehicles, including any and 1111
                                attorneys' fees and legal expenses, (ii) all late charges and all interest accrued at the Default Rate (as hereinafter defined}, and
                                (iii) all rent payments and other obligations of Lessee due and unpaid under the Lease as of the date of the sale or disposition.
                                As to each Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment after
                                expiration of the Initial Term are less than the TRAC Residual amount for sueh Equipment as set forth In the Summary of
                                Lease Terms, then Lessee shall immediately pay ro Lessor the amount of such deficiency as additional Rent hereunder. If the
                                Net Proceeds am in excess of the TRAC Residual amount, then JOOU/o of such excess shall be returned to Lessee as a reduction
                                in the Rent for such Equipment, prcvjded, however, that Lessors hall be entitled to retain all or any portion of such amount to
                                satisfy any of Lessee's obligations under the Lease

                                  Lessee hereby certifies, under penalty Qf perjury, that
                       (i)   Lessee intends that more than 50% of the use of the Equipment subject to this TRAC is to be used in a trade or business of the
                                Lessee,
                       (ii) Lessee has been advised by tax counsel or other tax advisor, and
                       (iii) Lessee understands and agrees that, Lessee will not be treated as the owner of the Equipment identified above fot federal income
                                tax purposes.

                       B.         $1.00 lJuyout. Lessee hereby unconditionally agrees to purchase all, but not less than all, of the Equipment for $1.00 upon
                                expiration of the Initial Term of the Lease, Lessee and Lessor agree that Lessee is owner of the Equipment and shall file and
                                pay all license, registration fees, and documentary, sale and llSe laxes, and personal property taxes and all other taxes, fees and
                                chftJEes relating tn the ownership, leasing, rental, safe, purchase, posm:ssion or use of the Bquipmcnt

                        With respect lo any option upon expiration of the Initial Tenn of the Lease set forth herein, if written notice of Lessee's intention to
                        exercise such 1;lected option is not received on a timely basis, then such failure sh111l constitute an Event of Default, and to the extent
                        that the Lessee fails to return to Lessor the E;quipment in accordance with Section 7 hereof, Lessee agrees to pay a daily rental fee
                        equal to l 50% of the daily Rent for each day that the Equipment is retained by Lessee; provided, however, such payments shall not
                        1:xtttnd Lessee's right to have and use the Equipment beyond the Initial Tenn of the Lease as provided herein. Upon exercise of the
                        option elected by Lessee Bnd payment in :full by Lessee of BI1Y related purchase amounts aod all Rent, Lessor will execute and deliver
                        to Lessee the title to the Vehicles, and any other documentation necessary to transfer title to Lessee. TIIlS SALB WlLL BE
                        WITIIOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHETHER EXPRESS OR IMPLIED IN
                        FACT OR LAW and. Lessee-will accept the Vehicles"AS IS" and "WHERE IS".

                      5. TAX INDEMNIFICATION. Except to the extent Section 4B is applicable upon expiration at the Initial Tenn, it is understood and
     agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to such tax: benefits that me available as owner of the Equipment through
     depreciation of the total capitalizetl cost of the Equipment thereof fat fedctal income tax pwposes. In the event that Lessor suffers any Joss,
     disallowance$ unavailability~ or recapture of such depreciation for any reason whatsoever, the~ after written notice thereof by Lessor to Lessee, Lessee
     shall pay to· Lessor an additional incremental amount payable on each date that the Basic Rent is thereafter due, which in the opinion of Lessor, will
     cause Lessor's net after-tax annual cash flow and net after-twc rate of return respectively, that would have been q;vailablc if Lessor had been entitled to
     fill.I utilization of the depreciation. In the event that any payment is required fo be made pursuant to this Section :5~ and such payment is to be made on
     succeeding rent payment dates, but at such time this Lease shall have been terminated or Rent otherwise no lcinger shall be due and payable on the
     remaining rent paynient dates, Lessee shall promptly pay Lessor any amooot equal to the incremental increase in Basic Rent which would have been
     required if such tax Joss had occurred immediately prior to the last rental payment date on or prior to the expiration or other temtlnation of the Lease.
     Lessor shill promptly notify Lessee of the commencement of any proceeding by the lntemal Revenue Service in respect of any item as to which
     indemnity is sought hereunder. Lessee's agreement to pay any sums whioh may become payable pursuant to this Section S shall survive the expiration
     or other tennination of this Lease.
                      6, USE OF VEHlCUl:S. Lessee shall use the Vehicles only in its business and in compliance with aH l1IWs, rules, and regulations of any
     jmisdiction where the Vehicles are used or locatctl. Lessee represents and warrants to Lessor at all times that (i) Lessee has the right and ability to enter
     into this Lease: (ii) this Lease constitutes a valid, legal, and binding obligation and agreement of Lessee. enforceable against Lessee in accordance wilh
     its terms; and (iii) that the entering into and perfonnance of this Lease by Lessee will not result in a breach,. violation, or default under any judgment,
     order. law, regulation, loan, mortgage, agreement, indenture, or other instrument applicable to Lessee, or result in any breach of, or constitute a default
     under, or result in the creation of any lien, charge, security interest, or other encumbrance upon the Vehicles pursuant to any instrument to which Lessee
     is a party or by which it is bound Lessee shall (i) use and operate the Vehicles in a careful and prudent manner for the purposes and in the manner
      intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) shall pay for all maintenance of Vehicles
     to keep them in good and efficient working order and condition during the Tenn of the Lease. including, but is not limited to, Lessee's supplying all
     fuel, lubricants, and other parts, supplies, maintenance and services, and/or Lessee, upon Lessor's request, entering into a service and maintenance
      agreement with Lessor or an affiliate of Lessor upon such terms and conditions provided by Lessor. After notice to Lessor, Lessee may, at its ov.'fl
     expense, make alterations or add attachmenf5 to the Vehicles, provided that such alterations or attachments are removable and do not reduce the value,
     utility or useful life of the Vehicles. Upon the expiration or termination of the Lease, aII alterations or attachments a:flixed lo the Vehicles shall bet:ome
     the property of Lessor if not remo\red, and if Lessee does remove such attachments, Lessee shall be liable lo Lessofor any damage to the Vehicles as the
      result of such removal In the event that any federal, state, or local law, ordinanee, rule or regulation shall require the installation of nny additional
      accessories to any of the Vehicles, including. but not limited to~ anti~poflution and/or safety devices, or in the event that any other modifications to 6u:
     Vehicles shall be reqlJired by virtue of such Imv, ordinance. role or regulation, then and in any of such events, Lessee shall pay the full cost thereof,
      including installation expenses. Lessor may, at its option, arrange for the insl.allation of such Vehicles or the pcrfonnancc of such modifications. and
     Less~ agrees to pay the full cost thereof immediately upon receipt of an invoice fur the sanw
                      7. SURRENDER. Upon either the (i) failure by Less~e to exercise any purchase option for any Vehicle set forth herein, or {ii) upon
      den1and by Lessor made pursuant to an Event of Default (as set forth in Section 19 hereof). Lessee shall, at its own expense. return such Vehicle to
     Lessor to such location within the continental United States ns Lessor shall designate, in the same condition as when delivered, rensonable wear and tear
     excepted and otherwise in the condition required by this Lease Upon return of the Vehicles, Lessor, or such entity designated by Li:ssor~ shall perfonn a

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physical and mechanical inspection of the Vehicles. Lessee shall be n;sponsible for the payment of' any and all costs associated with the inspection. and
for any and all repairs necessary to piece the Vehicles in the same condition as when delivered. reasonable wear and tear excepted and otherwise in the
condition required by this Lense.
             8. PAINTING. Lessee may point the Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided th~t,
upon the expiration or termination oftbis Lease, and in the event that Lessee does not purchase the Vehic1es pursuant to Section 4.B hereof, Lessee
shall, upon the request of Lessor and at Lessees expense. restore the Vehicles to original condition, ordinary wear end tear excepted
         9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HAVE MADE, ANY EXPRESS OR IMPLJED WARRANTY AS TO MERCHANTABILITY, FITNESS FORANY PURPOSE OR USE,
DESIGN OR CONDITION OF VEIDCLES, QUALITY OF MATERIAL OR WORKMANSHIP, OR AS TO ANY OTHER MA TIER WHATSOEVER
RELATING TO THE VEIDCLES, AND LESSOR SHALL NOT BE LlABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
PUNlTlVE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE THE VEHICLES, OR ANY INADEQUACY, DEFICIENCY, OR
DEFECT 1N TI:lE VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEHICLES «AS 18". Lessor agrees, to the extent possible IUld
without increasing its liability hereunder, and upon request;. to assign to Lessee, any warranty of 11 manufacturer or seller relating to the Vehicles
available to Lt::ssor, provided, however, that the foregoing rights shall automatically .revert to Less.or upon the occurrence and during the continuance of
any Event of Default hereunder, or upon mum of the Vehicles to Lessor. Lessee agrees to settle all claims with respe.ct to the Vehicles directly with the
manufacturers thereat: and to give Lessor prompt notice of any such settlement and the details of such settlement
              10. TITLE AND INSPECTION. Lessee, at its expense, shaU protect and iiefend Lessor's title and h::ep it free of all claims and liens
except those claims and liens. created by Lessor in connection with any assignment or ftmmcing by Lessor. Lessor may inspect the Vehicles at any time
without prior notice during regular business hours. ~ at any time during the Term of this Lease. Lessor supplies Lessee with labels, plates or other
markings stating that the Vehicles ar.e owned by Lessor, Lessee shaJl affix and keep the same in a prominent place on the Vebiclcs
              11. LICENSES. Lessee shall at its expense obtain all necessary iicenses(including motor Vehicle plates) and registrations, required for the
use and operation of each Vehicle. All certificates of title or registration of each Vehicle shall name Lessor as the owner thereof'
               12. INTERESTS IN V£81CL:ES. Lessee's rights with respect to this Lease and nny Vehicles leased hereunder will be subject to WlY
rights and interest in and to said Vehicles which may be granted by Lessor (or Lessor's affiliates) to any assignee or lender of Lessor (or Lessor's
affiliates). Lessor may assign to a lender or any other assignee all or any part of Lessor's rights hereunder. incJtiGing a security interest in the Vehicles
and the right to receive rents and other sums due hereunder. Upon notice of such assignment in writing by a lender. assignee and/or Less:or~ Lessee shall
pay all rents and other sums due or to become due under this Lease directly to such lender or assignee withou~ set off, counterclaim, or any defense
whatsoever.
               13. TAXES. Lessee shall pay all personal property. sales or use taxes, business licenses, nssesstnent:s, penalties, and charges which may be
levied or asserted with respeot to the Vehicles (except income taxes levied on lease payments to Lessor}. In the event that any such taxes, licenses,
assessments, penalties, or charges are paid by Lessor, Lessee shall reimbuISe and pay Lessor immediately after Lessor notifies Lessee in writing of the
amount of such taxes, licenses, assessments, penalties, charges or cxpemes paid by Lessor, as well as an administrative fee. Increases or decreases in
sales or use tax rates will affect all lease payments after the effective date of the change by the taxing atithority. Lessee shall indemnify and hold Lessor
hannless from and against any loss, cost or expense arising out of or relating toany such tax. import or levy, including, without limitation, any penalties,
interest and fines relating thereto.
              14. FIN£S. Lessee sha!J pay all fines due to overload, overlengf.h, overweight, lack of plates or permits, speeding and any other charges
which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereo£ The provisions of this Section 14 shall survive the expiration
or other termination of this Lease
               15. LOSS OR DAMAGE. Lessee shall bear the entire risk of loss, theft. destruction of or damage to any Vehicle from nny cause
whatsoever ('"Loss or Damage"). Lessee shall promptly notify Lessor in writing of any Loss or Damage. No Loss or Damage to any Vehicles shalt
relieve Lessee of any obli-gation withrespect to such Vehicle under this Lease. In the event of Loss or Damage, Lessee shall. at the option of Lessor. {a.)
put such Vehicle in good condition and repair in accordance with the manufacturer's recommendations, and to the reasonable satisfaction of Lessor, at
Lessee's expense; (b) replace sucli Vehicle with a like Vehicle (same value, utility and useful life as damaged Vehicle) in good condition and repair as
approved by Lessor in Lessor's sole dis~tion with clenr title thereto vested in Lessor, or (c) pay Lessor on or before the next rent payment date as set
forth in accordance with Section 3 hcroaf (auch payment date. the "Loss Payment Date") in cash the sum of (i) all mnounts then due Lessor by Lessee
under the Lease relating to such Vehicle, which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
of1he TRAC Residual, if any, relating to such Vehicle (as set forth in the Summary of Lease Terms), disoounti;d at 5,Ql'/o computed from the expiration
of the Initial Term of the Lease to the Loss Payment Date, plus (Hi) Hll amount equal to the present value of the unpaid future remaining Rents for the
Tnitial Term of the Lease, relating to such Vehicle discounted at 5.0o/o computed from the scheduled payment dates for such Rents to the Loss Payment
Date (the "Casualty Value Amounf'). Upon receipt of the Casualty Value Amount set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
insmer) Lessor's interest in sucb Vehicle in its then oondition and location, «AS JS" without any warranty whatsoever, e11:ptess or implied. If Lessee is
required lo repair any Vehicle in accordance with (a) above, or to replace any Vehicle in accordance with (b) a.hove. the insurance proceeds actually
received by Lessor, if any, pursuant to Section 16 hereof shall be first applied to pay any amounts then due under this Agreement, and then shall be paid
to Lessee upon proof satisfactmy to Lessor tbat such repairs have been completed as required bercll:{in the case of (a)), or of adequate purchase and title
documents in Lessor's sole discretion (in the ease of (b)). In the event that Lessee is obligated to pay to Lessor the amount specified in (c) abovc, Lc:.ssee
shall bu entitled to a credit against such amount equal to the amount of insurance proceeds actually received by Lessor, if any, pursuant to Sevtion 16
hereof;. on account of such Vehicle.
               16. INSUltANCE. Lessee shall obtain and maintain insurance on or with respect to each. Vehicle at its own expense and in the amounts
and forms satisfactory to Lessor. In no event shall any insurance coverage be Jess than the following: (a) physical damage insurance insuring against
Joss or damage to the Vehicles in an amount not less than the full replacement value of such Vehicle; and (b)(i) in all States except Florida: (1) not
greater than !llSOO deductihle for colJisjon, fire, theft, and comprehensive,. and (2) $500,000 con1bined single limit for bodily injury liability and property
damage; or (b){ii) for the State of Florida: (1) not greater than $500 deductible for collision, fire, theft,. and comprehenslVe, and (2) $250,000 per person
I $1,000,000 per incident bodily injury liability, and (3) $100,000 property damage liability. In addition, the following ~quire $].000.000 excess
Hability coverage (umbrella): (a) truck/tractors over 45,000 lbs.; (b) trailers/sem.i-trll.ilers; tow trucks; and (c) limo uses for livery. Lessee shall fwnish
Lessor with a c.ertifioale of insurance evidencing issuance of such insurance to Lessee in at least the minimum amount required herein, naming Lessor
and such other parties designated by Lessor as additional insured thereunder for liability coverage, and as Joss payee for property dumage coverage.
Each policy shall require insurer to give Lessor30 days prior written notice of any material alteration in terms of policy or cance!lation thereof, and shall
provide that no action, misreprefientation or breaoh of warranty of Lessee shall invalidate the policy. If Lessee fails to prov id~ such insurance, Lessor
shall have the right, but no duty, fo obtain such insurance, and Lessee shall pay Lessor all costs thereof, including all costs incurred b}' Lessor in
obtaining such insurance together with interest at the Default Rate from the date paid by Lessor to tile date pllid in full by Lessee. Lessee shall not use
any Vehicle if the insurance required herein is not in full force and effect with respect to sucli. Vehicle. Upon Loss or Damage as set forth in Section 15
hereof, Lessee sha11 receive credit for any amounts paid to Lessor by the iniurer against Lessefs obligations hereunder.
               17.INDEI\'IJlillTY. Lessee shall indemnify Lessor against, and hold Lessor harmless 'from, any and all claims, actions, damages,
obligations, liabilities. liens {including any arising or imposed under the doctrines or strict liability in tort or product liability), and costs and expenses
(including attorneys fees), arising ftom or out of the manufacture, purchase, lease, possession, operation, condition, return, or use of the Vehicl~. or by
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     operation of law, ex.eluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
,~   upon written notice by Lessor of assertion of any such claim, action, damage, obligation. liability, or lien, Lessee. at Lessee's expense shall assume fuU
     responsibility for the defense thereof, provided that Lessor shall have the right, but not the obligation. to participate in any defense conducted by Lessee
     without relieving Lessee of any of its obligations hereunder The provisions of thi.s Section 17 sha1l survive tennination of this Lease
                     18. ASSIGNMENT. Except as otherwise pemtitted herein, without Lessoi's prior written consent, Lessee shaJl notassign, transfer, pledge,
     bypothecste or otherwise dispose of this Lease, the Vehicles or any interest the.rein. or sublet or lend the Vehicles, or pennit the Vehicles to be used by
     anyone except Lessee or Lessees authorized employees Lessor may assign this Lease or any interest therein in whole or part without notice to Lessee
                     19. DEFAULT. Lessee shall be in default -of this Lease upon the happening of any of the fotloWing events or conditions which shalt
     constitute ..Events of Default": (a) Lessee fails to pay any Rent or other amount when due; {b) Lessee fails to observe, keep or perfonn any other
     covenant or provision of this Lease required to be observed, kept, or pcrfonned, by Lessee; (e) Lessee removes, sells, transfers, encumbers, creates a
     security interest in, relinquishes possession of the Vehicles, or performs any act which impairs Lessor's title to any Vehicle or attempts any of the
     foregoing; (d) Lessee makes a misrepresentation to Lessor of any maUer or covenant connected with this Lease; (e) Lessee: fails to satisfy any traffic
     ticket or summons or fails to register any Vehicle; (f) Lessee becomes insolvent, bankrupt or has a trusfoe or :receiver appointed for Lessee or for a
     substantial part of Lessee's property; (g) Lessee experiences a material change in its business or affairs (including termination of Lessee's employment
     or tennination of the contract under which Lessee provides services or a change in the control or ownership of Lessee.or i.es:see's employer or the party
     with whlch Lessee contracts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the credit risk
     involved therein; (h) Lessee attempts to assign this Lease without the consent of Lessor; or (i) Lessee fails to notify Lessor of any material change in its
     business ai1d affairs. including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and t:onstitutes Bush Truck Leasing,
     lnc. and its successors and assigns. the true and lawful attorney-in-fact ofLessee, with full power in the name of Lessee upon the occurrence of an Event
     of Default, (i) to demand and receive any and all moneys and claims for moneys dut: in respect of or relating to the Equipment, (ii) to assign or transfer
     any of Lessee's rights under this Lease or in the Equipment (including assigning the rights ofLessee to any replacement lessee hereunder and/or causing
     any other person to become the registcre-d owner of the Equipment) and (iii) 10 take any other action in respect of this Lease or any of the Equipment
     Lessee ratifies and approves all acts of Bush Truck Leasing, Inc., as attorney-in-fact. Bush Truck Leasing, Inc., as attorney~in~fact will not be liable for
     any acts or omissions or errors of judgment or mistake of fact or 1aw. This power, being coupled with an interest,. is irrevocable until all obligations
     under this Lease have been fully satisfied
                     20. REMEDIES. Upon the occurrence of any Event of Default, Lessor may dcclnre this Lease to be in default, mid at 1my time thereufter,
      Lessor, at ils option, may do any one or more of the following: (a) cancel this Lease; (b) proceed by appropriate action to enforce performance of the
      Lease at Lessee's expense or to recover damages (including attorneys fees) for the breach thereof; (c) demand that Lessee, and in such case the Lessee
      shall, return all or any part of the Vehicles promptly in the mlllll!er required by and in accordance with Section 7 hereof; (d) enter, with or without legal
      process, Lesse~·s premises or any other premises where the Vehicles are located, and take possession of all or any part of the Vehicles without any
      liability to Lessee by reason of such enby; (e) sell, lease, or otherwise dispose of all or any part of the Vehicles at a public or private sale, which may be
      conducted where such Vehicles are then located; (.t) demand that Lessee, and in sueh case Lessee shall, pay to LeSsor as liquidated damages for loss of a
      bargain and not as a penalty an atnow1t equal to the sum of(i) a11 amounts due and unpaid under the Lease (inclUding without limitation any indemnity
      obligations) plus interest thereon from the due date thereof at a per Qnllum interest rate equal to the prime rate of interest then in effect as published in
      the Wall Street Journal plus2.00/a (the "Default Rate'?. plus (ii) the present value of aU future !lent payments for such Vehicles,discounted at S.0%. plus
      (iii) the present value of the TRAC Residual, if any, discounted at 5.0%. plus (iv) aU costs and expenses incmred by Lessor in enforcing Lessor's rights
      hereunder (including,. without limitation. all costs of repossession, recoveiy. storage, repair, sale, re-lease, and attorneys' fees), together with interest
      thereon at the Default Rate from the date of demand to the date of payment in full (the "Liqnid!U:od Damages"). or (g) exercise any other right or remedy
      which may be available to Lessor under the Unifonn Commercial Code or any other applicable law The proceeds of any sale or lease of the Vehicles by
      Lessor shall be applied in the following order of priority (1) to pay all ofL-essors expenses in taking, holding, preparing for sale or lease, and disposing
      of the Vehicles, including all attorneys fees and legal expenses, then (2) to pay any late charges and all interest accrued at the Default Rate; then (3) to
      pay accrued but unpaid Rent pnyrnents. then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. If the proceeds of
      any sale or lease are not sufficient to pay the amounts owed to Lessor under this Lease, Lessee will pay the deficiency. Lessor may also, without
      liability, take any personal property stored within the -Vehicles and may store any such property at Lessee's expense for 30 days. Lessee witl be
      obligated to reclaim such property within 30 days and hereby waives any rights in such property thereafter. Any unclaimed property will be deemed
      abandoned after 30 days end will be discarded by Lessor. Lessor's rcmedieS hereunder shall be cumulative. Aiiy security deposit paid by Lessee tn
      Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event Df Defimlt, and shall be applied to Lessee's
      obligations under this Lease pursuant to this Section 20. Lessor's remedies hereunder may be exercised instead of or in adilition to any other legal or
      equita.bJe remedies. Lessor bHS the right to set off any sums received fr-0m any source (including insurance proceeds) against Lessee's obligations under
      this L~c. Lessee waives its right to object to the notice of the time or place of sale or lease, and to the manner and place of any advertising therefore.
      Lessee waives any defense based on statutes of limitations or Iaches in actions for damages. In ~e of failure by Lessee to pay any fees. assessments,
      charges. or taxes arising with respect to the Vehic1~, Lessor shall have the right. but not the obligation to pay such amounts, and in that event. the cost
      thereof shall be payable by Lessee to Lessor upon demand. together with interest at the Default Rate from the date of disbursement by Lessor
                     21. SECURITY DEPOSIT. The Security Deposit shnll be held by Lessor duritig the entire Term of the Lease, including the Interim Term
      and any renewal term. as security fur the full payment anCJ performance of the tcn;ns., conditions Hnd obligations of Lessee hereunder and under any and
      all Schedules. The Security Deposit shall not excuse the perfonnance at the time and in the manner prescribed or any obligation of Lessee or cure a
      d~fal:llt of Lessee. Lessor may, but shall not be required to, apply such Security Deposit towards discharge of any overdue obligation of Lessee. Lessor
      shall be entitled to commingle the Security Deposit with nny of its own funds. No Interest shall accrue on the Security Deposit and Lessor shall have no
       liability to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations ofLt:.ssewndcr the Lease, Lcsse-c
      shall. upon demand, pay to Lessor an amount necessary to return the Security Deposit to the sum specified above. Jn furtherance thereof, Lessee hereby
      grants to Lessor a security int\..-rcst in tbe cash comprising ti1e Security Deposit from time to time and any and all interest thcn:an, together with the
      proceeds thereof, to secure the prompt payment as and when due of all indebtedness, and the prompt pertonnanc':' a:s and when due of aH obligations, of
      Lessee now or hereafter required under the Lease. If no Default has then occwred, upon the expiration or earlier !ennination of the Teim of the Lease,
      the balance of the .Security Deposit. then held by Lessor shall promptly be paid to Lessee                              j
                      22. SEVERABILITV. The invalidation of any provision or provisions of this Lease as uncnforoc?ble shall not operate to invalidate the
      remainder of the Lease which shall remain in full force and effect
                      23. NOTICES. All notices relating to this Lease shall be delivered in person to an officer of Lesso"r or Lessee or mailed to the respective
       addresses shown above on the first page of this Lease, or to such addross as otherwise specified in writing by the appropriate party hereto
                      24. 'V AJVER. Lessor's forbearance of exercise of any right or remedy on Lessee's breach of any terms, co,•cnants or conditions hereunder
       shall not be deemed a waiver of such right or remedy, the requirement of punc\ual pe.rformance, or any of iLs remedies upon any other or subsequent
       breach or default
                      25. GOVERNING LAW. This Lease tal..""es effect upon its acceptance and execution by Lessor, and shall be governed, interpreted and
       construed under the laws of the State of Delaware. Delaware law shall prevail in the event of any conflict of law without regard to, and withoul giving
       effect to, the application of choice of law rules. LESSEE WAIVES ALL RIGITTS TO TRI.ALBY JURY IN ANY LITIGATION ARISING FROM OR
     RELATED TO THIS LEASE, AND LESSEE SUBMITS TD THE JURISDICTION OF DELAWARE, AND WAJVES ANY RJGHT TO ASSERT
                                                                                Page 4 of6




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TilAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT IS IN TilE Il&ROPER VENUE OR SHOULD BE TRANSFERRED TO
A MORE CONVENIENT FORUM
              26.      WAIVER OF DAMAGES. Lessee waives to lhe fullest extentpennitted by Jaw any right to or claim of any punitive, exemplary,
indirect, special, consequential, or incidental damages against Lessor. Lessee agrees that, in the event of a dispute, claim or controversy against Lessor,
Lessee shall be limited to the recovery of actual direct damages sustained by it, subject to any limitin direct damages set forth in this Lease. Lessee will
not accept or attempt to collect through the courts or otherwise any punitive,. exemplary, indirect, consequential, or incidental dama~ from Lessor                 ~~,1
              27. SUCCESSORS AND ASSIGNS. This Leese shall be binding on and inure to the benefit of Lessor and Lessee and their respe-ctive                          ~
successors and assigns permitted hereunder.                                                                         ,
              28. FORCE MAJEURE. The obligations of Lessor hereunder shzill be suspended to the extentit'bat it is hindered or prevented from
complying therewith because oflabor disturbances, acts of God, fires, storms, accidents, failure of the mWlufacturert'° deliver any of the Vehicles, court
order, governmental rcgo1ations, or other interference or any cause whatsoever not within lhc sole control ofLes~or

                                                           !SIGNATURE PAGES FOLLOW]




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JN WITNESS \VHEREOF, the parties hereto have entered into this Lease Agreement as of the date first above written


                                                                                     LESSOR:             ~µsh 'fi:uck :U:!!Slng, li:ID.


                                                                                     By:           ·--n -~-~ .,)~_ft·-
                                                                                     Name:     Ola.rut S. Cornet<.e
                                                                                               Vice President
                                                                                     Title•-------------




                                                                                                                                                                      h
                                                                                                                                                                      1;



EQUIPMENT ACCEPTANCE
Lessee hereby confinns that the Equipment has been delivered. duly assembled and in good working order and ~ondition. Lessee confirms that after a
reasonable opportunity to inspect the Equipment, it has solely selected, .and 11ucondltionally and irrevocably accepted the Equipment as-is, where-is for u11
purposes of this Lease as of this date. In the e:ventthat the Equipment is not delivered and accepted within thirty (30) days ofl..essce's signing of this
Equipment Acceptance. Lessee hereby authorizes Lessor tn increase the Payments to reflect any Lease rate increase applicable to the Lease




(X)Dated.·__ 5_·i_~_.-~"" i -;)"




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                                                                                                                                                                Exhibit A
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                                                                                                                                                                       6961 Cintas Blvd
                                                                                                                                                                       Mason, OH 45040

                                     TRUCK LEASING, !NC.                                                                                                               800-766-2874
                                                                                                                                                                       www.bushtrucks.com
                                                                                              LEASE AGREEMENT
                                           Contrac!Date:                  5- A I· )_" / $'                                                               Lease ID No.                  CLBC8918


               Individual Legal Name(if applicable):
               Company Legal Name(if applicable):                            Sonet Transportation and Loglstics Inc.
               Mailing Address: 22 W 35 Street Suite 205
               City:National CityState:CA                       Zip: 91950                                                                                                                                                                             .,.,
                   ;c?~~~~:::-~-.;,~;.;.,~;;:,,- -.-.:,;:~·.);~;;::'OH~ N.\\{',-,G''(.1;'.;i.iEQiJTeM.~;tt~·;;+.;<;:~:;c;pj                                             •..•.•.; -'.:.:, ~,. ,, ~-;:;· ::·;c:;• ::: : ~- . ;. : "·"• ·;·::.;:.·
                   Vehicle Year                                   l Vehicle Make                                           I V~hicle M1>del                                           J Vehicle Identification Number

                   2&12                                           f Freightliner                                           ICascadia                                                  I 1FUJGLBG5CLBC8918
                             Refer to Sc!tedule 1 oftl11"s Lease Agreementfor Equipment details in the event tllat no Equipment information appears above
               ·!:··~~y,;:;;;c;;;:H;;;;,;M;C:.-y'.:\;:\;g';ei/~.;~~\'.f;:i'!;::,,:::;:;;;~;.:C;c'isOMMAR.¥!.OFc'l!Sf<s6'iffii'i:M$\'i;\ci\<,;t('i<'''Tic>:<L .N:';:'{';:1,,,;:;::;-.,,,-- .·:\.-..;,.,,
               Commencement                     Initial      Rental Periods Ni To~al f                    Down                    Advance                Basic Rent              Doc Fee                Security              End of Term
               Date & 1st Basic                 Term                                um er 0 Payment+                                or                    (without                                        Deposit                   Option
                  Rent Date                                                        Payments  Taxes at                             Arrears                  Taxes)
                                                                                                         Closing
                   (., _ I   ·.l.c 1 -5'          36           MONTHLY                 36              $1,500.00                   Arrears                $2,036.67              $400.00                   $0.00                    TRAC
                    7 _/ .     A<> i )     MONTHLY

                   If Option Upon E:i.piration Df Initial Term of Lease is TRAC under Set:tion4A herein, the "TRAC Residual" shall be $26,300.00


                       THIS LEASE AGREEMENT ("Lease") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
                       (""Les.sot'). and LESSEE referenced above-.                       '
                                                                                                                          :11 _)
                                      I. GRANT OF LEASE. Lessor hereby leases to Lessee,                             ana\;lfiee
                                                                                                            hereby leases from Lessor, the Equipment describe-cl herein., together
                       with all replacements, repairs and additions 'thereto (individually and colleiiv y, the "Vehicles") on the tenns and conditions set forth in this Lease.
                       Lessee agrees that Lessee leases the Vehicles "'as-is", and confirms that as of e date of delivery of each Vehicle, such Vehicle is of the design and
                       manufacture selected by Lessee, and as of B"uch date, Lessee has unconditiona11y accepted such Vehicles in all respects. Lessee further confinns that it
                       J1as selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any s1.atcrncnl!!, representations, OJi\larranties made by
                       Lessoi, and Lessee acknowledges that Lessor iS not the manufacturer of the Vehicles Lessee cenifics that the Vehicles identified herein will be used for
                       cotnrnercial purposes.
                                     2. INITIAL TER1'1. The tenn of this Lease for each Vehicle sha!J conuncnce on the Contract Date and shall continue for that number of
                       months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month, i11 which case the
                       Contract Date shall be the dare on which the term of this Lease commences) ("Commencement Dale") each as set forth in the Summary of Lease Terms
                       (such period as e>.1ended or sooner terminated by J,essor as provided herein, thit'Tc~").
                                     3. RENT. The rental payment amount for each Vehicle bereunder {the "Basic Rent") is set forth in the Summary of Lease Terms. l3asic
                       Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
                       in advance or arreani for the periods {each a "Rental Period") and for the total number of payments as set forth in the Summary of Lease Tenns, in each
                       case, on the :first day ot'cach such Rental Period. lfthe Contract Date does not fall on the first dey of the month. the rental for that period of time from
                       the Contract Date until the Commencement Date shall be an amount equal to the daily rentaJ (Basic Rent divided by 7 duys for One Weck. 14 days for
                       One Biweekly and 30 days for One Month Rental Periods. as app1k:able), multiplied by the number of dRys from (and including) the Contract frate to
                       (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
                       Rent Lessee is obligated to pay hereunder (the '"'Supplemcntel Rent" and together with Basic Ren!., the "Renf') when due or if no date is specified
                       herein, on demand. If any Rent payment is not maQe wjthin five (5) days 11fter its due date, Lessee shall pay a late charge equal to the lesser of l 0% of
                       the late rental payment amount, and the maximum amount permiUed by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
                       OF ALL OTHER OBLJOATIONS ARE ABSOLUTE AND UNCONDWONAL AND WITHOUT SET OFF, COUNTERCLAIM. OR ANY DEFENSE
                       WHATSOEVER, INCLUDING, BUT NOT LIMITED TO, ANY RIGHT OR Cl.AIM THAT I.ESSBE MAY NOW OR HEREAFTER HAVE
                       AGAINST LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR, OR TI!E MANUFACTURER OF TI!E VEHICLES FOR
                       ANY REASON WHATSOEVER, SPEClFICALLYINCLUDING. WITHOUT LIMITATION. ANY CLAIMS THAT LESSEE MAY HA VE AGAINST
                       LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
                       AORBEMHNT Rhl'ERENCED IN SECTION 7 HEREOF.
                                      4. OPTION UPON EXl,IRATION OF INITIAL TER1't OF LEASE, Upon cXpit'ation of lhc Initial Tenn of the Lease, Lessee shall
                       comply with the provisions of Clause A or B bdow, in either case, as specified in the Summary of Lease Terms

                                           A.          Terminal Rental Adjusnnent Clause (''TRAC"). Lessee agrees that there shall be an edjustmcnt of the Rent to be paid
                                                        Lessor under the I.ease for the Vehicles. It is presently &lticipated that the fair market value of the Equipment (the
                                                        "Estimated Fair Market Value) will equal the TRAC Residual set forth in the Summary of Lease Terms. Upon



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                           expiration of the Initial Tem1, Lessor will attempt lo sell the Equipment Jn the e\lenl that the Net Procee<ls (as defined below)
                           are less than the Estimated Fair Market Value, Lessee shall pay to Lessor the full amount of such shortfall. 1fthe Equipment
                           has not been sold on the last day of the Tnitial Term, then the Net Proceeds shall be deemed to be zero and Lessee shall
                           immediately pay to Lessor the TRAC Residual. lf the Lessor thereafter shall sell the Equipment, the Net Proceeds shall be
                           paid by 1.essor lO Lessee. Any such payment by either Lessee or Lessor shall be deemed to be a Tenninal Rental Adjustment
                           with respect to the Vehicles, As used herein, ''Net Proceeds"' shall mean the proceeds received by Lessor, after deducting (i)
                           aU costs and expenses incurred in connection whh the recovery, repair, storage, and sale of the Vehicles, including any and all
                           attorneys' fees and legal expenses, (ii) all late charges and all interest accrued at the Dcfoult Rate (as hereinafter defined}. and
                           (iii) all rent payments and other obligations of Le~ due and u11paid under the Lease as ofllte date of the sale or disposition.
                           As to each Vehicle, ff the. Net Proceeds received by Lessor Lessor from the sale or other dispo.!;ition of such Equipment after
                           expiration of the Initial Term W'e less than the TRAC Residual amount for such Equipment as set furth in the Summary of
                           Lease Terms, then Lessee shall immediately pay to Lessor the amount of such defici~llcy as 11dditional Rent hereunder. Jfthe
                           Net Proceeds are in cx-cess of the TRAC Residual amount, then IOOo/a of such excess shall be returned to Lessee as a reduction
                           in the Rent for such Equipment. provided. however, that I.essor shall be entitled to retain all or any portion of such amount to
                           satisfy any ofLessee1s obligations under the L.ease
                                                                                                                                                                       !.
                            Lessee hereby certifies, under penalty of perjury, that
                 (i) Lessee intends that more than 50% of the use of the Equipment subject to this TRAC is to be used in a trade or business of the
                          Lessoe,
                 (ii) Lessee has been advised by tax ..-:ounscl or other tax advisor, and
                 (iii) Lessee understands and agrees that, Lessee will not be treated as the owner of the Equitimcmt identified above for federal income
                           tax purposes.
                 B.          $1.0D BU)·out. Lessee hereby ui1conditionally agrees to purchase all, but not less than all, of the P.quipment for $1.00 upon
                           expiration of the Initial Term of the Lease. Lessee and Lessor agree that Les.sec,: is owner of the Equipment and shall file and
                           pay all license. registration fees, and documentaiy, sale and use taxes, and persona) property taxes and all other taxes. fees and
                           charges relating to the ownership, leasing, rental, sale, purchase, possession or use of the Equipment

                   With respect to any option upon expiration of the Initial Term of the Lease set forth herein, ifwriUen notice of Lessee's intention to
                   exercise such elected option is not recei¥cd on a lirnely basis. then such failure shall conslitutc an Event of Default, and to the extent          i
                   that the Lessee fails to return to Lessor the Equipment in accordance with Section 7 hereof. Lessee agrees to pay a daily rental fee
                   equal to 150o/11 of the daily Rent fur each day that the Equipment is retained by Lessee; provided, however, such payments shall not
                   extend Lessee's right to have and use the Equipment beyond the Initial Term of the Lease as provided herein. Upon exercise of the
                                                                                                                                                                       I
                                                                                                                                                                       t·
                   option elected by Lessee and payment in fill I by Lessee of any related purchase amounts and all Rent, Lessor will execute and deliver
                   to Lessee the title to the Vehicles, and any otJJer documentation necessary to transfer title to Lessee. THIS SALE WlLL BE
                   WITHOUT ANY REPRESENTATION OR WARRANTY OF Am' KIND BY LESSOR, WHETHER EXPRESS OR IMPLIED IN
                   FACT OR LAW and, Lessee will accept the Vehicles« AS IS" and "WHERE IS".

               5. TAX INDEMNIFICATION. Except to the extent Section 4B is applicable upon expiration .i:it the Initfal Term, his understood and
agreed th&t Lessor is owner of the Equipment and that Lessor shall be entitled to such tax benefits that are available as owner of the Equipment lhrough
depreciation of the total capitali1.ed cost of the Equipment th~rcof tbr federal income tax purposes. In the event that Lessor suffers any loss,
disallowance, unavailability, or recapture of such depredation for any reason whatsoe\ler. then, after written notice thereof by Lessor to Lessee, Lessee
shall pay to Lessor an additional incremental amount payah le an each date that the Basic Rent is thereafter due, which in the opinion of Lessor, will
c::iuse Lessor's net after~tax anneal cash flow and net after-tBx rate of retum respectively, that would have been .available if Lessor had been entitled to
fun utilization of the depreciation. In the event that any payment is required to be made p1.1rsuant to this Section S, and such payment is to be tnode on
succeeding rent payn1ent dates, but at such time this Lease shall have been tenninated or Rent otherwise no longer shall be due and payable on the
remaining rent payment dates, Lessee shall promptly pay Lessor any amount equal to tlie incre.rncmtal increase in Basic Rent which would have been
required if such lax loss had occurred immediately prior to the last rental payment date on or prior to the i;xpinttion or other termination of the Lease.
Lessor shall pro1nptly notify Lessee of the conm1encement of any proceeding by the Internal Revenue Service in respect of any item as to which
 indemnity is sought hereunder. Lessee's agreement to pay ru1y sums which may become payable pursuant to this Section 5 shall survive the expiration
or other termination of this Lease.
               6. USE OF VEHICLES. Lessee shall use the Vehicles only in its business and in compliancci with all laws, rules, and regulations of any
jurisdiction where the Vehicles are used or located. Lessee represents and wanants to Lessor al all times 1hat (i) Lessee has the right and ability to enter
 into this Leese; (ii) this Lease constitutes a valid, legal, and binding obligation and agreement of Less~e. enforceable against Lessee in accordance with
 its tenns; and (iii) that the enterihg into and perfonnanoc of this Lease by Lessee will not result in a breach, violation, or default under any judgment,
order, law, regulation, Joan, mortgage, agreement, indenture, or other instrument applicable to Lessee, or result in any breach of,. or constitute a default
 under, or result in the creation of any lien, charge, security interest, or other encumbrance upon the Vehicles pursuant to any instrument to which Lessee
 is a party or by which it is bound. Lessee shall (t) use and opcrnt.c the Vehicles in a careful and prudent manner for the purposes and in the manner
 intended to be used; (ii) shall keep the Vehicles properly housed or othcnvisc protected from damage; and (iii) shall pay for all maintenance of Vehicles
to keep them in good and efficient working order and condition during the Term of the Lease, including, but is not limited to, Lessee's supplying all
fuel, lubricants, and otlier parts, supplies, maintenance and services, and/or Lessee, upon Lessor's request, entering into a service and maintenance
 agreement with Lessor or an affiliate of Lessor upon such fonns Md conditions provided by Lessor. After notice to Lessor, Lesseo may, at its own
 expense, make alterations or add !ltlachments to the Vehicles, prl).vidcd that such alterations or attachments are removable and do not reduce the value,
 utility or useful life of the Vehicles. Upon thi:: expirution or termination of the Lease, all alteralions or attachments affixed to the Vehicles shall become
 I.he property ofL~or if not removed, and if Lessee does remove such attachments, Lessee shall be liable to Lessofi.:ir any dumage to the Vehicles as the
 result of such removal. In the event that any federal, state, or local law, ordinance, rule or regulation shall requi~ the im:t.illation of W1Y additional
 accessories to any of the Vehicles, including, but not limited to. anti-pollution and/or safety device:>, or in the event that any other modifications to the
 Vehicles shall be required b:y virtue of such law, ordinance, rule or regulation, then and in any of such events, Lessee shall pay the full cost thereof,
 including installation expenses. l,essor may, at its option, urrangf.!. for the installation of such Vehicles or tha pcrfonnance of such modificruions, and
 Lessee agrees to pay the full cost thereof immediately upon receipt of im inv()ii.:e for the samo
                7. SURRENDER. Upon either the (i) failure by Lessee to exercise any purchase option for any Vehicle set forth herein, or (ii) upon
 demand b3 Lessor made pursuant to an Event of Default {as set forth in Section 19 hereol), L~sce shall, al its own expense, return such Vehicle to
           1




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Lessor to such location within the oontinental Uniic.d States: as Lessor shall designate, in the same condition as when delivered, reasonable wear and tear
excepted and othenYise in the condition required by this Lease Upon return of the Vehicles, Lessor, or such entity designated by Lessor, shall perfbrm a
physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated with the inspection, and
for any and all repairs necessary to place the Vehicles in the same condition HS when delivered, reasonable wear and tear excepted and otherwise in !be
condition required by this Lease.
               8. PAINTI~G. Lessee may paint the Vehicles in Lessee's customlll}' manner llJld affix adve1tisi11g or identifying insignia, provided that,
upon the expiration or termination of this Lease, and in the event that Lessee does not pwchase the Vehicles pursuant to Section 4.B hereof, Lessee
shall, upon the request of Lessor and at Lessees expense. restore the Vehicles to original condition, ordinary wear and tear exoop!ed
               9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HAVE MADE, ANY EXPRESS OR IMPLIED WARRANTY AS TO MERCHANTABILITY, FITNESS FOllANY PURPOSE OR USE,
DBS!ON OR CONDITION OF VEHICLES, QUALITY OF MATERIALOR WORKMANSHIP, OR AS TO ANY OTHER MATTER WHATSOEVER
RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENT AL. OR
PUNITrVE DAMAGES ARTSINO OlIT OF TIIB USE OR INAB!LlTYTO USE THE VEHICLES, OR ANY INADEQUACY, DEFJCIRNCY. OR
DEFECT rN THE VEHICLES. LESSBE AGREES THAT LESSEE LEASES THE VEHICLES "AS IS", Lessor agrees, to the extent possible and
without increasing its tiebility hereunder, and upon request, to assign to I,essee, any wnrranly of a manuihcturcr or seller relating to the Vehicles
available to Lessor. provided, however. that the foregoing rights shall automatically revert to Lessor upon the oCcurrence and during the col!linuancc of
any EventofDefaufthereunder, or upon return of the V~hicles to Lessor. Lesse1; agrees to settle all claims with respect to the Vehicles directly with the
manufacturers thereof, and to give Lessor prompt notice of any such settlement and the details of such settlement
                10. TITLE AND INSPECTION. Lessee, at its expense, shall protect and defend Lessor's title and keep it free of all claims and liens
except those claims and liens created by Lessor in connection with any assignment or financing by Lessor. Lessor may Inspect the Vehicles at any time
without prior notice during regular business hours. If, at any time during the Term of this Lease, Lessor .supplies Lessee with 1Bbels, plates or other
markings stating that rhe Vehicles are owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
                11. LICENSES. Lessee shall at its expense obtain all necessary licenses(including motor Vehicle plates) and registrations, required for lhe
 use and operation of each Vehicle. All certificates of title or rcgis.tration of each Vehicle shall nami:i LesSOI as lhe owner thereof
                12. INTERESTS IN VEHICLES. Lessee's rights with respect to th.is Leru;e and any Vehicles leased hereunder will be subject to 11ny
rlgh~ and interest in and to said Vehicles which me.y be granted by Lessor (or Lessor's affiliates) to any assignee or lender of Lessor (or Lessors
 affiliates). Lessor may assign to a lender or any other assignee all or any part of Lessor's rights hereunder, including a security interest in the Vehicles
and the right to receive rents and other sums due hereunder. Upon notice of sr,cb assignment in writing by a lender, assignee and/or Lessor, Lessee sh.all
pay all rents and other sums due or to become due under this Lease directly to such lender or assignee without set of( counterclaim, or any defense
whatsoever.
                13. TAXES. Lessee shall pay all personal property, sales or use taxes. business licenses, assessments, penalties, and charges which may be
 levied or asserted with respect to the Vehicles (except income taxes levied on fe1:1Se payments to Lessol). In the event that any such taxes. licenses,
 assessments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immediately after Lessor notifies Lessee in writing of the
 runount of such taxes, licenses., assessments, penalties, charges or expenses paid by Lessor, as ·well as an administrative fee. Increases or decreases in
 sales or use tax rates will affect all tease paymeuts after the effective date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
 hannless from and against any loss, cost or expense arising out of or relatiog 1oany such tax., import or levy, including, without limitation, any penal lies,
 interest HJtd fines relating thereta.
                14. FINF.S. Lessee shall pay all fmcs due to overload, overlcngth, overweight, lack of plates or pennits, speeding and any other ch11rges
 which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof. The provisions of this Section 14 shall survive the expiration
 or other termination of this Lease.
                15. LOSS OR DA1\1AGE. Lessee shaJl bear the entire risk of loss, theft, destruction of or damago to any Vehicle from any c:iuc;e
 whatsoever ('"'Loss or Damage.,). Lessee sheill promptly notify Lessor in writing of any Loss or Damage, No Loss or Danmgc to any Vehicles shall
 relieve Lessee of any obligation witbrespecl to such Vehicle under this Lease. In the event of Loss or Damage, Lessee shall, at the option of Lessor: (a)
 put such Vehicle in good coodition and repair in accordance with ;he manufac..'tltrer's recommendations, and to the reasonable satisfaction of Lessor. at
 Lessee's expense; {b) replace such Veb.icle with a like Vehicle (same value; ulilily and useful life. as damaged Vehicle) in good condition and repair as
 approved by Lessor in Lessor's so1t: discretion with clear title thereto vested in Lessor, or {c) pay Lessor on or before the next rent payment dale as set
 forth in accordance with s~tion 3 hereof (such payment date, the "Loss Payment Date") in cash the sum of: (i) all amounts then due Lessor by Lessee
 under the Lease relating to such Vellicle, which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
 of the TRAC Residual, if any, relating to such Vehicle (as set forth in the Summary of Lease Terms). discounted at 5.0% computed from the expiration
 of the Initial Tenn of the Lease to the Loss Payment Date, plus (iii) an amount equal to the present value of the unpaid future remaining Rents for the
 Initial Term of the Lease, relating to such Vehicle discounted at !LO% computed from the scheduled payment dates for such Rents to the Loss Payment
 Date (the "Casualty Value Amount"}. Upon receipt of the Casualty Value Amount set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
 insurer) Lessor's interest in such Vehicle i11 its then condition and location, "AS I~"t without any warranty whatsoever, express or implied. If Lessee is
 required to repaJr any Vehicle In acc::ordance with (a) above, or to replace any Vehicle in accordance with (b) above. the insurance proceeds actually
 received by Lessor, if any, punruant to Section 16 hereof shall be first applied to pay any amounts then due under this Agreement, and lhen shall be paid
 to Lessee upon proof satisfactory to Lessor that such repairs have been completed as required herei!(in the case of(a)}, or of adequate purchase and title
 documents in Lessor's sole discretion (in the case of (b)). ln the event that Lessee is obligated to pay to Lessor the nmount specified in (c) above, Lessee
 shall be entitled to a credit against suc::h amount equal to the amount of insurance proceeds actually received by Lessor, if any, pursuant to Section 16
 hereof, on account of such Vehlcile.
                16. INSURANCE. Lessee shall obtain and maintain insurance on or with respect to each Vehicle at its own expense end in the amounts
 and fonns satisfactory lo Less.or. In no event shall any insurance coverage be less than the following: (a) physical damage insurance insuring against
 loss or damage ta the Vehicles in an amount not less tllan the full replacement value Qf such Vehicle; and (b)(i) in all States except Florida: (1) not
 greater than $500 deductible for collision, fire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injury liability and property
 damage; or (b)(ii) for the State of Florida: (1) not greater than $500 deductible for coJJision. fire. theft,. and comprehensive, and (2) $250,000 per person
 I $500,000 per incident bodily injury liability, and (3) $100,000 property damage liability. ln addition, the following require $1,000,000 excess liability
 coverage (1.1mbrella): (a) truck/tractors over 45,000 lbs.; (b) trailers/semi-trailers; tow trocks; and (c) limo uses for livery. Lessee .shall furnish Lessor
 with a certificate or insurance evid~ncing issuance of such insurnnce to Lessee in at least the minimum amount required herein, naming Lessor and such
  other partie~ designated by Lessor as additional insured thereunder for liability coverage, and as loss payee for property damage coverage. Each policy
 shall require insurer to give Lessor30 days prior written nolicc of any material alteration in tennsofpolicy or cancellation thereof, and shail provide tha1
 no action, misrepresentation or breach of warranty of Lessee shall invalidate the policy. lfLe~e fails to provide such insurance, Lessor shatT have the
 right. but no duty, to obtain such insurance, and L\!Ssee shalI pay Lcs.!ior all costs thereof, including a.11 costs incurred by Lessor in obtaining such
 insurance together with interest at the Defauh Rate from the date paid by Lessor to the da~ paid in full by Lessee. Lessee shall not use any Vehicle if
  the insurance required herein is not in full force and effect with respect to such Vehicle. Upon Loss or Damage as set forth in Section 15 hereof, Lessee
                                                                           Poge 3 of6




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shall receive credit for any amounts paid to Lessor by the insurer against Lesse~ obligations hereunder.
                17, INDEMNITY. Lessee shall inrlcmnify Lessor against,. and hold Lessor harn1Jess from, any and all claims, actions, damages,                          '.
obligations, lio.bititics, liens (including any nrising or imposed under the doctrines or strict liabilily in tort or product liability), and costs and expenses
(including attorneys fees), arising from or out of the manufocturc, purchase, lease, possession. operation, condition. return, or use of the Vehicles, or by
operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assertion of flllY such claim, action, damage. obligation, liability, or lien, Lessee, at Lessee's expense shall assume full
responsiblJity for the defense thereof, provided that Lessor shun have the right, but not the obligation, to participate in any defense i::onductcd by Lessoe
without reli~ing Lessee of any of its obligations hereunder The provisions of this. Section 17 shall survive [r;rmination of this Lease
                18. ASSIGNMEl\'T. Except as otherwise pem1itted herein, without Lessor's prior written consent, Lessee shall notassign, transfer. pledge,
hypothecateor otheIWise dispose of this Lease, the Vehicles or any interest therein, or sublet or I-end the Vehicles, or permit !he Vehicles to be used by
anyone except Lessee or Lessees authorized employees Lessor may assign this !&ase or tmy int.crest therein in whole or part without notice to Lessee
                19, DEFAULT. Lessee shall be in default of this Le~ upon the happening of any of the following events or conditions which shall
constitute "'Events of Default": (a) Lessee fails to pay any Rent or other amount when due; (b) Lessee fails Lo observe, keep or perform any other
cove11ant or provision of this Lease required to be observed, kept, or performOO, by Lessee; (c) Lessee removes, sells, transfers, encumbers, creates a
security interest in, relinquishes possession of the Vehicles, or performs any act which impairs Lessor's title t.o any Vehicle or attempts any of the
foregoing; (d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected ·with this Lease; (e) Lessee fails to satisfy any traffic
ticket or summons or. fuils to register any Vehicle; (f) Lessee becomes insolvent, bankrupt or has a trustee or receiver appointed for Lessee or for a
substantial part of Lessee's property: (g) Lessee experiences a material change in its business or affairs (including tennination of Lesscc."s employment
or termination of the contract under which Lessee provides services or a change in the wntrol or ownership of Lessee or Lessee's employer or the party
with •.vhich Lessee contracts to provide services) which in Lessor's sole judgment impairs the security of ~ny Vehicle or increases the credit risk
involved therein; {h) Lessee attempts to assign this Lease without the consent of Lessor; or (l) Lessee fails lo notify Lessor of any material change in its
business and affairs, including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints a11d constitutes Bush Truck 1.&asing,
 Inc. and its successors and assigns, 1he true and lawful a!:lomey-in-facl of Lessee, with full power in the name of Lessee upon the occurrence of an Event
of Default, (i) to demand and receive any and all moneys and cl alms for moneys due in respect of or relating to the Equipment, (ii) to assign or transfer
any of Lessee's rights under this Lease or in the Equipment {including assigning the rights of Lessee to any replncement lessee hereunder and/or causing                !.
                                                                                                                                                                        ;
any other peraon to become the registered owner of the Equipment) and (iii) to take any other action in respect of this Lease or any of the Equipment.
Lessee ratifies and approves all acts of Bush Truck Leasing. lnc., as attorncy-in~fact. Bush Truck Leasing, Inc.. as attorney-in-fact wiII not be liable for
any acts or omissions or errors of judgment or mistake of fact or Jaw. This power, being coupled with an interest, is irrevocable until all obligations
 under this Lease have been fully satisfied
                20. REMEDIES. Upon the occurrence of any Event ofOefault, Lessor may diclare this Lease to be in default, and at any time thereafter,
 Lessor, at its option, may do any one or more of the following: (a) cancel this Lease: (b) proceed by apr,iropriate action to enforce pcr.Lbm1ance of the
 Lease at Lessee's expense or to recover damages (including attorneys fees) for the breach thereof; {c) demand that Lessee, and in such case the Lessee
shall, return all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) enter, with or without legal
 process, Lessee's premises or any other premises where lhc Vchiclc:s arc located, and take possession of all or any part of the Vehicles without any
 liability to Lessee by reason of such entry~ (e) sell, lease, or olhenvisc dispose ofal1 or any part of the Vc.hic\es at a public or private sale, which may be
 conducted where such Vehicles are then located; (f) demand that Lessee, and in such case Lessee shall, pay to Lessor as liquidated dan1agcs fur loss of a
 bargain and not as a penalty an amount equal to the sum of (i) all amounts due and unpaid under the Lease (including without limitation any indemnity
 obligations) plus interest thereon from the due date thereof at a per annum intc:rest rate eqmd to lhe prime rate of interest then in effect as published in
the Wall Street Journal plus2.0% (the "Default Rate.,)> plus (ii} the present value of all future Rent payments for such Vebiclcs,discounted at 5,0o/o, plus
 (iii) the present va1ue of the TRAC Residua\, if any, discounted at S.0%, plus (iv) all costs and expenses incurred by Lessor in enforcing Lessor's rights
 hereunder (including, without limitation, all costs of repossession, teCOvery, storage~ repair, sale,. re-lease, and attorneys' fees), together with interest
 thereon at the Default Rale from lhe date of demand to the date of payment in full {the "Liquidated Damages")> or (g) exercise any other right or remedy
which may be available to Lessor under the Unifonn Commercial Code or any other applicable luw The proceeds of any sale or lease of the Vehicles by
 Lessor shall be applied in the following order of priority (1) to pay all of Lessor's expenses in tnking, holding, preparing for sale or lease, and disposing
 of the Vehicles, including WI attorneys fees and legal expenses, then (2) to pay any late charges and all interest accrued at the Default Rate: then (3) to
 pay accrued but unpaid Rent payments, then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. lfthe proceeds of
 any sale or lease are not sufficient to pay the amounts owed to Lessor under this Lease, Le!isee will pay the deficiency. Lessor may also, without
 liability, talce any personal property stored within the Vehicles nnd may store any such property a1 Lessee's expense for 30 days. Lessee will be
 obligated ro reclaim such property within 30 days and hereby waives any rights in such property thi:reafter. Any uocluimed property will be deemed
 abandoned after 30 days and will be discarded by Lessor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
 Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied to Lessee's
 obligations under this Lease pursuant to tbls Section 20. Lessor's remedies hereunder may be exercised instead of or in addition to any other legal or
 equitable remedies.. Lessor has the right to set off .any sums received from any source (including insurance proceeds) against Lessee's obligations under
 this Lease. Lessee waives its right to object to the notice of the tin1e or place of sale or lease, and to the manner and place of any advertising therefore.
 Lessee waives any defense based on statutes of limitations or !aches in actions for damages. ln case of failure by Lessee to pay any fees. assessments,
 charges, or taxes arising with respect to the Vehicles, Lessor shall have the right, but not the obligation to pay such amounts, and in that event, the cost
 thereof shall be payable by Lessee to Lessor upon demand, together with interest at the Default Rate from the date of disbursement by Lessor
                21. SECURITY DEPOSlT. The Security Deposit shall be held by Lessor during the entire Tenn of the Lense, including the Interim Term
 and any renewal term, as security for the full payment and performance of the terms, conditions and obligations of Lessee hereunder and under any and
 all Scbedu1es. The Security Deposit shall not excuse the perfonnance at the time and [n the manner prescribed or any obligation Qf Lessee or cure a
 default of Lessee. Lessor may, but shall not be required to, apply such Security Deposit towards discharge of any overdue obligation of I~essee. Lessor
 shall be entitled to commingle the Security Deposit with any of its own funds. No Interest shalt accrue on the Security Deposit and Lessor shall have no
 liability to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards. any obligalions ofLesseamder the Leru.-e, Lessee
 shall, upon demand; pay to Lessor an amount necessary to return the Security Deposit to the su1n specified above. In furtheranc-e thereof, Lessee hereby
 grants to Lessor a security interest in the cnsh comprising the S.:curity Depo:sit from time lo lime and any and all interest thereon, tog.ether with the
 proceeds thereof, to secure the prompt payment as and when due of all indebtedness, tmd !he prom pl pcrformam.:e as and when due cf aU obligations, nf
 Less.cc: now or hereafter required under the Lease. lf !Jo Default has then occurred, upon the expiration or earlier termination of the Term of1he Lease,
 the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee
                 22. SEVERABD...JTV. The invalidation of any provision ar provisions of this Lea."e as unenforceable shall not operate to invalidate the
 remainder of the Lease which shall remain in filll force and effect
                 23. NOTICES. All notices relating to this Lease shall be delivered in person to an officer of Lessor or Lefil!ee or mailed to the respective
 addresses shown above on the fust: page of this Lease, or to such address as otheiwise specified in writing by the appropriate party hereto
                 24, W AIYER. Lessor's forbearance of exercise of any right or remedy on Lessee's breach of any terms, covenants or conditions hereunder
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shall not be deemed a waiver of such right or remedy, the requiremenl of punctual perfonnance, or any of its remedies upon any other or subsequent
breach or default
              25. GOVERNING LAW. This Lease takes effect upon its acceptance and execution by Lessor, and shall be governed. interpret\}d and
construed under the laws of the State of Oh to. Ohio law shall prevail in the event of any conflict of law without regard to, and without giving effect to,
the appJication of choice of Jaw rules LESSEE WAIVES ALL_ RIGHTS TO TRIAL BY JUR YlN ANY LJTJGATJONARISING FROM OR RELATED
TO THIS LEASE, AND LESSEE SUBMITS TO THE JURJSDICTION OF THE FEDERAL DISTRICT COURT FOR THE SOUTHERN DISTRICT                                                        ;   ;
OF OHIO, OR ANY STATE COURT OF COMPETENT JURISDICTION WITHIN MONTGOMERY COUNTY, OHIO, AND WAIVES ANY R!OHT
TO ASSERT THAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE                                                               ! .
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.      W AIYER OF DAMAGF..S. Lessee waives 10 the fullest extentpcnnitted by law any right to or claim of any punitive, exemplary,
indirect, special, consequential, or incidental damages against Lessor. Lessee agrees that. in the- event of a dispute, olaim or controversy agairJst Lessor,
Lessee shall be limited to the recovery of actual direct damages sustained by it. subject to any limibn direct damages set forth in this Lease. Lessee will
llOt accept or attempt to collect through the courts or otherwise any punitive, exemplary, indirect, consequential, or incidental damages from Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Le~or and Lessee and their respective
successors and assigns penniU.ed hereunder.
              '28. FORCE MAJEURE. The obligations of Lessor hereunder shall be suspended to the e>..ient tbnl it is hindered or prevented from
complying therewith because of labor disturbances, acts of God, fires, storms, accidents., failure of the manufacturer to deliver any of the Vehicles, court
order, government.al regulations, or other interference or any cause whatsoever not within the soJe control of Lessor

                                                            (SIGNATURE PAGES FOLLOW)




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                                                                                                                                                                                 f.



IN WITNESS WHEREOF, the parties hereto hflve entered into this Lease Agreement as of the date first above wrinea

                                                                                      LESSOR:




                                                                                            Diana S. Cornette _
                                                                                      Name:____________
                                                                                                 Vice President
                                                                                      Title: _ _ _ _ _ _ _ _ _ _ _ __




                                                                                      LESSEE: Sonet Transportation and Logistics Inc.


                                                                                      @sy·f:ALVu.
                                                                                       :,:;>SIGNATURE
                                                                                                                                                                                 rI



EQUIPMENT ACCEPTANCE
Lessee hereby confirms that the Equipment J1as been delivered, duly assembled and in good working order and condition. Lessee confirms that after 1:1
reasonable opportunity tu inspect the Equipment,. it has solely selected. and unconditionally E!lld irrevocably accepted I.he Equipment as-is, where-is for all
purposes of this Lease as of this date. Jn the event lhut the Equipment is not delivered and accepted within thirty {30) days of Lessee's signing of this
Bquiprnent Acceptance, Lessee hereby authorizes LeSsor to increase the: Payments to reflect any Lease rate inc.Tease applicable to the Lease




                                                                                     . LESSEE: Sonet Transportation and Logistics Inc,



(X)Dated:_ _...,_,,.-
              _- _    2 I_ ?i·:J
                                                                                       Msy:         ~
                                                                                       D_..---f!GNATURE




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                                                                                                                                                                      Exhibit A
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                                                                                                              6961 Cintas Blvd
                                                                                                              Mason, OH 45040

               TRUCK LEASING, INC.                                                                            800-766-2874
                                                                                                              www.bushtrucks.com
                                                                 LEASE AGREEMENT
                    Contract Date:           .//5'.ldl/j'                                           Lease ID No.          CLBC8974

                                                                            LESSEE
Individual Legal Name (if applicable):
Company Legal Name (if applicable):      Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:Natiooal CityState:CA      Zip: 91950
                                         .
                                                           EQUIPMENT
 Vehicle Year                     Vehicle Make                    Vehicle Model   I                                      IVehicle Identification Number
2012                                         Freigbtliner                         ICascadia                              J IFUJGLBG4CLBC8974

       Refer to Schedule 1 of this Lease Agreement for Equipment details in the event that no Equipment information appears above
                                                            SUMMARY OF LEASE TERMS
                                                          Total    Down
Commencement             Initial     !Rental Periods                                 Advance       Basic Rent         Doc Fee        Security      End of Term
Date & 1st Basic         Term
                                                       INumberof Payment+              or           (without                         Deposit         Option
                                                        Payments  Taxes at
  Rent Date                                                                          Arrears         Taxes)
                                                                  Closing

 5-/·J!:t/:}               36          MONTHLY              36        $1,500.00      Arrears        $2,036.67         $400.00          $0.00           TRAC
                    MONTHLY
 /,-/ 201-:2
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $26,300.00

   THIS LEASE AGREEMENT (''Lease") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
   ("'Lessorj, and LESSEE referenced above.

                 1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
   with all replacements, repairs and additions thereto (individually and collectively, the "Vehicles") on the terms and conditions set forth in this Lease,
   Lessee agrees that Lessee leases the Vehicles .. as-is", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
   manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
   has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements, representations, ommanties made by
   Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identifiedherein will be used for
   commercial purposes.
                 2. INITIAL TERM. The term of this Lease foreach Vehicle shall commence on the Contract Date and shall continue for that number of
   months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month, in which case the
   Contract Date shall be the date on which the term of this Lease commences) ("Commencement Date") each as set forth in the Summary of Lease Terms
   (such period as extended or sooner terminated by Lessor as provided herein, the"TermJ.
                 3. RENT. The rental payment amount for each Vehicle hereunder (the "Basic Rent") is set forth in the Summary of Lease Tenns. Basic
   Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
   in advance or arrears for the periods (each a "Rental Period'') and for the total number of payments as set forth in the Summary of Lease Terms, in each
   case, on the first day of each such Rental Period. If the Contract Date does not fall on the first day of the month, the rental for that period of time from
   the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
   One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Date to
   (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay an amounts other than Basic
   Rent Lessee is obligated to pay hereunder (the ..Supplemental Renf' and together with Basic Rent, the "Renf') when due or if no date is specified
   herein. on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of 10% of
   the late rental payment amount, and the maximum amount pennitted by law, LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
   OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF. COUNTERCLAIM, OR ANY DEFENSE
   WHATSOEVER, INCLUDING, BUT NOT LIMITED TO. ANY RIGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE
   AGAINST LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF THE VEHICLES FOR
   ANY REASON WHATSOEVER, SPECIFICALLY INCLUDING, WJTHOUT LIMITATION, ANY CLAIMS THAT LESSEE MAY HA VE AGAINST
   LESSOR, ANY OF LESSOR'S AFFILIATES. OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
   AGREEMENT REFERENCED IN SECTION7 HEREOF.
                 4. OPTION UPON EXPIRATION OF INmALTERM OF LEASE. Upon expiration of the Initial Term of the Lease, Lessee shall
   comply with the provisions of Oause A or B below, in either case, as specified in the Summary of Lease Terms

                    A.          Terminal Rental Adjustment Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                                 Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                                 "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Terms. Upon



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                                  expiration oftbc lnitial Tenn, Lessor will attempt le sell the Equipment. In the ~ent that the Net. Proceeds (as defined below)
                                  ere Jess than the Estimated Fair Market Value, Lessee shall pay to Lessor the fuU amount of such shortfall. If lhc Equipment
                                  has not been sold on the last day of the Initial Tenn, then the Net Proceeds shWl be deemed to be zero and Lessee shall
                                  immediately puy to Lessor the TRAC Residuat If the Lessor thereafter shall sell the Equipment, the Net Proceeds shall be
                                  paid by Le.ssar to Lessee. Any such payment by either Lessee or Lessar shall be deemed to be a Terminal Rental Adjustment
                                  with rcipCOt to the Vcli.icles. As used herein, "'Net Proceeds" .shall mean the proceeds re.ceived by Lessor, after de.ducting {i)
                                  all costs and expenses incurred in connection with the recovery, repair. storage, and sale of the Vehicles, including any and all
                                  attorneys' fees and legal expenses, (ii) all late charges and all interest accrued at the Default Rate (as hereinafter defined), and
                                  (iii) all rent payments and other obligB!ions of Lessee due and unp.aid under the tease as of the date of the sale or disposition.
                                  As 1o each Vehicle, if the Net Proceeds m:eivcd by Lessor Lessor ftom the sale or other disposition of such Equipment after
                                  expiration of the Initial Term are Jess than the TRAC Residual amount for such Equipment as set forth in the Summmy of
                                  Lease Tenns,, then Lessee sh.all immediately pay to Lessor the amount of such deficiency as additional Rent hereunder. ff the
                                  Net Proceeds are in excess of the TRAC Residual amount, then 100% of such excess shall be returned to Lessee as a reduction
                                  in the Rent fur such Equipment, provided, however, that Lessor sha11 be entitled to retain all or any portion of such amount to
                                  satisfy any o.f Lessee's obligations under the Lease

                                    Lessee be.reby certifies, under penal1y of perjury, that
                         {i)   Lessee intends tha1 more than 50% of1he use offue Equipment subject to this TRAC is to be used in a trade or business of the
                                  Lessee,
                         (ii) Lessee has been advised by ta:c counsel or other tax advisor, and
                         (iii) Lessee understands m:id agrees that, Lessee will not be treated as the owner of the Equipment identified above for federal income
                                  tax purposes.

                         B.          $1.90 lJ,uyoot. Lessee hereby uncom:litionally agrces 1o purchase all, but not less than all, of the Equipment for $1.00 upon
                                   expiration of the Initial Term of the Lease. Lessee and Lessor agree that Lessee is owller of the Equipment :end shall file and
                                   pay all license, registration fees, and dooumentary, sale and use taxes, and personal property taxes and all other taxes, fees and
                                   charges relating to the ownership, leasing, rental, sale, purchase, possession or use of1h.e Equipment

                           With respect to any option upon expiration of the Initial Term of the Lease set forth herein, if written notice of Lessee's intention to
                           exercise such clectei:I option is not received on :e timely basis, then such failure shall constitute an Event of Defoult, and to the extent
                           that the Lessee fails to rctum to Lessor the Equipment in accordance with Section 7 hereof, Lessr;e agrees to pay a daily rental fee
                           equal to 150% afthe daily Rent for each day that the Equipment is retained by Lessee; provided, however, such payments shall not
                           extend Lessee's right to ha:ve and use the Equipment beyond the lnltia1 Term of tho Lease BS provided herein, Upon exercise of the
                           option elected by Lessee and payment in ;full by Lessee of any related purchase amounts and all "Rent. Lessor will execute &nd deliver
                           to Lessee the title to the VMicles, and &ny other documentation nw:ssary to transfer title lO Lessee. TIITS SALE WlLL BE
                           WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHETHER EXPRESS DR IMPLIED JN
                           FACT OR LAW and, Lessee will accept the Vehicles"AS IS" and "WHERE JS".

                       5. TAX INDEMNIF1.CA TIOJ'li. Except to the extent Section 4B ~'!P.Plicable upon expiration at the Initial Term, it is understood and
        agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to i:~tax benefits that are available m owner of 1he Equipment through
        depreciation of the tctaJ. capitalized cost. of 1he Equipment thereof for federal' income twc purposes. In the event th.at Lessor suffers any loss~
        diSBllowance, unavailability, or recapture of such depreciation for any reason whatsoever, then. after writW:n notice thereof by Lessor to Lessee, Lessee
        shall pay to Lessor llJl additional incremental amount payable on each date that the Basie Rent is thereafter due, which in the opinion of Lessor. will
        cause Lessor's net after-tax annoal cash flow and net ofter-tax rate of return r.espectively, that would have been available if Lessor had been entitled to
        full utilization of the depreciation. ln the event that any puymem is required to be made purauant to this Section 5, and suoh payment is to be made on
        succeeding rent payment dates, but at such time this Lease shall have been terminated or Rent otherwise no IOnger shall be due mid payable on the
        remaining rent payment dates, Lessee shall promptly pay Lessor any amount equal to 1he incremental inCR:ase in Basic Rent which would have been
        required if suoh tax loss had occum:id immediately prior to the lest renlal payment dare on or prior to the expiration or other termination of the LeRSe.
        Lessor shall promptly ootify Lessee of the commencement of any proceeding by the Internal Revenue Service in respect of any item as to which
        indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable pursuant to this Section ) shall surviv~ the expiration
        or other termination of this Lease.
                       6. USE OF VEHJCLES. Lessee shall use the Vehicles on1y in its business and in compliance with all lltws. rules, and regulations of any
        jurisdiction where the Vehicles are DSCd or locetcd. Lessee ~ents and warrants to Lessor at all times that {i) Lessee haa the right and ability to enter
        into this Lease; (ii) this Lease constitutes a valid, legal. and binding obligation and agreement of Lessee. enforceable againS"t Lessee in accordarice with
        jtJ tenns; and (iii) that tbe entering into and performance of this Lease by Lessee will not result in a breach. violation, or default under any judgment,
        order, Jaw, regulation. loan. mortgage, agreement, indenture, or other insbument applie&ble to Lessee, or resuit in any breuc:h of, or constitute a default
        under, or resuJt in the creation of any lien, charge, security interest,. or other encumbrance upon the Vehicles pursuant to any instrument to which Lessee
         is a party or by which it is bound. Lessee shall (i) use and operate the Vehicles in a careful and prudent manner for the purposes and in the manner
         inn:nded tD be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) shall pay for ell maintenance of Vehicles
        to keep them in good and efficient working order and condition during the Term of the Lease, including, but is not limited to, Lesseels supplying all
        fuel, lubricants, and other parts, supplies, maintenance and services, and/or Lessee, upon Lessor's request, entering into a service and maintenance
         agreement with Lessar or an affiliate of Lessor upon such terrtU and conditions provided by Lessor. After notice to Lessor, Lessee may, at its own
        ~pcnsc, mal;e alteration!: or add attachments to the VehicJes. provided that such alterations or attachments are removabk and do not reduce the va.luc,
        utility or useful life of the Vehicles. Upon the expiration or termination of the Lease, all alterations or attachments affixed to the Vehicles shall become
        the property of Lessor if not removed, and if Lessee does :remove such atteclnnents, Lessee sh11:Jl be liable to Lessofur any damage to the Vehicl?S as the
        result ofsoch removal. ln the event that any federnl, .state, or loeal 111.w, ordinance, rule or regulation shall require the installation of.any additional
         accessories to 811}' of1he Vehicles, including, but not limited to, anti-pollution and/or safety devices, or in the event thet any other modifications to the
        Vehicles shall be required by virtue of such law, ordinance, rule or regulation., then and in any of such events, Lessee shall pay the full cost thereof,
         including installation expenses. Lcssorm&y, at its. option, arrange for the installation of such Vehicles or the performimce of such modifications, and
        Lessee agrees ttl pay the fuH cost thereof immediately upon R:ccipt of an invoice for the same                   ·
                       7. SURRENDER. Upon either the (i) failure by Lessee to exercise any purchase option for any Vehicle set forth herein, or (if) upon
         demand by Lessor made pursuant to an Event ofDefault (as set forth in Slilction 19 hereof), Lessee shall, at its own expense, return such Vehicle to
        Lessor to sucil location within the continental United States as Lessor shall designate. in the same condition as when delivered, reasonable wear and tear
        excepkod and otherwise in the condition required by this Lease Upon return of the Vehicles. Lessor, or such entity designated by Lessor, shall perform a

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physical and mechanical inspection of the Vehicles. L-:ssee shall be responsible for the payment of any and all costs associated with the insp...ACtion. and
for any and nll ~pairs necessary to place the Vehicles in the same condition as when deliv~d. reasonable wear and tear excepted and otherwise in the
                                                                                                                                                                        I
condition reqaired by this L~e.
               8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insi~nia. provided thlil,
upon the expiration or terminatio11 of this Lease, and in the event that Lessee does not purohase the Vehicles pursuant to Section .4.B hereof, Lessee
shall. upon the request of Lessor end Ill Lessees expense, restore the Vehicles lo originaJ condition, ordinary wear and lear excepted
               9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES TilAT LESSOR HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HAVB MADE, ANY EXPRESS OR IMPLIED WARRANIT AS TO MERCHANTABILITY, FITNESS FORANY PURPOSE OR USE,
DESIGN OR CONDIDON OF VEHICLES, QUALITY OF MATERIALOR WORKMANSHIP, OR AS TO ANY OTHER MATIER WHATSOEVER
RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
PUNITIVE DAMAGES ARJS!NG OUT OF THE USE OR JNABILITY TO USE THE VEHICLES, OR ANY INADEQUACY, DEFICIENCY, OR
DEFECT IN THE VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEH1CLES "'AS IS". Lessor agrees, to the eX1ent possible and
v.•ithout increasing its liability hereunder, and upon request, to assign to Lessee, any wmranty of a manufacturer or seller relating to the Vehicles
available to Lessor, ptovided, however, tbat the foregoing rights shall automatically revert to Lessor upon the occurrence and during the continuance of
any Event of Default hereunder, or upon return of the Vebich:s to Lessor. Lessee agrees to settle alJ claims with respect to lhe Vehicles directly with the
manufacturers thereof, B.Dd to give Lessor prompt notice of any such settlement and the details of such settlement
               10. TITI..E AND INSPECTION. Lessee, at its expense, shall protect and defend Less.or's title and keep it free of all claims and liens
except those claims und liens created by Lessor in connection with .any assignment or financing by Lessor. Lessor may inspect the Vehicles at any time
without prior notice during regular business hours. ff, al any time during the Term of this Lease, Lessor supplies Lessee with labels, plates or other
markings stating that the Vehicles are owned by Lessor. Lessee. shall affix and keep the same in a prominent place on the Vehicles
               11. LICENSES. Lessee shttll at its exp1:mse obtain all necessary iiccnses{inctuding motor Vehicle plates} and registrations, required for the
use and operation of each Vehicle. All ccrtificales of title or registratkm of each Vehicle shall name Lessor a.s the OWDCI thereof
               12. INTERESTS IN VEHICLES. l..Qssce'.s rights with respect to this Lease and nny Vehicles leased hereunder will be subject to any
rights Wld interest in and to snid Vehicles which mny be granted by Lessor (or Lessor's .affiliates) t.o any assignee or lender of Lessor (or Lessor's
affiliutes). Lessor may assign tD a lender or any other assisnee a.II or any part of Lessor's rights hereunder, including a security interest in the Vehicles
and the right t<l receive rents and othcrsums due hereunder. Upon notic.c of s11cb assignmtmt in writing by a lcnder, assignee and/or Lessor, Lessee shall
pay all rents and other sums due or to become due under this Lease directly to such lender or assignee wichout set off, counterclaim. or any defense
whatsocvei:
               13. TAXES. Lessee shall pay all personal property, sales or use tm<es~ business licell!lcs, assessments, penalties, and charges which may be
 levied or asserted with respect to the Vehicles {except income taxes levied on lease payments to Lesso1'. In the event that any such 11tx.es, licenses,
 BSSessmeots, penalties, or charges are paid by Lessor, Lessee shall reimbur.;e and pay Leswr immediawly 1ifter Lessor notifies Lessee in writing of tho
 amount of such taxes, licenses; assessments. penalties, charges or expenses paid by Lessor, as well as an administrative fee. lncreases or decreases in
 sales or use tax rates will affec1 all lease payments after the effective date of fbe change by the tnxing authority. Lessee shall indemnify and hold Lessor
 hmm.less from mid against 111y Joss. cost or expcn& arising out of o-r r~lating toany sQcb t:aX,. import or levy, including, without limitation, any penalties,
 interest and fines relating thereta
                14. FINES. Lessee shalt pay all fines due io overload, overlengtb,, overweight, lack of ptatci; or pcnnils, speeding and any other charges
which ma:y be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof The provisions of this Section 14 shalJ survive the expiration
 or other termination of this Lease
                15. WSS OR DAMAGE. Lessee- shall beitr the entire risk of loss, cheft, destruction of or dainage to any Vehicle from any eause
 whatsoever (''Loss or Damage"). Lessee shall promptly notify Lessor mwriting of any LoS!I or Damage. No Loss or Damage to any Vehicles shall
 relieve Lessee of any obligation withrespect to such Vehicle under this Lease. In the event ofLoas or Damage, Lessee shall, at the option of Lessor: (a)
 put such Vehicle in good condition end repalr in accordance. with the manufacturers reoonuncndati.ons, and to the reasonable satisfaction of Lessor, al
 Lessee's expense; (b) replace such Vehicle with a Hire Vehicle (same value, utility and useful life 8!I dmnaged Vehicle) in good condition and repair as
 approved by Lessor in Lesso:r'ii: sole discretion with clear tide thereto vested in Lessor, or (e) pay Lessor on or before the next rent payment date as se.t
 forth in accordance with Section 3 hereof {such payment date, the "Loss Payment Datej in cash the Slltn of. (i) aJl ~ounts then due Lessor by Lessee
 midcr lhe Lease relating 10 such Vehicle, which amounts shall be prorated fhroagh the Loss Payment Date, plus (ii) an amount equal to the present value
 of the TRAC 'Residual, if any. relating to such Vehicle (as set forth in the Summary of Lease Terms), discounted at 5.0% computed from the expiration
 of the JnitiaJ Tenn of the Lease to the Loss Payment Date, plus (iii) an amount equal to the pre9ent value of the unpaid future remaining Rents for the
 Initial Tenn of the Lease, relating to such Vehicle discounted ut 5.00/o computed from the scheduled payment dates for snch Rents lo the Loss Payment
 Date (the "Casualty Value Atnollnf'). Upon ~ccipt of the Casualty Vnlue Amount set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
 insurer) Lessor's interest in such Vehicle in its then condition and locirtion. ~AS IS" without any wemurty whatsoever, cxpn:ss or implied. If Lessee is
 reqaired to repair nny Vehicle in accordEIJlce with (a) above, or to seplacc any Vehicle in accordance with (b) above, the insurance proceetls actually
 received by Lessor, if any, pursuant to Section 16 hereof shall be first applied lo pay any amounts then due under this Agre.ement, and then shall be paid
 to Lessee upon proof satisfactory to Lessor that such repaits have been completed es required bereh('m the case of (a)), or .of adequate purchase and title
 documents in Lessor's sole discretion {in the case of{b)). ln the event lhat"Lessee is obligated to pay to Lessor the mnount specified in (c) above, Lessee
 shall be entitled to a credit again.st such amount equal to the amount of insur~ proceeds nctually received by ·Lessor, if any, pursuant to Section 16
 hereof, on account of such Vehicle                                                                                     ,
                !fl. INSURANCE. Les.see shall obtain end maintain im.urance on or with respect lo each Vehicle at ill own expense and ill the amounts
 and forms sW.isfactory to Lc:sStlr. 1n no event sh&ll any insurance coverage be less than the following: (a) physical damage insurance insuring against
 Joss or damage to the Vehicles in an amount not less than the full replacement value of such Vehicle; and (b)(i) in all States except Florida: (1) not
 greater than SSOO deductible for collision, fire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injuiy liability and property
 damage; or (b)(ii) for the State of Florida: (I) not greater than $500 deductible for collision, fire, theft, and comprehensive, and (2) $250,000 per person
 I $1,000,000 per incident bodily in.jury liability. and (3) $100,000 property damage liability. 1n addition, the following require $1,000,000 excess
 liability coverage (umbrella): (a) truck/tractors over 45,000 lbs.; (b) bailCIS/semi-trailers; tow trucks; and (c) limo uses for livery. Lessee shall furnish
 Lessor with a certificate of insurance evidencing issuance of such insurance to Lessee in at least the tninimum amount required herein, naming Lessor
  and suoh other parties designated by Lessor as additional insured thereunder .for liabilily coverage, and as loss' payer: for property damage coverage.
 Each policy shall require insurer to give Lessor30 days prior written notice of any material alteration in terms of policy or cancellation therco~ and shall
  provide that no a.ction, misrepresentation or breach of warranty of Lessee shall invalidate the policy. 1f Lessee fails to provide such insurance, Lessor
 shalJ have the right, but tio duty. to obtain such insurance, and Lessee shall pay Lessor all costs tbereoJ: including all costs incurred by Lessor in
  obtaining such insurance together with interest al the .Defauh Rate from the date paid by Lessor to the date paid in full by Lessee. Lessee shall not use
  any Vehicle if the insurance required herein is no1 in full foroe and effeetwith respect to such Vehicle. Upon Loss or DmtU1ge. as set forth in Section 15
  her:iof, Lessee shall receive credit for any amounts paid to Lessor by the insurer against Les~ obligations hereunder.
                17. INDEMI\"TIY. Lessee shall indemnify Lessor against, and bold Lessor harmless from, any and all elaims, actions, damages,
 obligations, liabilities. liens (including any Wing or imposed under the doctrines or strict liability in tort or produet liability), and costs and expenses
  (including attorneys fees), arising from or out of the manufacture, purohase, lease, possession. operation, condition, return, or use of the Vehlcles, or by
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operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assenion of any such claim, action, damage, obligation, liabilit}', or lien, Lessee, at Lessee's expense shall assume full
responsibility for the defense thereof, prov.ided that Lessor shall have the right, but not the obligation, to participate in any defense conducted by Lessee
without relieving Lessee of any of its obligations herewider The provisions of this Section 17 shall survive: tennination of this Lease
                18. ASSJGNf\.fENT. Except as otherwise pennitted herein. without Lessofs prior written consent. Lessee shall notassign, transfer, pledge,
h:ypothecate or otherwise dispose of this Lease, the Vehicles or any interest therein, or sublet or lend the Vehicles, or pennit the Vehicles to be used by
anyone except Lessee or Lessees authorized employees. Lessor may assign this Le$e or any irrrercst therein in whole or part without notice to Lessee
                19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions which shall
oonstitute "Events of Default": {a) Les5ee fails to pay any Rent or other amount when due; (b) Lessee fails tO observ~ ~p or pW'onn any -other
covenant or provision of this l..case required to be observed, kept, or perfonned, by Lessee; (c) Lessee remove.S, sells, transfers. encumbers. creates a
security interest in, relinquishes possession of the Vehicles, or perfortns any act which impairs Lessors tit1e to any Vehicle or attempts any of the
foregoing; (d) Lessee makes a misrepresentation to Lessor of any matter CJr rovenant connected with this Lease; (e) Lessee fails to satisfy any traffic
ticki:t or summons or fails to register any Vehicle; (f) Lessee becomes insolvent, bnnkrupt or has a trustee or receiver appointed for Lessee or for a
substantial part of Lessee's property; (g) Lessee exptriences a material change in its business or affairs (including tennination of Lessee~s employment
or tennination of the contract under which Lessee provides services or a change in the control or OWDCI5bip of Lessee or LC!isee1s employer or the party
with which Lessee c:ontracts to provide services) which in Lessor's sole judgment impairs the security of any Vdiicle or increases the credit risk
 involved therein; (h) Lessee attempts to assign this Lease without the consent of Lessor; or (i) Lessee fails to notify Lessor of any material change in its
business and affairs, including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
Inc. and its successors and assigns, the true and lawful attorney-in-fact of Lessee, with full power in the name of Lessee upon the occurrence of an Event
of Default, {i) to demand and receive any and all moneys and claims for moneys due in respect of or relating to the Equipment, (ii) to assign or 1n1.nsfer
any of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee to any replacement lessee hereunder andlor causing
any other person 00 become the n:gistered owner of the Equipment) end (iii) to take any other action in resp~t of this Lease or any of the Equipment.
Les.sec ratifies and approves all acts of Bush Ttuck Leasing, Inc., as attorney-in-fact. Bush Truck Leasing. Inc., as attorney-in-fact will not be liable for
any nots or omm:ions or errors of judgment or mistake of fact or law. This power, being coupled with an interest, is irrevocable until all obligations
under this Lease have been fully satisfied
                20. REJ\.:IEDI:ES. Upon the occurrence of t1ny Event of Default., Lessor may declare this Lease to be in default, lllld at any time thcrellfl:er,
Lessor, at its option, may do any one or more of the following: (a) cancel this Lease; (b) proceed by appropriate action to enforce performance of the
U:ase at Lessee's expense or to recover dam.ages {including attorneys fees) for the breach lherco~ (e) demand that Lessee, and in such case the Lessee
shall, retum all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) enter, with or without legal
process, Lessee's premises or any other premises where the Vehicles arc located, and take possession of all or an)' part of the Vehicles without any
liability lo Lessee by reason of such enny; (e) se.11, lease,or otherwise dispose of an or any part of the Vehicles 111 a public or private sale, which may be
conducted where such Vehicles are then located; (f) demand that Lessee. and in such case Lessee shall, pay to Lessor cs. liquidated damages for Joss of a
bargain and not as a penalty an amount equal 10 the sum of (i) all amounts due and unpaid under the Lease (including without limitalion any indemnil:}'
obligations) plU5 interest th~reon from the due date thereof at a ptr flllllwn inttrest rate e.qual ~ tbe prime one of inl¢rest then in effecl ps published in
the Wall Street Journal plus2.00'/o (the "'Default Rate"), plus (ii) the present value of all future Rent payments for such Vehicles,discounled at 5.0%, plus
 (iii} the present value of the TRAC Residual, if any, discounted at 5.0o/o, plus {iv) all costs and expenses incurred by Lessor in enforcing Lessor's rights
 hereunder (including, without limitation, !UI costs of repossession, recovery, storage, repair, sale. re-lease, end attorneys' fees). together with interest
 thereon at the Default Rate from the dale of demand to the date of payment in full {the "Liquidared Oamagcsj, or (g) exercise any other right or remedy
which may be available to Lessor under the Uniform Commeroial Code or any other applicable Jaw The proceeds of any sale or lease of the Vehicles by
 Lessor shall be applied in the following order of priority (l) 10 pay all of Lessor's expenses in taking, holding, preparing for sale ar lease, and disposing
 oftbe Vehicles~ including alf uttomeys fees end legal e.x.penses, then (2) to pay any late charges and all interest accrued at the Default Rate; then (3) to
 pay accrued but unpaid Rent payments, then (4) to pay any o1her unpaid sums due under this Lease including Liquidated Damages. If the proceeds of
 any sale or lease arc not sufficient to pay the amounts owed to Lessor under this Lease, Lessee will pay the deficiency. Lessor may also~ without
 liability, take any peraonal property stored within the Vehicles and muy strue any such property at Lessr;e's expense for 30 days. ~see will be
 obligated to reclaim such property within 30 days nnd hereby waives any rights in such property thereafter. Any unclaimed property will be deemed
 abandoned after 30 days and will ~ 1Uscarcled by LessoL Lessor's remedies hereunder shall be cumultltive. Any security deposit paid by Lessee to
 Leasor in connec.tion with this Lease sbQ)I be forfeited by Lessee upon the happening of any Event of Def~t_ and shall be applied to Lessee's
 obligations under this Lease pursuant to this Section 20. Lessor's remedies hereunder may be exeroised insteacrof or in addition tD any other legal or
 equitable remedies. Le~or has the right to set off any sums received :from any source (mcluding insurance proceeds) against Lessee's obligations under
 this Lease. Lessee waives its right to object to the notice of the time or place of sale or lease, and to the manner and place of any advertising therefore.
 Lessee waives any defense based on statutes of limitations or laehes in actions for dmnages. In case of failure by Lessee to pay any fees, assessmems,
 charges, or taxes arising with respect to the Vehicles, Lessor .shall have the right. but not the obligation to pey such amounts, and in that event, the cost
 thereof shalt be p.a:yable by Lessee to Lessor upon demand, together with interest at the Default Rate from the dllfe of disbursement by Lessor
                 lt. SECURITY DEPOSIT. The Security Deposit shall be held by Lessor during the entire Tenn of the Lease, including the Interim Tenn
 and any renewal term, as security for the full payment and perfonnancc of the tenns, conditions and obligations of Lessee hereunder and under BIJY and
 all Schedules. The Security Deposit shall not excuse the performance at the time and in the manner prescribed or any obligation of Lessee or cure a
 default of Lessee. Lessor may, bnt sha11 not be required to, apply such Security Deposit towards discharge of im.y overdue obligation of Lessee. Lessor
 sha11 be entitled to commingle the Security Deposit with any of its 0\\11 funds. No lnterest shall accrue on the Security Deposit and Lessor shall have no
 JiabilitJ' to account to Lessee for any interest lfLessor shall apply any of the. Security Deposit towards any obligations ofLessemnder the Leese, Les.see
 shall, upon demend, pay to Lessor an i:imount necessary to re tum the Security Deposit to the sum specified above. In furtherance thereof;. Lessee hereby
 grants to Lessor a security inrerest in the: cash comprising the Security Deposit from time to time and any and aI1 interest thereon, together with the.
 proceeds thcreo~ to secure the prompt payment as iutd when dl.ie of all indebtedness, and the pr()mpt performance as and wb,en due of all obligations, of
 Lessee now or hereafter required under the Lease. lf no Dcfe.ult has then occurred. upon the expiration or earlier terrniniuion of the Term of the Lease,
 the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee                                               ·
                 22~ SEVERABILITY. The invalidation of any provision or provisions of this Lease as unenforceable shaU 1101 operate to invalidate the
 remainder of the Lease which sha[I remain in full force snd effect                                                     '
                 23. NOTICES. All notices relating to this Lease shall be delivered in person to an officer of Lessor or Lessee or mailed to the respective
 addresses shown above on the first page of this Lease, or to such address as otherwise specified in writing by !:he appropriate party hereto              ·
                 24. WAIVER. Lessor's forbearance of excicise of any right or remedy on Lessee's breach of any terms, covenants or conditions hereunder
  shall nol be deenwd a waiver nf such right or remedy, the rllquirement of punctual performance, or any of its remediCfi upon BllY other or subsequent
 breach or default
                 25. GO\'ERNING LAW. This Lease takes effect upon its acceptance and execlltion by Lessor, and shall be governed, interpreted and
 construed under the la'r\'S of the: State of Delaware. Delaware law shall prevail in the event of any conflict of law without regard to. and without giving
 effect to, the application of eboice of law rules, LESSEE WA1Vf§, ALL RIGHTS iO TRIAL BY JURY IN ANY LmGATION ARISIN"G FROM OR
 RELA1ED TO THIS LEASE, AND LESSEE SUBMITS TO THE JURlSDlCTION OF DELAWARE. AND WAJVES ANY RIGHT TD ASSERT
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THAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT IS IN Tiffi IMPROPER VENUE OR SHOULD BE TRANSFERRED TO
A MORE CONVENIENT FORUM
              26.      WAIVER OF DA~fAGES. Lessee waives to the fullest ex-tentpermitted by law any right to or claim of any punitive. e;i::empbuy,
indirect, special, consequential, ot incidental damagt=.S against Lessor. Lessee agrees that, in the event of a dispute, 'Claim or -controversy against Lessor,
Lessee shall be limited to the recovery of actual direct damages sustained by it, subject to any Iimitm direct damages set forth in this Lease. Lessee will
not accept or e:trempt to collect through the courts or otherwise any pnnitive, exemplary, indirect, consequential. or incidental dam.ages from Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and lnure to the benefit of Lessor and Lessee and their respective
successors and assigns permitted hereunder.
              28. FORCE 1-fAJEURE. The obligations of Lessor hereunder shall be suspended to the extent that it is hindered or prevented from
complying therewith because of labor disturbances, acts of God, fires, storms. accidents, failure of the manufacturer to deliver any of the Vehicles, court
order, governmental regulations, or other interference or any cause whatsoever not within tbe sole control of Lessor

                                                            (SIGNATURE PAGES FOLLOW]




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IN WITNESS "'HEREOF, the parties hereto have entered into this Lease Agreement as of the date first above written


                                                                                   LESSOR:
                                                                                                        ~i!Sh. 'Ihtck IAmsJn&, Ins.

                                                                                   By:            ''3).~,~ J.~ ~. ft-
                                                                                   Nam~._I>~i_a_n_a_s_._c_orn __~
                                                                                                          __ette
                                                                                             Vice
                                                                                   Title:. _ _ _ _ President
                                                                                                   _ _ _ _ _ _ _ __




                                                                                   LESSEE: Sonet Transpor_-tation aod Logistics Inc.


                                                                                    mBy:;t~
                                                                                    C'---s1aNATURE



EQUIPMENT ACCEPTANCE
Lessee hereby confirms that the Equipment has been delivered, duly assembled and in good working order and condition. Lessee confinns that after a
reasonable opportunity to inspect theEquipment, it has solely selected, and unconditionally and irrevocably accepted the Equipment as-is, where-is for all
purposes of this Lease as of this d81C. In lhe event lhat the Equipment is not deliveied and accepted within thirty (30) days of Lessee's signing of this
Equipment Acceptance, Lessee hereby authorizes Lessor to increase lhe Payments to reflect llllY Lease rate increase applicable to the Lease




                                                                                    LESSEE: Sonei. Transportation and Logistics Inc.


(X)Dated:._ _ _ _ _ __                                                              @By:::t'~
                                                                                         :..---'°s!GNATURE




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                                                                                                             6961 Cintas Blvd

.A1J>!JUSH
 ~             TRUCK LEASING, INC.
                                                                                                             Mason, OH 45040

                                                                                                             800-766-2874
                                                                                                             www.bushtrucks.com
                                                                LEASE AGREEMENT
                   Contract Date:                                                                  Lease ID No.          CLBF1032

                     .·                                                   LESSEE
Individual Legal Name(ifapplicable):
Company Legal Name(if applicable):      Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:Natiooal CityState:CA     Zip: 91950
                                                                        EQUIPMENT
Vehicle Year                            I Vehicle Make                           Vehicle Model                            Vehicle Identification Number
2012                                    I Freightliner                           Cascadia                                 1FUJGLBG1CLBF1032
        Refer to Schedule 1 of this Lease Agreement for Equipment detai,/s in the event that no Equipment information appears above
                                                          SUMMARY OF LEASE TERMS
Commencement              Initial   Rental Periods Ni Tobtal f Down                 Advance        Basic Rent        Doc Fee        Security      End of Tenn
                                                    um ero Payment+                                 (without                        Deposit
Date & 1st Basic          Term                                                        or                                                            Option
                                                   Payments Taxes at                                 Taxes)
  Rent Date                                                                         Arrears
                                                               Closing
'-/-1    ),_-01-,       36   MONTHLY                      36        $1,500.00       Arrears        $2,036.67         $400.00          $0.00           TRAC
 S-1     ·';!_<.;/'\ MONTHLY
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residuar shall be $23,540.00

   THIS LEASE AGREEMENT ("Lease") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
   ("Lessor), and LESSEE referenced above.

                 1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
   with all replacements, repairs and additions thereto (individually and collectively, the "Vehicles") on the terms and conditions set forth in this Lease.
   Lessee agrees that Lessee leases the Vehicles "as-is", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
   manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
   has selected the Vehicles on the basis of its own judgment,. and expressly disclaims reliance upon any statements, representations, OM'arranties made by
   Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identifiedherein will be used for
   commercial purposes.
                 2. INI11AL TERM. The tenn of this Lease for each Vehicle shall commence on the Contract Date and shall continue for that number of
   months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (Ist) day of the month, in which case the
   Contract Date shall be the date on which the term of this Lease commences) ("Commencement Date") each as set forth in the Summary of Lease Terms
   (such period as extended or sooner terminated by Lessor as provided herein, the'"'Term").
                 3. RENT. The rental payment amount for each Vehicle hereunder (the "Basic Rent") is set forth in the Summary of Lease Terms. Basic
   Rent on each Vehicle shall begin to ancrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
   in advance or arrears for the periods (each a ..Rental Period") and for the total number of payments as set forth in the Summary of Lease Terms, in each
   case, on the first day of each such Rental Period If the Contract Date does not fall on the first day of the month, the rental for that period of time from
   the Contract Date until the Commencement Date sha11 be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week , 14 days for
   One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and induding) the Contract Date to
   (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
   Rent Lessee is obligated to pay hereunder (the "SupplementaJ Rent" and together with Basic Rent. the "Rent"') when due or if no date is specified
   herein, on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of I 0% of
   the late rental payment amount,. and the maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
   OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
   WHATSOEVER. INCLUDING, BUT NOT LIMITED TO, ANY RIGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE
   AGAINST LESSOR. ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR. OR THE MANUFACTURER OF THE VEHICLES FOR
   ANY REASON WHATSOEVER. SPECIFICALLYINCLUDING, WITHOUT LIMITATION. ANY CLAIMS THAT LESSEE MAY HA VE AGAINST
   LESSOR. ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
   AGREEMENT REFERENCED IN SECTION? HEREOF.
                 4. OPTION UPON EXPIRATION OF INITIAL TERM OF LEASE. Upon expiration of the Initial Term of the Lease, Lessee shaJl
   comply with the provisions of Clause A or B below, in either case, as specified in the Summary of Lease Terms

                    A.        Terminal Rental Adjustment Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                               Lessor under the Lease for 'the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                               "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Terms. Upon




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                                                                                                                                                                                     !',,
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                           expiration of the Initial Term. Lessor will attempt to seU the Equipmenl In the event that the Net Proceeds (as defined below)
                           are less than the Estimated Fair Market Value, Lessee shall pay to Lessor the full emotµtt of such shortfall. If the Equipment
                           has not been sold on the last day of the Initial Tenn, then the Net Proceeds shall be deemed to be zoro and Lessee shall
                           immediately pay to Lessor the TRAC Residual, If the Lessor thetea:fter shall sell the Equipment:,, the Net Proceeds shall be
                           paid by Lessor to Lessee. Any such payment by either Lessee or 1..esso.r shall be deemed to be a Tenoinal Rental Adjustment
                           with mpect to the Vehioles. As used herein, "Net Proceeds" shall mean the proceeds received by Lessor, after deducting {i)
                           all costs and cxpens~ incurred in connection with the recovery, repair, storage, and sale of the Vehicles, including any and all
                           attorneys' fees and legal expenses, (ii) ell late charges and all interest accrued at the Default Rate (as hereinafter defmed), and
                           (iii) all rent payments and o1hei' obligations of Lessee due &Dd unpaid under the Lease as of the date-0fthe sale or disposition.
                           As to each Vehicle, if the Net Proceods received by Lessor Lessor frbm the sale or other disposition of such Equipment after
                           expiration of the Initiai Tenn are less than the TRAC Residual amoant fcrr such Equipment as set forth in the Summwy of
                           Leese Terms, thCD Lessee shaU immediately pay to Lessor the amount of such deficiency as additional Rent hereunder. If the
                           Net Proceeds are in excess of the TRAC Residual amouot,. then I 00% of such excess shall be returned W Lessee as a reduction
                           in the Rent for such Equipment. provided, however, that Lessor shall be entitled to retain all or any portion of such amount lo
                           satisfy any of Lessee's obligations under the Lease

                             Lessee hereby certifies, under penalty of perjmy, thet
                  (i)   Lessee intends that more than 50% of the use of the Equipment subject tO this TR.AC is to be used in a trade or business of the                                  j ..
                           Lz:ssee,
                  (ii) Lessee has been advised by tax counsel or other tax advisor, and
                  {iii) Lessee understands and agrees that, Lessee will not be treated as the owner cf the Equipment identified above for federal income
                           tllxpurposes,

                  B.         St.O& Buyout. Lessee hereby UJJCOnditionally agree.s to purchase all, but not less than 811, of the Equipment for $1.00 upon
                           expiration of the Initial T~tm of the Lease. Lessee and Lessor ag~ that Lessee is im-ner of the Equipment nnd shall file and
                           pay all license:, registration fees, and documentary, sale and use taxes, and personal property taxes and all other taxes, fei:s and
                           chBIEcs relating to the ownership~ leasing, rental, saJe~ purchase, possession· or use of the Equipment

                    With respect to any option upon expiration of the Initial Term of the Lease set forth herein. if written notice of Lessee's intention to
                    exercise such elected option is not received on a timely basis, then such failure shall constitute an Event of Default, and to the extent
                    that the Lessee fails to return to Lessor the Equipment in accordance with Section 7 hereof, Lessee agrees lo pay a daily rental fee
                    equal to I 500.4 of the daily Rent for each day that the Equipment is retained by Lessee; provided, however, such payments shall not
                    ~nd Lessee's right to have and use the Equipment beyond the Jnjtial Tenn of the Lease as provided hereia Upon e>terCisc of the
                    option elocted by Lessee. and payment in full by Lessee of any related purchase amounts and all Rent. Lessor will execute and deliver
                    to Lcssc:c the title to the Vehicles, and any other documentation necessary to transfer title to Lessee. THIS SALE WILL BE
                    WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WJJETilER EXPRESS OR IMPLIEDIN
                    FACT OR LAW and, Lessee will accept the Vehicles''AS IS" and ..WHERE IS".

               S. TAX JND~'IFICATION. Ex:cept                        · tent Section 4B is applicable upon expiration ai the lnitial Term., it is understood IUld
agreed that Lessor i.s owner of the Equipment and that                          titled to such tax benefits that ere available as owner of the Equipment through
dep>CCiation of the total capitalized cost of the                      ereof for federal income tax pwposes. In the event that Lessor suffers any loss,
disaJlowancc, tm.availability, or ~pture of such deprcoiation for any reason whatsoever~ tb1:;n, after written notiet; thereof by Lessor to Lessee, Lessee
shall pay to ~an additional incremental amount payable on each date that the Basic Rent is thereafter due, which in the opinion of Lessor. will                                           i
cause Lessor's net after-tax annual cash flow and net after-tax rate of return respectively, thm: would have been available if Lessor had beim entitled to
full utilization of the depreciation. In the event that any payment is required to be made pursuant to this Sections~ and such payment is to be made on
succeeding rent payment dates, but at such time this Lease shall have been lenninated or Rent otherwise no long.er sbnll be due and payable on the
remaining rent payment dates, Lessee shall promptly pay Lessor any amount equal to the incremental inc:reilSC in aasic Rent which would have been
required if such tax loss bad oocurred immediately prior to the last rental pa)'!Imlt date on or prior to the expiration or other termination of the Lease.                              I
Lessor shall promptly notify Lessee of the com.m~ment of any proceeding by the Intema1 Revenue Service in respect of any item as to which                                                 lF
indemnity is sought bcrcundcr. Lessee•s agreement to pay any sums which may become payable pursuant to this Section S shall slUVivc the expiration
or other tennination of this Lease
               6. USE OF VEHICLES. Lessee &ball use the Vehicles only in its business and iri compliance wid1 all laws. rules, and regulBlions of any
jurisdiction where the Vehicles are used or located. Lessee represents and wammts Ill Lessor at nil times that (i) Lessee has the right and ability to enter
into this Lease; (ii) this Leue constitutes a valid. legal. and binding obligation and agreement of Lessee, enforce.able against Lessee in m:cordance with
its tCims; and frli) thtd: the entering into and performance of lhis Lease by Lessee will not result in a breach, violation, or default under any judgment.
order, law, regulation, loan, mortgage, agreement, indenture, or other instrument applicable to Lessee~ or result in any breach o~ or constitute a default
under, or result in 1he creation of any lieit, charge, security "interest, or other encumbrance upon the Vehicles pursuant to any instrument to wtdch Lessee
 is a party or by ·which it is bound. Lessee shall (i} use and operate the Vehicles in a careful and prudent manner for the purposes and in the manner
intended to be used; {ii) shall keep the Vehicles properly housed or otherwise protected from dama~; and (jji) shall pay for all maintenance of Vehicles
to L--eep them in good 1111d efficient working order and condition during the Term of the Lef5l\ htcluding, but is not limited to, Lessee's supplying all
fuel. lubricants, and other parts, sapplics, maintcJance and services. and/or Lessee, upon Lessor's request, entering into 11 service a.nd maintenance
agreement with Lessor or an affiliate of Lc.ssor upon such terms and conditions provided by Lessor. After notice to Lessor, Lessee may, at its own
expense. make alterations or add att&chrnents 1D the Vehicles, provided that such alterations or attachments are removable and do not reduce the value,
utility or useful life of the Vehicles. Upon the expiration or termination of the Lease, an alterations or attachments affixed to the Vehicles shall become
the property of Lessor if not removed, and if Lessee does n:move sach attachments, Lessee shall be liable to Less9for any damage to the Vehicles as the
result of such rem,>Val In the event that any federal, state, or local law, ordinance, role or regulation shall require the installation of any additional
accessories to any of the Vehicles, including, bot not limited to, anti-pollution and/or safety devices, or in the event 1hat any other modifications to the
Vehicles shall be required by virtue of sueh Jaw, ordinance, rule or regulation, then and in any of such events, Lessee shall pay the full cost thereof:
 htcluding installation expenses. Lessor may, at its option, arrange for the installation of such Vehicles or the performance of sach modifications. and
Lessee agrees to pay the fuU eost thereof immediately upon receipt or an iDvoice for the same                              .
               7. SURRENDER. Upon eilher the (i) failure by Lessee to exercise any pun:hase option for my Vehicle set forth herein, or (ii) upon
 demand by Lessor made pursuant to an Event of Default (as set forth in Section 19 hereof), Lessee shall, a:t its oWJJ expense, return such Vehicle tc
Lessor to such location within the continental United Stat-es as Lessor shall designate, in the sp.me condition es when delivered, reasonabiewesr and tear
 excepted and otherwise in the condition required by this Lease Upon return oftbe Vehicles, Lessor, or such entity des-igmrted by Lessor, shall perfonn a

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physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated with the inspection, and                !
for any and all repaits necessary to place the Vehicles in the same condition as v.•hen delivered, reasonable wear and tcsr excepted and otherwise in the
condition required by this Lease.
               8. PAINTJNG. Lessee may paint lhe Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided that.,
upon the expiration or tennination of this Leese, and in the event that Lessee does not purchase the Vehicles pursuant to Section 4.B hereof; Lessee
shall, upon the ~uest of Lessor and at Lessees expense. restore the Vehicles to original condition, ordinary wear and tear excepted
               9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HA VE MADE, ANY EXPRESS OR IMPLIED WARRA1"TV AS TO MERCHANTABIL.ITY, FITNESS FORANY PURFOSE OR USE,
DESIGN OR CONDITION OF VEHICLES. QUALITY OF MATERIALOR WORKMANSHW, OR AS TO ANY OTHER MAITER WHATSOEVER
RELATING TO TI!E VEHICLES. AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
PUNffiVE DAMAGES ARISING OUT OF 11lE USE OR INABILITY TO USE 11lE VEHICLES, OR ANY INADEQUACY, DEFICIENCY, OR
DEFECT IN THE VEHICLES, LESSEE AGREES THAT LESSEE LEASES THE VEHICLES "'AS JS". Lessor agrees, to the extent possible and
without incrn1Sing its liability _hereunder, and upon request. 10 assign to Lessee. any warranty of a manufactUrer or seller relating to the Vehicles
available to Lessor, provided, however, that the foregoing rights shall automatically revert to Lessor upon the occurrence and during the continuance of
any Event of Default hereunder, or upon return of the Vehicles to Lessor. Lessee agn;i::s to settle all claims Vt-ith respect to the Vehicles directly with the
manufacturer5 thereo~ and to give Lessor prompt notice of any such settlement and the detutls of mch settlement
               10. TITLE AND INSPECTION. Lessee, at its expense, shall prorect and defend Lessor's title and keep it free of all claims and liens
except those claims and liens created by Lessor in connection with any assJgnment or financing by Lessor. Lessor may inspect 1he Vehicles at any time
without prior notice during regular business bouts. If: at any time during the Term of this Lease, Lessc>r supplies Lessee with labels, plates or other
markings stating that the Vehicles .are owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
               J 1. LICENSES. Lessee shall at i~ expense obtain all necessary licenses(including motor Vehicle plates) nnd registrations, requited for the
 use and operation of each Vehicle. AU certificates of title or registration of each Vehicle shall name Lessor m;: the owner thereof
               12. INTERESTS IN VEHICLES. Lcssec:'s rights with respect to this Lease and any Vehicles leased hereunder will be subject to any
 rights and interest in and to said Vehicles which ma:y be granted by Lessor (or Lessor's affiliates) to any assignee or lender of Lessor (or Lessor's
 affiliates). Lessor may assign to a lender or any other assignee alt or any part of Lessor's rights hereunder, including a security interest in the Vehicles
 and the right to roceive rents nnd other sums duo hereunder. Upon notice of such assignment in writing by a lender, iwignee and/or Lessor, Lesset shall
 p2)' all rents and other swns due or to become due under this Lease directly to such lender or assignee without set off, counterclaim,. or any defense
whatsoevct
               13. T il"'ES. Lessee shall pay all personal property. sales 01 use taxes, business licenses. assessments, penalties, and charges which may be
levied or msertc:d with respect to the Vehic1es (except income. tax.cs levied on lease payments to Lesso¢. In the event that any such tax.es, licenses,
assessments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immediately after Lessor notifies Lessee in 'vr:iting of the
amount of such taxes, licenses, assessmenls, penalUes, charges or expenses paid by Lessor, l'IS well & an administretive fee. Increases or decre.ases in
sales or use tax rates will a.ffeot all lease payments efter the effective date of the change by the taxing authority. Lessee shell indemnify and hold Lessor
harmless from and against any loss, cost or expense arising out of or relating toany such tax, import or levy, including, without limitation. any penalties,
interest and finC!I relating thereto
               14. FINES. Lessee shall pay all fines due to overload, overlength, overweight, lack of platc.s or pennits, speeding and any other charges
which may be imposed or assessed in respect to the Vehicles nnd/or Lessee's us:e thereo:t: The provisions of this Section 14 shall survive the expiration
or other termination of this ~
               15. LOSS OR DAMAGE. Lessee shall bear the entire risk or loss, theft, destruction of or damage to any Vehicle from any cause
whatsoever (..Loss or Damage"). Lessee shall promptly notify Lessor in ·writing of an}' Loss or Damage. No Loss or Damage to any Vehicles shall
relieve Lessee ofaey obligation withrespect kl such Vehicle under this Lease. In the event of Loss or Damage, Lessee shall, at the option of Lessor:: (a)
put such Vehicle in good condition and repair in accordance with the manufactun:r's recommendations, and to the reasonable satisfaction of Lessor, at
Lessee's expense; (b) replace such Vehicle with a like Vehicle (same value. utility and useful life as damaged Vehicle) in good condition and repai'r as·
approved by Lessor in Lessor"s sole discretion with clear title thereto vested in Lessor; or (c) pay Lessor on or before the~ rent payment date as set
furth in accordance wi1h Section 3 hen:of (such payment date, the "Loss Payment Date") in cash the sum of (i) a11 amounts then due Lessor by Lessee
under the Lease relating to such Vehicle, \Vhicli amDUttts shall be prorated through the Loss Payment Date, plus (iQ an amoUIJt equal to the present value
of the TRAC Residualt if any, relating to such Vehicle (as sd. forth in the Summary of Lease Tmns). discounk:d ·ar S.Ot'/o computed from the expiration
of the InitiEU Tenn of the Leose to the Loss Payment Date, pins (iii) an amount equal to the present value of the unpaid future remaining Rents for the
 InitiaJ Tenn of the Lease, relating to such Vehicle discounted at S.()'>.4 computed from the scheduled payment dates for such Rents to the Loss Payment
Date (the "'Casualty Value Amount'"'). Ul>on receipt of the Casualty Value Amount set forth in (e) above, Lessor shall assign to Lessee {or Lessee's
insurer) Lessor's interest in such Vehicle in its then condition and location, "AS TS" without any warranty whatsOCVl:f, express or implied. lf Lessee is
required to repair any Vehicle in accordance w:lth (a) above, or to replace any Vehicle in accordance with {b) above. the insurance proceeds actually
received by Lessor. if any, pursuant to Section 16 hereof shall be first applied to pay any amounts then doe under this Agreement. and then shall be paid
to Lessee upon proof satisfactory to Lessor tha1 such repairs bave been completed as required hereiJ(m the case of (e.)). or of adequate purchase and title
 documents in Lessor's sole dismetiOJl (ill the ease of{b)). In the event tbst Lessee is obligated to pay to Lessor the amount specified in (c) above, Lessee
shall be entitled to a credit against such amount equal to the amount of insunince proceeds ectoally received by Lessor. if any, pmw11Dt ta SectiDn J6
 hereof, on account of such Vehicle
               16. INSURANCE. Lessee shall obtain and maintain insurance on or with respecl to each Vehicle at its own expense and in the amounts
 and forms satisfactory to Lessor. In no event shall any insurance coverage. be less than the following: (a) physical damage insurance insuring against
loss or damage to the Vehicles in an amoun1 not less than the fuU replacement value of such Vehicle; and (b)(i) iti all States except Florida:- (1) not
greater [ban SSOO deductible for collision, fire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injury liability and property
 damage; or (b)(ii) for the Stare ofFlorida: (I) not greater thun $500 deductible for collision, fare, theft, and comprehensive, and (2) $250,000 per person
I Sl,000,000 per incident bodily injury liability, und (3) $100,000 property damage Uability. In addition. the following require SI,000,000 excess
 liability coverage (umbrella): (a) truok/Lractors over 45,000 lbs.; (b) trailers/semi-trailers; tow trucks; and (c) limo uses for livery. Lessee shall furnish
Lessor with a. certificate of insurance evidencing issuance of such insurance to Lessee in at least the minim1BD amount required herein, naming Lessor
 and such other parties designated by Lessor as additional insured thereunder for liability coverage, and as lo&s payee for property damage coverage,
Eaoh policy shall require insurer to give Lessor30 days prior written notice of llllY material aheration in tenns of policy or cancellation thereof, and shall
 provide that no 21ction. misrepresentation or b.rt:ach of-..vmranty of Lessee shall invalidate the policy. If Lessee fails to provide such insurance, Lessor
shall have the right, but no duty, to obtain such insurance, and Lessee shall pay Lessor all costs thereof, including all costs incurred by Lessor in
 obtaining such insurance together with interest at the Default Rate from the date paid by Lessor lo the date paid in full by Lessee. Lessee sh.all not use
any Vehicle it the insurance required herein is not in full force and effect with respect to such Vehicle. UpOA Loss or Damage as set forth in Section JS
hcreo:(, Lessee shall receive credit for my amounts paid to Lessor by the insurer against Lessels obligations hereunder.
               17. INDEf\tNIT\'. Lc:ssec shall indcminify Lessor against, and hold Lessor harmless fro~ any and all claims,, actions, damages,.
 obligations, liabilities, liens (mcluding any arising or imposed under the doctrines or strict liabitif;y in tort or pro.duct liability), and costs and expenses
(including attorneys fees). arising from or out of the manufaolUrc, purchase, lease, possession, operation, condition, retum, or use of tire Vehicles, or by
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        operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor, Le:;scc agrees that
        upon written notice by Lessor of assertion of any such claim, action, damage, obligation, liability, or lien, Lessee, at Lessee's expense shall assume full
        responsibility for the defense thereof, provided that Lessor shall have the right, but not the ob1igation,. to participate in MY defense conducted by Lessee
        without relieving Lessee of any of its obligation11 hereunder The provisions of this Section 11 shall survive temtination of this Lease.
                      18. ASSIGNMENT. Except as otherwise permitted herein. without Lessots prior written consent, Lessee: shalt notassign, transfer, pledge,
        hypothecate or otherwise dispose of this Lease, the Vehicles or any intem;t therein, or sublet or lend the Vehicles. or permit the Vehicles tD be used by
        anyone except Lessee or Lessees BUlhorized employees. Lessor may assign this Lease or any interest therein in whole or pan without notice to Lessee
                        J9. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions which shall
        constitute "Events of Default"; (a) U:ssee fails to pgy any Rent or other amount when due; (b) Lessee fails to observe~ keep or perfonn any other
        covenant or provision of this Lease required to be observed, kept, or performed, by Lessee; (c) Lessee remcwes, sells, transfers, encwnbers, creates a
        security interest ln. relinquishes possession of the Vehicles. or perfurms HJIY act which impairs Lessor's title to any Vehicle or attempts any of the
        foregoing; (d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lease; (e} Lessee ftiils to satisfy any traffic
        ticket or summons or fails to register any Vehicle; {f) Lessee becomes insolvent. bankrupt or has a trustee or receiver appointed for Lessee or for a
        substantial part of Lessee's property: (g) Lessee experiences a material change in its business or affairs (including termination of Lessee's employment
        or termination of the contract under which Lessee provides services or a change in the control or ownership of Lessee or Lessee's employer or the party
        with which Lessee con!racts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the credit risk
        involved therein; (h} Lessee attempts to assign this Lease without the consent of Lessor; or (i} Lessee fails to notify Lessor of any material change in its
        business and affairs, including a change in tbe ownership or control of Lessee. Lessee hereby irrevocably appoint5 end constitutes Bash Truck Leasing,
        Inc, and its successors and assigns, the true and lawful attorney-in-fact of Lessee, with full power in the name of Lessee upon the occUJTCnce of an Event
        of Default, (i) to demand and receive any and all moneys and claims for moneys due in n:spoot of or relating to the Equipment, (ii) to assign or transfer
        any of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee to any repletiement lessee hereunder and/or causing
        any other person lo become the registered owner of the Equipment) and (iii) to ta\..--e any other action in respect of this Lease or any of the Equipment
        Lessee ratifies and approves all acts of Bush Truck Leasing, Inc., as attorney-in-fact. Bush Track Leasing. Inc., as attorney· in-fact will nat be liable for
        any acts or omissions: or errors: of judgmen1 or mistake of fact or hrw. This power. b~ing coupled with an interest, is irrevocabh: until all obligations
        under this Lease hll'Ye been fully satisfied
                        20. REJ\-tEDIES. Ution the occurrence of any Event of Default, Lessor may declare this Lease to be in default, and at any time thereafter,
        Lessor, at its option, may do any one or more oftbe following: (a) csnccl this Lease; (b) proceed by appropriate action to enforce perfoanance of the
         Lease at Lessee's expense or to recover damages (including attorneys fees) for the breach thereof; (c) demand that Lessee, and in such case the Lessee
        shall, return an or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) enter. with or without legal
        process, Lessee's premises or any other premises where the Vehicles are located,. and take possession of W.1 or any part of the Vehicles without any
        liability to Lessee by reason of such entry; (c) sell, lease. or otherwise dispose of all or any part of the Vehicles al a public or private selc, which may be
         conducted where such Vehicles arc then located; (f,) demand that Lessee, and in such case Lessee shall, pay to Lessor as liquidm:ed damages for loss of a
         bargain and not as a penalty an amount equal to the sum of (i) al.I amounts due and unpaid under the Lease (inclnding without limitation any indemnity
        obligations) plU5 inwrC$1 thereon frtim the. d11e datv dwreof at a per annum interest rate equal to the prime rate of interest then in effect as published in
         the Wall Street Journal plus2.0% (the "De:fiwlt R.ate''), plus (ii} the present value of all future Ren1 payments for such Vehlcles,.discountcd al 5.0"/o, plus
         (iii) the present value oftbe TRAC Residual.., if any, discounted at 5.0"/o, plus (iv) all costs and expenses inCWTed by Lessor in enforcing Lessor's rights
         heRlunder (including.. without limitation, all costs of repossession, recovery, storage, repair, sale, Ie-1.ease, and attorneys' fees), together with interest
         thereon at the Defautt Rate from the dale of demand to the date of payment in full (the ..Liquidated Damages"), or (g) exereise any o1her right or remedy
        \\
          1
            hlch may be available to Lessor under the Unifonn Commeroial Code or any Dtber applicable law The proceods of any sale or lease of the Vehicles by
         Le!!SOT .shall be aPpli~d in the folJowing order of priority {J} 1o pay all of Lessor's expenses in tBking, holding,: preparing for sale or lease, and disposing
         of the Vehicles, including WI attorneys fees and legal expenses, then {2) 10 pay .any l!Ue charges: and aU interest accrued at the Default Rate; then (3) to
         pay accrued but unpaid Rent payments, then {4) to pay any other unpaid sums due under this Lease inc1udin.g Liquiciated Damages. lf the pror..~ of
         any sale or lease. are not sufficient to pay the filllOunts owed to Lessor under this Lease, Lessee wil1 pay the deficiency. Lessor may also. without
         liability, take any perso-nal property stored within the Vehicles and may store any such property at Lessee's expense for 30 days. Lessee will be
         obligated to reclaim such property wilhin 30 days and hereby v.'Bives any rights in such property thereafter. Any wiclaimed property will be deemed
         abandoned after 30 days and will be .discarded by Lessor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
         Lessor in conn~ion with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be npplied to Lessee's
         obligations under this Lease pm:suant 10 this Section 20. Lessor's remedies hemmder may be exercised instead of or in addition to any other legal or
         equitable remedies. Ltssor has the right to set off any sums received from any source (mcluding insurance proceeds) .against Less;ee's obligations under                1·
         this Lease. Lessee waives its right to object to the notice of the time or place of sale or lease, Md to the manner Sud place of any advertising therefore.
         Lessee waives any defense based on statutes of limitatiow or Iaches in actions for damages. In csse of failure by Lessee to pay any fees, assessments.
         charges. or tax.es arising with respect to the Vehicles, Lessor shall have the right, but not the obHgation to pay suCh amounts, and in that event,. the cost
         thereof shall be payable by Lessee to Lessor upon demand, together-with interest at the Default Rate from the datE: of disbursement by Lessor
                         21. SECURITY DEPOSIT. The Security Deposit shall be held by Lessor during the ent1~ Tenn of "the Le2se, including the 1nterirn Term
         and .any renewal tcrm., as security for the full payment and performance of the terms, conditions and obligations of Lessee hereunder and under any and
         all Schedules. The Security Deposit sharl not excuse the performance at lhe time and in the manner prescribed or any obli.gation of Lessee or cure a
         default of Lessee. Lessor may. but shall not be requ~ to, awiy such Security Deposit towards discharge of lll'l)' overdue obligation of Lessee. Lessor
         shall be entitled to commingle the Security Depos;it with any of its D"Yt'll funds. No Interest shall accrue on the Security Deposit and Lessor shall have no
         liability to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations ofLcssecnnder the Lease, Lessee
         shall, upon demand. pay to Lessor an 8nlount necessary to retum the Security Deposit to the sum specified above. In furtherance therco~ Lessee hereby
         grants to Lessor J security interest in the cash comprising the Security· Deposit from time to time and any and all interest thereon, together with the
         proceeds thereof; to secure the prompt paymen1 as Hnd when due of nil indebtedness, and the prompt performance es and when due of all obligtttions, of
         Lessee now or hereafter reqaired under the Lease. lf no Default has then occurred, upon the expiration or earlier termination of the Tenn of the Lease,
          the balance of the Security Deposit then held by Le!sor shall promptly be paid to Lessee
                         22. SEV£RABJLIT\', The invalidation of any provision or provisions of this Lease as unenforceable shall not operate to invalidate the
        remainder ofth~ Leese which shall remain in full force and effect
                      23. NOTICES. All notices relating to this Lease shall be delivcn:id in person lo an officer of Lessor or Lessee or mailed 10 the respective
        addresses shown above on the first page of this Lease, or to such address as otherwise specified in writing by the appropriate party hereto
                      24. "'AIVER. Les:s:or's forbearance of exercise of any right or remedy on Lessee's brench of any terms, covenants or conditions hereunder
        shaU not be deemed a waiver of such right or remedy, the requirement of pllllctual performance, or any of its remedic5 upon any other or subsequent
        breach or default
                      25. GOVERNING LAW. This Lease takes cffi:ot upon its acceptance and execution by Lessor, and shall be governed, inteJpreted and
        construed tmder tho laws of the Slate of Delaware. Delaware hrw shllll p.rovail in the event of any conflict of Jaw without regard lo, an cl without giving
        effect to, the application of choice of law rules. LESSEE WAIVES ALL RIGHTS TO TRIAL BY JURY IN ANY LmGATION ARISING FROM OR
        RELATED TO THIS LEASE, AND LESSEE SUBMITS TO THE JURISDICTION OF DELA WAKE, AND W AlVES ANY RIOHT TO ASSERT
                                                                                    Pege4 of6




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                                                                                                                                                                            Page 46
.... ···--····-   -----·············-- ·-········-----·-------·---···--··                                     ··---·-----~                   ----·------
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            THAT ANY ACTION INSTITUTED BY LESSOR JN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE TRANSFERRED TO
            A MORE CONVENIENT FORUM.
                          26.       \\'A IVER OF DAMAG.£S. Lessee waives to the fullest extentpennitted by law any right to or claim of any punitive, exemplary,
            indirect, special, consequential, or incidental dam.ages against Lessor. Lessee agrees that, in the event of a dispute, claim or controversy against Lessor,
            Lessee shall be limited kl the rerovery of actual direct damages sustained by it. subject to any limitm direct damages set forth in this Lease. Lessee will
            not accept or attempt to collect through the courts or otherwise any punitive, exemplwy. indirect, consequential, or incident.al damages from Lessor
              '           27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee and their respective
            successors and assigns permitted hereunder.
                         28. FORCE MA.lEURE. The obligations of Lessor hCICUDder shall be m:ispepded to the. extent that it is hindered or prevented ftotn
            complying therewitb because of tabor disturbances, Acts of God, flres, stonns, accidents, failure of the manufacturer to deliver any of the Vehicles, court
            order, governmental regulations, or other interference or any cause whatsoever not within the sole control ofLessor

                                                                       (SIGNATURE PAGES FOLLOW]




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IN \VITNESS \\'liEREOF. the parties hereto have entered into this Lease Agreement as of the date first above written


                                                                                    LESSOR:


                                                                                    By:          ~~,,J~~
                                                                                               Diana S. Cornette
                                                                                    Name:_~=--=---cc-o-------
                                                                                               Vice President
                                                                                    Title: _ _ _ _ _ _ _ _ _ _ __




                                                                                    LESSEE: Sonct Transportation a:nd Logistics Joe.


                                                                                    mBy:~
                                                                                    ~SIGNATURE



EQUIPMENT ACCEPTANCE
Lessee hereby confinns that the Equipment has been delivered, duly assembled and in good working order and condition. Lessee confirms that after a
reasonable opportunity to inspect 'the Equipment, it has solely selected, and wtconditionally and irrevocably accepted the Equipment as·is, where-is for ell
purposes of this Lease as of this dete, In the event that the Equipment is not delivered and accepted within thirty (30) days of Lessee"s signing of this
Equipment Accepbmce, Lessee hereby authorizes Lessor to increase the Payments to reflect any ~e rate increase applicable to the Lease




                                                                                    LESSEE: Sonet Transportation and ~gistics Inc.


(X)oated:         3.l?Y..ic>                                                         ~y: :t_~
                                                                                          :_/SIGNATURE




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             BUSH
             TRUCK LEASING, JNC.
                                                                                          4)BUSH
                                                                                          ~            LEASING TRUST




                                                            GUA;RANTY
North Star Gas Llxl Go. ("Giiaran!Or"), does hereby guarantee tbe pa)'Dlent and performance. ofall debts, liabilities and <>!her
obligirtinns of Sonet Transportation and Logisties· Inc. {"Ol>Jigor") ·ro Bush Truck Leasing, Inc. and Bush Leasing Trust and
theii sUt:oessors mi<! nssigns (collectiv!>ly1 "!;lush") W'HE.'l'lrnR NOW EXISTING OR. HElmAFTER ARISING (~l)eotively,
the "ObUgl!t!On&"), i):ichiding those t\$lng •oder any 1"""'1 agreemerit by ""d befiyeen Obli!l<'r and Bush and !lllY other
dDcwnoa~ 'l!/s!nlments Ot .,Clllents. execuied· in C<jnnection 1:he<ewjtb, in eiich case..as amended from time to lime, In Jhe
event ,that Olll.igor fails ix> make llll)' pa;yment IQ llusl\, or ·fails k>: perfbmi Jn any llllUlJJer with regard to the Obligations, the
Guarantor does hereby promise to ma~ .allpayments and perform.all Obligaiicms to Bush in tlle '®le manner as required by
Obllgor. This Guaranty is a cenfinuing en¢ am! mall t"°"iriate only upon ·Ml payinent and :peuorma!lee of aTI <i!her
Obligations.
The obligafjons of Gual'@tor un<!er \hi• ·~ •re ;il!solule- and unconditional and slui:ll ttot 1>e limited, discharged or
terminat.ed as a remll of any: (ll) change in the.amouril, time or mannernfpaymont of any ·obligations due .under, or any.term or
condition of. any Obligation, (b) the assignment of any Obligation, or the sale •or transfer of all, ·or any portion, of any
equipment or collateral' securing !he Obligatioru; or (c) o!her act or fiu1ure·te ad or ev<:nt or circumstance which varies. the risk
of !he G11anmtor with ~ ~o ·any Obligatitm or which, ·but for th•· provisions hereof would as a m!!tter of law or equity,
Operate to reliuca, fiinlt or termirutte'!he obligations-oftlie Guarantor hereunder. Guarantor waives any right to require Bush
to: (i) proceed against Obligor, (ii) proceed against any security held from Obllgor, (Iii) pursue any oJher remedy in Bush's
power; or (iv) notify Guarantor ofany default. by Obligor in respoet of any Obligation. Guarantor waives any defense arising
by reason of any disability or other, defense of Obligor, any lack of authority of Obligor with respect to any Obligation, !he
invalidity, ill<>gality or hick of cnforeeabiley of any Obligation from any cause v@atsoever, the liillure of Bush to perfect or
maintain perfection of any security iuterest in any collateral <>r tbe cessation ftmn any cause whatsoever.of the liability of
Obligor, and any other defense under applicable Jaw which mi&ht be available as· a defense against, or a reduction or limitation
at; 1he obligatiom; of Gll8mlt0r hereunder. Guarantor shall haYe .no right ofsUbrogation, and wiiives any right or claim tJ>
enforce any remedy, including wifuQut limil&iion, any,rlght oficiI!ll»irsem""1 or coµlribWiOll agi>inat Qbligor, 11nil WJ!ives any
benefit of any secwiiy oow or lien:altec held by Bush. ~118l'atitcir ·waives !Ill pr~el!)meuts; d~ for performance, notices
of nonnerformance. orotests. notiCes or protest notlces ofdlshnnm'.. notices offtcteptanee of this guaranty.          .
This guaranty is a guaranty of payment and not a guaranty of collection, Upon Obligor's fuilure io pay or .Petfonn the any
Obligation promptly·when due. Bush maY proceed llgainst tho Gl!OJ11ll!<!r to w!lect rucb Obligmion, with or without prooeeding
agaln.<t ~ O'bligor, ot any cp-s\iret¥ or co-guarantor, or any collateral• /l:ny and all payments in ·respect of !lie -Obligations
may Ile awlied by Bush in wblltever nillmli!t it may detennlne Jn its sole dlscl'etion. The:Guaranlt>r agrees to rein>bun;e Blish
for ·an ooSts and eXpe)lSes, inclll(itpg, \j'itliout limitation Qttomeys' fees, incurred or paid by Bmh in exercising any right,
power, or remedy conferred by Ibis Guaranty.
The obllgatio)ls· of Guanmtar are indepeadent of !he obligations of Obligor. Guarantor indepeodently and without reliance on
any infurmatian supplied 1?Y Bush, h.us taken, and will continue to take, whatever sreps it deems iieo<:ssary to evaluate the
f'mancial condition One! alli!irs of Obligo• and B~ slialJ have no duty to advise Guarantor of infunnation at any·time known to
Bum regatding such financial conditions.and Jdlilirs. The Guarantor agrees tha.t this guaranty shl\11 continue to be effective or
be reinstated, as the case may be, if at any time any pa)'Illent, or any part fuereof, in respect of any Obligiition is rescinded or.
must alherwise be restored by Bush upon tbe.bankrupicy or reorgani:lation of.Obllgor, any other person or o!horwise.
This Onaranty shall be governed by and eollS1med in accordance With the laws oftlie $tllte of 01\io. Avy judic.ial proceeding
arising our of or-relating to lhiS Guaranty may be btought in any court of oompeten,t jurisdict11>n in ttain!H<in Cot!l\ty, Ohio and
Guarantor accepts the j.urisdicii()n <>f such co.urts l!lld waiVes any objection as to the venue of·any such proceeding brought in
such court or that sucb court is an inconvenient forum. GUARANTOR HEREBY WAIVllS TRIAL BY JURY IN. ANY
ACTJON OR PROCEEDING TO WHfCH GUARANTOR MAY BE PARTIES ARISING our OF THIS GUARANTY. The
Guarantor alse aeknowledg-es that Bush retains the right to check the Gnars.utor's credit history and/or references.
IN WITNESS WHEREOF, this Gu~·entmd into this                        3/J day of ff.B                 , tZ 0/b,
~ortlJ~
  S t . td CO.                                     •                 Sonet ?m~on and Logistics Inc.
By:4    ~L--                                                         By3v~
Name:                     tJJ~
                       -1/:,,,.                                      Name: i A lt.'14/tN J fl             F/t.t:!tZ.2
Title: ,,\   G,,,:-fm //e.r=                                         Titl•:~"'=\-=C...=·--'o"-._,,,eo___ _ _ __
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                                                                                                                          6961 Cintas Blvd
                                                                                                                          Mason, OH 45040

                                                                                                                          800-766-2874
                                                                                                                          www.bushtrucks.com
                                                                             LEASE AGREEMENT
                                Contract Date:           3 ·- ) 6"       ::i._~ I
                                                                               :'>           Lease ID No.                            CLBF1033

                                                                                         LESSEE
    Individual Legal Name(if applicable):
    Company Legal Name(ifapplicable):       Sonet Transportation and Logistics Inc.
    Mailing Address: 22 W 35 Street Suite 205
    City:Natiooal CityState:CA    Zip: 91950
                                                                                    .   EQUIPMENT
    Vehicle Year                                       Vehicle Make                             Vehicle Model                        Vehicle Identification Number
    2012                                               Freightliner                             Cascad.ia                            1FUJGLBG3CLBF1033

              Refer to Schedule 1 ofthis Lease Agreemmt for Equipment details in the event that no Equipment information appears above
                                                                        SUMMARY OF LEASE TERMS
                                                 Rental Periods U-.i T~tal f
    Commencement                     Initial                                 Down    Advance Basic Rent                         Doc Fee        Security     End of Term
    Date & 1st Basic                 Term                            um ero Payment+                                                           Deposit
                                                                                                     or         (without                                      Option
        Rent Date                                                   Payments Taxes at             Arrears        Taxes)
                                                                             Closing
     '-/ . I . ;;i._I.,.) IS-          36         MONTHLY               36          $1,500.00     Arrears       $2,036.67       $400.00          $0.00          TRAC
                                MONTHLY
     5-1 . .:i_ ~ i ';)
    If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $23,540.00

         TIDS LEASE AGREEMENT (''Lease") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
         ("Lessof"), and LESSEE referenced above.

                       1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
         with all replacements, repairs and additions thereto (individually and collectively, the "Vehicles") on the terms and conditions set forth in this Lease.
         Lessee agrees that Lessee leases the Vehicles "as-is", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
         manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in aJI respects. Lessee further confirms that it
         has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements, representations, omarranties made by
         Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identified herein will be used for
         commercial purposes.
                       2. INITIAL TERM. The term of this Lease for each Vehicle shall commence on the Contract Date and shall continue for that nwnber of
         months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month, in which case the
         Contract Date sbalJ be the date on which the term of this Lease commences) ("Commencement Date") each as set forth in the Summary of Lease Terms
         (such period as extended or sooner terminated by Lessor as provided herein, the"Tenn).
                       3. RENT. The rental payment amowit for each Vehicle hereunder (the "Basic Rent") is set forth in the Summary of Lease Terms. Basic
         Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
         in advance or arrears for the periods (each a "Rental Periodj and for the total nwnber of payments as set forth in the Summary of Lease Terms, in each
         case, on the first day of each such Rental Period If the Contract Date does not fall on the first day of the month, the rental for that period of time from
         the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week , 14 days for
         One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Date to
         (but not including) the Commencement Date and sha11 be due and payable on the Commencement Date. Lessee shall pay a11 amounts other than Basic
         Rent Lessee is obligated to pay hereunder (the "Supplemental Rent" and together with Basic Rent, the "Rent"') when due or if no date is specified
         herein, on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of 10% of
         the late rental payment amount, and the maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
         OF ALL OTIJER OBLIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
         WHATSOEVER, INCLUDING, BUT NOT LIMI1ED TO, ANY RJGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE
         AGAINST LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR, OR Tiffi MANUFACTURER OF Tiffi VEIDCLES FOR
         ANY REASON WHATSOEVER, SPECIFICALLY INCLUDING, WITHOUT LIMITATION, ANY CLAIMS THAT LESSEE MAY HAVE AGAINST
         LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO Tiffi SERVICE AND MAINTENANCE
         AGREEMENT REFERENCED IN SECTION7 HEREOF.
                       4. OPTION UPON EXPIRATION OF INITIAL TERM OF LEASE. Upon expiration of the Initial Tenn of the Lease, Lessee shall
         comply with the provisions of Clause A or B below, in either case, as specified in the Summary of Lease Terms

                                A.          Terminal Rental Adjustment a a use ("TRAC"), Lessee agrees that there shall be an adjustment of the Rent to be paid
                                             Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                                             "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summfil)' of Lease Terms. Upon




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                                                                                                                                                                          Exhibit A
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                           expiration of the Initial Tenn, Lessor will attempt to sell the Equipment In the event that the Net Proceeds (es defined below}
                           ar.e less than the Estimated Fair Market Value, Lessee shall pay to Lessor the full amount of such shortfall. lf the Equipment
                           has not been sold on the )a.st day of the Initial Te~ lhen the Net Proceeds shall be deemed to be zero and Lessee shall
                           immediately pay to Lessor the TRAC Residual. If the Lessor thereafter shall sell the pquipment, the Net Proceeds shall be
                           paid by Lessor to Lessee. Any such payment by either Lessee or Lessor shall be deemed to be a Tenninal Rental Adjustment
                           with resp=ct to the Vehicles. As used herdn,. 11Ne1. Proceeds" shall mean the proce;eds .received by Lessor, after deduc:ting (i)
                           aU costs and expenses incurrcd in connection with the recovery, repair, storage, and sale of the Vehicles, including any and all
                           attorneys' fees and legal expenses, (ii) all late charges end all interest accrued at the Default.Rate {as hereinafter ddined), and
                           (iii) all mrt payments and olher obligations of Lessee due and unpaid under the Lease as of lhe date of the sale or disposition.
                           As to each Vehicle, if thee Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment after
                           expiration of the initial Term are less than the TRAC Residual amount for such Equipment as set faith in the Summary of
                           Lease Tenns, then Lessee shall immediately pay to Lessor the amoum of sueh deficiency as additional Rent hereunder. If the
                           Net Proceeds are in excess of the TRAC Residual. amount, then 100% of such excess shall be returned to Lessee as a reduction
                           in the Rent for such Equipment, provided, however, that Lessor shall be entitled to n:tain all or uny portion of such amount to
                           satisfy any ofLcssee1.s obligations under the Lease

                            Lessee hereby certifies, under penalty of perjury, that
                 (i)   Lessee intends that more than 50% of the llSe of the Equipment subject to this TRAC is t<l be used in a trade or business of the
                          Les.see,
                 (ii) Lessee bas been advised by tax counsel or other tax advisor. and
                 (iii) Lessee understands and agICes that, Lessee will not be treated as the owner oflhe Equipment identified above for federal income
                          tax purposes.

                 B.          SJ.00 BtJyout. Lessee hereby unconditionally agrees to purchase WI, but not less thBJJ al1, of the Equipment for $1.00 upon
                           expiration of the Initial Tenn of the Le~ Le:s.sec i!Dd Lessor agree tlmt ~ec:: is cwner of the Equipment and shall file and
                           pay all tiCense. registrntion fees, and documentary, sa1e and use hixes, and personal property taxes and all <lthcr taxes, fees and
                           charges reJating to the ownership. leasing, rental, sale, purchase, possession or use of the Equipment

                   With respect to any option upon expiratio-n of the Initial Term of the Lease set forth herein. if written notice of Lessee's intention to
                   exercise suoh elc.cted option is not received on a timely basis, then such failure shall constitute an Event of DefBult, Md to the extent
                   that the Lessee fails to return to Lessor the Equipment in accordance with Section 7 hereof. Lessee agrees to pay a daily rental fee
                   equal to 150% of the daily Rent for each day that the Equipment is retained by Lessee; provided, however. such payments shall not
                   extend Lessce1s right to have and use the Equipment m:yond the Initial Tenn of the Lease as provided herein. Upon exeroise of the
                   opt.ion elected by Lessee and payment in fuU by Lessee of any related purchase amounts and all Rent, Lessor will execute and del ivcr
                   to Lessee the title to the Vehicles, and any other documentation necessary lo transfer title to Lessee. TIIlS SALE WlLL BE
                   WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR. WHETiillR EXPRESS OR JMPJ..IED JN
                   FACT OR LAW Md. l...cssec: will accept the Vehicles"AS IS" and "WHERE IS".

               S. TAX INDEMNIFlCATION. Except to the extent Section 4B is applicable upon cxpjration a1 the Initial Tenn, it is understood and
agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to such tax benefits that are available= owner of the Equipment through
depreciation of the total capitalized cost of the Equipment thereof for federal income tax purposes. In the ~ent that Lessor sld'fers any Joss,
disallowance, unavailability, or recapture of sueh depreciation for any reason 'Whatsoe\>er, th~ after wriUcn notice thereof by Lessor to Lessee, Lessee
shall pay to Lessor an addit.ianal incremental amount payable on each date that the Basie Rent is thereafter due, which in the opinion of Lessor, will
cause Lessor"s net a&r..tax annwil cash .flow and net after-tax rate of return respectively, thfll would have been available ff Lessor had been entitled to
full utilization of the depreciation. In the event that any payment is required to be made pun;uant to this Section S. and such payment is to be made on
succeeding rent payment dates, but at such time this Lease shall have been terminated or Rent otherwise no longer shall be due and payable On the
remaining rent payment dates, Lessee shall promptly pay Lessor any amount equal to the incremental increase in Basic !lent which would have been
required if such tax loss had occmred immediately prior W the last rental p~'metlt date on or prior to the expiration or other tennination of the Lease.
Lessor shall promptly notify Lessee of the commencement of any proceeding by the lntemal Revenue Service in respect of any item as to which
indemnity is sought hereunder. Lessee's agreement to pay any sums which 1llllY become i:iayable pursuant to this Section 5 shall survive the expiration
or other termination of this Lease.
                6. USE OF VEIDCLES. Lessee shall use tbt VehiclCs only in its business and in compliance~ all laws, rules, and regulations of any
jurisdiction where the Vehicles ar: used or located Lessee.represents and warrants to Lessor at all times diat (i) J1.-cssee bas the right and ability to enter
into this Lease; (ii} this Lease constitutes 11. valid, legal, and binding obligation and agreement of Lessee, enforodwJc against Lessee in accon:lance with
 its terms; end (iii) that the entcriDg into and performance of this Lease by Lessee ~ill not result in a breach, violation, or default under any judgment.
order, law, regulation, loan, mortgage, agreement, indenture, or other instrument applicable kl Lessee, or result in any breach of, or constitute a default
under. or result in the creation of any lien. charge, security interest,. or other encumbrance upon the Vehicles pursuant to HnY instrument IO which Lessee
 i.~ a party or by which it is bound. Lessee sha11 {i) use and operate the Vehicles in a careful and prudent manner for the purposes and in the manner
intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protecWd ftom damage; and (iii} sha\f pay for all maintenance of Vehicles
to keep them in good and efficient working order and condition during the Term of the Lease, including, but is not Umtted to, Lessee's supplying all
fuel, lubricants. and other parts, supplies, maintenancc: and services, and/or Lessee. upon L~sor'& request, entering into a service and maintenance
agreement with Lessor or an affiliate of Lessor upon such tcmlS and conditions provided by Lessor. After notice to Lessor, Lessee may, at its own
expense, make alterations or adcl attachments to the Vehicles, provided that such alterations or attachments are rcmov11b1c and do not reduce the value,
 utility or useful life of lhe Vehicles. Upon the expiration or tennination of the Lease. all alterations or attachments affixed to the Vehicles shall become
the property of Lessor if'nol removed, and if Lessee does remove such Bttllchmcnts, Lessee shall be liable tn Lessofor any damage to the Vehicles as the
result of such removal In the event that any federal, state, or local law, ordinance, rule or regulation shall require the installation of any additional
 accessories to any of the Vehicles, including, but not limited to. anti-pollution and/or ·sarety devices, or in the event that any other modifications to the
 Vehicles shall be requ~d by virtue of such law, ordinance. role or ~gulation, then and in any of such events, Lessee shall pay the full cost thereof,
 including installation expenses. Lessor may. at its option, ammgc for the installation of such Vehicles or the perfonnancc of such modifications, and
 Lessee agrees to pay the full cost thereofimmeciiately upon receipt of an invoice for the smru:
                7. SURRENDER. Upon either the. (i} failure by Lessee to exercise any purchase option for any Vehicle ~t forth herein. or (iJ} upon
 demand by Lc~or made"pul'Silanl: to llD. Event of Default (as set forth in Section 19 hereof), Lessee shall, at its awn expense, return such Vehicle to
Lessor to such location within the continental United States us Lessor shnll designate, in the same condition as when delivered. reasonable wear and tear
 excepted and otherwise in the condition required by this Lease Upon return of the Vehicles, Lessor, or such entity designated by Lessor, shall perform a

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physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated with the inspection, and                             '
for any and all repairs necessary tu place the Vehicles in the same condition as when delivered, reasonable wear and tear exeepted and otherwise in the
condition required by this Lease.
               8. PAJNTJNG. Lessee may paint the Vehlcles in Lessee's customaJ}' manner and affix advertising or identifying insignia, provided !hat,
upon the expiration or tennin11tion of this Lease, and in the event that Lesse.e does not pwt:basc die Vehicles tJlll'SUant to Section 4.B hereof, Lessee
shall, llpon the request cf Lessor and al Lessets expense, resf.01e the Vehicles to original condition, ordinary wear and tear excepted                .
               9. WARRANflES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE. AND SHALL NOT BE
DEEMED TO HAVE MADE, ANY EXPRESS OR IMPLJED WARRANTY AS TO MERCHANTABILTIY, FITNESS FORANY PURPOSE OR USE,
DESIGN OR CONDITION OF VEHICLES, QUALTIY OF MA l'ERIAL OR WORKMANSHIP, OR AS TO ANY OTHER MATTER WHATSOEVER
RELATING TO THE VEHICLES. AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL. INCIDENTAL, OR
PUNmVE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE THE VEHICLES, OR ANY INADEQUACY, DEFICIENCY, OR
DEFECT IN THE VElilCLES. LESSEE AGREES THAT LESSEE LEASES THE VEHICLES "AS IS". Lessor agrees., to the cxlmlt possible end
without increasing its liability be;rcundcr. 1111d upon request. to assign to Lessee, any wmnmty of e manufacturer or seller relating lO the Vehicles
available to Lessor, provided, however, that the foregoing rights shall auloma"tica.l.ly revert to Lessor upon the oceunence and during the continuance of
any Event of Default hereunder, or upon return of the Vehicles to Lessor. Lessee: agrees to settle all claims with respect to the Vehioles directly with the
manufacturers thereof, and to give Lessor prompt notice of any sticb settlement and the details of such settlement
               10. TITLE AND INSPECTION. Lessee, at its expense, shall protect end defend Lessor's title and keep it free of aU claims and liens
except those claims and Iit:ns created by Lessor in connection with any assignment or .financing b)• Lessor. Lessor may inspect the Vehicles at any time
without prior notice during regular business liours. If, at any time during the Term of this Lease. Lessor supplies Lessee with labels, plates or other
markings stating that the Vehicles nre owned by Lessor, Lessee: sha11 affix and keep the same in a prominent place on lhe Vehiclc;s
               11. LICENSES. Lessee shall al its CKpense obtain all necessary licenses{including motor Vehicle plates) and registrations, required for the
use and operation of each Vehicle. All certificates of title; or registration of each Vehicle shall nume Lessor as the owner thereof
               12. INTERESTS IN VEWCLES. Lessee's rights with respect to this Lease and any Vehicles leased bcrt:undcr will be subject to any
 rights Bnd interest in and to said Vehicles which may be granted by Lessor {or Lessor's affiliates) to any assignee or lender of Lessor (or Lessor's
 affiliates). Lessor may nssign to a lender or any other assignee all or any part of Lessor's rights hereunder, including a security interest in the Vehicles
 and the right to recefve rents and other sums due hereWlder. Upon notice of $uch assignment in writing by a lender, assignee and/or Lessor, Lessee shall                                ..
 pay all rents and other sums due or to become due under this Lease directly to such lender or assignee withoul set off, counterclaim, or any defense
whatsoever.
                                                                                                                                                                                         j
               13. TAXES. Lessee shall pay all personal property, sales or use taxes, business licenses, assessments, penalties, and charges which may be
 Jevied or asserted with respect to the Vehicles (except income taxes levied on lease payments to Lessor). Jn the event that any such taxes, Jicensc.s,
 assessments, penalties, or charges are paid by Lessor, Lessee shall J"cim.burse and pay Lessor immediately after Lessor notifies Lessee in writing of the
 amount of such taxes, licenses, assessments,. penalties. charges or expenses paid by Lessor, as well as an administrative fee. Increases or decreases in
 sales or use tax rates will affet:t all lease payments after the effective date of the change by the taxing authority. i.essee shall indomnify and hold Lessor
 harmless from and against any loss,. cost or experisc arising out of or relating toany such tax, import or levy, including. without limitation., any penalties,
 interest and :fines relating thereto.                                                                                    ·
                14. FINES. Lessee shall pay a1l fines due to overload, overlength, overweight. lack of plates or pcnnits, speeding and any other charges                                 ,.
 which may be imposed or assessed in respect to the Vehicles and/or Lessee's me thereof The provisions of this Section 14 shall survive the expiration
 or other termination of this ~
               15. LOSS OR DAMAGE. Le!lsee shall bear the .entire risk of loss, theft, destruction of or demage to any Vehicle from any aru~
 whatsoever {"Loss or Damage"). Les.see shall promptly notify Lessor in writing of any Loss or Damage. No Loss or Damage to any Vehicles shall
 relieve Lessee of any obligation withrespect to such Vehicle ander this Lease. In the even1 of Loss or Damage, Lessee sha11, at the option of Lessor: {a)
 put such Vehicle in good condirlon and repair in accordance with the manufil.cturer's recommendations, and to the reasonable satisfaction of Lessor, at
 Lessee's expense: (b) replace such Vehicle with a like Vehicle (smne value. utility ftlld useful life es damaged Vehicle) in good condition and repair e.s
 approved by Lessor in Lessor'"s so-le discrctio-n with cl~ title theme vested in Lessor; or (c) t:ia:y Lessor on or befure the next J"cnt payment date e.s set
 forth in accardance with Section 3 hereof (such payment date. the ..Loss Payment Date'') in cash the sum of. (i) all amoonts then due Lessor by Lessee
 under the Lease relating to such Vehicle. which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
 of the TRAC Residual, if any~ relating to such Vehicle (as sot forth in the Summary ilfLease Terms), disoounted at 5.0% computed from the expiration
 of the Initial Term of the Lease to the Loss Payment Date. plus (iii) an ilDlOUDt equal to tbe present value of the unpaid filture remaining Rents for the
 Initial Tenn of the Lease, relating to such Vdllcle discounted at 5,00A computed from tht scherluJed payment dates 1br such Rents ID the Loss Payment
 Date (the "Casualty Value Amounf'). Upon receipt of the Casualty Value Amount set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
 insurer) Lessor's interest in such Vehicle in its then CQndition and location. AS IS'' without any warranty wh~er, express or implied. If Lessee is
                                                                                    L<

 required to repair any Vehicle in accordance with (a) above. or to replace any Vehicle in accordance with {b) above, the insurance proceeds actually
 received by Lessor. if any, pursuant ta Section 16 hereof shall be first applied to pay any amounts then due under this Agreement. and then shall be paid
 to Lessee upon proofsm:isfactory to Lessor that suoh repairs have been completed as required hereh{in the oase of(a)), or of adequate purchase end title
 documents in Lessor's sole discretion (in the CSR of(b)). ln the event that Lessee is obligated 1o pay to Lessor the wnount specified in {c) above, Lessee
 shall be entitled to 11. credit against such. amount equsJ to the wnount of insurance proceecfs actu.11.lly received by Lessor, if any, pursuant to Section 16
 hereof; on account of such Vehicle.
                16. INSURANCE. Lessee shall obtain and maintain insurance on or with respect to each Vehicle at its own expense and in the amounts
  und fomlS satisfactory to Lessor. In no event shall any insurance coverage bi= less than the following (a) physical damage insurance insuring against
 loss or damage to the Vehicles in an amount not less than the full replacement ya]ue of such Vehicle; and (b)(i) in all States exeept Florida: (1) not
 greater than $500 deductible for collision, fire, theft, and comprehensive, and (2) $500,000 combinod single limit for bodily injury liability !Ind property
 damage; 01 (b)(ii) for the S1ate of Florida: (1) not gR;ater than $500 deductible for collision, fire, theft. nnd comprehensive, ood (2) $250,000 per pcn:oo
 I $1,000,000 per incident bodily iajury liability, and (3) $100,000 property clluru>gc liability. In addition, tl1" following require $1,000,000 excess
 liability ooverllgO {umbrella): (a) truckftractors over 45,000 lbs.; (b) trailers/semi-trailers; tow trucks; and (c) limo uses for livery, Lessee shall furnish
 Lessor with a certificate of inswlmce evidenoing issuance: of such insunmce tQ Lessoe in al least the miDimum umouut required hereiD. lllmling Lessor
  and such other parties designated by Lessor as additional insmed thereunder for liability coverage, and BS less payee for property damnge coverage.
 Each policy shall require insurer to give Lessor30 days prior written notice of any material alteration in terms of policy or cancellation thereof, and shall
 provide that no action, misrepresentation or breach of warranty of Lessee: shall invalidate the policy. lf Lessee fails to provjde sucll insurance, Lessor
 shall have the right,, but no duty, to obtain such insurance, and Lessee sh~l pay Lessor all oosts thereof,. including all costs incurred by Lessor in
 obtaining such insurance together with interest at the Default Rate from the date paid by Lessor to the date paid in full by Lessee. Lessee shall not use
 any Vehicle if the insurance required herein is not in ful1 force and effect with respect to such Vehicle. Upon Loss or Damage as set forth in Section 15
 hereat: Lessee shaJl receive credit for any amoUlllS paid to Lessor by the insure• against~ obligations hm-undet
                17. INDEMNITY. Lessee shall indemnify Lessor against, and hold Lessor harmless from, any and all claims, actions, damages,
 obligations, liabilities, liens {including any arising er imposed under the doctrines or strict liability in ton or product liability), and costs and expenses
 (including attome}'S fees), arising from or out ofthc manufacture, purchase. lease, possession, operation, condition. return, or use of the Vehicles, or by
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operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assertion of any such claim, action. damage, obligatio:n, 1iability, or lien, l.esl;ee, at Lessee's expense shall assume full
responsibility for the defense thereof. provided that Lessor shall hiwe the right, but not the obligation, to participate in any defense -conducted by Lessee
without relieving Lessee of any of its obligations hereunder The pro-visions of this Section 17 shall SW'Yive termination of this Lease
                18, ASSIGNMENT. Except as otherwise permitted herein, without Lcssofs prior written consent, Lessee shall notassign,. transfer, pledge,
hypothecatc or otherwise dispose of this Lease, the Vehicles or BilY interest therein1 er sqblet or lend the Vehicl~, or permit the Vehicles to be used by
anyone except Lessee or Lessees aulhorized employees. Lessor may assign this Lease or any in1erest the.Ieln in whole or part without notice 1o Lessee
                19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the folloV..ing events .or conditions which shall
constitute "Events of Defa.ulf': (a) Lessee fails to pay any Rent or other amount ·when due; {b) Lessee fails to observe, keep or perform any other
covenant or provision of this Lease required to be observed,. kept, or perfonned, by Lessee; (c) Lessee removes, sells, transfers, encumbers, creates a
security inte1est in, relinquishes possession of the Vebiclcs, or pedonns any act which impairs Lessor's title to any Vehicle or attempts any of the
foregoing; (d) Lessee makes a misn::prescntation to Lessor of any matteJ or covenant connected with this Lease; (e) Lessee fails to satisfy any traffic
ticket or summons or fails to register any Vehicle; (t) Lessee beComes insolvent,, bankrupt or l1as a trustee 01 receiver appointed for Lessee or for a
substantial part of Lessee's property; {g) LeS!iee experiences a material change in its business or affairs (including termination of Lessee's employment
or termination of the contract under which Lessee provides services or a change in the control or mvnership of Lessee or Lessee's employer or the party
with whioh Lessee contracts to provide services) which in Lessor's sole judgment imp.airs the security of .any Vc:bicle or increases the c~dit risk
involved therein; (b) Lessee attempu: to assign lhis Lease without the consent of Lessor; or {i) Lessee fails to notify Lessor of any material change in ito
business and affairs, including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and consritutes Hush TJUck Leasing,
lne. and its successors and assigns, th~ true end ln·wf'ul .attomey.in-fact of Lessee:, with full power in the mime of Lessee upon the occurrence of an Event
of Default, (i) to demand and rective any and all moneys and claims for moneys due in respect of or relating tD the Equipment, {ii) to assign or tnmsfer
erry of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee to any replacement lessee h~under and/or causing
any other person to become Hie registered owner of the Equipment) and (iii) to take any other action in respect of this Lease or any of the Equipment
Lessee ratifies and approves .all .acts of Bush Truck Leasing, lno., as anomey-in-fuct. Bush Truck Leasing, Inc., as attorney-in-fact will not be liable for
any acts or omissions or enors of judgment or mistake of fact or law, Tilis power. being coupled with an interest, is irrevocable until all obligations
under this Lease have been fully satisfied
                20. REMEDIES. Upon the occurrence of .any Event of Default., Lessor may declate this Lease lO be in default, and at any time thereHfter,
Lessor, at its option, may do any one or more of the following: {a) cancel this Lease; (b) proceed by appropriate action to enforce performance of' the
Lease at .Lessec:'s expense or to recover dam.ages (including attorneys fees) for the breach thereof; (c) demand that Lessee, and In such case tilt: Lessee
shall, return all or any part of lhe Vehicles promptly m the mwiner required by and in accordance with Section 7 hereof; (d) enter, with or without legal
process, Lessee's premises or any other premises where: the Vehicles are located, and tal..--e possession of all or any pBrt of the Vehicles withoul imy
 Ii.ability to Lessee by reason of such entry; (e) sell. lease, or otherwise dispose of all or any part of the Vehicles at a public or private sale, which may be
 conducted where such Vehicles are then located; {f) demand tha:t Lessee, and in such case Lessee shall, pay to Lessor as liquidated dmnages for loss of a
bargain and not as a penalty tm amount equal to the sum of(i) all amounts due and unpaid under the Lease (including without limitation any indenmity
 obligations) plus interc.rt thereon from the due dm thereof at a per annum interest rate equal lo the prime rate of interest then in effect as published in
the Wall Street Journal p1us2.0% (the ""Default Rate"). plus {ii) the present value of all future Rent payments for such Vehicles,.discounted at S.0%, plus
 (iii) the present vahJe of the TRAC Residual, if any. discounted at 5.0%, plus (IV) .all costs and expenses incurred by Lessor in enforoing Lessor's rights
 hereunder {including. without limitation. all costs of repossession, recovery, .storage, ~air, sale, re-lease, and Bttomcys• fees), together with interest
"l:herwn Df. the Default Rate "from the date of demand to the date of payment in fall (the "Liquidated Damages"), or (g) cxcrcis_e any other right or remedy
 which may be available to Lessor under the Uniform Commercia1 Code Dr any other applicable I.aw The proceeds of mry salt or lease of the Vehicles by
 LesBOr shaJl be applied in the following order of priority (I) to pay all of Lessor's expenses in taking, holding. preparing foi:?~or lease, .and disposing
 of the Vehicles, .including all attorneys fees and legal expenses, then (2) to pey any late charges and all interest accrued at~ befault Rate; then {3) to
 pay accrued but unpaid Rent payments, thc.m (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. If the proceeds of
 any sale or lease are not sufficient to pay the amounts owed to .Lessor under this Lease. Lessee y.ilJ pa:y the deficiency. Lessor may also, without
 liability. take any perspnal property stored ""Within the Vehicles and may store any such property at Lessee's expense for 30 days. Lessee will be
 obligfl"l.N to reclaim such property within 30 days and hereby waives .aJl)' rights in such property thereafter. Any unclaimed property will be deemed
 abandoned after 30 da)'S and wi11 be discarded by Lessor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
 Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied 10 Lessee's
 obligations under this Lease. pursuant to this Section 20. Lessor's remedies hereunder may be exercised instead of or in addition to any other legal or
 equitable remedies. Lessor has the right to set off any sums received ftom any source {including insurance proceeds) against Lessee's obligmions under
 this Lease. Lessee waives its right to object to the notice of the time or pl.ace or sale or lease. and to the manner nod place of any advertising therefore.
 Lessee waives any defense based on statutes of limitations or laches in actions for damages. In ease of failure by Lessee tu pay any fees, assessments.
 cbarges, or taxes arising with respect to the Vehicles, Lessor shall have the right,, but not the obligation to pay such amounts, mtd in that event, the cost
 thereof shall be payable by Lessee 10 Lessor upon demand, together with interest at the Default Rate from the date of disbursement by Lessor
                 2L SECURITY DEPOSIT. The Security Deposit shall be held by Lessor during the entire Tenn of the Le.ase, including lhe lnterim Term
 nnd any renewal term, as security for the full peymcnt and petfonnance of the terms, conditions and obligations of Lessee hereunder and under any and
 aU Schedules. The Security Deposit shall not excasc the pim'onnance at the time .and in the manner ~d or .any obligation of Lessee or cure a
 default of Lessee. Lessor may, but shall not be required to, apply such Security Deposit towards discharge of"any overdue obligation of Lessee. Lessor
 shat! be entitled to commingle the Security Deposit with any of its own funds. No Interest shall accrue on the Security Deposit and Lessor shall have no
  liability lo account to Less~ for any interest If Lessor shall apply any ofthe Security Deposit towards any obligations ofLessecunder the Lease, Lessee
 shall, upon demand, pay 1D Lessor an amount necessary to return the Security Deposit to the sum specified above. ln furtherance thereof, Lessee hereby
 grants to Lessor a security interest in the cash comprising the Security Deposit from time to time and any and all interest thereon, together with the
 proceeds lherco( to secure the prompt payment as and when due of all indebtedness, and the prompt performance .as and when due of all obligations, of
 Lessee now or hereafter required under the Lease. If no Default has then occurred, upon the expiration or earlier tennin.ation of the Tenn of the Lease.,
  the balance of the Security Deposit then held by Lessor shall promptly be paid to Lcsset:
                 22. SEVERAB1Ll1Y. The invalidation of any provision or provisions of tJll5 Lease as \lQenforceablc-shull not operate to invalidale the
 remaindeJ" of the Lease which shall remain in full force nnd effect
                 23. NOTICES. All notices relating to this Lease shall be delivered in person to an officer of Lessor or Lessee or mBilcd to the respeotive
 addresses shown ab!)ve on the first page of this Lease, or to such address as otherwise specified in writing by the appropriate party hereto
                 24. WAJVER Lessor's forbearance of exercise of any right or rernedy on Lessee's breach of any terms~ covenants or conditions hereunder
 shall not be deemed a waiver of such right or remedy, the requirement of punctual performance,. or any of its remedies upon any other or subsequent
 breach or default                                                                                                         :
                 25. GOVERNING LAW. This Lease takes effect upon its accept.an.ce and execution by Lessor, ~d shall be governed. interpreted and
 construed under the laws of the State of Delaware. Delaware law shall prevail in the event of any conflict of law· without regard to, and without giving
  effect to, the application of choice of law rules. LESSEE WAIVES ALL RIGHTS TO TRlAL BY JORY IN A1'N LITIGATION ARISING FROM OR
 RELATED TO THIS LEASE, AND LESSEE SUBMITS TO THE JURISDICTION OF DELAWARE, AND WAIVES ANY RlGIIT TO ASSERT
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THAT ANY ACTION INSTITUTED BY LESSOR !N ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE TRANSFERRED TO
                                                                                                                                                                            r
A MORE CONVENIENT FORUM.                                                                                                                                                    !·
                26.      WAIVER OF DA,.1AGES. Lessee waives to the fullest extentpennitted by law any right to or clalm of any punitive, exemplary,
indITT::ct. special, consequential, or incidental damages against Lessor. Lessee agrees that,. in the event of a dispute, claim or controveey agahtst Lessor,
1..cssce shall be limited to the recovery of actual direct damages sustained by it, subject to any limitm dirt:.et damages set forth in this Lease. t..essee will
not accept or attempt to co11ect through the courts or otherwise any punitive, exemplary, indirect, consequential, or incidental damages from Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shaH be binding on Bllrl inure to the benefit of Lessor and Lessee and their respective
successors and assigns permitted hereunder.
             28. FORCE MAJEURE. The obligations of Lessor hereunder sb.all be suspended to the extent that it is hindered or prevented from
complying therewith because of labor disturbances, acts of God, firesJ storms. accidents. failure of the mnnufacbJrer to deliver any of the VehicJes, court
order, governmental regulations, or other interference or any cause whatsoever not within the sole control of Lessor

                                                             (SIGNATURE PAGES FOLLOW)




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IN WITNESS WHEREOF~ the parties hereto have entered into this Lease Agreement as of the date first above v.'Iitten
                                                                                                                                                                !-


                                                                                   LESSOR:              B~ 'n1.wkL®s.~_ mc.

                                                                                   By:       -=u _~ ~c;:; ~
                                                                                              Diana S. Cornette
                                                                                   Nam~.~-----------
                                                                                            Vice
                                                                                   Title: _ _ _ _President
                                                                                                 _ _ _ _ _ _ __




EQUIPMENT ACCEPTANCE
Lessee hereby confirms that the Equipment h1111 been delivemi. duly as!iembled :and in good working order and condition. Lessee coofinns that after a
reasonable opportunity to inspect the Equipment, it has solely selected, and unconditionally and inevocebly accepted the Equipment as-is. where-is for all
pUrposes of this Lease as of this daW. In the event that the Equipment is not dcliv~d nnd l'lccepted within thirty (30) days of Lcssce~s signing of this
Equipment Acceptance, Lessee hereby authorizes Lessor to increase the Payments to reflect any Lease rate increase applicable to the Lease




                                                                                   LESSEE: Sonet Transportation and Logistics Inc.



                                                                                   (X}By:~/
                                                                                         /SIGNATURE               !




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 4)JJUSH
 ~           TRUCK LEASING, INC.




                                                         GUARANTY
 North Star Gas. Ltd Co. ("Guarantor''), does hereby guarantee the payment and performance of all debts, liabilities and other
 obligations of Sonet Transportation and Logistics Inc. ("Obligor") to Bush Trnck Leasing, Inc. and Bush Leasing Trust and
 their successors and assigns (collectively, "Bush") WHETHER NOW EXISTING OR HEREAFTER ARISING (collectively,
 the '"Obligations"), including those arising under any lease agreement by and between Obligor and Bush ~d any other
 documents, instruments or agreements executed in connection therewith, in each case, as amended from time to time. In the
 event that Obligor fails to make any payment tc Bush, or fails to perform in any manner with regard to the Obligations, the
 Guarantor does hereby promise to make a11 payments and perform all Obligations to Bush in the same manner as required by
 Obligor.    This Guaranty is a continuing one and shall terminate only upon full payment and performance of all other
 Obligations.
  The obligations of Guarantor under this Guaranty are absolute and unconditional and shall not be limited, discharged or
  tenninated as a result of any: (a) change in the amount, time or manner of payment of any obligations due under, or any term or
  condition of, any Obligation, (b) the assignment of any Obligatie>n, or the sale or transfer of all, or any portion, of any
  equipment or collateral securing the Obligations or (c) other act or failure to act or event or circumstance which varies the risk
  of the Guarantor with respect to any Obligation or which, but for the provisions hereof would as a matter of Ja,v or equity,
  operate to reduce, limit or terminate the obligations of the Guarantor hereunder. Guarantor \Vaives any right to require Bush
  to: (i) proceed against Obligor, (ii) proceed against any security held from Obligor, (iii) pursue any other remedy in Bush's
  power, or (iv) notify Guarantor of any default by Obligor in respect of any Obligation. Guarantor waives any defense arising
  by reason of any disability or other defense of Obligor, any lack of authority of Obligor with respect to any Obligation, the
-·'invalidity, illegality or lack of enforceability of any Obligation from any cause whatsoever, the failure of Bush to perfect or
  maintain perfection of any security interest in any collateral or the cessation from any cause whatsoever of the liability of
  Obligor, and any other defense under applicable law which might be available as a defense against, or a reduction or limitation
  of; the obligations of Guarantor hereunder. Guarantor shall have no right of subrogation, and waives any right or claim to
  enforce any remedy, including without limitation, any right of reimbursement or contribution against Obligor, and waives any
  benefit of any security now or hereafter held by Bush. Guarantor waives all presentments, demands for performance, notices
  of nonperformance. protests. notices or protest. notices of dishonor. notices of acceptance of this guaranty.
 This guaranty is a guaranty of payment and not a guaranty of collection. Upon Obligor's failure to pay or perform the any
 Obligation promptly when due, Bush may proceed against the Guarantor to collect such Obligation, with or without proceeding
 against the Obligor, or any co-surety or co-guarantor, or any collateral. Any and all payments in respect of the Obligations
 may be applied by Bush in whatever manner it may determine in its sole discretion. The Guarantor agrees to reimburse Bush
 for all costs and expenses, including, without limitation attcmeys' fees, incurred or paid by Bush in exercising any right,
 power, or remedy conferred by tbis Guaranty.
 The obligations of Guarantor are independent of the obligations of Obligor. Guarantor independently and without reliance on
 any information supplied by Bush, has taken, and will continue to take, whatever steps it deems necessary to evaluate tbe
 financial condition and affuirs of Obligor and Bush shall have no duty to advise Guarantor of infonnation at any time known to
 Bush regarding such financial conditions and affairs. The Guarantor agrees that this guaranty shall continue to be effective or
 be reinstated, as the case may be, if at any time any payment, or any part thereof, in respect of any Obligation is rescinded or
 must otherwise be restored by Bush upon the banlcruptcy or reorganization ofObligor, any other person or otherwise.
  This Guaranty shall be governed by and construed in accordance with the laws of the State of Ohio. Any judicial proceeding
  arising our of or relating to th.is Guaranty may be brought in any court of competent jurisdiction in Ha1nilton County, Ohio and
  Guarantor accepts the jurisdiction of such courts and waives any objection as to the venue of any such proceeding brought in
· such court or that such court is an inconvenient forum. GUARANTOR HEREBY WAIVES TRIAL BY JURY JN ANY
  ACTION OR PROCEEDING TO WHICH GUARANTOR MAY BE PARTIES ARISING OUT OF TIUS GUARANTY. The
  Guarantor also acknowledges that Bush retains the right to check the Guarantor's credit history and/or references.
 INWITNESSWHEREOF,this~enteredintothis fl2                             day of    EiF./?        , ¢0/;"',
 ~,orth S~t
          . td Co.                                •               Sonet T7tat'.on and Logistics Inc.

 By:-\ __          -~                         .                   By>~
 Name:"-               ~;-, tJJ~                                  Name:~    Af<>1'Z1tt./do FdEJFZC:
 Title: ,\   G . . +,,., // e.c                                   Title:._"-~(~c,_o~e~------
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                                                                                                                                       Exhibit A
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                                                                                                                                                                         6961 Cintas Blvd
                                                                                                                                                                         Mason, OH 45040

                                     TRUCK LEASING, INC.                                                                                                                800-766-2874
                                                                                                                                                                        www.bushtrucks.com
                                                                                                                     LEASE AGREEMENT
                                            Contract Date:                                   "7. )., 0            , ~   i..}    /   S-                       Lease ID No.                         CSBM0141


     Individual Legal Name(if applicable);
     Company Legal Name(if applicable):      Sonct Transportation and Logistics Inc.
     Mailing Address: 22 W 35 Street Suite 205
     City:National CityState:CA                                                   Zip: 91950
      :;.•<''.H'S"1~;::;c;;r:c•%\'~kc,;je)B'"'''''""Cctc'.S'.Yc~F':-                                               .•.....••. '.\"•'i:auti?MJ;Nrr:···:····
       Vehicle Year                                Vehicle Make                       I                                                    !Vehicle Model                                       I Vehide                 Identification Number
       2012                                                                           I Freightliner                                     TCascadia                                              11 FUJGLBG3CSBM0141
                          Refer to Schedule 1 of this LeaseAgreemenf/or Equipment details in the event that no Equip111ent information appe1us above
      '< '"····'· . . . . ;?>;•.' ....•:<::;,\\·.;;•r:;;;;· ',;;';<f>?(:·c<::;;•;;;;\\SLiMMARY.iOF'l'iEASE'TE.RM\3 ;).?i.<.>:•";;··:··.•.>>•i','.i>", .. .-.,:.., . ...... ·'.'.                                                             '.;;·,:, ·, .,
       Commencement                                 Initiel                Rental Periods Ni To~al f                            Down        Advance          Basic Rent                   DDc Fee                        Security    End of 'fern1
                                                                                                        um ero Payment+
      Date & 1st Basic                              Term                                                                                       or             (without                                                   Deposit        Option
                                                                                                       Payments Taxes Rt
         Rent Date                                                                                                                          AT rears           Taxes)
                                                                                                                Closing
         p I -~..:.             i   ~           36   MONTHLY                                                  36               $1,500.00    Arrears          $2,036.67                    $400.00                         $0.00         TRAC
                                             MONTHLY
        '7' . I ·:>..'°'/ J
      If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the •iTRAC Residual" shaJI                                                                                                          be $26,950.00

               llIIS LEASE AGREEMENT (..Lease") is hereby entered into as of the Contract Date above by and between BUSH ·rRlJCK LJ!;ASING. INC.
               ("'Lessor'"'), and LESSEE referenced above.

                                      1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipmcnl described herein, together
               with all replacements, repairs and additions thereto (individually and collectively, the "Vehicles'') on the terms and conditions set forth in this Lease.
               Lessee agrees that Lessee leases the Vehicles "as-is", and confirms ti1at as of the date of delivery of each Vehicle, such Vehicle is of the design and
               manufacture sclcci.Cd by Lessee, and as of such date, Lesseehus 1.mconditionalfy accepted such Vehicles in all respects. l..essee futther confinns that it
               has selected the Vchicle.s on the basis of its own judgment, and expressly disclaims reliance upon MY statements, representations, or.varrantics made by
               Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identified herein will be used for
               commercial purposes.
                             2. lNITlAL TERM. The term of this Lease for each Vehicle shall commence on the Contract Dale and shall continue for that number of
               months from the first (lst) day of the month following the Contract Date (unless the Contract Date is the firsl (lsl) day of the month, in which case the
               Contract Date shall be the date on which the tcnn of this Lease commences) ("Commencement Date") each as set forth. in the Summary of tease Tenns
               (such period as cxtcndcd or sooner lcnninated by Lessor as provided herein, the"Teml").
                             3. REN'I'. The rental payment am·ount for each Vehicle hereunder {the "Basic Rent") is set forth in the Summary of Lease Terms. Basic
               Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
               in advance or arrears for the periods (each a ..Rental Period} and for \he 101.Rl nwnber of payments as set forth in the Summmy o(Lcasc Tcmis, in cuch
               case, on the first day of each such Rental Period. Iflhc Contract Date does not fall on the first day ofth.e month., the rental for thal period of time from
               lhc Contract Date until the Commencement Date shall be an amount equal to the daily rental (Besio Rent divided by 7 days for One Wct:k, 14 days for
               One Biweekly and 30 days for One Month Rental Periods, us applicable), multiplied by the number of days from (and including) the Contract Date to
               (but not including) the Commencement Date and shall be due and pnyable on the Commencemen1 D~ic. Lessee shall pay all amounts other than Basic
               Rent Lessee is obliga1ed lo pay hereunder (the "Supplemental Renf' and together with Basic Rent., lhe "Rent") when due or if no date is specified
               herein, on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pny a late charge equal to the lesser of 10% of
               the late rental payment amount. and the maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEI:.... S PERFORMANCE
               OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF, COUNTERCLAIM. OR ANY DEFENSE
               WHATSOEVER. INCLUDING, BUT NOT LTMTTED TO, ANY RJGHT OR CLAlM THAT LF.SSEB MAY NOW OR HEREAFTER HA VF.
               AGAINST LESSOR, ANY OF LESSOR'S AFffi!ATES,ANY ASSJGNEE OF LESSOR. OR THE MANUFACTURER OF THE VEHTCLES FOR
               ANY REASON WHATSOEVER. SPEC!FlCALLY rNCI.UllTNG, WlTHOUT L!MlTATION,ANY CLATMS THAT LESSEE MAY HAVE AGAINST
               LESSOR, ANY OF LESSOR'S AFFILJATES. OR ANY /\SSTGNEE OF WSSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
                AGREEMENT REFERENCED JN SECTJON 7 HEREOF.
                             4. OPTION UPON EXPIRATION OF INITIAL TERM OF LEASE. Upon cxpirn1ion of the inrtial Term of the Lease. Lessee. shall
                comply with the provisions of Clause A or B below, in either case, as specified in the Summary of Lease Terms

                                             A.              Tcnninal Rental Adjustment Ch111se ("TRAC"). Lessee agrc~ !hal there shat! be an adjustment oflhc Rcnl to be puid
                                                              Lessor under the Lease for the Vehicles. ll is presently nnLieipated that the fair marke1 value of !he Equipment (the
                                                              "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Tenns. Upo11



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                                                                                                                                                                                                                                                              Exhibit A
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                            expiration of the h1itial Term,. Lessor will attempt lo sell the EquipmcnL In the event that the Net Proceeds (as defined below)
                            are less than the Estimated Fair Market Value, Lessee shnll pay to Lessor the full amount of such shortfall. !fthe Equipment
                            has not been sold on the last day of the Initial Term, then the Net Proceeds shall be deemt:d to he :rero imd Lessee shall
                            hnn1ediatcly pay to Lessor the TRAC Residual. If 1he Lessor thereafter shall sell the Equipment, the Net Proceeds shall be
                            paid by Lessor to Lessee. Aily such payment by either Lessee or Lessor shall be deemed to be a Terminal Rental Adjustment
                            with respect to the Vehicles. As used herein, 1'Jet Proceeds" shall mean the proceeds received by Lessor, after deducting (i)
                            all costs and expenses incurred in connection with the recovery, rcipair, storage. and sale of the Vehicles, including any and all
                            attorneys' fees and legal expenses, (ii) all late charges and all intcrC!:."t accrued at the Default Rate (as hereinafter defined), and
                            (iii) all rent payments and other obligations of Lessee due and unpaid under the Lease as of the date of the sale or disposition.
                            As to each Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment after
                            expiration of the Initial Term are less than the TRAC Residual umount for such Equipment RS set forth in the Summary of
                            Lease Tenns, then Lessee shall immediately pay 10 Lessor 1he amount of such deficiency as additional Rent hereunder. lf the
                            Net Procee:ds are in excess of the TRAC Residual amount., then J 00% of such excess shall be returned 10 Lessee ai; a reduction
                            [n the Rent for such Equipment, prov-idcd, however, tltat Lessor shall be entitled to retain all or any portion of such amount to
                            satisfy any ofLessee's obligations under the Lease

                             Lessee hereby certifi~, under penalty of perjury, that
                  (i)   Lossee intends that more U1an 50% of tho use of the Equipment subject to this TRAC is !o be used in a trade oc busine" of the
                           Lessee.
                  (ii) Lessee h8' been advi.ed by 1aX ooonsol or otlier tax advisor, and
                  (iii) Lessee understands and agrees thttt. Lessee will not be treated as the owner of the Equipment identified above for federal income
                           tax purposes.

                  B.          $1,00 Buyout. Lessee hereby unconditionally agrees to purchase all, but not less th.an all, of the Equipment for $1.00 upon
                            expiration of the Initial Term of the Lease. Lessee and Lessor agree that Lessee is owner ol'tht: Equipment and shall file and
                            pay all license, registration fees, and documentary, sa:le and use taxes, and personal property taxes cmd all other taxes, fees and
                            charges relating to the ownership, leasing, rental, sale, purchase, possession or use of the Equipment

                    With respect to any option upon expiration of the Initial Tenn of the Lease set forth herein, ifwritte11 notice of Lessee's intention to
                    excrct~e such elected option is not received on a timely basis, then such failure shall constitute an Event of Default, and to !he extent
                    that the Lessee fails to return to Lessor the Equipment in accordance wilh Section 7 hereof, l~essee agrees to pay a daily rcnla! fee
                     equal to 150'Yo of the daily Rent for each day that the Equipment is retained by Lessee: provided, however, such payments sh::ill not
                     extend Lessee's right to have and use the Equipment beyond the Initial Term of the Lease as provided herein. Upon exercise of the
                   . option elected by Lessee and payment in ful I by Lessee of any related purchase amounts and all Rent, Lessor will execute and delive.r
                    to Lessee the title to the Vehicles, and any other documentation necessary to transfer title to Lessee.. THIS SALE WILL BE
                    WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHETI!ER EXPRESS OR IMPLIED IN
                    FACT OR LAW and, Lessee will accept the Vchic!cs''AS IS" and "WHERE IS".

               5. TAX JNDEMNIF1CATJON. Except to I.he extent Section 46 is applicable upon expiration at the Initial 'rerm, it is understood and
agreed that Lessor is owner of the Equipment and that Li::~sor shall be entitled to such tax benefits that are available as owner of the Equipment !hrough
depreciation of the total capita1i7..ed cost of the Equipment thereof for federal income tax purposes. In the event that Lessor suffers any Joss,
disaJ\owance, unavailability, or recapture of such depreciation for any reason whatsoever, then, after wrillen notice rhereof by Lessor to Lessee, Lessee
shall pay Lo Lessor an additional incremenlal amount payable on each date th-al the Basic Rent is tflereafter due, which in the opinion of Lessor. will
 cause Lessor's net after-tax annual cllSh flow und net after-tax rate of return respectively, that would have been available if Lessor had been entitled to
full utilization of the depreciation. ln the event that BIIY payment is required to be made punmimt to this Section 5, and such payment j~ to be made on
succeeding rent payment dates, but al such time this Lease shall have been 1crminated or Rent othenvise no longer shall be due and payable on the
remaining rent payment dates, Lessee shall promptly pay Lessor any amount equal to the incremental increase in Basic Rent which would have been
required if such tax loss had occurred immediately prior 10 lhe last rental payment date on or prior to the expiration or other tennination of I.he Lease.
Lessor shall promptly notify Lessee of the commencement of any proceeding by tile Internal Revenue Service in respect of any item as to which
indemnity is sought hereunder. Lessee's agreement to pay RnY sums which may become payable pursuanl to this Section 5 shall survive the expiration
or olher termination of this Lease
               6, USE OF VEHICLES. Lessee shall use the Vehicles only in its bu.~iness and in compliance with all laws, rules, and regulations of any
jurisdiction where the Vehicles are used or loCll.lcd Lessee represents and warrants to Lessor at all times that (i) Lessee has the right and ability to enter
 into this Lease; {ii) this Lease constitutes n valid, legal, and binding obligation and agreement of Lessee, enforceable against Lessee in accordance with
its terms: and {iii) that the entering into and performance of this Lease by Lessee will not result in a breach, viol11tion. or default under any judgmt;nt,
order, law, regulation, loan, mortgage, tigreement, indenture, or other instrument applicable to Lessee, or result in any breach of. or con~titute a default
under, or result in the creatim1 of any lien, charge, security interest, or other encumbrance upon the Vehicles pursuant to any instrument to which Lcssuc
is a party or by which it is bound. Lessee sha.IJ (i) Qsc and opernle the Vehicles in a careful und prudent manner for the purposes and in the manner
intended to be used; (ii} shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) shall pay for all maintenance of Vehicles
to keep them in good and efficie;nt working order and condition during the Term of the Lease, including, bu1 is not limited to, Lessee's supplying all
fuel, lubricants, and othcir parts, supplies, maintenance and services, and/or Lessee, upon Les!lor's request, entering into a service and maintenance
agreement "'1th Lessor or an affiliate of Lessor upon such terms and conditions provided by Lessor. After notice to Lessor, Lessee may, at its own
expense, make alterations or add attachments to the Vehicles, pmvitled that such alterations or attachments are removable and do not reduce the value,
utility or useful life of the Vehicles. Upon the expiration or termination of the Lease, all alterations or attachments affixed to the Vehicles shall lx:ocume
the property of Lessor if not removed, and ifLesgcc does remove such attachments, Lessee sh.all be liable to Lcssofor <lJ\J' damage to the Vehicles as the
rt:sult of such removal Tn the event that any federal, state, or local law, ordinance, rule or regulation shall require the installation of any additional
accessories to any of the Vehicles, including, but not [imited to, anti-pollution and/or safety devices, or in the event I.hat any other modifications lo the
Vehicles shall be required by virtue of such law, ordinance, rule or regulation, then and in any of such events, Lessee shall pa.y the full cost thereof.
including installation expenses. Lessor may, at iu; option, arrange fur tlle installation of such Vehicles or the performance of such modifications, and
Lessee agrees to pay the full cost !hereof immediately upon rocoipl of an invoice for the same
               7. SURRENDER. Upon either lhe (i) failure by tessee to exercise any purchase option for any Vehicle set forth herein, or (il) upon
demand by Lessor made pursuant to liil Event of Default (as se.i forth in Section 19 herco1), Lesse~ s.hall, at its own expense, return such Vehicle to

                                                                                                 Page2 of6




                                                                                                                                                                      Exhibit A
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Lessor to sucl1 location within the continental United States as Lessor shall designate. in the same condition as when delivered, reasonable: wear and rear
excepted and otherwise in the condition required by this Lease Upon return of the Vehicles, Lessor, or such l!'ntity designated by Lessor. shall perform a
physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment Dfany and all costs associated with Lhc inspeclion, and
for any and all repairs necessary to place the Vehicles in the same .condition as when delivered, reasonable wear and Lear t:xccpLcd and otherwise in the
condition required by this Lease
                  8. PAINTING. Les.sec may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided that,
upon the expiration or tccrmination of this Lease, and in the event that Les.sec docs not purchase the Vehicles pursuant to Section 4.B hereof, Lessee
shall, upon the request of Lessor and al Lessees expense, restore (he Vehicles to original condition, ordinary wear and tear excepted
                  9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HAYE MADE, ANY EXPRESS OR IMPLIED WARRANTY AS TO MERCHANT ABILITY, FITNESS FORANY PURPOSE OR USE,
DESIGN OR CONDITION OF VEHJCLES, QUALITY OF MATERlAL OR WORKMANSHIP, OR AS TO ANY ffl1-IER MATTER WHATSOEVER
RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
PUNJTJYE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE THE VEHICLES, OR ANY INADEQUACY, DEFICIENCY, OR
DEFECT IN THE VEHJCLES. LESSEE AGREES THAT LESSEE LEASES Tl!E VEHICLES "AS IS". Lessor agrees., to the extent possible and
without increasing its liability hereunder, and upon request, 10 assign lo Lessee, any warranty of a manufacturer or seller relating to the Vehicles
available to Lessor, provided, however, that the foregoing rights sha!I automatically revert to Lessor upon the occurrence and during the continuance of
any Event of Default hereunder, or upon return of the Vehicles to Lessor. Lessee a.gree;s to settle all claims with respect to the Vehicles directly with the
manufacturers thereof, and to give Lessor prompt notice of any such settlement and the details of such se1tlcmcnt
                  10. TITLE AND INSPECTION. Lessee, at its expense, shall protect and defend Lessor's title and keep it free of al! claims and liens
except those claims und liens created by Lessor in connection with any assignment or firrnncing by !,essor. [,essor may inspect the Vehicles at w1y time
without prior nolicc during regular business hours, If, at any time during the Term of Lhis Lease, Lessor supplies Lessee wi1h labels, plates or other
markings stating that the Vehicles rn-e O"'ned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
                  11. LJCENSES. Lessee shall at its expense obtain all necessary Jicenses{including motor Vehicle plates) and registrations, required for the
use and operation of each Vehicle All certificates of title or registration of each Vehicle shall name Lessor as the owner thereof
                  12... INTERESTS IN VEHICLES. Lessee's. rights wiih respect to chis Lease and any Vehicles leased hereunder will be SDbject to any
rights and interest in and tn said Vehicles whii;h may be granted hy Lessor (or Lessor's affiliates) to any assignee or lender of Lessor (or Lessor's
affiliates). Lessor may assign lo a lender or any other assignee. all or any part of Lessor's righl..!i hereunder, including a sccuri(y interest in the Vehicles
and the dgh1 to rcccivc rents and 01hcrsums due hereunder. Upon notice of such assignment in writing by a lender, assignee and/or Lessor, Lessee shall
pay all rents and other sums due or lo become due under this Lease directly to such lender or assignee without set off, counterclaim, or any defense
whatsoever.
                  13. TAXES. J.essee shall pay al! personal property, sales or use taxes, business licenses, assessments, penalties, and charges which may be
levied or asserted with respect to the Vehicles (except income W:es levied on lease payments to Lessor). In the event that any such taxes, licenses,
assessments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immediately after Lessor notifies Lcsst:c in w•itlng of thl.l
amount of such taxes, licenses, assessments, penalties, charges or expenses paid by Lessor. as well as un administrntive fee. lncrea.11es or decrea.i;;es in
sales or use tax rates w:ill affect all lease payments after the effective date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
harmless from and against any loss, cost or expense arising oul of or rclatingtoany such tax, import or levy, including. ~1thout limitation. a11y penalties.
interest i:l!l:d fines relating theretn
                  14, FINES. Lessee shall pay all fines due to overload., overlength, overweight, lack of plates or pennits, speeding and any other charges
which may be imposed or BSsessed in respect to the Vehicles and.lo• Lessee's use thereof. The provisions. of this Sc:ction 14 shall SLirvivc the expiration
or other termination of1his. Lease.
                  JS. LOSS OR DAMAGE. Lessee shall bear the entire risk Df loss., theft, destrnction of or damage to any Vehicle from any cause
whatsoever (..Loss or Damage''), Lessee shall promptly notify Le;;sor in writing of any Loss or Damage. No Loss or Damage to any Vehicles shall
relieve Lessee of any obligation withrespectto such Vehicle under this Lease. Jn the event of Loss or Damage, Lessee shall, at the option of Lessor. (a)
put such Vehicle in good condition and repair in accordance with the manufacturer's recommendations, and to the reasonable satisfaction of Lessor, at
Lessee's expense; (b} replace such Vehicle with a like Vehicle (same value, utility i.md useful life as damaged Vehicle) in good condition and repair as
approved by Lessor in Le."sor's sole discretion with clear title thereto vested in Lessor, or (c) pay Lessor on OT before the nex.1 rent payment date as set
forth in accordance with Section 3 hereof (such payment date, the ..Loss. Payment Date") in cash the sum of: (i} all amounts then due Lei,-sor by Lessee
under the Lease relating to such Vehicle, wllich amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal Lo the present value
of the TRAC Residual, if any, relating to such Vehicle (as set forth in the Summary of Lease Tenns), discounted al S.Oo/n compu1cd from !he expiration
of the Initial Term of the Lease to the [..oss Payment Date, plus (iii) an amount equal to the present value of the unpaid future remaining Rents for the
Jnitial Term of the Lease, relating to such Vehicle discounted at 5.0'% computed from the scheduled payment dates for such Renl~ to the Loss Payment
Date (the "Casualty Value Amount"). Upon receipt of the Casually Value Am()unl set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
iosurer) Lessor's interest in such Vehicle in its then condition and localion, "AS IS" without any warrun!y whal~oever, express or implied. If f .essee is
required to repair any Vehicle in accordance with (a) above, or to replace any Vehicle in accordance with (b) above, the insurance proceeds actually
received by Lessor, if any, pursuant to Section 16 hereof shall be first applied to pay any amounts then due under this Agreement, and then shall be paid
to Lessee upon proof salisfaciory lo Lessor that such repairs have been completed as required hereir(in the case of (a)), or of adequate purchase and title
documents in Lessor's sole discretion (in the case of(b)), In the event that Lessee is obligated to pay to Lessor the amount specified in (c) above, Lessee
shall be entitled to a credit against such amount equal to the amount of insurance proceeds actually received by Lessor, if any, pursuant lo Section 16
hereof, on accoWll of such Vehicli;:.
                  16. JNSURANCE. Lessee shall obtain and maintain insurance on or with respect to each Vehicle at its own expense and Cn the amounts
and fonns satisfactory to Lessor. In no event shall any insurance coverage be less 1.han the following (a) physical damage insurance insuring against
loss or damage to the Vehicles in an amount not less than the full replacement value of such Vehicle; and (b)(i) in aH States except Florida: (1) no1
greater than $500 deductible for collision, fue, theft, and comprehensive, and (2} .$500,000 oornbined ;;ingle limit for hodily injury liability and property
damage; or (b}(ii) for the State of Florida: (1) not greater than $500 deduetiblc for collision, fire, theft, ®d comprehensive, and (2) $250,000 per .pe~s?n
f $500,000 per incident bodily injury liability, and (3) $100,000 property damage liability. In addition, the followingrequin: $1,000,000 excess ilabd1ty
coverage (umbrella): (a) truckltractors over 45,000 lbs.~ (b) trailers/semi-trailers: tow trucks; and (c) limo uses for livery. Lessee shall furnish Lessor
with a certificate ofinsuTance evidencing issuance of such insurance to Lessee in at least the minimum amount required herein, nwning. Lessor and sut:h
other parties designated by Lessor as additional insured thereunder for liability coverage. and as loss payee for pmpe~' damage coverage. Eacl: policy
shall require insurer to give Lessor30 days pnor wrirte11 notice of any material alteration in lermsorpolicy or canccllat10n thereof, and i;;hal! provide thfll
no action, misrepresentation or breach ofwllf"ranty of Lessee shalt invalidate the policy. lf Le~see fn!ls 10 provirlc.s-uch insurance. Les_s<lr ;;ha~I ~ave the
righl, but no duty, to obtain such insurance, and Lessee shall pay Les.sor aTJ costs thereof. mcludmg all C0£1S mcurrcd by Lessor m obtmnmg_ suc_h
insurance together with interest fl.I the Default Rate from the date paid by Lessor to the date paid in full by Lessee. Lessee _sha!l n'.3t.use any V~h1cle if
the insurance required herein is not in full force and cITcct with respect to SDch V~hicle. Upon Loss or I)amage as set forth m Sccuon 15 hcrcol, Lessee
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shall receive credit for any amounts paid to Lessor by the insurer against Lessees obligations hereunder;
               17. INDEMNJTV. Lessee shall indemnify Lessor against, and hold Lessor harmless from, any and alt claims, actions, damages,
obligutions,. liabilities, liens (including any arising or imposetl under the doctrines or strict liability in tort or product liability), and costs and expenses
(including attorneys fees), arising from or out of the manufacture, purchase, lease, possession, operation, condition., return, or use of the Vehicles, or by
operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assertion of any such claim, action. damage, obligation, !ial'Jility, or lien, Lessee, at Lessee's expense shall assume full
rcsponsibil ity for the defense thereof, provided that ! ,essor shall have the right, but not the obligation, to participate in any defense conducted by Lessee
wilhoul relieving Lessee of any of its obligations hereunder The provisions of this Section 17 shalt survive termination of this Lease
               18.. ASSIGNMENT. Except as otherwise pennitlcd herein, without Lesso~s prior written consent, Lessee shall notassign, transfer, pledge,
hypothecate or otherwise dispose of this Lease, the Vehicles or any interest therein, or sublet or lend the Vehicles, or permit the Vehicles to be used by
an}'one except Lessee or Lessees authorized employees Lessor may assign this Lease or any interest therein in whole or part without notice \o Lessee
               19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions which shall
constitute "Events of Default'': (a) Lessee fails to pay any Rent or other amount wben due; (b) Lessee fails to observe, keep or perfom1 any other
covenant or provision of this Lease required to he observed, kept, or pcrfonned, by Lessee; (c) Lessee removes, sells, transfor:s, encumbers, creates a
security interest in, relinquishes pu~session of the Vehicles, or performs any act which impairs Lessor's title to any Vehicle or attempts any or the
foregoing; (d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lease; (e) Lessee fails to satisfy any traffic
ticket or summons or fails to register any Vehicle; (f) Lessee becomes insolvent, bankrupt or has a Lrustee or receiver appointed for Lessee or for a
substantial part of Lessee's property; (g) Lessee experiences a material change in its business or affairs (including tennination of Lessee's employment
or termination of the contract under which Lessee provides services or a change in the control or ownership of Lessee or Lessee1s employer or the party
with which Lessee contracts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the credit risk
involved therein; {h) Lessee attempts to assign this LeR!le without the consent of Lessor; or (i) Lessee fails w notify Lessor of any material change in its
business and aITairs, including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Lensing.
Inc. and its successor:> and assigns, the true and lawful attorney-in-fact of Lessee, with full power in the name of Lessee upon the occurrence of an Event
of Default, (i) to demand and receive any and utl moneys and claims for moneys due in ~spect of or relating to thl.\ Equipment, (ii) to assign or transfer
any of Lessee's rights under this f.ease or in the Equipment (including assigning lhc rights of Lessee lo any replacemenl lcssce hereunder and/or causing
any other person to become the registered owner of the Equipment) and (iii} to wkc any other action in respecl of this Lease or any of the Equipment.
Lessee ratifies and approves all acts of Bush Truck Leasing, lnc., as attorney-in-tact. Bush Truck Leasing, Inc., us attorney-in-fact will not be liable for
any acts or omissions or errors of judgment or mistake of fact or law. This power, being ooupled with an interest, is irrevocable until all obligations
under this Lease have been fully satisfied
               20. REMEDIES. Upon the occurrence of any Event of Default, Lessor may declare this Lease to be in default, and at any Lime thereafter,
Lc.ssor, at its option, may clo any one or more of the following (a) cancel this Lease; (b) proceed by appropriate action 10 enforce performance of the
Lease at Lessee's expense or 10 recover damages (including attorneys fees} for the breach thereof; (c) demand that Lessee, and in such case the Lessee
shall, return all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) enter, with or without lcgfll
process, Lessee's premises or any other premises where the Vehicles are Joc.ntcd, and take possession of all or any part of the Vehicles without MY
liability to Lessee by reason of such entry; (c) sell, lease, or othenvise dispose of all or any part of the Vehicles at a public or private sale, which may be
conducted where such Vehicles are then located; (f) demand that l,cssee, and in such C!lSe Lessee shall, pay to Lessor lili' liquidated damages for loss of 1:1
bargain and not as a penalty an amount equal lo the sum of (i) all amounts due and unpaid under the Lease (including without limitation any indemnity
obligations) plus interest thereon from the due date thereof at a per annwn interest rate equal to the prime rnte of interest then in effect as published in
the Wall Street Journal plus2.0% (the .. Default Ratej, plus (ii} the prcsiml value of all future Rent paymt:nts for such Vehicles,discounted at 5.0o/o, plus
(iii) the present value of the 11\AC Residual, if any, discounted at 5.0%, plus (iv) all costs and expenses incurred by Lessor in enforcing Lessor's rights
hereunder (including, without limitation, all costs of repossession, recovery, storage, repair, sale, re-lease, and attorneys' fees), together with interest
thereon at the Default Rate from the dale of demand to the date of payment in full (the "Liquidated Damages"), or (g) exercise any other right or remedy
which m1:1y be available to L~ssor under the Uniform CommcrciHI Code or any other applicable 111.w 111e proceeds of uny sale or lease of the Vehicles by
Lessor shall be applied in the following order of priority {l) to pay 1:1.ll of Lessor's expenses in taking, holding. preparing for sale or lease, and disposing
of the Vehicles, including aU attorneys fees and legal expenses, then (2) to pa}' any late charges and all interest 11ccrued at the Default Rate: Lhcn (3) to
pay accrued but unpaid Rent payments, then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. If the proceeds of
any sale or lease are not sufficient to pay the amounts owed 10 Lessor under this Lease, Lessee will pay the deficiency. Lessor may also, without
liability, take any personnJ property stored within the Vehicles Hild may store any such property at Lessee's expense for 30 d1:1ys. Lessee will be
obligated to reclaim S\lch property wilhin 30 days and hereby waivrni any rights in such property thereafter. Any unclaimed property will be deemed
abandoned after 30 d.1:1ys and will be discarded by Lessor. Lessor's remedies hereunder shall be cumulative. An}' security deposit paid by Lessee lo
Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default., and shall be i:ipplicd Lo Lessee's
obligations under this Lease pursuant to this Section 20. Lessor's remedies hereunder may be exercised instead of or in addition to any other legal or
equitable remedies, Lessor has the right to set off any sums received from any source (including insurance proceeds) against Lessee's obligations under
this Lease. Lessee waives its righ1 to object to the notice of lhe time or place of sale or lease, and to the manner and place of any advertising therefore.
Lessee waives ll!lY defense based on statutes of limitations or laches i11 actions for damages. ln case of failure by Le.~see to pay any fees, assessments,
charges, or taxes arising with respect to the Vehicles, Lessor shall have the right, but not the obligation to pay such amounts, and in that event. the cost
thereof shall be payable by Lessee lO Lessor upon demand, together ·with interest at the Default Rate from the date of disbursement by Lessor
               21. SECURITY DEPOSIT. The Security Deposit shall be held by Lessor during the entire Tenn of the Lease, including the lnterim Tenn
and any renewal term, as security for the full payment llJld performance of the tenns, conditions and obligations ofl.essee hereunder and under any and
all Schedules. The Security Deposit shall not ex:cuse the performance at the time and in the manner prescribed or any obligation of Les.see or cure a
default of Lessee. Lessor may, but shall not be requlred to, apply such Security Deposit towards discharge of any overdue obligation of Lessee. Lessor
shall be entitled to commingle the Security Deposit with any of its own funds, No lntercs1 shall accrue on the Security rR:pollit and Lessor shall have no
liability to account to Lessee for any interest If Lessor shall apply ai1y of the s~curity l)eposit towards any obligations of Lcsseiunder the Lease, Lcsscc
shall, upon demand, pay to Lessor liil amount necessary to return the Security Deposit to the sum specified above. In furtherance th!!reof, Lessee hereby
grants to Lessor a security interest in the cash comprising the Security Deposit from time to time and any and all interest thereon, together with the
proceeds thereof, to secure the prompt payment as and when due ofal! indebtedness, ttnd the prompt perfonnimce as and when due of all obligations, of
Lessee now or hereafter required under the Lease. If no Default has tb.en occurred. upon the expiration or earlier termination of the Term of the Lease,
the balance ofthe Security Deposi1 then held by Lessor shall promptly be paid to Lessee
               22. SEVERABILITY, The invalidation of any provision or provisions of this Lease as unenforceable shall not operate to invalidate the
remainder of the Lease which shall remain in full force und effect
               23. NOTICES, All notices relating to this Lease shall be delivered in person to an officer of Lessor or Lessee or mailed to the respective
ttddrcsses shown above on the first page of this Lease, or to such address as otherwise specified in writing by the appropriate party hereto
               24. WAIVER. Lessor's forbearance of~e:rcise of any right or remedy on Lesseo's breach of any terms, covc:nants or conditions hereunder
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shall not be deemed a waiver of such right or remedy, the requirement of pun<:tual perfonnance, or any of its n:mcilics upon any other or subsequent
breach or default
              25. GOVERNING LAW. This Lease takes effect upon its acceptance and execution by Lessor, and shall be goven1ed, interpreted and
construed under the laws of the St.ate of Ohio. Ohio law shall prevail in the event of any conflict of law without regard to, and without giving effect Lo,
the application of choice of law rules. LESSEE WAIVES ALL RlGHTS TO TRIAL BY JURYIN ANY LtTJGATIONARISlNG FROM OR RELAIBD
TO THIS LEASE, AND LESSEE SUBMITS TO THE JURISDJCl"JON Of THE FEDERAL DISTRICT COURT FOR THE SOUTHERN DISTRICT
OF OHIO, OR ANY STATE COURT OF COMPETENT JURISDICTION WITIIJN MONTGOMERY COUNTY, OHIO, AND W /\IVES ANY RlGHT
TO ASSERT IBAT ANY ACTION INSTITUTED BY LESSOR lN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.       WAfVER OF DAMAGES. Lt:ssc.c waives 10 the fulle~t extentpennilted by Jaw any right io or claim of any punitive, exemplary,
indirect, special, consequential, or incidental damages against Lessor. Lessee agrees that,. in the event ofa dispute, claim or controversy ugairist Lessor,
Lessee shall be limited to the recovery of actual direct damages sustained by it, subject to any limitm direct damages set forth in this Lease. Lessee will
not accept or atlcmpl to collect through the courts or otherwise any punitive, exemplary, indirect, consequential, or incidental damages from Lessor
              27. SUCCf..SSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee and their respective
successors liild assigns pennitted hereunder:
              28. FORCE MAJEURE. The obligations of Lessor hereunder shall be suspended to the extent Iha! it is hindered or prevented from
complying therewitil because of labor disturbances, acts of God, fires, storms, accidcn!s, failure of the manufacturer lo dcl iver any of the Vehicles. com1
order, governmental regulations, or other interference or any cause whatsoever not within the sole control of Lessor

                                                                     [SIGNATURE PAGES FOLLOW]




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                                                                                                                                                                  Exhibit A
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                                                                                                         LESSOR:                   :f:lµi;.h ~k Less!ng, !:l:w.

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                                                                                                                   _ _ _President
                                                                                                         Title: _ _Vice  _ _ _ _ _ _ __




     EQUJPMENT ACCEPTANCE .                                                                     .                   .
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                                                                                                               6961 Cintas Blvd
                                                                                                               Mason, OH 45040
         ::7-.
          ..
                             {_jj
                  TRUCK LEASING, INC.
                                                _CL
                                                                                                               800-766-2874
                                                                                                               www.bushtrucks.com
                                                                   LEASE AGREEMENT
                       Contract Date:                                                               Lease ID No.           CSBM0142

                                                                              LESSEE
Individual Legal Name(if applicable):
Company Legal Name(if applicable):             Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA            Zip: 91950
                         ... ·-· ·- -                                 .   .     ......                                                -                       - ... -
                                                               . EQUIPMENT
 Vehicle Year                           Vehicle Make                    Vehicle Model                                      Vehicle Identification Number
2012                                         Freightliner                             Cascadia                             1FUJGLBGSCSBM0142
      Refer to Schedule 1 of this Lease Agreement for Equipment details in the event that no Equipment information appears above
                                                SUMMARY OF LEASE TERMS
Commencement       Initial    Rental Periods~ To.!"I f     Down       Advance Basic Rent          Doc Fee      Security End of Term
Date & 1st Basic   Term                       um ero Payment+             or         (without                  Deposit       Option
  Rent Date
                                             Payments Taxes at         Arrears        Taxes)
                                                          Closing
 "f. I   ·).,u   f·o        36          MONTHLY              36           $1,500.00     Arrears      $2,036.67        $400.00             $0.00        TRAC
                       MONTHLY
/0- I ·°A'-'i-S
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $27,639.00

    THIS LEASE AGREEMENT ("Lease) is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
    ("Lessof'), and LESSEE referenced above.

                  1. _GRANT OF LEASE. Lessor hereby ]eases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
    with all replacements, repairs and additions thereto (individually and collectively, the ..Vehicles"') on the terms and conditions set forth in this Lease.
    Lessee agrees that Lessee leases the Vehicles ..as~is", and confirms that as of the dale of delivery of each Vehicle, such Vehicle is of the design and
    manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
    has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements, representations, omammties made by
    Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identifiedberein will be used for
    commercial purposes.
                  2. INITIAL TERM. The term of this Lease for each Vehicle shall commence on the Contract Date and shall continue for that number of
    months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month. in which case the
    Contract Date shall be the date on which the term of this Lease commences) ("Commencement Date) each as set forth in the Summary of Lease Terms
    (such period as extended or sooner terminated by Lessor as provided herein. the"Tenn").
                  3. RENT. The rental payment amount for each Vehicle hereunder (the "Basic Renf') is set forth in the Summary of Lease Terms. Basic
    Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
    in advance or arrears for the periods (each a "Rental Period") and for the total number of payments as set forth in the Summary of Lease Tenns, in each
    case, on the first day of each such Renta1 Period If the Contract Date does not fall on the first day of the month, the rental for that period of time from
    the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
    One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Date to
    (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
    Rent Lessee is obligated to pay hereunder (the "Supplemental Rent" and together with Basic Rent, the "Renf') when due or if no date is specified
    herein, on demand If any Rent payment is not made within fiv-e (5) days after its due date, Lessee shall pay a late charge equal to the lesser of 10% of
    the late rental payment amount, and the maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
    OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDffiONAL AND WITHOUT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
    WHATSOEVER. INCLUDING, BUT NOT LIMI1ED TO, ANY RlGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE
    AGAINST LESSOR, ANY OF LESSOR'S AFFJLIATES, ANY ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF THE VEHICLES FOR
    ANY REASON WHATSOEVER. SPECIFICALLYINCLUDING, WITHOUT LIMITATION, ANY CLAIMS THAT LESSEE MAY HAVE AGAINST
    LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
    AGREEMENT REFERENCED IN SECT!ON7 llEREOF.
                  4. OPTION UPON EXPIRATION OF INITIAL TERM OF LEASE. Upon expiration of the Initial Term of the Lease, Lessee shall
    comply with the provisions of Clause A or B below, in either case, as specified in the Summary of Lease Terms

                       A.        Terminal Rental Adjustment Clause ("TRAC"). Lessee agrees that there sha11 be an adjustment of the Rent to be paid
                                  Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                                  ·~stimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Terms. Upon




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                           expiration of the Initial Term, Lessor will attempt t.o sell the Equipment In the event that the Net Proceeds (as defined below)
                           are less than the Estimated Fair Market Value, Lessee shall pay to Lessor the full amount of such shortfall If the Equipment
                           has not been sold on the last day of the Initial Term, then the Net Proceeds shall be deemed to be zero and Lessee shall
                           immediately pay to Lessor the TRAC Residual. If the Lessor thereafter shall sell the Equipment. the Net Proceeds shall be
                           paid by Lessor to Lessee. Any such payment by either Lessee or Lessor shall be deemed to be a Terminal Rental Adjustment
                           with respect to the Vehicles. As used herein, ''Net Proceeds" shall mean the proceeds received by Lessor, after deducting (i)
                           all costs and expenses incurred in connection with the recovery, repair, storage, and sale of the Vehicles, including any and all
                           attorneys' fees and legal expenses, (ii) all late charges and all interest accrued at the Default Rate (as hereinafter defined), and
                           (iii) all rent payments and other obligations of Lessee due and unpaid under the Lease as of the date of the sale or dispositioIL
                           As to each Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment after
                           expiration of the Initial Term are less than the TR.AC Residual amount for such Equipment as set forth in the Summary of
                           Lease Terms. then Lessee shall immediately pay to Lessor the amount of such deficiency as additional Rent hereunder. If the
                           Net Proceeds are in excess of the TRACResidual amount, then 100% of such excess shall be returned to Lessee as a reduction
                           in the Rent for such Equipment, provided, however, that Lessor shall be entitled to retain all or any portion of such amount to
                           satisfy any of Lessee's obligations under the Lease

                            Lessee hereby certifies, under penalty of perjury, that
                 (i)   Lessee intends that more than 50% of the use of the Equipment subject to this TRAC is to be used in a trade or business of the
                          Lessee,
                 (ii) Lessee has been advised by tax counsel or other tax advisor, and
                 (iii) Lessee understands and agrees that, Lessee will not be treated as the owner of the Equipment identified above for federal income
                          tax purposes.

                 B.          Sl.00 Buyout Lessee hereby unconditionally agrees to purchase all, but not less than all, of the Equipment for $1.00 upon
                           expiration of the Initial Tenn of the Lease. Lessee and Lessor agree that Lessee is o'Wller of the Equipment and shall file and
                           pay all license, registration fees, and documentary, saJe and use taxes, and persona] property taxes and all other taxes, fees and
                           charges relating to the o'WJlership, leasing. rental, sale, purchase, possession or use of the Equipment

                   With respect to any option upon expiration of the Initial Term of the Lease set forth herein, if written notice of Lessee's intention to
                   exercise such elected option is not received on a timely basis, then such failure shall constitute an Event of Default, and to the extent
                   that the Lessee fails to return to Lessor the Equipment in accordance with Section 7 hereof: Lessee agrees to pay a daily rental fee
                   equal to 150% of the daily Rent for each day that the Equipment is retained by Lessee; provided, however, such payments shall not
                   extend Lessee's right to have and use the Equipment beyond the Initial Term of the Lease as provided hereiIL Upon exercise of the
                   option elected by Lessee and payment in full by Lessee of any related purchase amount<:; and all Rent, Lessor will execute and deliver
                   to Lessee the title to the Vehicles, and any other documentation necessary to transfer title to Lessee. TIIlS SALE WILL BE
                   WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHETilER EXPRESS OR IMPLIED IN
                   FACT OR LAW and, Lessee will accept the Vehicles"AS IS'' and "WHERE IS".

               S. TAX INDEMNIFICATION. Except to the extent Section 4B is applicable upon expiration at the Initial Term, it is understood and
agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to such tax benefits that are available as owner of the Equipment through
depreciation of the total capitalized cost of the Equipment thereof for federal income tax purposes. In the event that Lessor suffers any loss,
disallowance, unavailability, or recapture of such depreciation for any reason whatsoever, then, after written notice thereof by Lessor to Lessee, Lessee
shall pay to Lessor an additional incremental amount payable on each date that the Basic Rent is thereafter due, which in the opinion of Lessor, will
cause Lessor's net after-tax annual cash flow and net after-tax rat.e of return respectively, that would have been available if Lessor had been entitled to
full utilization of the depreciatioIL In the event that any payment is required to be made pursuant to this Section 5, and such payment is to be made on
succeeding rent payment dates, but at such time this Lease shall have been terminated or Rent otherwise no longer sha11 be due and payable on the
remaining rent payment dates, Lessee shall promptly pay Lessor any amount equal to the incremental increase in Basic Rent which would have been
required if such tax loss had occurred immediately prior to the last rental payment date on or prior to the expiration or other termination of the Lease.
Lessor shall promptly notify Lessee of the commencement of any proceeding by the Internal Revenue Service in respect of any item as to which
indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable pursuant to this Section 5 shall survive the expiration
or other termination of this Lease.
               6. USE OF VEIDCLES. Lessee shall use the Vehicles only in its business and in compliance with all laws, rules, and regulations of any
jurisdiction where the Vehicles are used or located Lessee represents and warrants to Lessor at all times that (i) Lessee has the right and ability to enter
into this Lease; (ii) this Lease constitutes a valid. legal, and binding obligation and agreement of Lessee, enforceable against Lessee in accordance with
its terms; and (iii) that the entering into and performance of this Lease by Lessee will not result in a breach, violation, or default under any judgment,
order, law, regulation. loan, mortgage, agreement, indenture, or other instrument applicable to Lessee, or result in any breach of, or constitute a default
under, or result in the creation of any lien, charge, security interest, or other encumbrance upon the Vehicles pursuant to any instrument to which Lessee
is a party or by which it is bound. Lessee shall (i) use and operate the Vehicles in a careful and prudent manner for the purposes and in the manner
intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) shall pay for all maintenance of Vehicles
to keep them in good and efficient working order and condition during the Term of the Lease, including, but is not limited to, Lessee's supplying all
fuel, lubricants, and other parts, supplies, maintenance and services, and/or Lessee, upon Lessor's request, entering into a service and maintenance
agreement with Lessor or an affiliate of Lessor upon such terms and conditions provided by Lessor. After notice to Lessor, Lessee may, at its own
expense, make alterations or add attachments to the Vehicles, provided that such alterations or attachments are removable and do not reduce the value,
utility or useful life of the Vehicles. Upon the expiration or termination of the Lease, all alterations or attachments affixed to the Vehicles shall become
the property of Lessor if not removed, and if Lessee does remove such attachments, Lessee shall be liable to Lessofor any damage to the Vehicles as the
result of such removal. In the event that any federal, state, or local law, ordinance, rule or regulation shall require the installation of any additional
accessories to any of the Vehicles, including, but not limited to, anti-pollution and/or safety devices, or in the event that any other modifications to the
Vehicles shall be required by virtue of such law, ordinance, rule or regulation, then and in any of such events, Lessee shall pay the full cost thereof;.
including installation expenses. Lessor may, at its option. arrange for the installation of such Vehicles or the performance of such modifications, and
Lessee agrees to pay the full cost thereof immediately upon receipt of an invoice for the same
               7. SURRENDER. Upon either the (i) failure by Lessee to exercise any purchase option for any Vehicle set forth herein, or (ii) upon
demand by Lessor made pursuant to an Event of Default (as set forth in Section 19 hereof), Lessee shall, at its own expense, return such Vehicle to

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Lessor to such location within the continental United States as Lessor shall designate. in the same condition as when delivered, reasonable wear and tear
excepted and otherwise in the condition required by this Lease Upon return of the Vehicles, Lessor.or such entity designated by Lessor, shall perform a
physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated with the inspection., and
for any and all repairs necessary to place the Vehicles in the same condition as when delivered, reasonable wear and tear excepted and otherwise in the
condition required by this Lease.
               8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided that,_
upon the expiration or terinination of this Lease, and in the event that Lessee does not purchase the Vehicles pursuant to Section 4.B hereo( Lessee
shall, upon the request of Lessor and at Lessees expense, restore the Vehicles to original condition, ordinary wear and tear excepted
               9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES TI!AT LESSOR HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HAVE MADE, ANY EXPRESS OR IMPLIED WARRANTY AS TO MERCHANTABILITY, FITNESS FORANY PURPOSE OR USE,
DESIGN OR CONDITION OF VEHICLES, QUALITY OF MATERlAL OR WORKMANSHlP, OR AS TO ANY OTHER MATTER WHATSOEVER
RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
PUNITIVE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE THE VEHICLES, OR ANY INADEQUACY, DEFICIENCY, OR
DEFECT JN THE VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEHICLES "AS IS". Lessor agrees. to the extent possible and
without increasing its liability hereunder, and upon request, to assign to Lessee, any warranty of a manufacturer or seller relating to the Vehicles
available to Lessor, provided, however, that the foregoing rights shall automatically revert to Lessor upon the occurrence and during the continuance of
any Event of Default hereunder, or upon return of the Vehicles to Lessor. Lessee agrees to settle all claims with respect to the Vehicles directly with the
manufacturers thereof: and to give Lessor prompt notice of any such settlement and the details of such settlement
               IO. TITLE AND INSPECTION. Lessee, at its expense, shall protect and defend Lessor's title and keep it free of all claims and liens
except those claims and liens created by Lessor in connection with any assignment or financing by Lessor. Lessor may inspect the Vehicles at any time
without prior notice during regular business hours. If, at any time during the Term of this Lease, Lessor supplies Lessee with labels, plates or other
markings stating that the Vehicles are owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
               11. LICENSES. Lessee shall at its expense obtain all necessary 1icenses(including motor Vehicle plates) and registrations, required for the
use and operation of each Vehicle. All certificates of title or registration of each Vehicle shall name Lessor as the owner thereof
               12. INTERESTS IN VEIDCLES. Lessee's rights with respect to this Lease and any Vehicles leased hereunder will be subject to any
rights and interest in and to said Vehicles which may be granted by Lessor (or Lessor's affiliates) to any assignee or lender of Lessor (or Lessor's
affiliates). Lessor may assign to a lender or any other assignee all or any part of Lessor's rights hereunder, including a security interest in the Vehicles
and the right to receive rents and other sums due hereunder. Upon notice of such assignment in writing by a lender, assignee and/or Lessor, Lessee shall
pay all rents and other sums due or to become due under this Lease directly to such lender or assignee without set off, counterclaim, or any defense
whatsoever.
               13. TAXES. Lessee shall pay all personal property, sales or use taxes. business licenses, assessments, penalties, and charges which may be
levied or asserted with respect to the Vehicles (except income taxes levied on Jea.se payments to Lessor). In the event that any such taxes, licenses,
assessments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immediately after Lessor notifies Lessee in writing of the
amount of such taxes, licenses, assessments, penalties, charges or expenses pald by Lessor, as well as an administrative fee. Increases or decreases in
sales or use tax rates will affect all lease payments after the effective date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
harmless from and against any loss, cost or expense arising out of or relating toany such tax, import or levy, including, without limitation, any penalties,
interest and fines relating thereto.
               14. FINES. Lessee shall pay all fines due to overload, overlength, oven.veight, lack of plates or permits, speeding and any other charges
which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof The provisions of this Section 14 shall survive the expiration
or other termination of this Lease
               15. LOSS OR DAMAGE. Lessee shall bear the entire risk of loss, theft, destruction of or damage to any Vehicle from any cause
whatsoever ("Loss or Damage"), Lessee shall promptly notify Lessor in writing of any Loss or Damage. No Loss or Dainage to any Vehicles shall
relieve Lessee of any obligation withrespect to such Vehicle under this Lease. In the event of Loss or Damage, Lessee shall, at the option of Lessor: (a)
put such Vehicle in good condition and repair in accordance with the manufacturer's recommendations, and to the reasonable satisfaction of Lessor, at
Lessee's expense; (b) replace such Vehicle with a like Vehicle (same value, utility and useful life as damaged Vehicle) in good condition and repair as
approved by Lessor in Lessor's sole discretion with clear title thereto vested in Lessor; or (c) pay Lessor on or before the next rent payment date as set
forth in accordance with Section 3 hereof (such payment date, the "Loss Payment Date") in cash the sum of: (i) all amounts then due Lessor by Lessee
under the Lease relating to such Vehicle, which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
ofthe·TRAC Residual, if any, relating to such Vehicle (as set forth in the Summary of Lease Terms), discounted at 5.0% computed from the expiration
of the Initial Tenn of the Lease to the Loss Payment Date, plus (iii) an amount equal to the present value of the unpaid future remaining Rents for the
Initial Term of the Lease, relating to such Vehicle discounted at 5.0% computed from the scheduled payment dates for such Rents to the Loss Payment
Date (the "'Casualty Value Amount"). Upon receipt of the Casualty Value Amount set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
insurer) Lessor's interest in such Vehicle in its then condition and location, "AS IS" without any warranty whatsoever, express or implied. If Lessee is
required to repair any Vehicle in accordance with (a) above, or to replace any Vehicle in accordance with (b) above, the insurance proceeds actually
received by Lessor, if any, pursuant to Section 16 hereof shall be first applied to pay any amount<; then due under this Agreement, and then shall be paid
to Lessee upon proof satisfactory to Lessor that such repairs have been completed as required hereh(in the case of (a)), or of adequate purchase and title
documents in Lessor's sole discretion (in the case of (b)). In the event that Lessee is obligated to pay to Lessor the amount specified in (c) above, Lessee
shall be entitled to a credit against such amount equal to the amount of insurance proceeds actually received by Lessor, if any, pursuant to Section 16
hereof, on account of such Vehicle.
               16. INSURANCE. Lessee shall obtain and maintain insurance on or with respect to each Vehicle at its own expense and in the amounts
and forms satisfactory to Lessor. In no event shall any insurance coverage be less than the following: (a) physical damage insurance insuring against
loss or damage to the Vehicles in an amount not less then the full replacement value of such Vehicle; and (b)(i) in all States except Florida: (1) not
greater than $500 deductible for collision, fire, theft, and comprehensive. and (2) $500,000 combined single limit for bodily injury liability and property
damage; or (b)(ii) for the State of Florida: (1) not greater than $500 deductible for collision, fire, theft, and comprehensive, and (2) $250,000 per person
I $500,000 per incident bodily injury liability, and (3) $100,000 property damage liability. In addition, the following require $1,000,000 excess liability
coverage (umbrella): (a) truck/tractors over 45,000 lbs.; (b) trailers/semi~trailers; tow trucks; and (c) limo uses for livery. Lessee shall furnish Lessor
with a certificate of insurance evidencing issuance of such insurance to Lessee in at least the minimum amount required herein, naming Lessor and such
other parties designated by Lessor as additional insured thereunder for liability coverage, and as loss payee for property damage coverage. Each policy
shall require insurer to give Lessor30 days prior written notice of any material alteration in tennsof policy or cancellation thereof, and shall provide that
no action, misrepresentation or breach of warranty of Lessee shall invalidate the policy. If Lessee fails to provide such insurance, Lessor shall have the
right, but no duty, to obtain such insurance, and Lessee shall pay Lessor all costs thereo( including all costs incurred by Lessor in obtaining such
insurance together 'With interest at the Default Rate from the date paid by Lessor to the date paid in full by Lessee. Lessee shall not use any Vehicle if
the insurance required herein is not in full force and effect with respect to such Vehicle. Upon Loss or Damage as set forth in Section 15 hereof, Lessee
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shall receive credit for any amounts paid to Lessor by the insurer against Lessees obligations hereunder.
               17. JNDEMNITY. Lessee shall indemnify Lessor against,. and hold Lessor harmless from, any and all claims, actions, damages,
obligations, liabilities, liens (including any arising or imposed under the doctrines or strict liability in tort or product liability), and costs and expenses
(including attorneys fees), arising from or out of the manufacture, purchase, lease, possession, operation, condition, return, or use of the Vehicles, or by
operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assertion of any such claim, action, damage, ob1iga1ion, liability, or lien, Lessee, at Lessee's expense shall assume full
responsibility for the defense thereo( provided that Lessor shall have the right,. but not the obligation, to participate in any defense conducted by Lessee
without relieving Lessee of any of its obligations hereunder The provisions of this Section 17 shall survive tennination of this Lease
               18. ASSIGNMENT. Except as otherwise permitted herein, without Lessors prior written consent,. Lessee shall notassign, transfer, pledge,
hypothecate or otherwise dispose of this Lease, the Vehicles or any interest therein, or sublet or lend the Vehicles, or permit the Vehicles to be used by
anyone except Lessee or Lessees authorized employees. Lessor may assign this Lease or any interest therein in whole or part without notice to Lessee
               19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions which shall
constitute ''Events of Default'': (a) Lessee fails to pay any Rent or other amount when due; (b) Lessee fails to observe, keep or perform any other
covenant or provision of this Lease required to be observed, kept, or pelfonned, by Lessee; (c) Lessee removes, selfs, transfers, encumbers, creates a
security interest in, relinquishes possession of the Vehicles, or performs any act which impairs Lessor's title to any Vehicle or attempts any of the
foregoing; (d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lease; (e) Lessee fails to satisfy any traffic
ticket or summons or fails to register any Vehicle; (f) Lessee becomes insolvent, bankrupt or has a trustee or receiver appointed for Lessee or for a
substantial part of Lessee's property; (g) Lessee experiences a material change in its business or affairs (including termination of Lessee's employment
or termination of the contract under which Lessee provides services or a change in the control or ownership of Lessee or Lessee's employer or the party
with which Lessee contracts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the credit risk
involved therein; (h) Lessee attempts to assign this Lease without the consent of Lessor; or (i) Lessee fails to notify Lessor of any material change in its
business and affairs, including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
Inc. and its successors and assigns, the true and lawful attorney-in-fact of Lessee. with full power in the name of Lessee upon the occurrence of an Event
of Default, (i) to demand and receive any and all moneys and claims for moneys due in respect of or relating to the Equipment, (ii) to assign or transfer
any of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee to any replacement lessee hereunder and/or causing
any other person to become the registered owner of the Equipment) and (iii) to take any other action in respect of this Lease or any of the Equipment
Lessee ratifies and approves all acts of Bush Truck Leasing, Inc., as attorney-in-fact Bush Truck Leasing. Inc., as attorney-in-fact will not be liable for
any acts or omissions or errors of judgment or mistake of fact or Jaw. This power, being coupled with an interest, is irrevocable until a11 obligations
under this Lease have been fully satisfied
               20. REMEDIES. Upon the occurrence of any Event of Default, Lessor may declare this Lease to be in default, and at any time thereafter,
Lessor. at its option, may do any one or more of the following (a) cancel this Lease; (b) proceed by appropriate action to enforce performance of the
Lease at Lessee's expense or to recover damages (including attorneys fees) for the breach thereof; (c) demand that Lessee, and in such case the Lessee
shall, return all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) enter, with or without legal
process, Lessee's premises or any other premises where the Vehicles are located, and take possession of all or any part of the Vehicles without any
liability to Lessee by reason of such entry; (e) sell, lease, or otherwise dispose of all or any part of the Vehicles at a public or private sale, which may be
conducted where such Vehicles are then located; (f) demand that Lessee, and in such case Lessee shall, pay to Lessor as liquidated damages for Joss of a
bargain and not as a penalty an ammmt equal to the sum of (i) all amounts due and wipaid under the Lease (including without limitation any indemnity
obligations) plus interest thereon from the due date thereof at a per annum interest rate equal to the prime rate of interest then in effect as published in
the Wall Street Journal plus2.0% (the "Default Rate"), plus (ii) the present value of all future Rent payments for such Vehicles,discounted at 5.0%, plus
(iii) the present value of the TRAC Residual, if any, discounted at 5.0%, plus (iv) all costs and expenses incurred by Lessor in enforcing Lessor's rights
hereunder (including, without limitation, all costs of repossession, recovery, storage, repair, sale, re-lease, and attorneys' fees), together with interest
thereon at the Default Rate from the date of demand to the date of payment in full (the "Liquidated Damages"), or (g) exercise any other right or remedy
which may be available to Lessor under the Uniform Commercial Code or any other applicable law The proceeds of any sale or lease of the Vehicles by
Lessor shall be applied in the following order of priority (1) to pay all of Lessor's expenses in taking, holding, preparing for sale or lease, and disposing
of the Vehicles, including all attorneys fees and legal expenses, then (2) to pay any late charges and all interest accrued at the Default Rate; then (3) to
pay accrued but unpaid Rent payments, then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. Jfthe proceeds of
any sale or lease are not sufficient to pay the amounts owed to Lessor under this Lease, Lessee will pay the deficiency. Lessor may also, without
liability, take any personal property stored within the Vehicles and may store any such property at Lessee's expense for 30 days. Lessee will be
obligated to reclaim such property within 30 days and hereby waives any rights in such property thereafter. Any unclaimed property wil1 be deemed
abandoned after 30 days and will be discarded by Lessor, Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied to Lessee's
obligations under this Lease pursuant to this Section 20. Lessors remedies hereunder may be exercised instead of or in addition to any other legal or
equitable remedies. Lessor has the right to set off any sums received from any source (including insurance proceeds) against Lessee's obligations under
this Lease. Lessee waives its right to object to the notice of the time or place of sale or lease, and to the manner and place of any advertising therefore.
Lessee waives any defense based on statutes of limitations or Iaches in actions for damages. In case of failure by Lessee to pay any fees, assessments,
charges, or taxes arising with respect to the Vehicles, Lessor shall have the righ~ but not the obligation to pay such amounts, and in that event, the cost
thereof shall be payable by Lessee to Lessor upon demand, together with interest at the Default Rate from the date of disbursement by Lessor
               21. SECURITY DEPOSIT. The Security Deposit shall be held by Lessor during the entire Term of the Lease, including the Interim Term
and any renewal term, as security for the full payment and performance ofthe terms, conditions and obligations of Lessee hereunder and under any and
all Schedules. The Security Deposit shall not excuse the performance at the time and in the manner prescribed or any obligation of Lessee or cure a
default of Lessee. Lessor may, but shall not be required to, apply such Security Deposit towards discharge of any overdue obligation of Lessee. Lessor
shall be entitled to commingle the Security Deposit with any of its own funds. No Interest shall accrue on the Security Deposit and Lessor shall have no
liability to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations ofLessemnder the Lease, Lessee
shall, upon demand, pay to Lessor an amount necessary to return the Security Deposit to the sum specified above. In furtherance thereof, Lessee hereby
grants to Lessor a security interest in the cash comprising the Security Deposit from time to time and any and all interest thereon, together with the
proceeds thereof, to secure the prompt payment as and when due of all indebtedness, and the prompt performance as and when due of all obligations, of
Lessee now or hereafter required under the Lease. If no Default has then occurred, upon the expiration or earlier tennination of the Tenn of the Lease,
the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee
               22. SEVERABILITY. The invalidation of any provision or provisions of this Lease as unenforceable shall not operate to invalidate the
remainder of the Lease which shall remain in full force and effect
               23. NOTICES. All notices relating to this Lease shall be delivered in person to an officer of Lessor or Lessee or mailed to the respective
addresses shown above on the first page of this Lease, or to such address as otherwise specified in writing by the appropriate party hereto
               24. W AIYER. Lessor's forbearance of exercise of any right or remedy on Lessee's breach of any terms, covenants or conditions hereunder
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shall not be deemed a waiver of such right or remedy, the requirement of punctual perfonnance, or any of its remedies upon any other or subsequent
breach or default
              25. GOVERNJNG LAW. This Lease takes effect upon its acceptance and execution by Lessor, and shall be governed, interpreted and
construed under the laws of the State of Ohio. Ohio law shall prevail in the event of any conflict of law without regard to, and without giving effect to,
the application of choice of law rules. LESSEE WAIVES ALL RIGHTS TO TRIAL BY JURYIN ANY LITIGATIONARISINGFROM OR RELATED
TO THIS LEASE, AND LESSEE SUBMITS TO TIIB JURISDICTION OF THE FEDERAL DISTRJCT COURT FOR THE SO!JTHERN DISTRJCT
OF OHIO, OR ANY STATE COURT OF COMPETENT JURISDICTION WITHIN MONTGOMERY COUNTY, OHIO, AND WAIVES ANY RIGHT
TO ASSERT THAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT JS IN THE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.      WAIVER OF DAMAGES. Lessee waives to the fullest extentpermitted by law any right to or claim of any punitive, exemplary,
indirect, special, consequential. or incidental damages against Lessor. Lessee agrees that, in the event of a dispute, claim or controversy against Lessor,
Lessee shall be limited to the recovery of actual direct damages sustained by it, subject to any limibn direct damages set forth in this Lease. Lessee will
not accept or attempt to collect through the courts or otherwise any punitive, exemplmy, indirect, consequential, or incidental damages from Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee and their respective
successors and assigns permitted hereunder.
              28. FORCE MAJEURE. The obligations of Lessor hereunder shall be suspended to the extent that it is hindered or prevented from
complying therewith because of labor disturbanc,es, acts of God, fires, storms, accidents, failure of the manufacturer to deliver any of the Vehicles, court
order, governmental regulations, or other interference or any cause whatsoever not within the sole control of Lessor

                                                           [SIGNATURE PAGES FOLLOW]




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IN WITNESS \\'HEREOF, the parties hereto have entered into this Lease Agreement as oflhc dntc first above wriucn


                                                                                     LESSOR:




                                                                                               _ _s_._c_o_rn_ette
                                                                                     Narnc:_D_fa.na          ___
                                                                                               Vice President
                                                                                     Title:~~~~~~~~~~~~-




                                                                                     LESSEE: Sonet Transportation and             Logisti~   Joe,


                                                                                     ~y.r~
                                                                                     ~GNATURE




EQUIPMENT ACCEPTANCE
Lessee hereby confinns thal the Equipment bas boon delivered. duly assembled and in good working order and condition. Lessee confinns Urnt after a
reasonable opportunity to inspect the Equipment, it has solely selected. and unconditionally and incvocably 11ccepl:f:d the Equipmenl as-is. where-is for nl!
purposes of this Lease as of this date. ln lhc event that the Equipment is not delivered and flCCCptcU within thirty (30) days of Lessee's signing of this
Equipment Acceptance, Lessee hereby authorizes Lessor to increase the Payments to reflect any Lease rate increase applicable to the Lease




                                                                                     LESSEE: Sonet Transportation and Logistics Joe.



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                                                                                                                6961 Cintas Blvd
                                                                                                                Mason, OH 45040

                    TRUCK LEASING, INC.                                                                         800-766-2874
                                                                                                                www.bushtrucks.com
                                                                  LEASE AGREEMENT
                        Contract Date!          (., . ;)._ ;{ . ),, = I '.';"                        Lease ID No.           CLBC8500

                                                                                                                     "      _......
Individual Legal Name(ifapplicable);
Company Legal Name(if applicable}:      Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:NaHooal CityState:CA     Zip: 91950

Vehicle Year                               I Vehicle Make                          IVehicle Model                          I Vehicle Identification Number
201Z                                       I Freightliner                          I Cascadia                               j 1FUJGLBG3CLBC8500
          Refer to Schedule 1 of tills Le.aseAgnemenifor Equipment details in the eJ.•ent that 110 Equipme.n.t information appears above
. '''"' <l'.'-¢?%:0):~·;·2>JH'"''>·''~-''.•,,;;;:;:_;,;::;;:r\•.;;,:·;e\'5UMMAR'rt>f:'LEA5e'TERMS .. ,. ..          .'·, :::•\\:'·'' •• ,•. •\•o-:·:._ ' :·:_:. ' ..
Commencement                 Initial   Rental Periods Ni Total f  Down                Advance       Basic Rent           Doc. Fee     Security      End of Term
                                                       uwbero Payment+
Date & lst Bask.             Term                                                       or           (without                          Deposit        Option
                                                      Payments Taxes at                                Taxes)
   Rent Date                                                                          Arrears
                                                                 Closing
(. /      ·:..."15         36           MONTHLY              36        $1,500.00      Arrears        $2,036.67           $400.00        $0.00           TRAC
 ?f . I   --;,_~I   y   MONTHLY

If Option Upon EKpiration of Initial Term of Lease is TRAC under Sectioo4A herein, the «TRAC Residu:&.I" shall be $26,300.00

    THIS LEASE AGREEMENT ("Lease") is he~by entered into as of the Contract Dale above by and between BUSH TRUCK LEASING. lNC.
    ("Lessor"), and LESSI:E n:.ferenced above.

                  I. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee he.reby leases from Lessor, the Equipment described herein, together
    with all replacements. repairs and additions thereto (individually mid collectively, the "Vehi-clcs..) on the terms and conditions set forth in this Lease.
    Lessee ngrees that Lessee leases the Vehicles "ns-is", and confirms that as of tlle date of delivery of each Vehicle, such Vehicle is of tbe de~ign and
    manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
    has select~ the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements. reprt:sentations, Oll'l'lllTIUlties made by
    Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that 1he Vehicles identified.herein will be used for
    commercial purposes.
                  2. INITIAL TERM. The tenn of this Lease for each Vehicle shall commence on the Contract Date and shall contfnue for that number of
    months rrom the first (lst) day of the month following the Contract Date (unless the Contract Date is the first (1st} day of the rnonth, in which case the
    Contract Date shall be the date on which the term of this Lease commence!!) ("Commencement Date") each as set forth in the Summary of Lease Terms
    (such period as extended or sooner tenninated by Lessor as provided herein, the"Tcrm'').
                  J. RENT. The rental payment amount for each Vehicle bereunder(the "'"'Basic Rent") is set forth in the Summary of~ Tenns, Basic
    Rent on each Vehicle shall begin to ~ccnic on the Contract Date Md shall be due and pa)'ftble in U.S. dollars in immediately available funds by Lessee
    in advnn~ or arrears for the pirriods (eai,,'h a "Rental Period) and for the total number of payments as set forth in the Summary of Lease Terms, in each
    case, on the first day of each such Rental Period. [fthe Contract Date does not fall on the firsl day of the month, the rental for that period of time from
    the Contract Date until the Commencement Date shall be an emount equal to the daily rental (Basic Rent diviclcd by 7 days for Om:. Week, 14 days for
    One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the nun1ber of days from (and incl11ding) the Contract Date to
    (but not including) the Commencement Date and shall be due and payable on the Commencement Dille. Less~ shall pay all amounts other than Basic
    Rent Lessee is obligated to pay hereunder (the "Supplementul Rent" ood together whh Basic Rent, the "Rent") when due or if no date is specified
    herein, on demEIIld. Ifnny Rent payment is not made within five (5} days after its due daie., Lessee shall pay H late charge equal to the lesser of I 0% of
    the late rental payment amount, and the maximum amount permitted by law. LESSEE'S PA Y1vfENT OF RENT AND LESSEE'S PERFORMANCE
    OF ALL OTI!ER OBLIGATIONS ARE ABSOLUTE AND UNCONDITTONAL AND WITHOUT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
    WHATSOEVER, INCLUDING. BtIT NOT LlMlTED TO, ANY RIGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE
    AGAINST LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR. OR THE MANUFACTURER OF THE VEHICLES FOR
    ANY REASON WHATSOEVER. SPECIFICALLY INCLUDING, WITHOUT LrMITA TJON,ANY CLAIMS THAT LESSEE MAY HAVE AGAINST
    LESSOR, ANY OF LESSOR'S AFJ'ILIATES. OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO nm SERVJCE AND MAINTENANCE
    AGREEMENT REFERENCED IN SEC'i10N7 JiEREOF.
                  4. OPTION UPON EXPJRA TION OF INITIAL TERt\.f OF LEASE. Upon expiraHon of the Initial Term of the Lease, Lessee shall
    comply with the provisions of Clause A or B below, in either case, as specified in the Summary of Lease Terms

                        A,       Terminal Rental Adjutmeot Clause ("TRAC"). Le:u;ee agrees that there shall be an edjuetment of the Rent to be paid
                                  Lessor under the Lease for the Vehicles, II is presently anticipated that the fair marke1 value of 1hc Equipment (the
                                  ..Estimated Fair Market Value") will equal the TRAC R~idual set forth in the Summary of Lease Terms. Upon




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                        ex.piration of the Initial Tenn. Lessor will attempt to sell the Equipment lo the event that the Net Procwds .(as defined below)
                        are Jess than the Estimated fair Market Value, Lessee shall pay to Lessor the full amount of such shortfall If the Equipment
                        has not been sold on the last day of the Initial Term, then the Net Proceeds shall be deemed to be zero and Lessee shall
                        immediately pay to Lessor the TRAC Residual. lf the Lessor thereafter shall sell the Equipment, the Net Proceeds shall be
                        paid by Lessor to Lessee. Any such payment by either Lessee or Li:issor shall be de:emeci to be a Terminal Rental Adjustment
                        with respect to the Vehicles, Ju useO ncrein, "Net Proceeds" shall mean the proceeds received by Lessor, after deducting (i)
                        all costs and expenses incurred in connection with tlie recovery, repair, storage. and sale of the Vehicles, including any nnd all
                        attorneys' fees and legal expenses, (ii) all late charges and all interest accrued at the Default Rate (as hereinafter defined), and
                        {iii) an rent payments and other obligations of Lessee due and unpaid Jmder the Lease as of the date of the sale or disposition.
                        As to each Vehicle, if the Net Proceeds received by Lessor Lessor ftom the sale or other disposition of such Equipment after
                        expiration of the Jnitia\ Term are less than the TRAC Residual amount for such Equipmc.nt !IS set forth in the SummaJY of
                        Lease Terms., then Lessee shall immediately pay to Lessor the amount of such deficitmcy HS addllional Rent hereunder, If the
                        Net Proceeds are in excess of the TRACResiduaf amount, then l OOo/o of such ex:cess she.II be returned to Lessee as n reduction
                        in the Rent for such Equipment., provided. however, that Lessor .shall be entitled to retain all or any portion of such amount to
                        satisfy any of Lessee's obligations under the Lease
          - - - - - - - - · - - - · - · · - - - - - - - - - - - - - - -·-----····---- ····---··-···------------- -·······--···--·-····-·----·
                          Lessee hereby certifies, under penalty of perjury, that
               (i) Lessee intends that more than 50% of the 1ise of the Equipment subject to this TRAC is to be used in a trade or business of the
                        Lessee,
               (ii) Lessee has been advised by tax counsel or other lBx advisor, and
               (iii) Lessee understands and agrees that, Lessee will not be tr~tcd as the owner of the Equipment identified above for federal income
                        tax purposes:.

                  B.         Sl.00 Buyout. Lessee hereby unconditionally agrees to purchase all, but not less than all, of the Equipment for $1.00 upon
                           expiration of the fllitlal Tenn of the L~sc. Lessee and Lessor agree that Lessee is owner of the Equipment and shall file and
                           pny all license, registration fees, and documentary, sale and use taxes, and personal property iaxes and all other taxes, fees and
                           charges relating to lhc ownen;hip, leasing. rcnlal, sale. purchase, possession or use of the Equipment

                   With respect to any option upon expiration of the Initial Term of the Lease set forth herein, if written notice of Lessee's inlcntion to
                   exercise such elected option is not received on a timely basis, then such failure shall constitute an Event of Default, and to the extent
                   that the Lessee foils to re.tum to lM:sor the Equipm1mt in acrordance. with S~tion 7 hereof, Lessee f!grces to pay ll dflily rent.al fee
                   equal to 150% of the daily Rent for each day that the Equipment is retained by l~ssee; provided, however, such payments shuJJ nol
                   extend Lessee's right to have and use the Equipment beyond the Initial Term of the Lease as provided herein. Upon exercise of the
                   option elected by Lessee and payment in full by Lessee of any related purchase amounts 1md all Rent, Lessor will e')tCcute and deliver
                   to Lessee the tit1e to the Vehicles. and any other documentation necessmy to transfer title to Lessee. THJS SALE Wfi..L BE
                   WITiiOUT ANY REPRESENTATJON OR WARRANTY OF ANY KlND BY LESSOR, WHETHER EXPRESS OR IMPLIED JN
                   FACT OR LAW and, Lessee will accept the Vehicles"'AS JS" and "WHERE lS".

             5. TAX INDEMNIFICATION. Except to the extent Section 4B is applic1:1ble upon expiration at the Initial Term, it is understood md
agreed that Lessor is owner of the Equipment and that Lessor shuJJ be entitled to such tax benefits that are available a.s owner of the ilquipment through
depreciation of the total copitali7.ed cost of the Equipment thereof fur feclc.rnl income tax purposes. In the event that Lessor suffers any loss.
disallowance, unaYailabifity, or recapture of such depreciation for any reason whatsoever, then, after written notice thereof by Lessor to Lessee, Lessee
shall pay to Lessor an additional incremental amount payable on each date Iha! the Basic Rent is thereafter due. which in the opinion of Lessor. will
cause Lessor's net after-tax annual cash flow and net after-tax mte of return respectively, that woulcl have been availsble if Lessor had been entitled to
full utilization of the depre~iation Ln the event that any payment is required to be made pursuant to this Section 5, and such payment is to be ma.de on
succeeding ren1 payment dates,. but Bl such time this Lease shall have been ienninated or Rent otherwise no longer shall be due and payable on the
remaining rent payment dates., Lessee shall promptly pay Lessor any amount equal to the increment.al increase in Basic Rent which would have been
reqtdred if such tax loss had occurred immediately prior to the last nmtfll payment date oo or prior to the expiration or other termination of the LeBSe..
Lessor shall promptly notify Lcsscc of the commencement of any proceeding by the Internal Revenue Service in respect of any nem as to which
indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable pursuant to this Section 5 shall survive the expiration
or other tennination of this Lease.
               6. USE OF VEHICLES. Lessee shall use 1:4c Vehicles only in its business and in complianci; with fill laws, rules, and regulations of any
jurisdiction where the Vehicles are used or located. Lessee represents anc'I warrants to Lessor 111 all times that (i} Lessee has the right and ability to enter
into this Lease; (ii) this Lease constitutes a valid, legal, and binding. obligation and agreement of Lessee, enforceable against Lessee in accordance with
 its terms; nnd (Hi) that the entering into and performance of this Lease by Lessee will not result in a breach, violation, or default under any judgmenl,
order, law, regulation, loan, mortgage, agreement, indenture, or othCI" instrument applicable to Lessee, or result in any breach of, or constitute a default
under, or result in the creation of any Hen, charge, swurity interest, or other encumbrWlce upon the Vehicles pursuan1 to any instrument to which Lessee
 is a party or by which it is bound. Lessee shall (i) use 11t1d operate the Vehicles in a careful and prudent manner for the purposi:is and in the manner
intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) shall pay for all maintenance of Vehicles
to keep them in good and efficient working order and condition during the Term of the Lease, including, but is not limited to, Lessee's supplying all
fuel, lubricants, and other parts, supplies, maintenanci; and servic.es, and/or Lessee, upon Lessor's request, entering into a service and muintemmce
agreement with Lessor or an affiliate of Lessor upon such terms and conditie>ns provided by Lessor. After notice 1.0 Lessor, Lessee muy, at its own
expense, make alterations or add attachments to the Vehicles, provided that suob alterations or attachments are removable and do not reduce the value,
utility or useful life ofd1e Vehicles. Upon the expiration or tenninetion of the Lease. all alterations or .attachments affixed to the Vehicles shall become
the property of Lessor if not removed, and if Lessee does remove such attachments., Lessee shall be liable to Lessofor any damage to the Vehlc1es as the
re.sutt of such removal ln the event that any federal, slale, or local law, ordioancc, rule or regulation shall require the installation of any additional
 accessories to any of the Vehicles, including, but not limited to, anti..pollution and/or safety devices, or in the event that any other modifications to the
Vehicles sh.Bll be required by virtue of such law, ardinance., rule or :regulation., then and in any of such events, Lessee shall pay the full cost thereof,
including installation expenses. Lessor may, at tts option, arrange for the installation of such Vehicles or the performnnce of such modifications, and
Lessee agrees 10 pay the full cost thereof immecliately upon receipt of an invaice for the samB
               7. SURRENDER. Upon either the (i) failure by Lessee to ex.ercise any purchase option fur any Vehicle .sel fortll herein, or {ii) upon
demand by Lessor made pursuant to tm Event of Default (as sol forth in Section 19 hereof), Lessee shall, at its own expense, return such Vehicle to

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         Lessor lo such location within the continenlal United States as Lessor shall designate, in the same conditiol1 as when delivered. rnasonable wear and tear
         cxceplcd and olhcrWise in the condition required by this Lease Upon return of the Vehicles, Lessor, or such entity designated by Lessor, shall perfonn a
         physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated with the inspection. and
         for any !llld ~il repairs necessary to place the Vehicles in the same condition as when delivered. reasonable wear and te.ar excepted and otherwise in the
         condition required by this Lease
                          8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided lhal,
         upon the expiration or tennination of this Lease, and in the event that Lessee docs not purchase the Vehicles pursuant lo Section 4.!3 hereof, Lessee
         shall, upon the request of Lessor and at Lesset!s expense, restore the Vehicles to original condition, ordinary wear and tear excepted
                          9. WARRANTIES. LESSEE ACKNOWLEDGOS AND AGREES TI!AT LESSOR llAS NOT MADE. AND SHALL NOT BE
         DEEMED TO HAVE MADE. ANY EXPRESS OR lMPLtED WARRANTY AS TO MERCHANTABILITY, FITNESS PORANY PURPOSE OR USE.
         DESIGN OR CONDITION OF VEHICLES, QUALITY OF MATERIAL OR WORKMANSHIP, OR AS TO ANY OTIJER MATIER WHATSOEVER
         RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT. CONSEQUENTIAL, INCIDENT AL, OR
         PUNITIVE DAMAGES ARISING OUT OF TilE USE OR INABJLJTY TO USE THF. VEIBCLES, OR ANY INADEQUACY, DEFICIENCY, OR
         DEFECT IN THE VElllCLES. LESSEE AGREES THAT LESSEE LEASES Tl Ill VEHICLES "'AS JS", Lessor agrees, to the extent possible and
         ·without increasing its liability hereunder, and upon request, to assign lo Lessee, any warranty of a manufacturer or seller relating to the Vehicles
----~illle to Cessor, provided.,llowever, that me foregoing nghts shall aurnmaucally I'CV1,;tl cu U:ssw up011 the occurrence and dmi11g rile comi11ua11ce of
    .... anfEvcntOr Default }}efeUiidet, or up Oil retuiilOTTilC VClilCfos tOi..CSSoL-LCSSCe agrceSto Settle aff"clarms· -\Vith-·ieSpedTo "ffiC\tCliiCJCs·a1recoywithtl1e
         manufacturers thereof, and to give Lessor prompt notice of any such scUlcmcnt and the details of such settlement
                          10. TITLE AND INSPECTION. Lessee, at its expense, shall protect and defend Lessor's title and keep it free of all claims and liens
         except those claims and liens created by Lessor in connection with any assignment or financing by Lessor. Lessor may inspect 1hc Vehicles at any time
         without prior notice during regular business hours. lf, at any tin1e during the Tenn of this Lease, Lessor supplies Lc:ssec with labels, plates or other
         markings stating that the Vehicles are owned by Lessor, Lessee shell affix and keep the same in a prominent place on the Vchiclc:s
                          11. LICENSES. Lessee sball Bl its expense obtain all necessary Jicenses(im:luding motor Vehicle plates) and registrations. required for the
          use and opcra11on of each Vehicle. All certificates.of title or registration of each Vehicle shall name J.essor as the owner thereof
                          12. INTERESTS rN VEHICLES. Lessee's rights with respect to this Lease m1d any Vehicles leased hereunder will be subject to any
         rights and interest in and lo said Vehicles which may be granted by Lessor (or Lessor's affilia1ci;) to any B!:.-Signcc or lender of Lessor {or Lessor's
          affiliiiltes). Lessor may assign 10 a lender or any other assignee all or any part of Lessor's rights bcn:..under, including a security interest in the Vehicles
         and the right to receive rents and other sums due hereunder. Upon notice of such assignment in writing by a lender, assignee and/or Lessor, Lessee shall
          pay all rents and other sums due or to become due under this Lease directly to such lender or assignee wjthout set off, counterclaim., or any defense
          whatsoever.
                          13. TAXES. Lessee shall pay all personal property, sales or use laxes, business licenses. assessments, penalties, and charges which may b~
          levied or asserted with respect to the Vehicles (except income Wi:es levied on lease payments 10 Lessor). In the even! that any such taxes, licenses,
          asi;:essments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immcdialcly after I...cssor notifies Lessee in writing of the
          amount of such taxes, licenses, assessments, penalties, charges or expenses paid by Lessor, as well as an administrative fee. Jncrea-;cs or decreases in
          sales or use tax rates will affect all lease payments after the effective date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
          harmless from and against any loss, cost or expense arising out of or relating toany such tax, jmport or levy, including, without limitation, any penalties,
          interest and fines relating theretu
                          14. FINES. Lessee shall pay all fines due to overload. overlength, overweight, lack of plates or permits, speeding and any other charges
         which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof. The provisions of this Section 14 shall survive the expiration
          or othertennination oflhis Lease.
                          15. LOSS OR DAMAGE. Lessee shall bear the entire risk of loss, theft, destruction of or damage to any Vehicle from any cause
         whatsoever ("'l..oss or Damage"). Lessee shaJI promptly notify Lessor in \\riling of any Loss or Damage. No Loss or Damage to any Vehicles shall
          relieve Lessee of any obligation with respect lo such Vehicle under this Le~ In the. c.ven1 of Loss or Damage, Lessee shall, at the option of Lessor. (a)
          put such Vehicle in good condition and repair in accordance with the manufactureT's recommendations, and to the reasonable salisfaetion of Lessor, at
          Lessee'~ expense; (b) replace such Vehicle with a like Vehicle {same value, utility and useful life as damaged Vehicle) in good condition and repair· as
          approved by Lessor in Lessor's sole discretion with clear title !hereto vested in Lessor; or (c) pay Lessor on or before lhc next rent payment date as set
         forth jn acpordance with Section 3 hereof(sucll payment date. the "Loss Payment Datej in cash the sum of:(!) all amounls then due Lessor by Lessee
          under the Lease relating to suah Vehicle, ·which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
          of the TRAC Residual, if any, relating to such Vehicle (es set forth in the Summary of Lease Terms). discounted at 5.0% computed from the expiration
          of the Initial Term of the Lease to the Loss Payment Date. plus {iii) an amount equal to the present value of the unpaid future remaining Rents for the
          lnilial Term of the Lease, relating to such Vehicle discounted at 5.0"/ci computed from the scheduled payment dates for such Rents to the Loss Payment
          Date {the Lasuulty Value Amount"). Upon receipt of the Casualty Vahle Amounl set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
          insurer) Lessor's interest iri such Vehicle in its then condition and location, "AS IS"' without any warranty whatsoever, express or imp] ied. If I.essee is
          required to repair uny Vehicle in accordance with (a) above, or lo replace any Vehicle in accordance with (b) above, the insurance proceeds actually
          received by Lessor, if any, pursuant lo Section 16 hereof shall be first applied lo pay any amounts then due undt.-r this Agrecmcnt, and lhen shall be paid
          to Lessee upon proof satisfactory to Lessor that such repairs ha\•e been completed as required hereir(in the case of {a)), or of ade<.JUate purchase and title
          documents in 1.essor's sole discretion (in the case of(b)). In the even! I.hat Lessee is obligalcd to pay to Lesi;or the amounl specified in (c) above, Lessee
         shall be entitled to a credil against such E1IDOunt equal to the amount of insurance proceeds actually roceived by Lessor, if any~ pursuant to Section 16
          hereof, on account of such Vehicle
                          lfl. INSURANCE. Lessee shall obtain and maintain insurance on or with respect 10 each Vehicle at its own expense and in the amounts
          and forms satisfflclory to Lessor. In no event shall any insurance coverage be Jess than the following: (a) physical damage insurance. insuring against
          loss or damage lo the Vehicles in an amount not less than the full replacement va1uc of such Vehicle; and (b)(i) in 11\J Stali:s cx.1.-upt Florida: {I) not
          greater than $500 deduclible for collision, fire, theft, and comprehensive. and (2) $500,000 combined single limit for bodily injury liabi!ily and property
          damage; or (b)(ii) for the State ofFJorida: {1) not greater than $500 deductible for collision, fire, theft, and comprchcnslvc, and (2) $250,000 per person
          I $500,000 per incidem bodily injury liability, and (3) $100,000 property damag:e liability. In addition, the following require Sl ,000,000 excess liability
          coverage (un1brella): (a) truck/tractors over 45,000 lbs.; (b) trailers/semi-trailers; tow trucks; and (c) limo uses for livery. Lessee shall furnish Lessor
          with 11 t!enificatc of insurance evidencing issuance of such insurance to Lessee in at least the minimum amount required herein. naming Lessor and such
         othur panics designated by Lessor as additional insured thereunder for liability co\·emge. and as loss payee for property damage coverage. Each policy
         shall require insurer to give Lessor30 days prior written notice of any material alteration in tcnnsofpo!icy or cancellation thereof, and shall provide that
         no action, misrepresentation or breach of warranty of Lessee shall invalidate the policy. If Lessee fails to provide such insurance, Lessor shall have the
          right, bul no duty, to obtain such insurance, and Lessee shall pay Lessor all costs thereof, including all c:osts incurred b} Lessor in obtaining such
                                                                                                                                               1


          insurance togclhcr with interest at the Default Rate from the date paid by Lessor to the dare paid in full by Lessee. Lessee shall not use any Vehicle if
          the insurance required herehi is not in full force and effect with respect to such Vehicle. Upon Loss or Damage as set forth in Section 15 hereof, Lessee
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  shaII receive credn: for any amounts paid to Lessor by the insurer against Lessees obligations hcrcundet
                  17. INDEMNITY. Lessee shall indemnify Lessor against, and bold Lessor hannles.s from, any and all claims, actions, damages.
  obligations., liabiUties, liens (including any nrising or imposed tmder the doctrines or strict Hability in tort or product liability), and costs and expens~
  (including attorneys foes), arising from or out of !hr; manufacture. p1:1rchi!Se. lease. possession, operation, condition, return, or use of the Vehicles, or by
  operation of law, excluding however any of foregoing resulting solely from lhe gross negligence or willful misconduct of Lessor. Lessee agrees that
  upon written notice by 1..essorofassertion of any such clahn., action, damage, obligation, liability, or lien, Lessee, at Lessee's expense shall assume fulJ
  responsibility for the defense thereof, provided that Lessor shall have lhe right, but not the obligation, to participate in any defense conducted by Lessee
  without relieving Lessee of any of its obligations hereunder The provisions of this Section 17 shall survive termination of this Lease
                  18. ASSIGNMENT. Except as othe1v:ise pem1ittcd herein, without Lessofs prior written consent,. Les.see shall not assign, transfer, pledge,
  hypothccaie or otherwise dispose of this Lease, the Vehicles or any inti;:rest therein, or sublet or lend the Vehicles. or pennit the Vehicles lo be used by
  anyone except Lessee or Lessees authorized employees Lessor may assign this Leose or any imcrcst therein in whole or part without notice to Lessee
                  19. DEFAULT. Lessee shall be in default of this Lease upon the happening, of any of the following events or conditions which shall
  constitute "Events of Default": (a) Lessee fails to pay any Rent or other amount when due; (b) Lessee fails to observe, keep or perfonn any other
  covenant or provision of this Lease required to be observed,. kept, or performed, by Les.sec; (c) Lessee removes, sells, transfers, encumbers, creates a
  security interest i..il, relinquishes possession of the Vehicles, or perfonns tlllY act which impairs Lessor's title to any Vehicle or att.cmpts any of the
  foregoing; (d) Lessee makes a misrepresentation to Lesse>r of any matter or cov-enBllt connected with this Lease; {c) Lessee fails to satisfy any traffic
  hcket or sunune>ns or fi!ds to register any Vehicle: (f) Lessee'Oecomes insolvent, hllllkmptOrliiiS a trusteii"OI- receiver app6tniaTciri:::CsSCCOf10iR- ................ --
  substantial pru1 of Lessee's property; {g) Lessee experiences a material change in its business or uffairs (including termination of Lessee's employment
  or termination of the conh'act under which Lessee provides services or a change 1n the control or owncrahip of Lessee or Lessee1s employer or the pany
  witl1 which Lessee contracts to provide ~t:rvh:cs) which in Lessor's sole judgment impairs the security of any Vehicle or inc:rcascs the credit risk
  involved therein; (h) Lessee attempts to assign this Lease without the consent of Lessor; or (i) Lessee fails to notify Lessor of any material change in its
  business and affairs, including a change in I.ht! OY.71Crship or control of Lessee. Lessee hereby irrevocably itppoints and constitutes Bush Truck Leasing,
  Inc. and its successors and assigns, the true and la\"ful attomey-iir.fact of Les.sec, ·with full power in the name of Lessee upon the occurrence of an Event
  of DefEDlt,. (i) to demlll"ld and receive any and all moneys and claims for moneys due in respect: of or relating to the Equipment. (ii} to assign Ot transfer
  any ofLessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee to any replacement lessee hereunder and/or causing
  any otller person to become the regist.cred owner of the Equipment) and (iii) to take any other action in respect of this Lease or any of the Equipment
  Lessee ratifies and approves nJ[ acts of Bush Truck Leasing. Inc., as attorney-in-fuel Bush Truck Leasing, Inc., as auomey-in-fact will nol be liable for
  any acts or omissions or errors of judgment or rnisteke of fact or law. This power, being coupled with an interest, is irrevocable until aJI obligations
  under this Le;ase have been fully satisfied
                  20. REMEDIES. Upon the occurrence of any Event of Default, Lessor may declare this Lease to be in default. and at any time thereafter.
  Lessor, :at its option, may do any one or more of the following: (a) cancel this Lease; (b) proceed by appropriate 11.ction lo enforce performance of the
  Lease at Lessee's expense or to recover damages (including attorneys fees) for the breach thereof, (c) demand that Lessee, and in such Cl!SC the Lessee
  shall, return all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof, (d) enter, with or wjfuout legal
· process, Lessee's premises Clr MY other premises where the Vehicles are located, and take possession of all or a11y part of the Vehicles without any
   liat>ility to Lessee by reason of such entry. (c) sell, lease, or otherwise dispose of all or any part of the Vehicles at a public or private sale, which may be
   conducted where such Vehicles a.re ihen located; {f) demand that Lessee, and in such case Lessee shall, pay to Lessor as liquidated damages for loss of a
  bargain and not as a p~nalty an amount equal lo the sum of {i) all amounts due and unpaid under lhe Lease (including without limitation any indemnity
  obligations) plus interest thereon from the due date thereof at a per annum interest rate equal to the prime rate of interest then in effect as published in
  the Wall Street Journal plus2.0% (the "Default Rate"}, plus (ii) the present value of ail future Rent payments for such Vehicles,discounted at 5.0".!rt, plus
  (iii) the: present vWue of the TRAC Residual, if any, discounted at 5.00/-0,, plus (iv) all costs IUld expenses incurred by Lessor in enforcing Lessor's rights
  hereunder {including, without limitation, all costs oflepossession, recovery. storage, repair, sale, re-lease, and attorneys' ·fees), together with interest
  thereon at the Default Rate from the date of demand to the date ofpll.}'IDCnt in full (the "Liquidated Damages"), or {g) exercise any other right or remedy
  which may be available to Lessor under the Unifonn Commercial Code or any o-lhcr applicable law The proceeds of any sale or leas~ of the Vehicles by
  Lessor shall be applied in the following order of priority (1) to pay all of Lessor's expenses in taking, holding, preparing for sale or l~ase, and disposing
  of the Vehicles, including all atiomeys fees and legal expenses, then (2) to pay any late charges wd Wl interest accrued nl the Defeult Rate: then (3) to
  pay accrued but unpaid Rent PltYlllents, then (4) to pay my other lmpaid sums due under this Lease including Liquidated Damages. If the proceeds of
  any sale or lease are not sufficient to pay the amounts owed to Lessor under this Lease, Lessee wm pe:y the deficiency. Lessor may also, without
  liability, take any personal property stored within the Vehicles and may store any such property at Lessee's expense for 30 days. Lessee will be
   obligated to reclaim such property within 30 days and hereby waives any rights in such property therefil'ier. Any unclaimed property will be deemed
   abandoned aftbr 30 days and wilt be discarded by Lessor. Lessor's remedies hereunder shall be <mmulative. Any security deposit paid by Lessee to
  Lessor in connection wi1h this Lease shall be forfeited by Lessee upon the h11ppcning of nny Event of Default. and shall be applied to Lesse!i!'s
   obligations under this Lease pursuant to this Section 20. Lessor's remedies hereunder may be excroised instead of or in addition to any other legal or
   equitable remedies. Lessor has the right to set off any sums n:ceivcd from .any source (including insurance proceeds) against Lessee's obligal:ions under
   this Lease, Lessee waives its right to object to the ootice of the time or place ofsele or lease, and to the manner and place of ei1y advertising therefore.
   Lessee waives any defense based on statutes of limitations or laclles in actions for damages. In cese of fuiture by Lessee to pay any fees. assessments.
   charges, or taxes arising with respect to the Vehicles, Lessor shall have the right, but not lhe obligal.ion to pay such amounts. and in that event, the cost
   thereof shall be payable by Lessee to Lessor upon demand, logctbc:r with intere.st at th~ Default Rate from the date of disbur.>ernent by Lessor
                  :21. SECURITY DEPOSIT. The Security Deposit shall be held by Lessor during the entire Term of the Lease, including tbc Interim Term
   and an)"' renewal term, as securi1y for the full payment and perfonnance oftbe. tenns, conditions and obligations of Lessee hereunder and under any and
   all Schedules. The Security Deposit shall not excuse the performance at the time and in the manner prescribed or any obligation of Legsee or cure a
   default of Lessee Lessor may, but shall not be required to, apply such Security Deposit towards disi::hargc: of any overdue obligation of Lessee. Lessor
   shall be entitled to commingle the Securi1)' Deposit with any of its own funds. No Interest shall accrue on tbe Security Deposit and Lessor shall hsve no
   liability to aoooont to Lessee for any interest If Lessor shall apply any of the Security Deposit towards :my obligations ofLel>-sewnder the Lease, L=:ssee
   shall. upon demand, pay to Lessor B1l amount Decessary to return the Security Deposit to the sum specified above, In furtherance thereof, Lessee hereby
   grants to Lessor e. security interest in the ell.Sh comprising the Security Deposit from time to time and any 1md all inlcrest thereon, together with the
   proceeds thereof, to secure the prompt payment as and when due of all indebtedness, and the prompt performance as and when due of all obligations, of
   Lessee now or hereafter required under the LCBlle. If no Default has then occurred, upon the expiration or earlier termination of the Tenn of tht! Lease,
   the balance ofthe Security Deposit lhen held by Le1:sor shsll promptly be paid to Lessee
                  22. SEYERABILITY. 'The invalidation of any provision or provisions of this Lease as unenforceable shull not operate to invalidate the
   remainder of the Lease which shall remaln in full force and efiect
                  23. NOTJCES. All notices :relating to this Lease shall be delivered in person to an officer of Lessor or Lessee or mailed to the respective
   addresses shown above on the first page of this Lense, or to such address as otherwise specified in writing by the appropriate party heretD
                  24. 'V AfVER. Lessors forbearance ofcx.ercise of any right or remedy on Lessee's breach of any terms, -covenants or condillons hereunder
                                                                            Page 4 of6




                                                                                                                                                                           Exhibit A
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shall not be deemed a waiver of such right or remedy. the requirement of punctual performance, or any of hs remedies upon any other or subsequent
breach or default
              25. GOVERNING LAW, This Lease takes effect upon its acceptance and execution by Lessor, and shall be governed, inlcrpretcd and
constracd under the laws of the Sl!;lc of Ohio_ Ohio l11w shall prevail in the event of HnY conOict of law without re<'z:oB.rd to, and without giving eflCct to,
the application of choice of law rules. LESSEE WAIVES ALL R!GHTS TO TRlAl. BY JURYIN ANY LmGATJONARISJNG FROM OR RELATED
TO THIS LEASE, AND LESSEE SUBMITS TO THE JURlSD!CTION OF THE FEDERAL DISTRICT COURT FOR THE SOtmlERN DISTRICT
OF OHTO, OR ANY ST ATE COURT OF COMPETENT JURJSDICTIONWITHJNMONTGOMERY COUNTY, OHIO, AND WAIVES ANY RlGHT
TO ASSERT THAT ANY ACTION INSTJTUTEO BY LESSOR IN ANY SUCH COURT !S IN THE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.      W ATVER OF DAMAGES. Lessee waives to the fuUcst extentpermittcd by h1w uny right to or claim of any punitive, exemplary,
indirect. special, consequential, or im:idental damages against Lessor. Lessee agrees that. in the event of a. dispute, claim or cc:mtrovCJSy age.inst Lessor,
Lessee shall be limited to the recavery of actuW direct damages s~1aincd by it., subject to any limitm direct damages set forth in this Lease. Lessee. wiJI
not accept or attempt to co[lect through the courts or otherwise any punitive. exemplary. indirect, consequential, or incidental damages from Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee and their respective
successors and assigns permitted hereunder.
              28. FORCE MA.JEURE. The obligations or Lessor hereunder shall be suspended to the extent that it is hindered or ptevented from
compfymg th~Ili6~1JUSC oJ "laDo!OiSliiroiifiCes, 801.S       oraoa:nres.stonns, acc1Cleiii:s,liilure o1 "tfie manufaCfiifertti'deffYer-any OTih"FvaliCrcs,·coUrt ·--·-··-··--··-.-·-·-...
order, governmental regulations, or other interference or filly cause whatsoever not wjthin the sole control of Lessor

                                                              (SIGNATURE PAGES FOLLOW]




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                                                                                                                                                                              Exhibit A
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fN 'YTTNF..SS \\!HEREOF. the parties llerclo have entered inlO thi!i Lcas:c Agreement as of the date firsl above written


                                                                                    LESSOR:


                                                                                    By:         ~-'-~A0~
                                                                                               Jiana S. Cornemo

                                                                                    Title: _ _ _ _ _ _ _ _ _ _ __




                                                                                    LESSEE: Son et Transportation nnd Logistics I oc.




EQUIPMENT ACCEPTANCE
Lessee hereby confirms that the Equipment has been delivered, duly assembled and in good working order and condition. Lessee confirms that after a
reasonable opportunity to inspect the Equipment, il has solely selected, and unconditionally and irrevocably accepted the Uquipment as-is. where-is for all
purposes of this Lease as of this date. In the event that lhc Equipment is not delivered and accepted within thirty (30) days of Lessee's signing of ttiis
Equipment Acceptance., Lessee hereby authorizes Lessor to increase the Pa)·ments to reflect any Lease rate increase applicable to the Lease




                                                                                    LESSEE: Sonet Transportation and J,,ogistics Ine.



(X)Daled:        (" • ; - /      ';,r




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                                                                                                                                                              Exhibit A
                                                                                                                                                              Page 74
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                                                                                                              6961 Cintas Blvd
                                                                                                              Mason, OH 45040

                                                                                                              800-766-2874
                                                                                                              www.bushtrucks.com
                                                                LEASE AGREEMENT
                    Contract Date:           5 - '3. · .). " I S"                                   Lease ID No.          CLBC8501

                                                                           LESSEE
Individual Legal Name(ifapplicable):
Company Legal Name(ifapplicable):       Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA     Zip: 91950
                                                                        EQUIPMENT
Vehicle Year                           1Vehicle Make                             IVehicle Model                          IVehicle Identification Number
2012                                   l. Freightliner                           I Cascadia                              IIFUJGLBG5CLBC8501
      Refer to Schedule 1 of this Lease Agreement for Equipment details in the event that no Equipment information appears above
                                                SUMMARY OF LEASE TERMS.
                                               Total       Down
Commencement       Initial Rental Periods                             Advance Basic Rent          Doc Fee      Security End of Term
Date & 1st Basic                             Number of Payment+                      (without                  Deposit
                   Term                                                   or                                                 Option
                                             Payments     Taxes at
   Rent Date                                                           Arrears        Taxes)
                                                          Closing
&- I   ·:A~1..,           36          MONTHLY              36        $1,500.00       Arrears        $2,036.67         $400.00          $0.00           TRAC
                    MONTHLY
 7./.;J._ui-S-
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $26,300.00

   THIS LEASE AGREEMENT ("Lease") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
   ("Lessor"), and LESSEE referenced above.

                 1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
   with aJI replacements, repairs and additions thereto (individually and collectively, the "Vehicles") on the terms and conditions set forth in this Lease.
   Lessee agrees that Lessee leases the Vehicles "as-is", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
   manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
   has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements, representations, 01waITanties made by
   Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identifiedherein will be used for
   commercial purposes.
                 2. INTI1AL TERM. The term of this Lease for each Vehicle shall commence on the Contract Date and shall continue for that number of
   months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month, in which case the
   Contract Date shall be the date on which the term of this Lease commences) ("Commencement Date") each as set forth in the Summary of Lease Terms
   (such period as extended or sooner terminated by Lessor as provided herein, the''Terrn").
                 3. RENT. The rental payment amount for each Vehicle hereunder (the "Basic Renf') is set forth in the Summary of Lease Terms. Basic
   Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
   in advance or arrears for the periods (each a "Rental Period") and for the total number of payments as set forth in the Summary of Lease Terms, in each
   case, on the first day of each such Rental Period. If the Contract Date does not fall on the first day of the month, the rental for that period of time from
   the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
   One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Date to
   (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
   Rent Lessee is obligated to pay hereunder (the "Supplemental Renf' and together with Basic Rent. the ''Rent") when due or if no date is specified
   herein, on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of J 0% of
   the late rental payment amount, and the maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
   OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
   WHATSOEVER, INCLUDING, BUT NOT LIM1113D TO, ANY RJGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HA VE
   AGAINST LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF THE VEHICLES FOR
   ANY REASON WHATSOEVER, SPECIFICALLYINCLUDING, WITHOUT LIMITATION,ANY CLAIMS THAT LESSEE MAY HA VE AGAINST
   LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
   AGREEMENT REFERENCED IN SECTION7 HEREOF.
                 4. OPTION UPON EXPIRATION OF INITIAL TERM OF LEASE. Upon expiration of the Initial Term of the Lease, Lessee shall
   comply with the provisions of Clause A or B below, in either case, as specified in the Summary of Lease TenllS

                    A.         Terminal Rental Adjustment Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                                Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                                "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Terms. Upon




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                                                            expiration of the Initial Tenn, Lessor will attempt to sell the Equipment. ln the e\•ent that the Net Proceeds (as defined below}                           !
                                                            are less than the Estimated Fait Market Value, Lessee shall pay to Lessor the full .amount of such shortfall. lf the Equipment
                                                            has not been sold on the last day of the Initial Term, then the Net Proceeds shall be deemed to be zero and Lessee shall
                                                            immediately pay to Lessor the TRAC Residual. If the Lessor thereafter shall sell the Equipment. the Net Proceeds shall be
                                                            paid by Lessor to Lessee. Any such payment by either Lessee or Lessor shall be deemed to be a Terminal Rental Adjustment
                                                            with respect to the Vehicles. As used herein, "Net Proceeds" shall mean the proceeds received by Lessor, after deducting {i)
                                                            all costs and expenses ihcuned in connection with the recovery, repair, storage. and sale of the Vehicles, including any and all
                                                            attorneys' fees and legal expenses, {ii} all late charges and all interest accrued at the Defanlt Rate (as hereinafter defined), and
                                                            (iii) all rent payments and other obligations of Lessee due and unpaid under the Lease as of the date of the sale or disposition.
                                                            As to each Vehicle~ if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment after
                                                            expiration of the Initial Term are less than the TRAC Residual amount for such Equipment as set forth in the Sumrn.ary of
                                                            Lease Terms, then Lessee shall immediately pay to Lessor the amount of such deficiency as additional Rent h~under. If the
                                                            Net Proceeds are in excess of the TRACResidual mnount, then 100% of S\ICh excess shall be returned to Lessee as a reduction
                                                            in the Rent for such Equipment. provided, however, that Lessor shall be entitled to retain aJI or any portion of such amount to
                                                            sHtisfy any of Lessee's obligations under the Lease

                                                       Lessee hereby certifies, under penalty of perjury, Iha!:
                                            (i)   Lessee intends that more than 500/c of the use of the Equipment subject to this TR.AC is to he used in a trade or business of the
                                                     Lessee,
                                            (ii) Lessee has been advised by tax counsel or other tax advisor, and
                                            (iii) Lessee understands and agrees that, Lessee will not be treated as the owner of the Equipment identified above for federal income
                                                     tax pwposes.
                                                                                                                                                                                                                         ;,·
                                             B.               $1,00 Buyout. Lessee hereby unconditiom1lly agrees to purchase all, but not less than all, of the Equipment for $1.00 upon
                                                            expirntion of the Initial Term of the Lease. Lessee mid Lessor agn:e that Lessee is owner of the Equipment and shall file and
                                                            pay all license. registration fees, and doclllllentary, sale and use taxes, and personal property taxes and all other taxes1 fees and
                                                            charges relating to the ownership, leasing, rental, sale, purchase, possession or use oflhc Equipment

                                               With respect to any option upon expiration of the lnitia1 Term of the Lease set forth herein, if written notice of Lessee's intention to
                                               exercise such elected option is not received on a timely basis, then such failure shall constitute W1 Event of Default, and to the extent
                                               that the Lessee fails to return to Lessor the Equipment in accordance with S~tion 7-hereof, Lessee agre~ to pay a daily rental fee
                                               equal to 150% of the daily Reid for each day that the Equipment is retained by Lessee; provided, however, such peyments shall not
                                               extend U.S-see's right to have and use the Equipment beyond the Initial 1enn of the Lease as provided herein. Upon exercise of the
                                               option elected by Lessee and payment in full by Lessee of' any related purchase amounts and all Rent, Lessor will execute and deliver
                                               to Les.see the title to the Vehicles~ and any other documertlation necessary to transfer title to Lessee. THIS SALE WILL BE
                                               WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LBSSOR, WHETHER EXPRESS OR IMPLIED IN
                                               FACT OR LAWand, Lessee will Qccept tbeVehicles"AS IS" and "WHERE IS"'.                                   '

                               5, TAX INDEMNIFICATION. Except to the extent Section 4B is applicable upon expiration ai the Initial Tenn,. it is understood and
                  agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to such tax benefits that are available as owner of the Equipment through
                  depreciation of tQe total capitalized cost of the Equipment thereof for federal income tax. purposes. ln the event that Lessor suffers any loss.
                  disaJlowana; unavailability. or recapture of such depreciation fur any reason wha1soever, then, after written notice therrofby Lessor to LeSsee. Lessee
                  shatl pay to Lessor an additional incremental amount payable on each date that the Basic Rent is thereafter due, which in the opinion of Lessor. will
                  cause Lessor's net aftet-tax. annual cash flow and net after-tax rate of return rupectively, that woold have been available if Lessor had been entitled to
                  full utiliution of the cleprcciatiort In the event that any payment is required to be made pursuant to this Section 5, and such payment is to be made on
                  succeeding rent payment dates, but at such time this Lease shall have been tenninated or Rent otherwise no longer shall be due and payable on the
                  remaining rent payment dates. Lessee shall promptly pay Lessor any amount equal to the incremental increase in Basic Rent which would have been
                  required if such tax loss had occurred immediately prior to the last rental payment date on or prior to the expiration or other tennination of the Lease.
                  Lessor shall promptly notify Lessee of the commencement of any proceeding by the Internal Revenue Service in respect of any item as to which
                  indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable pursuant to this Section 5 shall survive the expiration
                  or other termination of this Lease
                                 6. USE OF VEIDCLES. Lessee shall use the Vehicles only in its bush:iess and in compliance with all laws, rules, and regulations of any
                  jurisdiction where the Vehicles arc used or loi~ated. Lessee n:prescnts and wammts to Lessor !l.t all times that (i} Lessee bas the right and ability to enter
                  into this Lease; (ii) this Lease constitutes a valid, legal, and binding obligatia.n and agreement of Lessee, enforceable against Lessee in accordanoo with
                  its terms; and {iii) that the entering into and perfonnance of this Lease by Lessee will not result in a breach, violation, or defu.ult unde.r any judgment,
                  order, Jaw, regulation, loan. mortgage, agreemen~ indenture, or other instrument applicable to Lessee, or result in any breach of. or constitute a default
                  under, or result in the creation of any lien, charge, security interest, or other encumbrance upon the Vehicles pursuant to any instrument to which Lessee
                   is a party or by which it is bound. Lessee shall (i) use and operate the Vehicles in a careful and prudent munner for the purposes and in the manner
                   intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) shall pay for all maintenance of Vehicles
                  to keep them in good and efficient working order and condition during the Tenn of the Lease, including. but is not limited to, Lessee's supplying aJl
                  fuel, lubricants, and other parts, supplies, maintenance and setvices, and/or Lessee, upon Lessor's request, entering Into a service nnd maintenance
                   agreement with Lessor or an affiliate of Lessor ut>on such tenns and conditions provided by Lessor. After notice to Lessor, Lessee may. at its own
                  expense. make alterations or add attachments to the Vehicles, provided that such aJterations or atlachments are removable end do not reduce the value,
                  utility or useful life of the Vehicles. Upon the expiration or tcnnination of the Lease• .all alterations or attachments affixed to the Vehicles shall become
                   the property of Lessor if not removed, and if Lessee does remove such attachments. Lessee shall be liable to Lessofbr any damage to the Vehicles as the
                   result of such removal. ln the event that any federal, state, or looal law, ordinance, rule or regulation shall require the installation of any additional
                   accessories to any of the Vehicles, including, but not limited to, anti-pollution and/or safety devices, or in the event that any other modifications to the
                   Vehicles shall be required by virtue of such law, ordinance, rule or regulation, then and in any of such events, Lessee shall pay the fut! cost thereof,
                   including installation expenses. Lessor may, at its op1ion, arrange for the installation of such Vehicles or the performance of such modifications, and
                  Lessee agrees to pay the fulJ cost thereof immediately upon receipt of an invoice for the same
                                 7. SURRENDER. Upon eitht=r the {i) failure by Lessee to .exercise any purchase op1ion for any Vehicle set forth herein, or (ii) upon
                   demand by Lessor made pursuant to an Event of Default (as set forth in Section 19 hereof), Lessee shall, at its own eX:pense, return such Vehicle to
                   Lessor to such location within the continental United States as Lessor shall designate, in the same condition as wlien delivered, reasonable wear and tear
                   excepted and othetWise in the condition required by this Lease Upon return of the Vehicles, Lessor, or such entity designated by Lessor, shall perform a

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                         physical and mechanical inspection ofthe Vehicles. Lessee shall be responsible for the payment of any end all costs associated with the inspection, end
                         for any and all repairs necessary to place the Vehicles in the same condition as when delivered, reasonable wear and ~ar excepted and otherwise in the
                         condition required by Ibis Leas~
                                        8. PAINT.ING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia; provided that..
                         upon the expiration or tennination of this Lease, and in the event that Lessee does not purchase the Vehicles pursuant to Section 4.B hereof, Lessee
                         shall,, upon the request of Lessor and at Lessees expense, restore tile Vehicles to original condition, ordinary wear and tear excepted
                                        9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE, M'D SHALL NOT BE
                         DEEMED TO HAVE MADE, ANY EXPRESS OR J]\l!PLIED WARRANTY AS TO MERCHANTABJLlTY, PlTNESS FORANY PURPOSE OR USE,
                         DESIGN OR COND!T!ON OF VEHICLES, QUALITY OF MATERJAL OR WORKMANSHIP, OR AS TO ANY OTHER MATTER WHATSOEVER
                         RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
                         PUNlTIVB DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE THE VEIIlCLES, OR ANY INADEQUACY, DEFICIENCY, OR
                         DEFECT IN TifE VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEHICLES ..AS IS". Lessor agrees. to the extent possible and
                         without increasing its liability hereunder. and upon request, lD assign to Lessee, any warranty of a manufacturer or seller relating to the Vehicles
                         available to Lessor. provided, however. that the foregoing rights shall automatically revert to Lessor upon the occurrence and during the continuance of
                         any Event of Default hereunder. or upon return of the Vehicles to Lessor. Lessee agrees lo settli: all claims with rospi::ct to the Vehicles directly with the
                         manufacturers thereof, and to give Lessor prompt notice of any such settlement and the details of such settlement"
                                        10. TITLE AND INSPECTION. Lessee, at its expense, shall protect and defend Lessor's title and keep it free of all claims and liens
                          except those cJaims and liens created by Lessor in connection with any assignment or financing b}' Lessor. Lessor may inspect the Vehicles at any tin1e
                         without prior notice during regulnr business hours. ~ at any time during the Tem1 of this Lease. Lessor supplies Lessee with labels, plates or other
                          markings stating thnt tbe Vehicles are owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
                                         11, LICENSES. Lessee shall at its expense obtain all necessary Hcensus(including motor Vehicle plates) and registrations, required for the
                          use and operation of each Vehicle. All certificates of title or registration of each Vehicle shall name Lessor as the owner thereof
                                         12, INTERESTS IN VEHICLES. Lessee's rights with respect to this Lease and any Vehicles leased hereunder will be subject to any
                         rights and interest in and to said Vehicles which may be granled by Lesso.r (of Lessor's affiliates) to any assignee or lender of LessGr (or Lessor's
                         affiliates). Lessor may assign to a lender or any other assignee all or any pBJ1 of Lessor's rights hereunder, including a security interest in the Vehicles
                          and the right to receive rents and othersums due hereunder. Upon notice of such assignment h1 writing by a lender, assignee and/or Lessor. Lessee shall
                          pay a11 rents and other sutns due or to become due under this Lease directly to such lender or assignee without set of( countcrolaiin, or any defense
                          whatsoever.
                                         13. TAXES. Lessee shall pay all personal property, sales or use taxes, business licenses, assessments, penalties, and charges which may be
                          levied or asserted with respect to the Vehicles (exeept income taxes le\'ied on lease payments to Lessor). In the event that any such taxes, licenses,
                          assessments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immediately after Lessor notifies Lessee in writing of the
                          amount of such taxes, licenses, assessments, penalties, charges or expenses paid by Lessor. as well as an administrative fee. Increases or decreases in
                         sales or use tax rates will affect all lea$ payments after the effective date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
                         harmless from and against ~y loss, oost or expense arising out of or relating toany such tax, import or levy, including, without limitation, any penalties,
                          inte~sc and fines relating thereto.
                                         14. FINES. Lessee shall pay all fines due to overload, overlength, overweight, lack of plates or pennits, speeding and any other charges
                          which may be imposed or assessed in respect to the Vebie1es and/or Lessee's use thereof The provisions of this Section 14 shall survive the ex-piration
                          or other termination of this Lease.
                                         IS. LOSS OR DAMAGE. Lessee shall bear the entire risk or loss, theft, destruction of or damage to any Vehicle from any cause
                          whatsoever ("Loss or Oiimage''). Lessee shall promptly notify Lessor in writing of any Loss or Damage. No Loss or Damage to any Vehicles shall
                          relieve Lessee of any obligation withrespect to such Vehicle under this Lease. In the event of Loss or Damage, Les;:ee shall, at the option of Lessor: (a)
                          put such Vehicle in good condition and repair in accordance \vith the manufacturer's recommendations, and to the reasonable satisfaction of Lessor, at
                          Lessee's expense; (h) replace such Vehicle with a like Vehicle {same value, utility and mleful life as damaged Vehicle) in good condition and repair as
                          approved by Lessor in Lessor's sole discretion with clear title thereto vested in Lessor; or (c) pay Lessor on or tiefore the ne>i..'t rent payment date as set
                          forth in accordance with Section 3 hereof (such payment date, the "Loss Payment Date") in cash the sam of (i) all amounts then due Lessor by Lessee
                          under the Lease relating to such Vehicle, which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
                          of the TRAC Residual. if any, relating to such Vehicle (as set forth in the Summary of Lease Terms), discounted at 5.0% computed from the expiration
                          of the Initial Tenn of the Lease to the Loss Payment Date, plus (iii) an amount equal to the present value of the 'unpllid future remaining Rents for the
                          Initial Tenn oflhe Lease, relating to such Vehicle discounted at 5.o<'/o computed from the scheduled payment dates for such Rents to the Loss Pcyment
                          Date (the "Casualty Value Amouritj. Upon receipt of the Casualty Value Amount ~t forth in (c) above, Lessor shall assign to Lessee (or Lessee's
                          insurer) Lessor's interest in such Vehicle in its then condition and location, ..AS JS" without any wammty whatsoever, express or implied. If Lessee is
                          required to repair any Vehicle in accordance with (a) above, or to replace any Vehicle in accordance with {b) above, the insurance proceeds actually
                          received by Lessor, if any, pmsuant to Section 16 hereof shall be first applied to pay any amounts then due under this Agreement, and then shall be paid
                          to Lessee upon proof satisfilctory to Lessor that such repairs have been completed as required hereir(in the case of(a)), or of adequ&m purchase and title
                          documents in Lessor's sole discretion {in the cnse of (b)). In the event that Lessee is obligated to pay to Lessor the amount specified in (c) ~bove, Lessee
                          shall be entitled to a credit against such amount equnl to the amount of insurance proceeds actually received by Lessor, if any, :pursuant to Section 16
                          hereof, on account of such Vehicle.
                                         16. INSURANCE. Lessee shall obtain and maintuin insurance on or with n:spect to each Vehicle at its own expense and in the amounts
                          and fomis satisfactory to Lessor. In no event shall any insurance coverage be less lhnu the following (a) physical damage insurance insuring against
                          loss or damage to the Vehicles in an amount not less tlum the full replacement value of such Vehicle; and (b)(i) in all States except Florida: (1) not
                          greaterthllll $500 deductible for collision, fire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injmy liability and property
                          damage~ Gr (b)(ii) for the State of Florida: (I) not greater than $500 deductible for collision, fire, theft, arid comprehensive,, and (2) $250,000 per person
                          I $1,000,000 per incident bodily injwy liability, and (3) $100~000 property damage liability. In additio~ the following require $1,000,000 excess
                          liability coverage (umbrella): (a) truck/tractors over 45,000 lbs.; (b) tmilen/semi-trailers; tow trucks; and (c) limo uses for livery. Lessee shall fun1ish
                          Lessor with a certificate of insurance evidencing issuance of such insurance 1.o Lessee in at least the minimum amount required herein, naming Lessor
                          and such other parties designated by Lessor as additional insured thereunder for liability coverage, and as loss payee for property damage coverage.
                          Each policy shall require insurer to give Lessor30 days prior written notice or any material alteration in terms of policy or cancellation thereof, and shall
                          provide that no action, misrepresentation or breach of warranty of Lessee shall invalidate the policy. IfLes:s~ fails to provide such insurance, Lessor
                          shall have the right,. but no duty, to obtain such insurance, and Lessee shall pay Lessor all rosts thereof, including all rosts incurred by Lessor in
                          obtaining.such insurance together with interest at the Default R<Ue li:am the date paiil by Lessor to the date paid in full by Lessee. Lessee shall not use
                          any Vehicle if the insurance required herein is not in full force and effect with respect to such Vehicle. Upon Loss or Drunage as set forth in Sectlon 1S
                          hereof, Lessee shall receive credit for any amounts paid to Lessor by the insurer against Lesses obligations hereunder.
                                         17. JNDEMNlTY. Lessee shall indemnify Lessor against, and hold Lessor harmless from, any and all claims, actions, damages,
                          obligations, liabilities, liens (including any arising or imposed under the doctrines or strict liability in tort or product liability), and costs and expenses
                          (including attorneys fees), arising from or out of the manufacture, purchase, lease, possession, operation, condition. return, or use of the Vehicles, or by
                                                                                                    Page3 of6




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P.'°-~S::X:..~•:N;-.,:;:::s~;;;~~.<-;:::;:.;·~-;-;:::;".""=">:."i-::;;:o~r   "?~~::;}5-'.'._"}.,......X'--v.'.?~';-:;'.zt:l'   l"'.~<::·~,:;:.:.~...~~   ::;~:;r.~'S~E""""."1~9'-<~~;~~~~~~~·T'   ~~~];~:.(""""-~

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                                                                                                                                                                                                               f'
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                            operation of Jaw, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
                            upon written notice by Lessor of assertion of any such claim, action. damage, obligation, liability, or lien, Lessee, at Lessee's expense shall assume fuH
                            responsibility for the defense thereof. provided that Lessor shall have the right.. but not the obligation, b:i participate in any defense conducted by Lessee
                            without relieving Lessee of any of its obliga1ions hereunder The provisions of this Section 17 shall survive termination of this Lease
                                           18. ASSIGNMENT. Exa:pt as othenvise pem'litted herein, withoutLessofs prior written consent, Lessee shall not assign, transfer, pledge,
                            hypothecate or otherwise dispose or this Lease, the Vehicles or any interest therein, or sublet or lend the Vehicles, or permit the Vehicles to be used by
                            anyone ei.:cept Lessee or Lesserls authorized employees. Lessor may assign this lease or any interest therein. in whole or part without notice to Lessee
                                           19, DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the follo{ving events or conditions which shall
                            constitute ~·Events of Default'1: (a) Lessee fails to pay any Rent or other amount when due; (b) Lessee fails- tu observe, keep or perf01m any other
                            covenant or provision of this Lease required to be observed. kl:))i;. or performed, by Lessee; (c) Less.ec removes, sells, transfers, encumbers, creates a
                            security interest in, relinquishes possession of the Vehicles, or pi!rfonns any act which impairs Lessor's title to uny Vehicle or attempts any of the
                            foregoing; (d) Lessee mabs a misrepresentation to Lessor of any matter or covenant connected with this Lease; (e) Lessee fails to satisfy any traffic
                            ticket ot summons or fails to rcgist~ any Vehicle; (fJ Lessee becomes insolvent, bankrupt or has a trustee or receiver appointed for Lcsi;ec or for a
                            substantial part of Lessee's property; (g) Lessee experiences a m&tcria1 change in its business or affairs (including tennination of Lessee's employment
                            or termination of the contract under which Lessee provides services or a change in the control or ownership of Lessee or Lessee's employer or the party
                            with which Lessee contracts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the credit risk
                            involved therein; (11) Lessee attempts to assign this Lease without the consent -of Lessor; or (i) Lessee fails lo notify Lessor of any material change in its
                            business and affairs~ including a change in the ownership or conlrol of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
                            Inc, and its successors and assigns, the true and lawful attorney-in-fact of Lessee, with full power in the name of Lessee upon the occurrence of an Event
                            of Default, (i) to demand and receive any and all moneys and claims for moneys due in respect of or relating to the Equipment, (ii) to assign or transfer
                            any ofLessec·s rights under this Lease or in the Eqt1ipment (mcluding assigning the rights of Lessee to any replacement lessee hereunder and/or causing
                            any other person to become the registered owner of the Equipment) and (iii) to take any other action in respect of this Lcnse or any of the Equipment
                            Lessee ratifies and approves all acts of Bush Truck Le~ing, Inc., as attomey·in~fact. Bush Truck Leasing, Inc., as attorney-in-fact will not be liable for
                            any acts or on1issions or errors of judgment or mistake of fact or law. l'his power, being coupled 'vith an interest, is in-evocable until an obligations
                            under this Lease have been fully satisfied                                                                                                                                          [·:
                                           20. REMEDIES. Upon the occurrence of any Event of Default, Lessor may declare this Lease to be in default, and at any time theteafter,
                            Lessor, al its option, may do any one or more of the following; (a) cancel this Lease; (b) proceed by appropriate action to enforce performance of the
                            Lease at Lessee'$ expense or to recover damages {including attorneys fees) for the breach thereof: (c) demand that Lessee, and in such case the Lessee
                            shaft, return alf or any part of the Vehicles promptly in the manner required by .and in accordfltlce with Section 7 hereof, (d) enter. with or without legal
                            process, Lessee's premises or any other premises where the Vehicles are located, and take possession of all or any pan of the Vehicles without any
                            liability to Lessee by reason of such entry; (e) sell, lease, or otherwjsedisposeof all or any part of the Vehicles at a public or private sale, which may be
                            conducted where such Vehicles are then located; (f) demand that Lessee, and in such case Lessee she.l~ pay to Lessor as liqi:idated damages for loss of a
                            bargain and not as a penalty an amount equal to the sum of (i) all amounts due Wld unpaid under the Lease (including without limitation any indemnity
                            obligations) plus interest thereon from the due date thereof at a per annum interest rate equal to the prime rate of interest then in effect as published in
                            the Wall Street Journal plus2.0% (the "Default Ratej, plus (il) the present value of all future :Rent payments for Such Vehicles,di~unted at 5.0%. plus
                            (iii) the present value of the TRAC Residual, if any, discounted at 5.00.4, plus (iv) an costs and expenses .incurred by Lessor in enforcing Lessor's rights
                            hereunder (including, without limitation, all rosts of repossession,, recovery, storage, repair, sale, re-lease, and atloroeys• fees), together with interest
                            thereon at the Default Rate from the date of demand t~ ~'\date of payment in full (the "Liquidated Damages'') or (g) exercise any other right or remedy
                                                                                                                                                                      7

                             which may be available to Lessor under the \.Jnifonn.~·~:Pl · ercial Code or any otl1er applicable law The proceeds of any sale or lease of the Vehicles by
                            Lessor shall be applied in the foliowing order of · · -                        Lessofs e>..'Penses in taking. holding, preparing for sale or Jease, and disposing
                            of the Vehicles, including all atlomeys fees and                              to pay any late charges and all interest accrued at the De.fault Rate;; then (3) to
                            pay accrued but unpaid Rent payments, then (4)                          unpaid sums due under this Lease including Liquidated Damages, lfthe proceeds of
                            any sale or lease are not sufficient to pay the amounts owed to Lessor under thii: Lease, Lessee will pay the deficiency. Lessor may also, withont
                            liability, take any personal property stored within the Vehicles and may store any such property at Lessee's expense for 30 days. Lessee wilt be
                            obligated to reclaim such property within 30 days and hereby waives any rights in such property thereafter. Any unclaimed property will be deemed
                            abandoned after 30 days and will be discarded by Lessor. Lessor's remedies horeunder shall be cumulative. Any security deposit paid by Lessee to
                            Lessor in connection with this Lease shall be forfeited by Lessee npon the happening of any Event of Defitult~ and shall be applied to Lessee•s
                            obligations under this Lease pursuant to this Section 20. Lessor's remedies hereunder ma.y be exercised instead of or in addition to any other legal or
                            equitable remedies. Lessor has the right to set off any sums received from any source (including insurance proceeds) against Lessee's obligations under
                            this Lease. Lessee waives its right to object to the.notice of the time or place:-of sa1e or lease, and to the manner and place of any advertising therefore.
                            Lessee waives any defense based on sl"aiutes of limitations or !aches in actions for damages, In case of fuilurc by Lessee to pay any fees, assessments,
                            charges, or taxes arising with respect to the Vehicles, Lessor shall have the right, but not the obligation to pay such amnunts, and in that event, the cost
                             thereof shall be payable by Lessee to Lessor upon demand, togethet with interest at the Default Rate from the date of disbursement by Lessor
                                            '.21. SECURITY DEPOSIT. The Security Deposit .shall be held by Lessor during the entire Term of the Lease, including the Interim Term
                            and any renewal term, as .security for the full payment and performance of the terms. conditions and obligations of Lessee hereunder and under any and
                            all Schedules. The Security Deposit shall not excuse the perfonnance at the time and in the manner prescribed or any obligation of Lessee or cure a
                            default of Lessee. Lessor may. but shall not be required to, apply such Security Deposit towards discharge of any overdue obligation of Lessee. Lessor
                            shall be entitled to commingle the Security Deposit with any of its own funds. No Interest shall accrue on the Security Deposit and Lessor shall have no
                            liability to ai:;count 10 Lessee for any interest If Lessor .shall apply any of the Security Deposit towards any obligations ofLe.ss~wn<ler the Lease, Lessee
                             sh~ll. up-on dctnan~ pay to Lessor an amount necc.ssary to return the Security Deposit to the swn specified above. In furtherance thereof:, Lessee hereby
                             grants to Lessor a security interest in tbe cash comprising the Security Deposit from time to time and any and all interest thereon, together with the
                             proceeds thereof, to secure the prompt payment as and when due of all indebtedness, and the prompt pcrfonnance as and when due of all obligations, of
                             Lessee OO\V or hereafter required t1nder the Lease. If no Default has then occurred, upon the expiration or earlier tennination of the Tenn of the Lease.
                             the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee
                                             22. SEVERA.BILITY. The invalidation of any provision or provisions of lhis Lease as unenforceable shall not operate to invalidate the
                             remainder of the Lease which shall remain in full force and effect
                                             23, NOTICES. AU notices relating to this Lease shall be delivered in person to an officer of Lessor or Lessee or mailed to tJ1e respective
                             addresses shown above on the first page of this Lease, or to sueh address as otherwise specified in writing by the appropriate party hereto
                                             24. \V AIVER. Lessor's forbearance of exi::rclse of any right or remedy on Lessee's breach of any terms, covenants or conditions hereunder
                            shall not be deemed a waiver of such right or remedy, the requirement of punctual perfunnmlcc, or any of its remedies upon any other or subsequent
                             breach or default
                                             25. GOVERNING LAW. This Lease takes effect upon its acceptance and execution by Lessor, and shall be govemed, interpreted and
                             construed under the laws of the State of Delaware. Delav.-are law shall prevail in the event of any conflict of law without regard to, and without giving
                             effect to, the application of choice of law rules. LESSEE WAlVES ALL RIGHTS TO TRIAL BY JURY IN ANY LlTIGATIONARlSJNG FROM OR
                             RELATED TO THIS LEASE, AND LESSEE SUBMITS TO THE JURISDICTION OF DELAWARE, AND WAIVES ANY RlGHT TO ASSERT
                                                                                                                                         Page4 of6




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THAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT IS IN TIIB IMPROPER VENUE OR SHOULD BE TRANSFERRED TC
A MORE CONVENIENT FORUM
             26.      WAIVER OF DAMAGES. Lessee waives to the fullest extentpermitted by law any right to or claim of any punitive, exemplary,
indirect. special, oonsequenti<ll, or incidental damages against Lessor. Lessee agrees that, in the event of a dispute, claim or controversy against Lessor,
Lessee shall be limited to the recovery of actual direct damages sustained by it, subject to any limiDn direct damages set forth in this Lease. Lessee will
not accept or attempt to cotlect through the courts or otherwise any punitive, exemplary, indirect, consequential, or incidental damages from Lessor
             27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee and their respective
successors and assigns permitted hereunder.
             28. FORCE MAJEURE. The obligations of Lessor hereunder shall be suspended to the extent that it is hindered or prevented from
complying therewith because of labor disturbances. acts of God, fires, stom'IS1 accidents, failure {)fthe manufacturer to deliver any of the Vehicles, court
order, govemmonlal regulations, or other interference or any cause whatsoever not within the sole control ofLcsSor

                                                           JSIGNATURE PAGES FOLLOW]




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JN WITNESS WHEREOF, the parties hereto have entered into this Lcnse Agreement as of the date first above written


                                                                                     LESSOR:


                                                                                     By:

                                                                                     Name: Diana S              Csm~~

                                                                                     Title:     Vice President




                                                                                     LESSEE: Sonet Transportation and Logistics Ine.


                                                                                      ~sy::CALW
                                                                                         /SIGNATURE




EQUIPMENT ACCEPTANCE
Lessee hereby confirms that the Equipment has been delivered, duly assembled and in good worldng order and condition. Lessee conflnns that after a
re~onablc opportunity to inspect the Equipment. it has solely selec.tcd,, and unconditionally and irrevocably accepted the Equipment Bli·ill, where-is for all
purposes of this Lease as of this date, In the event that the Eguipment is not delivered and accepted within thirty (30) days of Lessce~s signing of this
Equipment Acceptance, Lessee hereby aulhorizes Lessor tD increase the Payments to reflect any Le8.$e rate increase applicable to the Lease




                                                                                                           '
                                                                                      LESSEE= Sooet Transpo?ation and Logistics Inc.


(X)Datcd:                                                                             fXJBy:
                                                                                      ~~
                                                                                                   ~4~1J.t



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                                                                                                                      6961 Cintas Blvd

4)BUSH
~                    TRUCK LEASING, INC.
                                                                                                                      Mason, OH 45040

                                                                                                                      800-766-2874
                                                                                                                      www.bushtrucks.com
                                                                           LEASE AGREEMENT
                               Contract Date:          7                                                    Lease ID No.          CLBC8667


lndividual Legal Name(if applicable):
Company Lega] Name(ifapplicable):       Sonet Transportation and Logistics fnc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA     Zip: 91950

Vehicle Year                                       I Vehicle Make                         IVehicle Model                         IVebic1e Identification Number
2012                                               I Freightliner                         ICascadia                              I lFUJGLBG6CLBCR667
         llefer to Schedule I of this Lease Agreement for Equipment deillils in the event that no Equipme11t Information appears obove
~"'"['i:d"f~,i¥;~;p; :~:!fUi£ii<i'ci.;~::)\\:L:'':'i'.'''i.:•;./::.;:;5\;j}.iiMAkY'.'ot:t:EAsE.'irERMS'!;.:;\\:';(:;c.;;:;<i:' :(.:;;:\~·<''~':);;':Ci•.'\.: \:::'H%/;i::•:
                                                                   Total         Down
Commencement                        Initial    Rental Periods                                 Advance       Basic Rent        l>e>c Fee     Security      End of Term
                                                                Number of Payment+                                                           Deposit
Date & 1st Basic                    Term                                                        or           (without                                         Option
                                                                Payments   Taxes at
     Rent Date                                                                                Arrears         Taxes)
                                                                                Closing

 9        ·')_-v{~                36            MONTHLY              36        Sl,500.00      Arrears        $2,036.67        $400.00         $0.00           TRAC
 <].       '),.,_...:> j ' )   MONTHLY

If Option Upon Expiration of Initial Term of Lease is TRAC pnder Section4A herein, the "TRAC Resid'1al" shall be $26,300.00

     THIS LEASE AGREEMEl\7 ("'Leasej is hereby entered inio as of the: Contract Date above by and between BUSH TRUCK LEASING, INC.
     ("Lessor"),"..,~""d \f...ESSEE referenced above.
                 .· ,,,_)
                 ~~-  ·GRANT OF LEASE. Lt$sor hereby leases to Lessee, and Lessee hereby leases from Lessor. the Equipment described herein. together
     with all ~cC ents, repairs and additions thereto {individually nnd collectively, the "Vehicles) on the terms Md conditioru; set forth in thi:> Lease.
     Lessee agre'Cs at Le!!See leases the Vehicles "es-is", and confirms that ns of the date of delivery of each Vehicle, such Veobicle is of the design and
     manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respccix. Lessee further confums that it
     has sc.Jeeted the Vehicles on the basis of ilS own judgment. and expressly disclaims reliance llpcm ttn)' statements. representations, O!i\'ammties made hy
     Lessor, and Lessee acknowledges thnt Lessor i.s not the numuf~r of the Vehicles Lessee certifies that the Vehicles identified herein will be used for
     commerc:iW purposes.
                  2. INITIAL TERM. The term of this Lease for each Vehicle stlall commence on the Contract Date and shall conti11ue for that number of
     months from the first (lst) day of the month following the Contract Date (unless the Contract Date is the first {lst) day oftlic month, in which case the
     Contract Date shall be the date on which the term of this Lease commences) ("Commencement Date") each as set forth in the Summary of Lease Tcnns
     (such period as ex.tendOO or sooner terminated by Lessor as provided herein, the°'Term").
                  3. RENT. The rental payment amount for each Vehicle hereunder {the ..Basic Rent) is set forth in the Summary of Leese TL-rms. Basic
     Ren1 on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available fonds by Lessee
     jn advance or arrears for the periods (each a "Rental Period") and for the total number of payments as set forth in the Summary of Lease Terms, in each
     case, on the first day of each sucb Rental Period If the Contract Date docs not fall on the first d.Eo• of the month, the rental fur that period of time from
     the Contrnct Date until the Comn1enccmenl Date shall be an amowtt equal tn the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
     One Biweekly and 30 days for One Month Rental Periods, as applicable), multi.plied by the number of days from (and including) the Contract Date tD
     {but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
     Rent Lessee is obligated lo pay hereunder (the "Supplemental Renf' and together with Basic Rent, the "Rent'') when due or if no date is sp~ified
     herein, on demand. If any Rent payment is not made within five (5) days after its due dim:, Lessee shall pay !l lttte charge equal to the lesser of 10%1 of
     the late rental payment amount,. and the maximum amount permitted by law. LESSEE'S PAYMENT OF RE.NT AND LESSEE'S PERFORMANCE
     OF ALL OTIIBR OBLIGATIONS ARE ABSOLUTE AND rn•cONDffiONALAND WITHOUT SET OFF, COUNTERCLAIM. OR ANY DEFENSE
     WHATSOEVER. INCLUDING, BUT NOT LIMITED TO, ANY RJGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE
     AGAINST LESSOR, ANY OF LESSOR'S AFFILJA TES, ANY ASSIGNEE OF LESSOR, OR TilE MANUFACTURER OF THE VEHICLES FOR
     ANY REASON WHATSOEVER. SPECIF!CALLYTNCLUD!NG, WITHOlIT LIMITATION, ANY CLAIMS IBAT LESSEE MAY HA VE AGAINST
     LESSOR, ANY OF LESSOR'S AFPJL!ATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECr TO THE SERVlCE AND MAINTENANCE
     AGREEMENT REFERENCED JN SECI10N7 HEREOF.
                   4. OP'nON UPON EXPIRATION OF INITIAL 'fERM OF LEASE. Upon expiration of the lniti.al Tt!rm of the I.ease, Lessee shall
     comply ·with the provisions ofChruse A or B below, in either case, as specified in tlle Summery of Lease Terms

                               A.        Terminal Rental Adjustme11t Clause e'TRAC"). Lessee ngrees that there shall be an adjustment of the Rent to be paid
                                          Lessor under the Le.use for the Vehicles. lt is presently anticipated that the fair market value of the Equipment {the
                                          "Estimated Fair Market VWuej will equs.I the TRAC Residual set forth In the Summary of Lease Term;. Upon




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                           explration of the Initial Tenn. Lessor will attempt to se.11 the Equipment ln the event that the Net Proceeds (as defined below)
                           arc less than the Estimated Fair Market Value, Lessee shall pay to Lessor the full amount of such shortfWI. If the Equipmenl
                           has not been sold on !he last day of the Initial Term, then the Net Proceeds shall be deemed to be zero and Lessee shall
                           immcttiately pay to Lessor the TRAC Residual. If the Lessor thereafter shall sell the Equipment, the Net Proceeds shall be
                           paid by Lessorto Lessee. Any such payment by either Lessee or Lessor shall be deemed to be a Terminal Rental Adjustmenl
                           \\'1th respect to the Vehicles. As used herein, "Net Proceeds" shall mean the proceeds received by Lessor. after deducting (i)
                           all costs and expenses incurred in connection with the recovery, repnir, storage, and sale of the Vehicles, lncloding. any and all
                           attorneys' fees and legal expenses, (ii) all late charges and all interest nccrued al the Defaull Rate (as hereinafter defined), and
                           (iii) all rent payments and other obligations of Lessee due and unpaid under the Lcusc as of th!! date cf the sull! or disposition.
                           A!, to each Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment after
                           expiration of the Initial Tenn are less than the TRAC Residual amount for such Equipment as set forth in the Summary of
                           Lease Tenn.s, "then Lessee sha[l immediately pay to Lessor the irmount of such deficiency as additional Rent hereunder. ff the
                           Net Proceeds are in excess of the TRACResidual amount. then I 000./Q of sucll excess shall be returned to Lessee as a R:duction
                           in the Rent for such Equipment, provided, however, that Lessor shall be entitled to retain all or any portion of such amount to
                           satisfy any of Lessee's obligations under the Lea..~
                               Le~~~~~;~-ert_ili_es_.-u-nd-or-pcnalty of perjury, ~-at---···-··--·-·-·                      ..... ·········-··--··-·-           ···-···------··--·   ···-1
                        Lessee intends that more than 50% of the use of the Equipment subject to this TRAC is to be used in a trade or business of the
                           Lessee,
                  (ii} Lessee bas been advised by tax counsel or other tax advisor, and
                  (iii) Lessee understands and agrees that, Lessee will not be treated as the owner of the Equipment identified above for federal income
                           tax purposes.

                  B.         Sl.00 Buyout. Lessee hereby unconditionally agrees to purchase all, but not less than all, of the Equipment for $1.00 upon
                           expiration of the Initial Tenn of the Lease.. Lessee and Lessor agree that Lessee is owner of the Equipment nnd shall file 11nd
                           pay all license, registration fees, and documentary, sale and use taxes, and personal property lID:es and all other taxes, fees and
                           charges relating to the ownership, leasing, rental, sale, purchese, possession or use of the Equipmeni

                   With respect to any option upon expiration of the Initial Tenn of the Lease set forth heroin, if writte:n notice of l,essee's intention to
                   exercise such elected option is not rccciv{;d on a timely basis, then such failure shall constilutc an Event of Default, und to the extenl
                   that the Lessee fails to return to Lessor the Equipment in ac.rordancc with Section 7 hereof, Lessee ngrees to pay a daily rental fee                                 i



                                                                                                                                                                                             ~
                   equal to 150% of the daily Rent for each day that the Equipment is retained by Lessee; provided, however, such payments shall not
                   extend Lessee's rigllt to have and use the Equipment beyond the Initial T~ of the Lease as provided herein. Upon exercise of the
                   option elected by Lessee and payment in full by Lessee of any related purchase amourns and all Rent, Lessor will execute and deliver
                   to Lessee the litle to the Vehicl~ and any other documentation necessary to transfer title to Lessee. THIS SALE \V1LL BE
                   WITHOUT ANY REPRESENTATION OR WARRANTY Of ANY KIND BY LESSOR, WHETHER EXPRESS OR JMPl.lED JN                                                                              I
                   FACT OR LAW and, Lessee will accept the VehiclesuAS IS" and "WHERE IS"'.                                                                                                  j
                                                                                                                                                                                             !
             5, TAX INDE1tfNJFICATJON. Except to the extent Section 4B is applicable upon expiration .at the Initial Term, it is understood and
agn:ed that Lessor is owner of the Equipment and that Lessor shalt be entitled to such tax beneflts that me t1Vailt1ble as owner of lhe Equipment through
depreciation of the total capitalized cost of the Equipment thereof for federuJ income tBx purposes. In the event that Lessor suffers any loss,                                              :.
disal\owance,. unavailability. or recapture of such depreciation for any reason whatsoever, then, after written notice lhcrcofby Lessor to Lessee, Lessee
shall pay to Lessor an additional incremental amount payable on each date that the Basic Rent is thereafter due, which in the opinion of Lessor, will
cause Lessor's net after-tax. annual cash flow and net nfter--tax. rate of return respectively, that wourd have been available if Lessor had been entitled to
full utilization of the depreciation 1n the event that imy payment is required to be made pursUHD.I to this Section 5, Wld such payment is to be made on
succeeding rent payment dales, but at such time this Lease shall have been terminated or R{lllt otherwise no longer shall be due and payable on the
remaining rent payment dates, Lessee shall promptly pay Lessor imy amount equal to the incremental increase in Basic Rent which would have been
required if such tux loss had occurred immediately prior to the last rentRI payment date on or prior to the expiration or other terrni1U1tion of the Lease.
Lessor shall promptly notify Lessee of the commencement of any proceeding by the Jntemal Revenue Service in respect of any item as to which                                                  !;
indemnity is sought hereunder. Lessee's agreement to pay any sums which mey become payable pursuant to this Section S shall survive the expiration                                           'j
or other tennination ofth[s Lease.
               6. USE OF VEHlCLES. Lessee shall use the Vehicles only in its business and in compliance with all laws, rules, ancl regulations of any
jurisdiction where the Vehicks are uged or located. Lessee :represents and warrants to Lessor al all times that (i) Lessee has the right and ability to enter
 into this Lease; (ii) this Lease constitutes a valid, legal, arid binding obligation E!ld agn:emcnt of Lessee, enforceable against Lessee in accordance with
its tenm; and {iii) that the entering into and performance of this Lease by Lessee will no! result in a breach, violation, or defaull under any judgment,
order, law, regulation, loan, mortgage, agreement, indenture. or other instrument applicable to Lessee, or result in any breach of, or constitute a default
under, or result in the creation of any lien, charge, security interest, or other encnmbrancc upon tbe Vehicles pursuant to any lnslrumcnt lo which Lessee
 is a party or by which it is bound. Lessee shall (i} use and operate the Vehicles in a cW""Cful Hild prudent manner for the purposes and in d1e manner
 intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) shall pay for all maintenance of Vehicles
 to keep them in good and efficient working order and condition daring the Term of the Lease, including, but is not limited to, Lessee's supplying all
fuel, lubricants, and other parts, supplies, maintenance and services. and/or Lessee, upon Lessor's request, entering into a service and maintenance
 agreement with Lessor or an affiliate of Lessor upon such terms and conditiOJls provided by Lessor. After notice to Lessor, Lessee may, at lts own
 expense., make alterations or t1dd ntta.chments to the Vehicles:. provided that such alterations or attachments are remDVable and do not reduce the value,
 utility or useful life of the Vehicles. Upon the expiration or lennination of the Lease, all a11erntions or attachments affix.ed to the Vellicles shall become
 the property ofLessor if not removed, and if Lessee does remove. such attachments, Lesse:e shall be liable to l.essofor any damage to th~ Vehicles as the
 result of such n:moval ln the event that any federal, state, or local law. ordinance, rule or regulation sl1all require the installation of any additional
 accessories to any off.he Vehicles, including, but not limited to, anti-pollution and/or safuty devices, or in the event that any other modificatir>ns lo the
 Vehlcles shall be required by virtue of such law, ordinance, rule or regulation. then and in any of such e"ents, Lessee shall pay the full cost thereof,
 including. installation expenset. Lessor niay, at its option, arrange for the installation of such Vehicles or the performance of such modifications. and
 Lessee agrees to pay the full cost thereof immediately upon receipt of an invoice for the same
               7. SURRENDER. Upon either the {i} fmlure by Lessee to exercise any purchase option for any Vehicle set forth herein, or (ii) upon
 demand by Lessor made pursuant to an Event of Default (as set forth in Section 19 hereof}, Lessee shalt, at its own expense, return such Vehicle to

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                                                                                                                                                                             Exhibit A
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Lessor to such location wjthin the continental United States as Lessor shall designate, in the same condition as wben delivered, reasonable wear and tear
excepted and otherwise in the condition required by this Lease Upon return of the Vehicles, Lessor.or such entity designated by Lessor, shWI perfonn a
physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated with the inspection, and
for any and all repairs necessary to place the Vehicles in the same condition as v,ihen delivered, reasonable wear and tear exctpted and olherwise in the
condition required by this Lease.
                                                                                                                                                                                 1.·
                                                                                                                                                                                 ;

                                                                                                                                                                                 ;::
             8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix udvertising or identifying insignia, provided that,
upon the. ex.piration or termination of this Lease., and in the event thai Lessee docs not purchase the Vehicles pursuant to Section 4.B hereof: Les.see
shall, upon the request of Lessor .and at Lesscds expense, restore the Vehicles to original condition. ordinary wear and tear cxctlpted
                9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HAVE MADE, ANY EXPRESS OR IMPLIED WARRANTY AS TO MERCHANTABILITY, FITNESS POAANY PURPOSE OR USE,
DESIGN OR CONDITION OF VEHICLES, QUALITY OF MATERIAL OR WORKMANSHIP, OR AS TO ANY OTHER MA TIER WHATSOEVER
RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT. CONSEQUENTIAL, INCIDENTAL, OR
PUNITIVE DAMAGES ARISING OUT OF THE USE OR INABILfl-Y TO USE THE VEHICLES, OR ANY INADEQUACY, DEFICIENCY, OR
DEFECT TN THE VEHICLES. LESSEE AGREES TiiAT LESSEE LEASES TI-IE VEHICLES ..AS JS", Lessor agrees. to I.he extent possible and
vrithout increasing its liability hereunder, and upon request, to assign to L.essee, any warranty of a manufacturor or seller relating to the Vehicles
available to Lessor, provided, however, that the foregoing righ~ sha11 automaticall~ revert Lo Lc.ssor upon thi:. occurren~ and during the continuance of
any Event of Defiiult hereu""iiOer, or upon return of the Vehicles to Lessor. Lessee agrees io·-seftlCliJICTiiiinS.WiiilrC"SpeciiOihe VcfoclcS"drrcctly wifli"ffie----·--..--·--'.:
manufacturers thereof, and to give Lessor prompt notice of any such settlement and the details of such settlement
                10. TITLE AND INSPECTION. Lessee, at its ~pensc, sha1l protect and defend Lessor's title and keep jt free of all claims and liens
except those claims and liens creati:d by Lessor in connection with any assignment or financing by Lessor. Lessor may inspect the Vehicles at any time
without prior notice during regular business houn;:_ If, et any time during tlle Term of this Lease, Lessor supplies Lessee ·with labels, plates or other
markings stating thal the Vehicles are owned by Lessor, Lessee shall afftx and keep the same in a prominent place on the Vehicles
                11. LICENSES. Lessee shall at its expense. obtain all n~sary lic:enses(including motor Vehicle plateS) and registrations, required for the
use and operation of each Vehicle; All certificates of title or registration of each Vehiclt~ shell name Lessor as the owner thereof
                12. INTERESTS IN VEHJCLF..S. Lessee's rights with respect to this Lease and any Vehicles lensed hereunder will be subject to any
rights rutd interest in mid to said Vehicles which may be granted by Lessor {or J...essor's affilialt:s} to any assign~ or lender of Lessor (or Lessor's
affiliates). Lessor may assign to a lender or any other assignee all or any pmt of Lessor's rights hereunder, including a security interest in the Vehicles
n11d the right to receive rents and other sums due hereunder. Upon notice of such assignment in writing by a lt:nder, assignee and/or Lessor. Lessee shall
pay all rents and other sums due or to become due under this Lease directly to such lender or assignee without set off, counlerclaim, or any defense
whatsoever.
                13. TAXES. Lessee shall pay all personal property, sales or use taxes, business licenses, assessments, penaltie:s, and charges which may be
levied or asserted with respect to lhe Vehicles {except income taxes levied on lease payments to Lessor). ln the: evenl that any such taxes., licenses,
assessments, penalties:, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immediately after Les:s:or notifi~ Lessee in writing of the
amount of such taxes, licenses, assessments, penalties, charges or expenses paid by Lessor, as well as an administrative fee.. Increases or decreases in
sales or use tax rates will affect all lease paymenlS after the effective date of the ch1U1ge by the taxing authority. Lessee shall indemnify and ho1d Lessor
harmless from and against any loss, cost or expense arising out of or relating toany such tax, import or levy, including, without fimita1ion, any penalties,
interest and fines relating thereto
                14. FJNES. Lessee shall pay all fines due to overload, ovcrkmglh, ovenveigbt,. lack of plales or pennits, speeding and any other charges
which may be lmposed or assessed in respect to the Vehicles and/or Lessee's use thereof The provisions of this Section 14 shall survive the expiration
or other tennination of this Lease.
                15. LOSS OR DAMAGE. Lessee shall bear the entire risk of loss, theft, destruction of or damage to any Vehicle from any cause
whatsoever ("'Loss or Damage"). Lessee shall promptly notify Lessor in ·writing of any Loss or Damage. No Loss or Damage to any Vehicles shall
relieve Lessee of any obligalion wilhrespect to such Vehicle under this Lease. In the event of Loss or Damage, l.essee shall, at the option of Lessor: (a)
put such Vehicle in good condition and repair in accordance "\'liith the manufacturer's recommendations, and to the reasonable satisfaction of Lessor, at
Lessee's expense; (b) replace such Vehicle with 11 like Vehicle {same value, utility and useful life as damaged Vehicle) in good condition and repair as
approved by Lessor in Lessor's sole discretion with clear title thereto vested in Lessor; or (c) pay Lessor on or before the next rent paymcnl date as set
forth in accordance with Section 3 hereof (s:uch payment da~. I.he "Loss Paytnent Date") in cruih the sum of (i) all amounts then due Lessor by Lessee
under the Lease relating to such Vehicle, which amounts shall be proraled through the Loss Payment Date, plus (ii) an amount equal to the present value
of d>e TRAC Residual, if any, relating to such Vehicle (as set forth in the Summary of Lease Tcnns), discounted at 5.0% computed from the expiration
of the Initial Term of the Lease to the Loss Payment Date, plus (iii) an amount equal to the present v.aluc of the unpaid future remaining Rents for the
lnitial Term of the Lease. relating to such Vehicle disoounred at 5.0% computed from the scheduled payment dates for such Rents to the Loss Payment
Date (the ..Casualty Value Atnounf'}. Upon receipt of the Casualty Value Amount set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
insurer) Lessor's interest in such Vehicle in its then condition and location, "'AS IS" without any warranty whatsoever, express or implied. lf Lc.ssee is
required to repair any Vehicle in o.i:.cordance with {a) above, or to replace any Vehicle in accordo.ncc with {b) above, the insurance lJroeet:ds actually
received by Lessor, if any, pursu1U1t to Section 16 hereof shall be firs! flpplied to pay any amounts then due under this Agr:ee:ment,. and then shall be paid
to Lessee upon proof Sirtlsfactory to Lessor that such repairs b11Vc been Comple~ as required heroir(in the r..-ase of (ti.)), or of adequate purchase and title
documents in Lessor's sole discretion (in the case of (b)). In the event that Lessee is obligated to pay to Lessor the nmount specified in (c) Hbove, Lessee
shall be entitled to a credit against such amount equal to the amount of insurance proceeds actually rc~.ived by Lessor, if any. pursuant to Section 16
hereo~ on account of such Vehicle.
                16, INSUR4NCE. l~essee shell obtain and maintain insurance on or with ~spect to each Vehicle at its own expense and in the amounts
and forms satisfactory to Lessor. In no event shall any insurance coverage be less than the following: (a) physical damage insunmi:.e insuring against
loss or damage to the Vehicles in ilil amount not less than the full reph1cemcnt value of such Vehicle; and (b)(i) in a)[ Stnl~s except Florida: (l) not
grea.rerthan $500 deductible for collision, fire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injury liability and property
damage; or (b)(ii) for the Slate of Florida: (1) not greater than $500 deductible for collision, fire, theft. and con1prehensive, and (2) $250,000 per person
f S500,000 per incident bodily injury liabili1y, anrl (3) $100,000 property damage liabilit"y. In addition, lhc following require $1,000,000 excess liability
coverage (umbret1a): {a) truck/tractors over 45,000 lbs.; (b) tru.ilenlsemi-trailers; tow trucks; and (c) limo uses for livery. Lessee shall furnish Lessor
with Ji. certificate of insurance evidencing issuance of such insurance ro Lessee in at least the minimum amount requirOO herein, nan1ing Lessor and such
other parties designated by Lessor as additional insured thereunder for liability coverage, and as loss payee for property damage eOvcragc. E11ch policy
shall require insurer to give Lessor30 days prior written notice of any material alteration in tem1sof policy or cancellation thereof, and shall provide tha!
no action, misrepresentation or breach of warranty of Lessee shall invalidate the policy. lf Lessee fails to provide such insurance, Lessor shall have lhe
right, but no duty, to obtain such insurance, and Lessee shall pay Lessor all costs thereof. including atl costs incurred by Lessor in obtaining such
insurance together "\Vitll interest at the Default Rate .from the date paid by Lessor to the date paid in full by Lessoe, Lessee shall not use any Vehicle if
the insurance required herein is not in full force and effect with respec1 to such Vchicl~. Upon Loss or Damage .as set forth in Section l S hereat:. Lessee
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                shall receive credit for any amounts paid lo L~sor by the insurer against Lessees obligations hereunder.
                               17. fNDEl\'JNl'"fV. Lessee shall indemnify Lessor against, and hold Lessor hannlcss from, any and all claims, actions, damages,
                obligations, liabilities, liens {including any arising or imposed ondc:r !he doelrincs or stricl liability in lnrt or product liability), and costs and expenses
               {including attorneys fees), arising from or out of the manufaclurc, purchase, lease, possession, operation, condition, return, or use of the Vehicles, or by
                operation of law, excluding, however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
                upon written notice by Lessor of assertion of any such claim, action, damage, obligation, liability, or lien, Lessee, at Lessee's expense shall assume full
                responsibility for the defense thereof, provided that Lessor shall have the right, but not the obligation, to participate in any defense conducted by 1..essee
                without relieving Lessee of any of its obHgations hereunder The provisions of this Section 17 shall sun•ive termination ofthis Lease
                               18. ASSIGNMENT. Except as otherwise pcnniUed herein, V1rithout Lessofs prior written consent, Lessee shall notassign. transfer, pledge.
                hypot:hecate or otherwise dispose of this Lease., the Vehlcles or any interest therein, or sublet or lend the Vehicles, or permit the Vehicles lo be used by
                anyone except Lessee or Lessees authorized employees. Lessor may assign this Lease or any interest therein in whole or pan without notice to Lessee
                                19. DEFAULT, Lessee shall be in default of this Lease upon the happtning of any of the following events or conditions which shall
                conslitu1e "Events of Dcfnulf': (a) Lessee fails to pay any Rent or other amounl when due; {b} Lessee fails to observe, keep or perfom1 any other
                covenant or provision of this Lease required to be observed. kept, or pcrfonnctl, by Lessee; (e) Lessee removes, sells, transfers, encumbeni, creates a
                security interest in, relinquishes possession of the Vehicles, or performs any act which impairs Lessor's title to any Vehicle or attempts any of the
--------Tiuregoin1r;-tdJ"T..essee 111akemisrepresentatim1 tu Lessm of m1y matte:J m covemm1 emmected wich ch:ts Uase, {l!j Lessee tails to sat!Sl;Y any rraruc
           -·--uc:Keror suiiiiTioRs-or fa11St0 regtster··any·veiilcfe; 1fJ"LeSSeebecoriiC1i"li1SOJVCl1£ ·banlffiijifOT"fiiiSB triiSfet-Or ret:eiVCr appOintecl lor CesS"CeOTIDra
                substantial part of Lessee's property; (g) Lessee experiences a material change in its business or affairs (including tennination of Lessee's employment
                or lennination of the contract under which Lessee provides services or a change in the control or ownership of Lessee or Lessee's employer or the party
                with which Lessee contracts to provide services) which in LeSsor's sole judgment impaiIB the security of any Vehicle or increases the credit risk
                involved therein; (h) Lessee attempts to assign this Lease wllhoul the consent of Lessor; or (i} Lessee fails to notify Lessor of any material change in iti;
                business and affairs, including a cl1ange in the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
                Jnc, and its successors and assigns, the true and lawful attorney-in-fact of Lessee, with full power in the name of Lessee upon the occurrence of an Event
                of Default, (i) to demand and receive any and all moneys noel claims for moneys due in rcspecl of or relating to the Equipment, {ii) lo assign or transfer
                any ofL~e's rights under this Lease or in lhc Equipmcnl (including assigning the rights of Lessee lo any replacement lessee hereunder and/or causing
                any other person to becpme the regis1ercd owm:r of the Equipment) and (iii) to take any other action in respect of this Lease or any of the Equipment.
                 Lessee ratifies and approves all acts of Bush Truck Leasing, Inc., as attorney-in-fact. Bush Truck Leasing, Inc., as attorney-in-fact will not be liable for
                any acts or omissions or errors of judgment or mistake of fact or Jaw. This power, being coupled with an interest. is irrevocable Lmtil all obligations
                 under this Lease have been fully satisfied
                               20. RE'l\.fEDIES, Upon the occurrence of any Event ofDefilult, Lessor may declare this Lease to be in default, and at any time thereafter,
                Lessor, at its option, may do any one or more of the following: (a) cancel this Lease; {b) proceed by appropriate action to enforce performance of the
                Lease al Lessee's expense or to recover damages (includin& attorneys fees) for the breach thereof; (c) demand that Lessee, and in such case the Les.see
                shall, return all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) en~. with or without legal
                process, Lessee's premises or any other premises where the Vehicles are located, and take possession of all or any part of the Vehicles without any
                liability to Lessee by reason of such entry; {e) sell, lease. or otherwise dispost: of an or any part of the Vehicles at a public or private sale, which may be
                 conducted where such Vehicles arc then located; (f) demand that Lessee, and in such case Lessee shall, pay to Lessor as liquidated damages for loss of a
                 bargain and not as a pcn1'lly an mnount equal to the sum of (i) all amounts due and unpaid under the Lease (including without limitation any indemnity
                obligations) plus interest thereon from the due date thereof al a per annum interest rate equal to the prime rate ofinterest then in effect as published in
                the Wall Street Journal plus2.00/o (the ..Default Rate"), plus (ii) the present value of all future Rent p.a3rments for such Vchicles.,discounted el 5,0o/o, plus
                 (iii) the present value ofthe TRAC Residual, if any, discounted al 5.0o/o, plus (iv) a11 costs and expenses incul'l'M by Lessor in enforcing Less.or's rights
                 hereunder (including, without limitation, all costs of repossession, recovery, storage, repair, sale, rc-l~e. and attorneys' fees), together with interest
                 thereon at the Default Rate from the date of demand 10 the date of payment in full (the ""Liquidated Damages"'), or (g) exercise any other right or remedy
                 which may be available to Lessor under the Uniform Commercial Code or any other applic:able law The proceeds of any sale or lease of the Vehicles by
                 Lessor shall be applied in the following order of priority (J) to pay all of Lessor's expenses in taking, holding, preparing for sale or lease, and disposing
                 of the Vehicles, including alt attorneys fees and legal expenses, then (2) to pay any late charges and all interest acorued al the Default Rate; then (3} to
                 pay accrued but unpaid Rent payments, then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. Ifthe proceeds of
                 any sale or lease are not sufficient tn pay the amounts owed to Lessor under this Lease, Lessee wilt pay the deficiency. Lessor may also, "i\<ithout
                 Jiabilily, take any personal property stored within the Vehicles and may store any such property at Lessee's expense for 30 days. Lessee "rill be
                 obligated to reclaim such property within 30 days and hereby waives any rightx in such property th~reaftcr. Ally unclaimed property will be deemed
                 nbandoned after 30 days and will be discarded by Lessor. Lessor's: remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
                 Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applic~ lo Lessee's
                 obligations under this Lease pursuant to this Section 20. Lessor's remedies hereunder may be exercised instead of or in addition to ony olhcr legal or
                 equitable remedies. Lessor has the right to set off an}1 sums received from any source (including insunmce proceeds} against Lessee's obligations under
                 this Lease. Lessee waives its right to object lo the nolicc of the lime or place of sale or lease, and to the manner and place of any advcrtising lherefore.
                 Lessee waives any defense based on statutes of limitations or Iaches in actions for damages:. In case of failure by Lessee lo pay any foes, assessments,
                 charges, or taxes arising with respect to the Vehicles, Lessor shall have the right, but nol the obligation 1·0 pay such amounts. and in that L''\'cnt. the cost
                 thereof shall be payable by Lessee to Lessor upon demand. together wirb intt:test al the Default Rate from the date of disbursement hy Lessor
                                21. SECURITY DEPOSIT. The Security Deposit shall be held by Lessor during the entire Term of the Lease, including the Interim Tenn
                 and any renewal temt, as security for the full payment and perfom1ancc of the terms, conditions and obligations of Lessee hereunder and under any and
                 all Schedules. The Security Deposit shall not excuse the performance at the time and in the manner prescribed or Bil)' obligation of Lessee or cure a
                 default of Lessee. Lessor may, but slJall not be required to, apply such Security Deposit towards discharge of any overdue obligation of Lessee. Lessor
                 shall be entitled to commingle the Security Deposit with any of ns own funds.. No Intcrc.sl shall accrue on the Security Deposit and Lessor shall have no
                 liability to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations of Lessecundcr ihi: Lease, Lessee
                 shall, upon demand, pay to Lessor an amount necessary to return the Sccority Deposit to the sum specified above. In furtherance thereof, Li?Ssee hereby
                 grants to Lessor a security interest in the cash comprising the Security Deposit from time to time and any and all interest thereon, together with the
                 proceeds thereof: to secure !he prompt payment as and when due of all indebtedness, and the pro mp I performance as and when due of all obligations, of
                 Lessee now or hereafter required under the Lease. If no Default has then occurred, upon the expiration or earlier lermination of the Tenn oflhe Lease,
                 the balance of the Security Deposit I.hen held by Lessor shall promptly be paid to Lessee
                                22. SEVERABILITY. The invalidation of any provision or provisions: of lhis Lease l1S unenforceable shall not operdte to invalidate the
                 remainder of the Lease v.•hich shall remain in full force and cITcc!
                                23. NOTICES. All notices relating to this Lease shall be delivered in per.son to an officer of Lessor or Lessee or mailed to the respective
                 addresses shown above on the first page. of this Lease, or 10 such address as. otherwise specified in writing by the approprialc party hereto
                                24. WA IVER. Lessor's forbearance of oxen:~ of any right or remedy on Lessee'i: breach of any terms, covenants or conditions hereunder
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      shall not be deemed a waiver of such right or ri:mJcdy, the requirement of punctual performance, or any of its remedies upon any other or subsequen1
      breach or default
                    25. GOVERNING LAW. This Lease takes effect upon its acceptance and execution by Lessor, and shall he gov em ed. interpreted and                                                                   b
      construed under the laws of the State of Ohio. Ollio law shall prevail in the even1 of any conflict of law without regard to, and without giving effect to,
      the application of choice oflaw rules LESSEE WAIVES ALL RJGH'fS TO TRIAL BY JURYTN ANY LITJGATIONARISINGFROM OR REl..ATED
      TO THIS LEASE, AND LESSEE SUBMJTS TO THE JURISDTCTION OF THE FEDERAL DISTRICT COURT FOR THE SOUTHERN DTSTRICT
                                                                                                                                                                                                                      I
                                                                                                                                                                                                                      :::


      OF OHlO, OR ANY STATE COURT OF COMPETENT JURTSDTCTION WTTfllN MDNTGOMER Y COUNTY, OHTO, AND WAIVES ANY RIGHT
      TO ASSERT THAT ANY ACnON TNSTITUTED BY LESSOR IN ANY SUCH OOURT IS IN THE TMPROPER VENUE OR SHOULD BE
      TRANSFERRED TO A MORE CONVENJENT FORUM
                    26.       WAIVER OF DAMAGES. Lessee walVcs to the fullest ex:tcntpermilli:d by law any right to or claim of any punitive, exemplary,
      indirect, special, consequential, or incid~ntal damages against Lessor. Lessee ~s that, in the event of a dispute, claim or eon1rovcrsy against Lessor,
      Lessee shall be limited to the reoovery of actual direct dam.ages sustained by rt, subject to uny limibn direct damages set forth in this I.ease. Lessee will
      not accept or attempt to collect through the courts or otherwise any punitive, exemplary, indirect, consequential, or incidental damages from Lessor
                   27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee llnd their respective
      successors and assigns permitted hereundet
                   28. FORCE MAJEURE. The obligations of Lessor hereunder shall be sUSpCnded lo the extent that it is hhldered or prevented from ·······-··----
      complying theTew1th because of labor d1sturhance.s, acts of God, fires, stom1s, acc1dcnts, failure of the mttniiraCtilW'fOOefiVer any of the Vehicl~·court
                                                                                                                                                                                                                     .J.
      order, governmental regulations, or other hltcri"en.mce or MY cause whatsoever not within tbe sole control of Lessor

                                                                 [SIGNATURE PAGES FOLLOW!




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      IN Vi7ITNESS WHEREOF, the parties hereto h11ve entered into this Lease Agreement as ofthc d::itc first above written


                                                                                           LESSOR:
                                                                                                                 ~\1$h ~k U!!Smg,                      Inc.

                                                                                           By:           D     -~ )k;~
                                                                                           Nam"' Diana S. Cm:netbo
                                                                                                    Vice
                                                                                           Title: _ _ _ _ President
                                                                                                          _ _ _ _ _ _ _ _ __

---------------···----




                                                                                           LESSEE: Sooet Transportation and Logistics Inc.



                                                                                           00sy:~
                                                                                            V....--S10NA11JRE




      EQUIPMENT ACCEPTANCE
      Lessee hereby continns that the Equipment bas beon delivered, duly assembled and in good working order and condition. Lessee confimlS that after a
      reasonable opportunity to inspect the Equipment., it has solely sele.cted, and unconditionally and im:.vocnbly BCCCplcd the Equipment as-is, where--is for nil
      purposes of this Lease as of this date. ln the event thBl the Equipment is not delivered and accepted within thirty (30) days of Lessee's signing of this
      Equipment Acceptance, Lessee hereby authorizi:s Lessor lo increase the Payments to reflect any Lease rate increase applicable to the Lease




                                                                                            LESSEE: Sonet Transportation and Logistics Inc.



      (X}Dated:        6-3-15                                                              2J
                                                                                           ~-SIGN
                                                                                                    y:   it.MAM      ·




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                                                                                                                                                            6961 Cintas Blvd

           4)BUSH
           ~                      TFl.UCK LEASING, INC.
                                                                                                                                                            Mason, OH 45040

                                                                                                                                                            800-766-2874
                                                                                                                                                            www.bushtrucks.com
                                                                                                 LEASE AGREEMENT
                                        Contract Date:                      (., · I · ~         <.>   I 5                                      Lea•• ID No.                 CLBC8668


            lndlvidpal Legal Name(ifappJicable):
            Company Le2nl Nnme(if npplicnblc):       Sonet l'rnnsportation and Logistics Inc.
            Malling Addr~ 22 W 35 Strt."Cf S11itt\ 205
            Clty:Natiooal CityStnto:CA                              Zip: 91950
-···-·--- '~-:;~t;~·o:;t.tQ:J.0,;~,::;~:~1:?:IG:0~;~;rf;Zf~]§£.;;).~~o~E;~2;~r~~0~~,·:m:~T~W{QliiijiElf~~:~~f;/i;t~;:::~;;;~4~:;:r~;'.~~~)~:~;;sm;SE~m~~:~IT~B@~;~22° -
             Vehicle Year                                            I Vehicle Make                                    IVehicle. Model                                     I Vehicle Identification Number
             2012                                                    I Frelghtllner                                    ICa..cadia                                          I 1FUJGLBG8CLBC8668
                       Refer to Schedule l oft/1/s Uase Agreenrentfor Equipnll!ltl detai/~· 111 the titent tl1at 110 Equipment lriforn111tlon appllars above
            ~R0µ:;.t~~~~?~~11;~;f)i'.~?;~~~~;it1~g~\~ibW.-0f:t:~i;r:~:~1ti~%~~~11r:;~~{~'5U'MNIARY~\O~fi'.; :r~~EftliiDfi.ii.S~:~~1~Ll}~fil:~~;~,~~~1f,~~:;';;t;i;':i:'.:!;\~~::'~~~1-~r~::!1.:;1f~~'~;~t·ti~~~')}~1tDi\~~\£i!?~,
            Con1mencemen(                     Initial             Rents) Periods     Total      "Dol\'n                    Advance            Basic Rent              Doc Fee             Security          End of Term
            Dntc& 1st Basic                   Term                                 INumberttf PHyment+                       or                (without                                   Deposit             Option
              Rc:nt Date                                                             Payments           Taxes at           Arrcar.s             ·raxes)
                                                                                                        Closing
             (.., - I ·~"I         5              36              MONTHLY                 36            $1,500.00           Arrears            $2,036.67               $400,00               $0.00               TUAC
               / · I . ).,u I '5 MON'l'HLY

             If Option Upon Expiration ofl.nitial Term of Lease is TRAC under Seetion4A herein. the nTRAC Reslduar'.sball be $26,300,00

                  'lmS LEA.SE AGREEMEN_T ("J..ease") is heJdly entered into                                 B.!I   or the CDJJtract Dl!lc above by and between BUSH mUCI{ LEASING, INC.
                  ("Lessor"), and LESSEE referenced above.

                                  1. GRANT OF LEASF- Lessor J1ereby Jeose11 to Lessee, anil Lessee hc1'Cby lenses from Lessor, 1he Equipment described hcrcin, lOH.Cther
                  with all replacements, repairs anCI 1u:tdltions: thereto (individually and cOUectlvely, lhc "Vehicles") on the terms and conditions 5et forth in this Lease.
                  Lessee agrees that Lcssoo loase11 the Vehiele.s ..11S~is", 11nd confinns lhot as of the date of delivery of each Vehicle, sueh Vehlo!e is or the design and
                  manufacture seleoted by Lessee~ and as of such date, Lessee has unbonditionally accepted such Vehicles in all respects. Lescce f\:lrther wnfim\S that i1
                  has seJ\!,cfed the VeJiicles on the basis of its.ownjudgntent, end expressly dischrims relian~ upon uny statements, reprcse.itUttions, owarranties made by
                  Lessor, and Lessee aclrnowJedges that 1.essor Is not the manufacturer oflhc Vchlcle11 Lessee certifies 1hat the Vehicles ldentlfiedhcrein will he- UBed far
                  commercial purpose.s.
                                 2. INITIAL TERM. The tenn of this Lease for each Vehicle shall oommcnc.e on the Contraet Date and shaJI continue for that mimber of
                  months from the first (1st) dey of the month following the Contract Date.(unlcss lhc Contract Date is the firs! (Jsl} day of lhc month, In which ~c the
                  Contraet Date shall be the dftle Qn which the term of this LCasc commences) f'Com1w:m:etnent Date") each as set forth in lhe Summery of Leese Terms
                  {such 11erind as extended or sooner tenninated by Lessor as provMcd herein, tht!"Tenn").
                                  3, RENT. The rental payment amollnt for each Vehicle lmeunder {the "Basic Rent'') is se1 forth in the Summary of L~ase Terms. Basic
                  Rent on each Vehicle shatl begin to accrue on the Contract Date and shall be due and payable in U.S. doll an in immediately available funds by l..cssec
                  in advance or orrears for the periods (each a ...Rental Period") and for the total number of payments as set fol1h in the Summary of Lease Torms. in each
                  case, on the first day of each such Rental Period. Jfthe Contract Date does not fall on tho ftn.1 day of the month, the rental for thel period of time from
                  the Contract Date until the Conm1encemcn1 Date ,;hall be an amount cqllal to the daily rental (Basic Rent divided by 7 days for Ono W~k, 14 days for
                  Ooo Biweekly and 30 days for One Monlh Rental Periods, as applicable), mu1liplied by the number of days from (and Including} the Contnwl D~ to
                  (but not inclllding) the Commencement Date and shall be due and payab1e on the Commencement Date. Lessee shall pay !lll "mO\mts other than Basic
                  Rent Lessee is obllgnted to pay hereunder '(die "Supplemental Rent" and together with Bnsic Rent, lhe "Rent") when duo or if no date Is spccificrl
                  herein, on dcnnmd. lf any Ren! puymeot is not mude wi1hin five (5} doys ruler its due dute, Lessee shall pay a late chnrgc et11111I to the lesser of 10% of
                  lhe lotc rental payment nmount, and the maximum amount permitted by lt1w. LESSEE'S PAYMENT OF REN1' AND (,BSSEB'S PERFORMANCE
                  OF ALLO'l'HER OBLIGATIONS ARE ABSOLIITE AND UNCONDITIONAL AND WITHOUT SET OFF, COlJNTF.RCl.AIM, OR ANY DEFENSE
                  WHATSOEVF.R, INCLUDING, BUT NOT LIMITED TO, ANV R!Olff OR CLA!M THAT LESSEE MAY NOW OR HEREAFTER HAVE
                  AGAINST LESSOR, ANV OF LESSOR'S AFFILIATES, ANV ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF THE VEHICLES FOR
                  ANY REASON WHATSOllVER, SPECIFICALLYINCLUDINO, WITHOUT LIMITATION,ANY CLAIMS THAT LESSEE MAY HAVE AGAINST
                  LESSOR, ANV OF LESSOR'S AFl'ILIATES, OR ANY ASSIGNEE OF t.ESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCli
                  AGREEMENT REFERENCED IN SECTION 7 l JEREOF.
                                  4. OPTION UPON EXPIRATION OF INITIAi. TERft1 OF L•:ASE. Upon expiration ofU1e Initial Tenn of the Lease, Lessee shnll
                  com1lly with Iha pmvision$ of Clause A or B below, in eilh-¢r case, as spc-cin~d in lhe Summary of Lease Tenus

                                         A.             Terminal Renh1I Allju.slmcnt Clause ("TRAC''). Lessee agrees that there shall be 1111 udjuslmenl of the R.enl lo be paid
                                                         Lessor under the Lease for the Vehicles, It is presently anticipated that 1he fair murket value of the Equipmenl (the
                                                         ''F.stimated fair Market Value") will equal the TRAC Residual set forU1 in thii Summary of Lensc Terms. Upon



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[.'



                                       expiration of the Initial Term) Lessor will attempt to sell the Equipruenl. In the event that lhe Net Proceeds (as defined below)
                                       are less than the Estimated Fair Market Value, Lessee shall pay lo Lessor !he full amount of such shortfall. If the Equipment
                                       has not been sold on lhe last day nf the Initial Tenn, then tJ1e Nel Proceeds shall be deemed to b~ zero and Less.cc sha\J
                                       imme!liately pay to Lessor Uu: TRAC Residual, If the Lessor thereafter shall sell the Equipment, tlie Net Proceeds shalt be
                                       paid by Lessor to l.essee, Any such payment by eh her Less.cc or l.cssor sha11 be deemed to be a Terminal Renbil Adjustment
                                       with :respect to UJe Vehicles. As used herein, "Net Proceeds'' shall mean the proceOOs received by Lessor. ftfter deducting (i)
                                       all oosts end expenses h1cu,nid in corutecllon with the recovery.repu.ir, storage, And sale of the Vehicles, including any and all
                                       attorneys' fees lllld legal expenses, (Ii) all late charges and all interest accrued al the Defau.It Rate (as: hereinafter ddihcd). 1md
                                       (iii} all rent payments and other obligntions of L~ssce due and unpaid under the I.east as of lhc d111c or the sale or dispasltion.
                                       As to each Vehicle, if the Net Proceeds re"iY¢d by L.ossor Lessor from 1hc sale or o1her diipo11itlon of sucb Equipment ldter
                                       expiration <Jf die lnith1t Tenn urc less lhnn the TRAC Residual amotini for such Eqnlpmi:nl as set forth in the Summuiy of
                                       Lease Tenns, then Lessee sh111l immediately pay to Lessor the MlDUnt of such deficiency as ndditionii! Rmit hereunder. If the
                                       Net Pmceeds are in cxccs:s of the TRACRcsidual nmount, then 100% of such excess shall be returned to Lc.sSCl)as a reduction
                                       ln thG Rent (or such Equipment. providt.d, however, thut Lessor shall be entitled to 1etnin all or nny portion of sucb amount to
                                       satisfy any ofLl}SSee's obligations under the Lease

                                             Lessee hereby certifies, under penalty or perjury, that
                              (i)    Lessee intends that more than SO% of the use of the Equipment subject to this TRAC is to be used In a 1nidc or business of the
                                          Lessee,
                              (ii) Lessee has been advised by tax counsel or other tax e.dvisor, and
                              (iii)_ 1..<:sscc understands and agrees that, Leasce will not be irealed as the owner of the Equipmenl lder:i1ificd ahovc for federnl income
                                          tax purposes.

                              B.          Sl.00 Buyout, l.essco hereby unconditionally ag1cos to purchase f\ll. but not less tbWl all. of lhe Equipmem for $1.00 upon
                                        expiration of the lnlti1I Tcm1 -0fthe Lease. ]..essee and Lessor agrct: that L~sce is owner or the Equipment and shall file and
                                        pay all license, registration fees, and documcnmry, sale and use taxes, IUld personal property taxes and all other taxes, fees and
                                        charges releling to the ownc1ship, leasing, rental, sele, purcbue,. possession ot use oftllO E:quipmenl

                                With respect 10 miy option l!J>lln expimlion of the lnitisl Term oft be Lease set forth herein, if writbm nut lee of Lessee's intention to
                                exercise such elected option is not received on a timely basis, then such failure shall c::o:ristilutti an Event ornerault, and to tbe extent
                                that the Lessee thlls to return to Lessor lhe Equipment in acwrdllUce witb Section 7 hereof, Lessee ogl'eeS lo J>DY a duily ronlt\l fee
                                equal to ISO% ofthe dnily Rent for each day that the Equipment is retained by Lessee; provided. however, such payments shall not
                                extend Lessee's right to have and use the Et1uipmcm beyortd 1he Initial Tenn ofthe Lease as provided herein. Upon exercise of the
                                option elected                          · full by Lesse-o of ~ny related purchase amounts end all Rent, Lessor will execute and deliver
                                to Lessee                                   MY other docurnenutlon nc1.-essary to transfer Lilla lo Lo!tBce. 'IlUS SALE WlLL BE
                                WITHOUT ANY REPRESE                       OR WARRANTY OP ANY KTND BY LESSOR, WHETifER EXPRESS OR IMPLIED IN
                                FACT OR LAW and, Lessee                   the Vehicles" AS JS" and ''WHP.RE IS",

                         S. TAX lNDEMNIFICATlON.                            the extcntSe-0tion 4B is: epplicable upon explrerion at the Initial Term, it is understood and
        agtecd that LeS$or ls owner of tho Equipment end that LeS80r slmlt be entlt1«1 to suc11 tax benefits that are av11ll9blc es ow net of the Equipment through
        dcprncintion of the total capltaU:ud cost of du: Bquipment thereof for fedetal fneome fax purposes. In the event that Lessor suffers any loss,
        di:sallowilll1;"0i UllAVAilability, or roc:apture of such deprcciotion for 11ny reason whatsoever, then, after wriUen nolfot thereof by Lessor to Lessee, Lessee
        shall pay to Lessor 1111 ttdditiomd incremontal amount payable on each date tllo.l lhc Basic Ren~ ii th1,.>realtcr due, which In the opinion of Lessor, will
        oause Lessor's net ailcr-ttlX t1nnuul t:aSh flow ~d nt:t nl\er-lax rate or rett1rn rospet:llvely, tlun would have been available it' Less1>r litid beiJn emilll.!d 10
        :full utili2:rtlon C'lf the depreciation. 111 the event that any payment is required lo be mndc pursuaot to thhl Section S, and such payment Is 10 be made on
        succeeding rent payment dates, but nt such time this Leese shall have been tctmbrn1ed or Rent otlierwJse no longer shaJl be due and payable on Ibo
         remaining rent payment dates, 1.eS'tiee shall promptly pay Lessor any amoUllt equal to the incremental bu;reasc in B:isJc Rtiht which would have boe.n
         required if such tax loss had Oocllrred immediately prior to thi:. last m1bil p11ynwn1 date on or prior to !he- expiration or other tmnination of the Leuse.
        Lessor shall promplly notify Lessee of the commem:emont of imy proceeding by the Jntemal Revenue Service in respect of nny ftcm HS to which
        indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable pursuant to this Section S shall survive lhe expiratiDn
        or other tonttinatio11 ofthis Lease.
                         6. USE OF VEmCl..ES, l..cssec: shtiU we the Vehicles 011Jy in its business and in compliance with all laws, rules, 11nd regulations of any
        jurisdiction where the Vel1ielcs are usi;id or loC11tcd. Lessee roprcscnls nnd Wflrnmts lo Lessor ot oil tilnO! thnt (i) Less-:e has the right and ubllit)' to enter
         into this Lease; {il) tJils Lease constitutes a val.id, Jeg11.\, ond binding obllgatlon and ngrccment of Lessee, enfo1ceable against Lessee in accordance with
         its terms; and (iii) that the entering into and performance of this I.ease by Lessee will not rc,sult in a breach, violation, or detoult under any judgmelll,
         (lfder, lnw, regulalion, lol\ll, mortgagt:, agreement. i11denture, or other instrument upplieable lo Lessee, or J"C.".sull in nny b1e1tch or. 01 conslitulc a default
        under, or result in the creation of any lien, chDJge, security intuest, or other encumbnuu~c upon the Vehicles pursuant 1o llllY insLrument to which Lessee
         is a port)' or by which il is bound, Lessee shall (i) use and operate the Vehicles in n careful and pnident maMer for the purposes and In Ilic rrtanntr
         Intended lo be u!led; (ii) shaU keep the Vehicles properly housed or otherwise protected from damage; nnd {ill) slutll pay tbr 1111 nminti:niuicc of V1.1hiclus
        to kee)' them in good and efficfcnt working ()Ider nnd conditfon <luring. the Term cf the Lease, indudlng, but i:;: rwt llmUec( to, Lessee's supplying all
         fuel, lubr~nts, and other parlS, supplies, maintenance and services, and/01 Lessee, upon Lessor'!! rcqu~s\, entering into ~ seJVice llnd malnti;i11pncc
         ab'l"Comcnt wilh Lessor or M affiliate of Lessor 11pon such temlS and conditions providccl by Lessor. After notice to Lessor, Lessoo may, nt ils own
         expense, make 1tltcrn.1ions or add attachments to the Vehicles, provided thal such allcrn.tions or ru.uu::hanents aro removable and llo not reduce tlle value,
        utility or useful Ilk of1he Vehicles. Upon the expiration or termination of the Lease. all nlteratimtR or attachmcnls affixed lo the Vehlcl~ shell bi:.co111c.
        the property of Lessor lfnot removed, and if LesS<:e daes remo110 such attachments, Lessee shall be liable to Lessofur any damage lo the Vehicles. as the
         resull of such removal. In the even! that any fed~al, stete, 01 local lnw, ordinance, rule or regulation shull require tlm installntion of any 11ddltional
         ncccssorics to any of the Vehicles, including, but not limited to. nnti~pollution emd/or safety devices, or in the event that tmy otl1ct modifl~Uons to the
         Vehicles shall be required hy virtue of such law. ordimmce, rule or teg\llation, then and in nny <Jf such events, Lessee shWI pny the full cost thereat:
         iucJuding installation expensos. Lessor may, nt ils option, wtangc for the inshttlalion of such Vehicles or the porfonmm\'e of such mod!fi<:ations, and
         Lc.:lsce agrees to pay the full cust thereof immedialely upon receipt ofun it1voice for the sldn~
                         "/. SURRENJ>J:R. Upon either the {i) failur~ by Lcsacc to exercise any purchase option for 11ny Vehicle sci forth burclt1, or (ii) upon
         demt1.11d by Lessor made pursmmt to an Event of Pefanlt (as set forth in Seclion 19 hereof), Lessee shall, al its own expense, "-turn such Vehicle 10
                                                                                        Fag-e 2 of6




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           Lessor to such location within the continental United State.~ 11s Lessor shall designate. in tlle; same condition as wlttm delivl'retf. reason abl~ wear nnd teat
           exccptcd and otherwise in the condition ri;qvired by thia l&BSC Upoh n.tun1 of' the Vehicle~. LC$!1Qf,or such entit}' designated by l.essor, shall porfom1 a
           physical and mechanical inspecticn of the Vehicles. l&ssi:c.: s-hull be responsible for the payment of any and all oosls o:srot.:iulet.I with the inspeclion, and
           for eny and all repairs necessary le place the Vehicles in the sami; condi1ion as when do livered. reason ab lo wcM and tear excepted itnd cthcrwisi=. in the
           condition required by lhis Lease.
                                                                                                                                                                                                     I
                           8. rAJNTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia. provided that,
           upon the Bxpiration or tmmination of this Lease, ruid in the event that L«see does n01 purchase the Vehiclei; pi:nsuanl to Section 4,B hereof, Lessee
           sbull~ upon the. request ofLessor and at Losset!s expense., restore the Vehiclc:s to original condition, or-dinal)' weor and tear i:xceplcd
                           9. WARRAN11ES. LESSEE ACKNOWLEDGES AND AGREES TIIAT LBSSOR HAS NOT MADF, AND SHALL NOT BE
           DEEMED TO HAVE MADE, ANY EXPRF.SS OR lMPL!ED WARRANTY AS TO MERCHANTABILITY, FITNESS FORANY PURPOSE OR USE,
           DESIGN OR CONDlTION OF VEHICLES, QUALl'l'Y OF MATERIAi. OR WORKMANSmr, OR AS TO ANY OTHER MATIER WHATSOEVER
           RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY lNDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
           PUNITIVE DAMAGES AlUSlNG O\IT OF THE USE OR lNABU.lTYTO USE Tiffi VEHICLES, OR ANY INADEQUACY, DEFICIENCY, OR
           DEFECT IN THE VEHICLES, LESSEE AORlillS THAT LESSEE LEASES "fHE. VBHJCLF.S ..AS TS". lessor agrees, to the extent posslbJc aml
           Without ihcrcl'ldng lts liability hereunder. 1U1d upon request, to nssign to I..essee, any warranty of a manl1facturer or seller rel~ting to the Vehicl~
_______ ·~ 11vailub~_t! to Leswr,,tllvided. howtivcr, th~!_ the. forcg~lng rights shall a~~-~!~~~~~-~Lcs_;o~ Uf~~..l_!!e _o~~~!: and duri~& the .::?_!!linu~~Z: o!_._H ..
          liilyBVent or Detim t hlreunder, or upon rctUiiiOrinc Vehicles to Lessor. Lessee agrees 10 saile all Chums wlth respect 10ffiFVCli1CfeSOtrectlyW1il1 tfiti            - ··-·-·-···"·-··.
           manufacturers thereof, and to give Lessor prompt notice of any such setl1ement and tbe details of s11ch settlement
                            10. TiTLE ANU INSPECTION. Lesi:~ .-t ils expe11se, shall prutcct and Llefo11d Lessor':; tltlo 11.nd kcc1> it free of all claims and liens
           except tho~ claims 11nd licn:s ~eatcd by Lessor bi CO!mecticn with any 11ss1gmnent or filumcing by Lessor. Lessor may lnxpce1 the Vehicles al any lime
           without prior notice during regular busin~s hours. lf, at any lime during. the Tonn of this Lease, Lo.ssor supplies Lessee with labels, plates or other
           mm-kings stating that tM VtJdcles are owned by Lessor, Lessee shull affix ;:md keep the same ill a protninettl plaioe 011 lhc Vehicles
                            11. LICI.NSES. Lessee shall at its expense obtain all necessary !Jcenses(including motor Vehli;:Je plate&) Md regirrtratlons, required for the
            use and operation of e11.ch Vehicle. All certificates of title or registration of eacb Vehicle shall name Lessor as the owner thereof
                            12. IN't'ERESTS JN VEIUCLF.S. Lessee's rights wilh respect to this Lease and any Vehicles leased hereumler will be subjecl to anr
           rights and lntcresl in nnd to said Vehicles which ml\y be granted by Lessor (or Lessor's affiliates) lo any assignee tir lender or Lessor {or Lessor's
           nffiliatcs), Lessor m11y assign to a lender or any other ossignee all or ~ny part of ~or's rights hereunder, including 11 securit)' interest in the Vehioles
           and lhc right to rc-t"iw nmts Md othcunms due hereunder. Upon notice ofgucll ~signmcnl in wrlUng by a lender, assignee flnct/or L~or, Lessee shnll
            pay au :renls and olher sum~ d\1e or to bccomt1 duo under this Lease d1teotl)' to such lenU~r nr nssigm.-e without so1 olf, eounlcrl.}laitll, or any Llofl!nse
           whotsoever.
                            13. "l'A..X)r:S. Lessee shall pay all personel property. s1ilcs or use taxes, business licenses, assessments, 11enalties, mid charges which may be
            l~vied or asserted with rcspeot to the Vehicles (cxieept income taxes levied on lease payments to Lessor). In the event that any suob taxes. licenses.
            11Sse8snumts. penullies, or charges are paid by Lessor, Lessee !>hllll reimburse and pay Lessor immediately after Lessor notifies Lessee in writing of the
            amount of such tllX.Cll, licenses, assessmenlS, penallles, charges or expenses paid by Lessor, as well as an administnllive rec. lncroasGS or dt1creps:cs ht
            sales or use tax rates will affect all lease payments after the effective date of the cbanse by the taxing authority. Lessee shell indemnify and hold Lessor
           harmleSB from and against any loss, cost or expense arising out of or relating toany such la.'4 import or levy. including, wllho111 limitation. any penalties,
            lntcrcgl and tiries relating 1hcretn
                            14.1'"'.INES. LCSliee shall pny llll fiues due to overload. overlength, overweight, lack of plales or permits, speeding RDd any other oharges
           whicl1 may be imposed or tissessed in respeet to the Vehicles nnd/or Lessee's use therco£ 'The provisions of this S~tion 14 shall survive the e)Cpimtion
           or other tcrminntlon of this Lease
                            lS. LOSS OR DAMAGE. Lessee .shnll bear the entire risk of loss. lhcft, dD.SUuction of or datnag¢ tD any Vehh~lc from nny cause
            wha1soever (''Loss or Dainage''). Lessee shllll promptly 11otify Lessor in writing of 11.n)" L()SS ar Damage. No Loss or Damage to any Vehicles shall
            relie\.'e Lessee of uny oblignlion witlm:spe'l to su~h Vehl"e under this Lease. In the event of Loss Dr Damage, Lessee 5ludl, at the option of Ltss<1r: (a)
            put such Vehicle in good condition :and repair in accordance with the manufuctwer'-s recomn1endt11ions, mid lo the rensonable satisfaction of Lessor, al
            Lessee's ex11ense; (b) replace Jucl1 Vehicle with a like Vehicle (same value. utllhy and useful lite as damaged Vehicle) in good condition 11nd repair os
            Ppproved by Lessor in Lesscr's sole dis~retton with olenr title theretn vested Jn LeS9or~ or (o) pay I..essor on or befurc the next rent pflyment date as set
           forth in accordance with Section 3 hereof (s1,1eh payment date,. lhe "Loss Payment DJ.tej in cam the sum of: (I) all amounts thL!n due Leesor by Lesrwe
            under the Lease relating to such Vehicle, which amounts shall be prorated through the Loss Paymant Dato, plus (ii} an 81110W1l equal to th<: pn:5'nt value
            of the TRAC Residual, If any, relating to such VMkle (as set forl11 in the Summary of Lease Terms), discounted at !i.0% computed from the expiration
            of the Jnitiat Tenn of the Lease to tile l.oss Payment Date, f)hH: (Iii) an amounl equlll to the present valuo ortha unpaid futUJC rmnaining Rents for the
            Initial 'Term oftbe Lease, relating to such Vehicle dl&cmmted at 5.00/a computed from. the acbcdulcd payment dates for such Rents to the Loss P11.yment
            Date (the "'Casualty Value Amounf'), Upon receipt of the Caauftlty Valnc Alhe>unt set forth In (c) above, Lessor shall assign to l..essee (or Lessee's
            insurer) Lessor's interest in such Vehicle in its then condition and location, ..AS JS" without any warranty wh11tsucver, express or implied. If l.essee is
            required to repair any Vehicle in aceordance. with (a) above, or to replace any Vehicle in ucwtd11nce wl1h (h) above, the insurance proceeds actu~lly
            received by Lessor, if ftll)', pursuant lo Section 16 hcrcof.'lhnll be. lin;t 11ppticd lo p11y eny amounts lhai due under this Agreement, and then shnU be paid
            lo. Lessee npou proof~lltisfaclory to Lessor lhat such repairs have been 'iomplctcd i!S n:quired hereir{in the case of (a)), 01 of adequate purch11sc mid 1itlc
            documents in Lessor's sole discretion {in the case of(b}). 111 tl1c event th11t Lessee is obligated 10 p11.y to Lessor the amount specified ih (c) above:, Lci1.~oc
            Shalt be cntillcd t<1 n a~dit aguinst .such 1101ount equal to tbc nmount of ins1mmcc proceeds l!.Ctually received by Lessor, If any, pursuant lo Section 16
            hereof, on ai;countofsuch Vehicle.
                            16. INSURANCE. Lessee shall abiR.111 and nlfl.inlnin insunmcc 011 or v.•ilh nispect 10 i:ach Vehicle 111 its own expense and in the amom1ls
            and forms satisfactory to Lessor. Jn no event shall any insurance coverage be Ic.ss than the following: (11) physical damage im:uranee insuring against
            IDSs or dl:lmage to the Vehicles in an amount not les:s than Ole full rc.plnccmenl value of suoh Vehicle; and (b)(i) in all St111es cxeept Florida: (l) not
            great~r than $500 deductible for collision, fire, theft, and comp1ehensivc, and (2) SS00,000 'COmbincd single limit fbr bodily injury liability 11nd property
            djifflage; or {bXii) for the state of Florido: (l) not greater lhan $500 deduc1iblc for Ct)llislon, fire, theft, 11nd comprehensive, and (2) $250.000 per person
            I $500,000 per incident bodily injllry liability, and {3} lil 00,000 property damage liability, ln addllion, the followingri.:q11ire $1,000,000 e)Cce.ss liability
            coverage (umbrella): {a) truckltrac1ors over 45,000 lbs.; {b) trailcrsfsemi-trailers; tow lrueks; find (c) limo uses for llviicy. Lessee shall fumish l.essor
            with a certificate of insuraniee evidencing issuance of such insurance to Lessee ln at least the minimum amo11n1 rcqnir~d htirein, naming Lessor ond sucJ1
            othe.r parties dcsi,gne.ted by Lessor as additional insured thereunder for liabil ily eovcrngc, and 11s loss payee fu1· pro(W;lrty damage covernge. Each policy
            shall require insurer to glve Lessor JO days prior wrinen notice ofnny material alteration in termsofpolicy or cnnccllntion !hereat; and shall provide that
            no action, misrepresentation or b~ach ofwar1a11ty of Lessee shall lnvl!llidate the polioy. If Lessee fails to prov ilk such insuntnce, Lessor shall have the
            rlgh1, but no duty, to obtain such insWllnce, and Lessee shall pay Lessor ell costs thcrcor, Including all costs incurred by l.essor in obtafning such
            insurance together with interest at 1hc Defaull R11tc rrom the dale paid by Lessor lo tht:: date pnid in Jbll by Lessee. Lessee shall not use any Vehicle if
            the insurance required herein Is not in full force and effect wJth respect 10 suoh Vehicle. Upon Loss o.r Drunugc us set forth. in Section 1S hereof, l..esS«i
                                                                                       Page3 of6




                                                                                                                                                                                       Exhibit A
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         shall receive credit for any umouota paid to Lessor by 1he insurer against I.essOO! obligations hereundet.
                         17. INDEMNITY. Lessee shall indemnify Lessor against, and hold Lessor harmless frorn, 11.hy und all claims, actions, damngcs,
         obligations, liobilitlr:s., 1iens (in<;luding any a.rising or Imposed under lhe dootrine.s or strict liability in t(lrt or producl liability), and c;:osls and 1:x.pcnscs
         {including 11.ttomeys foes), arising from or out of the manufacture, purohasc, kasc, possession, operation, condition, return, or use of the V~biclcs, or by
         operation of law, excluding however rmy of foregoing rtsulllng solely from the gross negligence or willful miscondunt of Lessor. Lessee agrees that
         upon written notice by LessorofasserUonofany such claim,. action, damages obligation, liability,. or lien, Lessoo, 11l l.esiree's ex:penseshall assume full
         ttsponsibilily for lhe defense tbereof, provided that Lessor shatl lut"Ve the .right, bll1 not the obligation, to participate in any cJe.fense C011ducted by 1.cssec
                                                                                                                                                                                         I'·
         wi1hoot relieving Lessee of any ofils obligations hercundct 'nle provisions o-fthls Section 17 shall survive lennlnation or this LeftSe
                         l8. ASSlGNJ\<fENT. Except as otherwise pt.itmitlcd h1m1in. without Lcs~ots prior written conscnl, Lessee shall not assign, transfer, pledge,
         hypothceatc or otherwise dispose of this Lease. the Vehlcle.."I or ai1y interest therein, or tlublet or lend lhe Vchicle:s, or pcnnlt 01c Vehicles lo be used by
         ~nyone except Lcuee nt Lesseds uuthorlzed employr.cs. 1..essor may llSSlgq this Lease or any interest therein in whole or part without notice to l..essee
                         19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions wbhlh shall
         constitute ..Ev"nts of DcfauJf': (o) Lessee foils to pay any Rent or oUter amount when due; (b) Lessee fails to observe, keep or perfonn any olher
         covenant or provision of this Lease required to be observed, kept. or perfonned, by Lessee; (c} Lessee removes. sells, transfers, encumbers, creates a
         security interest Jn. relinquishes possession of the Veh;cles, or petfotnu nny acl which impairs Lessor's 1illo to any Vehicle or aW..-mpls any of the
         f<lttgoing; (d) Lessee makes a mi.ucprosentation lo Lessor of any maUcr or-covenant connected with this Leuse; (e) Lessee fail:s to :;atisfy any traffic
· -·--·· ticket or summons DrfiillS'fO reg1ster anjiVi@Cle;·oyLCSSOO.tl'CCoiUCSTriSolvent. baill:YUPfOiliaifltnIBTu'tOt n:CClVer·oppa1nte-iff'oTLC&-sei"iir·1or..n·
         subslantlal pan of Lessee'Ii propeny; (g) Lcsi;cc expcricnc.cs 11 tna.tetial changi;: in its bl1.sincss or affillrs (including termination of l.esree's employment
         or termination of I.he contract under which Lessee provides services or a change in the_ control or ownership of Lessee or Lessee's employer or the party
         with which Lessee: contracts to provide services) which in Lessor's sole judgment impairs the 1.<ecurlty or any Vehicle or Increases the credit risk
         involved thet"eln; (h) Lessee Httempts to asslgn this Lease without 1he consent DfLessor: or (I) Lessee fails to notify l.es5or of any material change tn Its
         business ~ affiUrs, Including a change in the ownership or conlrol of Lessee. Les.sec hereby hrevocnhly appoints and consLltutcs Bush Truck Leasing,
         lnc. and its successors and assigns,. the uue an ct lawful 11ttomey-in·fact ofLe!.!lcc, wilh foll power In the numc of Lessee upon the occurrence of t111 Event
         ofl)efault. (i) to demand and receive any and all moneys aod claims fDr moneys dul3 in respect of or telitlillg to the F.quipmenl, (ii} to assign Qr tr1tt1Sfer
          any -0fLessee's rights under this l..caseor in the Equipmenl (lncJudins, assjgning the rights or Lessl)c to any roplncemc11t lessee hereunder nnd/or (la using
          any other person to become the registered owner of the Equipment) and {iii) to toke W'lY otl1cr aclion in respec:t of H1is Lease or any of lhe Equipment.
          LeSS«:ratifles and approves all acts of Bush Truck Leasing. Inc.., as f\ltomcy-in-facl.. Bush Truck Lensing, l11c., as attorney-in-fact will not be liable for
          any acts or omissions or errors of judgment or ntislake of fact er lnw. 111is power, being coupled with an interc:st, is. irrevocable until all obligations
          under this J.e~ have been 1\llly satisfied
                         20. REMEDIES. Upon the oc:cmrenct: of any Event of Default. Lessor may declare this Lease to be ln default., and 11L any lime th&eaf\er,.
          Lessor. at its option,. may do any one or more of the following: (a) oancel this Lease: (b) proceed by appropriate action to onforcc pcrfonnnnce of the
          Lease al Lessee's expense or to tecovcr damages (including attorneys fees) fur the breach thereof; (o) demand thBI: Lessee, and in such case the Lessee
          shall, return all or any part oflhc Vehicles promptly in \he manner rcquimd by and in accordance wi1h Section 7 horcor, (d) enter, with or without legiil
          process, Lessee's premise.11 or nny other premises whcro the Vehicles are localed, and take possession of all or an:y pllrt of 1he Vehicles Without any
          liability to Lessee by reason of such entry~ (c:) sell, lease, or otherwise dispose otall or MY :!Jtl.rt of' the Ychlclcs et a public or pd\' ate sale, which may be
          con dueled where euch Vehicles Rl'C 1hen located; (f) demand 1hal Lessee, nnd ln such ~c Lessee shall, p:jy ca Lessor Bii fiquidatcd damages for loss of a
         bargain ulld not 11s a penalty an amount equal to the sum of (I) 1'11 amounts due nnd unpaid under lbe l..tIBSe (including without limitation any indemnity
          obligations} plus interest thereon trom the due date thcreof tl.t a pct annum bitur~t rate equal to 1he prime rate of interest then in effecl as pllblishcd in
          the Wall Street Joumal plus 2.0% (I.he "Default Rate"),. plus (ii) die Jlresenl vnlue of 1111 future Re11t payments for such Vehicles.discounted at S.Oo/., plus
          (iii) the present value of the 1'RAC llesldual, if an:y. discounted at S.0%, plus (iv) ult cost~ and expenses incurred by Les~or ln enforetng Lcsi;or's rigbt:i
          hereuOOer (i11cluding, without limitation. all co.sts of repossession, rccovcl}", storage, repair, salo, re-lensc, and attorneys' fees). together with inton:sl
          thet'\lon at the Default Rate from the dnte of demand to the date of payment iri full (trn: "Liquidated Damages"), or (g) exercise any other right or rcniedy
          wl1lch may be available to Lessor wider lhc Unifol'm Comm~ial Code nr any -Other applicable low The proceeds uf tmy s11\e or lease of tlie Vehicles by
          }ASsor shall be; applied in the following order of priority (1) to p11y alt of l.cssor's expenses in taking, holding. preparing for sale or lease, and disposing
          ofthe Vchlcle1, incluCling all Rltomeys fees and leg.al expenses, then (2) lo pn:y any late charges and all interest ;1cenied at the Default Rate; then (3) to
          pay aecrued bu1 unpaid Rent payment5, the11 (4) to p.ny any other unpaid sums due under !his Lease including Liquidated Damages. If the proceeds of
          tmy sale or l~e ~roe not sufficiont to pay 1he amounts owed to Lessor under lhli;; LeBSt:,. 1..essee will pay the deficiency. Lessor may alt¢, without
          liability, take ftny personal property stored within the Vehicles ai1d may store any such property at Lessee's e"peosc far 30 days. Le&llc~ wl11 be
          obligated to rechUm such propcny within ~o days and hereby wafvtll l'lny rlght; in s"c;:h property the.rufter. Any unclaimed propctt)' will be deemed
          abandoned aft" 30 days nnd will be dls:cnrdcd by Lessor. Le:s:sor's remedies hereunder shall be cumul11tlva. Any security deposi( paid by Lessee to
          Les:ror In ~nnoetion with this Loose shnll be forfeited by Lessee upon lhe bappenlng of MY EverU of Pefftult. imd shall be applied to Ltssee's
          obligations under this: Les,!le pnrsuant to this Section 20. Lessor's remedies hereunder mft)' be. eKcrcisorJ lnslcad of or in addition 10 nny other legal or
          equitable remedies. Lessor hllil ll1e righl to set t:lffany .sums reoeived from tmy source (including ln~urunce proceeds) against Lessec'R ob1ig_o.lions under
          this Li:asc. Lessee waiv~!I its right to objecl to the notice of the time or place of sale or le use, 11.nd 10 the manner and place or any ad'Vctth1ing lhe.refo~,
          Lessee waives any defen:se bused on stannes of limitations or !aches in actions for dnmugcs. In c&Se of failure by Lessee 10 pay v.ny fet:S, BSSCSllments,
          chnrgcs, or taxes arising with respect to the Vehicles, Lessor shall have lhc righl, b11t uot lhe <1blig11lio1110 pay such ii mounts, nnd ln Iha! cv®t, the cost
          thereof shall be puyablc by LcS5!0l\l 10 1.~~~or upon demtmd, tugcthcr with int~rcst 111 tbe Default Rate from 1l1e date of disb11rscme111 b}' l.,t:ssor
                         :21. SECURITY DEPOSIT. The Sccurll)' Deposit shall be held by Lessor during lhc cn1ire Tetm oflhc Lease, including the lnlerim Tenn
          and any renewill term, 11.s &ecutity for thG full payment and pcrfonnance Qfthe tem1S, conditions and obligations ofLe~cc lmeunder and under any and
          all &:hedules. The Security Deposit shall not excuse the porfomnmce al lhe time and io the mimncr prescribed or ti.Ji)' obligation of Lessee or cure a
          default nfLcssce.. Lesmr maY,. but shall not be roqui~d to, apply s~h Security Deposit 1owE1rds disclurrge of 1u1y overdue obligation ofU-·sscc. Lessor
          shall 00 entitled to commingle the Security DQposit with eny oflts own funds. No Interest shall noorue- on the Security Deposit llJld Le5sor shall have no
          liability to tu:count to l...essec for ruiy inlctcsl lf Lessor d1all apply any of the Security Deposit lowards any otillgations ofLcssewnder the Lease, Lessee
          shtt!I, upon demand, Pl'l' to Lessor Ill\ amount necessruy Jo n:hun the Security Deposit to the sum specified above. Jn f\ntheranoe thereof, Lessee hereby
          gruub to l.e!>Sor n .security intercsl in the cash comprising lhc Se1,.11ri1y DeJ'.IOSit from time to tin1e and an)' and illl interest thereon, together with the
          proceeds thereof, to secure the prompt payment as and when dw.1 of all jndcbtedness, and the- prompt pcrfonm.111ce 115 and when due of ntl obligations, of
          Lessr.-c now l}r here al\er required under the Lease. If no Default has 1hl!J1 occurred, upon !he expiration or earlier tennimtlion of lhe Term oft he Lease,
          1110 balance of lhe Security Deposit tl1en held by Lessor shall promptly be paid to L:sscc
                          22. Sli:V£~ABILl1'\", The lnvalida11on of any provision or provisions of this Lcnsc M ununfurceal:ile shall not operate 1o invalidate the
          remainder afthe Le~ whlcb shall romnin in full fon:..i w1d effect
                          23. NOTICES. All noliccs rel-ating 10 this Lease shall be delivc1ed in person to an offi~'l" of' Lessor or Lessee 01 malled (o tht respective
          addresses shown above on the first pR.ge of Lhis Lease, or lo such address as otherwise s1>cc!ficd i11 wrlCing hy the appropriate pMty hereto
                          24. WAJVER. Lessor's forbearance ufexercise CJf eny right or remedy on Lessee's bnu1ch of any tenns, covenants or conditions l1ereundcr
                                                                                       Page 4 of6




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 shnll not be deemed a waiver of such right or remedy, the rcqain:mcnt of punctual pcrlbnmmcc, or any of ils remedies upon eny oth~r or subscque111
 breach or default
               2S. GOVERNING LAW. 'fhis Lease tak<:s effect upon its llle{:eptn:nce and execution hy L~or, and shall be governed, interpreted and
 construed under the laws of the Sta1t: DfOhio. Ohio law shall prewil in the cvenL of any conflict of law without regard to. nnd wilhou! giving effect to,
 lhe application of oho!ce otlawrul" LESSEE WAIVES ALL RJGHTS TO TRJAL BY JURYIN ANY LmGA'l'IONARISlNG FROM OR RELATED
 TO THIS LEASE, AND LESSES SUBMITS TO ·nm JURJSOICTION OF THE FEDERAL DISTRICT COURT FOR THE SOUTHERN DISTRICT
 OF OHIO, OR ANY STATE COURT OF COMPITI'llNT JURISDICTION W!Tl!IN MONTGOMERY COUNTY, OHTO, ANO IVAlVES ANY RIGHT
 TO ASSERT THAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE
 TRANSFERRED TO A MORE CONVENIENT FORUM.
               26.       WAJVER OF DAJ\IAGES. Lessoe waives to the fullest extenlpc.rmittr.i:l by law any right to or o111im of any punitive, exemplary,
 indirect. spccia1, conscqucntla~ or incidental damages ogainst Lesscu. Lessee Q;{!TCCS lhnl, in the event of a dispute, claim 01 controversy against Lessor,
 Lessee shall be limited to Ille recovety ofnotual direct damages sustained by it, subject lo any Umibn diroc:t damages sci forU1 in 1hia Le~ Lessee witl
 nol accept or attempt to collect through the coUrtB or otherwise 81'l)' punitive, exemplary, indirecl, consequential ot incidental damages from Lessor
               '2.7. SUCC$SSORS AND ASSlGNS. This Lease sball be binding 011 and inure lo the benefit of Lessor11t1d Loss«1 ~d th~ir respective
 successors and as.~igns pennlltcd hereunder.

· ··co1npiy1ng·1Jf~~~~iiii~¥~~~iS~-a~~~~~.roF~if!~~i~iii~·fa~f}J~~1~r~~~~t1ii~·~iin~i!~m~~~~·~e;lv~~ftr-ili~-v!*l~1!£!ii~··"·--
  01ocr. govemmenta1 regulations, or other imerforcnco or any c1uue whatsoever 11ot wlthin the sole t1011trol of Lessor

                                                            (SIGNATURE PAGF.S FOJ.LOWI


                                                                                                                                                                      -~




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 IN \\'lTNESS WHEREOF, the parties hereto have entered into this Lease Agreement qs of the date first above written


                                                                                     LESSOR:


                                                                                      By:
                                                                                                    __s_._c_o_m
                                                                                      Name:.__,_,_._i_ana    __e_tte
                                                                                                                 __
                                                                                     Title: _ _'Tice
                                                                                                _ _ President
                                                                                                     _ _ _ _ _ __




                                                                                      LESSEE; Sonct Transportation and Logistics Inc.


                                                                                      (X)sy:
                                                                                       /SIGNATURE
                                                                                                 ~e                .1.' "-'




  EQUIPMENT ACCEPTANCE
  Lessee hereby confirms lhal the Bqulpmcnl h11s hetn dolivered. duly assembled and In good working order and condition. L~s= oonfirms Uu~t ofter o.
  rcasoruiblc opportwlity 10 inspect tho Equipment. it hos solely selected, and unconditlonaJly and irrevocably accepted the Equipment u~is. where-is for all
  purposCli of this Lease ns of this date. In lhe event that the Equipment is not delivered and accepted wllhin thirty (30) days of Lessee's signing of this
  Equipment Acceptance, Lessee hereby authorizes Lessor to increase the Pay1nents to reflect any Lease nnc increase applicable to the Lcnse




                                                                                      LESSEE: Sonet Transportation and Logisiics Inc,


  (X)Dated:       (-      3-f _{'"                                                    (X)By:      ilf"Au.A.,
                                                                                            /°s;TURil




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                                                                                                             6961 Cintas Blvd

/'JJUSH
~TRUCK                      LEASING, INC.
                                                                                                             Mason, OH 45040

                                                                                                             800-766-2874
                                                                                                             www.bushtrucks.com
                                                                 LEASE AGREEMENT
                   Contract Date:                                                                  Lease ID No.          CLBC8669

                                                                            LESSEE
Individual Legal Name(if applicable}:
Company Legal Name(if applicable):       Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:Natiooal CityState:CA      Zip: 91950
                                                           EQUIPMENT
 Vehicle Year                            I
                                  Vehicle Make                   I Vehicle Model                                        I Vehicle Identification Number
2012                                     I Freightliner                          I Cascadia                             11FUJGLBGXCLBC8669
       Refer to Scl1edule 1 of this Lease Agreement for Equipment details in the eve11t that llo Equipment informatio1J appears above
                                                     . SUMMARY OF LEASE TERMS
Commencement             Initial      Rental Periods N To~al f  Down    Advance Basic Rent                           Doc Fee        Security      End of Term
Date & lst Basic         Te1·m                         um ero Payment+    or     (without                                           Deposit         Option
                                                      Payments Taxes at
  Rent Date                                                             Arrears   Taxes)
                                                               Closing
(. /·;l..~1:>              36          MONTHLY              36        $1,500.00      Arrears        52,036.67        $400.00          $0.00           TRAC
1· I · ~~ 1-f;      MONTHLY

If Option Upon Expiration of Initial Term of Lease is TRAC under Sectlon4A herein, the "TRAC Residual" shall be $26,300.00

                                                                          _- t Date above by and between BUSH TRUCK LEASING, INC.
   THIS LEASE AGREEMENT ("Lease") is hereby entered into as of the <;,.oylritc.
   ('Lessor''), and LESSEE referenced above.                       ~t ..
                                                                                   ~~

                 1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lfi;:-hereby leases from Lessor, the Equipment described herein, together
   with all replacements, repairs and additions thereto (individually and collee-tiVCly;'the "Vehicles'') on the terms and conditions set forth in this Lease.
   Lessee agrees that Lessee leases the Vehicles "as-is'", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
   manufacture selected by Lessee, and a:s of such date, Lessee has uncondilionally ticcepted such Vehicles in all respects. Lessee further confirms that it
   has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements, representations, oavarranties made by
   Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identified herein will be used for
   commercial purJ>oses.
                 2. INITTAL TERM. The tenn of this J.,ease for each Vehicle shall commence on the Contract Date and shall continue for that number of
   mont_hs from the flJSt (1st) day of the month following the Contract Date (unless the Contract Date ls the first (1st) day of the month, in which case the
   Contract Date shall be the date on which the term of this Lease commences) ("Commencement Date'') each as set forth in the Summary of Lease Terms
   (such period as extended or sooner terminared by Lessor as provided herein, the"Tenn").
                 3. RENT. The rentaJ payment amount for each Vehicle hereunder (the ''Basic Renf'} is set forth in the Summwy of Lease Tenns. Basic
   Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
   in advance or arrears for the periods (ea'cl1 a "Rental Period") and for tbe total number of payments as set forth in the Summary ofLeitSe Tenns, in each
   case, on the first day of each ·such Rental Period. lfthe Contract Date does not faU on the first day of the month. the renta1 for that period of time from
   the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
   One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract D.ate to
   (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
   Rent Lessee is obligated to pay hereunder (the ..SUpplemental Rent'' and together with Basic Rent. the "Rent") when due or if no date is specified
   herein. on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of 10% of
   the late rental payment amount, and the maximum amount pennitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
   OF ALL OTHER OBLIGATJONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF. COUNTERCLAIM, OR ANY DEFENSE
   WHATSOEVER, INCLUDING, BUT NOT LIMITED TO, ANY RIGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE
   AGAINST LESSOR, ANY OF LESSOR"S AFFILIATES, ANY ASSIGNEE OF LESSOR. OR THE MANUFACTURER OF THE VEHICLES FOR
   ANY REASON WHATSOEVER, SPECJF!CALLYINCLUDING, WITHOlIT LIMITATION.ANY CLAIMS THAT LESSEE MAY HA VE AGAINST
   LESSOR, ANY OF LESSOR"S AFFILIATES. OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
   AGREEMENT REFERENCED IN SECTION 7 HEREOF.
                4. OPTION UPON EXPIRATION OF INITIAL TERI\f OF LEASE. Upon expiration of the Initial Tenn of the Lease, Lessee shall
    comply with the provisions of Clause A or B below, in either case,. as specified in the Summacy of Lease Tenns

                    A.          Terminal Rental Adjushnent Clause ('ITRAC"). Lessee agrees that there sha11 be an adjustment of the Rent to be paid
                                 Lessor under the Lease for the Vehicles. ft is presently anticipated that the fair market value of the Equipment (the
                                 "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Tenns. Upon




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                              expiration of the Initial Term, Lessor will attempt to sell the Equipment. In the event that the Net Proceeds (as defined below)
                              are less than the Estimated Fair Market Value. Lessee shall pay to Lessor the full amount of such shortfall. If the Equipment
                              has not been sold on the last day of the Initial Term. then the Net Proceeds shall be deemed to be zero and Lessee shall
                              immediately pay to Lessor the TRAC Residual If the Lessor thereafter shall sell lhe Equipment, the Net Proceeds shall be
                              paid by Lessor to Le11sev. Any such payment by either Lessee or Lessor shalt be deemed to be a Terminal Rental Adjustm~mt
                              with respect to the Vehicles. As used herein, "Net Proceed!!" shall mean the proceeds received by Lessor, after deducting (i)
                              alJ costs and expenses incurred in connection with the recovery, repair, storage, and sale oflhe Vehicles, including any and all
                              attorneys' fees and legal expenses, (ii) all late charges and all interest accrued at the Default Rate (as hereinafter define<!), and
                              (iii) all rent payments and other obligations of Lessee due and unpaid under the Lease as of the date of the sale or disposition.
                              As to each Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment after
                              expiration of the Initial Tenn are less th.an the TRAC Residual amount for such Equipment as set forth in the Summary of
                              Lease Terms, then Lessee shaU immediately pay to Lessor the amount of such deficiency as additional Rent hereunder, lfthe
                              Net Proceeds arc in excess of the TRACResiduaJ amount, then 100% of such excess shall be returned to Lessee as a reduction
                              in the Rent for such Equipment, provided, however, that Lessor shall be entitled to retain all or any portion of such amount to
                              satisfy any of Lessee's obligations under the Lease

                                Lessee hereby certifies, under penalty of perjury, that
                     (i}   Lessee intends that more than 50% of the use of the Equipment subject to this TRAC is to be used in a trade or business of the
                              Lessee,
                     (ii) Lessee has been advised by tax counsel or other tax advisor, and
                     (iii) Lessee understands and agrees that, Lessee will not be treated as the owner of the Equipment identified above for federal income
                              tax purposes.

                     D.          $1.00 Buyout. Lessee hereby unconditionally agrees to purchase all, but not less than all. of the Equipment for SJ .00 upon
                               expiration of the Initial Tenn of the Lease. Lessee and Lessor agree that Lessee is owner of the Equipment and shall file and
                               pay all license. regislmtion fees, and documentary, sale and use taxes, and personal property tnxes and an other taxes. fees and
                               charges relating to the ownership, teasing, rental, sal~ purchase, possession or use of the Equipment

                       With respect to any option upon expira1ion of dle Jnitial Term of the Lease set forth herein, if written notice of Lessee's intention to
                       exercise such elected option is not received on a timely basis. then such failure shall constitute an Event of Default, and to the extent
                       that the Lessee fails to return to Lessor the Equipment in accordance with Section 7 hereof, Lessee agrees to pay a daily rental fee
                       equal to 1500/v of the daily Rent for each day that the Equipment fs retained by Lessee; provided, however, such payments shall not
                       extend Lessee's right to have and use the Equipment beyond the Initial Tenn of the Lease as provided herein. Upon exercise of the
                       option elected by Lessee and payment in full by Lessee of any related purchase amounts and aH Rent, IM;sorwilJ execute and deliver
                       to Lessee the title to the Vehicles, and any other documentation nece:;swy to transfer title to Lessee. TH[S SALE WILL BE
                       WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHETHER EXPRESS OR IMPLIED JN
                       FACTOR LAW and. Lessee will accept the Vehicles"AS IS" and "WHERE IS".

                   5. TAX INDEMNIFICATION. Except to the extent Section 4B i.s .applicable upon expiration at tl1e Initial Tenn, it is und~rstood and
    agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to s11.cl1 tax benefits that are available as owner of the Equipment through
    depreciation of the total capitalized cost of the Equipment thereof for fuderal income t.ax purposes. In the event that Lessor suffers .any loss,
    disallowru1ce, unavailability. or recapture of such depreciation for any rease>n whatsoever, then, after written notice thereof by Lessor to Lessee, Lessee
    shall pay to Lessor an additional incremental amount payable on each date, Uuit the Basic Rent is thereafter due, which in the opinion of Lessor, will
    cause Lessor's net after-tax annual cash flow and net after-tax rate of return respectively~ that would have been available if Lessor had been entitled to
    full utilization of the depreciation. In the event that any payment is required to be made pursuant to this Section 5, and sueh payment is to be made on
    succeeding rent payment dates. but at such time this Leese shall have been tem1inated or Rent othenvisc no longer shall be due and payable on the
    remaining rent payment de.tes, Lessee shall promptly pay Lessor any amount equal to the incremental increase in Basic Rent which would have been
    required if such laX loss had occurred immedi&tely prior to the last rentaJ payment date on or prior to ll1e expiration or other termination of the Lease.
    Lessor shall promptly notify Lessee of the commencement of any proceeding by the Internal Revenue Service in respect of any item as to which
    indemnity is sought hereunder. Lessee's agreement to pay any snms which may become payable pursuant to this Section S shaJI survive the expiration
    or other tennination of this Lease:
                   6. USE OF VEHICLES. Lessee shall use the Vehicles only in its business and in compliance with all Jaws, rules, and regulations of any
    jurisdiction where the Vehicles are used or located Lessee represents and wftITants to Lessor at all times that (i) Lessee hes the right and ability to enter
     into this Lease; {ii) this Lease constitutes a valid, legal, and binding obligation and agreement of Lessee, enforceable against Lessee in accordance with
    its terms~ and (iii) that the entering into and performance of this Leas1; by Lessee will not result in a breach, violation, or default under nny judgment,
    order, law, regulation, loan, mortgage, agreement, indenture, or other instrument applicable to Lessee, or result in any breach of,. or conslitute 11 defauJt
    under, or result in the creation of any Hen, charge, security interest, or other encumbrance upon the Vehicles pursuant to any instrument to which Lessee
    is a party or by which it is bound lessee shall (i) use and operate the VeI1icles in a careful and prudent manner for the purposes and in the manner
    intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protected from dwnage; and (iii) shall pay for all maintenance of Vehicles
    to keep them in good and efficient working order and condition during the Tenn of the Leas~ including, but is not limited to, Lessee's supplying all
    fuel, lubricants, and other parts, supplies, maintenance and services, and/or Lessee, upon Lessor's request, entering into a service and maintenance
    agreement with Lessor or an affiliate of Lessor upon such tem1s and conditions provided by Lessor. After notice to Lessor, Lessee may, at its own
    expense, make alterations or add attachments to the Vehicles. providecl that such alterations or attachments are removable and do not reduce the value,
    utility or useful life of the Vehicles. Upon the expiration or termination of the Lease, all alterations or attachments affixed to the Vehicles shall become
    the property of Lessor if not removed, a11d if Lessee does remove sucli attachments, Lessee shall be liable to Lessofor any damage to the Vehicles as the
    result of such removal. In the event that any federal, state, or loeaJ law. ordinance. ru!e or regulation shall require the instullation of any additional
    accessories to any of the Vehicles, including, but not limited to, anti-pollution and/or safety devices, or in the event that any other modifications to the
    Vehicles shall be required by virtue of such law, ordinance, ru!e or regulation, then and in any of such events, Lessee shall pay the full cost thereof,
    including installation expenses. Lessor 1nay, at its option, arrange for the installation of such Vehicles or the perfomtance of such modifications, and
    Lessee agrees to pay the full cost thereof immediately upon receipt of an invoice for the same
                   7. SURRENDER. Upon either the (i) failure by Lessee lo exercise any purchase option for any Vehicle set forth herein, or (ii) upor!
     demand by Lessor made pursuant to an E'•ent of Default (as set forth in Section 19 hereof), Lessee s])a!l, at its own expense, return such Vehicle to

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    Lessor to such location within the continental United States as Lessor shall designate, in the sume condition as when delivered, reasonable wear and tear
    excepted and otherwise in dle condition required by this Lease Upon return of the Vehicles, Lessor, or such entity desigm1tcd by Lessor, shall perform a
    physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and a\1 costs associated with the inspection, and
    for any and all repairs necessary to place the Vehicles in the same condition as when delivered, reasonable wear and tear excepted and otherwise in the
    condition required by this Lease
                   8, PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided that,
                                                                                                                                                                            ;
                                                                                                                                                                            I
    upon the expiration or tennination of this Lease, and in the event that Lessee does not purchase the Vehicles pursuant to Section 4.B hereof. Lessee
    shall, upon t11e request of Lessor and at Ll?SS~s expense, restore the Vehicles to original condition, ordinary wear and tear excepted
                   9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE, AND SHALL NOT BE
    DEEMED TO HAVE MADE, ANY EXPRESS OR IMPLIED WARRANTY AB TO MERCHANTABILITY, FITNESS FORANY PURPOSE OR USE.
    DESIGN OR CONDITION OF VEHICLES, QUALITY OF MATERIAL OR WORKMANSHIP, OR AS TO ANY OTHER MATIER WHATSOEVER
    RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
    PUNITIVE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE Tiffi VEHICLES, OR ANY INADEQUACY, DEFICIENCY, OR
    DEFECT IN TIIE VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEHICLES "AS IS". Lessor agrees, to tln: extent possible and
    without increasing its liability hereunder, and upon request, to assign to Lessee, any warranty of a manufacturer or seller relating to the Vehicles
    available to Lessor, provided, however, that the foregoing rights shall automatically revert to Lessor upon the occurrence and during the continuance of
    any Event of be fault hereunder, or upon return of the Vehicles to Lessor, Lessee agrees to settle all claims with respect to the Vehicles directly with the
    manufach.lrers thereof, and to give Lessor prompt notice of any such settlement and the details of such settlement
                   10. TITLE AND INSPECTION. Lessee, at its expense, shall protect and defend Lessor's title and keep it free of all claims and liens
    except those claims and Hens created by Lessor in connection with any assignment or fmancing by Lessor. Lessor may inspect the Vehicles at any time
    without prior notice during regular business hours. If, at any time during the Term of this Lease, Lessor supplies Lessee with labels. plates or other
    markings stating that the Vehicles are owned by Lessor~ Lessee shall affix and keep the same in a prominent place on the Vehicles
                   ll, LICENSES. Lessee shall at its expense obtain all necessary licenses(including motor Vebicle plates) and registrations, required for the
    use and operation of each Vehicle. All certificates of title or registration of each Vehicle shall name Lessor as the owner thereof
                   12. INTERESTS lN VEIDCLES. Lessee's rights with respect to this Lease and any Vehicles leased hereunder wilf be subject to any
    rights and interest in and to said Vehicles which may be granted by Lessor {or Lessor's flffiliates) to any assignee or lender of Lessor (or Lessor's
    affiliates). Lessor may assign to a lender or any other assignee all or any part of Lessor's rights hereunder, including a security interest In the Vehicles
    and the right to receive rents and other sums due hereunder. Upon notice of such assignment in writing by a fender, assignee and/or Lessor, Lessee shall
    pay all rents and other sums due or to become due under this Lease directly to such lender or assignee without set off, counterclaim. or any defense
    whatsoever.
                   13. TAXES. Lessee shall pay all personal property, sales or use taxes, business licenses, assessments, penalties, and charges which may be               i
    levied or asserted with respect to the Vehicles (except income taxes levied on k~ase payments to Lessor). ln the event that any such taxes, licenses,
    assessments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immediately after Lessor notifies Lessee ln writing of the
    amount of such taxes, licenses, assessments, penaJties, charges or ex.penses paid by Lessor, as well as an administrative fee. Increases or decreases in
    sales or use tax rates will affect all lease payments after the effective date of the change by th~. taxing authority. Lessee shall indemnify and hold Lessor
                                                                                                                                                                            I
    harmless from and against any loss, cost or expense arising out of or relating toany such ta~p.l}J:!.Qrt or levy, including, without limitation, any penalties.
    intcre3t and fines relating thereto.                                   .                        · ""::-o>°'f
                   14. FINES. Lessee shall pay all fines due to overload, overlength, o\'erweigh~.Jack of plates or permits, speeding and any other charges
    which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof Thf: Provisions of this Section 14 shall survive the expiration
    or other termination of this Lease.
                   1S. LOSS OR DAMAGE. Lessee shall bear [he entire risk of loss, theft, destruction of or damage to any Vehicle from any cause
    whatsoever ("Loss or Damage"). Lessee shall promptly notify Lessor in writing of any Loss or Damage. No Loss or Damage to any Vehicles shall
    relieve Lessee of any obligation withrespcct to such Vehicle under this Lease. In the event of Loss or Damage, Lessee shnll, at the option of Lessor: (a)
    put such Vehicle in good condition and repair in a'JCOrdanee with the manufacturer's recommendations, and to the reasonable satisfaction of Lessor, at
    Lessee's expense; {b) replace such Vehicle with a like Vehicle {same value, utility and useful life as damaged Vehicle) in good condition and repair as
    approved by Lessor in Lessor's sole discrelion with clear title thereto vested in Lessor; or (c) pay Lessor on or before the next rent payment date as set
    forth in accordance with Section 3 hereof(such payment date, the "Loss Payment Date..) in cash the sum of: (i) all amounts then due Lessor by Lessee
    under the Lease relating to such Vehicle, which amDunts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
    of the TRAC Residual, if any, relating to such Vehicle (as set forth in the Summary of Lease Tenns), discounted at 5.0% computed frum the expiration
    of the Initial Tenn of the Lease to the Loss Payment Date, plus (iii) an amount equal to the present value of the unpaid future remaining Rents for the
    Initial Tenn of the Lease, relating to such Vehicle discounted at 5.0% computed from the scheduled payment dates for such Rents to the Loss Payment
    Date (the "Casualty Value Amount"). Upon receipt of the Casualty Value Amount set forth in (c) above. Lessor shall assign to Lessee (or Lessee's
    insurer) Lessor's interest in such Vehicle in its then oondition and locatioJJ, "AS TS" without any warranty whatsoever, express <>r implied. If Lessee is
    required to repair any Vehicle in accordance witl1 (a) above, or to replace any Vehicle in accordance with (b) above, the insurance proceeds actually
    received by Lessor, if any, pursuant to Section 16 hereof shall be first applied to pay any amounts then due under this Agreement, and then shall be paid
    to Lessee upon proof satisfactory to Lessor that such repairs have been completed as required hereir(in the case of (a)), or of adequate purchase and title
    documents in Lessor's sole. discretion (in the case of(b)). In the e'\'ent that Lessee is obligated to pay to Lessor the amount specified in {c) above, Lessee
    shall be entitled to a credit against such amount equal to the amount of insurance proceeds actually received by Lessor, if any, pursuant to Section 16
    hereof, on account of such Vehicle
                   16. INSURANCE. Lessee shall obtain and maintain insurance on or with respect to each Vehicle at its own expense filld in the amounts
    and forms satisfactory to Lessor. ln no event shall any insurance coverage be less than the following: (a) physical damage insurance insuring against
    loss or damage to the Vehicles in an amount not less than the full replacement value of such Vehicle; and (b)(i) in all States except Florida: (1} not
    greater than $500 deductible for collision, fire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injury liability and property
    damage~ or (b)(ii) for the State of Florida: (1) not greater than 5500 deductible for collision, fire, theft, and comprehensive, and (2) $250,000 per per!!on
    I $500,000 per incident bodily injury liability. and (3) $100,000 property damage liability. In addition, the followingrequire$1,000,000 excess liability
    coverage (umbrella): (a) truck/tractors over 45,000 lbs.; (b) trailers/semiwtrailers; tow trucks; and {c) limo uses for livery. Lessee shall furnish Lessor
    with a certificate of insurance evidencing issuance of such insurance to Lessee in at least the minimum amount required herein, naming Lessor and such
    other parties designated by Lessor as additional insured thereunder for liability coverage. and as loss payee for property damage coverage. Each policy
    shall require insurer to give Lessor30 days prior wriltcn notice of any material alteration in termsofpolicy or cancellation thereof, and shall provide that
    no action, misrepresentation or breach ofwmranty ofLessee shall invalidate the policy. If Lessee foils to provide such insurance, Lessor shall l1ave the
    right, but no duty, to obtain such insurance, and Lessee shall pay Lessor all costs thereof, including all costs incurred by Lessor in obtaining such
    insurance together with interest at the Default Rate from the date paid by Lessor to the date paid in full by Lessee. Lessee shall not use any Vehicle if
    the insurance required herein is not in full force and effect with respect10 such Vehicle. Upon Loss or Damage as set forth in Section 15 hereof, Lessee
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shall receive credit for any amounts paid to Lessor by the insurer against Lessees obligations hereunder.
               17. INDEMNITY. Lessee shall indemnify Lessor against, and hold Lessor harmless from, any and aU c1aims, actions, damages,                                  ~j
obligations, liabilities, liens (hicluding any arising or imposed under the doctrines or strict liability in tort or producl liability), and costs and expenses
(including attorneys fees), arising from or out of the manufacture, purchase, lea"Se, possession, operation,. condition., return. or use of the Vehicles, or by           N
operation of law, excluding however any of foregoing re.suiting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that                       '
upon written notice by Lessor of assertion of any such claim. action, damage, obligation, liability, or lien, Lessee, at Lessee's expense shall assume full
responsibility for the defense lhereo~ provided that Lessor shall have the right, but not the obligation, to participate in any defense ronducted by Lessee
without relieving Lessee of any of its obligations hereunder The provisions of this Se<:tion 17 shall survive termination of this Lease.
               18. ASSIGNMENT. Except as otl1erwise permitted herein, without Lessoi's prior written consenl,. Lessee shall not assign, transfer, pledge,
hypothecate or otherwise dispose of this Lease, the Vehicles or any interest therein, or sublet or lend the Vehicles, or pennit the Vehicles to be used by
anyone except Lessee or Lessees authorized employees. Lessor may assign this Lease or any interest therein in whole or part without notice to Lessee
               19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions which shall
constitute ''Events of Default": (a) Lessee fails to pay any Rent or other amount when due; (b) Lessee fails to observe, keep or perform any other
covenant or provision of this Lease required to be observed, kept. or performed, by Lessee; (c) Lessee n::moves, sells, transfers, encurobers, creates a
security interest in. relinquishes possession of the Vehicles. or performs any act which impairs Lessor's title to any Vehicle or attempts any of the
foregoing; (d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lease; (e) Lessee fails to satisfy any traffic
ticket or summons or fails to register any Vehicle; (f) Lessee becomes insolvent. bankrupt or has a trustee or receiver appointed for Lessee or for a
substantial part of Lessee's property; (g) Lessee experiences a material change in its business or affairs (including tennination of Lessee's employment
or termination of tbe contract under which Lessee provldes services or a change in the control or ownership of Lessee or Lessee's employer or t11e party
with which Lessee ccntractx to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the credit risk
involved therein; (h) Lessee attempts lo assign this Lease without the consent of Lessor; or (i) Lessee fails to nolify Lessor of any material change in ils
business and affairs, including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
Inc. and its successors and assigns, the true and lawful aUorney-in-faet of Lessee, with full l'OWer in the name of Lessee upon the occq.rrence of an Event
of Default, (i) to demand and receive any and all money.!! and claims for moneys due in respect of or relating to the Equipment, (ii) to assign or transfer
any of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee to any replacement lessee hereunder and/or causing
any other person to become the registered owner of the Equipment) and (iii) 1o take any other action in respect of this Lease or any of the Equipment.
Lessee ratifies and approves all acts of Bush Truck Leasing, Inc., as attorney-in-fact Bush Truck Leasing, Inc., as attorney-in-fact will not be liable for
any acts or omissions or errors of judgment or mistake of fact or law. Thii; power, being coupled with an interest, is irrevocable until nil obligations
under this Lease have been fully satisfied
               20. REMEDIES. Upon the occurrence of any Event of Default, Lessor may declare this Lease to be in dc:fimtt, and at any time thereafter,
Lessor, at its option, may do any one or more of the following: (a) cancel this Lease; (b) proceed by appropriate action to enforce perfonnance of the
Lease at Lessee's expense or to recover damages (including attorneys fees) f-0r the breach thereof; (c) dClnand that Lessee, and in such case the Lessee
.shall. return all or any part of the Vehicles promptly in the manner rcqufred by Wld in accordance with Section 7 hereof; (d) enter, wilh or without legal
process. Lessee's premises or any other premises where the Vehicles are located, and take possession of all or any part of the Vehicles without any
liability to Lessee by reason of such entry; (e) seJl, lease, or otherwise dispo.se of all or any part of the Vehicles at a public or private sale, which may be
conducted where such Vehicles are then located; (f) demand that Lessee, nnd in such case Lessee shall, pay to Lessor as liquidat~d damages for loss of a
bargain and not as a penalty an amount equal to the sum of(i) all mnounts due and unpaid under the Lease (including without limitation any indemnity
obligations) plus interest thereon from the due date thereof at a per annum interest rale equal to the prime rare of Interest then in effe-ct as published in
the Wall Street Journal plus2.0% (the "Default Rate''), plus (ii) the present value of all future Rent payments for such Vebic\es,discounted at 5.0%, plus
(iii) the present value of the TRAC Residual, if any, discounted at 5.0%, plus (iv) all costs and expenses incurred by Lessor in enforclng Lessor's rights
hereunder (including, without limitation, all costs of repossession, recovery, storage, repair, saJe, re-lease, and attorneys' fees). together with interest
thereon at the Default Rate from the date of demand to the date of payment in full (the "Liquidated Damages''), or (g) exercise any other right or remedy
which may be available to Lessor under the Unifonn Commercial Code or any other applicable law The proceeds of any sale or lease of the Vehicles by
Lessor shall be applied in the following order of priority (1) to pay all of Lessor's expenses in taldng, holding, preparing for sale or 1case, and disposing
of the Vehicles, including all attorneys ftes and legal expenses, then (2) to pay any late charges and a\1 interest accrued at the Default Rate; then (3) to
pay accrued but unpaid Rent payments. then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. Iftbe proceeds of
any sale or lease are not sufficient to pay lhe amounts owed to Lessor under this Lease. Lessee will pay the deficiency. Lessor may also, witliout
liability, take any personal property stored within 1]1e Vehicles and may store any sucl1 property at Lessee's expense for 30 days. Lessee will be
obligated to reclaim such property wid1in 30 days and hereby waives any rights in such property lhereafter. Any unclaimed property will be deemed
abandoned after 30 days and will be discarded by Lessor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied to Lessee•s
obligations under this Lease pursuant to this Section 20. Lessor's remedies hereunder may be exercised instead of or in addition to any other legal or
equitubleremedie.s. Lessor has the right to set off any sums received from any source (including Insurance proceeds) against Lessee's obligations under
this Lea.se. Lessee waives its right to object to the notice of the time or place of sale or lease, and to ttie manner and place of any advertising therefore.
Lessee waives any defense based on statutes of limitations -0r I aches in actions for damages. In case of failure by Lessee to pay any fees, assessments,
charges. or ta.'l:es arising with respect to the Vehicles. Lessor shall have the right, but not the obligation to pay such amounts, and in that event. the cost
thereof shall be payable by Lessee to Lessor upon demand, together with interest at the Default Rate from the date of disbursement by Lessor
               21. SECURITY DEPOSIT. The Security Deposit shall be held by Lessor during the entire Tenn of the Lease, including the Interim Tenn
and any renewal term, as security for the full payment and perfomlallce of the tenns, conditions and obligations ofL~ee hereunder and under any and
nil Schedules. The Security Deposit shaJl not excuse the perfonnance at the time and in lhe manner prescnOed or any obligation of Lessee or cure a
default of Lessee. Lessor may. but shall not be required to, apply such Security Deposit towards discharge of any overdue obligation of Lessee. Lessor
shall be entitled to commingle the Security Deposit with any of its own funds. No Interest shall ae<:n.ie on the Security Deposit and Less<i~ shall have no
liabi1ity to account to Lessee for any interest If Lessor .shall apply ony of the Security Deposit towards any obligations ofLessewnder the Lease, Lessee
shall, upon demand, pay to Lessor an amount necessary to return the Security Deposit to the sum specified above. Tn furtherance thereof, Lessee hereby
grants to Lessor a security interest in the cash comprising the Security Deposit from time to time and any and all interest thereon, together with the
proceeds thereof, to secure the prompt payment as and when due of all indebtedness, and the prompt performance as and when due of all obligations, of
 Lessee now or hereafter required under the Lease. lfno Default has then occurred, upon the expiration or earlier termination of the Tenn of the Lease,
the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee
               22. SEVERABILITY. TI1e invalidation of any provision or provisions of this Lease a.s unenforceable shall not operate to invalidate the
remainder of the Lease which shalt remain in full force and effect
               23. NOTICES. All notices relating to this Lease shall be delivered in person to an officer of Lessor or Leasce or mailed to the respeclive
addresses shown above on the first page of this Lease,. or to such address as otherwise specified in writing by the appropriate party hereto
               24. 'VAIVER. Lessor's forbearance of exercise of any right or remedy on Lessee's breach of any tenns, covenants or conditions hereunder
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shall not be deemed a waiver of such right or remedy, the requirement of punctual perfonnance, or any of its reme<lies upon any other or subsequent
breach or defitult
             25. GOVERNING LAW. This Lease takes effect upon its acceptance and exei:ut.ion by Lessor, and shall be governed, interpreted and
construed under the Jaws of the State of Ohio. Ohio law shall prevail in the event of any conflict of law without regard to, and without giving effect to,
the application of choice of law rules LESSEE WAIVES ALL RTGHTS TO TRIAL BY JURYTN ANY LmGATION ARISING FROM OR RELATED
TO IBIS LEASE, AND LESSEE SUBMITS TO THE JURlSDICTION OF THE FEDERAL DISTRICT COURT FOR THE SOUTHERN DISTRICT
OF OHIO, OR ANY STATE COURT OF COMPETENT JURISDICTION WITHIN MONTGOMERY COUNTY, OHIO, AND WAIVES ANY RIGHT
TO ASSERT THAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT !S lN THE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.       WAIVER OF DAMAGES. Lessee wWves to the fullest extentpermitted by Jaw any right to or claim of any punitive. exemplary,
indirect, special, consequential, or incidental damages against Lessor. Lessee agrees that, in the event of a dispute. claim or controversy against Lessor,
Lessee shall be Jimited to the recovery of actual direct damages sustained by it, subject to any limibn direct damages set forth in this Lease. Lessee will
not accept or attempt to collect through the courts or otheIWise any punitive, exemplwy, indirect, consequential. or incidental damages fron1 Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee and their respective
successors and assigns permitted hereundet
             28. FORCE MAJEURE. The obligations of Lessor hereunder shall be suspended to lhe extent that it is hindered or prevented ftom
complying therewith because of labor disturbances, acts of God, fires, storms, accidents, failure of the manufacturer to deliver any of the Vehicles, court
order, governmental regulations. or other interference or any cause whatsoever not within the sole control of Lessor

                                                           [SIGNATURE PAGES FOLLOW]




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.i ' '    •


          IN WITNESS WHEREOF. the partfos hereto have entered into this Lease Agreement as of the date first above written

                                                                                                                                                                                .1
                                                                                              LESSOR:


                                                                                              By:

                                                                                              Name:_-"'~'<iee.,;e>c11"<',...e0<s,.ii<d~aat.,,,,..,_____
                                                                                              Title:._ _ _ _ _ _ _ _ _ _ __




                                                                                                                                                                                L-
                                                                                                                                                                                i




                                                                                               LESSEE: Sonet Transportation and Logistics Inc.




          EQUIPMENT ACCEPTANCE
          Lessee hereby confirms that the Equipment has been delivered, duly assembled and in good working order and condjtion. Lessee conflnns that after a
          reasonable opp(lrtunity to inspect the Equipment, it has solely selected, and unconditionally and irrevocably accepted the Equipment as-is, where-is for all
          purposes of this Lease as of this date. In the event that the Equipment is not delivered and accepted within thirty (30) days of Lessee's signing of this
          Equipment Acceptance, Lessee hereby authorizes Lessor to increase the Payments to reflect any Lease rate increase a}'.iplicable to the Lease




                                                                                               LESSEE: Sonet Transportation and Logistics Inc,


          (X)oated: 'I ~oz 1- I.;
                                                                                               ~~      •' SIG1";\TURE




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                                                                                                                                     6961 Cintas Blvd
                                                                                                                                                                                                           IL
                    BUSH
                    TRUCK LEASING, INC.
                                                                                                                                     Mason, OH 45040

                                                                                                                                     B00-766-2874
                                                                                                                                     www.bushtrucks.com
                                                                              LEASE AGREEMENT
                          Contract Date:                              ( /    - )..0 IS"                                  Lease ID No.               CLBC8670


Individual Legal Name(if applicabl•):
Company Lega,I Name(if applicable}:                   Sonet Transportation and Logistics Inc.
Malling Address: 22 W 35 Str•et Suite 205
City:National CityState:CA                Zip: 91950
-,;;;i;8'!:t;x-8!;[;p}]i:)]'.i~W2'{'1H"'.l\')~'\'1Ffc'.W-'il~1r:';'>;'.f;'[;}i\~N:!"QO)P.t.fef#;c;•~2\)'(;; --               ,'.' ' -' '"·' - -- -- -
 Vehicle Year                                    I
                                             Vehicle Make                             I Vehicle Model                                              IVehicle Identification Number
2012                                             I Freightliner                                   J Cascadia                                       I JFUJGLBG6CLBC8670
          Refer to Schedule 1 oftlris LeoseA.gre.emelflfor Equipment details In the event tliut no Equipment information appears above
;g,;;-1,;};;,:c~s,?'.t:'.;;'.,~>h.';ho!'i;:i;\f:'·W'Ci:.;;;\~''.'0:~''\i•cf:;~:S'SUi\iJMAR"liQi=i:'L'EA$E'iTi*Ms::;:-i;.'\\ >: .::;··:-:'/::c··-''- ''':'',;?'.::; ·:~-- -- -,_,_.S'o'/' ' ,, •• • .•
 Commencement              Initial ll•ental Penods    . N Total   b      f
                                                                               Down          Advance          Basic Rent            Doc Fee                 Security            End of Term
                                                              um ero Payment+
Date & 1st Basic            Term                                                                  or           (without                                     Deposit                 Option
     Rent Date                                              Payments         Taxes at         Arrears           Taxes)
                                                                                     Closing

 / I ·Au            t::,         36          MONTHLY                    36          $1,500.00          Arrears            $2,036.67            $400.00             $0.00              TRAC
  t-1        ;i.__.., i ) MONTHLY

If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $26,300.00


     THIS LEASE AGREEMENT (...Lease") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING. INC.
     ("Lessor'), and LESSEE referenced above. ___ J'
                                                                ·-1
                   1. GRANT OF LEASE. Lesso~                    !iF"1fv
                                                              leases to Lessee, and Lessee hereby leases from Lessor, r.hc Equipment described herein, together
     with all replacements, repairs and additions the~~-6ndividually and collectively, the -vehicles) on the terms and oonditioru: set forth in this Lease.
     Lessee agrees that Lessee le~ the Vehicles "'asMis", ood oonfirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
     manufacture selected by Lessee, aod as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
     has selected the Vehicles on the basis of its own judgment. and expressly disclaims reliance upon any statements, representations, a warranties made by
     Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehi.clcs Lessee certifle-s- that the Vehicles itlcntificdhcrcin will be used for
     commercial purposes.
                   2. INITIAL T£RM, The term of this Lease forc.ach Vehicle shall commence on the Contract Date anrl shall continue for that number of
     months from the first (1st) day of(hc monlh following lhc Contract Date (unless the Contract Da1e is the first (!st) day of the month, in which case the
     Contracrt Date shall be the date on which the- term of this ~e commences) \Commencement Daic"') each as set forth in the Surommy of Lease Tenns
     (such period as extended or sooner terminated by Lessor as provided herein, the"'Tcrm'}.
                   3. RENT. The rental payment amount for each Vehicle hereunder (the "Basic Rent") is set forth jn the Summary of Lease Terms. Basic
     Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
     in advance or arrears for the periods (each a ..~ntal Period} and for the total number of payments as set forth in the Summary of Lease Terms, in each
     case, on the first day of each such Rental Period. lfthc Contract Date docs not faJl on the first day oftbe month. the rental for that period of time from
     the Contract Date lDltil the Commencement Date shall be Bn amount equal to the daily rental (Bask Rent divided by 7 days for One Week , l 4 days for
     One Biweekly and 30 day.Ii for One Month R.coUll Periods, as applicable). muJtiplied by the number of days from (and including) lhe Contract Date to
     (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all 11mounts other than Basic
     lt.ent Lessee is obligated to pay hereunder (the "Supplemental Renf' and together ·with Basic Rr::nt, the "Rent") when due or if no date is specified
     herein, on demand. If any Rent payment is not made withtn five (S) days after its due dat~ Lessee shall pay a late charge equal to the lesser of 10% of
     the late rental payment amount, arid the maximum amount permitte.d by Jaw. LESSEE'S PAYMENT OF RENT AND LF.SSRF.'S PERFORMANCE
     OF ALL OTHER OBLIGATJONSARE ABSOLlITB AND UNCONDITIONAL AND WJTHOUI' SET Off, COUNTERCLAIM. OR ANY DEFENSE
     WHATSOEVER, INCLUDING, BUT NOT LIMJTED TD, ANY RJGHT OR CLAlM TH.AT LESSEE MAY NOW OR HEREAFTER HAVE
     AGAINST LESSOR, ANY OF LESSOR'S AFFlLIATES, ANY ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF THE VEl!!CLES FOR
     ANY REASON WHATSOEVER, SPBC!F!CALLY INCLUDING, WITI-IOUT LIMITATION, ANY CLAIMS TIIA T LESSEE MAY I IA VE AGAINST
     LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNllE OF LESSOR w1rn Rf.SPECJ' TO n!E SERVICE AND MAINTENANCE
     AGREEMENT REFERENCED IN SECTION 1 HEREOF.
                   4. OPTION UPON EXPIRATION OF INITIAL TERM OF LEASE. Upon expiration of the Initial Term of the Lease, Lessee shall
     comply with the provisions of Clause A or B below, in either ~se, as specified in the Summary of Lease Tenns

                           A.         Term hi al Rental Adjustment Clause {"TRAC''), Lessee agrees that there shall be an adjustment of the Rent to be paid
                                       Lessor under the Lease for the Vehicles. It is presently anticipated tbru the fair marke'I value of the Equipment (the
                                       "Estimated Fair Market Value} will eqoal the TRAC Residual set forth in the Summary of L.ease Terms. Upon




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                                                                                                                                                                                                        Exhibit A
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                                   expiration of the Initial Tenn, Lessor will attempt to sell the Equipment. In the event that the Net Prooeeds {as defined below)
                                   are Jess than the Estimated Fair Mad.-ct Value, Lessee &hall pay to Lessor the full amount of such shortfall. If the Equipment
                                   has not been sold on the last day of the Initial Tenn. then the Net Proceeds shall be deemed to be zero and Lessee shall
                                   immediately pay to Lessor the TRAC Residual. Tf the Lessor thereafter shall sell the Equipment, lhe Net Proceeds shall be
                                   paid by Lessor to Lessee. Any such payment by either Lessee or Lessor shall be deemed to be a Terminal Rental Adjustment
                                   with respect to the Vehicles. & used hmin, "Net Proceeds" shall mcan 1.hc proceeds ~cc::ived by Lessor, after d~m:.ting (i)
                                   all costs w1d expenses incurred in connection with the recovery,repair, storage, and sale of the Vehicle~. including ~my and all
                                   attorneys' fees and legal expenses, (ii) ell late charges and :all interesl accrued Ill the Default Rate (as hereinafter defined), and
                                   (iii) a.11 rent p,ayments and other obligations of Lessee due and unpaid under the Lease as of the date of the sale or dispo.s:ition,
                                   h to each Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other dispositicin of such Equipment after
                                   e~piration of the Initial Term are le!!S than the TRAC Residual amount for such Equipment as set forth in the Su.'"Timary of
                                   Lease Tenns, then Lessee shall immediately pay to Lessor the amount of such deficiency llS additional Rent hereunder. lf the
                                   Net Proceeds are in excess of the TRACResidual amount, then 100% of such excess shall be returned lO Lessee as a reduction
                                   in the Rent fur such Equipment, provided, hov.'ever, that Lessor shall be entitled to retain all or any portion of such amount lO
                                   satisfy any ofLessec:'5 obligations under the Lease

                                     Lessee hereby certifies, under penalty of perjury, tbat
                          (i)   Lessee intends that more than 50% of the use of the Equipment subject to this TRAC is lO be used in a trade or business of the
                                   Lessoe,
                          (ii) Lessee has been advised by tux counsel or other tax advisor, and
                          {iii) Lessee understands and agrees that, Lessee will not be treated !IS the owner of the Equipment identified above for federal income
                                   tax purposes.

                          B.          Sl.00 Buyout, Lessee hereby unconditionally agrees to purchase all, but not less than all, Qfthe Equipment !'or $1.00 upon
                                    expiration oft:m. Initial Term of the Lease. Lessee and Lessor ag.ree that Lessee is owner oftlie Equipment and shall file and
                                    poy all license. registration fees. and documentftfy, sale and use taxes, and personal property taxes and all other tux~s. fees and
                                    charges rolnting to the ov.'Dcrship, leasing, rental, sate, purchese, possession or use of the Equipment

                            With respect to any option upon expiration of the Initial Tenn of lhe Lease set forth herein, if written notice of Lessee's intention to
                            exercise such ele~d option is not reoclved on a timely basis, then such failure shall constitute an Event of Default, and to the extent
                            that the Lessee fails to Murri to Leossor the Equipment in i:iccc:irdance wjlh Section 7 hereof; Lessee agr«S to pay 11 daily rental fee
                            equal to 150% of the daily Rent for eacil day t"hat the Equipment is relained by Lessee~ provided, however, such payments shall not
                            extend Lessee's right to have and use the Equipment beyond the Initial Tenn of the Lease as provided herein. Upon c.x.ercise of I.he
                            option elected by Lessee and payment in fufl by Less~ of M)I related purchase amounts and all Rent, Lessor will cx.ecute and deliver
                            to Lessee the title to the Vehicles, and any other documentation nocessary to transfer title to Lessee. THIS SALE WILL BE
                            WmIOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHETHER EXPRESS OR IMPLIED IN
                            FACTOR LAW and, Lessee will accept the Vehic1es''AS IS" and ...WHERE lS".

                        S. TAX INDEMNIFICATION. Except to the extent Section 4B is applicable upon expiration at the Initial Term. it is understood and
        agreed that Lessor is owner of the Equipment and that Lessor shall be entftled to such tax benefits tiiat are available ns owner of the Equipmenl through
        depreciation of the total capitalized cost of the Equipment thereof for federal income tax purposes. In the C\'Onl that Lessor suffers any loss,
        dis.allowance, unavailability, or recepture of such depreciation for nny reason whatsoever, then, after written notice thereof by Lessor to Lessee, Lessee
        shall pay to Lessor an additional incremental amount payable on each date that the Basic Rent is therea&r due. which in the opinion of Lessor, will
        cause Lessar's net aficr-tax annual cash flow and net after-tax rate of return respectively, that would have been available if Lessor had been entitled to
        full utilization oftbe depreciation. In the event that any payment is required to be made purswmt to this Section 5, and such payment is to be made on
        succeeding rent payment dates, but at such time this Lease shell have been terminated or Rent otherwise no longer shall be due and payable on the
        re.malning rent payment dates, Lessee shall promptly pay Lessor any amount equal to the incremental increase in Basic Rent which would have been
        required If such tax loss had occurred immediately prior to the last rental payment date on or prior to the expiration or other temtlnation of the Lease.
        Lessor shall promptly notify Lessee of the commencement of any proceeding by the Internal Revenue Service in respect of any item as to which
         indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable pursuant to this Section 5 shall survive the expiration
        or othor termination of this Lease.
                        6, USE OF VElllCLES. Lessee shall use the Vehicles only in its business and in compliance with all laws, rules. and regulations of any
        jurisdiction where the Vehicles ere used or located Lessee represents and warrants to Lessor at all times tlurt (i) Lessee has the right and ability to enter
        into this Lease; (ii) this Lease constitutes a valid, legal.. and binding obligation mid agreement of Lessee. enforceable against Lessee in accordance with
        its terms: and (iii) that the entering into and performance of this Lelliie by Lessee will not result in s. breach, violation, or default under any judgment,
        order, law, regulation, Joan, mortgage, agrcemenl., indcJ1turc, or ofher instrument applicable to f..,css~. or result in any breach of, or coni;titutc: a dc:fouh
         under, or result in the creation of any lien, charge, security interest, or other encumbrance upon the Vehicies pursuant to any instrument to which Lessee
         is a party or by whicb it is hollnd. Lessee shall (i) tJSe and operate the Vehicles in a careful and prudent manner for !he purposes filld in lhc manner
         intendOO to be used; (ii) shaU keep the Vehicles properly housed or otherwise protected from damage; aml (iii) shall pay for all maintenance of Vehicles
        to keep them in good and cffic.icnt working order anti condition.du.ring the Tenn of the L~ase, includin&i but is no! limited to, l.~see's supplying all
         fuel, lubricants, and other parts, supplies, maintenance and serYices, and/or Lessee, upon Lessor's request. entering into a service and maintenance
         agreement with Lessor or an affiliate of Lessor upon such terms and conditions provid~ by Lessor. After notice to Lessor, Lessee may, at [ts own
        expense, make alterations or add allaclnnents to the Vehicles, provided that such allerations or attac:hmcmts arr; removable and do not reduce the value,
         utility o-r useful Iifc of the Vehicles. Upon the expiration or terminal.ion of the Lease, all alterations or atlacbments affixed to the Vehicles shall become
        the property of Lessor if not removed, and if Lessee does remove such attachments, Lessee shall be lia.ble to Lessofor any damage to the Vehicles as the
        result of such removal. In the event that noy federal, state. or local law, ordinance, rule or regulation shall require the installation of any additional
         accessories to any of the Vehicles, including, but not limited to, anti-pollution and/or safety devices, or in the event thB1 any other modifications: to the
        Vehi.cles shaU he required by virtue of such law, ordinance, rule or regulation, lhen and in any of such events., LeRSeC shall pay the full cost thereof,
         including installation expenses. Lessor may, at its option, arrange for the insta:llation of such Vehicles or the performance of such modifications, and
        Lessee agrees to pay the full cost thereof immediately upon receipt of an invoice for the same
                         7. SURRENDER. Upon eiUwr the (i) failure by Lessee to exercise any purchase option for any Vehicle set forth herein, or (ii) upon
         demand by Lessor made pursuant to an Event of Default (as set forth in Section 19 hereof), Lessee sllall, at its own expense, return such Vehicle to

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                                                                                                                                                                                 Exhibit A
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       Les.sor to such location within the continental United States as Lessor shall designate, in the same condition as when delivered, reasonable wear and tear
       exccpt.cd and otherwise in the condition required by this Lease Upon return of the Vehicles, Lessor, or such entil)" dcsigna!ed by Lessor, shall perfonn a
       physical and mechanical inspection of the Vehicles.. Lessee shall be responsible for the payment of an}' and all costs associated with the inspection. Md
       for any and all repairs necessary to place the Vehicles in the same condition as when delivered,. reasonable wcaJ and tear excepted and otherwise in the
       condition required by this Lease.
                      8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided that,
       upon the expiration or t.cnnination of this Lease, and in the even! !hat Lessee does not purchase the Vehicles pursuant to Section 4.B hereof, Lessee
       shall, upon the request of Lessor and at Lcssc~s expense, restore the Vehicles to original condition, ordinary wear and rear excepted
                      9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR BAS NOT MADE. AND SHALL NOT BE
       DEEMED TO HAYE MADE, ANY EXPRESS OR IMPLIED WARRANTY AS TO MERCHANTABILITY. FITNESS FORANY PURPOSE OR USE,
       DESIGN OR CONDITTON OF VEHJCLES, QUALITY OF MA TER!AL OR WORKMANSHIP, OR AS TO ANY OTHER MATIER WHATSOEVER
       REl,A TING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
       PUN!TNE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE THE VEHICLES, OR ANY lNADEQUACY, DEFICIENCY, OR
       DEFECT IN THE VEHICLES. LESSEE AGREFS THAT LESSEE LEASES THE VEHICLES "AS IS", Lessor agrees, to lhc extent possible and
       without increasing its liability hereunder, and upon request, to ~ign to Lesse:c, any warranty of a manufacturer or seller relating to the Vehicles
       HVailable to Lessor, provided, however, that the furegoing rights shall automatically revert to Lessor upon the occurrence and during the continuance of
       any Event of Default hereunder, or op on return of the Vehicles to Lessor. Lessee agrees to settle all claims with respect lD the Vehicles directly with the
       manufacturers thereo.C, and to give Lessor prompt notice of any such settlement and the details of such settlement
                      10. 'ftfLrl: ANll INSPJtCTlON. Lessee, at its expense, shat! protect and defend Lessor's title and keep it free of all claims and liens
       except those claims and liens created by Lessor in connection with any assignment or financing by Lessor. Lessor may inspect the Vehicles at any time
       without prior notice during regular business hours. If, at any time during the Term of this Lease, Lessor &upplies Lessee with labels, pl ales or other
       markings stating that the Vehicles are mvned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
                      11. LICENSES. Lessee shall at its -expense obtain all necessary licenses[mciuding motor Vehicle plates) and registrations, required for the
       use and operation of each Vehicle. All certificates of title or registration of each Vehicle shall name Lessor as the O'\\'ner thereof
                      12. INTERESTS IN VEmCLES, Lessee's rights with respect ta this Lease and any Vehicles leased hereunder will be subject to any
       rights and interest in and to s11id Vehicles which may be granted by Lessor (or Lessor's affiliatcS) to any essignee or lender of Lessor (or Lessor's
       affiliates). Lessor may assign 10 a lender or any other assignee all or any part of Lessor's rights hereunder. including a secwity interest in the Vehicles
       and the right to receive rents and other sums due hereunder. Upon notice of such assignment in writing by a lender, assignee and/or Lessor, Lessee shall
       pay all rents and other ·sums due or to become due under this Le.use directly to mch lender or assignee without set off: counterclaim, or MY defense
       whatsoever.
                      13. TAXES. Lessee shall pay all personal property, sales or use h!xes, business licenses, assessments, penalties, and charges which may be
       levied or asserted with respect to the Vehicles (except income taxes levied on le11Se payments to Lessor). In the event that any such taxes, licenses,
       assessments, penalties, or chmges llI"C paid by Lessor, Lessee shall reimburse and pay Lessor immediately aft.er Lessor notifies Lessee in writing of the
       amount of such taxes, licenses, assessments, penalties, charges or eJl'.penses paid by Lessor, as well as an administrative fee. Increases or decreases in
       sales or use tax rates wiII affect all k:asc pizyroents aft.er the effective daW of the chimgc by the taxing authority. Lessee shall indemnify and hold Lessor
       hmmJcss from and against any Joss, cost or expense arising 01.U of or relating toany i.-uch tax. import or levy, including, without limitation. any penalties..
       interest and fines relating thereto.
                      14. FINES. Lessee shall pay all fines due to overload, overlength, overweight, lflck of plates or permits, speeding and any other charges
       which may be imposed or assci;sed in respect to the Vehicles and/or Lessee's use thereof. The provisions of this Section 14 shall survive the expiration
       or other termination of this Lease.
                      15. LOSS OR DAMAGE. Les.qee shall bear the entire risk of loss, theft. destruction of or damage to any Vehicle fron1 any cause
       whatsoever ("Loss or Damage"). Lessee shall promptly notify Lessor in writing of any Loss or Da.inage. No Loss or Dam.age to any Vehicles shall
       relieve Lessee of any obligation withrespect to such Vehicle under this Lease. In the event of Loss or Damage, Lessee shall, at the option of Lessor. (a)
       put such Vehicle in good condition and repair ill accordance with the manufactorer's recommendations, and to the reasonable: sm:isfaction of Lessor, at
       Lessee's expense; (b) replace such Vehicle with a like Vellic1e (same value, utility and useful life as dwnaged Vehicle) in good condition and repair as
       approved by Lessor in Lessor"s sole discretion with clear title thereto ~sred in Lessor, or (c) pay Lessor on or before the next rent payment date .as set
       forth in accordance ·with Section 3 hereof (such payment date, the ..Loss Payment Date") in cash the sum of: (i) all amounts then due Lessor by Lessee
       under the Lease relating to such Vehicle, which amounts shall be prorated throllgh the Loss Paymant Date, plus {ii) an amount equal to the present value
       of the TRAC Residual, if any, relating to suclJ Vehicle (as set forth in the Summary of Lease Terms), discounted al 5.0% computed from the expiration
       of the Initial Tenn of the Lease to the Loss Payment Date, plus (iii) an amount equal to the present value of the unpaid future remaining Rents for the
       Initial Term of the Lease, relating to such Vehicle discounted at 5.0% computed from the scheduled pnyment dates for such Rents to the Loss Payment
       Date (the "Casua1ty Value Amotmt"), Upon re~ipt of the Cnsualty Value Amount set forth in (c) above, Lessor shall assign tD Lessee (or Lessee's
       insurer) Lessor's interest in such Vehicle in its then condition and location, "AS lS"" without any warranty whatsoever, express or implied. If Lessee is
       required to repair any Vehicle in accordance with (a) above, or lo replace any Vehicle in accordance 'With (b) above, the insurance proceeds t1ctua1ly
       received by Lessor, if any, pursuant to Section l 6 hereof sha11 be first applied to pa)' any amounts then due under this Agreement, and then shall be paid
       to Lessee upon proof satisf:actory to Lessor that such rep1:1in; have boon completed as required hereir(in the case of (a)), or of adequate purchase and ti Uc
       documents in Lessor's sole discretion (in the case of (b)). In the event tba1 Lessee is obligated lo pay to Lessor the amoun1 specified in (c) above, Lessee
       sha.11 be entjtlcd to a credit against such amount equal to the amount of insurance proceeds actually received by Lessor, if any, pursuant to Section I 6
       herco~ on account. of such Vehiclt\
                      16. INSURANCE, Lessee shall obtain and maintain insurance on or with respect to each VMicle Hl its O"\\'ll expense and in the amounts
       and forms satisfactory to Lessot ln no event.shall any insurance coverage be less than the following (a) physical damage insurance insuring against
       loss or damage to the Vehicles in an amount not less than the full replacement value of such Vehicle; and {b)(i) in ail States except f\orida: (1) not
       greater than $500 deductible for ootlislon, tire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injury liability and property
       damage; or (b)(ii) for the State of Florida: {1) not greater than $500 deductible for collision, fire. theft, and comprehensive, and (2) $250,000 per person
       f $500,000 per incident bodily injury liability, and (3) $100,000 property damage liability, In addition, the following require $1,000,000 excess liability
       coverage (umbrella): (a) truck/tractors over 45,000 lbs.; (b) tnsilen:/semi-trflilers~ tow trucks; and {c) limo uses for livery. Lessee shall fmnish Lessor
       wi1h a certificate of insurance evidencing issuance of such insunmce to Lessee in at least the minimum amount required herein, nwning Lessor and such
       other parties designated by LeYSOr as odditionu\ insured thereunder for liability coverage, and as loss payee for property damage coverage.. Each policy
       shall requiie insurer to give Lessor30 days prior wrlticn notice of any material alteration in tennsof policy or oancellation thereof. and shall provide that
       no action, misrepresentation or breach of warranty ofl..csscc shall invalidate the policy. lfLc.ssec falls to provide such insurance, Lessor shall have the
       right, but no duty, to obtain such insurance. and Lessee shall p.ay Lessor all costs the~of;. including aJI costs incurred by Lessor in obtaining such
       insurance to~ther with interest at. the Default Rll.te from the date paid by Lessor to the date paid in full by L,essee. Lessee shall not use llTIY Vehicle if
       the insurance required herein is not in full force and effect with respect to such Vehicle., Upon Loss or Damage as set forth in Section J5 hereoI: Lessee
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:;haH receive credit for any amounts paid to Lessor by the insurer against Lessees. obligations hereunder.
                17. INDEMNITI'. I.essee shall indemnify Lessor against, and hold Lessor harmless from. any and all claims, actions:, damages.,
obJigatlcms, liabilitlcs, liens (including any arising or imposed under the doctrines or strict liability in tort or product liability), and costs and ex.pens:es
(including attorneys fees), arising from or out of the manufacture, purchase, lease, possession,. operation, condition. rel um, or use of the Vohicles, or by
operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assertion of any such claim. action, damage, obligation, liability, or lien, Lessee, at Lessee's expense shall as."lL1mc full
m;ponsibility for the defense thereof, proVlded that Lessor shal1 have the right, but nol the obligation, to pBrticipate in any defense conducted by Lessee
without relieving Lessee of any of its obligations hereunder The prov ts ions of this Seetlon 17 shall survive tennination of this Lease
                18. ASSIGNMENf. Except es otherwise permitted herein, without Lessots prior written consent. ~essee shall notassign, transfer, pledge,
hypothecate or otherwise dispose of this Lease, the Vehicles or any interest therein, or sublet or lend the Vehicles, or permit tile Vehicles to be used by
anyone except Lessee or Lessees authorized employees Lessor may assign this Lease or any interest therein in whole or part without notice to Lessee
                19. DEFAULT. Lessee shall be in default of this Lease upon the hnppening of any of the following events or conditions which shall
constitute "Events of Default": (a) Lessee fails to pay any Rent or other amount when due~ (b) Lessee fails to observe, keep or perform SJJY other
 covenant or provision of this Lease required lo be observed, kept, or perfonned, by 1..cssee; (c) Lessee removes, sells, tnmsfera. encumbers, creates a
security interest in, relinquishes possession of the Vehicle&, or performs any act which impairs Lessor's title to filly Vehicle or attempts any of the
foregoing; {d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lease; (e) Lessee fails to satisfy uny traffic
l.iclcet or summons or fails to register any Vebit::Je; (f) Lessee becomes insolvc:.n.t., bankrupt or has a trustee or receiver appointed for Lessee or for a
substantial part of Lessee's property; (g) Les.set: exµeriences .a material change in its business or affairs (including termination of Lessee's employment
or tcnnination of the contract under wbieh Lessee provides seryices or a change in the control or ownership of Lessee or Lessee's employer or the pruty
 with which Lessee contracts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the crerlit risk
 involved therein; (h) L..essee atte.mpts to nssign this Lease without the consent of Lessor; or (i) Lessee fails lo notify Lessor of any material cbangc i.n its
 business and affairs. including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoin1s and constitutes Bush Truck Lea,<;ing,               '1-.:
                                                                                                                                                                        ~:~:
 Inc, and its successors and assigns, the true and l!!Wful attorney-in-fact of Lessee, with full power in the name of Lessee upon the occurrence of an Event
                                                                                                                                                                         'i
of Default, {i) to dem!'ll'ld and receive any and a.JI moneys and claims for moneys due in respect Of or relaring to the Equipment, (ii) to assign or transfer
 any of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee to any replacemcnt lessee hereunder and/or causing
 any other person to become the registered owner of the Equipment) filld (iii) to take any other action in respeot of this Leese or any of the Equipment
 Lessee ratifies and approves ail acts of Bush Truck Leasing. Inc., as attomey-in~f11c:t Bush Truck Leasing, Inc., as attorney-in-fact will not be liabk for
 any aots or omissions or errors of judgment or mistake of fQct or law. This power, being couplcd with an interest, is irrevocable until all obligatiotls
 under this Lease have been fully satisfied
                 20. REMEDIES. Upon the occurrence of any Event of Default, Lc:ssormay declare 1his l...ease to be in d1;1fault, and at any time thereafter.
 Lessor. at its option,. may do any one or more oftbe following (a) cancel thi:l Leese; (b) proceed by appropria1e action to enforce performance ofthe
Lease at Lessee's expense or to recover damages (including attorneys fees) for the breach thereof, (c) demand that Lessee, and in such case the Lessee
 shall, return au or any part of the Vehicles promptly in the manner required hy and iJJ accordance with Section 7 hereof, (d} enter, with or without legal
 process, Lessee's premises or any other premises where the Vehicles are located, and take possession of all or any part of the Vehicles without any
 liability to Lessee by reason of such entry: (e) sell, lease, or otherwise dispose of all or any part oflhe Vehicll}S at a public or private sale, which may be
 conducted where such Vehicles me then located; (fj demand that Lessee, and in such case Lessee shall, pay to Lessor as liquidated damages for loss of a
 bargain and not as a penalty an amount equal to the sum of (i) all amounts due and UJJpaid under the Lease (including wi!hout limitation any in~~njty
 obligations) plus interest thereon from the due 4atc thereof at 11. per annum interest rate equal to the prime rate of interest then in effect as publt:>oi1~in
 the Wa11 StreetJowmJ plus2.0% {the "Default Ratej, plus (ii) the present value of all future Rent payments for such Vehicles,, discounted at s.Q3, plus
 (iii) the present value of the TRAC Residual, if any, discounted at 5.00/c, plus (iv) all costs and expenses: incurred by Lessor in enforcing Lessor's rights
 hereunder (including, without lirnitaLion,. all costs of !?:possession, recovery, storage, repair, sale, re-lease, E1I1d atlomcys' foes)> together with interest
 thereon at the Defirult Ram from the date of demand to the date of payment in full (the "Liquidated Damages"), or (g) exercise any otber right or remedy
                                                                                                                                                                        II
 which may be available tD Lessor under the Uniform Commercial Code or any other applicable. hrw The proceeds of any sale or lease of the Vehicles by
 Lessor sball be applied in the following order of priority (I) to pay all of Lessor's expenses in taking, holding, preparing for sale or lease, and disposing
                                                                                                                                                                         J.
 of the Vehicles, including aJJ attorneys fees and legal expenses, lhen (2) to pay any late charges and all interest accrued at the Default Rate: then (3) to
 pay accrued but unpaid Rent payments,. then {4) to pay any other unpaid sums due under this Lease including Liquidattd Damages. lfthe proceeds of
 any sale or lease are not sufficient to pay the wnounts owed to Lessor under this Lease,. Lessee will pay the deficiency. Lessor may also, without                      i~
 liability, tBke any personal property stored within the Vehicles and rney store any such property at Lessee's expense for 30 clays. Lessee wtll be                      \.'
                                                                                                                                                                         ;
 obligated lo reclaim such property '.\'ithin 30 days and hen:by waives a.ny rights in such property thereafter. Arly unclaimed property will be deemed
 abatldoned uftcr 30 days and will be discarded by Lessor. Lessor's remedies hereunder shall b!l cwnulative. Any security deposit paid by Lessee to                      1~
 Lessor in connection with this Lease shall be forfeited b)' Lessee upon the happening of a.ny Event of Default, and shall bo applied to Lessee's                        i.
 obligations under this Lease pursuant to this Section 20. Lessor's remedies hereimder may be exercised instead of or in addition to any other legal or
 equitable remedies. Lessor has lhe right lo set off any sums received from any source (including insurance proceeds) against Lessee's obligations under
 this Lease. Lesse.e waives its rigbt to objcc:t to the notice of the time or place of sale or lease, and to the manner and place of any advertising therefore.
 Lessee waives any defense based on statutes of limitations or Iaches in a.ctioru: for damages. In case of failure by Lessee to pay any fees, assessments,
 charges, or taxes arising with resp~! to the Vehicles, Lessor shaU have the right, but not the obligation to pay such amounts, and in that event. the cost
 thereof sball be payable by Lessee to Lessor upon dermtnd. together with iniere~ at th~ Defaull R.Hte from the date of disbursement by Lessor
                 21. SECURITY DEPOSIT, The Security Deposit shall be held by Lessor during the entire Term ofthe Lease, including the Tntcrirn Tenn
 and any renewal term, as security for the full payment and performance of the terms, conditions end obligations of Lessee hereunder and under any and
 all Schedules. The Security Deposit shall not excuse the performance at the time and in the manner prescribed or any obligation of Lessee or cure a
 default of Lessee. Lessor may, but shall not be required to, apply such Security Deposit towards discharge of any overdue obligation of t.essee. Lessor
 shall be entitled to commingle the Security Deposit with any of its own funds. No Interest shall accrue on the Security Deposit and Lessor shall have no
 liabilit)• to accolmt to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations ofLessewnder the Lease, Lessee
 shall, upon d=mund. pay to Lessor an lllltount necessary to return the Security Deposit to the sum specified above. In furtherance thereof, Lessee hereby
 grants to Lessor e. security intereS'I. in the cash comprising the Security DeposR from time to time and any and all interest thereolti together with the
 proc~ds thereof, to secure the prompt payment as and wben duo of all indebtedness, end the prompt performance as anti when due of all obligations, of
 Lessee now or hereafter required under the Lease. If no Default has then occurred, upon the expiration or earlier lcrmination of the Tenn of the Lease,
 the balance of the Security Deposit then held by Lessor shall promptly be paid to Leas=
                 2.2. SEVERABILIT'Y. The invalidation of any provision or provisions of this Lease as unenforceable shall not operate to invalidate the
 remainder of the Lease which shall remain in full force and effect
                 2.3. NOTICES. All not.ices relating to this Lease shall be delivered in person to ari officer of Lessor or Lessee or malled to the respective
 addresses shown above on the fir.st page of this l..e$e, or to such addrc!s as otherwise specified in writing by the appropriate party hereto
                 24. \V A!VER. Lessor's forbearance of exercise of any right or remedy on Lessee's breach of any terms. covenants or conditions hereunder
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                                                                                                                                                                    Exhibit A
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                                                                                                                                                                      I
sball not be deemed a waiver of such right or remedy, the requirement of punctual performance, or any of its remedies upon any other or subsequent
bre.flch or default
              25. GOVERNING I.AW. Thls Lease takes effect upon its acceptance and exemrtion by Lessor, and shall be governed, interpreted and
construed under the laws of the State of Ohio. Ohio law shall prevail in the cvcnl of any conflict of law v.•ithout regard to, and wrthout giving effect to.
the application of choice of law rules LESSEE WAIVES ALL RIGHTS TO TRIAL BY JURYIN ANY LITT GATIONARlSINO FROM OR REL.A.TED
TO THIS LEASE, AND LESSEE SUBMITS TO THE JUR!SDlCTION OF TilE FEDERAL DISTRICT COURT FOR THE SOUTHERN D!STRJCT
OF OHIO, OR ANY STATE COURT OF COMPETENT JURISDICTION Wl1lilNMONTDOMERY COUNTY, OHIO, AND WAIVES ANY RIGHT
TO ASSERT THAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT JS IN TilE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
             26.       'VAIVER OF DAMAGES. Lessee waives t-0 the fullest ex:tentpennitted by law any right to or claim of any p\ItlWVe, exemplary,
indirect, special. consequential, or incidental damages against 1..es:sor. Lessee agrees that, in the event of a dispute, claim or controversy against Lessor,
Lessee shall be limited to the recovery of ac1ual direct damages sustained by it. subject to any limttm dlreci damages set forth in this Lease. Lessee will
not accept or attempt to collect through the courts or otherwise any punitive, exemplary, indirect, consequential., or incidental damages from Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefrt of Lessor and Lessee and their respective
successors and assigns permitted hereunder.
              28. FORCE MA.JEURE. The obligations of Lessor hereunder shWJ be suspended to the extern that it is hindered or prevented from
complying therewith because of1;1bor disturbances, avts of God, fires, storms, accidents. failure of the manufacturer to deliver any of the Vt::hicl<::s, court
order, governmental regulatkms, or other interference or any cause whatsoevc:r not within the sole control of Lessor

                                                            !SIGNATURE PAGES FOLWW]




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IN \.VJTNESS WHEREOF, the parties hereto have entered into this Lease Agreement 1i5 oflhc date first above written


                                                                                     LESSOR:              ~µsh 'Ill®k :U:as!ng, ~

                                                                                     By:         ~~~~~
                                                                                            .v_la_n_a_S_._C_o_m_e_tte
                                                                                     Name: __                     __
                                                                                     Title: _ _'·rJce
                                                                                                 ___  President
                                                                                                       _ _ _ _ _ __




                                                                                                                                                                    1:

                                                                                                                                                                    ~
                                                                                     LESSEE: Sonet Transportation nnd Logistics Inc.



                                                                                     @y:~J,(fl.£
                                                                                      ;:::::----- SJGNA TURE
                                                                                                                                                                    ,-1-:




EQUIPMENT ACCEPTANCE
Lessee hereby confirms that the F...quipment has been delivered, duly assembled and in good working o~cr and condition. Lessee confirms that aftet a
reasonable opportunity to inspect the Equipment, it has solely selected, and unconditionnlly wtd ii-revocably acccpicd the Equipment as-is, where--is for all
purposes of this Lease as of this date, Jn the event that the Equipment is not delivered !llld accepted within thirty (30) days of Lessee's signing of this
Equipment Acceptance, Lessee ber~by authorizes Lessor to increase the Pilymenbi to reflect 1lllY Lease rate increase applicable to the Lease




                                                                                     LESSEE: Sonet Transportation ~nd Logistics Inc.



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                                                                                                                 6961 Cintas Blvd




<./BUSH
 ~TRUCK
                                                                                                                 Mason, OH 45040

                                 LEASING, !NC.                                                                   800-766-2874
                                                                                                                 www.bushtrucks.com
                                                                      LEASE AGREEMENT
                         Contract Date:                                                                 Lease ID No.         CLBC8674

                                                                                LESSEE.
Individual Legal Name(ifapplicable):
Company Legal Name(ifapplicable):       Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA     Zip: 9.1950
                                                                              EQUIPMENT
Vehicle Year                                  I Vehicle Make                          IVehicle Model                          Vehicle Identification Number
2012                                          I Freightliner                          I Cascadia                              IFUJGLBG3CLBC8674
            Refer to Schedule 1 of this Lease Agreement for Equipment details in the event that no Equipment information appears above
                                                                 SUMMARY OF LEASE TERMS
Commencement                  Initial     !Rental Periods Ni Tobtal f Down               Advance       Basic Rent        Doc Fee        Security      End of Term
                                                           um ero Payment+                 or           (without                        Deposit         Option
Date & 1st Basic              Term
                                                          Payments Taxes at                              Taxes)
  Rent Date                                                                              Arrears
                                                                      Closing

 (.     I   .)..__,,I~          36          MONTHLY              36       $1,500.00       Arrears       $2,036.67        $400.00          $0.00           TRAC
            -).,~/)
                         MONTHLY
 7-    I
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $26,300.00

      THIS LEASE AGREEMENT ("Lease") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
      {..Lessor"), and LESSEE referenced above.

                    1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
      with all replacements, repairs and additions thereto (individually and collectively, the "Vehicles") on the terms and conditions set forth in this Lease.
      Lessee agrees that Lessee leases the Vehicles "as-is", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
      manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
      has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements, representations, omarranties made by
      Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identified herein will be used for
      commercial purposes.
                    2. INITIAL TERM. The term of this Lease for each Vehicle shall commence on the Contract Date and shall continue for that number of
      months. from the first {1st) day of the month following the Contract Date (unless the Contract Date is the first (Ist) day of the month. in which case the
      Contract Date shall be the date on which the term of this Lease commences) {"Commencement Date") each as set forth in the Summary of Lease Terms
      (such period as extended or sooner terminated by Lessor as provided herein, the"Tenn'').
                    3. RENT. The rental payment amount for each Vehicle hereunder (the "Basic Rent") is set forth in the Summary of Lease Tenns. Basic
      R-ent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediai:ely available funds by Lessee
      in advance or arrears for the periods (each a "Rental Period'') and for the total n11mber of payments as set forth in the Summary of Lease Terms, in each
      case, on the first day of each such Rental Period If the Contract Date does not fall on the first day of the month, the rent.al for that period of time from
      the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
      One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Date to
      (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
      Rent Lessee is obligated to pay hereunder {the "Supplemental Rent'' and together with Basic Rent, the "Rent") when due or if no date is specified
      herein, on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of I Oo/o of
      the late rental payment amount, and the maximum amount pennitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
      OF ALL OTIJER OBLIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
      WHATSOEVER, INCLUDING, BUT NOT LIMITED TO, ANY RIGHT OR CLAIM TIJAT LESSEE MAY NOW OR HEREAFTER HA VE
      AGAINST LESSOR. ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR. OR TilE MANUFACTURER OF THE VEHICLES FOR
      ANY REASON WHATSOEVER. SPECIFICALLYINCLUDING, WITIIOUT LIMIT ATION,ANY CLAlMS TJlAT LESSEE MAY HA VE AGAINST
      LESSOR. ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO TilE SERVICE AND MAINTENANCE
      AGREEMENT REFERENCED IN SECTION 7 HEREOF.
                    4. OPTION UPON EXPIRATION OF INTITAL TERM OF LEASE. Upon expiration of the Initial Term of the Lease, Lessee shall
      comply with the provisions of Clause A or B below, in either case, as specified in the Sununary of Lease Terms

                         A.          Terminal Rental Adjustment Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                                      Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                                      ..Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Tenns. Upon




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                          expiration of the Initial Tenn, Lessor will attempt to sell the Equipment In the event that the Net Proceeds (as defined below)
                          are less than the Estimated Fair Market Value, Lessee shall pay to Lessor the full amount of such shortfall. If the Equipment
                          has not been sold on the last day of the Initial Term, then the Net Proceeds shall be deemed to be zero and Lessee shall
                          immediately pay to Lessor the TRAC Residual. If the Lessor thereafter shall sell the Equipment, the Net Proceeds shall be
                          paid by Lessor to Lessee. Any such payment by either Lessee or Lessor shall be deemed to be a Terminal Rental Adjustment
                          with respect to the Vehicles.. As used herein, '"Net Proceeds'' shall mean the proceeds received by Lessor, after deducting (i)
                          all costs and expenses incurred in connection with the rec.every, repair, storage, and sale of the Vehicles, including any and all
                          attorneys' fees and legal expenses, (ii) all late charges and all interest accrued at the Default Rate (as hereinafter defined), and
                          (iii) all rent payments and other obligations of Lessee due and Wlpaid under the Lease as of the date of the sale or disposition.
                          As to each Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment after
                          expiration of the Initial Term are less than the TRAC Residual amount for such Equipment as set forth in the Summary of
                          Lease Terms, then Lessee shall immediately pay to Lessor the amount of such deficiency as additional Rent hereunder. If the
                          Net Proceeds are in excess of the TRACResidual amount, then 100% of such excess shall be returned to Lessee as a reduction
                          in the Rent for such Equipment, provided, however, that Lessor shall be entitled to retain all or any portion of such amount to
                          satisfy any of Lessee's obligations under the Lease

                            Lessee hereby certifies, under penalty of perjury, that
                 (i)   Lessee intends that more than 50% of the use of the Equipment subject to this TRAC is to be used in a trade or business of the
                          Lessee,
                 (ii) Lessee has been advised by tax counsel or other tax advisor, and
                 (iii) Lessee understands and agrees that, Lessee will not be treated as the owner of the Equipment identified above for federal income
                          tax purposes.

                 B.          Sl.00 Buyout. Lessee hereby unconditionally agrees to purchase all, but not less than all, of the Equipment for $1.00 upon
                           expiration of the Initial Term of the Lease. Lessee and Lessor agree that Lessee is owner of the Equipment and shall file and
                           pay all license, registration fees, and documentary, sale and use taxes, and personal property taxes and all other taxes, fees and
                           charges relating to the ownership, leasing, rental, sale, purchase, possession or use of the Equipment

                   With respect to any option upon expiration of the Initial Term of the Lease set forth herein, if written notice of Lessee's intention to
                   exercise such elected option is not received on a timely basis~ then such failure shall constitute an Event of Default, and to the extent
                   that the Lessee fails to return to Lessor the Equipment in acoordance with Section 7 hereof, Lessee agrees to pay a daily rental fee
                   equal to 150% of the daily Rent for each day that the Equipment is retained by Lessee; provided, however, such payments shall not
                   extend Lessee's right to have and use the Equipment beyond the Initial Term of the Lease as provided herein. Upon exercise of the
                   option elected by Lessee and payment in full by Lessee of any related purchase amounts and all Rent, Lessor will execute and deliver
                   to Lessee the title to the Vehicles, and any other documentation necessary to transfer title to Lessee. THIS SALE WILL BE
                   WII1lOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHETHER EXPRESS OR IMPLIED IN
                   FACT OR LAW and, Lessee will accept the Vehicles"AS IS" and "WHERE IS"'.

               S. TAX INDEMNIFICATION. Except to the extent Section 48 is applicable upon expiration at the Initial Term, it is understood and
agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to such tax benefits that are available as owner of the Equipment through
depreciation of the total capitalized cost of the Equipment thereof for federal income tax purposes. In the event that Lessor suffers any loss,
disallowance. unavailability, or recapture of such depreciation for any reason whatsoever, then, after written notice thereof by Lessor to Lessee, Lessee
shall pay to Lessor an additional incremental amount payable on each da1e that the Basic Rent is thereafter due, which in the opinion of Lessor, will
cause Lessor's net after-tax annual cash flow and net after-tax ra1e of return respectively, that would have been available if Lessor had been entitled to
full utilization of the depreciation. In the event that any payment is required to be made pursuant to this Section 5, and such payment is to be made on
succeeding rent payment dates, but at such time this Lease shall have been terminated or Rent otherwise no longer shall be due and payable on the
remaining rent payment dales, Lessee shall promptly pay Lessor any amount equal to the incremental increase in Basic Rent which would have been
required if such tax loss had occurred immediately prior to the last rental payment dale on or prior to the expiration or other termination of the Lease.
Lessor shall promptly notify Lessee of the commencement of any proceeding by the lntema1 Revenue Service in respect of any item as to which
indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable pursuant to this Section 5 shall survive the expiration
or other termination of this Lease.
               6. USE OF VEffiCLES. Lessee shall use the Vehicles only in its business and in compliance with all laws, rules, and regulations of any
jurisdiction where the Vehicles are used or located Lessee represents and warrants to Lessor at all times that (i) Lessee has the right and ability to enter
into this Lease; (ii) this Lease constitutes a valid, legal, and binding obligation and agreement of Lessee, enforceable against Lessee in accordance with
its terms; and (iii) that the entering into and performance of this Lease by Lessee will not result in a breach, violation, or default under any judgment,
order, law, regulation, Joan, mortgage, agreement, indenture, or other instrument applicable to Lessee, or result in any breach ot;. or constitute a default
under, or result in the creation of any lien, charge, security interest, or other encumbrance upon the Vehicles pursuant to any instrument to which Lessee
is a party or by which it is bound Lessee shall (i) use and operale the Vehicles in a careful and prudent manner for the purposes and in the manner
intended to be used; (ii) shall keep the Vehicles properly housed or othetwise protected from damage; and (iii) shall pay for all maintenance of Vehicles
to keep them in good and efficient working order and condition during the Tenn of the Lease, including, but is not limited to, Lessee's supplying all
fuel, lubricants, and other parts, supplies, maintenance and services, and/or Lessee, upon Lessor's request, entering into a service and maintenance
agreement with Lessor or an a:ffi.tiale of Lessor upon such terms and conditions provided by Lessor. After notice to Lessor, Lessee may, at its own
expense, make alterations or add attachments to the Vehicles, provided that such alterations or attaclunents are removable and do not reduce the value,
utility or useful life of the Vehicles. Upon the expiration or termination of the Lease, all alterations or attachments affixed to the Vehicles shall become
the property of Lessor if not removed, and if Lessee does remove such attachments, Lessee shall be liable to Lessofor any damage to the Vehicles as the
 result of such removal. In the event that any federal, state, or local law, ordinance, rule or regulation shall require the installation of any additional
accessories to any of the Vehicles, including, but not limited to, anti-pollution and/or safety devices, or in the event that any other modifications to the
 Vehicles shall be required by virtue of such law, ordinance, rule or regulation, then and in any of such events, Lessee shall pay the full cost thereof,
including installation expenses. Lessor may, at its option, arrange for the installation of such Vehicles or the performance of such modifications, and
Lessee agrees to pay the full cost thereof immediately upon receipt of an invoice for the same
               7. SURRENDER. Upon either the (i) faHure by Lessee to exercise any purchase option for any Vehicle set forth herein, or (ii) upon
demand by Lessor made pursuant to an Event of Default (as set forth in Section 19 hereof), Lessee shall, at its ovm expense, return such Vehicle to

                                                                          Page2 of6




                                                                                                                                                                 Exhibit A
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       Lessor to such location within the continent.al United States as Lessor shall designate, in· the same-conditionas·when· delivere·d, rea:sona:ble·wear·a:nd tear·
       excepted and otherwise in the condition required by this Lease Upon return of the Vehicles, Lessor.or such entity designated by Lessor, shall perform a
       physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated with the inspection, and
       for any and·all repairs necessary to place the Vehicles in the same condition as when delivered, reasonable wear and tear-excepted and otherwise in the
       condition required by this Lease.
                     8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided that,
       upon the expiration or tennination of this Lease, and in the event that Lessee does not purchase the Vehicles pursuant to Section 4.B hereof: Lessee
       shall, upon the request of Lessor and at Lessees expense, restore the Vehicles to original condition, ordinary wear and tear excepted
                     9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE, AND SHALL NOT BE
       DEEMED TO HAVE MADE, ANY EXPRESS OR IMPLIED WARRANTY AS TO MERCHANTABILITY, FITNESS FORANY PURPOSE OR USE,
       DESIGN OR CONDITION OF VEHICLES, QUALITY OF MATERIAL OR WORKMANSHIP, OR AS TO ANY OTHER MATIER WHATSOEVER
       RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
       PUNITIVE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE THE VEHICLES, OR ANY INADEQUACY, DEFICIENCY, OR
       DEFECT IN THE VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEIIlCLES «AS IS". Lessor agrees, to the extent possible and
       without increasing its liability hereunder, and upon request, to assign to Lessee, any warranty of a manufacturer or seller relating to the Vehicles
       available to Lessor, provided, however, that the foregoing rights sha1l automatically revert to Lessor upon the occurrence and during the continuance of
       any Event of Default hereunder, or upon return of the Vehicles to Lessor. Lessee agrees to settle a1l claims with respect to the Vehicles directly with the
       manufacturers thereof, and to give Lessor prompt notice of any such settlement and the details of such settlement
                      10. TITLE AND INSPECTION. Lessee, at its expense, shall protect and defend Lessor's title and keep it free of all claims and liens
       except those claims and liens created by Lessor in connection with any assignment or financing by Lessor. Lessor may inspect the Vehicles at any time
       without prior notice during regular business hours. If, at any time during the Term of this Lease, Lessor supplies Lessee with labels, plates or other
       markings stating that the Vehicles are owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
                      11. LICENSES. Lessee shall at its expense obtain all necessary licenses(including motor Vehicle plates) and registrations, required for the
       use and operation of each Vehicle. All certificates of title or registration of each Vehicle shall name Lessor as the owner thereof
                      12. INTERESTS IN VEIDCLES. Lessee's rights with respect to this Lease and any Vehicles leased hereunder will be subject to any
       rights and interest iii and to said Vehicles which may be granted by Lessor (or Lessor's affiliates) to any assignee or lender of Lessor {or Lessor's
       affiliates). Lessor may assign to a lender or any other assignee all or any part -of Lessor's rights hereunder, including a security interest in the Vehicles
       and the right to receive rents and other sums due hereunder. Upon notice of such assignment in writing by a lender, assignee and/or Lessor, Lessee shall
       pay all rent.s and other sums due or to become due under this Lease directly to such lender or assignee without set off. counterclaim. or any defense
       whatsoever.
                      13. TAXES. Lessee shall pay all personal property, sales or use taxes, business licenses, assessments, penalties, and charges which may be
       levied or asserted with respect to the Vehicles (except income taxes levied on lease payments to Lessor). ln the event that any such taxes, licenses,
       assessments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immediately after Lessor notifies Lessee in writing of the
       amount of such taxes, licenses, assessments, penalties, charges or expenses paid by Lessor, as well as an administrative fee. Increases or decreases in
       sales or use tax rates will affect all lease payments after the effective date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
       harmless from and against any Joss, cost or expense arising out of or relating toany such tax, import or levy, including, without limitation, any penalties,
       interest and fines relating thereto.
                      14. FINES. Lessee shall pay all fines due to overload, overlength, overweight, lack of plates or permits, speeding and any other charges
       which may be imposed or assessed in respem to the Vehicles and/or Lessee's use thereof The provisions of this Section 14 shall survive the expiration
       or other termination of this Lease.
                      15. LOSS OR DAMAGE. Lessee shall bear the entire risk of Joss, theft. destruction of or damage to any Vehicle from any cause
       whatsoever ("Loss or Damage"). Lessee shall promptly notify Lessor in writing of any Loss or Damage. No Loss or Damage to any Vehicles shall
       relieve Lessee of any obligation withrespem to such Vehicle under this Lease. In the event of Loss or Damage, Lessee shall, at the option of Lessor: (a)
       put such Vehicle in good condition and repair in accordance with the manufacturer's recommendations, and to the reasonable satisfaction of Lessor, at
       Lessee's expense; (b) replace such Vehicle with a like Vehicle (same value, utility and useful life as damaged Vehicle) in good condition and repair as
       approved by Lessor in Lessor's sole discretion with clear title thereto vested in Lessor; or (c) pay Lessor on or befure the next rent payment date as set
       forth in accordance with Section 3 hereof (such payment date, the "Loss Payment Date") in cash the sum of: (i) all amounts then due Lessor by Lessee
       under the Lease relating to such Vehicle, which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
       of the TRAC Residual, if any, relating to such Vehicle (as set forth in the Summary of Lease Terms), discounted at 5.0% computed from the expiration
       of the Initial Tenn of the Lease to the Loss Payment Date, plus (iii) an amount equal to the present value of the unpaid future remaining Rents for the
       Initial Tenn of the Lease, relating to such Vehicle discounted at 5.0% computed from the scheduled payment dates for such Rents to the Loss Payment
       Date (the '"Casualty Value Amount"). Upon receipt of the Casualty Value Amount set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
       insurer) Lessor's interest in such Vehicle in its then condition and location, "AS IS" without any warranty whatsoever, express or implied If Lessee is
       required to repair any Vehicle in accordance with (a) above, or to replace any Vehicle in accordance with (b) above, the insurance proceeds acmally
       received by Lessor, if any, pursuant to Section 16 hereof shall be first applied to pay any amounts then due under this Agreement, and then shall be paid
       to Lessee upon proof satisfactory to Lessor that such repairs have been completed as required hereir{in the case of (a)). or of adequate purchase and title
       documents in Lessor's sole discretion (in the case of(b)). In the event that Lessee is obligated to pay to Lessor the amount specified in (c) above, Lessee
       shall be entitled to a credit against such amount equal to the amount of insurance proceeds actually received by Lessor, if any, pursuant to Section 16
       hereof: on account of such Vehicle.
                      16. INSURANCE. Lessee shall obtain and maintain insurance on or with respect to each Vehicle at its own expense and in the amounts
       and forms satisfactory to Lessor. In no event shall any insurance coverage be less than the following (a) physical damage insurance insuring against
       loss or damage to the Vehicles in an amount not less than the full replacement value of such Vehicle; and {b)(i) in all States except Florida: (I) not
       greater than $500 deductible for collision, fire, theft, and comprehensive. and (2) $500,000 combined single limit for bodily injury liability and property
        damage; or (b)(ii) for the State of Florida: (1) not greater than $500 deductible for collision, fire, theft, and comprehensive, and (2) $250,000 per person
       I $500,000 per incident bodily injury liability, and (3) $100,000 property damage liability. In addition, the following require $1,000,000 excess liability
        coverage (umbrella); (a) truck/tractors over 45,000 lbs.; {b) trailers/semi-trailers; tow trucks; and (c) limo uses for livery. Lessee shall furnish Lessor
       with a certificate of insurance evidencing issuance of such insurance to Lessee in at least the minimum amount required herein, naming Lessor and such
       other parties designated by Lessor as additional insured thereunder for liability coverage, and as loss payee for property damage coverage. Each policy
       shall require insurer to give Lessor30 days prior written notice of any material alteration in terms of policy or cancellation thereof, and shall provide that
       no action, misrepresentation or breach of warranty of Lessee shall invalidate the policy. lf Lessee fails to provide such insurance, Lessor shall have the
       right, but no duty, to obtain such insurance, and Lessee shall pay Lessor all costs thereof, including all costs incurred by Lessor in obtaining such
        insurance together with interest at the Default Rate from the date paid by Lessor to the date paid in full by Lessee.. Lessee shall not use any Vehicle if
       the insurance required herein is not in full force and effect with respect to such Vehicle. Upon Loss or Damage as set forth in Section 15 hereof, Lessee
                                                                                  Page 3 of6




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                          17. INDEMNITY. Lessee shall indemnify Lessor against. and hold Lessor harmless from, any and all claims, actions. damages,
           obligations, liabilities, liens (including any arising or imposed under the doctrines or strict liability in tort or product liability), and costs and expenses
           (including attorneys fees), arising from or out of the manufacture, purchase, lease, possession, operation, conditiqn, return, or use of the Vehicles, or by
           operation of Jaw, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
           upon written notice by Lessor of assertion of any such claim,. action, damage. obligation, liability, or lien, Lessee. at Lessee's expense shall assume full
           responsibility for the defense thereof, provided that Lessor shall have the right, but not the obligation, to participate in any defense conducted by Lessee
           without relieving Lessee of any of its obligations hereunder The provisions of this Section 17 shall survive termination of this Lease.
                          18. ASSIGNMENT. Except as otherwise permitted herein, without Lessors prior written consent, Lessee shall notassign, transfer, pledge,
           hypothecate or otherwise dispose of this Lease, the Vehicles or any interest therein. or sublet or lend the Vehicles, or permit the Vehicles to be used by
           anyone except Lessee or Lessees authorized employees. Lessor may assign this Lease or any interest therein in whole or part without notice to Lessee
                          19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions which shall
           constitute "Events of Default'': (a) Lessee fails to pay any Rent or other amount when due; (b) Lessee fails to observe, keep or perform any other
           covenant or provision of this Lease required to be observed, kept, or performed, by Lessee; (c) Lessee removes, sells, transfers, encumbers, creates a
           security interest in. relinquishes possession of the Vehicles, or perfollTL'i any act which impairs Lessors title to any Vehicle or attempts any of the
           foregoing; (d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lease; (e) Lessee fails to satisfy any traffic
           ticket or summons or fails to register any Vehicle; (f) Lessee becomes insolvent, banlaupt or has a trustee or receiver appointed for Lessee or for a
           substantial part of Lessee's property; (g) Lessee experiences a maierial change in its business or affairs (including tennination of Lessee's employment
           or termination of the contract under which Lessee provides services or a change in the control or ownership of Lessee or Lessee's employer or the party
           with which Lessee contracts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the credit risk
           involved therein; (h) Lessee attempts to assign this Lease wifuout the consent of Lessor; or (i) Lessee fails to notify Lessor of any material change in its
           business and affairs, including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
           Inc. and its successors and assigns, the true and lawful attorney-in-fact of Lessee, with full power in the name of Lessee upon the occunence of Wl Event
           of Default, (i) to demand and receive any and all moneys and claims for moneys due in respect of or relating to the Equipment, (ii) to assign or transfer
           any of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee to any replacement Jessee hereunder and/or cansing
           any other person to become the registered owner of the Equipment) and (iii) to take any other action in respect of this Lease or any of the Equipment
           Lessee ratifies and approves all acts of Bush Truck Leasing, Inc.• as attorney-in-fact Bush Truck Leasing, Inc., as attorney-in-fact will not be liable for
           any acts or omissions or errors of judgment or mistake of fact or law. This power, being coupled with an interest, is irrevocable until all obligations
           under this Lease have been fully satisfied
                          20. REMEDIES. Upon the occunence of any Event of Default, Lessor may declare this Lease to be in default, and at any time thereafter,
           Lessor, at its option, may do any one or more of the following: (a) cancel this Lease; (b) proceed by appropriate action to enforce performance of the
           Lease at Lessee's expense or to recover damages (including attorneys fees) for the breach thereof, (c) demand that Lessee, and in such case the Lessee
           shall, return all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) enter, with or without legal
           process, Lessee's premises or any other premises where the Vehicles are located,. and take possession of all or any part of the Vehicles without any
           liability to Lessee by reason of such entry; (e) sell, lease, or otherwise dispose of all or any part of the Vehicles at a public or private sale, which may be
           conducted where such Vehicles are then located; (f) demand that Lessee, and in such case Lessee shall, pay to Lessor as liquidated damages for loss of a
           bargain and not as a penalty an amount equal to the sum of (i) all amounts due and unpaid under the Lease (including without limitation any indemnity
           obligations) plus interest thereon from the due date thereof at a per annum interest rate equal to the prime rate of interest then in effect as published in
           the Wall Street Journal plus2.0% (the "Default Ratej, plus (ii) the present value of all future Rent payments for such Vehicles,discounted at 5.0%, plus
           (iii) the present value of the TRAC Residual, if any, discounted at 5.0%, plus (iv) all costs and expenses incurred by Lessor in enforcing Lessors rights
           hereunder (including, without limitation, all costs of repossession, recovery, storage, repair, sale, re-lease, and attorneys' fees), together with interest
           thereon at the Default Rate from the date of demand to the ciate of payment in full (the "Liquidated Damages"), or (g) exercise any other right or remedy
           which may be available to Lessor under the Uniform Commercial Code or any other applicable law The proceeds of any sale or lease of the Vehicles by
           Lessor shall be applied in the following order of priority (I) to pay all of Lessor's expenses in taking. holding, preparing for sale or lease, and disposing
           of the Vehicles, including all attorneys fees and legal expenses, then (2) to pay any late charges and all interest accrued at the Default Rate; then (3) to
            pay accrued but unpaid Rent payments, then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. If the proceeds of
           any sale or lease are not sufficient to pay the amounts owed to Lessor under this Lease, Lessee will pay the deficiency, Lessor may also, without
           liability, take any personal property stored within the Vehicles and may store any such property at Lessee's expense for 30 days. Lessee will be
           obligated to reclaim such property within 30 days and hereby waives any rights in such property thereafter. Any unclaimed property will be deemed
            abandoned after 30 days and will be discarded by Lessor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
           Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied to Lessee's
            obligations under this Lease pursuant to this Section 20. Lessor's remedies hereunder may be exercised instead of or in addition to any other legal or
            equitable remedies. Lessor has the right to set off any sums received from any source (including insurance proceeds) against Lessee's obligations under
            this Lease. Lessee waives its right to object to the notice of the time or place of sale or lease, and to the manner and place of any advertising therefore.
            Lessee waives any defense basi;:;d on statutes of limitations or !aches in actions for damages. In case of failure by Lessee to pay any fees, assessments,
            charges, or taxes arising with respect to the Vehicles, Lessor shall have the right, but not the obligation to pay such amounts, and in that event, the cost
            thereof shall be payable by Lessee to Lessor upon demand, together with interest at the Default Rate from the date of disbursement by Lessor
                          21. SECURITY DEPOSIT. The Security Deposit shall be held by Lessor during the entire Term of the Lease, including the Interim Term
            and any renewal tenn,, as security for the full payment and performance of the tenns, conditions and obligations of Lessee hereunder and under any and
            all Schedules. The Security Deposit shall not excuse the performance at the time and in the manner prescribed or any obligation of Lessee or cure a
            default of Lessee. Lessor may, but shall not be required to, apply such Security Deposit towards discharge of any overdue obligation of Lessee. Lessor
            shall be entitled to commingle the Security Deposit with any of its own funds. No Interest shall accrue on the Security Deposit and Lessor shall have no
            liability to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations ofLessemnder the Lease, Lessee
            shall, upon demand, pay to Lessor an amount necessary to return the Security Deposit to the sum specified above. In furtherance thereof, Lessee hereby
            grants to Lessor a security interest in the cash comprising the Security Deposit from time to time and any and all interest thereon, together with the
            proceeds thereof, to secure the prompt payment as and when due of all indebtedness, and the prompt performance as and when due of all obligations, of
            Lessee now or hereafter required under the Lease. If no Default has then occurred, upon the expiration or earlier termination of the Tenn of the Lease,
            the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee
                           22. SEVERABll.fIY. The invalidation of any provision or provisions of this Lease as unenforceable shall not operate to invalidate the
            remainder of the Lease which shall remain in full force and effect                                                                                '
                           23. NOTICES. All notices relating to this Lease shall be delivered in person to an officer of Lessor or Lessee or mailed to the respective
            addresses shown above on the first page of this Lease, or to such address as otherwise specified in writing by the appropriate party hereto
                           24. W AIYER. Lessor's forbearance of exercise of any right or remedy on Lessee's breach of any terms, covenants or conditions hereunder
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breach or default
              25. GOVERNING LAW. This Lease talces effect upon its acceptance and execution by Lessor, and shall be governed, interpreted and
construed under the laws of the State of Ohio. Ohio law shall prevail in the event of any conflict of law without regard to, and without giving effect to,
the >pplication ofchoice of!aw rules LESSEE WAIVES ALL RlGHTS TO TRIAL BY JURYIN ANY LJTIGATIONARISING FROM OR RELATED
TO TilIS LEASE, AND LESSEE SUBMITS TO TilE JURISDICTION OF THE FEDERAL DISTRJCT COURT FOR TilE SOUTilERN DISTRJCT
OF 01110, OR ANY STATE COURT OF COMPETENT JURISDICTION WITllIN MONTGOMERY COUNTY, 01110, AND WAIVES ANY RIGHT
TO ASSERT THAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.       WAIVER OF DAMAGES. Lessee waives to the fullest extentpermitt.ed by Jaw any right to or claim of any punitive, exemplary,
indirect, special, consequentia1, or incidental damages against Lessor. Lessee agrees that, in the event of a dispute, claim or controversy against Lessor,
Lessee shall be limited to the recovery of actual direct damages sustained by it, subject to any Jimibn direct damages set forth in this Lease. Lessee will
not accept or attempt to collect through the courts or otherwise any punitive, exemplary, indirect, consequentia1. or incidental damages from Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inme to the benefit of Lessor and Lessee and their respective
successors and assigns permitted hereunder.
              28. FORCE MAJEURE. The obligations of Lessor hereunder shall be suspended to the extent that it is hindered or prevented from
complying therewith because of labor disturbances, acts of God, fires, storms, accident'>, failure of the manufacturer to deliver any of the Vehicles, court
order, governmental regulations, or other interference or any cause whatsoever not within the sole control of Lessor

                                                       [SIGNATURE PAGES FOLLOW]




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        IN WITNESS WHEREOF, the parties hereto have entered into this Lease Agreement as of the date first above written


                                                                                            LESSOR:           Uµah 'fuwkU:as!n;;. Inc.
                                                                                            By: _ _       ~.=!..,. ::::==~__,J:'::'..c'l0 ,,,_..,:tt~
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                                                                                                    _ _s_._C_o_m_ettei
                                                                                            Name:_D_iana        ____
                                                                                                     Vice
                                                                                            Title: _ _ ___President
                                                                                                           _ _ _ _ _ _ __




                                                                                            LESSEE: Sonet Transportation and Logistics Inc.




        EQUIPMENT ACCEPTANCE
        Lessee hereby confirms that the Equipment has been delivered, duly assembled and in good working order and condition. Lessee confirms that after a
        reasonable opportunity to inspect the Equipment. it has solely selected, and unconditionally and irrevocably accepted the Equipment as-is, where-is for all
        purposes of this Lease as of this date. In the event that the Equipment is not delivered and accepted within thirty (30) days of Lessee's signing of this
        Equipment Acceptance,' Lessee hereby authorizes Lessor to increase the Payments to reflect any Lease rate increase applicable to the Lease




                                                                                            LESSEE: Sonet Transportation and Logistics Inc.



                                                                                            00By:~
                                                r
        (X)Dated:        '/-     .;l /- J ~
                                                                                            'Cf   AIG ATURE




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                                                                                                                                             ,.A.A~
                                                   Cintas Blvd


'/>JJUSH
 ""'                TRUCK LEASING, INC.
                                                                          Mason, Ohio 45040
                                                                      800-766-2874 I 513-234-7910
                                                                           Fax 513-234-7940                            vehicletitling
                                                                      LEASE AGREEMENT
                      Contract Date:                                                                    Lease ID No.         CSBMOJ43
                                                 /0 ·    i    ;;i,   '° I -)
                                                                                LESSEE
Individual Legal Name(if applicable):
Company Legal Name(if applicable):      Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA     Zip: 91950
                                                                               EQUIPMENT
Vehicle Year                              / Vehicle Make                              j Vehicle Model                         Vehicle Identification Number
2012                                      I Freightliner                              ICascadia                               1FUJGLBG7CSBM0143
                                                                                                                                                      "'--

      Refer to Schedule 1 of this Lease Agreem£nt for Equipment det.ails in the event that no Equipment information appears above
                                                SUMMARY OF LEASE TERMS
Commencement       Initial    Rental Periods N Total       Down        Advance Basic Rent          Doc Fee      Security End of Term
                                              umber o1 Payment+            or         (without
Date & 1st Basic   Term                                                                                         Deposit       Option
                                             Payments Taxes at
   Rent Date                                                            Arrears        Taxes)
                                                          Closing
 Jo    ·I )_-. /)-          36          MONTHLY              36           $1,500.00      Arrears        $2,036.67        $400.00          $0.00           TRAC
 J/     I   ·J.."'iO: MONTHLY
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $27,639.00

      THIS LEASE AGREEMENT (..Lease) is hereby entered into as of the Contract Date above by and between Vehicle Titling Trust ("Lessor'"), and
      LESSEE referenced above.

                    1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
      with all replacements, repairs and additions thereto (individually and collectively, the "Vehicles") on the terms and conditions set forth in this Lease.
      Lessee agrees the! Lessee leases the Vehicles "as-is", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
      manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
      has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements, representations, omammties made by
      Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identifiedherein will be used for
      commercial purposes.
                    2. INITIAL TERM. The tenn of this Lease for each Vehicle shall commence on the Contract Date and shall continue for that number of
      months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month, in which case the
      Contract Date shall be the date on which the term of this Lease commences) ("Commencement Date") each as set forth in the Summary of Lease Terms
      (such period as extended or sooner terminated by Lessor as provided herein,. the'4Termj.
                    3. RENT. The rental payment amount for each Vehicle hereunder (the "Basic Rent'') is set forth in the Summary of Lease Terms. Basic
      Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
      in advance or arrears for the periods (each a "Rehta.I Period") and for the total number of payments as set forth in the Summary of Lease Terms, in each
      case, on the first day of each such Rental Period. If the Contract Date does not fall on the first day of the month, the rental for that period of time from
      the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
      One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Date to
      (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
      Rent Lessee is obligated to pay hereunder (the "Supplemental Rent" and together with Basic Rent, the "Rent'') when due or if no date is specified
      herein, on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of 10% of
      the late rental payment amount, and the maximum amount permitted by Jaw. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
      OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF, COUNTERCLAJM, OR ANY DEFENSE
      WHATSOEVER, INCLUDING, BUT NOT LIMITED TO, ANY RlGHT OR CLAlM THAT LESSEE MAY NOW OR HEREAFTER HAVE
      AGAINST LESSOR, ANY OF LESSOR'S AFFILIAIBS,ANY ASSIGNEE OF LESSOR, OR TilE MANUFACTURER OF Tiffi VEHICLES FOR
      ANY REASON WHATSOEVER, SPECIFJCALLY INCLUDING. WITHOITT LIMITATION, ANY CLAlMS THAT LESSEE MAY HAVE AGAINST
      LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO TilE SERVICE AND MAINTENANCE
      AGREEMENT REFERENCED IN SECTJON7 HEREOF.
                  4. OPTION UPON EXPffi.ATION OF INITIAL TERM OF LEASE. Upon expiration of the Initial Term of the Lease, Lessee shall
      comply with the provisions of Clause A or B below, in either case, as specified in the Summary of Lease Terms

                       A.        Terminal Rental Adjustment Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                                  Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                                  "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Terms. Upon




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                           expiration of the Initial Term, Lessor will ancmp1 to sell the E!juiprnent. ln lhc cvcnl !hat the Net Proceeds {as defined below)
                           are Jess than the Estimated Fair Market Value, Lessee shall pay to Lessor the full amoWJt of such shortfall. If the Equipment
                           has not been sold on the last day of the Initial Term, then the Net Proceeds shall be deemed to be zero and Lessee Shall
                           immediately pay to Lessor the TRAC Residual. Jf lhe Lessor thereafter shall sell the Equipment, the Net Proceeds shall be
                           paid by Lessor to Lessee. Any such payment by either Lessee or Lessor shall be dccmW Lo be a Terminal Rent.al Adjustment
                           wnh respect to the Vehicles. As used hc:rein. ·'Nei Proceeds" shall mean the proceeds received by Lessor, after deducting (i)
                           all cosb: and expenses incurred in connection with the recovery, repair, storage, and sale oflhe Vehicles, including any and all
                           attorneys' fees and legs! expenses, (ii) all late charges and «.11 interest accrued st the Default Rate (as hercinaflcr defined), and
                           (iii) nll rent payments and other obligations ofLcssec du~ and unpaid under lhc Lease .as oftbe dale oflhe sale or disposition.
                           As to each Velticle, if the Net Proceeds received by Lessor Lessor from the sale or other disposilion of such Etjuipmcnl after
                           expiration of the Initial Term arc less than the TRAC Re-sidual amount for such Equipment as set forth in the Summmy of
                           Lease Terms, then Lessee shall immediately pny to Lessor the amount of such deficiency as additional Rent hereunder. lf the
                           Net Proceeds are in excess of the TRACResidual amount, then 100% of such excess shall be returned to Lessee as 11 reduction
                           in the Rent for such Equipment, provided, however, that Lessor shall be entitled to retain all or any portion of such amount to
                           satisfy any of Lessee's obligations under the Lease

                            Lessee hereby certifies, under penalty ofpetjury, that
                  (i)  Lessee intends that more than SO'Yo of the use of the Equipment subjcel to this TRAC is lo be used in a trade or business of the
                          Lessee,
                 {ii) Lessee has been advised by tax counsel or other tax advisor. and
                 (iii) Lessee understands and agrees that, Lessee will nor be treated as the owner of the Equipmcnl identified above for fodr;:ral income
                          tax purposes.

                  B.         Sl.UO Buyout. Lessee hereby uncondilionally agrees to purchase all, but not less than all, of the Equipment for$ I.DO upon
                           expiration of the lnilia! Term of lhe Lease. l~ess~ and Lessor agree that Lessee is owner of the Equipment and shall file and
                           pay all license, registration fees, and documentary, sale 11nd use taxes, and personal property taxes and all other tax~. tees and
                           charges relating to the ownership, leasing, rental, sale, purchase, possession or use of the Equipment

                    With respect to any option upon expiration of the initial Term of the Lease set forth herein. if written notkc of' Lcsset's intenlion lo
                    exercise such elected option is no! received on a timely basis, then such failure shall constitute an Event of Default, and lo lhc cxtcn\
                    that the Lessee fails 1o return to U,R.~or the Equipment in accordance wH.h Section 7 hereof. Lessee agrees lo pay a daily rent!!! fee
                    equal to 150% oftbe daily Rent for each day that the Equipment is retained by Lessee~ provided, howcvcr, sucl) payments shall not
                    cxlcrld Lessee's right to have and use the l!quipment beyond the Initial Tcml of the Lease as provided herein. Upon exercise of the
                    option clcclcd by Lessee and payment in full by l ..essee of any related purchase amounts and all RL'll!, Lessor will execute and deliver
                    to Lessee the ti!lc lo the Vehicles, and any other documentation necessary to transfer title to Lessee.. TiiIS SALE. WILL BE
                    v.,rJTHOUT ANY REPRESENT A"nON OR WARRANTY OF ANY KIND BY LESSOR, WHETHER EXPRESS OR IMPLIED lN
                    FACT OR IA W and, l..essee will accept the Vehicles~AS IS"" and ""\\•1iERE lS".

                S. TAX INDEMNIFICATION. Excepl to the cxlenl Section 48 is applicable upon expiration at the lniti11\ Term, it is undcrslood and
agreed that Lessor is OVl'Iler of the Equipment and that Lessor shall be entitled to such t:IU{ benefits that arc available as owner of the Equipment through
de-preciation of the total ct1pitalized cost of the Equipment thereof for federal income tax purposes. ln the event that Lessor suners fill)' loss..
disallowance, unflva.iiabitity. or recapture of such depn::ciation for any reason whatsoever. then, after written notice tbcret.>f by Le~sor to Lessee, Lessee
shall pay to Lessor BJl additional incremental amount payable on each date tbul thci Basic Rc.nl is thereafter due, which in the opinion of Lessor, "\•till
cause Lessor's nc.t after-tax annual cash flow B!ld ae1 after-tax rate of return respectively~ that would have been available if Lessor had been entitled to
full utilization of the dc.prcci~tion. In the C"\'ent that any payment is required to be made pursuant to lhii; Section 5, and Sllch payment is to be made on
succeeding ront payment dates, but at such time this Lease shall have been 1e:rminat1:d or Rent otherwise no longer shall be dl1e and pay~blc on the
remaining rent payment dates,. Lessee shall promptly pay Lessor any amount e:qual to the incremental increAse in Basic Rent ·which would have been
required if such tax toss had occurred immediately prior lo the lal>t rental payme.11t date on or prior lo the expira1ion or t.>lher termination of the !.ease.
Lessor shall promptly notify Lessee of the commencement of tmy prucet-ding by the. Internal Revenue Service in respect or any iti:m us Lo which
 indemnity is sought hereunder. Lessee's agreement ID pay any sums whiclt may become payable pursuant to this Section S shall sun·ive the expiration
 or other termination of this Lease.
                6. USE OF VEHICLES. Lessee shall use the Vehicles only in its business !Ind in compliance ·with all laws, rules. and regulations of any
jurisdiction where the Vehielt:S aroused or located. Lessee represents and warrants to Lessor at all times that (i) Lessee has the right and ability lo enter
 into this Lease; (ii) this Lease constitutes a valid, legal, Hnd binding obligation and agreement of Lessee, enforceable against Lessee in accordance with
 i15 renns; B!ld (iii) that the entering into and perfonnance of this Lease by Lessee wm not ~sult in 11 breach, violation. or default under any judg1m:nt,
 order, Jaw, regulation, lo.an, mortgage, agreement, indenture, or other instrument applicable to Lessee, or result in any breach o(. or constitute a default
 under, or result in the creation of any lien, charge, security inl~ or other cncumbrnnce upon the Vehicles pursuant tc any instrument Lo which Lessee
 is a party or by which it is bound. Lessee shall (i} use and operate ihc Vehicles in 11 c:arcful and prudent manner for the purposes and in the manner
 intended to be used; (ii) shall keep the Vehicles properly housed or otherwise prolected from damage; and (iii) shall pay for all maintenance of Vehicles
10 keep them in good and efficient working. order anrl condition during the Tenn of the Le<ise, including, but is not limited to. l.essee·s supplying al!
 fuel, lubricants:, and other parts, supplies, ma)ntenance and services, and/or Lessee, upon Lessor's request, cnlcring into a service and maimenante
 agreement with Lessor or an affiliate of Lessor upon such tenns and conditions provided by Lessor. Aft.er notice lo Less.or, Lessee may, at its own
 expense, make alterations or add attachments to the Vehicles, provided I.hat such altcrutions or attachments are removable and do no\ reduce the vaJue.
 utility or ttseful life of the Vehicles. Upon the expiration or termination of the Lease, 11l! altcratfons or attachments affixed lO !he Vehicles shull become
 the property of Lessor if not removed, and if Lessee docs remove such attachments, Lessee shall be li11blc lo Lessofur any damage to the Vehicles as the
 result of such removal. In the event that any re-demi, state, or local Jaw, ordinance, rule or regulation shall require the installation of any additional
 accessories to art)' of the Vehicles, including, but not limited ta, anti·pollution and/or safety devices, or in the event that any other modifications lo the
 Vehicles shaJl be required by "irtue of such luw, ordinance, rn1e or regulation., then and in any of such events, Less.ee shall pay the full t.-ost thereof.
 including installati-on ex.penses. Lessor may, nt its option, arrange for the installation of such Vehicles or lhtl perfomumce of such modifications, and
 I.essee agrees to pay the full cost. thereof inunediateiJ' npon receipt of an invoice for the same
                 7. SURRENDER. Upon either the (i) failure by Lessee to exercise llll)' purchase option for tmy Vehicle set forth herein, or (ii) upon
 demand by Lessor made pursuant to an Event of Default (as set forth in Section 19 hereof). Lessee shall at its own expense, return such Vehicle to

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Lessor to such location within the continemal United States as Lessor shall designate, in the same condition as when delivered, reasonable wear and tear
excepted and otherwise in the condition required by this Lease Upon return oflhc Vehicles, Lcssor,or !."UCh entity dcsignaled by Lessor, shall perfonn a
physical and mechanical inspection of the Vehicl~. Lessee shall be responsible for the paymcn1 of any and all cosls associated with lhc inspection, and
for filly and all repairs necessary to place the Vehicles in the same condition as when delivcn:i.1, :rc-dSonable wear and teai excepted and othi::rwise in the
condition required by this Lease
               S. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia. provided that.
upon the expiration or tennination of this Lease, and in the event that Lessee does not purchase the Vehicles pursuant to Sectioh 4.B hereof, Lessee
shall, upon the request of Lessor and at Le!>Seis expense, restore the Vehicles to original condition, ordinary wear and tear excepted
               9. WARRAJ'\"TIES. LESSEE ACKNOWl.EOOES AND AGREUS THAT LESSOR HAS NOT MADE. AND SHALL NOT BE
DEEMED TO HAVE MADE, Al'IYEXPRESS OR IMPLIED WARRANTY AS TO MERC1!ANTABILITY, FITNESS FORANY PURPOSF. OR usr..
OESJGN OR CONDITION OF VEHICLES, QUALlTY OP MATERIAL OR WORKMANSHIP, OR AS TO ANY OTHER MA Tl"ER WHATSOEVER
RELATING TO THE VEHJCLES, AND LESSOR SHALL NOT BE LlABLE FOR ANY INDIRECT. CONSEQUENTIAL, INCIDENTAL, OR
PUNITIVE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE THE VEHICLES, OR ANY INADEQUACY. D~FJCIENCY, OR
DEFECT IN THE VEHlCLES, LESSEE AGREf-:S THAT LESSEE LEASES THE VEHJCLES "AS IS''. Lessor agrees, to the extent possible and
without increasing its Ji11bility hereunder. and upon request, to assign 10 Lessee, any warranty of a manufucturer or seller re\11ting to the Vehicles
available to Lessor, provided, however. that the foregoing rights shall automatically revert to Lessor upon the occurrence and during the continuance of
any 8vcnt of Default here1mder, or upon return of the Vehicles to Lessor. Lessee Rgrrn!S to sellle all claims with respect to the Vehicles direct)y with the
manufacturers thereof, end to give f,essor prompt notice of any such sc:tllemenl und the details of such settlement
               Hl. TITLE AND INSPECTION. Lcs!>ee, at its expense, shall protect and defend Lessor's Htlc aod keep it free of ell claims and liens
except those claims and liens created by Lessor in connection with any assignment or financing by Lessor. Lessor may inspect the Vehicles al any time
without prior notice during regular business hours, Jf. at an)' time during the Tenn of this Lease, Lessor supplies Lessee with labels, plates or other
markings stating that the Vehicles an: owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
               1J. LICENSES. Lessee shall at its expense obtain all necessary lioenses(iocluding motor Vehicle plaies) anci rugistnilions. required for the
use an.d operation of each Vehicle. All certificates of title or registration of each V~hicle shall !lame Lessor es the owner thcrcnf
               12. INTERESTS IN VEHICLES. Lessee's rights with respect to this Lease and any Vehicles leased hereunder will be subject_ to any
rigtrts and interest in and to said Vehicles which may be granted by L.essor (or Lessor's ufii.liales) to any assignee or lender of Lessor (or Lessor'!>
affiliates). Lessor m.ny assign to n lender or any other assignee all or any part of Lessor's rights hereunder, including a security interest in the Vchiclc..i;;
and the right to receive rents and other sums due hereunder. Upon notice of such assignment in writing by a lender, assignee and/or Lessor, Lessee shaU
pay all rents and other sums di.le or to become due under this Lease directly IO such fondt::r or assignee without set off, counterclaim, or any defense
whatsoever.
               13. TAXES. Lessee shall pay all personal property, sales or use taxes, business licenses, assessmcms, penalties, and charges which may be
levied or a.'t.~ertcd with respect to the Vebiclcs {except income taxes levied on lease payments lo Lessor)_ ln lhe event that any such taxes, licenses,
assessment5, penalties, or charges are paid by Lessor, Lessee ::ha!l reimburse and pay Lessor irnmcdiatc:ly n!ler Lessor notifies 1..essee in writing of the
amount of such tmces, 1icenses, assessmcnlS, penalties, ch urges or expenses paid by Lessor, as wen as an administrative fee. Increases or decreases in
sales or 11Se iax rates will affect all lease payments afier the F.!ffective date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
bmmlcss from and against any loss, cost or expense arising out of or relating toany such tax,. import or levy, including, without limilRtion, ftny pcnallit.:s_
interest and fines relating thereto.
               14. FINES. Lessee shall pay all fines due to overioad, overlength. ovcxweight, lack of plates or permits, speeding llnd 11ny other charges
which mey be imposed or assessed in respect to the Vehicles and/or Lessc.c's use lhereof. The provisions of this Section 14 shlill survive the expiration
or other termination of this Lcru;c
                15. WSS Oll DAMAGE. Lessee shall bear lhe entire risk of loss, theft, destruction of m dnmngc lo any Vehicle from any Ci:IUSC
whatsoever (..Loss or Damage"). Lessee shall promptly notify Lessor in writing of any Loss or Damage. No Loss or Damage lo an)' Vehicles shall
relieve Lessee of any obligation withrespect to-such Vehicle under this Lease. Jn the event of Loss or Damage, Lessee shall, al the option of Lessor. (a)
put such Vehicle in good condition and rcpni1 in accordance with the menufacturcr•s recommendations, and to the reasonable satisfaction of Lessor, 111
Lessee's expense; (b) replace such Vehicle with a like Vehicle (same value, utility and useful life as damnged Vehicle) in good condition a:nd repair as
approved by Lessor in Lessor's so.Jc discretion with clear title thereto vested in Lessor; or (c) pay Lessor on or before the next rent p11yment date as set
forth in accordance with Scc1ion 3 h!:reof (such payment date. the ..Loss Payment Date") in cash the sum of, (i) all wnounts then due Lessor by L,esscc
under the Lease relating 10 suc::h Vehicle, which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
of the TRAC Residual, if any, relating to such Vehicle. (as set forth in the Summary of Lease Terms), discounted al 5;[1 111~ compi1ted ftom 1hc cxpiralion
of the Initial Term nfthe Lease to the Loss Payment Date. plus (iii) an amount equal to the prcaent value of the unpaid future remaining Rents for the                      N
 Initial Tenn of the Lease, relating to such Vebklc discounted at 5.00/c computed from the scheduled payment dates for such Rents ta the Loss Payment
Date (the "Casualty Value Amount"). Upon receipt of the Casualty Value Amount sci forth in (c) above, Lessor shall assign lo Lt:si;ee (or l..e!iSCC's
                                                                                                                                                                            'I
 insurer) Lessor's interest in suc::h Vehicle in i1s then condition and k>cation, "AS I~"' without nny w!llTWlty whatsoever, express or implied. If Lessee is
required to repair any Vehicle in accordance with (u) above, or to teplace any Vehicle in accordance with (b) above, the insurnnct: pro~s actually
received by Lessor, if any, pursuant to Section 16 hereof shall be first applied to pay any a.mounts then due under this Agrct..'Tilt::nt, and then shall he paid
 lo Lessee upon proof satisfactory to Lcssnr that such repait5 have been complc.lot:d as reQuired hereir(in the C!'LSC 01'{11)), or ofedequate purchase and ii lie
 documents in Lessor's sole discrctlon {in the l.'8.Se of {b)). In the event that L~sec is oblignted lo pay lo Lessor the ;imount specified in (c) above, Lessee
shall be entitled to .a credit against such ilmount equal to the an1ount of insurance proceeds actually rccciv~ by Lessor. if any, pursuant to Section l 6
hereof, on account of such Vehicle.
                16. INSURANCE. Lessee shall obtain and maintain insurance on or with respect to each Vehicle at its own expen.">e Ellld in the. amounts
and forms satisfactory to Lessor. In no event sh.all ruiy insuran~ coverage be Jess Lhan the following (a) physical damage insurance insuring against
 loss or damage lo the Vehicles in an amount not less than tile full replacement value of such Ve-hicle; and (b)(i} in all States except Florida: (1) not
greater than $500 deductible for coUision, fire, theft, and comprehensive. and (2) $500,000 cotnbinecl single limit for bodily iqjury Hubility and property
damage; or(b)(ii) for the State ofFloridlt (I) not greater than $500 deductible fnr collision, fire, theft, and comprehensive, and {2) $250,000 per person
I $500,000 p~r incident bodily lnjury liabilily, md (3) $100,000 property damage liability. In addition, the following require $1 ,000,000 excess liability
coverage (umbrella); (a) truck/tractors over 45,000 lbs.: (b) traiiersr'semi--trailers; low trucks; aJ.td (c) limo uses for livery, Lessee shall fumish Lessor
with a ccrtificale of insurance evidencing issuance of such insurance to Lessee in at least the minimum amount required herein, naming l.essor and such
other parties designated by Lessor as additional insured therennder for liability covorngc, and ac:. IOS.'i payee for property d11mnge co\'erage. Each policy
shall require insurer 10 give Lessor30 days prior writlen notice of any materiul alteration in icrmsofpuiic::y or cancellalion thereof. and sh11J1 provide lhal
no action, misrepresentation or breach of warranty of Lessee shall invalidate the policy. If L~c:c fa.ii!$ lo provide. s11ch insurance.:. Lt=.'\.<;or sh11H have the
 right, but no duty, to obtain snch insurance, and Lessee shall pay Lessor a1! costs thereof. including all costs incurred by Lessor in obtaining such
 insurance together with inl.cn:.st at the Default Rate from the date pnid by l..essor to the date paid in full by Lessee. Lessee shull not usc any Vehicle if
 the insurance required herein is not in full force and effect with respecl to such Vehicle, Upon Loss or Damage as set forth in Section 15 tn:rrof. Lessee
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shall receive credit for any Rmounts paid to Lessor by the insurer against Lessees obligations hereunder.
                17. INDEMNITY. Lessee shall indemnify Lessor against. and hold Lessor hannlcss fron1, any and all claims, actions. damages.
obligations, liabilities. liens (including any arising or imposed under the doclrint.-s or strict liability in tort or product liability), and costs and expenses
{including attorneys fees), arising from or out of the manufm:ture, purchru;e, lease, possession, opemtion, condilion, return. or use of the Vehicles, or by
operation of law, excluding however any of fore.going resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assertion of nny such claim, action, damage, obligBtion, liability, or lien, Lessee, ut Lessee's expense shall assume full
responsibility for the defense thereo~- provided thal Lessor shall have the right, bill not the obligation, to pwticipate in lill)' defense conducted by Less~
                                                                                                                                                                        I
                                                                                                                                                                        !
without relieving Lessee. of any of its obligations hereunder 'rhe provisions of this Section 17 sha11 survive termination of this Lease
                18. ASSIGNMENT. Excep1 as otl1erwise permitted herein, without Less.ors prior written consent, lessee sh.all notassign, transfer, pledge.
hypothecate or othenvise dispose of this Lease, the Vehicles or any imercst therein, or subieI or lend the Vehicles, or permit the Vehicles to be used by
anyone except Lessee or Lessees authorized e:mployees. Lessor muy assign lhis Lease or illlY intcresl therein in whole or part without notice 1o Less~
                19. DEFAULT. Lessee. shall be in default of this Lease upon the happening of any of the following events or conditions which shall
conslill!iC "Events of Default~: {u) Lessee fails to pay nny Rent or other amount when due: (b) Lessee fails to observe, keep or perthn11 any nlher
covcnanl or provision of this Lease required lo be oh;ierved, kepl or perfon11ed. by Lessee; (c) Lessee re.moves. sells. transfers, en cum be.rs, ere ales fl
security interest in, relinquishes possession of the Vehicles, or perfonns any acl which impairs Lessor's 1itle 10 any Vehicle or Nttcrnpts any of !he
furegoing; (d) Lessee mal..-es a misreprese11tatim:1 to J,essor of any matter or covenMt connected with this Le11se; (c) Lessee fails lo satisfy any traffic
ticket or summons or fails to register any Vehicle: (f) Lessee becomes insolvent, bankrup! or has a trustee or receiver appoinled for Lessee Dr for a
substantial part ofLc:ssee's property; (g) Lessee experiences a material change in its business or affairs {including termination or Lessee's employment
or termination of the contract under which Lessee provides servic:es or a change in the c.antroJ or ownership of Lessee or Lcss~r.:'s employer or lhc part}'
with whic:h Lessee contracts to provide services) which in Lessor's sole judgment impairs the· SDCurity of uny Vehicle or increases the credit risk
 involved therein; (h) Le.'tSee attempts to assign this Lease without the consent of Lessor; or (i) Lessee fails 1o notify Lessor of any n1ateria1 chimge ill its
 business llJld aff.Jin;, inc:htding a change in the ov:neP.>hip or control of Lessee. Lessee hereby irrevocably appoinls l:lnd constitutes Bush Truck Lea~ing.,
lnc. and its successors and assigns, the tn1e and lawful attorney-in-fact of Lessee, with full power in the name of"Less~ upon the occurrence of an F,vent
 of Default, (i) to demanrl and receive RnY and all moneys and claims for moneys due in rci;pcel of or relating to the Equipment, (ii) to assign or transfer
 any ofLessee' s rights under this Lease or in the Gquipmenl (including assigning the rights of Lessee lo any rcph1cement lessee hereunder and/or causing
 any other person to become the registered o\vner of the Equipment) and (ib) lo take any olher a~tion in respect of this Lease or -any of the Equipment.
 Lessee ratifies and approves all acts of Bush Truck Leasing. Inc.• as attomey-in-focL Bush Truck }.easing. lnc., as attomey-in~faot will not be liable for
 any acts or omissions OT errors of judgment or mistake of fact or ISVI'. This power, being coupled with an inlercst, is irrevocable unlil all obligations
 under this Lease have been fully satisfied
                20. REMEDIES. Upon the occurrence of My Event of Default, L.esso.r may dc.clarc this Lease lo be in d~fault, and al any time therealier.
 Lessor, at its option, may do any one or more of the following (a) cancel this Lease: (b) proceed by appropriate Hction to enforce performance of the
Lease aJ ussoo~ s expctise or to reoov~r damages (including attome»S fees) for the breach thereof: (c) demand lhal Le..o:~l!I;!., and in i:uch case the l.essee
 shall, rel.um ull or any part ofthe Vehicles promp1ly in the manner required by and in accordance with Section 7 hereof; (d) enter, with or \vithout legal
 process, Lessee's premises or any other premises where the Vehicles are located, and take pDssesslon of all or any pan of the Vehicles withoul any
 liability to Lessee by reason of such entry; (e) sell, lease, or otherwise dispose of WI or any part of the Yehic-les at a public or private sale, which may be
 conducted where such Vehicles are then located; (f) demand lha1 Lessee, and in such case Lessee shall, pay to Lessor as liquidated damages for loss of a
                                                                                                                                                                        I
 bargain and not as a penalty an amounl equal to the ~um of (i) all amounts due and unpaid under the Lease (including wlthoul limitation aey indemnity                  Ii
 obligations) plus interest thereon from the due date thereof at a per annum in1erest rate equal to the prime rate of interest then in effect as publish~d in
 the Wall SI.reel Journal plus2.0o/~ (the "Default Rate"), plus (ii) the presenl value of all future Rent payments for such Vehicles.discounted at 5.0%. plus
 (iii) the present value of the TRAC Rcsidunl, if any, discounWd at 5.0o/o, plus {iv) all costs and ex.pcnses inc1.1rrod by Lessor in enforcing Lessor's rights
 hereunder (including, without limitation. all costs of repossession, recovery, storage, repair. sale, re-least\ and attorneys' fees), together with interest
 thereon at the Default Rate from the date of demand to the elate of payment in full {the "Liquidnted Damages''), or (g) oercise any other right or remedy
 which may be availilble to Lessor under the Uniform Commercial Code or any other applicable law The proc....'"Cds of any sale or lease of the Vehicles by
 Lessor shall be applied in tln: following order of priority (I) to pay all of Lessor's cxpcn~s in taking, holding, p~paring for sale or \ease, anQ disposing
 of the Vehick:s, including all attorneys fees and legal expenses. then (2) to pay auy late charges and all interesl accrued a1 the Dcfaull Rate: then (3) 10
 pay accrued but unpaid Rent peyments, then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. If the pwceed~ of
 any sfile or lease are not sufficient to pay the amounts owed to Less-or under this I.ease, Lessee will pay the deficiency, Lessor may also. withou1
 liability, take any personal property stored within the Vehicles and may store any such property at l..essee's expense for 30 duys. Les..<;ee will be
 obligated to reclaim such property within 30 days and hereby waives any rights in such property thereafier. Any unclaimed property will be deemed
 abandoned after 30 clays and will be discarded by Lessor. Lessor's remedies hereunder shall be cumulative. Any St.>t:urily deposit paid by Lessee to
 Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Dcfnull, and shall be applied to Lessee's
 obligations under this Lease pursuant to this Sc.ction 20. Lessor's remedies hereunder may be exercised instead of or in addition to any other lege.J or
 equitable remedies. Lessor has the right lo set oiTnny sums received from any source (including insuran~ proceeds) agnim:t I.essee's obligations under
 this L.ease. Lessee waives its right to object to the notice of the time or place of sa!c or lease, and to the manner and place of any advertising !.hcrcfore.
 Lessee waives any defense based 011 statutes of limitations or !aches in actions for dmnag-c.!i. ln cnse of failure by Lessee to pay any fees. assessments.
 charges, or taxes arising with respect to the Vehicles, Lessor shall have the right, bul not the obligation to puy such amounts, and in that event. the oosl
 thereof shall be payable by Lessee to Lessor upon demand, together ~i.th inlerest a11hc Default Rate from the date of disbursement by Lessor
                :21. SECURITY DEPOSIT. The Security Deposit shall be held by Lessor during the en1irc Term of"the. Lea.c:e. including the ln1erim Tenn
 and any renewal term. as security for the full payment and pcrfonnance of the terms., conditions and obligations of Lessee hereunder and under any and
 all Schedules. The Security DeposTt shall nDt excuse the performance at the time 1111d in the: manner prescribed or uny obligation of Lessee or cure a
  dd'ault of Lessee. Lessor may, but shall not be required lo, apply such Security Deposit towards discharge of any overdue obligation ol' Lessee. Lessor
 shall be entitled to commingle the Security Deposit with any of its own funds. No Interest shall nccrue on the Security Deposit and Lessor shall h<ivc: no
  liability to uccountto Lessee for any interest Jf Lcssor shall apply nny of!he Se:curity Deposit towards any obligations of l.esi:ewnder the Lease. Lessee
 shall, upon demand, pay to I..essor an amouni necessary to return the Security Deposit to the sum speci ficd above, [n furtherance thereof. I ,csi;cc hereby
  grants to Lessor a security interest in the cash comprising the Security Deposit from time to time and any ;md all inlcrest thereon, together wilh the
  proceeds thereof, to secure the prompt paymem as and when due of all indebtedness. and the prompl performance as and when due of all obligations., of
  Lessee now or hereafter required UJJdcr the Lease. If no Default has then occurred, upon the expiration or earlier tcnnination of the Term of the Lease,
 the balance of the Security Dc:posit then held by Lessor shall promptly be paid to Leiisee
                22. SEVERA.BIL.JTI'. The invalidation of any provision or provisions of this Lease as unenforceable shall not operate lO invalid11te the
 remainder ofthe Lease which shall remain in full force and effect
                23. NOTICES. All nOtices relating to this Lease shall be delivered in person to an officer of Lessor or Lessee or mailed to tlw respecti\le
 addresses sho'WO above on the first page of this Lease., or to such address as otherwise specified Jn writing by the appropriate party hereto
                24, WAIVER. Lessor's forbearance of exercise of any right or remedy on Lessee.'s breach of any tenns, covenants or conditions hercund~r
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shall not be deemed a waiver of such right or remedy, the rcqubemcnt of punctual performance, or any of its remedies upon any other or subsequent
b-reach or default
            25. GOVERNING LA\\1• This Le11..<;e takes effect upon its acceptance and execmion by Lessor, and shall be governed, interpreted and
construed under the laws of the State of Ohio. Ohio iiiVI' shall prevail in the event of any conflict of lnw withoul regard to, and without giving effect to,
the appli-cationofchoioe of law rules J..,ESSEB WAIVES ALL RIGHTS ·1"0 TRlA[. BY JUHYTN ANY l,JTIGATlONARISING FROM OR RELATl:.1)
TO THIS LEASE, AND LESSEE SUBMlTS TO Tl!E JURISDICTION OF THE FEDERAL DISTRICT COURT FOR THE SOUTHERN DISTRICT
OF OHIO, OR ANY STATE COURT OF COMPF.TF.NT .IURISl)ICTION WITHIN MONTGOMERY COUNTY. OHIO, AND WAIVES ANY RIG! IT
TO ASSERT THAT ANY ACTION INSTl111l'ED BY LESSOR IN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.       \VAIVER OF DAMAGES. Lessee waives to the fullest extentpennitted by Jaw any right l:o or claim of any pWlitive, exemplmy,
indirect, special, consequential, or incidental damages against Lessor. Lessee agrees that, in the event of a dispute, claim or controversy against Lessor,
Lessee shall be limited to the recovery of actual direcl damages sustained by it, subject to any limitm dirccl damages sel forth in this Lease. Lessee will
noi. accept or attempt to collect through fhe courts or otherwise any punitive, exen1plary, indircet., consequential, or incidental damngcs from LcssOf
              27. SUCCESSORS AND ASSJGNS. Th.is Lease shall be binding on and inure to the benefit of Lessor and l.es:see Bild their respective
successors and assigns permitted hereundet
              28. FORCE J\l.AJEURE. The obligHl:ions of Lessor hereunder shall be suspended to the extent that it is hindered or pre\'ented from
complying th~witb because of labor disturbances, acts of God, fires, storms, accidents, failure of the manufacturer to deliver any Qf thc Vehicles, court
order, governmental regttlations, or other int.crforcncc or any cuuse whatsoever not within fhe sole control of Less.or

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                                                                                        LESSOR:              Vehicle Titling Trust




EQUIPMENT ACCEPTANCE
Les:sce hereby confirms tha1 the Equipment hHS been delivered, duly assembled and in good working order and condition. Lessee confirms that alter a
reasonable opportunity to inspect the Equipment, it has solely selected, and unconditionally and irrevocably acccp1Cd Ihe Equipment as-is. where-is for al!
purposes of this Lease as oflhis date, ln the event that the Equipment is nol delivered and accepted within thirty (30) days ofLc~'See's signing of this
Equipment Acceptance, Lessee hereby authorizes T~essor to increase 1he Payments to reflect any Lease rate increase applicable lo the Lease




                                                                                    LESSEE~spor~tion •nd Logistics lne-



(X)Dated:                                                                           Msy:                 :Jl..U..lu_
                                                                                    V . .-     S !GNATUR.E




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                                                                                                                  6961 Cintas Blvd
                                                                                                                  Mason, OH 45040

                    TRUCK LEASING, INC.                                                                           800-766-2874
                                                                                                                  www.bushtrucks.com
                                                                      LEASE AGREEMENT
                          Contract Date:              ·7 · .). -S . .), "' /    :£"""                    Lea.eID No,            CSBMOJ47


Individual Legal Name(ifapplicable):
Company Legal Name(if applieable):      Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:Natiooal CityState:CA     Zip: 91950

Vehicle Year                                  I Vehicle Make                            IVehicle Model                         I Vehicle Identification Number
2012                                          I Freigbtlincr                            ICascadia                              j IFUJGLBG4CSBM0147
        Refer to Schedule 1 ofthis Lease Agreement for Equipment details in tlte event that no Equipmen.f informtJfion appears ubove
;~~fSW:\!fi';:c:(<'\\~;i:ie'.:'f,i/:-':\'.'.:••;:<:.:.::,::·.\:.:c:;/';•:$.U.M.l'/IAl'ff'OF'!SEASE"rERM$   :,>:-.:.; ..••.... :. :. ·.·:.,:.: .: ·' . . . ..·,. :.::· .
Commencement             Initial     Rental Periods 1..~- Total         Down          Advance       Basic Rent             Doc. Fee         Security        End of Term
Date & 1st Basic         Term                          ll'~Umber of Payment+                          (witi1out                             Deposit           Option
    Rent l>ate                                          Payments Taxes at
                                                                                      Arrears "'       Taxes)
                                                                       Closing
        ·)...'-'i   -s-        36          MONTHLY              36        $1,500.00        Arrears       $2,036.67         $400.00            $0.00             TRAC
         ;;,_~r     .,- MONTHLY

If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the ~ 1 TRAC Residual" shall be $261950.00

    THlS LEASE AGREEMEl\'T ("Lease") is hereby entered into as of the Contract Date above by nnd between BUSH TRUCK LEASING, INC.
    ("Lessor"), and LESSEE referenced above.

                    1. GRANf OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor. the Equipment described herein, together
    with all replacements, repairs and additions thereto (individually and collectively, the ..Vehicles..) on lhe tenns and conditions set forth in this Lease.
    Lessee agrees that Lessee leases the Vehicles "as-is.., and confirms that as of tha date of delivery of each Vehicle, such Vehicle is of the design and
    mmufncture selected by Lessee, and as of such dale, Lcssca has unconditionally acc:epted such Vehicles in all respects. Lessee further confirms thal it
    has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any sl.atemcnts, representations, 011Varranties made by
    Lessor, and Lessee acknowledges that Lessor is not the tnfillllfiir:tu~r of the Vehicles Lessee certifi~s that tha Vehicles identified herein will be used for
    commercial purposes.
                  2. INITIAi, TER~f. 11le term of this Lease forcach Vehicle shall commence on the Contract Date and shall coniinuc for that number of
    months from the first {1st) day of the month following the Contract Date (unless the ContJ"act Date is the first (1st) day of the month, in which case the
    Contract Date shall be the date on which the term of this Lel:lSc commences) {"Commencement Date") each as set forth in the Summary of4ase Terms
    (such period as extended or sooner terminated by Lessor as provided herein, the''Term").
                  3. RENT. The rental payment runount for each Vehicle hereunder (the "Basic Rent") is sci forth in the Summary of Lease Terms:. Basic
    Rent on each Vehicle shall begin to accn1c on the Contract Date and shall be due and payable in U.S. dollBI5 in immediately available funds by Lessee
    in advance or am:m5 for the periods {cuch a "Rental Period") and fur the total number of payments as scl forth in the Summary of Lease Tcm1s, in each
                                                                                                                                                         or
    case, on the first day of each such Rantal Period. lfthe Contract Date does not fall on the first day of the month, rhe rental for that period time from
    the Contract ))ate until the Commencement Dale s:haH be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week , 14 days for
    One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including} the Contrnct Date lo
    (but not including) the Commencement Date and shall be due and payable on the Commencement Date, 1.esseeshal] pay all amounts other than Ba<>ic
    Rent Lessee is obligated to pay hereunder (the ''Supplemental Rent" and together with Basic Rent. the ''Rent") when <luc or if no date is speclfied
    herein, on demand. lf any Rent payment is not made within five (5) dnys an.er its due date, Lessee shall pay a late charge equal to the lesser of I 00/i. nf
    the late rental payment amount, and the maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORM/\.NCE
    OF ALL OTHER OBL!GATIONSARH ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF, COUNTERCLAIM, OR ANY DliFENSE
    WHATSOEVER, TNCWDING, HUT NOT LIMITED TO, ANY RlGITT OR Cl.AIM THAT LESSEE MAY NOW OR HER!iAFTER HAVE
    AGAINST LESSOR, ANY OF LESSOR'S AFFIL!Ams, ANY ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF 11ffi VEHICLES FOR
    ANY REASON WHATSOEVER, SPF.CIFICALL Y INCLUDING, WJTHOUT LIMITATION, ANY CLAIMS THAT LESSEE MAY HA VE AGAINST
    LESSOR, ANY OF LESSOR'S AFF!L!ATliS, OR ANY ASSIGNEE OF LESSOR WITH RF.SPF.Cr TO THE SERVICE AND MAINTENANCE
    AGREEMENT REFERENCED IN SECTION 7 HEREOF.
                4. OPTION UPON EXPIRA'I10N OF INlTIAL TERM OF LEASE. Upon expiration of the Initial Tcm1 of the Lea~e. Lessee shall
    comply with the provisions of Clause /I. or B below, in either case, as specified in fhe Swnmary of Lease Tem1S

                          A.        Terminsil Rental Adjustment Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                                     Lessor under the Lease for the Vehicles, 1t is presently anticipated that rhc fair markel value of the Bquipment (the
                                     "Estimated Fair Market Value") wm equal the TRAC Residual set forth in the Summary of Lease Terms. Upon




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                                 expiration of the Initial Term, Lessor will aucmpt to sell the Equipment ln the event that the Net Proceeds (as defined below)
                                 are less than the Estimated Fair Market Value, Lessee shall pay to Lessor the full amount of such shortfall. Jfthe Equipment
                                 has not becn sold on the last day of the Initial Term, then the Net Proceeds shall be deemed to be zero and Lessee shall
                                 immediately pay to Lessor the TRAC Residual. lfthe Lessor thereafter shall sell the Equipment. the Net Proceeds shall be
                                 paid by Lessor to Lessee. Any such payment by cithcr Lessee or Lessor shall be deemed to be a Terminal Rental Adjustment
                                 with respect to the Vehicles. As used herein, ''Net Proceeds" shall mean the proceeds received by Lessor, after deducting (i)
                                 all costs and expenses incurred in connection with the recovery, repair, storage, and sale of the Vehicles, including any and all
                                 auomcys' fees and legal expenses, (ii) all late charges and all interest accrued al the Default Rate (as hereinafter defined), and
                                 (iii) all rent payments and other obligations ofLessee due and unpaid under the Lease. as of the daic of the sale or disposition.
                                 N; to each Vehicle, if the Net Procee.ds received by Les.<:nr Lessor from the sale or other di~position of such Equipmenl after
                                 expiration of the lnitial Tenn are less than the TRAC Residual amount for such Equipment as set forth in the Si1mmary of
                                 Lease Terms, then Lessee shall immcdialely pay to Lessor the umount of such deficiem..·y as additional Rent hcrcundar. Jfthc
                                 Net Proceeds are in excess of the TRACResidual amount, then 100% ofsucb excess shall be returned to Lessee as a reduction
                                 in tnc Rent for such Equipment, provided, however, tllat l..essor shall be entitled to retain a!l or any portion of such amount to
                                 satisfy any of Lessee's obligations under the Lease

                                  Lessee hereby certifies, under penalty of perjury, that
                       (i)   Lessee intends that more d1an 50% of the use of the Equipment subject to this TRAC is to be usecl in a trade or business of the
                                Lessee,
                       (ii) Lessee has been advised by tax counsel or other tax advisor, and
                       (iii) Lessee Imderstands and agrees that, Lessee ·will not be treated as the owner of the Equipment idcnlificd above for federal income
                                tax purposes.

                       B.            $1.00 Buyout. Lessee hereby unconditionally agrees to purchase al\, but not less than all, of the Equipment for $1.00 upon
                                 expiration of the Jnitial Tenn ofthe Lease. l.essee and Lessor agree that Lessee is owner of the Equipment and shall file and
                                 pay all license, n::glstrotion fees, and documentary, sale and use taxes, and personal property lllXes and all other taxes. fe~ and
                                 c..-harges relating to the ownership, leasing, rental. sale, purchase, possession or use of the Equipmen!

                         With respect to any option upon expiration of the Initial Tem1 of the Lease set forth herein, if written notice of Lcs.sc.c's intention to
                         exercise such elected option is not received on a timely basis, then such failure shall constitute an Event of Default, and io the extent            <:
                         that the l.essee fails to return to J.,essor the Equipment in accordance with Sec1ion 7 hereof, Lcsscc agree~ to pay a daily rental foe
                         equal to 150% of the daily Renl for each day thai the Eq11ipmcnt is retained b)' Lessee: provid1;1d, however, such payments shall not
                         extend Lessee's right to have and use Ole Equipment beyond the Initial Tenn of the Lease as provided herein. Upon exercise of the
                         option elected by Lessee and payment in full by Lessee of any rclat~ purchase amounts Wld all Rent, Lessorwirl execute and deliver
                         to Lessee the title to the Vehicles, and any other documentation necessary to transfer title to Lessee. THIS SALE WILL BG
                         WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHE'l1-IER EXPRESS OR IMPLIED IN
                         FAC..1 OR LAW and, Lessee will accept the Vehicles"AS TS'' and "WHERE IS".

                    5. TAX INDEMNIFICATION. Except to the extent Section 4B is applicable upon cxpira!ion at the Initial Term, it is understood and
     agreed that Lessor is U\.\'!let of the Equipment and that Lessor shall be entitled to such tax benefits that arc available as owner of the Equipment through
     depreciation of the total capitalized cost of the Equipment· thereof for federal income tax purposes. In the cvcnl thut Lessor suffers MY Joss,
     disallowance. unavailability. or recapture of such depreciation for any reason whatsoever, then, after written notice there-0fby Lessor to Lessee, f,essee
     shall pay to Lessor an additionnl incremental amount payable on each date thnl the Basic Rent is thereafter due. which in the opinion of J.essor. will
     cause Lessor's net after-tax annual cash flow and net after-tax rate of return respectively, thut would have been available if Lessor had been entitled to
     full utilization of the depreciation In the event that any payment is required to be made pursuant to this Section 5. and such pay1nent is to be made on
     succeeding rent payment dates, but at such time this Lease shall have bcc.."Jl terminated or Rent otherwise no longer shall be due and payable on the
     remaining rimt payment dates, Lessee shall promptly pay Lessor any amount equal to the incremental increase in 13asic Rent which would have been
     required if such tax loss had occurred immediately prior to the last rental payment date on or prior to lhc expiration or other tcnnination uf the Lease.
     Lessor shall promptly notify Lessee of the commencement of any proceeding by the Internal Revenue Service in respect of any item as to which
     indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable pursuant lo this Sr;ction S sh~ll survive the expiration
     or other termination of this Leas~
                    6. USE Olr" VElllCLES. Lessee shall use the Vehicles only in its business and in compliance with all laws, rules, and regulations ofa11y
     jurisdiction where the Vehicles are used or located Lessee represents and Wl:lrnlilts to Lessor at all times that (i) Lessee has the right and ability to en\t.!r
     into this Lease; (ii) this Lease constitutes a valid. legal, and binding obllgation and agreement of Lessee, enforceable against Lessee in 11cconlance with
      its terms; and (iii) that the entering in1o and pcrfurmance of this Lease by Lessee will not result in a breach, violation, or default under any judgment,
     order. Jaw, regulation, Joan, mortgage, 11greement, indenture, or other instrument applicable to Lessee, or result in any brl:11ch of, or constitute ll default
     under, or result in the creation of any lien, charge, security interest, or other encumbrance upon the Vehicles pursuant to any instrum~nl to which Lessee
     is a party or by which it is bound. Lessee shall (1) use and operate the Vehicles in a careful and prudcn1 munner fur the purposes and in the manner
     intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damage: and (iii) shall pay for all maintenance of Vehicles
     to keep them in good and efticie11t worldng order and condition during the Term of the Lease, incl11ding, but is not limited to, Lessee's supplying all
     fuel, lubricants, and other parts, supplies, maintenance and services, and/or Lessee, upon Le;ggor's request. entering into a service and maintenance
     agreement with Lessor or an affiliate of Lessor upon such terms and conditions provided by Lessor, After notice to Lessor, Lessee may, al hs own
     expense, make alterations or add attachments to the Vehicles. provided that such alterations or attachments are removable and do not reduce the value,
     utility or useful life of the Vehicles. Upon the expiration or termination of the Lease, all alterations or attachments affixed to the Vehicles shall bccomc
     the property of Lessor if not removed, and if Lessee does remove such attachments:, Lessee shall be liable to Lcssafor any damage to the Vehicles as the
     result of such rcmoytt\. In the e.vent that any federal, state, or local law, ordinance, rule or regulation shall require the installation of any additional
     accessories to any of the Vehicles, including, but not limited lo, antiRpoliulion and/or safety devices, or in the event that any other modifications to the
     Vehidcs shall be required by virtue of such law, ordinance, rule or regulation, then and in any of such events, Lessee shall pay the full cost thereof,
     including installation expenses. Lessor may, at its option, arrange for the installation of .such Vehicles or the perfonnance of such modificalions., and
     Lessee agrees lo pay the full cost thereof immediately upon receipt of an invoice for lhc same.
                    7. SURRENDER. Upon eilher the (i) failure by Lessee to exercise any purchase option for any Vehicle set forth herein, or (ii) upon
     demand by Lessor made pursuant to ml Ev~nt of Default (as set forth in Section 19 hereof), Lei;see shall, at its own expense, return such Vehicle to

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                                                                                                                                                                         Exhibit A
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Lessor lo such location within lhc. continental United States as Lessor shall designate, in tlie same condition as when delivered. reasonable wear and tear
excepted and otherwise in the condltion required by this Lease Upon return of the Vehicles, Lessor.or such entity designated by Lessor. shall perfonn a
physical and mechanical inspect.ion of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated with the inspection, and
for any and all repairs necessary to place the Vehicles in the same condition as when delivered, reasonable wear and tear excepted and otherwise ln the
condition required by this Lease.
               8. PAINTING. Lessee may paint the Vehicles in Lessee's customary mllJlner and ail'u:. advertising or identifying insignia, provided that,
upon the expiration or termination of this Leuse, and in the event that Lessee :does not purchase the Vehicles pLtrsuam to Section 4.8 hereof. Lessee
shall. upon the reqnest of Lessor and at Lessees expense, restore the Yeh icles to original condition, ordinary wear and tear excepted
               9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES TilAT LESSOR HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HAVE MADE, ANY EXPRESS OR IMPLlED WARRANTY AS TO MERCHANTABILITY, FITNESS FORANY PURPOSE OR USE,
DESIGN OR CONDITION OF VEHJCl.ES, QUALITY OF MA TBR!AL OR WORKMANSH!P, OR AS TO ANY OTHER MA HER WHATSOEVER
RELATING TO Tiffi VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL. INCIDENTAL, OR
PUNITIVE DAMAGES ARISlNG OUT OF THE USE OR INABILITY TO USE IBE VEHICLES. OR ANY INADEQUACY, DEFICIENCY. OR
DEFECT IN THE VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEHICLES "AS lS". Lessor agrees, to the extent possible and
without increasing its liability hereunder, and upon request,, to assign to Lessee, any warranty of a manufacturer or seller relating to the Vehicles
available to Lessor, provided, however, that the foregoing rights shall automatically revert to Lessor upon the occurrence and during th~ continuance of
any Event ofDefuult hereunder, or upon return of the Vehicles to Lessor. Lessee agrees to settle all claims with respect to the Vehicles directly with the
manufacturers thereof, and to give Lessor prompt notice of any such settlement and the details of such sctllement
               10. TITLE AND INSPECTION. Lessee, at its expense, shall protect and defend Lessor's title and keep it free of all claims and liens
except those claims and liens created by Lcs.sor in connection with any assignment or financing by Lessor. Lessor may inspect the Vehicles at any time
without prior notice during regular business hours, If, at any time during the Tenn of this Lease, Lessor suppHes Lcssct! with labels, pla1es or other
markings stating that the Vehicles are oWJlcil by Lessor, Lessee shall affix and keep the same in a prominent place on lhc Vehicles
               I I. LICENSES. Lessee shall at its expense obtain all necessary Jiccnse:(including molOr Vehicle plates) and registrations, required for the
use and operation of each Vehicle All certificates of title or registration of each Vehicle sha;ll name Lessor as the owner thereof
               12. INTERESTS IN VICHJCLES. Lessee's rights with respect to this Leese and any Vehicles teased hereunder will be subject to any
rights and interest in and to said Vehicles which may be granted by Lessor (or Lessor's affiliates) to any assignee or lender of Lessor (or Lessor's
affiliates). Lessor may assign to a lender or any other assignee all or any part of Lessor's rights hereunder, including a security interest in the Vehicles
and the right to receive rents and othersLtms due hereunder. Upon notice of such assignment in writing by a lender. assignee a.nd/or Lessor. Lessee shall
pay 11ll rents and other sums due or to become due under this Lease directly to such lender or assignee without set off, counterclaim, or any defense
whatsoever.
               13. TAXES. Lessee shall p.ay all personal property, sales or use taxes, business licenses, a<;Sessments, penalties, and charges which may be
levied or asserted with respect to the Vehicles (except income taxes levied on lease payments to Lesso-r). Jn the event thut any such taxes, licenses,
assessments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor irrnnediately after Lessor notifies Lessee in writing of the
amount of such taxes, licenses, assessments, penalties, charges or expenses paid by Lessor, as well as an administrative fee. Increases or decreases in
sales or use tax rates will affect all lease payments after the effective date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
harmless from and against any loss, cost or expense arising out of or relating toany such tax, import or levy, including. without limii.ation, m1y penalties.
interest and fines relating thereto.
               14. FINES. Lessee shall pay all fines due to overload, overlcmgtll, overHeight, lack of plates or permits, speeding ancJ any other charges
which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof The provisions of this Section 14 shall survh•e the expiratiun
or other termination of this Lease.
               15. LOSS Ok DAM.AGE. Lessee shall bear the entire risk of loss, theft., destruction of or damage tO any Vehicle from any cause
whatsoever (...Loss or Damage"}. Lessee shall promptly notify Lessor in writing of an)' Loss or Damage. No Loss or Damage to any Vehicles shall
relieve Lessee of any obligation withrcspect to such Vehicle under this Lease. Jn the event of Loss or Damage, Lessee shall, at the option of Lessor: {a}
put such Vehicle in good condition and repair in accordance with the manufacturer's recommendations, mid to the reasonable satisfaction of Lessor, al
Lessee's expense; (b) replace such Vehicle with a like Vehicle (same value, utility nnd useful life as damaged Vehicle) in good condition and repair as
approved by Lessor in Lessor's sole discretion with clear title thereto vested in Lessor, or (c) pay Lessor on or before the next nmt payment date as set
forth in accordance with Section 3 hereof {such payment date, the "Loss Payment Date") in cash the sum of: (i) all amounts thr.!n due Lessor by Lessee
under the Lease relating to such Vehicle, which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the prcsenl value
of the TRAC Residual, if any, relating to such Vehicle (as set forth in the Summary of Lease Terms), di.'lcounted at 5.0% computed item the expinition
of the Initial Term of the Lease to the Loss Payment Date, plus (iii} an amoun[ equal to the present vnlue of the unpidd future remaining Rents for the
Initial Term of the Lease, relating 10 such Vehicle discounted at 5.0% computed from the scheduled payment dates for such Rents to the Luss Payment
Date (the ..Casualty Value Amount"), Upon receipt of the Casualty Value AmoLlnt set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
insurer} Lessor's interest in such Vehicle in its then condition and location, "AS IS" without any warranty whatsoever, express or implied, lf Lessee is
required to repair any Vehicle in accordance with (.u} a.hove, or to replace any Vehicle in accordance with (b) above, the insurance proceeds actually
received by Lessor, if any, pursuant to Section 16 hereofshatl be first applied to pay any amounts then due under Lhis Agreement. and lhc:n sh111! be paid
to Lessee upon proof satisfactory to Lessor that such repairs have been completed as required hereir.(in the c<l$e of (a)), or of adcqm1te purchase and ti1lc
documents in Lessofs sole discretion (in the case of(b)). ln the event that Lessee is obligated to pay to Lessor the umount specified in (c) above, Lessee
shall be entitled to a credit against such amount equal to the amount of insurance proceeds actually received by Lessor, if any, pursuant to Scc1ion I 6
hereof, on account of such Vehicle.
               16. INSURANCE. Lessee shall ob!ain and maintain insurance on or with respect to each Vehicle at its own expense and in the amowits
and fomlS satisfactory to Lessor. In no event shall any insurance coverage be less than the foJlowing (a} physical damage insurance insuring againsl
loss or damagi; to the Vehicles in an amount not less than the full replacement value of such Vehicle; and (b)(i} in all States except Florida: (1) not
greater than $500 deductible for collision. fire, theft., and comprehensive, and (2) $500,000 combined single limit for bodily injury liability and property
damage; or (b)(ii} for the State ofFlorida: (I) not greater than $500 deductible for collision, fire, theft, and comprehensive, and (2) .$250,000 per pe~on
/ $500 000 per incident bodily injury liability, and (3) $100,000 property damage liability. In addiiion, the following require $1,000,000 excess liability
cover;ge (wnbrclla): (a) truck/tractors over 45,000 lbs.; (b) trailers/semi~trailers: tow trucks; and (c) limo uses for livery. Lessee shall furnish Lessor
with a oortificatc of insurance evidencing issuance of such irurnrunce to Lessc.c in at least the minimum amount required herein, naming Lessor and such
other pruties designated by Lessor as additional insured thereunder for liability coverage, and as loss payee for property damage coverage. Each policy
shall require insurer to give Lessor30 days prior written notice of any material atteration in termsofpolicy or cancellation thereof, nnd shall provide that
no action, misrepresentation or breach of \Varnmty of Lessee shall invalidate the policy. lf Lessee fa~ls lo provide. such insurance. Les.sor sh~I ~ave the
right, but no duty, to obtain such insurance, and Lessee shall pay Lessor all costs thereof, inchidmg al/ costs mcurrcd by Lessor m obinmmg. suc_h
insurance together with interest at the Default Rate from the date pa.id by Lessor to the date paid in full by Lessee. Lessee .shall n?t use any Vehicle if
the insuranct: required herein is not in full force and effect with respect to such Vehicle. Upon Loss or Damage es set forth m Sccllon 1S hereof, Lessee
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shall receive credit for any amounts paid to Lessor by the insurer against Lessees obligations hereunder.
               17. INDElVINrIY. Lessee shall indemnify Lessor against, and hold Lessor harmless from, any and all claims, actions. damages.
oblig~Lions, liabilities, liens (including any arising or imposed under the doclrincs or strict liability in tort or product liability), and costs and expenses
(including attorneys fees), arising from or out of the manufacture, purchase. lease, possession. operation, condition. return, or use of the Vehicles, or by
operation of law. excluding however any of foregoing resulting solely from the gross negligenCC! or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assertion of any such claim. action, damage, obligation, liability, or lien, Lessee, at Lessee's expense shall assume full
responsibility for the dc;fcnsc thereof, provided lhal Lessor shall have the right, but not the obligation. to parl.icipate in any defense conducted by Lessee
withoul relieving Lessee of any of its obligal.ions hereunder The provisions of this Section 17 shall survive lcnnination ofihis Lease.
               18. ASSIGN:rt1ENT. Except as otherwise permitted herein, without Lessors prior written consent, Lessee shall nota"<sign, transfer, pledge,
hypothe'--ate or otherv.•ise dispose ofthis Lease, the Vehicles or any interest the~in, or sublet or le.nd the Vehicles, or permit the Vehicles to be used by
anyone except Lessee or Lessees authorfr.cd employees: Lessor may assign this Lease or any interest therein in whole or part without notice to Lessee
              19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions which shall
constitute "Events of Default": (a) Lessee fails to pay any Rent or other amount when due; (b) Lessee fails to observe, keep or perform llllY other
covenant or provision of this Lease required to be observed, kept, or performed, by Less~: (c) Lessee removes, sells, transfers. encumbers, creates a
security interest in, relinquishes possession of the Vehicles, or perfonns llllY !!ct which impairs Lessor's title to any Vehicle or attempts any of the
foregoing; (d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lease; {e) Lessee fails to satisfy any traffic
ticket or summons or fails to rcgi.!i1er any Vehicle; (f) Lessee becomes insolvent, bankrupt or has a trustee or receiver appointed for Lessee or for a
substantial part of Lessee's property; {g) Lessee experiences a material change iri its business or affairs (including termination of Lessee's employment
or temiination of the contract under which Lessee provides services or 11. change in the control or ownership of Lessee or Lcsscc 1s employer or the party
with which Lessee contracts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the credit risk
involved then: in; (h) Lessee attempts to assign this Lease without the consent of Lessor. or (i) Lessee fails lD notify Lessor of any material change in its
business and affairs, including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutt?s Bush Truck Leasing.,
Inc. and its successors and assigns, the true and lawful attorney.in-fact of Lessee, wi1.h full power in the name of Lessi=e upon the occurrence ofnn Event
of Default, (i) to demand and receive any and all moneys and claims for moneys- due in respect of or relating to the E.quipmcnt, (ii) to assign or transfer
any of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee Lo any replacement lessee hereunder and/or causing
any other person to become the registered O\\'l"ler of the Equipment) and (iii) 10 take any other aciion in rcspc!!t of this Lease or any of the Equipment.
Lessee ratifies and approves all acts of Bush Truck Leasing, Inc., as aU.omey-in-facl Bush Truck Leasing, Inc., as altomey-in-fnct will not be liable for
any acts or omissions or errors of judgment or mistake of fact or law. This power. being coupled with !!Il interest, is irrevocable until all obligations
under this I.ease have been fully satisfied
               20. REMEDIES. Upon the occurrence of HnY Event of Default, Lessor may declare this Lease to be in default.. and a! any time thcrcuOer,
Lessor, al its option, may do any one or more of the following (a) cancel this Lease; (b) proceed by appropriate action to enforce pcrfbnnance of the
Lease at Lessee's expense or to recover damages (including attorneys fees) for the breach thereof;. (c) demand that Lessee, and in such case the Lessee
shall, relum all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) enter. witb ~lf without legal
process, Lessee's premises or any other premises where the Vehicles are located, and take possession of all or any part of the Vehicles without any
Ciability to Lessee by reason of such entry; {e} sell, lease, or otherwise dispose of all or any pnrt of the Vehicles at Ii public or private sale, which may be
conducted where such Vehicles are then located; (f) demand that Lessee, and in such case Lessee sh.all, pay lo Lessor as liquidated damages for loss of a
bargain and not as a penalty an amount equal to the sum of(i) all amounts due l:lnd unpaid under the Lease (including without limitation any indemnity
obligations) plus interest tl'lereon from the due date thereof at a per annum interest rate equal to the prime rate of interest then in effect as published in
the Wall Street Journal phis2.0o/D (the ~Default Rate"), plus (ii) the present value of all future Rent payments for such Vehiclcs,discountcd at 5.0%, plus
(iii) the present value of the TRAC Residual, if any, diseowtted at 5.0%, plus (iv) all costs and expenses incurred by Lessor in enforcing Lessor's rights
hereunder (including, without limitation, all costs of repossession, recovery, storage, repair, sale, re-lease, and attorneys' fees), logcthcr with interest
thereon at the Default Rate from the date of dcmalld to the date of payment in full (the "Liquidated Dan1ages"), or {g) exercise any other right or remedy
which may be available to Lessor under the Uniform Commercial Code or any other applicable Ja\V The proceeds of any sale or lea.5e of the Vehicles by
Lessor shatl be applied in the following order of priority (1) to pny all of Lessoi's expenses in taking. holding, preparing for sale or lease, and disposing
of the Vehicles, including all attorneys fees und kgal expenses, then (2) to pay any IE1te charges and nil inlcrcst accrued at the Default Rate; then (3) to
pay accrued hut unpaid Rent payments, then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. If the proceeds of
any sale or lease are not sufficienJ to pay the amounts owed to Lessor under this Lease, Lessee will pay the deficiency. Lessor may also, witboul
liability, take any personal property stored within the Vehicles and may store any such property at Lessee's expense for 30 days. Lessee will be
obligated to reclaim such property within 30 days and hereby waives any rights in such property thereafter. Any unclaimed prop!!rty will be deemed
abandoned after 30 days and will be discarded by Lesaor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Even! of Default, and shall be applied to Lessee's
obligations under this Lease pursuant to this Section 20. Lessor's remedies hereunder may be exercised instead of or in addition to any other legal or
equitable remedies. Lessor has the right to set off any sums received from any source (including insurance proceeds) ag"dinst Lessee's obligations under
this Lease. Lessee waives its right to object to the notice of the time or place of sale or lease, and to the manner and plE1ce of any 11.dvertising therefore.
Lessee waives any defense based on statutes of limitations or laches in actions for damages. ln case of failure by Lessee to pay any fees, asscssmcnt.s,
charges, or taxes arising with respect to the Vehicles, Lessor shall have the right, but not the obligation to pay such amounts, and in that event, the cost
thereof shall be payable by Lessee to Lessor upon demand, together with interest at the Default Rale from the date of disbursement by Lessor
               21. SEClffil'J'V DEPOSIT. The Security Deposit shall be held by Lessor during the entire Term of the Lease, including the lnterim Term
and any renewal term. as security for the full payment and perfonnance of the terms. conditions und obligations of Lessee hereunder un<l umlcr uny und
all Schedules. The Security Deposit shall not excuse the performance at the. Orne and in the manner prescribed or any obligation or Lessee or cure a
default of Lessee. Lessor may, but shall not be required to. apply such Security Deposit towards discharge of any overdue obligation of l.essee. Lessor
shall be entitled to commingle the Security Oep011il with any of its own funds. No Interest shall accrue on the Security Deposit and !.essor shall have no
liability to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations of Lcssca.mUcr the Lel!Se. Lessee
shall, upon dcmund., pey to Lessor 1111 amount necessary to retllrn the Security Deposit to the sum specified above. In furtherance thereof, Les~ee hereby
grants to Lessor a security interest tn the casb comprising the Security Deposit from time to time and any and all interest thereon, together with the
proceeds thereof, to secure the prompt payment as and when due of all indebtedness, and the prompt performance as and when due of all obligations, of
Lessee now or hereafter required under the Lease. If no Default has then occurred, upon tbe expiration or eurlier tennination of the Term of lhc Lease,
the balance of the Security Deposit then he!d by T-essor shall promptly be paid to Lessee
               22. SEVERABILITY. The invalidation of any provision or provisions of this Lease as unenforceable shall not operate to invalidate the
remainder of the Lease which shall remain in full force and effect
               23. NO'l1CES. Al! notices relating to this Lease sha!I be delivered in person to an officer of Lessor or Lesseie or mailed to the respective
addresses shown above on the first page of this Lease, or to such address as otherwise specified in writing by tlic approprittte party hereto
               24. W AIYER. Lessor's forbcarance of exercise of any right or remedy on Lessee's breach of any terms, covenants or conditions hereunder
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shall not be deemed a waiver of such right or remedy, the requiremcnl of punctual performance, or any of its remedies upon any other or suh;;eguent
breach or default
              25. GOVERNING LAW. This Lease takes effect upon its acceptance and execulion by Lessor, and shall be governed, interpreted and
construed unde:r the Jaws of the St.ate of Ohio. Ohio law shall prevail in the event of any conflict of law without regard to, and without giving effect to,
the application of choice of Jaw rules. LESSEE WAIVES ALL RIGHTS TO TRIAL BY JURYIN ANY LITIGATIONARISING FROM OR RELATED
TO THIS LEASE, AND LESSEE SUBMITS TO THE JURISDICTION OF THE FEDERAi. DISTRJCf COURT FOR THE SOUTHERN D!STR!Cr
OF OHIO, OR ANY STATE COURT OF COMPETENT JURJSDJCTION WITHIN MONI'GOMER Y COUNTY, OHIO, AND WAIVIJS ANY RIGHT
TO ASSERT THAT ANY ACfION INSTITUTED BY LESSOR IN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.       WAlVER 0FDAJ\1"AGES. Lessee waives to the fullest extentpennittcd by law any right to or claim of any punitive, exemplwy,
indirect, special, consequential, or incidental damages against Lessor. Lessee agrees that, in the event of a dispute, claim or controversy against Lessor,
Lessee shall be limited to the recovery of actual direct damages sustained by it. subject to any limibn direct damages set forth in this Lease. Lessee will
not accept or attempt to collect through the courts or otherwise any punitive, exemplary. indirect, consequential, or incidental d1ID1ages from Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee and lhcir respective
successors and assigns permitted hereunder.
              28. FORCE MAJEURE. The obligations of Lessor hereunder shall be suspended to the extent that it is hindered or prevented from
complying therewith because of labor disturbances, acts of God, fires, storms, accidents, failure of the manufacturer lo deliver any o.fthe Vehicles, court
order, governmental regulations, or other interference or any cause whatsoever not wilhin the. sole control of Lessor

                                                           !SIGNATURE PAGES FOLLOW]

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                                                                                                  Name: D~ S. Cornette
                                                                                                  Titl.,, __Vi_1_ce
                                                                                                                __  Pres
                                                                                                                     __1_·dent
                                                                                                                          _ _ _ __




    EOUIPM:Em ACCEPTANCE
    LessCo hereby confilms "that llre· Equip1r1:ent iias been de-1iliCrti, duly   assCfilbl.~ and.jn   good W~rJ{,Jrig _ord.er :S:nfJ   cqnd~t~on, L~~e-~:firnw    that ·after.a
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                                                                                                                              6961 Cintas Blvd

                            BUSH
                            TRUCK LEASING, INC.
                                                                                                                              Mason, OH 45040

                                                                                                                              800-766-2874
                                                                                                                              www.bushtrucks.com
                                                                                                                                                                                                       I
                                                                                   LEASE AGREEMENT
                                     Contract Date:              J1    I /        ;;i,~ i $'"'                      LeaseIDNo.          CSJlM0148

                                                             fil25~~S:S:c'5TIE;;~fili~~'~c~~~8c'~·~~'JillJJ'2'.J='>z='·····===·==''''<=··:====i
Individual Legal Name(if applicable):
Company Legal Name(if applicable):      Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA     Zip: 91950
      .. ,..,., ..
     .   :::.·.'."';·-···

 Vebicle Year                                            J   Vehicle Make                          IVehicle Model                      I Vehicle Identification Number
2012                                                     j Freightliner                            f Cascadia                          / 1FUJGLBG6CSJlM0!48
                Refer to Schedule 1 ofthis Lease Agreementfor Equipment details in tile event that no Equipment information appears t1bove
 ,:};; ;::;1\.~H':c;c;i,:\ryi;;:::c:i;%:'31•t~';{:;(•, ;L~'':>'ili'./i\'iSUMM'ARY'()Fill;ASE)i'.ERMS '2{'·'' ,, ·:· ;:.;: .,.. ii:'::• c\'. .\' >'~"'\\; \ ' ·,:,..:•·
Commencement                              Initial   !Rental Periods Nt Total    Down                  Advance       Basic Rent     Doc Fee        Security     End of Term
                                                                     umber of Payment+                                                            Deposit
Date & 1st Basic:                         Term                                                           or         (without                                     Optio-n
                                                                    Payments Taxes at
  Rent Date                                                                                           Arre.a rs      Taxes)
                                                                               Closing
 q.i                 :;i. u j   '5        36          MONTHLY                36        $1,500.00      Arrears       $2,036.67      $400.00          $0.00          TRAC
                                     l\'IONTHLY
 jo. I             . J..~J"'
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TllAC Residual" shall be $26,950.0f}

          THIS LEAS£ AGREEMENT (..Lease") is hereby entered into as of the Contract Dute above by and between BUSH TRUCK LEASING, INC.
          ("Lessor"''), and LESSEE referenced above.

                          I. GRANT OF LEASE. Lessor hereby leasli!.~ to Lessee, and Lcss:ec hereby leases from Lessor, the Equipment described herein, together
          with all replacements, repalls and additions thereto {individually and collectively, the "Vehicles") on the tenns and conditions st.1\ forth in this Lease.
          Lessee agrc~ that Lessee leases the Vehicles "as-is.., and confirms that as of I.he date of delivery of each Vehicle, such Vehicle is of the di:;sign and
          manufacture selected by Lessee, and as of such date, Lessee has unconditionally 1tcccptcd such Vehicles in all respects. Lessee further continns th11t it
          has selected the Vc.liicl~ on the basis of its OW1l judgment, and expressly disclaims reliance upon any statements, representations, oiwarranties made by
          Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identified herein will be used for
          commercial purpuses.
                          2. IND1AL TERM. The term of this Lease forcacb Vehicle shall commence on the Contract Date and shall continue for thal number of
          months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month, in which case the
          Contract Date shall be the date on which the tenn of this Lease commences) ("Commencement Date") each as set forth in the Summary of Lease Terms
          {such period as extended or sooner tenninated by Lessor as provided herein, thc''Tcrm"),
                          3, RENT. T11e rental payment amount for each Vehicle hereunder (the ''"Basic Rent") is set forth in the Summary of Lease Terms. Basic
          R1:1nt on eat:h Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
          in advance or arrears for the periods (each a "Rental Period'') and for the total number of payments as set forth in the Summary ot"Lease Tenns, in ~ch
          case, on the first day of each such Rental Period. lfthc Contract Date does not fall on the first day of the month, the rental for that period of time from
          the <;:o-ntract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for Oni? Weck, 14 days for
          One Biweekly and 30 days for One Month Rentn1 Periods, as appllcablc), multiplied by the number of days from (and including) the Contract Date lo
          (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
          Rtmt Lessee is obligated to pay hereunder (the "Supplemental Rent" 11.nd together with Basic Rent, the "Rent'"') when due or if no date is specified
          herein, on demand. lfany Rent payment is not made within five (5} days after its due dale, Lessee shall pay a late charge equal to the lesser of 10% of
          the lalc rental payment amount, and the maximum amount permitted by law. LESSEE'S PAYM:ENT OF RENT AND LESSEE'S PERFORMANCE
          OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDI"rIONAL ANJ) WITHOUT SET OFF. COUNTERCLAIM, OR ANY DEFENSE
          WHATSOEVER, INCLUDfNG, BUT NOT LIMITED TO. ANY RJGllT OR CLAIM THAT l.ESSF.F. MAY NOW OR HEREAFTER HAVE
          AGAfNST LESSOR. ANY OF LESSOR'S AFFILIATES, ANY ASSIGN EH OF LESSOR. OR THE MANUFACTURER OF THE VEHICLF.S FOR
          ANY REASON WHATSOEVER. SPECIFICALLY INCLUDING. WITHOUT LIMITATION, ANY CLAIMS THAT LESSEE MAY M VE AGAINST
          LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNER OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
          AGREEMENT REFERENCED IN SECTION 7 HEREOF;
                      4. OPTION UPON EXPIRATION OF INTTlAL TERM OF LEASE. Upon expiration of the Initial Tenn of the Lease, Lessee shall
          comply with the provisions of Clause A or B below, in either CllSe, as specified in the Summar)' of Lease Terms

                                     A.        Terminal Rental Adjustment CIA use (''TRAC"). Lessee agre~s (hal \here shall be an adjustment of llic Rent to be paid
                                                Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of 1hc Equipment (the
                                                "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Tenll.S. Upon



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                            expiration of the Initial Temi. Lessor will attempt to sell the Equipment. In the event lhal the Net Proceeds (as dcl'incd below)
                            are less than the Estimated Fair Market Value. Lessee shalt pny to Lessor the full amount ofsueh shortfall. If the Equipment
                            has not been sole! on the last day of the lnitfal Term, then tile Net Proceeds shall be deemed to be zero and Lessee shall
                            immediately pay to Lessor the TRAC Residual. If the Lessor thereafter shall sell the Equipment. throi Net Proceeds shall be
                            paid by Lessor to Lessee. Any such payment by either Lessee or Lessor shall be deemed to be a Terminal Rental Adjustment
                            wHh respect to the Vehicles. As used herein, "Net Proceeds" shall mean the proceeds received by Lessor, after deducting {i)
                            all costs and expenses incurred in connection with the recovery, repair, storage, and sale of the Vehicles, including any and all
                            allomeys' fer:s and legal expenses, (ii) al 11 ate charges and all interest accrued at the Defuult Rate (as hereinafter defined). and
                            (iii) all rent payments and other obligations of Lessee due and unpaid under the Lease as of the date of lhc sale or disposition.
                            As to each Vehicle, if the Net Proceeds received by Lessor Lessor from lhc sale or other disposition of such Equipment 1:if'ter
                            expiration of the Initial Term are less than the TRAC Residual amount for such Equipment as set forth in the Summary of
                            Leao;e Terms, then Lessee shall immediately pay to Lessor the amount of such deficiency us additional Rent hereu11der. ff the
                            Net Proceeds are in excess of the TRAC Residual amount., then 100% of such excess shall be returned to Lessee as a reduction
                            in the Rent for such Equipment. provided, however, that Lessor shall be entitled to retain all or any portion of such amount to
                            satisfy any of Lessee's obligations under the Lease

                             Lessee hereby certifies, under pemtlty of perjury, that
                  (i)   Lessee intends that more than 50% of the use of the Equipment subject to this TftAC is to be used in a trade or business of the
                           Lessee,
                  (ii) Lessee has been advised by tax counsel or other tax advisor, Wld
                  (iii) Lessee undcrstnnds and agrees that., Lessee will not be treated as the owner of the Equipment identified above for fodcral income
                           tax purposes.

                  B.          $1.00 Buyont. Lessee hereby unconditionally agrees to purchase all, but not Jess than WI. of the Equipment for$ I .00 upon
                            expiration of the Initial Term of the Lease. Lessee and Lessor agree. lhlll. Lessee is owner of the Equipment and shall lilc and
                            pay all license, registration fees, and documentary, sale and use taxes, and personal property taxes and all other taxes, fees and
                            charges relating to the ownership, \easi11g, rental, sale, purchase, possession or use of the Equipment

                    With respect lo any option upon expiration of the initial Term of the Lease set forth herein, if wriu.cn· notice of Lessee's intention to
                    exercise such elected option is not received on a timely basis, lhcn such failure shall constirute an Event of Default., and to the extent
                    that the Lessee fails to return to Lessor the Equipment in accordance with Section 7 hereof, Lessee agree:; to pay a daily rental fee
                    equal to 150% of the daily Rent for each day that the Equipment is retained by Lessee; provided, however, such payments shsll not
                    extend Lessee's right to have and use lhe Equipment beyond tlle Initial Tenn of the Lease as provided herein. Upon exercise of the
                    option elected by Le:ssee and payment in full by Lessee of any related purchase amounlS and utl Rent, Lessor will execute and deliver
                                                                                                                                                                        i
                    to Lessee the title to the Vehicles, and any other documentation necessary to transfer title to Lessee. THIS SALE WILL BE
                    WITHOUT ANY REPRESENTATION DR WARRANTY OF ANY KJND BY LESSOR, Wl·lffrHER EXPRESS OR !MPUED IN
                                                                                                                                                                        !
                                                                                                                                                                        '
                    PACT OR LAW and, Lessee will accept the Vehicles'' AS IS" and "WHERE lS".

               5. TAX INDEMNIFICATION. Except 10 the e:d~nt Section 48 is applicable upon cxpira1ion at the rnitial ·rem1, it is undcrs1t:1od and
 agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to such tax benefits thul are available as owner of the Equipment tJuough
depreciation of the tot.al capitalized cost of the Equipment thereof fur federal income Ulx purposes. Jn the event that Lessor suffers any loss,
disallowance, unavailability, or recapture of such depreciation for any reason whatsoever, then. after written notice thereof by J.,essor to Lessee, Lessee
shall pay 10 Lessor an additional Incremental amount payable 011 each date that !he Basic Rent is thereafter due, which in the opinion of Lessor, will
cause Lessor's net after-tax annual cash flow and net after-tax r0te of return respectively, that woWd have been available if Lessor had been entitled to
full utilization of the depreciation. In the event thal any paymeat is required to be made pursuant to this Section 5, and such payment is to be made on
succeeding rent payment da1es, but al such time this Lease shall haye been terminated or Rent otherwise no longer shall be due and payable on the
remaining rent payment dates, Lessee shall promptly pay Lessor any amoun1 equal to the incremental increase in Basic Rent which would have been
required if such tax loss had occurred immediately prior to the last rental payment date on or prior to the expiration or other termination of the Lease.
Lessor shall promptly notify Lessee of the commencement of any proceeding by the internal Revenue Service in respect of any item as to which
 indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable porsuan1 lo this Section 5 shall survive the c.xpiration
or other termination of this Lease.
               6. USE OF VEHICLES. Lessee shall use the Vehicles only in its business und in compliance wilh all laws, rules, and regulations of any
jurisdiction where the Vehicles are used or located. Lessee n...-presents and warrants to Lessor at all times that (i) Lessee has the right and ability to enter
into this Lease; (ii) this Leese constitutes a valid, Jcgal, and binding obligation and agreement of Lessee, enforceable against Lessee in accordance with
 its tenns; and (iii) thal the entering into and performance of this Lease by Lessee will not result in a breach, violation, or default under any judgment.
order, law, regulation. loan, mortgage, ngre.oment, indenture, or other instrument applicable to Lessee., or result in .any breach of, or constitute a dcfaull
under, or resuH in the creation of any lien. charge, security interest. or other encumbrance upon the Vehicles pursuant lo any instrument to which Lessee
 is a party or by which it is bound. Lessee shall (i) use and operate the Vehicles in a careful and prudent manner for the purposes and in the manner
 intended 10 be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) shall pay for all maintenance of Vehicles
to Icecp them in good and efficient working order and condition tluri:ng the Term of the Lease, including, but is not limited to, Lessee's supplying all
fuel, lubricants. and other parts, suppli~s,. maintenance and services, and/or Lessee, upon Lessor's request. entering into a service and maintenance
agreement with Lessor or an affiliate of Lessor upon such lenns und conditions provided by Lessor. After notice to Lessor, Lessee may, at its own
expense, make alterations or add attachments to the Vehicles, provided that such alterations or attachments are removable and do not rnduce the value,
utility or useful life of the Vehiclf.:lS. Upon the expiration or termination of the Lease, all alterations or attachments affixed to the Vehicles shall become
the property of Lessor if not removed, and if Lessee does remove such attachments, Lessee she.II be liable to Lessofor wiy damage to the Vehicles as the
result of such removal. In the event thut any federal, state, or local law, ordinance, rule or regulation shall require the installation of any additional
accessories to any oftl1e Vehicles, inctuding, but not limited to, anti-pollution and/or safety devices, or in the event that wiy other modifications to the
Vehicles shell be required by virtue of such law, ordinance, rule or rcgula.1.ion, then and in any of such events. Lessee shall pay the foll cost thereof,
including installailon expenses. Lessor ·may, at its option. arrange for the installation of such Vehicles or the pcrlbmuuice (lf such modifications. and
 l.essee agrees to pay lhe full cost thereof immcdiaillly upon receipt of an invoice for the same
               7. SURRENDER. Upon either the (i) failure by Lessee to exercise any purchase option for any Vehicle set Jbrth herein, or (ii) upon
demand by Lessor made pursuant to an Event of Default (as set forth in Seel.ion 19 hereof), 1..essee shall, at ilS own expense, return such Vehicle to

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Lessor to such location within the continenial United States as J,essorshall designate, in the same condition as when delivered, reasonable wear and tear
excepted and otherv.>ise in the condition required by this Lease Upon return of the Vehicles, Lessor.or such entity d~signated by Lessor, shall perfonn a
physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated with the inspection, and
for any and all repairs necessary lo place lhe Vehicles in the sHme condition as when delivered, reasonable wear and tear excepted and otherwise in !he
condition required by this Lease..
                8. PAJNTlNG. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided that,
upon the expiration or termination of this LC:f!Se, and in the event that Lessee does not purchase the Vehicles pursuant to Section 4.8 hereof, Lessee
shall, upon the request of Lessor and at Lessees expense, restore the Vehicles to original condition, ordinary wear and tear excepted
                9. 'VARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HA VE MADE, ANY EXPRESS OR lMPLIED WARRANTY AS TO MERCHANTABILITY, FITNESS FORANY PURPOSE OR USE,
DESJGN OR CONDITION OF vm-ncw.s. QUALITY OF MATERIAL OR WORKMANSHIP, OR AS TO ANY OTHER MATrER WHATSOEVER
 RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LJABLE FOR ANY INDIRECT, CONSEQUENTlAL, INCIDENTAL, OR
PUNJTJVE DAMAGES ARISING OUT OF THE USE OR INABILJTY TO USE THE_ YEI-llCLES, OR ANY INADEQUACY, DEFICIENCY, OR
 DEFECT IN THE VEFilCLES. LESSEE AGREES THAT LESSEE LEASES THE VEHICLES "AS IS". Lessor agrees, to the ex lent possible and
without increasing its liability hereund&, and upon request. to assign to Lessee, BllY warranty of a manufacturer or seller relating to the Vehicles
available to Lessor, provided, however, thnt the foregoing rights shall automatically revert to Lessor upon the occurrence and during the continuw1ce of
any Event of Default hereunder, or upon return of tl1e Ve-bicles to Lessor. Lessee agrees to settle 1:1.ll claims with respect lo the Vehicles directly with the
manufacturers thereof, and to give Lessor prompt nolicc of any such settlement and the details of such settlement
                10. TITLE AND INSPECTION. Lessee, at its expense, shall prolect and defend Lessor's title and keep it free of all claims and liens
except those claim.<: and lic:ns crca!.cd by Lessor in connection with any assignment or financlng by Lessor. Lessor may inspect the Vehicles at any lime
without prior notice during regular business hours. If, at any time during the Tenn of this Lease. Lessor supplies Lessee with labels, plates or olhcr
markings stuting that the Vehicles are owned by Lessor, Lessee shall affix and keep the SlllTlC in a prominent place on the Vehicles
                11. LICl~NSES. Lessee shull at its expense obtain all necessary ticenses(including motor Vehicle plates) and registrations, required for the
use and operation ofeach Vehicle. All certificates of title or registration of each Vehicle shall name Lessor as: the owner thereof
                12. INTERESTS IN VEHICI~ES. Lessee's rights wilh respect 10 this Lease and any Vehicles leased hereunder will be subject to any
rights and interest in and to said Vehicles ¥rhich may be granted by Lessor (or Lessor's affiliates) to any assignee or lender of Lessor {or Lessor's
affiliates). Lessor may BSsign to a lender or any other assignee all or any part of Lessor's rights hereunder, including a security interest in the Vchicks
and the right to receive rents and other sums due hereunder. Upon notice of such assignment in writing by a lender, assignee and/or Lessor, Lessee shall
pay all rents and other" sums due or to become due under this Lease directly to such lender or assignee without set off: counterclaim, or any defense
whatsoever.
                13, TAXES. Lcssccshal1 pay all personal property, sales or ust. tHxcs, business licenses, assessmenll:i, penalties, iUld i;:hargtis which may be
levied or asserted with respect to the Vehicles (except income taxes levied on lease payments to f..essor). In the event that any such taxes. licenses,
assessments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immediately after J.essor notifies Lessee in writing ol' lhc
amount of such taxes, licenses, assessments:, penalties, charges or expenses paid by Lessor, as well as an administrative fee. Increases or decreases in
sales or use tax rates will affect all lease payments ancr the effective date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
harmless from and against any loss, cost or expense urising out of or rolating toany such lax, import or levy, including, without limitation, any penalties,
interest and fines relating thereto.
                14. FINES. Lessee shall pay all fines due to overload, overlcngth, overweight., lack of plates or pcn11its, speeding and any other charges
which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof. The provisions of this Section 14 shall survive the expiration
or oilier 1ermination of this Lease.
                15. LOSS OR DAMAGE. Lessee shall bear the entire risk of loss, theft, destruction of or damage to any Vehicle from any cause
whatsoever ("Loss or Damage"), Lessee shall promplly notify Lessor in writing of any Loss or Dan1agc. No Loss or Damage to any Vehicles shall
relieve Lessee of any obligation withrespectto such Vehicle under this Lease. In the eve11t of Loss or Damage, L~see shall, at the option of Lessor. (a)
put such Vehicle in goorl condition and repair in accordance with the manufacture.r's recommendations, and to the ressonnble satisfaction of Lessor, al
Lessee's expense; (b) replace such Vehicle with a like Vehicle (same value, utility and useful life as damaged Vehicle) in glmd condition and repair as
approved by Lessor in Lessor's sole discretion with clear tide thereto vested in Lessor; or (c) pay Lessor on or before the next rent payment date as set
forth in accordance with Section 3 hereof (such payment date, the "Loss Payment Date") in cash the sum of. (i) all amounts then due Lessor by Lessee
under the Lease relating to such Vehicle, which amounts shall be prorated through the Loss Payment Dale, plus {ii) an an1ount equal \0 the present value
of the TRAC Residual, if any, relating to such Vehicle (as set forth in the Summary of Lease Tenns), discounted at 5.0o/o computed from the expiration
of the Jnitial Tenn of the Lease to the Loss Payment Date, plus (iii} an amount equal to the present value of the unpaid future remaining Rents for the
lnitial Term of the I,ease, relating to such Vehicle discotmted at 5.0% computed from the scheduled payment dates for such Rents lo the Loss Paymeni
Date (the "Casualty Value Amounf'). Upon receipt of the Casualty Valut: Amount set forth in {c) above, Lessor sh111l assign to Lessee (or Lessee's
insurer) Lessor's interest in such Vehicle in its then condWon and location, '"AS IS" wilhout any warranty whatsoever, ex.press or implied. If Lessee is
required to repair any Vehinle in accordance with (a) above, or to replace any Vehicle in accordance with (b) above, the insurance proceeds actually
received by Lessor, if any, pursuant to Section 16 here.of shall be first applied to p11y any amounts then due under this Agreement, and then shall be paid
to Lessee upon proof salisfactory to Lessor that such repairs have been completed as required hc;reir(in the case of (a)), or of ad~quate purchase and title
documents in Lessor's sole discretion (in the case of(b)). Jn the e'•imt that Lessee is obligalecl to pay to l..essor the amount specified in (c:) above, Lessee
shall be entitled to a credit against such amount equal to the amount of insurance proceeds actually received by Lessor, if any, pursuant to Section 16
hereof, on account of such Vehicle
                16. INSURANCE. Lessee shall obtain and maintain insurance 011 or with respect 1o each Vehicle at it~ own expense and in the amounts
and fonns satisfactory tc Lessor. In no event shall any insurance coverage be less than the following: (a) physical damage insurance insuring against
loss or damage to the Vehicles in an amount not less than the full replacement value of such Vehicle.~ and (b)(i) in all States except Florida:(\) nol
greater than $500 tleductible for collision, fire. theft, and comprehensive.. and (2) $500,000 combined single limit for bodily injury liability and property
damage; or(b)(ii) for the siatc of Florida: {I) not grealerthan $500 deductible for collision, fire, theft, anil comprehensive. and (2) $250,000 per person
/ $500,000 per incident bodily injury liability, and {3) $100,000 property damage liability. In addition. the following require $1,000,000 excess Hability
coverage (umbrella): (a) truck/tractors over.45,000 lbs.; (h) tra.Hers/semi-trailers; tow trucks: and (c) limo uses for livery. Lessee shall furnish Les~or
with a certificate of insurance evidencing issuance of such insurance to Lessee in at least the minimum amount required herein, naming Lessor and such
other parties designated by Lessor as additional insured thereWlrler for liability coverage, and as loss payee for property damage coverage. Each policy
shall require insurer to give Lessor30 days prior written notice of any material alteration iri temtSofpolicy or cancellation thereof, and shall provide that
no action, misrepresentation or breach of warranty of Lessee shall invalidate the policy. If Lessee fails to provide such insurance, Lessor shall have the
right. but no duty, to obtain sucb insurance, and Lessee shall pey Lessor all costs thereof, including all costs incurred by Lessor in obtaining such
insul'llllce together with interesr at the Defiuilt Rate from the date paid by Lessor to the date paid ln full by Lessee, Lessee shall not ~ any Vehicle if
the insurance required he~in is not iri full force llJld effect with respect to such Vehicle. Upon Loss or Damage as set forth in Section 1S hereof. Lessee
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shall receive credit for any amounts paid to Lessor by the insurer against Lessees obligations hcrcundei:
                17. INDEMNITY. Lessee shall indemnify Lessor against, and hold Lessor harmless from, any and all claims, actions, damages.
obligations,. !iabililies, liens {including any arising or impo~-ed under lhc doctrines or strict liability in tort or product liability), and costs end expenses
(including attorneys fr;:;es). arising from or out of the manufacture+ purchase, lease, possession. operation, condition, return, or use of the Vehicles, or by
operation of Jaw, excluding however any of foregoing resulting sol~ly from the gross negligence or willful misconduct of Lessor. Lessee agrees that
upon written ooticc by Lessor of assertion of any such claim, action, damage. obligation, liability, or lien. Lessee, at Lessee's expense shall assume full
responsibility for the defense thereof, provided that Lessor shall have the right, but not the obligatlon, to participate in any defense conducted by Lessee
without relieving Lessee of any of its obligations hereunder 'fhe provisions of this Section i 7 shall survive termination of this Lease
                18.ASSJGNMENT. Except as olherwise permitted herein, without Lessois prior written consent, Lessee sl1all not assign. transfer, pledge,
hypotheeate or otherwise dispose of this Lease, the Vehicles or any interest therein, or sublet or lend the Vehicles, or permit the Vehicles to be used by
anyone except Lessee or Lessees authorized cimployecs Lessor may assign this Lease or any interest therein in whole or part without notice to Lessee
                 19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions which shall
constitute ..Events of Default": (a) Lessee fails to pay any Rent or other amount when due; {b) Lessee fails to obscnie, keep or perfonn any other
covenant or provision of this Lease required to be observed, kept, or performed, by Lessee; (c) r.essee removes, sens, lransfurS, encumbers, creates a
security intc:rest in., relinquishes possession of the Vehicles, or P-'rforms any act which impairs Lessor's title to any Vehicle or atk:mpts any of the
foregoing: (d) Lessee makes a misrepresentation to Lessor of any mattt!r or covcinant connected with this Lease; {e) Lessee fails to satisfy any lraffic
ticket or summons or fails to register any Vehicle: (f) Lessee becomes insolvent, bankrupt or has a trustee or receiver appointed for Lessee or for a
substantial part of Lessee's property; (g) Lessee experiences a materiul change in its business or affairs (including termination of Lessee's employment
or termination of the contract under which Lessee provides services or a change in lht; control or ovmcrship of Lessee or Lessee's employer or the par!y
with which Lessee contracts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the credil risk
involvt:d therein; {h) Lessee attempts to assign this Lease without the consent of Lessor; or (i) Lessee fails to nolify Lessor of any material chWlge in its
business and affairs, including a change in tl1e ownership or control of Lessee. Lessee hereby irrtwocably appoints and constitutes Bush Truck Leasing,
Inc. and its successors and assigns, the true and lawful allorney-in-faet of Lessee, with full power in the name of Lessee upon the occurrence of an Event
of Default, (i) to demand and receive any and all moneys and claims for moneys due in respect of or relating to the Equipment, (ii) to assign or transfer
any of Lessee's rights under this Lease or in the Equipmcint (including assigning the rights of Lessee to any replacement lessee hereunder and/or causing
any other person to become the registered owner of the Equipment) and (iii) to take any other action in respect of this Lease or any of the Equipment.
Lessee ratifies and approves all acts of:Bush Truck Leasing, Jnc., as attorney-in-fact. Bush Truck Leasing, Inc., as attorney-in-fact will not be liable for
any acts or omissions or errors of Judgment or mistake of fact or law. This power, being coupled with an int.crest, is irrevocable until all obligations
under this Lease have been fully satisfied
                2(}, REY\-IEDrES. Upon the occurrence of any Event of Default, Lessor may declare this Lease to be in default. and at wy time !hereafter,
J.,essor, at its option, may do any one or more of the following: (a) cancel this Lease; (b} proceed by appropr.iate action to enforce performance of the
Uase at Lessee's expense or to recover damages (including attorneys fees) for the breach thereof, (c) demand that Lessee, filld in such case the Lessee
shall, return all or any part of the Vehicles promptly in the mann~ required by and in accordance with Section 7 hereof; (d) enter, with or without legal
process, Lessee's premises or any other premises where the Vehicles arc localed. and take possession of all or any part of the Vehicles without any
liability to Lessee by reason of such entry; (e) sell, lease, or otherwise dispose of all or any part of the Vehicles al a p"ublic or private sale, which may be
conducted where imch Vehicles are then located; (t) demand that Lessee, and in such case Lessee shall, pay 10 Lessor as liquidated damages for loss of a
bargain and not as a penalty an amount equal to the sum of(i) all amounts due and unpaid under t.hc Lease {including without limilation any indemnity
obligations) plus interest thereon from the due date thereof at a per annum interest rate equal lo the prime rate of interest tht:n in cllCct as published in
the Wall Street Journal plus2.0% (the "Default Rate"), plus (ii) the present value of all future Rent paymenU! for such Vehicles.discounted at 5.0%. plus
(iii) the preserrt value of the TRAC Residual, if any, discounted at 5.0o/o, plus (iv) all costs and expenses inwrred by 1.essor in enforcing Lessor's rights
hereunder (including, without limitation, all costs of repossession, recovery, storage, repair, sale, re-lease, and attorneys' fees), together with interest
thereon at the Default Rate from the date of demand to the date of payment in full (the "Liquidated Damages"), or {g) exercise any other right or remedy
which may be available to Lessor under the Uniform Commercial Code or any other applicable Jaw The proceeds of any sale or lease of the Vehicles by
Lessor shall be applied in the following order of priority (I) to pay all of Lessor's expenses in taking,. holding, preparing for sale or lease, and disposing
oft.he Vehicles, including all attorneys fees f!Dd legal expenses, then (2) to pay any late charges and all interest accrued at the Default Rate; then (3) to
pay accrued bul unpaid Rent payments, then (4) io pay any other unpaid sums due under this Lense including Liquidated Dan"J.ages. lf the proceeds of
any sale or lease Rre not sufficient to pay the amounts owed lo Lessor under this Lease, Lessee will pay the deficiency. Lessor may also, without
liability, take any personal property stored within the Vehicles and may store any such property at Lessee's expense for 30 days. Lessee will be
obligated to reclaim such property within 30 days and hereby waives Wl)' rights in such property tht:reafter. Any unclaimed property will be deemed
abandoned after 30 days and will be discarded by Lessor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied to Lessee's
obligations under this Lease purSunnt to this Section 20. Lessor's remedies hereunder may be exercised instead of or in addition to any other legal or
equitable J'tl'ITledies.. Lessor has the right to set off any sums received from any source (including insurance proceeds) against Lessee's obligations under
this Lease. Lessee waives its rig.ht to object to the notice of the time or place of sak or lease. and to the manner and place of any advertising therefore.
Lossec waives any defense based on statutes of limitations or lachcs in actions for damages. Jn case ol' f'ailure hy Lessee to pay any foes, asscssmcnls,
charges, or taxes arising with respec1 to the Vchiclcs, l..cssorshall have the right, but not the obligation to pay such amounts. and in that event, the cost
thercofsha11 be payable by Lessee to Lessor upon demand, 1ogcthcrwith interest at the Dcfnult Rate from the date of disbursement by Lessor
                21. Sli:CURITY DEPOSIT. The Security Deposit shall be held by Lessor during the entire Term of the Lease, including the lnlerim Term
and any renewa.t term, as security for the full pHyment and performance of the terms, conditions and obligations of Lessee hereunder and under any and
all Schedules. The Security Deposit shall not excuse the performance nt the time and in the manner prescribed or any obligation of Lessee or cure a
defuult of Lessee. Lessor may, but shall not be required to, apply such Security Deposit towards discharge of any overdue obligation of Lessee. Lessor
shall be entitled to commingle the Security Deposit wilh any of its own funds. No Interest shall accrue on the Security Deposit and Lessor shall have no
liability to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations of Lcsseamder the Lease, Lessee
shall, upon demand, pay to Lessor an wnoont necessary to rctam the Security Deposit to the sum specified above. In furtherance thereof, Lessee hereby
grants to Lessor 8 security interest in the cHSh comprising the Security Deposit from time to time and any and all interest thereon, together with the
proceeds thereof, to secure the prompt payment as and when due ofaU indebtedness, and the prompt perfom1ance as and when due of all obligations, of
Lessee now or hereafter required under the Lease.. If no Default has then occurred, upon the expiration or earlier iermination of the Term of the Lease,
the balance of the Security Deposit then held by Lessor shell promptly be paid lo Lessee
                22. SEVERABILITV. The invalidation of any provision or provisions of this Lease a.<; unenforceable shall not operate to invalidate the
remainder of the Lease which shall remain in full force and effect
                23, NOTJCES. All notices relating to this Leillle shall be delivered in person to an officer of Lessor or !~essee or mailed to the respective
addresses shown above on thci first page of this Lease, or to such add~ss as otherwise specified in writing by the appropriate party hereto
                24. WAlVICR. Lessor's forbearam:~ of exercise of any right or remedy on Le.<isee's breach of any tenns, covenants or conditions hereunder
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shaH not be deemed a waiver of such right or remedy. the requirement of punctual performwice, or any of its remedies upon any other or subsequent
breach or default
              25. GOVERNING LAW. This LcaSe takes effect upon its acceoptance and execution by Lessor, and shall be governed, interpreted and
construed under the laws nf the State of Ohio. Ohio law sh al I prevail in the event of any conflict of law without regard to, and without giving effect to,
the application of choice of lnw mies LESSEE WAfVES ALL RIGHTS TO TRIAL BY JURYIN ANY LlTIGATIONARJSJNG FROM OR RELATED
TO THIS LEASE, AND LESSEE SUBMITS TO THE JURISDICTION OF THE FEDERAL DISTRICT COURT FOR THE SOUTHERN DISTRICT
OF OHIO, OR ANY STATE COURT OF COMPETENT JURISDICTION WITHIN MONTGOMERY COUNTY, OHIO, AND W AfVES ANY RIGHT
TO ASSERT TH.AT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT JS IN THE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26,      WAIVER OF DAMAGES. Lessee waives to the fullest extentpermitted by law any right to or claim of any punitive, exemplary,
indirect, spocial, consequential, or incidental damages against Lessor, Lessee agrees that, in the event of a dispute, claim or conlrovcrsy against Lessor,
Lessee shall be limited to the recovery of actual direct damages sustained by it, subject to any limibn direct damages set forth in this Lease. Lessee will
not accept or atiempt to collect through the courts or othl!'rwise any punitive, exemplary, indirect, consequential. or incidcnl.111 damages from Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee and their respective
successors and assigns permitted hcrcundet
              28. FORCE MAJEURE. The obligatioris of Lessor hereunder :shall be suspended to the extent that it is hindered or prevented from
complying therewith beCausc of labor disturbances, acts of God, fires, storms, accidents, failure of the manufacturer 10 deliver any of the Vehicles, court
order, governmental regulations, or other interference or any cause whaboever not within the sole control of Lessor

                                                           fS!GNATURE PAGES FOLLOWJ




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                                                                                                       LESSOR1                                                                              i
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                                                                                                       N•= :Ollma S. C0tt1ette
                                                                                                       Titl•r Vice. President




           EOUIPM'ENT ACCEPTANCE
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           ~piJl.e:[lt.:Aqc.ept:Ewpe•. I,.~~~~byra~cs ~or~ inc~.!'.h~ ~a.)]U.~Js';W.""flf;!S?t.af}.Y r,.ease~l.e i.nc~ ap.plicabl~ 19 thc-~case-




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                                                                                                                    6961 Cintas Blvd
                                                                                                                    Mason, OH 45040

                    TRUCK LEASING, INC.                                                                             800-766-Z874
                                                                                                                    www.bushtrucks.com
                                                                        LEASE AGREEMENT
                        Contract Date:                     Ac . k        I 5            Lease ID No.                            CSBM0152



fndividual Legal Name(if applicable):
Company Legal Name(if applicable):      Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City: National CityState:CA    Zip: 91950
'"'                 <>c:;:.:_'.'Z·?P                  .•. ,•. /"'''·/'\:,\/
Vehicle Year                                    Vehicle Make                            TVehicle Model                         IVebicle Identification N~mber
2012                                            Freightliner                              I Cascadia                           j 1FUJGLBG8CSBM015l
          Refer to Sd1edule I of this Lease Agreement for Equipment details in the event that no Equipment information appears above
 :c ''";;;::1:p:c;:~·•:,•·;:;:;:;;,:•:s2f~x;:•::;,;,;:,\':~'o{t::.•t\'Ci:''isui\it i\iiARY,;o:Ft:EAse •tEFiMs ·,.   ·· · •·. ·. <· ··: · · < .- • • ·· • •· ·
Commencement                 Initial      1lental Periods Ni Total    Down                   Advance      Basic Rent       Doc Fee          Security       End of Term
                                                           umber of Payment+
Date & 1st Basic
  Rent Date
                             Term
                                                             Payments         Taxes at
                                                                                                or
                                                                                             Arrears
                                                                                                           (without
                                                                                                            Taxes)
                                                                                                                                             Deposit            Option            ,.'
                                                                              Closing                                                                                             I

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 9 ·1
       I . )._u !   ~

           ·),u I~ MONTHLY
                               36          MONTHLY                36          $1,500.00      Arrears       S2,036.67       $400.00            $0.00             TRAC
                                                                                                                                                                                  I
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $26,950.00                                                        I
      THIS LEASE AGREEMENT ("Lease") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
      ("Lessor''), and LESSEE referenced above.
                                                                                                                                                                                  !
                     1. GRANT OF LEASE. LC!!sorhcrcby leases lo Lessee, and Lessee hereby leases from Lessor, the Equipment described llerein, together
      with a\1 replacements, repairs anC. additions thereto (individually and collectively, the ·•vehicle~) on the teITTIS <md conditions set forth in this Lease.
      Lessee agrees that Lessee leases the Vehicles "as.is", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
      manufacture sclcc~d by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
      has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements, representations, oiwarrantics made by
      Lessor, and Lessee acknowledges that Lessor i!> not the manufacturer of the Vebicles Lessee certifies that the Vehicles identified herein will be used for
      commercial purposes.
                     2. lNffIAL TERM. The tenn of this LcliSe for each Vehicle shall commence on the Contract: Date and shall continue for that number of
      months frorn the first (J st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month, in which case the
      Contract Date shall be the date on which the tenn of this Lease commences) ("Commencement Date") each as set forth in the Summary of Lease Terms
      (such period as extended or sooner terminated by Lessor as provided herein, the"Term").
                     3. RENT. The rental payment amount for each Vehicle hereund:er (the "Basic Rent") is set forth in the Summary of Lease Terms. Basic
      Rent on each Vehide shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immcdialcly available funds by J.essee
      in advance or arrears for the periods (each a "'Rental Period) and for the total number of payments as set forth in the Summary of Lease Terms, in each
      case, on the first dayofeaeh such Rental Period. lfthe Contract Date docs not foll on the first day of the month, the rental for that period of time from
      the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 day~ for One Week. ! 4 days for
      One Biweekly and 30 days for One Month Rental Periods, as applicable). multiplied by the number of days from (and including) the Contrnct Oat~ to
      (but not including} the Commcncc:mcnt Dale and shall be due and payable m1 the Commencement Date. Lessee shall pay all amounts other than Basic
      Rent Lessee is obliga!cd Lo pay hereunder {the "Supplemental Renl'' and together with 13asic Rent, the "Rent'') when due or if no date is specified
      herein, on demand. lf any Rent p~ymcnt is not made within five (5} days after its due date, Lessee shall pay a late charge equal to the lesser of l 0% of
      the late renl:B.l payment amount, and the maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
      OF ALL OTHER OBLIGATIONS ARE ABSOLlITE ANO UNCONDITIONAL AND WJTHOlIT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
      WHATSOEVER, INCLUDING, BUT NOT LlMITED TO, ANY RIGHT OR CLAJM THAT LESSEE MAY NOW OR llEREAJ'fER HAVE
      AGAINST LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEc OF LESSOR. OR THE MANUFACTIJRER OF THE VEHICLES FOR
      ANY REASON WHATSOEVER, SPEC!FlCALLYINCLUDING, WITHO!Jf L.IMITATION,ANY CLAIMS THAT LESSEE MAY HAVE AGAINST
      LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSlGNEE OF LESSOR wrm RESPECT TO THE SERVICE AND MAINTENANCE
      AGREEMENT REFERENCED IN SECTION? HEREOF.
                      4. OPTION UPON EXPIRATION OF INITTAL TERM OF LEASE. Upon expiration of the lnltial Term of the Lease. Lessee shall
      comply with the provisions of Clause A or B below, in either cuse. HS specified in the Summary of Lease Tem'J.S

                        A.          Terminal Rental Adjustment Clause ("TRAC''). Lessee agrees that there sha!! be an adjustment of the Ren\ lo he paid
                                     Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment {tbe
                                     ..Estimated Fair Murk.et Value} will equal the TRAC J~esidual set forth in the Summary of Lease Tenns. Upon



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                                                                                                                                                                          •.
                            expiration of the Initial Term, Lessor will attempt lo sell the Equipment ln the event that the Net Proceeds (as defined below)               '
                            are less than the Estimated Fair Market Value, Lessee shall pay Jo L~or the full amount of such shortfall. If the Equipment
                            hes not been sold on the last day of the Initial Term, lhcn the Net Proceeds shall be deemed to be zero llilcl Lessee shall
                            inunediately pay to Lessor the TRAC Residual. Tf the Lessor thereafter shall sell the Equipment, the Net Proceeds shall be
                            paid by Lessor to Lessee, Any such payment by either Lessee or Lessor shall be deemed to be a Terminal Rental Adjustment
                            with respect to the Vehicles. As used herein, "Net Proceeds" shall mean (he proceeds received by Lessor, after deducting (i)
                            all costs and ex:penses incurred in connection with the   ~covery, repair,   storage, and sale of the Vehicles, including: any and all
                            aUomcys' fees and legal expenses, (ii) all late charges and a!l interest accrued al the Default Rate (as hereinnfter defined). and
                            (iii) all rent payments and olher obligations of Lessee due and unpaid under the L1;:asc as of the date of the sale or disposition,
                            As to each Vehicle, if lhc Net Proceeds received by Lessor Lessor fTom the sale or other disposition of such Equipment after
                            expiration of the Initial Tenn are Jess than the TRAC Residual amount for such Equipmcnl as sc:t forth in the Summary of
                            Lease Terms, then Lessee shall immediately pay to Lessor the amount of such deficiency as additional Rent hereunder. lf the
                            Net Proceeds arc in exce~ of the TRAC Residual amount, then J 00% of such excess shall be returned to Lessee as a reduction
                            in the Rent for such Equipment, provided, however, 1.hat Lessor shall be entitled to retain all or BI!)' portion of such amount to
                            satisfy any of Lessee's obligations under the Lease

                              Lessee hereby certifies., under penally of perjury, tJ1at
                   (i)   Lessee intends that more than 50o/o of the use of the Equipment subject to this TRAC is to be used in a trade or busines~ of the
                            Lesscc,
                   (ii) Lessee has been advised by iax coumic! or other tax advisor. and
                   (iii) Lessee understands and agrees that, Lessee will not be 1.rea.1cd as the owner of the Equipment identified above for federal income
                            tax purposes.

                   B.         Sl.0(} Buyout. Lessee hereby unconditionally agrees to purchase all, but not less than all, ofthe Equipment for $1.00 upon
                            expiration of the Initial Term of !he Lease. Lessee and Lessor agree that Lessee is o\vner of the Equipment and shall file and
                            pay all license, registration fees, and documentary, sale Wld use taxes, and personal property taxes and all other taxes. fees and
                            charges relat.ing to the ownership, leasing, rental, sale, purchase, possession or use of the Equipment

                    With respect to any option upon expiration of the Initial Term of the Lease set forth herein. if writltm notice of Lcssct!'~ intention 10
                    exeroise such elected option is not received on a timely basis, then such failure shall constilutc an Event of Default. and to tile extent
                    tl1at the Lessee fails to return to Lessor the Equipment in accordll.Ilce with Section 7 hereof, Lessee agrees to pay a daily renlal !be
                    equal to 150% of the daily Rent for each day that the Equipment is retained by Lessee; provided, however, such payments shall nt}L
                    extend Lessee1s right to have and use the Equipment beyond the Initial Tenn of the Lease as provided herein. Upon exercise of the
                    option elected by Lessee and payment in full by Lessee of any related purchase amounts and all Rent, Lessor will execute and deliver
                    to Lessee the title to the Vehicles, and any other documentation necessary to transfer title to Lessee. THIS SALE WILL BH
                    WJTHOUT ANY REPRESENTATJON OR WARRANTY OF ANY KIND BY LESSOR. WHETIIER EXPRESS OR IMPLIED JN
                    FACT OR LAW and, Lessee will accept the Vehiclcs''AS JS'' and "WHERE IS".

                5. TAX INDEMNIFJCATTON. Except to the extent Section 48 is applicable upon expiration at the Initial Tenn, it is understood and
agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to such tax benefits that are available as owner of the Equipment through
depreciation of the total capitalized cost of the Equipment thereof for federal income tax purposes. In the event that Lessor suffers any loss,
 disal\owancc, l.lnavn.ilability, or recapture of such depreciation for any reason whatsoever, then, after written notice thereof by Lessor to Lessee, Lessee
 shall pay to Lessor an additional incremental amount payable on each date that the Basic Rent is thereafter due, which in the opinion of Lessor, will
 cause Lessor's net after-tax annual cash flow and net after-tax rate of return respectively. that would have been available if Lessor had been entitled LO
 full utilization of the depreciation. In the event tha! any payment is required to be made pursuant to this Section S, and such payment is to be made on
succee.ding rent payment dates, but at such time this Lease shall have been terminated or Rent otherwise no longer shall be due and payabk on the
remaining rent payment dates, Lessee shall promptly pay Lessor any amounl equal to the incremental increase in Basic Rent which would have been
required if such l:nx loss had occurred immediately prior to the last rental payment date on or prior to the e~iration or other termination of the Leastoi.
Lessor shall promptly notify Lessee of the commencement of any proceeding by the In!cmal Revenue Service in respect of any item as to which
 indemnity is sought hereunder. Lessee's agreement to pay any sums which muy bet-'Ome payable pursuant to this Section 5 shall survive the expiratinn
or other termination of this Lease.
                6. USE OF VEHICLES. Lessee shall use the Vehicles only in its business and in compliance wilh all laws, rules, and regulations of any
juriscliclion where the Vehicles arc used or located. Lessee represents and warrants to Lessor at all times that (i} Lessee has the right and nbilily to enter
 into this Lease; (ii) this Lease constitutes a valid, legal, and binding obligation and agreement of L.essee, enforceable against Lessee in accordance with
 its terms; and (iii) that the entering into and performance of this Lease by Lessee will not result in a breach, violation, or default under any judgment,
order, law, regulation, loan, mortgage, agreement, indenture, or other instrument applicable to Lessee, or result in wiy breach of, or constitute a default
under, or result in the creation of any lien, charge, security interest., or other encumbrance upon the Vehicles pursuant to any instrument to which Lessee
is a party or by which it is bound. Lessee shall (i) use and operate the Vehicles in a careful and prudent manner for the purposes and in the manner
intended to be used; (ii} shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) shall pay for all maintenance of Vehicles
to keep them in good and efficient working order and condition during the Tenn of the Lease, including, but is no1 Hmi:tcd to, Lessee's supplying ull
fuel. lubricants, and other parts, supplies, maintenance and services, and/or Lessee, upon Lessor's request, entering into a service and maintenance
agreement with Lessor or an affiliate of Lessor upon such terms and conditions provided by Lessor. After notice to Lessor, Lc.sscc may. al its own
expense, make aJterations or add attachments to the Vehicles, provided that such alterations or attachments are removable and do not reduce lhc value,
utility or useful life of the Vehicles. Upon the expiration or tennination of the Lease, all alterations or attachments aiftxcd to the Vehicles shall become
 the property of Lessor if nol removed, and if Lessee docs remove such attachment'\, Lessee shall be liable to Lessofor any damage lo the Vchielc:s as the
 result of such removal ln lhe event that any federal, stale, or local Jaw, ordinance, rule or regulation shall require the installation of any additional
accessories to any ofthe Vehicles, including, but not limited to. anti-pollution and/or safety devices, or ill the event that any other modlfiC.!::ltions lo the
Vehicles shall be required by virtue of such law, ordinance, rule or rcguluticn, then and in any of such events, Lessee shalt pay the full cost !hereof,
including installation expenses. Lessor may, at its option, arrange for lhe installation of such Vehicles or the performance of such modifications, and
Lc:ssec agrees lo pay the full cost thereof immediately upon receipt of an invoice for the same
                7. SUllRENDER. Upon either the (i) failure by Lessee to exercise any purchase option for any Vehicle set forth herein, or (ii) upon
demand by Lessor made pursuant to an Event of Default (as set forth in Section 19 hereoO, Lessee shal!, at its own expense, retum such Vehicle to

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 Lessor to such location within the continent.al United States as Lessor shall designate, in the same condition as whi..'Jl delivered, reasonable wear and tear
excepted and otherwise in the condition required by this Lease Upon return of the Vehicles, Lessor.or such entity designated by Lessor. shall perform a
physical and mechanical inspection of the Vehicles. Lessee shall be responsible. for the payment of any and all costs associated with the inspection, and
 for DJ1Y and all repairs necessary to place the Vehicles in the same condition as when delivered, reasonable wear and tear excepted and otherwise in the
 condition required by this Lease
               8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insigni11, provided that,
 upon the ex.piration or termin11tion of this Lease, and in the event that Lessee docs not purchase the Vehicles pursuant to Section 4.B hereof, Lessee
sha\1, upon the request of Lessor and at Lessees expense, restore the Vehicles tci original condition, ordinary wear and tear excepted
               9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT l.ESSOR HAS NOT MADE. AND SHALL NOT BE
DEEMED TO HAVE MADE. ANY EXPRESS OR JMPLIBD WARRANTY AS TO MERCHANTABILITY. FirnESS FORANY PURPOSE OR USE,
DESJGN OR CONDITION OF VEHICLES, QUALITY OF MATERW., OR WORKMANSHlP, OR AS TO ANY OTHER MATTER WHATSOEVER
 RELATING TO THE VEH!CLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
 PUNITIVE DAMAGES ARISlNG OUT OF THE USE OR INABlLITY TO USE THE VEHlCLES, OR ANY lNADEQUACY, DEFICIENCY. OR
 DEFBCT IN THE VEHICLES. LESSEE AGREES 1llAT LESSEE LEASES THE VEHICLES "AS lS". Lessor agrees, t.o the extent possible and
without increasing its liabiHty hereunder, and upon request, to assign to Lessi:.e, any warranty of a manufacturer or seller relating to the Vehicles
available to Lessor, provided. however, that the foregoing rights shall au1om1:1tically revert to {.essor upon the occurrence and during the continuance of
any 8vent of Default hereunder. or upon return of the Vehicles to Lessor. Lessee agrees to settle all claims with respect to the Vehicles directly with the
manufacturers thereof, and lo give Lessor prompt notice of any such settlement and the details of such settlement
               l 0. TITLE AND INSPECTION. Lessee, al iUJ expense, shall protect and defend Lessor's title und keep it free of a!J claims and liens
except those claims and liens created by Lessor in connection with any assignment or financing by Lessor. Lessor may inspect the Vehicles at any time
without prior notice during regular business hours, If, at any time during the Term of this Lease, Lessor supplies Lessee with labels. plates or other
markings stating that the Vehicles are owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
               11. LICENSES. Lessee shall at its expense obtaln all necessary licenses(including motor Vehicle plates) and registrations, required for J.ho
use and operation of each Vehicle. AI! certificates of title or registration of each Vehicle shall name Lessor as the ovmer thereof
               12. INTERESTS IN VEHICLES. Lessee's rights witb respect to this Lease and any Vehicles leased hereunder will be subject to any
rights and interest in and to said Vehicles which may be granted by Lessor (or Lessor's affiliates) to any assignee or lender of Lessor (or Lessor's
affiliates). Lessor may assign to a lender or eny other assignee all or any part of Lessor's rights hereunder, including a security interest in the Vehicles
and the right to receive rents and othersun1s due hereunder. Upon notice of such assignment in writing by a lender, assignee and/or Lessor, Lessee shall
pay all rents and other sums due or to become due under this Lease directly to such lender or assignee without set off, counterclaim, or any defense
whatsoever.
               13. 'f AX)~S. Lessee shall pay all pel!ionat property, sales or use taxes, business licenses, assessments, penalties, and chargl!S which m;iy be
Jcvfod or asserted with respect to the Vehicles {except income taxes Jovicd on lease payments to Lessor). In the event that any such tuxes, licenses.
assessments, penalties, or charges arc paid by J,essor, Lessee shall reimburse anrl pay Lessor immediately after Lessor notifies L~s:::ee in writing of the
amount of such taxes, licenses, a.<ist.issments, penalties, charges or expenses paid hy Lessor, as well as an administrative fee. Increases or decreases in
sales or use t.ax rates wil! affect all lease payments after the effective date of the change by the tax.ing authority. Lessee shall indemnify and hold Lessor
harmless from and against any loss, cost or expense arising out of or relating toany such tax, import or Jovy, inr.:luding. without limitation. any penalties,
interest and fines relating thcretu
               14. FINF..S. Lessee shaH pay all fines due to overload, overlength, ovenveighl, lack of plates or permits, speeding and any other charges
which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof: The provisions of this Section 14 shall survive the expiration
or other Umnination of this Lease.
               15. LOSS OR DAMAGE. Lessee shall bear the entire risk of loss, theft. destruction of or damage to any Vehicle from any cause
whatsoever ("Loss or Damage"). Lessee shall promptly notify Lessor in writing of any Loss or Damage, No Loss or Damage to any Vehicles shall
relieve Lessee of any obligation withrespcct to such Vehicle under this Lease. In the event ofl,oss or Damage, Lessee shall, at the option ofLe.<isor. (a)
pul such Vehicle in good condition and repair in accordance with !ho manufacturer's recommendations, and to the reasonable satisfaction of Lessor, at
Lessee's expense; {b) replace such Vehicle with a like Vehicle (same value, utility and useful life as damaged Vehicle) in good condition and repair as
approved by Lessor in Lessor's sole discretion with clear title thereto vested in Lessor; or (c) pay Lessor on or be.fore the next rent payment date as set
forth in accordance with Section 3 hereof (such payment Qate, the "Loss Payment Date") in cash the sum of: (i) all amount5 then due Lessor by Lessee
under the Lease relating to such Vehicle, which amounts shall be prorated through the Loss Payment Date. plus (ii) an amount equal to the prcsenl value
of the TRAC Residual. if any, relating to such Vehicle (as set forth in lhc Summa!}' of Lease Te011S), discounted at S.0% computed from the expiration
of the lnilial Term of the Lease to lhc Loss Payment Date, plus (iii} an amount equal to the presenl value of the unpaid future remaining Rents for the
initial Tenn of the Lease, relating to such Vehicle discounted at 5.0% computed from the scheduled payment dates for such Rents to the Loss Payment
Date {the "Casualty Value Amounf'), Upon receipt of lhc Cnsua!ty Value Amount set forth in (c) above. Lessor shall assign to Lessee (or Lessee's
insurer) Lcssor·s interest in such Vehicle in its then condition and location, "AS JS" without any warranty whatsoever, express or implied. lf Lessee is
required to repair any Vehicle in accordance with (a) above, or to replace any Vehicle in accordance with (b) above, the insurance proceeds actually
received by Lessor, if any. pursuant to Section 16 hereof sh.all be first applied to pay any amounts then due under this Agreement, and !hen shall be paid
to Lessee upon proof satisfactory to Lessor that such repairs have been completed as required herei1~in the case of (a)), or of adequate purchase and title
documents in Lessor's sole discretion (in the case of(b)). 1n the event that Lessee is obligated to pay to Lessor the amount specified in (c) above, Lessee
shall be entitled to a credit against such amount equal to the amount of insurf!TICC proceeds actually received by Lessor, if any, pursuant to Section 16
hereof, on account of such Vehicle.
               16. INSURANCE. Lcssce shall obtain and maintain insurance on or with respect to each Vehicle at its own expense and in the amounts
and fomlS satisfactory to Lessor. ln no event shall any insurance coverage be less than the following: (a) physical damage insurance insuring against
loss or damage to the Vehicles in an amount not loss than the full replacement value of such Vehicle; and (b}(i) in all States except Florida: (1) not
greaier than $500 deductible for collision, fire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injury !iability and property
damage; or (b)(ii) for the State ofFlorida: (1) not greater than $500 deductible for collision, fire, the.ft, and comprehensive, and (2) $250,000 per person
/ $500,000 per incident bodily injury liability, and (3) $100,000 property damage liability. Jn addition, the following require $1.000,000 excess liability
coverage (umbrella): (a) truck/tractors over 45,000 lbs.; (b) trailers.'semi-lrailers; !ow trucks: and (c) limo uses for livery. Lessee shall fumish Lessor
with a cenificatc of insurance evidencing issuance ofsuCh insurance to Lessee in at least the minimum amount required herein. naming Lessor and such
other parties designated by Lessor as additional insured thereunder for liability coverage, and as loss payee for prope~ damage coverage. Eac~ polit:y
shalt require insurer to give. Lessor30 days prior written notice of any material altcm1io11 in tennsofpolicy or canccllatmn thereof. and sha!! provide that
no action, misrepresentation or breach of warranty of Lessee. shall invalidate the policy. lfLe~see fa_ils to provide. such insurance.. Le5:8or sha~l _have the
right, but no dtlty, to obtain such insurance, and Lessee sball pay Lessor all costs thereof, mcludmg all costs incurred by Lessor m obtammg. sue~
insurance together with interest at the Default Rate from the date paid by Lessor to the date paid in full by Lessee. Lessee shall not use any Vehicle if
the insurance required heroin is not in full force and effect with respect to such Vehicle. Upon Loss or Damage as sc.l forth in Section IS hereof, Lessee
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shall receive credit for any amounts paid to Lessor by the insurer against L1;1sse~ obligations hereunder.
               17, INDE1YfNITY. Lessee shall indemnify Lessor against, and hold Lessor harmless from, any and all claims, actions, damages.
obligations, liabilities, liens (including any arising or imposed under the doctrines or strict liability in iorl or product liability), and costs and expenses
 (including attorneys fees). arising from or out of the manufacture, purchase. lease, possession, opi::n1tio11, condition, return, or use of the Vehicles, or by
operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assertion of any such claim, ~tion, damage, obligation, liability, or lien. Lessee, at Lessee's expense shall assume full
responsibility for the defense thereof, provided that Lessor shall have the right, but not the obi igetion, to participate in any defense conducted by Lessee
without relieving Lessee of any of its obligations hereunder The provisions oftllis Section 17 shall survive teimination of this Leusc
               18, ASSIGN:MENT. Exccp! as otherwise permitted herein, without Lessors prior written consent, Lessee shall not assign, trnnsfor, pledge,
hypothccate or otherwise dispose oflhis Lease, the Vehicles or any interest therein. or sublet or )end the Vehicles, or permit the Vehicles to be used by
anyone except Lcs~cc or Lc:s~cc!s authori:z.cd employees. Li!ssor may assign this Lease or any interest therein in whole or part without notice to !.essee
               19. DliFAULI. Lessee shall be in default of this Lease upon the happening of any of the following events or C(lnditinns which shall
constitute "Events of Default": (a) Lessee fails tu pay any Rent or other amount when due; (b) Lessee fail~ lo obsc:rve. keep or perform any other
covenant or provision of this Lease required to be observed, kept, or performed. by Lessee; (c) Lessee removes. sells., transfers, encumbers, crca1es a
security interest in, relinquishes possession of the Vehicles, or perfonns any act which impairs Lessor's title to any Vehicle or attempts any of the
foregoing; (d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lease; (e) Lessee fails to satisfy any traffic
tic\cet or summons or fails to register any Vehicle; (f) L.essee becomes insolvent, bankrupt or has a trustee or receiver appointed for Lessee or for a
substantial part of Lessee's property; (g) Lessee experiences a material change in its business or affairs (including termination of Lessee's employment
or termination of the contract under which Lessee provides services or a change in the control or ownership of Lessee or Lessee's employer or the party
with which Lessee contracts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or inc.teases the credit risk
involved therein; (h) Lessee etlc.mpts to assign this Lease without the consent of Lessor; or (i) Lcsset: fails to notify Lessor of any m<1terial change in its
business and affairs, including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
Inc. and its successors and assigns, the trne and !awful attorney-in-fact of Lessee, with ful! power in the name of Lessee upon the occurrence of an Event
of Default, {i) to demand and receive any and all moneys and claims for moneys due in respect of or relating to the Equipment, (ii) lo assign or transfer
any of Lessee's rights undi:or this Lease or in the Equipment (including assigning the rights of Lessee to any replacement lessee hereunder and/or causing
any other person to become the registered owner of the Equipment) and (iii) to take any other action in respec1 of this Lease or any of the Equipment
Lessee ratifies and approves all acts of Bush Tnick Leasing, lnc., as attorney-in-fact. Bush Truck Leasing, Irie.• as attorney-in-fact will nol be liable Jbr
any acts or omissions or errors of judgment or mistake of fact or law. This power. being co11plcd with an interest., is irrn•oceble until all obligations
under this Lease have been fully satisfied
               20. REMEDIES. Upon the occurrence of any Event of Default, Lessor may declare this Lease to be in default, and a1 any time thereafter,
Lessor, at its option. may do any one or more of the following: (a) cuncc;J th is Lease; (b) proceed by appropriate action tci enforce performance of the
Lease at Lessee's expense or to recover damages (including aUOmcys foe:;) for the breHch thereof, {c) demand that Lessee, and in such case the Lessee
shall, return all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; {d) enter. with or without legal
process, Lessee's premis~ or any other premises where the Vehicles are locar.ed, and take possession of all or any part of the Vehicles without any
liability to Lessee by reason of such entry; (e) sell, lease, or otherwise dispose of all or any part of the Vehicles at a public or private sale, which may be
conducted where such Vehicles are then located; {f) demand that Lessee, and in such case Lessee shell, pay lo Lessor as liquidated damuges for loss of a
bargain and not as a penalty an amount equal to the sum of(i) all amounts due anQ unpaid under the Lease (includi11g without limitation any indemnity
obligations) plus interest thereon fi"om the due date thereof at a per annum interest rate equal to the prime rate of interest th mi in effect as published in
the WaJI Street Journal plus2.0% (the "Default Rate"), plus (ii) the present value of all foture Rent payments for such Vehicles, discounted at 5.0%, plus
(iii) the present value ofthc TRAC Residual, if any, discounted at 5.0%. plus (iv) all cosls and expenses incurred by (..e55or in enforcing Lessor's rights
hereunder (including, without limitation. al! costs of repossession. recovery, storage, repair, sale, re-lease, and attorneys' fees), together with interest
thereon al the Default Rate from tl>e date of demand to the dale ofpaymcnl in full (the "Liquidated Damages"), or (g) exercise any other righl or remedy
which may~ av11ilab\e to Lessor under the Uniform Conuncrcif1J Code or any other applicable law The proceeds of any sale or Jca;;c of the Vehicles by
Lessor shall be applied in the following order of priority (1) to pay all of Lesso-r's expenses in taking, holding, preparing for sale or lease, and clisposlng
oflhe Vehicles, including a!I attorneys fees and legal ex.pens~. then (2) to pay imy late charges and all interest accrued at the Default Rate; Jhcn (3) Lo
pay accrued but unpaid Rent payments, then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. If the proceeds of
any sale or lease are not sufficient to pay the amounts owed to Lessor under this Lease, Lessee will pay the deficiency. Lessor may also, withour
liability, take any personal property stored wiChin the Vehicles and may store any such propcny at Lessee's expense for 30 days. Lessee will be
obligated to reclaim such property within 30 days and hereby waives any righls in such property thereafter. /\ny unclaimed property will be deemed
abandoned after 30 days and will be discarded by Lessor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee: to
Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied to Lessee's
obligations under this Lease pursuant to this Section 20, Lessor's remedies hereunder may be ex-ercised instend of or in addition to any other legal or
equhable remedies. Lessor has the righ1 to set off any sums received from any source {including insurance proceeds) against Lessee's obligations under
this Lease. Lessee waives its right to object to lhe notice of the time or place of sale or lease, and to the manner and pli\ce of any advertising therefore.
Lessee waives any defense based on slatules of limitations or \aches in actions for dan1ages. In case of failure by Lessee to pay any fees, assessments,
charges, or tuxes arising with respect to the Vehicles, Lessor shall h!!Ve the right, but not the obligation 10 pay such :::irnounts, and in that event, the cost
thereof shall be payable by Lessee to Lessor upon demand, together with interest at the Default Rate from the dale of disbursement by Lessor
               21. SECURIT\' DEPOSIT. The Security Deposit shell be held by Lessor during the entire Term of the Lease, including the [ntcrim Term
and any renewal term, as security for the full payment and performance of the tenns. conditions and obligations of Lessee hereunder and under any and
all Schedules. The Security Deposit shall not excuse the performance a1 the time and in the manner prescribed or any obligation of Lessee or cure a
default of Lcssoc. Lessor may, but shall not be required to, apply such Security Deposit towards discharge of any overdue ob!iga!.ion of Lessee. Lessor
shall be cntiiled 10 commingle the Security Deposit with any of its own funds, No lnWrestshall accrue on the Security Deposit ;md Lessor s:hall have no
liability to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations of Lesscamdcr the Lease, Lessee
shall, upon demand, pay to Lessor an amount necessary to return the Security Deposit to the sum specified above. ln furtherance thcrcoI: Lessee hereby
grants to Lessor a security intcresl in the cash comprising the Security Deposit from time to time and any and all interest !hereon, together with the
proceeds thereof, to secure the prompt payment as and when due of all indebtedness, and the prompt performance as and when due of all obligations, of
Lessee now or hereafter required under the Lease. lfno Default has then occurred, upon the expiration or earlier tcm1i11ation of the Term of the Lcsse.
the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee
               22. SEVERABILITY. The invalidation of any provision or provisions of this Lease as unenforceable shall not operale to invalidate the
remainder of the Lease which shall romaia ia full force and effect
               23. NOTICES. All notices relating to this Leese shall be delivered in person to an officer of Lessor or Lessee or mailed to the respective
addresses shown above on !:he first page oflhis Lease, or to such e.ddress as otherwise specified in writing by the appropriate party hereto
               24, WAIYER. Lessor's forbearance of exercise of any right or remedy on Lessee's brencli of any terms, covenants or conditions hereunder
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shall not be deemed a waiver of such right or remedy, the requirement of punctual perfom1ance, or any of its rcmcdii:s upon any other or subsequent
breach or default
              25. GOVERNING LA \V. TI1is Lease talces effect upon its acceptance and execution by Lessor, and shall be governed, interpreted and
construed under the laws of the State of Ohio. Ohio law shall prevail in the event of any conflict of law without regard to, and without giving effect to.
the application of choice oflaw rules. LESSEE WAIVES ALL RlGHTS TO TRIAL BY JURYfN ANY LlTlGATIONARlSJNG FROM OR RELATED
TO TRIS LEASE, AND LESSEE SUBMITS TO THE JURJSDICTION OF THE FEDERAL DISTRICT COURT FOR THE SOUTHERN DISTRICT
OF OHIO, OR ANY STATE COURT OF COMPETENT JURISDICTION WITHIN MONTGOMERY COUNTY, OHIO, AND WAIVES ANY RtGl-fr
TO ASSERT THAT ANY ACTJON INSTITUTED BY LESSOR fN ANY SUCH COURT rs fN THE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.      W AIYER OF DAMAGES. Lessee waives to the fullest extentpermitted by law any right to or claim of any punitive, exemplary,
indirect, special, consequential, or incidental damages against Lessor. Lessee agrees that, in the event or a dispute, claim or controversy agaim!l Lessor,
Lessee shal! be limited lO the recovery of actual direct damages sustained by it, subject to any limibn direct damages set forth in this Lease, Lessee will
no! accept or attempt to co!iect through the courts or otl1erwise any punitive, exemplary, indirect, consequcn~ia!, or incidental damages from Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee and their respective
successors and assigns pennitted hereunder.
              28. FORCE M.AJEURE, The obligations of Lessor hereunder shall be suspended to the extent that it is hindered or prevented from
complying therewith because of labor disturbances, acts of God, fires, storms, accidents, failure of the manufacturer to deliver any of the Vehicles, comt
order, governmental regulations, or other interference or any cause whatsoever not within the sole control of Lessor

                                                           fSIGNATURE PAGES FOLLOW]




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                                                                                              LESSOIC




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                                                                                              Tifi., __Vi_1ce __ident
                                                                                                                  _ _ _ __




EQ1n:PiYIENT ACCEPTANCE·
~s~ h~teby         cO:nfifinS :that the Equipment baS bCeri de;lhz"~ed,. du:IY:iISSbiilhl"ed an'cf i'i1· gooa tvoikin"g: QfdOr·and tondiUon. L~ee c-aiiftmlS'.-~h!rl al)6' a
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.~ ..of il;r.Js Leese a,s pf this: dale, In Ulo event. th_at tfle-E-quipment is 'oot dcliv.~ imd.-Q:CeeJ>ietl yfflhin:t;hi-ity -l~ffi days of L.e.~ -~ning W t:his·
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 L~JJUSH
                                                Cintas Blvd
                                                                       Mason, Ohio 45040
                                                                   800-766-28741513-234-7910
                                                                        Fax 513-234-7940
 "                 TRUCK LEA.SING, INC.
                                                                                                                                                             ···.;
                                                                                                                           '..-.···
                                                                    LEASE AGREEMENT
                      Contract Date:             'Q .    /   -   A c i ')           Lease ID No.                             CSBM0153
                                                                     .       LESSEE
Individual Legal Name(if applicable):
Company Legal Name(if applicable):       Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA     Zip: 91950
                                                           EQUIPMENT
 Vehicle Year                            I
                                  Vehicle Make                    Vehicle Model      I                                      IVehicle Identification Number
2012                                     I Freightliner                              ICascadia                              I lFUJGLBGXCSBMOJ.53.
         Refer to Schedule 1 of this Lease Agreement for Equipment details in the event tha:J. no Equipment information appears above
                                                             SUMMARY OF LEASE TERMS
Commencement               Initial    Rental Periods N To:I f  Down                    Advance       Basic Rent         Doc Fee        Security      End of Term
Date & 1st Basic                                      um ero Payment+                    or           (without
                           Term                                                                                                        Deposit         Option
                                                     Payments Taxes at                 Arrears
   Rent Date                                                                                           Taxes)
                                                              Closing
 ju· I ·)..uj ·.;-   36   MONTHLY                            36          $1,500.00      Arrears       $2,036.67         $400.00          $0.00           TRAC
 I I - I ).,u1'.i MONTHLY
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $27,639.00

     TIIlS LEASE AGREEMENT ("Lease") is hereby entered into as of the Contract Date above by and bet\.veen Vehicle Titling Trust ("Lessor'"), and
     LESSEE referenced above.

                   1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
     with all replacements, repairs and additions thereto (individually and collectively, the "Vehicles") on the tenns and conditions set forth in this Lease.
     Lessee agrees that Lessee leases the Vehicles "as-is", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design and
     manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
     has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements, representations, oJ.Varranties made by
     Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identifiedherein wiII be used for
     commercial purposes.
                   2. INITIAL TERM. The tenn of this Lease for each Vehicle shall commence on the Contract Date and shall continue for that number of
     months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month, in which case the
     Contract Date shall be the date on which the tenn of this Lease commences) ("Commencement Date") each as set forth in the Summary of Lease Tenns
     (such period as extended or sooner tenninated by Lessor as provided herein, the''Term'').
                   3. RENT. The rental payment amount for each Vehicle hereunder (the "Basic Renf') is set forth in the Summary of Lease Terms. Basic
     Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
     in advance or arrears for the periods (each a "Rental Period'') and for the total number of payments as set forth in the Summary of Lease Terms, in each
     case, on the first day of each such Rental Period. If the Contract Date does not fall on the first day of the month, the rental for that period of time from
     the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week , 14 days for
     One Biweekly and 30 da::ys for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Date to
     (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
     Rent Lessee is obligated to pay hereunder (the "Supplemental Rent" and together with Basic Rent, the "Renf') when due or if no date is specified
     herein, on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of lOo/o of
     the late rental payment mnoun~ and the maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
     OF ALL 01HER OBLIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF, COUNTERCLAlM, OR ANY DEFENSE
     WHATSOEVER, INCLUDING. BUT NOT LIMTIED TO, ANY RJGHT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE
     AGAINST LESSOR, ANY OF LESSOR"S AFFILIATES, ANY ASSIGNEE OF LESSOR, OR 1HE MANUFACTIJRER OF THE VEHICLES FOR
     ANY REASON WHATSOEVER. SPECIFJCALLYINCLUDING, WITilOUT LIMITATION, ANY CLAIMS THAT LESSEE MAY HA VE AGAINST
     LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
     AGREEMENT REFERENCED IN SECTION? HEREOF.
                   4. OPTION UPON EXPIRATION OF INTI1AL TERM OF LEASE. Upon expiration of the Initial Term of the Lease, Lessee shall
     comply with tbe provisions of Clause A or B below, in either case, as specified in the Swnmary of Lease Terms

                      A.        Terminal Rental Adjustment Oause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                                 Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                                 "'Estimated Fair Market Value") will equal the TR.AC Residual set forth in the Summary of Lease Terms. Upon




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                            ~xpiraiion oflhe Initial Term. Lessor will ~ttc;mpt to sell the Equipment. In the event that the Net Proceeds (as defined below)
                           are less than the Bstim.11.~cl Fair Market Value. Lessee shall pey to Lessor the full amount of such shortfall. If the Equipment
                           rui..s not been sold on the last day of the Initial Term, then the Net Proceeds shall be deemed to be 7.ero and Lessee shall
                           irnmedi11t1;ly pay to Lessor the TilAC Residual. If the Lessor thereafter shall sell the Equipmen'-> the Ncl Proceeds shall be
                           paid by Lessor to Lessee. An)' such payment by either Lessee or Lessor shall be deemed Lo be a Terminal Rental Adjuslmcn!
                           witi1 respect to the Vehicles. As used herein.. ··Net Proceeds" shall mean the proceeds received by Lcs!iOr, after deducting (i)
                           WI costs and expenses incurred in connection with the recovery, repair, storage, and sale of the Vehicles., including any and ell
                           attorneys' fees and legal expenses, (ii) ell late charges :and all interest accmed at the Default Rate (as hcrcinaficr defined) . .and
                           (iii) all rent payments and other obligations of Lessee dne and unpaid under the Lci:ise HS of the dale tlf the sale nr dispof;ition.
                            As to each Vehicle, if the Net Proceeds rccei\!ed by Lessor LcSsor from the s11le or other dispm;ition of such Equipment afu:r
                           expiration of the lnitial Term are less than the TRAC Residual amount for such Equipment as set forth in the Summary of
                            Lease Terms, then Lessee shall ffiunediatefy pay to Lessor the amount of such deficiency as ndditionnl Rent hereunder. lfthe
                            Net Proceeds are in excess of the TRAC Residual amount., then 1001}~ of such excess shall he returned to Lessee as a reduction
                            in the Rent for such Equipment, provided. however, that Lessor shall he entitled to retain all or any portion of such arnollnl to
                           satisfy any of Lessee's obligations under the Lease

                             Lessee hereby certifks, under penally of perjury, that
                 (i)   Lessee intends thm more; than 50% of the use of !he Equipment subject to this TRAC is to be usi..-d in 1:1 trade or business of the
                           Lessee,
                 (ii) Lessee has been advised by tax counsel or other tax advi!ior, and
                 (iii) Lessee- understands and :agrees that, Lessee wHI not be treated as the crwner of the Equipment idcnli!icd above for fodcral income
                           tax purposes.

                  B.         S1.00 Buyo11t. Lessee hereby unconditionally agrees lo purchase all, bot not Jess than all, of the Equipment for $1.00 upon
                           expiration of the Initial Term of the Leese. Lessee and Lessor ag;rea that Lessee is owner of the Equipment and shall file and
                           pay all lieense, :registn1tion fees, Wld documentary, sale and use taxes, t:tnd personal property taxes and all other IEprns. fees and
                           charges relating to the ownership, leasing.. rentW, sale, purcha:,;e, possession or use of the Equipmenl

                   With re..."J)ect to any option upon expiration of the Initi.al Tenn of the Lease set forth herein,. if written notice of Lessee's intention to
                   exercise such elected option is not received on a timely basis, then such failure shall constitute an Event of Dufault, mid to the extent
                   that the Lessee fails to return LO Lessor the Equipment in accordance with Section 7 hereof. Le.sstie agrees to pay a daily rental fee
                   equal to 150% of the daily Rent for each day thot the Equipmenl is relained by Lessee: provided, however, such payments shall not
                   extend Lessee's righl to hllVc and use the Equipment beyond the Initial Term of the I.ease as provided herein. Upon exercise of lhe
                   option elected by Lessee Bnd pflyment in full by Lessee of any rela1cd pure.has~ amounts and all Rent. Lessor will execute unJ deliver
                   to Lessee the title to I.he Vehicles, and any od1er documentation neccssEU)' to 1n1.n.1'fer title to Lessee. THIS SALE 'Vl'II..l. 81-:
                   WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY K!ND BY LESSOR, WHETllER EXPRESS OR IMPLIED IN
                   FACT OR LAW and, l..essee will accep1 the Vchicles""AS IS' and '"WHBRF. IS''.

               S. TAX 1NDEMNfFICATION. Except to the exhml Section 4B is applicable upon cxpiralion at the Initial Term. it is understood iind
agreed that Lessor is ov.'ller of the E.quipment £tnd that Lessor shall be entitled to such tax benefits thnt are av.ailah!c as owner of the Equipment through
depreciation of the total capite!i7,ed cost of the Equipment thereof for federal income lax purposes. In the event that Lessor suffc:rs any loss.
disa!lowance, unavailability. or recapture of such depreciation for any reason wl1etsoever, then, after written notice thereof by Lessor to Lessee, Lessee
shell pay lo Lessor an additional incremental amount payable on each date that I.he Basic Rent is thereafter due, whicb in the opinion of Lessor, will
cause Lessor's net after-tax annual cash flow and net aftcr-mx rare of ~tum respcctivcly, that would have been available if Lessor had been entitled to
full utilization of' the depreciation. ln the event. that lllt)' payment is required to be maQe pursuant to this Section 5, and such payment is to be made on
succeeding rent payment dates, but at such time this Lease sh.all have been lerminat.cd or Rent otherwise no longer shall be due and payable on the
rem1:1ining rent ptiyment dates. Lessee shall promptly pay Lessor any arnOlml equal 10 fhi: incremental increase in BBllic Rent wh.ieh would have been
required if such tax Joss had occurred immediately prior 10 the last rental payment date on or prior to the expiration or other tennination of Lhc Lease.
Lessor shnlJ promptly notify Lessee of lhc commencement of Erny proceeding by the lntemal Revenue Service in respect of any item as to which
indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable pursuant to this Sci..1ion S ;;hall survive the expiration
or other tenninadon of this Lease;
               ti. USE OF VEHICLES. Less.cc shall use the Vehicles only in its business llnd in i::ompliance with all laws, rules. 1:1nd regult1tions of t1ny
jurisdiction where the Vehicles are usod or located Lessee represents nnd warrants lo Lessor at all times that (i) j,essee has the right tmd ability lo enter
 into this Lease; (ii) this Lease constitutes a valid. legal, and binding obligatiori and agreement of Lessee, enforceable against Lessee in accordance with
its terms; and (iii) that the entering into and performance ofthis Lease by Lessee will not result in a breach, violation, m d!:::fault under any judgmenl,
order, law, regulation, loan, mortgage, agreement. indenture, or other inslrumcnt upplicable to Lessee, or"n::sult it:i 1my bre1:1ch of. or constitute a default
under, or result in the creation of any lien, charge, security interest, or other encumbrance upon the Vehicles pursuant lo any instrument to which Lcsse~
is !I pnrly or b-y which it is bound. Lessee shall (i) use and operate the Vehicles in B careful and prudent tnanner for the purposes and in the manner
intcnd1;id to be used; (ii) shall keep the Vehicles properly housed or otheiwise protected from damage; and {iii) shall pay for all maimcnance of Vehicles
to keep them in good and efficient rYork.ing order and condilion during the Term of the Lease_, including, but is no1 Iirniled to, Lessee's supplying all
fuel, lubricants, and other parts, supplies, muintenance and services, nndlor 1.essee, upon Lessor's request, entering into a scn•ice and maintenance
agreement with Lessor or an affili111c of Lessor upon such terms and conditions provided by Lessor. After notice to Lessor, Lessee may, at its own
expense, make alterations or add a11achITH:.nts to the Vehicle£, provided tbllt such a1terations or attBchmcnts arc removable anc! do not reduce the value,
uLiiity or useful life of the Vehicles. Upon lhe expiration or termination of the Lease, all alterations or attachmcnl'; affixed to the Vehicles shall become
the propcny of Lessor if not removed, and irU..-si;ec docs remove such attachments, LcssCE shnll be liable to Lcssofur any damage to the Vehicles as the
result of such removal Jn the event that any JCdcral, state, or local law, ordinance. rule or regulation shall roQuir~ the instnllation of any additional
accessoric:s to any of the Vehicles, inc:luding, but not limited to, anti-pollution and/or safety devices, or in the oven! lhal uny other modificntions Lo the
Vehicles shall be required by virtue of such law, ordinance, rule or regulation, then and in any of such events, Lt•sstle shal! pay the full cost thereo[
ineiuding installation expense~ Lessor may, at its option, armngc for the insmllation or such Vehicles or the perrormunet.1 or such modilications. anJ
Lessee agrees to pay the full cos\ thereof immediately upon receipt of an invoice for the. same
               7. SURRENDER. Upon either the (i) failure by Lessee to exercise any purchase option for any Vehicle set forth herein. or (ii) upon
dcmtmd by Lessor made pursuant to an Event of Default {as set forth in Section 19 hereoI), Lessee sbnl!, at its own cx:pcnse. rerum such Vehicle 10

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Lessor to such location with.in the continente.I United Stat.cs as Lessor shall designi:te, in the same condl!ion as when delivered, rcasonabh.: wear and tear
cxc~pted  and otherwise in the condition required by this Lease Upon rclum oftbc Vehicles, Lessor, or such entity di:signated by Lessor, shat! pm-lillm a
physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated with the inspection, and
fot any and all repairs ne.cessary 10 place the Vehicles in the san1~ condition as when de.li\'erod, reasonable wear »nd tear excepted and otherwise in the
condilion re.quired by this Lease.
             8. PAINTING. Lessee may paint the Vehicles in Les~e·s c~10m.l:ll)' manner and affix advertising or identifying insignia, provided that,
upon the expiration or termination of !his Lcas.e, and in the event that Lessee does nol purchase the Vehicles pursuant to Section 4.B hereof, Lessee
shaU, upon the request of Lessor and at Lcsscrls expense, re:.1nre the Vehicles to original condition, ordinary wear and tear exccptecl
         9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE. AND SHALL NOT BE
DEEMED TO HA VE MADE, ANY E>-'PRF.SS OR IMPLIED WARRANTY AS TO MERCHANTABILITY, FITNESS FOMNY PURPOSc OR USE.
DESIGN OR CONDJTION OF VEHJCLES, QUALffY OF MATERIAL OR WORKMANSHlP, OR AS TO /\NY ornl'R MATTER Wl IATSOEVER
RELATING TO THE VEHICLES, AND LllSSOR SHALL NOT BE LIABLE FOR /\NY rNDTRIKT. CONSEQUENTIAL. INCJDENT AL. OR
PUNJTlVE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE THE YEHlCLES. OR /\NY INAllEQUACY, DEFICIENCY. OR
DEFECT rN THB VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEHlCLES "AS JS". Lessor agrees, to thc: extent po:;..c;iblc and
without increasing its liability hereunder, and upon request, to a!i'.Sign lrl Lessee. any WflTTflOt}' of a manufacturer or seller rch1ting to the v~hiclcs
available to Lessor, provided. however, that lhe foregoing rights shall automatically revert to Lessor upon lhe occurrence and during the continuance of
any Event of Default hereunder. or upon return of the Vehicles to Lessor. Lessee agrees to settle all claims with rcspccl lo the Vehicles directly with t[lc
manufacturers thereof, and lo give Lessor prompt no lice of any such settlement and the details of such scttlclnl..-n.1
               JO. TITLE AND INSPEcnON. Lessee,. at its expense, shall pro1ecl and defend Lessor's title am! keep it free of all claims and liens
except those claims and liens crea\ed by Lessor in connection with any B!lSignment or financing by Lessor. Lessor may inspect the Vehicles at any time
without prior notice during regular b11siness hours. lf, .at any time during the Term of this Lease, Lessor supplies Lessee witb labels, pl11tcs or oilier
markings stating that the Vchiclc.s are owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
               11. LICENSES. Lessee shall at its expense obtain u\I n~sary Jic:-enses(including molar Vehicle pla~) nnd reg;istrations, required for the
use end ope.ration ofcueh Vehicle. All certificates of title or registrntion of each Vehicle shall name Lessor as the owner 1hcrcaf
               12. INTl!:RESTS IN VEHICLES. Lessee's rights with respect to this Lease and ElllY Vehicles leased hereunder will be subjcc1 lo any
rights and interest in and to said Vehicles which may ~ granted by Lessor (or Lessor's afi'ilia.tes) to w1y assignee or lender of Lcssur (or Lessor's
affiliates). Lessor may assign to a lender or any other assignee all or any part of Lessor's righls hereunder, including a security inlcresl in lhc Vchic!t:s
and the right to receive rents and othcrsums due hereunder. Upon notice of such assignment in writing by .a lender, assignee and/or Lcss!lr. Lcs.o;;t!l' shall
pay all n:.nts and other sums due or tu become due under this Lease directly to such lender or assignee without set oIT. coontcrcl<.1im, or my defense
whatsoever.
               13. TAXES.. Ll..-ssee shall pay all personal property, soles or use taxes. business licenses, assessments. pcnaitieE, and charges which mf!y be
levied or asserted with respect to the Vehicles (except Income Laxes levied on lease payments to Lessor). In the even! that any such taxes, licenses,
assessmcnlS, pen.allies, or charges are paid by Lessor, Lessee shall reimburse an<! pay Lessor immediately after Lessor notifies Lessee in writing of the
atnOWlt of such taxes, licenses, assessments, penaltfos, charges or expenses paid by Lessor. as well as an administrative fee. lncrouscs or decreases in
s.eles or use tax rates \¥ill affect ail lease payments aft.er th(I cffe!.-1ive date of the change by the taxing authority. Lessee shall indcmnif)' and hold Lessor
hannless from and against any loss, cost or expense arising out of or re16ting toariy such tax,. bnf>Ort or \e\'Y. including. without limitation, any penalties,
interest and fines relating thereto.
               14. FINES. Lessee shall pay WI fines due to overload, overlcngth, overweight, lack of plfllCS or permit<;, speeding and any other charges
which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof The provisions of this Section 14 shall survive the expiration
or other termination of this Lease
               15. LOSS OR DAMAGE. Lessee shall bear the entire risk of loss, theft, destruction of or dam11gc 10 any V~hicle from 3r1y cause
whatsoever ("Loss or Damage"). Lcssc.c shall promptly notify Lessor in writing of iuiy Loss or l)a.11age. No Loss Oi Damage to any Vehicles shall
relieve Lessee of any obligation wilhrcspect to such Vehicle under this Lease. ln the e\'entof Loss or Damage, LCSlice shall, at the opiion orLessor. (a)
put such Vehicle in good condition IDJd repair in accordance with the manufacturer's recommendations, end lo the reasonable salisfitction pf l.cs.sor, m
Le!>Sce's expense; (h) replace such Vehicle with a like Vehicle (same value, utility and useful life .es damaged Vchicli:) in good condition and repair ~s
approved by Lessor in Lessors sole discretion with clear tiOc lberu\o vested in I.essor; or (c) pay Lessor on or before the next rent paymcnl dale as sci
forth in accordance wh.h Section 3 herwffsuch payment date, th~ "Loss Payment Date") in cash the ~um of: (i) all amounts then due Lesi;or hy Lessee
imder the Lease relating lo such Vehicle. which amounts shall be prornted through the Loss Pttymi::nt Date, plus (ii) an amount equal 10 the present value
of the TRAC Residual, if any. relating to such Vehicle (as set forth in the Summary of Lease Terms), disc(mnted at 5.0% computed fiom the expiration
of the Initial Tenn of the Lease to tit~ LllSs Payment Date, plus (iii} an amount equal to the p~-cnt value of the unpaid fulurc rem sining Rents for the
Initial Tenn of the Lease, relating to such Vehicle discolfiltcd ut 5,0% computed from the scheduled payment dates for such Rents to the Loss Payment
Dare {the "Casualty Value Amount). Upon receipt of the Casualty Value Amount set forth in (c) above, Lessor shall ao:;sign to Lessee (or Lessee's
insurer) Lessor's interest in such Vehicle in its then condition and location, "AS JS'' without any warranty wha1.soevcr, express or implied. If Lessee is
required to repair any Vehicle in accordance with (a) above, or to replace any Vehicle in accordam:e with (b} above, the insurance proceeds .actually
received by Lessor, if any, pursuant to Section 16 hereof shall be first applied to pay any amounts then due undcor this Agreement, and Ihen shall be paid
lO Lessee upon proof satisfactory ro Lessor that such rep.airs have been completed flS required hereir(in the casu of (a)), or of adequate pm-chase and title
documents in Lessor's sole discretion (in the case oJ'(b)). ln the event th.al Lessee is obligated tO pay to Lessor the amount specified in (c) above, Lessee
shall be cnl.hlcd lo 11 credit against such H1T1ount equal to the an1ouni of insurance proceeds actually received b)• Lessor, if any. pursuant lo Sectiun 16
hereof, on account ofsL1ch Vehicle.
               16. INSURANCE. Lessee sltall obtain and maintain insurance on or wilb respect to each Vehicle al its own expense and in the amounts
ll1ld fom1s satisfactory to Lessor. In nu event shall any insuranCl! coverage be less than the JOH owing: (a) physical damage insurance insuring against
loss or damage to the Vehicles In un amount not Jess than the fo!l replacement value of such Vehicle: and (b){i) in iill Slates except florida: ( J) no1
greater than $500 deductJ'ble for collision, fire. theft, and comprehensive. and (2) $500,000 combined single limit for bodily injury liability end property
damage; or (b}{ii) for·the State ofF\orida: (1) not greater than $500 deductible for collision, fire, theft, und comprehensive, find (2) $250.000 per person
I $500,000 p:::r incident bodily injury liabilhy, and (3) $l 00,000 property damage liability. In addition, the following require $1,000,000 excess liability
coverage (tnnbrella): (a.) truck/tractors over 45,000 lbs.; (b) trailer.Jscmi·trailers; tow trucks; end (c) limo oses for livery. Lessee shall furnish Lessor
"With a certificate of insurance evidencing issuance of such insurance to Lessee in at least the minimum amount required herein, naming Lessor and such
other parties designated by Lessor as .addilionnl insured thereunder for liability coverage, and as loss payee ibr property damage coverage. Each policy
shall require insurer to gfve. Lessor30 days prior writtcn notice of any material ai'tc1ation in termsof policy or cancellation themof, and shell provide ilia!
no action, misrepresentation or breach of warranty of Lessee shall invalidate the policy, If Lessee ftrils to provide such "insurance, Lessor shall have the
right, but nu duty, to obtain such insurance, aru:'I Lessee shall p.ey Lessor all com: thereof, including all costs incurred b} Lessor in obtaining such
                                                                                                                                      1


insurance together with interest at the Default Rate from the date paid by Lessor ta the date paid in full by Lessee. Lessee shall not use any Vehicle if
the insurance required herein is not in fuJJ force and effect with respect to such Vehicle, Upon Loss or Damage as set forth in Section l S hereo~ Lc:>sc.c
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     shall ~ceive credit for any amounts paid lo Lessor by the insurer against Lessees obligations h~reunder.
                   1?. !NDEMNJTY. Lessee shall iodenmify Lessor againsl.., and hold Lessor harmless from. any and all claims. actions, damages.
     obligations, liabilities:, liens (including any arising or )mposed under the doctrines oi' strict liabiHty in tort or product liability). and costs t".nd e.\l>Cnses
     (including attorneys foos). arising from or Qlll of the mBnufucture... purchase. lease, possession. operation, condition, return, or use of the VC!hic!c:s, or by
     operation of law, excluding however any of foregoing resulting solely from the gro.ss negligence or willful misconduct of Lc!t!:.u1, Les.sec agrees that
     upon written notice by Lessor of assertion of HIJY suclt claim, action, damage. obligation, liability, or lien, Lessee, al Lessee's expense shall assume full
     responsibility for the defense thereof~ provided that Lessor shall have the right.., hut not the obligation. lo purticipalc in any defense 0011ductctl by Lessee
                                                                                                                                                                                I
     without relie.ving Lessee of any of its obligations hereunder The provisions of th is Section J7 shall survive tenninalion of this Lease.
                     18. ASSIGNirIENT. B:xcept as otherwise pennirted herein, without Lessors prior written con.'lent., l..ei:see shall notassign, transfor, pledge.
     hypothecate or otherwise dispose of this Lease, the Vehicles or any interest therein, or sublet or lend Ule Vehicles, or permit the Vehicles to be used by
     anyone except Lessee or Lessees authorized employees Lessor may assign this Leese or any interest therein in whole or part without notice lo Lessee
                     19. DEFAULT. Lessee shall be in defe.nh or this Lca.'lc upon the happening ol' any of the following events nr conditions which shall
     constitute ..Events of Default": {a) Lessee ft1ils 10 pay any Rent or other llJJlount when due; (b) Lessee fails to observe, keep or perform any other
     covenant or provision of this Lease required to be observed, kept, or pcrforme.d. by Less~: (c) Lessee removes, setl!i, transfers, cncumbe~ i..Teillcs a
     security interest in, relinquishes possession of the Vehich:s, or performs any act which impairs Lessor's title to any Vehicle or attempts any of the
     foregoing, (d) Lessee makes a misrepresentation 00 Lessor of any matter or covenant connected with this Lease; (e) Lessee fails to satisfy any traffic
     ticket or summons or fails to rc.gistcr any Vehicle; (f) Lessee becomes insolvent, bankrupt or has a trustr.e or receiver appointed for Lessee or for a
     subSUmtial part of Lessee's property; (g) Lessee experiences a material change in its business or affairs {including terminalion of Lessee's cmp!oymcn\
     or termination of the contract under whicb Lessee provides services or a change in the control or OV.'llership of Lessee or Lessee's employer or I.he party
     with which Lessee contrach: to provide services) which in Lessor's sole judgment impairs thu s~curity of any Vehicle or increa.o:;es the credit risk
     invoh•ed therein; (h) Lessee attempts to assign this Lease withoot the consent of Lessor, or (i) Lessee fails to notify Lessor o1'any material change in iL-.;
     business and affairs. including a change in the ownership or control of'Le.-.;see. l.essee hereby irrevocably appoints and constitutes Bush Trucl: Leas.ing.
     Inc. and its successors and assigns, tho true and lawful attomey-in~fact of Lessee. witli full power in the name of Lessee upon the occurrence of an Event
     of Default.., {i) to tlemWJd and receive any and all moneys and claims for moneys due in respect of or relating to the Equipment. (ii} to assign or lnmsfcr
     any of Lessee's rights under this Lease or in the EiJUipmcnt (including assigning the rights of l.essee 1{'1 any replacement lessee hereunder and/or Cflusing              :   ~

     any other person to become the registered uwner of the Equipment) and (iii) to take any other action in respect of this Lease or any or the Equipment.
     Lessee ratifies and approves: all acls of Bush Truck Leasing, Inc., as attorney-in-fact. Bush Truck Lc£1Sing, lnc., as altorney-in-fact will not be liable for
     any acts or omissions or errors of judgment or mistake offacl or law. This power, being coupled with an inter~ is irrevocable until all obligations
     under this Lease have been fully satisfied
                     ZO. REMEDIES. Upon tile occurrence of any Event of Default, Lessor may declare this Lease to be in default., and at any time thereafter.
     Lessor, at its option, may do any one or more of the following: (a) cancel this. Lease; (b) proceed by appropriate action to enforce performance of the
     Lease a1 Lessee's ex:pen~e or to roeov1:1r dlUTlages {including attorneys fees) for the breach thereof; (c) demand that Lessee, and in such case the Lessee
     sha!l, return all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) enter, wtth or without legal
     procc!l!l, Lessee's premises or any other premises where the Vehicles are located, 11nd take possession of all or any part cf the Vehicles without any
     liability to Lessee by reason of such entry; (e) sell, \ease, or otherwise dispose of all or any part of the Vehicles at a public or private sole, which may he.
     conducted where such Vehicles are then located; (f) demand 1hal Lessee, and in such case r.essee shall. pay to Lessor as liquidated damages for loss of a
     bargain and not as a penalty an amount equal to the: sum of (i) all amounts due and unpaid under the Lease (inclnding without limit~tion any indemnity
     obligations) plus interest thereon from the due rlatc thc.reofat n per annum interest rate equal lo the prime raLc. of intcre~t lhcn in etTect as published in
     the Wall Street ,louma! plus2.0o/e (the "Default Rate).. plus (iiJ the present value of all future Ren! payment~ fnr such Vehicles.discounted a! 5.0%, plus
     (iii} the present value of the TRAC Residual, if any, discounled nt 5.0%, plus (iv) al! costs and expenses incurred by J.e.<;Sor in enforcing !.essor'5 rights
     hereunder (including, witholll Jimhation, all eool!l of repossession, rectlYery, storage, repair, sale, re-lease, und atlomeys' fees), together with interest
     thereon at the Defaulr Rate from the date. of demand to the date of payment in full (the "Liquitla:!c.d Damages..). or (g) exercise any other right or remedy
     which may be available to Lessor under the Uniform Commercial Code or any Dthcr applicable lew The proceeds of any sale or lease of the Vehicki; by
     Lessor shall be applied in the following order of priority (1) to pay all of Lessor's expenses in laking, holding, preparing for sRle or tease, and disposing
      of the Vehicles, including all aUorneys fees and legal expenses, then (2) 10 p21y :any late charges and all interest accrued at the Defaull Rate; then (3) to
      pay accrued but nnpaid Rent payments, then (4) to pay any other unpaid sums due under tbis Lease including Liquidated Dam11ges. 1fthe proceeds of
     any sa:le or lease are not sufficient to pay the amoun1S owed to Lessor under this Lease, Lessee will pay the deficiency. Lessor may also, \\1thout
     liabilit)1, take any personal property stored within the Vehicles and may store ruty soeh property at Lessee's expense for 30 days. Lessee v.ril\ be
     obl:igatcd to reclaim such property within 30 days and hereby waives any rights in such property thereafter. Any unclnime:d property will be deemed
     abandoned after 30 days ancl will be discarded by Lessor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
     Lessor in connection w1th this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied to Lesi;t>.e's
     obligations under this Lease pursuant to this Section 20. Lessor's remedies hereunder may be exercised instead of or in addition to any other legal or
     equitable remedies. Lessor bas the right to set off any sums received from Rll)' source (including insurance proceeds) against Lessee's obligations under
     this Lease. Lessee waives its right W object 10 the potice of the time or pl nee of sule or lease, and to the manner and place of any advertising tlit:refore.
      l.essee waives any defense b11Scd on statutes of limitations or Jae.hes in action:; ibr damages. In r:ase of failure by Lc.~see to [lay an)' feei;. assi=ssments.
     charges, or taxes arising with rcspl.'ct lo the Vehicles, Lessor shall have the right, but not the obligation to pay such amounts, 11nd in that evenl. the cos!
     thereof shall be payable by Lessee to Lessor upon demand. together with inler!$t at the Default Rate from the dntc ui' di!;bul'SClnent by \ .essor
                     21. SECURrrY DEPOSIT. The Security Deposil shall be held by Lessor during the entire Tenn of the Lease, including the Interim Term
      and any renewal term, as st:curity for the ft11l payment i:ind perfornmnoe of the lenns, condilions and obligations of Lessee he.reunder and under any and
     all Schedules. The Security Deposi1 shall not excuse the pc.rfanIWflce at the time Hiid in the manner prescribed or any obligation of Lesscl.'.l or cure a
     default of Lessee. Lessor may, but shall nol be required to, apply such s~urity Deposit towards discharge of any overdue obligation of Lessee. Lessor
     shall be en tided to commingle the Security Deposit with any of its own funds. No Interest. shall accrue on the Security Deposit and Lessor shall have no
     liability 'to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations ofl,essewnder the Lease, Loss cc
     shall, upon demand, pay to Lessor an amount necessary to return the Security Deposit to the sum speoificd above.. In furtherance thereof, Lessee hereby
      grants to Lessor a security interest in the cash comprising the Security Deposlt trnm time to time and any and illl interest thereon, together wilh the
      proceeds thereo(, 1.0 secure tbe prompt payment as and when due of all indebtedness, and the prompt performance w; and when due of all obligations, of
      Lessee now or hereafter required under the l.ea<;e, Jfno Default has then occurred, upon the expiration or earli(!r termination of the Term of the Lease.
     the bulance of the Security Deposit then held by Lessor shall promptly be paid to Lessee
                     22. SEYERABILm'. The inva.lidation of any provision or provi~ions of this Lease as unenforceable shall nnt operate lo invalidalc lhc
     remainder of the Lease which shall remain in full force 11nd effect
                     23. NOTICES. All notices relating to this Lease shall be delivered in person to an officer of Lessor or Lessee or mailed 10 the respective
     nddresses shown above on the first page of this Lease, or lO such address as othcrv.'ise specified ln writing by the appropriate pany hereto
                     24. WArVER. Lessor's forbearance.of exercise of:any right or remedy on Lessee's breach or any tenns, covenants or conditions hereunder
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shall not be deemed .a waiver of such right 01 remedy. the requirement of ptmctual performance, Of any of its remedies upon any other or         suh~quenl
breach or dc.faull
              25. GOVERNING LAW. This Lease tnkt:s effect upon its acceptance and execution by Lessor. and sball be govemed, interpreced and
conStrul!:d under the laws of the Staie of Ohio. Ohio law shall prevail in the event of any conflict of law without regurd to, and \\'1!hou1 giving effccl to,
the application of choice of law rules LESSEE WAIVES ALL RTGHTS TO TRIAL BY JURYTN ANYLTnGATIONARISJNG FROM OR RELATED
TO THIS LEASE, AND LESSEE SUBMITS TO THE JURlSDICTION OF THE FEDERAL DlSTRJCT COURT FOR THE SOITTHERN DISTRJCT
OF OHIO, OR ANY STATE COURT OF COMPE'J'ENT JURJSDJCI10NWITHINMONTGOMERY COUNTY, OHIO, AND WANES ANY RIGHT
TO ASSERT THAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT JS IN THE IMFROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.       WAIVER OF DAl'rlAGES. Lessee waives to the fullest cxtcntperrnitted by low any right to or claim of any punitive, exemplary,
indirect, special, conseqmmti:al, or incidental damages against Lessor. Lessee agrees that, in the event of a dispute, claim or controversy against Lessor,
Lessee shall be limited to the recovery of actual direct damages sustained by it. subject to any limrnn direct damages set forth in this Lease. Lessee will
not accept or auempi to collect through the courts or otherwise any punitive, exemplary, indirect, consequential, or incidental damages from Lessor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be bjnding on and inure lo the bc.mcli! uf L~:rnt ancl Less.cc. and their resp~clivc
successors and assigns permitted hereunder
              28. FORCE MAJEURE. The obligations of Lessor hereunder shall be suspended to the extent that it is hindered or prevented from
complying therewith bcca.usc of labor disturb1mce5, acts of God, fires, storms, accidents. failure of the manufacturer to deliver any of the Vehicles. courl
order, govc:mmc:ntal regulations., or other interference or any cause whatsoever not within the sole control of Lessor

                                                            JS!GNATURE PAGES FOLLOW!




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                                                                                                                 Vehicle Tftling Trust




                                                                                       ;z2··-··~
                                                                                                  SIGNATURE




    EQUIPMENT ACCEPTANCE
    Lessee hereby confirms that the Equipment has been delivered, duly assembled and in good working order and oondilion. Lessee confirms Lhat alter a
    reasonable opportunity to inspect the Equipment, it has solely sclcc1.cd, and unconditionally and mvocably accepted I.he Equipment a!i-is, where-is for all
    purposes of this Lease as of this date. ln the event that the Equipm~t ill nol delivered and accepted within thirty (30} days of Lessee's signing of this
    Equipment Acceptance, Lessee hereby authorizes Lessor to increase the Payments lo reflect any Lease rate increase applicable lo the Lezse




                                                                                        LESSEE: Sonet Tr nsportation .sod Logistics Jnc.



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                                                                                                                                                                        6961 Cintas Blvd

                       BUSH
                       TRUCK LEASING, INC.
                                                                                                                                                                        Mason, OH 45040

                                                                                                                                                                        800-766-2874
                                                                                                                                                                        www .bush trucks.corn
                                                                                                              LEASE AGREEMENT
                                  Contr11ct Date:                                                                                                             Lease JD No.                CSBM0154
                                                                                                                                                ;·   ... ·.

lndh•idual Legal Name(if applicable):
Company Legal Name(if applicable):       Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 &'trcet Suite 205
City:National CityState:CA     Zip: 91950
~ ;'.'.>~' :'\·::;;':'~J \   ;'<'.!:· ::::.::;.:;,:-::-·~:; X
                                                          0 .:.::::                                           :, ::,: ~·EdDIP.NieN'i: :?<'·.\':. :.~< '. : '.·
                                                                      ~\'<'='/':'.-'.;/: :-,. ; : :;:. ;>~·.~, ''.~.:                                               :;"::;:·::r:-_                                            .. ~ :: : : ···.: : ·:
Vehicle Year                                                          I Vehicle Make                                            IVehicle Model                                          IVehicle Identification Number
2012                                                                  I Freightliner                                                ICascadia                                           I IFUJGLBG1CSBM0154
           Refer to Schedule 1 of this Lease Agreement for Equipment details i11 the eve11I that no Equipment information appears above
i;;~';t~.;f:::>~~~N:'.:;\\~\\'.-;;;:r;t.1;\i~~(~~Di.i{\:.1;):J.~+;;.~i/:'\:';$UMMARY~bF.::tEA$EiTERIVIS '.;):<.;.'::.·:.·:.:?:;                                                       <'.:'-> .:.: ·, :·:. ::.:-.. :; ·:-. · : ·, :' ·.::. :.:. ·: :·
Commencement                           Initial            ~ental Periods N Tobtal                               f        Down          Advance                Basic Rent             Doc Fee                Security               End of Term
Date & 1st Basic                       Term                                                    um er o Payment+                          or                    (without                                     Deposit                       Option
                                                                                              Payments Taxes at
     Rent Date                                                                                                                         Arrears                 Taxes)
                                                                                                        Closing
 9 . J • -J.."-f ;;-                36     MONTHLY                                                   36                 $1,500.00      Arrears                $2,036.67              $400.00                   $0.00                      TRAC
ic:. . l ·:.J..c_.i ')            MONTiiLY

If Option Upon Expiration of lnith1I Tenn of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $27,639.00

     TIIIS LEASE AGREEMENT ("Lease'') is h=by entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
     ('•Lessoi"), and LESSEE referenced above.

                   1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lc.ssor, the Equipment described herein, logclhcr
     with all replacements, repairs and additions thereto (individually and collectively, the "Vehicles") on tt1e terms and conditions set forth in this Lease.
     Lessee agrees that Lessee leases the Vehicles "as-is", and confirms that as of the date of delivery of each Vehicle, sucl1 Vehicle is of 1hc design and
     manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee funhcr confirms that ii
     has selected the Vehicles on the basis of its own judgment, and expressly disclaims reliance upon any statements, representations, orwarranties made by
     Lessor. and Lessee aolalowledges that Lessor is nol the manufacturer of the Vehicles Lessee certifies that the Vehicles identified herein will be used for
     commercial purposes.
                   2. INITIAL TERM. The term of this Lease for each Vehicle shall commence on the Contract Date and shall continue for tha1 number of
     months from the first (1st) day of the month following the Contract Date (unless the Cont.ract Date is the first ( l st) day of the month, in which case the
     Contract Date shall be the dale on which the term of this Lease commences} {"Commencement Date~) cuch as set forth in the Summary of Lease Tem1s
     (such period as extended or sooner tertninuted by Lessor as provided herein, thc''Tcrm").
                   3. RENT. The rental payment amount for each Vehicle hereunder {the "Basic Rent") is set forth in the Summary of Lease Terms. Ba.~ic
     Rent on each Vehicle shall begin to accrue on the Conlract Qatc and shall be due and payable in U.S. dollars in immediately available funds by Lessee
     in advance or mrears for the periods (each a "Rental Period") and for the total number of payments as set forth in the Summary of Lease Terms, in each
     case, on tbe first day of each such Rental Period. Tfthe Contract Date does not fall on lhe first day of !he month, the rental for that period of time from
     the Contract Date until the Commcnccmcn! Date shill! be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
     One Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Dale lo
     (but no! including) the Commencernenl Date and shall be due and payable on !he Commencement Date. Lessee shall pay all amounls other lhnn Basic
     Rent Lessee is obligated to pay hereunder (the "Supplemental Rent" and together with Basic Rent, the ~Rent") when due or if no date is specified
     herein, on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of 10% of
     !he late rental payment amount. and the maximum amount purmiued by law. l.ESS~E'S PAYMENT OF RENT AND LESSEE'S PP.RfORMANCE
     OF ALL OTHER 013LIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITl !OUT SET OFF, COUNTERCLAIM. OR ANY DEFENSE
     WHATSOEVER, INCLUDING, BUT NOT LTM!TED TO, ANY RIGlff OR CLAIM THAT LESSEE MAY NOW OR l!EREAFTER HAVE.
     AGAINST LESSOR, ANY OF LESSOR'S AFFlLIA TES, ANY ASSlGNHE OF LESSOR, OR THE MANUFACTURER 01' Tl !E VEI llCLES FOR
     ANY REASON WHA'fSOcVER, SPECIFlCALL YINCLUDING, WITHOlrr l.IMIT ATION, ANY CLAIMS THAT LESSEE MA y I!AVE AGAINST
     LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF' LESSOR WITH Rl~SPECT TO THE SERVICE AND MAINTENANCE
     AGREEMENT REFERENCED IN SECl'JON 7 HEREOF.
                   4. OPTION UPON EXPIRATION OF INITIAL TERM OF LEASE. Upon expiration of the Initial Term oflhc Lease. Lessee shall
     comply with the provisions ofClnuse A or B below, in either case, as specified in the Summary of Lease Terms

                                  A.            Terminal Rental Adjustment Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                                                 Le.'lsor under the Lease for the Vehicles. l! is presently anticipated that the fair market value of the Equipment (the
                                                 "Estimarod Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Tenns. Upon



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                                                                                                                                                                                                                                                        Exhibit A
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                           expiration of lhc Initial Term, Lessor wi!J attempt to sell the Equipment. Jn the event that the Net Proceeds (as defined below)
                           are less than the Estimamd Fair Market Valoe, Lessee shall pay to Lessorthe full amount of such shortfall. If the Equipment
                           has not been sold on the last day of the Initial Tenn, then the Net Proceeds shall be deemed to be ;r.ero and l,essee shall
                           immediately pay to Lessor the TRAC Residual 1f the Lessor thereafter shall sell the Equipment, the Ne! Proceeds shall be
                           paid by Lessor to Lessee, Any such payment by either Lessee or Lessor shall be deemed lo be a Tenninal Rental Adjustment
                           with respect to the Vehicles. As used herein, "Net Proceeds" shall mean the proceeds received by Lessor, allcr deducting (i)
                           all costs and expenses incurred in connection with the recovery, repair, storage, and sale of the Vehicles, including any and all
                           attorneys' fees and legal expenses, (ii) all late charges w1d all interest accrued ut the Default Rate (as hereinafter defined), and
                           (iii) all rent payments and other obligations of Lessee due and unpaid under the Lease as of the date of the sale or disposition.
                           As to each Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment after
                           expiration of the Initial Term arc less than the TRAC Residual amount for such Equipment as set forth in the Summary of
                           !..ease Terms, then Lessee shall immediately pay lo Lessor the amount of such deficiency as additional Rent hereunder. If the
                           Net Proceeds are in excess of!he TRAC Residual amount, then I 00% of such excess shall be returned to Lessee as a rcduc1ion
                           in the Rent for such Equipment, provided, however, that Lessor shall be entitled to retain all or any portion of such amollllt lo
                           satisfy any of Lessee's obligations under the Lease

                             Lessee hereby certifies, under penalty of'pe~jury, that
                  (i)   Lessee intends that more than 50% of the use of the Equipment subject to this TRAC is to be used in a trade r1r business of the
                           Lessee,
                  (ii) Lessee has been advised by tax counsel or other tax advisor, and
                  (iii) Lessee understands and agrees that, Lessee will not be treated as the owner of the Equipment identified abuve for federal income
                           tax purposes.

                  B.          Sl.00 Buyout. Lessee hereby unconditionally agrees 10 purchase all, but not less than all, of the Equipment for$ l .00 upon
                            clCpiration of the Initial Term of the Lease. Lessee and Lessor agree that Lessee is owner of the Equipment and sh11ll lile and
                            pay all license, registration fees, and documentary, sale and use taxes, and personal property taxes and all other talCcs, fees and
                            charges relating to the ownership, leasing, rental, sale, purch11Se, possession or use of the Equipmen1

                    With respect to any option upon expiration of the Initial Term of the Lease set forth herein, if wriuen notice of Lessee's intention to
                    exercise such clected option is not received on a timely basi.•, then such failure shal! constitute an Event of Default, and to the extem
                    that the Lessee fails to return to Lessor the Equipment in accordance with Section 7 hereof, Lessee agrees to pay a daily rental fee
                    equal to 150% of the daily Rent for each day that the Equipment is retained by Lessee; provided, however, such payments shall no1
                    extend Lessee's right to have nnd use the Equipment beyond the Initial Term of the I.ease as provided herein. Upon clCercise of the
                    option elected by Lessee and payment in full by Lessee of any related purchase amounts and all Rent, Lessor will execute and dcliwr
                    to Lessee the tiUc to the Vehicles, and any other documcnlalion nec.-essary to transfer title to Lessee. THIS SALH Wit.I, HE
                    WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHETHER F.Xl'Rf.SS OR IMPLIED IN
                    FACT OR LAW and, Lessee will accept the Vehicles"AS IS'' and ~WHERE IS".

               5. TAX INDEMNIFICATION. Except to the extent Section 4B is applicable upon expiration at the Initial Term, it is understood and
agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to such tax benefits that are available as owner of the Equipment through
depreciation of the total capitalized cost of the Equipment thereof for federal income tax purposes. In the event lhat Lessor suffers any Joss,
disallowance, unavailability, or recapture of such depreciation for any reason whatsoever, tl1en, after written notice thereof by Lessor to Lessee, Lessee
shall pay to Lessor an additional incremental amount payable on each dale that the Basic Rent is thereafter due, which in the opinion of Lessor, will
cause Lessor's net after-tax annusl cash flow and net after-tax rate of rel.um respectively, that would have been available if Lessor had been entitled LO
full utilization of the depreciation. In the event that any payment is required to be made pursuant to this Section S, and such payment is to be made on
succeeding rent payment dates, but at such time this Lease shall have been terminated or Rent otherwise no longer shall be due and payable on the
remaining rent payment dates, Lessee shall promptly pay Lessor any amount equal to the incremental increase in Basic Rent which would have been
required if such tax loss had occurred immediately prior lo the last rental payment date on or prior lo lhc expiration or other lcrrninalion of the 1..ea~e.
Lessor shall promptly notify Lessee of the commencement of any proceeding by the Internal Revenue Service in respect of any item as to which
indemnity is sought hereunder. Lessee's agreement to pay any sums which may become payable pursuan1 lo this S~tion 5 shall survive the cxpirution
or other termination of this Lease
               6. USE OF VEHICU~S. Lessee shall use the Vehicles only in its business and in compliance with all laws. rules. and regulations ur any
jurisdiction where the Vehicles are used or located. Lessee represents and WlllTllllts lo Lessor al !Ill times tl1at (i) Lessee has the right and ability to enter
 into this Lease; (ii) this Lc!ISC constitutes a valid, legal. and binding obligation and agreement of Lessee. enforceable against Lessee in accordance with
 its terms; and {iii) that the entering into and pcrfonnance of this Lease by Lessee will not result in a breach, violation.. or default under any judgment,
order, law, regulation, loan, mortgage, agreement, indenture, or other instrument applicable to Lessee, or result in any breach of, or constitute a defau!L
 under, or result in the creation of any lien, charge, security interest, or other encumbrance upon the Vehicles pursuant lo any instrument to which Lessee
is a party or by which it is bound. Lessee shall (i) use and operate the Vehicles in a careful and prudent manner for the purposes and in the manner
 intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damage; and (iii) shall pay for all maintenance of Vehicles
 to keep them in good and efficient working order and condition during the Term of the Lease, including, but is not limited to, Lessee's supplying all
 fuel, lubricants, and other parts, supplies, maintenance and services, and/or Lessee, upon Lessor's request, entering into 11 service and maintenance
agreemen1 with Lessor or an affiliate of Lessor upon such terms and conditions provided by Lessor. After notice Lo Lessor, Lessee may, at its own
eicpense, make alterations or add attachments to the Vehicles, provided that such alterations or attachments are removable and do not reduce the value,
 utHity or useful life of the Vehicles. Upon ihe expiration or termination of the Lease, all alterations or attachments affixed to the Vehicles shall become
the property of Lessor if not removed, and if Lessee does remove such attachmenL~. Lessee shall be liable to Lessofor any damage to !he Vehicles as the
resull of such removal In the event that any federal, state.. or local law, ordinance, rule or regulation shall require the installation or any additional
 accessories lo any of the Vehicles, including, bul not limited to, anti-pollution and/or safety devices, or in the event that any other modilicaliom; lo the
 Vehicles shall be required by virtue of such law, ordinance, rule or regulation, then and in any of such evcnls, Lessee shall pay the full cost thereof.
 including installation expenses. Lessor may, at its option, arrange for the installation of such Vehicles or the pcrfomtance of such modificalions. and
 Lessee agrees to pay the full cost thereof immediately upon reueipt of an invoice for the samc
               7. SURRENDER. Upon either lhe (i) failure by Lessee lo exercise any purchase option for any Vehicle set forth herein. or (ii) upon
 demand by Lessor made pursuant to an Event of Default (as set forth in Section 19 hereof), Lessee shall, at its own expense, return such Vehicle to

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Lessor to such location within the continental United States as Lessor shall designate, in the same condition as when delivered, reasonable wear and tear
excepted and otherwise in the condition required by this !.,ease Upon rcium of the Vehicles, Lessor.or such entity designated by Lessor, shall perfonn a
physical and mechanical inspection of the Vehicles. Lessee shall be responsible for the payment of any and all costs associated wiU1 the inspection, und
for any and all repairs necessary to place the Vehicles in the same condition llS when delivered, reasonable wear and tear excepted and otherwise in the
condition required by this Lease
               8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided that,
upon the expiration or termination of this Lease, and in the event that Lessee docs not purchase the Vehicles pursuant to Section 4.B hereof, Lessee
shall, upon the request of Lessor and at Lessees eiqiense, restore !he Vehicles lo original condition, ordinary wear and tear excepted
               9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT L.ESSOR IIAS NOT MADE, AND SHALL NOT BE
DEEMED TO HA VE MADE, ANY EXPRESS OR IMPLIED WARRANTY AS TO M8RCHANTABILITY, FITNESS FOAANY PURPOSE OR USE.
DESIGN OR CONDITION OF VEHICLES, QUALITY OF MA TERlAL OR WORKMANSHIP, OR AS TO ANY OTHER MATfER WHATSOEVER
RELATING TO '111E VEHICLES, AND LESSOR SHALL NOT 13E LIABLE FOR ANY INDJRECT, CONSEQUENTIAL. INCIDENTAL. OR
PUNITIVE DAMAGES ARlSING OUT OF THE USE OR JNABILffYTO USE THE VEHICLES, OR ANY INADEQUACY. DEFICIENCY, OR
DEFECT TN THE VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEHICLES "AS IS". Lessor agrees. 10 the extent possible and
without increasing its liability hereunder, and upon request, to assign to Les.'lt:e, any warranty of a manufacturer or scll"r relating to the Vehicles
available to Lessor, provided, however, that the foregoing rights shall automatically revert lo Lessor upon the occurrence and during the con ti nuance of
any Event of Default hereunder, or upon return of the Vehicles to Lessor. Lcssr;e agrees to settle all claims with respect to the Vehicles directly with the
manufacturers thereof, and 10 give Lessor prompt notice of any such settlement and the details of such settlement
                10. TITLE AND lNSPECTION. Lessee, at its expense, shall protect and defend Lessor's title and keep it free of all claims and liens
except those claims and liens created by Lcb'Sor in connection with any assignment or fmancing by Lessor. Lessor may inspect the Vehicles at any time
wi1hout prior notice during regular business hours. If, at any time during the Term of this Lease, Lessor supplies Lessee with labels, plates or other
markings stating that the Vehicles are owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
               11. LICENSES. Lessee shall at its expense obtain all noeessary licenses(including motor Vehicle plates) and registrations, required for the
use and operation of each Vehicle. All certificates of title or registration of each Vehicle shall name Lessor as the owner thereof
                12. Il\'TERESTS IN VEHICLES. Lessee's rights with respect to this Lease and any Vehicles leBSed hereunder will be subj<.-ct to any
rights and interest in and to said Vehicles which may be granted by Lessor (or Lessor's affiliates) to any assignee or lender of Lessor (or Lessor's
affiliates). Lessor may assign to a lender or any other assignee all or any part of Lessor's rights hereunder, including a security interest in the Vehicles
and the right lo receive rents and other sums due hereunder. Upon notice of such assignment in writing by a lender. assignee and/or Lessor. Lessee shnl I
pay all rents and other sums due or to become due under this Lease directly to such lender or assignee without set on: counterclaim, or any defense
whatsoever.
                13. TAX:ES. Lessee shall pay all personal property, sales or use taxes, business Iicenses, assessments, penalties. and charges which may be
levied or asserted with respect to the Vehicles (except income taxes levied on lease payments 10 Lessor). In the event that any such taxes, licenses.
11S1-essments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immediately after Lessor notifies Lessee in writing of the
amount of such taxes, licenses, asses.'ffilents, penalties, charges or expenses paid by Lessor, as well as an administrative fee. lncreases or de.creases in
sales or use tax rates will affect all lease payments after the e.ffcctive date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
harmless from and against any loss, cost or expense arising out of or relating toany such tax, import or k.-vy, including, without limitation, any penalties.
 interest and fines relating thcrctu
                14. F1NES. Lessee shall pay all fines due to overload, overleng1h, overweight, lack of plates or permits, speeding and any other charges
which may be imposed or assessed in respect to the Vehicles and/or Lessee's use thereof: The provisions of this Section 14 shall survive the expiration
or other termination of this Lease
                15. LOSS OR DAMAGE. Lessee shall bear the entire risk of loss, theft, destruction of or dam.age to any Vehicle from any cause
 whatsoever (~Loss or Damage~). Lessee shall promptly notify Le•'Sor in writing of any Loss or Dumage. No Loss or Damage to any Vehich:s shall
 relieve Lessee of any obligation withrespect to such Vehicle under this Lease. Jn the event of Loss or Damage, Lessee shall, ut the option of Lessor. (a)
put such Vehicle in good condition and repair in accordance with the manufacturer's recommendations, and to the reasonable satisfaction of Lessor, at
Lessee's expense; (b) replace such Vehicle with a like Vehicle (same value, utility and useful life as damaged Vehicle) in good condition and repair as
approved by Lessor in Lessor's sole discretion with clear title thereto vested in Lessor; or (c) pay Lessor on or before the next rent payment elate as set
forth in accordance with Section 3 hereof (such payment date, the "Loss Payment Date) in cash the sum of: (i) all amounts then due Lessor by Lessee
 under the Lease relating to such Vehicle, which amounts shall be proratDd through the Loss Payment Date, plus (ii) an amount equal to the present value
 of the TRAC Residual, if any, relating to such Vehicle (as set forth in the Summary of I.ease Tenns), discounted al 5.0% computed from the expiration
 of the Initial Term of the Lease lo the Loss Payment Date, plus {iii) an amount equal to the present value of the unpaid future rem11ining Rents for the
 Initial Term of the Lease, relating to such Vehicle discounted at 5.0% computed from the scheduled payment dates for such Rents to the Loss Payment
 Date (the "Casualty Value Amount"). Upon receipt of the Casualty Value Amount set forth in {c) above, Lessor shall assign to Lessee (or Lessee's
 insurer) Lc;'Sor's interest in such Vehicle in its then condition and location, "AS IS" without any warranty whatsoever, express or implied. If Lessee is
 required to repair any Vehicle in accordance with (a) above, or io replace any Vehicle in accordance with {b) above, the insurance proceeds actually
 received by Lessor, if any, pursuant to Section 16 hereof shall be first applied to pay any amounts then due under this Agreement, and then shall be paid
 to Lessee upon proof satisfactory to Lessor that such repairs have been completed as required hereir(in the case of (a)), or of adequate purchase and title
 documents in Lessor's sole discretion (in the case of (b)). In the event that Lessee is obligated to pay to Lessor the amount specified in (c) above, Lessee
shall be entitled to a credit agairu.1 such amount equal lo the amount of insurance proceeds actually received by Lessor. if any, pursuant to Section 16
 hereof, on account ofsueh Vehicle.
                16. INSURANCE. Lessee shall obtain and maintain insurance on or with respect to each Vehicle at its own cxpcn.<e and in the amounts
 and forms satisfactory to Lessor. In no event shall any insurance coverage be less than the following: (a) physical damage insurance insuring against
 loss or damage to the Vehicles in an amount not less than the full replacement value of such Vehicle; and (b)(i) in all Slnlcs except l'lorida: (I) not
 greater than $500 deductible for collision, fire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injury liability and property
 damage; or (b)(ii) for the State of Florida: (I) not greater thll!l $500 deductible for collision, fire, theft., and comprehen.~ive. and (2) $250.000 per person
I $500,000 per incident bodily injury liability, and (3) $I 00,000 property damage liability. In addition. the following require $1,000,000 excess liability
 coverage (umbrella): (a) t.ruck/tractors over 45,000 lbs.; (b) trailers/semi-trailers; tow trucks; and (c) limo uses for livery. Lessee shall furnish Lessor
 with a certificate of insurance evidencing issuance of such insurance lo Lessee in at least the minimum amount required herein, naming Lessor and such
other parties designated by Lessor 11S additional insured thereunder for liability coverage, lll!d as loss payee for property damage coverage. Each policy
shall require ins11rer to give Lessor30 days prior written notice of any material alteration in termsof policy or cancellation thereof, and shall provide that
 no action, misrepresentation or breach of warranty of Lessee shall invalidate the policy. If Lessee fails to provide such insurance, Lessor shall have the
 right, but no duty, to obtain such insurance, and Lessee shall pay Lessor all costs thereof. including all costs incurred by Lessor in obtaining such
 insuronce together with interest al the Default Rate from the date paid by Lessor to the date paid in full by Lessee. Lessee shall not use IUIY Vehicle if
the insurance required herein is not in full force and effect with respect to such Vehicle. Upon Loss or Damage as sei forth in Section l 5 hereof, Lessee
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shall receive credit for any amounts paid to Lessor by the insunir against Lessees obligations hereuml"r.
               17. INDEMNITY. Lessee shall indemnify Lessor against, and hold Lessor harmless from, w1y and all claims, actions, damages,
obligations, liabilities, liens (including 11ny arising or imposed under the doctrines or strict liability in tort or product liability), and costs and expenses
(including attorneys fees), arising from or out of the manufacture, purchase, lease, possession, operation, condition. return, or use of the Vehicles, or by
operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
upon written notice by Lessor of assertion of Bl1Y such claim, action, damage, obligation, liability, or lien, Lessee, at Lessee's expense shall a.~sume full
responsibility for the defense thereof, provided that Lessor shall have the right, but not the obligation, to participate in any defense conducted by Lessee
without relieving Lessee of any of its obligations hereunder The provisions oftbis Section 17 shall survive termination of this Leese
               18. ASSIGNM~NT. facept as otherwise permitted herein, without Lessots prior written consent, Lessee shall notessign. lrWlSfcr, pledge.
hypothccatc or otherwise dispose of this Lease, the Vehicles or any interest therein, or sublet or lend the Vehicles, or permit the Vehicles to be used by
anyone except Lessee or Lessees authorized employees Lessor may assign this Lease or any interest therein in whole or part without notice to Lesse.e
               19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions which shall
constitute "Rvents of Default": (a) Lessee fails to pay any Rent or other amount when due: (b) Lessee fails to observe, keep or perform any other
covenant or provision of this Lease required to be observed, kept, or performed, by Lessee; (c) Lessee removes, sells, transfers, encumbers, creates a
sect1rity interest in, relinquishes possession of tha Vehicles, or performs 1my act which impairs Lessor's title to any Vehicle or au.empts any of the
foregoing; (d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lease; (e) Lessee fails to satisfy any traffic
ticket or summons or fails to register any Vehicle; (I) Lessee becomes insolvent, bankrupt or has a trustee or receiver appo.inted for Lessee or for a
substantial part of Lessee's property; (g) Lessee experiences a material change in its business or affairs (including termination of Lessee's employment
or termination of the contract under which Lessee provides services or a change in the control or ownership or Lessee or Lessee's employer or the party
with which Lessee contracts to provide services) which in Lessor's sole judgment impairs !he security of any Vehicle or increases the credit risk
involved therein; {h) Lessee atlcmpts to 11Ssign this-Lease without the consent of Lessor; or (i) Lessee fails to notify Le8sor of any material change in its
business and affairs, including a change in the ownership or control of Lessee. Lesse<> hereby irrevocably appoints and constitutes Bush Truck Leasing,
Inc. and i!S suca:ssors and assigns, the true and lawful attorney-in-fact of Lessee, with full power in the name of Lessee upon the occurrence of an Event
of Default, (i) to demand and receive any and all moneys and claims for moneys due in respect of or relating to the Equipment, (ii) tD ussign or transfer
any of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee. to any replacement lessee hcn:undt.-r and/or causing
any other person to become the registered owner Dfthe Equipment) and (iii) to take any other action in respect of this Lease or uny of the Equipment.
Lessee ratifies and approves all acts of Bush Truck Leasing, lnc., as attorney-in-fact. Bush Truck Leasing, Inc., as attorney-in-fact will not be liable lbr
any acts or omissions or errors of judgment or mistake of fact or law. 111is power, being coupled with an interest, is irrevocable until all obligations
under this Lease have been fully satisfied
               20. REMEDIES. Upon the occurrence of any Il.vent of Default, Lessor may declare this Lease to be in default, and at any lime thereafter,
Lessor, at its option, may do any one or more of the following: (a) cancel this Lease; (b) proceed by appropriate action to enforce performance of the
Lease at Lessee's expense or to recover damages (including attorneys fees) for the broach thereof.. (c) demand that Lessee, and in such case the Lessee
shall, return all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) enter, with or without legal
process, Lessee's premises or any other premises where the Vehicles are located, and take possession of all or any part of the Vehicli.-s without any
liability to Lessee by reason of such entry; (e) sell, lease, or othcrwii;e dispose of all or any part of the Vehicles nt a public or private sale. which may be
conducted where suoh Vehicles are then located; (f) demand that Lessee. and i11 such case Lessee shall, pay to Lessor as liquidated damages for loss of a
bargain and not as a penalty an amount equal to the sum of(i) all amounts due and unpaid under the Lease (including without limitation any indemnity
obligations) plus interest thereon from the due date thereof at a per annum interest rate equal to the prime rate of interest then in effect as published in
the Wall Street Journal plus2.0% (the "Default Rate"), plus (ii) the present value of all future Rent payments for such Vehicles.,discounlcd at 5.0o/~ plus
(ill) the present value of the TRAC Residual, if any, discounted at 5.0%, plus {iv) all costs and expenses incurred by Lessor in enforcing Lessor's rights
hereunder (including, without limitation, all costs of repossession, rec.overy, storage, repair, sale, re-lease, and attorneys' fees), together with interest
thereon at the Default Rate from the date of demand to the dale of payment in full (the "Liquidated Damages"), or (g) exercise any other right or remedy
which may be available to Lessor mi<lcr the Uniform Commercial Code or any other applicable law The proceeds of any sale or lease of the Vehicles by
Lessor shall be applied in the following order of priority (1) to pay all of Lessor's expenses in taking. holding, preparing for sale or lease. and disposing
of the Vehicles, including all attorneys foes 11nd legal expenses, then (2) to pay any late charges and all interest accrued at the Default Rate; then {3) to
pay accrued but unpaid Rent payments, then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. If the proceeds of
any sale or lellSe are not sufficient lo pay the amounts owed to Lessor under this Lease, Lessee will pay the deficiency. Le~'Sor may also, without
liability, take any personal property stored within the Vehicles and may store any such property at Lessee's expense for 30 days. Lessee will be
obligated to reclaim such property within 30 days and hereby waives wiy rights in such property thereafter. Any unclaimed property will be deemed
abandoned after 30 days and will be discanled by Lessor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee to
Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied lo Lessee's
obligations under !his Lease pursuant to this Section 20. Lessor's remedies hereunder may be exercised instead of or in addition 10 any other legal or
equitable remedies. Lessor has the right to set off any sums received from any source (including insurance proceeds) against Lessee's obligations under
this Lease. Lessee waives its right to object to the notice of the time or place of sale or lease, and to the manner and place of any advertising therefore.
Lessee ·waives any defense based on statutes of limitations Dr !aches in actions for damages. In case of failure by Lessee to pay any fees, HSsessmcnts.
charges, or taxes arising with respect to the Vehicles, Lessor shall have the right, but not the obligation to pay such amount~, wid in that event, the cost
thereof shall be payable by Lessee to Lessor upo11 demand, together with interest at the Defuult Rate from the date or disbursement hy I .essor
                2l. SECURrTY DEPOSIT. The Security Deposit shall be held by Lessor during the entire Tem1 of the Lease, including the Interim Term
 and any renewal tcnn, as security for the full payment and performance of the terms, conditions and obi igations of Lessee hereunder and under any and
 all Schedules. The Security Deposit shall not excuse the performance at the time and in the manner prescribed or any obligation of Lessee or cure a
 default of Lessee. Lessor may, but shall not be required to, apply such Security Deposit towards discharge of any overdue obligation of Lessee. Lessor
 shalt be entitled to commingle the Security Deposit with any of its own funds, No Interest shall accrue on the Security Deposit and Lessor shall have no
 Iiahility to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations of Lessecunder the Lease, Lessee
shall, upon demand, pay to Lessor ao amount necessary to return the Security Deposit to the sum specified above. In furtherance thereof, Lessee hereby
 grants to Lci.'Sot a security interest in the cash comprising the Security Deposit from time to time and any and nil interest thereon, together v.ith the
 proceeds thcrcor; to secure tl1e prompt payment as and when due of all indebtedness, and the prompt performance as and when due of all obligations, of
 Lessee now or hereafter required under the Lease. If no Default has then occurred, upon the expiration or earlier termination of the Tcm1 of the Lease,
 the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee
                22. SEVERABILITY. The invalidation of any provision or provisions of this Lea.~e as unenforceable shall not operate to invalidate the
 remainder of the Lease which shall remain in full force and effect
                2.3. NOTICES. All notices relating to this Lease shall be delivered in person to an officer of Lcssur or Lessee or mailed to the respective
 addresses shown above on the first page of this Lease, or to such address as otherwise specified in writing by the uppropriate party hereto
                24. WAIVER. Lessor's forbearance of exercise of any right or remedy on Lessee's breach of amy terms, covenants or conditions hereunder
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shall not bc deemed a   waiv~>r   of such right or remedy, the requirement of purn:tual performance. or any of its   rem~.dies   upon any other or subsequent
breach or default
              25. GOVERNING LAW. Tbis I.ease takes effect upon ils acceptance and execution by Lessor, and shall be governed, interpreted and
construed under the laws of the State of Ohio. Ohio law shall prevail in the event of any conflict oflaw ·without regard to, and without giving e!Tcct 10,
the application of choice of!BW rules LESSEE WAIVES ALL RIGHTS TO TRIAL BY JUR YIN ANY LITIGATION ARISING FROM OR RELATED
TO THIS LEASE, AND LESSEE SUBMITS TO THE JURISDlCTION OF THE FEDERAL DISTRICT COURT FOR THE SOUTHERN DISTRICT
OF OHIO, OR ANY STATE COURT OF COMPETENT JURlSDLCT!ON WITHIN MONTGOMERY COUNTY, OHlO, AND WANES ANY RIGHT
TO ASSERT THAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT IS lN THE IMPROPER VENUE OR SHOUl,D BF.
TRANSFERRED TO A MORE CONVENIENT PORUM
              26.      WAIVER OF DAMAGES. Lessee waives ID the fullest extentpmnitted by law any right to or claim of any punitive, exemplary,
indirect, special, consequential, or incidental damages against Lessor. Lessee agrees that, in the event of a dispute, claim or controversy against Lessor.
Lessee shall be limited to the recovery of actlial direct damages sustained by it, subject to any 1imit>n direct damages set forth in this Lease. Lessee will
not accept or allempl lo collect through the courts or otherwise any punitive, exemplary, indirect, consequential. or incidental damages from Lessor
              27. SlJCC!i:SSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit or Lessor and Lessee and their resrecti1•e
successors and assigns permitted hert:under.
              28. FORCE :MAJEURE. The obligations of Lessor hereunder shall be suspended to the extent that it is hindered or prevemed from
complying the.rewith because of labor disturbances, acts of God, fires, storms, accidents, failure of the manufacturer to deliver any of the Vehicles, court
order, governmental regulations, or other interference or any cause whatsoever not within the sole control of Lessor

                                                             (SIGNA'fURE PAGES FOLLOW!




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IN WlTNESS WHEREOF, the parties hereto have entered into this Lease Agreement as of the date first above written
                                                                                                                                                                  i:;:

                                                                                    LESSOR:

                                                                                                                              ~                 1"
                                                                                    By:        -n~~~~
                                                                                           D!m:ia
                                                                                    Name:_ _ _ _ _S.
                                                                                                  __ Com.et:te
                                                                                                      _ _ _ _ __

                                                                                               Vice President
                                                                                    Title:_ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                    LESSEE: Sonet Transportation and Logistics Inc.



                                                                                    &BY'~
                                                                                    O/s1GNATURE




EQUIPMENT ACCEPTANCE
Lessee hereby confinns that the Equipment has been delivered, duly assembled and in good working order and condition. Lessee confinns that after a
reasonable opportunity to inspecl the Equipment, it has solely selected, and unconditionally and irrevocably accepted the Equipment as-is, where-is for all
purposes of this Lease as of this d!lle. In the event that the Equipment is not delivered and accepted within thirty (30) days of Lessee's signing of this
Equipment Acceptance, Lessee hereby authorizes Lessor to increase rhe Payments to reflect any Lease rntu increa~e applicable to the Lease




                                                                                    LESSEE: Sonet Transportation and Logistics Inc.



(X)Datcd:                                                                           ~By,~w
                                                                                    \J /s°JGNATURE




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                                                                                                                                                              Exhibit A
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                                                                                                                                                 6961 Cintas Blvd

                     BUSH
                     TRUCK LEASING, INC.
                                                                                                                                                 Mason, OH 45040

                                                                                                                                                 800-766-2874
                                                                                                                                                 www.bushtrucks.com
                                                                                     LEASE AGREEMENT
                           Contract Date:                   ·7 - )_        ~   - ")__ ""' i ':;-                                   Lease ID No.                  CSBM0160



Individual Legal Name(if applicable):
Company Legal Name(ifapplicable):       Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA      Zip: 91950
r:~~:~v\;;:ii.~i:T~i{)})~~:;=\:~{f:-;~J~:faff;}~{\~;?::~:~F:!~m-:;7~~:;>;~/U\<F~a!)J_eM~N.tiE~T}T~~C7{::'S-i::;;\~ITT;<~\'.i\i;'(,; ::.=.>::·; !\~,:\_;:;-;:·,: :._:;. ';:· ;_;_;:: . :....:';_:
Vehicle Year                                         I Vehicle Make                                       IVehicle Model                                        j Vehicle       Identification Number
2012                                                 I Freightliner                                       ICascadia                                            I 1FUJGLBG7CSBM0160
          Refer to Schedule 1 of this Lease Agreement for Equipment details in the event that no Equipment informatio1t appears above
,·:\.::/·\~i!i\;_(\;<;:>>>\t;--;,:'~'\·=.::-_;.=..;-,_':";';··>:i.:<~='<~:<:".SOl\iitillARv.ioF. teA:S.~/Ti;:R.iVIS ;-,:~;-.:,;·, :.:· ._.,.,<_-..'.'!·'!.'-' ." .-:. ·: '··   ,_.,· :... :; ·.:: ,..      .,.... ·· .• -: .....
Commencement                    Initial        !Rental Periods rN Tobta]    Down                               Advance             Basic Rent             Doc Fee                 Security              End of Term
Date & 1st Basic                Term                             um er of Payment+                               or                 (without                                      Deposit                 Option
   Rent Date                                                    Payments   Taxes at                            Arrears               Taxes)
                                                                           Closing
  2' · I · ),,.._, i -5:"" 36                    MONTHLY                       36          $1,500.00            Arrears             $2,036.67             $400.00                    $0.00                TRAC
  9. 1. )...., i5 MONTHLY
If Option Upon Expiration of Initial Term of Lease is TRAC under Section4A herein, the "TRAC Residual" shall be $26,950.00

     THIS LEASE AGREEMENT ("Lease") is hereby entered into as of the Contract Date above by and between BUSH TRUCK LEASING, INC.
     ("Lessor"), and LESSEE referenced above.

                   I. GRANT OF LEASE. Lassor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment d.cscribcd heroin, together
     with all replacements, repairs and additions thereto (individually and collectively, the "Vehicles") on the tenns and conditions set forth in this Lease.
     Lessee agrees that Lessee leases the Vehicles "as-is", and confinns that as of !he date of delivery of each Vehicle, such Vehicle is of the design and
     manufacture selected by Lessee. and as of such date. Lessee has unconditionally accepted such Vehicles in all respects. Lessee forther contim1s that it
     has selected the Vehicles on the basis ofiL~ ownjudgmenr, and expressly disclaims reliance upon any statements, representations, oiwarranties made by
     Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles Lessee certifies that the Vehicles identiliedhercin will be used fnr
     commercial purposes.
                   2. INmAL TERM. The term of lhis Lease for each Vehicle shall commence on the Cono-act Date and shall continue for that number or
     months from the firsL (1st) day oftbe month following the Conlracl Date (unless the ContracL Dale is I.he first (1st) day of the month, in which case the
     Contract Date shall be the date on which the term of this Lease commences) ("Commencement Date") each as set forth in the Summary of Lease Tem1s
     (such period as extended or sooner terminated by Lessor as provided herein, the"Tcrm").
          ·        3. RENT. The rental payment amount for each Vehicle hereunder (the "B115ic Rent") is set forth in the Summnry of Lease Tenns. l3asic
     Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in irrunedialely available funds by Lessee
     in advance or arrears for the periods (each a "Rental Period") and for the total number of payments as sel forth in the Summary of Lease Terms, in each
     case, on the first day of each such Rental Period. If the Contract Dale does not fall on the first day of the month, the rental for that period of time from
     the Contract Date until the Commencement Dute shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
     Onll Biweekly and 30 days for One Month Rental Periods, as applicable), multiplied by the number of days from (and including) the Contract Dale to
     (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than B>1sic
     Rent Lessee is obligated to pay hereunder (the "Supplemental Rent" and together with Basic Rent, I.he "Rent") when due or if no date is specified
     herein, on demand. lf any Renl payment is not made within five (S) days after its due date, Lessee shall pay a late charge equal to the lesser of I 0% of
     the late rental payment amount, and the maximum an10unt pcm1il!ed by !aw. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORM/\ NCR
     OF ALL OTHER OBL!GATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET Ol'F, COUNTERCLAIM, OR /\NY DEFENSE
     WHATSOEVER, INCLUDING, BUT NOT LIMJTED TO, ANY RlGHT OR CLJ\IM THAT LESSEE MAY NOW OR HEREAl-TER HAVE
     AGAlNST LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF THE VEHICLES FOR
     ANY REASON WHATSOEVER, SPECIFJCALLYINCLUDING, WITHOUT LIMlT /\TION, ANY CLAIMS THAT LESSEE MAY HA VE AGAINST
     LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
     AGREEMENT REFERENCED IN SECTION? HEREOF.
                   4. OPTION UPON EXPIRATION OF INITIAL TERM OF LEASE. Upon expiration of the Initial Term of the Lease, Lessee shall
     comply with lhe provisions of Clause A or B below, in either case, as specified in the Summary of Lease Tem1S

                           A.         Terminal Rental Adjustment Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent lo be paid
                                       Lessor under thll Lease for the Vehicles. it is prcscnlly anticipated that the fair market value of the Gquipmenl (the
                                       "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Terms. Upon




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         l.~              ~.




                                                     expiration of the Initial Term. Lessor will attempt to sell the Equipmenl In the event that lhc Net Proceeds (as defined below)
                                                     are less than the Estimated Fair Market Value, Lessee shall pay to Lessor the full amount of such shortfall. If the E!quipmenl
                                                     has not been sold on the last day of the Initial Tenn, then the Net Proceeds shall be deemed to be zero and Lessee shall
                                                     immediately pay to Lessor the TRAC Residual. If the Lessor thereafter shall sell the Equipment, the Net Proceeds shall be
                                                     paid by Lessor lo Lessee. Any such payment by either Lessee or Lessor shall be deemed to be a Tenninal Rental Adjustment
                                                     with respect to the Vehicles. As used herein, "Net Proceeds» shall mean the proceeds received by Lessor, after deducting (i)
                                                     all costs and expenses incurred in connection with !he recovery, repair, storage, and sale of the Vehicles, including any and all
                                                     attorneys' fees and legal expenses, (ii) all late charges and al! interest accrued at the Default Rate (as hereinafter defined), and
                                                     {iii) all rent puymcnts and other obligations of Lessee due and unpaid under the Lease as of the date of the sale or disposition.
                                                     As to each Vehicle, if the Net Proceeds received by Lessor Lessor from the sale or other disposition of such Equipment aficr
                                                     expir-.ttion of the Initial Term are less than the TRAC Residual amount for such Equipment as set forth in the Summary of
                                                     Lease Terms, then Lessee shall immediately pay to Lessor the amount of such deficiency as additional Rent hereunder. Jf the
                                                     Net Proceeds are in excess of the TRACResidual amount, then 100% of such excess shall be returned to Lessee as a reduction
                                                     in the Rent for such Equipment, provided, however, that Lessor shall be entitled to retain all or any portion of such amount to
                                                     satisfy any of Lessee's obligations under the Lease

                                                      Lessee hereby certifies, under penalty of perjury, that
                                           (i)   Lessee intends that more than 50% of the use of the Equipment subject to this TRAC is to be used in a trndc or busimoss of the
                                                    Lessee,
                                           (ii) Lessee has been advised by tax counsel or other tax advisor, and
                                           (iii) Lessee understands and agrees that, Lessee will not be treated as the owner of the Equipment identified above for federal income
                                                    tax purposes.

                                           B.          $1.00 Buyout. Lessee hereby unconditionally agrees to purchase all, but not less than all, of the Equipment for $1.00 upon
                                                     expiration of the Initial Term of the Lease. Lessee and Lessor agree that Lessee is owner of the Equipment and shall file and
                                                     pay all license, registration fees, and documentary, sale and use taxes, and personal property taxes and all other taxes, fees and
                                                     charges relating to the ownership, leasing, rental, sale, purchase, possession or use of the Equipmcnl

                                             With respect to any option upon expiration of the Initial Tenn of the Lease set forth herein, if written notice of Lessee's intention to
                                             exercise such elected option is not received on a timely basis, then such failure shall constitute Wl Event of' Default, and to the extent
                                             that the Lessee fails to return to Lessor the Equipment in accordance with Section 7 hereof, Lessee agrees to pay a daily rental fee
                                             equal to 150% of the daily Rent for each day that the Equipment is retained by Lessee; provided. however, such payments shall not
                                             extend Lessee's right to have and use the Equipment.beyond the Initial Term of the Lease as provided herein. Upon exercise of' the
                                             option elected by L.essee and payment in full by Lessee of any related purchase amounts and all Rent, Le.<sor will exet.:utc and deliver
                                             Lo Lessee the title to the Vehicles, and any other documentation necessary to transfer title to Lessee. THIS SALE WILL BE
                                             WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHETHER EXPRGSS OR IMPLIED JN
                                             FACT OR LAW and. Lessee will accept the Vehicles" AS IS" and "WHERE IS".

                                   5. TAX INDEMNIFICATION. Except to the extent Section 4B is applicable upon expiration at the Initial Term, it is understood and
                    agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to such tax benefits that are available as owner of the Equipment through
                    depreciation of the total capitalized cost of the Equipment thereof for federal income tax purposes. In the event that Lessor suffers any loss,
                    disallowanec, unavailability, or recapture of such depreciation for any reason whatsoever, then, after written notice thereof by Lessor to Lessee, Lessee
                    shal I pay to Lessor an additional incremental amoµnt payable on each date that the Basic Rent is thereafter due, which in the opinion of Lessor, will
                    cause Lessor's net after-tax annual cash flow and net after-tax rate of return respectively, that would have been available if Lessor had been entitled to
                    full utilization of the depreciation. In the event that any payment is required to be made pursuant to this Section 5, and such payment is to be made on
                    succeeding rent payment dates, but at such lime this Lease shall have been terminated or Rent otherwise no longer shall be due and payable on the
                    remaining rent payment dates, Lessee shall promptly pay Lessor any an10unt equal to the incremental increase in Basic Rent which would have been
                    required if such tax loss had occurred immediately prior to the last rental payment date on or prior to the expiration or other termination ()f the Lease.
                    Lessor shall promptly notify Lessee of the commenccmt.'lll of any proceeding by the Internal Revenue Service in respect of' any item as lo which
                    indemnity is sought hereunder. Lessee's agreement to pay any sum.~ which may become payable pursuant to this Section 5 shall survive !he expiration
                    or other termination of this Lease
                                   6. USE OF VEIDCLES. Lessee shall use the Vehicles only in its business and in compliance with all laws, rules, and regulations of any
                    jurisdiction where the Vehicles arc used or located. Lessee represents and warrants to Lessor at all times that {i) Lessee has the right and ability Lo enter
                    into this Lease; {ii) this Leuse constitutes a valid, legal., and binding obligation and agreement of Lessee, enforceable against Lessee in accordance with
                    its terms; and (iii) that the entering into and pcrfonnnncc of this Lease by Lessee will not result in a breach, violation, or default under any judgment,
                    order, law, regulation, loan, mortgage, agreement, indenture, or other instrument applicable to Lessee, or result in any breach of, or constitute a default
                    under, or result in the creation of any lien, charge, security interest, or other encumbrance upon the Vehicles pursuant to any instrument to which Lessee
                    is a party or by which it is bound. Lessee shall (i) use and operate the Vehicles in a careful and prudent manner for the purposes and in the manner
                    intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protcc!lld from damage; and (iii) shall pay for all maintenance of Vehicles
                    to keep them in good and efficient working order and condition during the Term of the Lease, including, but is not limited to, Lessee's supplying all
                    fuel, lubricants, and other parts, supplies, maintenance and services, and/or Lessee, upon Lessor's request, entering into a service and maintenance
                    agreement with Lessor or an affiliate of Lessor upon such terms and conditions provided by Lessor. After notice to Lessor, Lessee may, at its own
                    expense, make alterations or add attachments to the Vehicles, provided that such alterations or attachments are removable and do not reduce the value,
                    utility or useful life of the Vehicles. Upon the expiration or tennination of the Lease, all alterations or attachments affixed to the Vehicles shall become
                    the property of Lessor if not removed, and if Lessee does remove such attachments, Lessee shall be liable to Lessofor auy damage to the Vehicles as Lhc
                    result of such removal. In the event that any federal, state, or local Jaw, ordinance, rule or regulation shall require the installation of any additional
                    accessories to any of the Vehicles, including. but not limited to, anti-pollution and/or safety devices, or in the event that any other modifications to the
                    Vehicles shall be required by virtue of such.law, onlinancc, rule or regulation, then and in any of such events. l.essee shall pay the full cost thereof.
                    including installation expenses. Lessor may, at its option, arrange for the installation of such Vehicles or the performance of such modifications, and
                    Lessee agrees to pay the full cost thereof immediately upon receipt of an invoice for the same
                                   7. SURRENDER. Upon either the (i) failure by Lessee to exercise any purchase option for any Vehicle set forth herein, or (ii) upon
                    demand by Lessor made pursuant to an Event of Default (as set forth in Section 19 hereof), Lessee shall, at its own eKpense, return such Vehicle to

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Lessor to such location within the continental United States as Lessor shall designate, in the same condition as when delivered, reasonable wear and tear
excepted and otherwise in the condition required by this Lease Upon return of the Vehicles, Lessor, or such entity designated by Lessor, shall perfonn a
physical and mechanical inspection of the Vehicles. Lessee shall be responsible for !he payment of any and all costs associated with the inspection, am!
for any and all repairs necessary to place the Vehicles in the same condition as when delivered, reasonable wear and tear excepted and otherwise in the
condition roquired by this Lease
               8. PAlNTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia, provided that,
 upon the expiration or termination of this Lease, and in the event that Lessee does not purchase the Vehicles pursuant to Section 4.B hereof, Lessee
shall, upon the request of Lessor and at Lessees expense, restore the Vehicles to original condition, ordinary wear and tear excepted
               9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HAVE MADE, ANY EXPRESS OR IMPLIED WARRANTY AS TO MERCHANTABILITY, FITNESS FOltA.NY PURPOSE OR USE,
DESIGN OR CONDIT!ON OF VEHICLES, QUALITY OF MATERIAL OR WORKMANSHIP, OR AS TO ANY OTHER MAHER WI !ATSOEVER
RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
PUNITIVE DAMAGES ARISING OUT OF THE USE OR INABiLITYTO USE THE VEHICLES, OR ANY INADEQUACY, DEFICIENCY, OR
DEFECT rN THE VEHICLES. LESSEE AGREES THAT LESSEE LEASES THE VEHICLES "AS JS~. Lessor agrees, lo the extent possible and
without increasing its liability herounder, and upon request. to a~sign to Lessee, any warranty or a manufacturer or seller relating lo the Vehicles
available to Lessor, provided, however, that the foregoing rights shall automatically revert to Lessor upon the occurrence Wld during the continuance of
any Event of Dcfaull hereunder, or upon rclurn of the Vehicles lo Lessor. Lessee agrees to settle all claims with respect to the Vehicles directly with the
manufacturers thereof, and to give Lessor prompt notice of any such settlement and the details of such settlement
               10. TITLE AND INSPECTION. Lessee, at its expense, shall protect and defend Lessor's title and keep it free of all claims and liens
except those claims and liens created by Lessor in connection with any assignment or financing by Lessor. Lessor may inspect the Vehicles al any time
without prior notice during regular business hours. If, at any time during the Term of this Lease, Lessor supplies Lessee with labels, plates or other
markings stating that the Vehicles are owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles
               11. LICENSES. Lessee shall at its expense obtain all necessary licenses(including motor Vehicle plates) and registrations, required for the
use and operation of each Vehicle. All certificates ofti!le or registration of each Vehicle shall name Lessor as the owner thereof
               12. rNTERJ<:STS IN VEHICLES. Lessee's rights with respect to this Lease and any Vehicles leased hereunder will be subject to any
rights and interest in and to said Vehicles which may be granted by Lessor (or Lessor's affiliates) to any assignee or lender of Lcssur (or Lessor's
affiliates). Lessor may assign to a lender or any other assignee all or any part of Lessor's rights hereunder, including a security interest in the Vehicles
and the right to receive rents and other sums due hereunder. Upon notice of such assignment in writing by a lender, assignee and/or Lessor, Lessee shall
pay all rents and other sums due or to become due under this Lea~e directly to such lender or assignee without set off, counterclaim, or any defense
whatsoever.
               13. TAXES. Lessee shall pay all personal property, sales or use taxes, business licenses, RSsessments, penalties, and charges which may be
levied or asserted with respect to the Vehicles (except income taxes levied on lease payments to Lessor). In the event that MY such taxes, licenses,
assessments, penalties, or charges are paid by Lessor, Lessee shall reimburse and pay Lessor immcdialcly allcr Lessor notilie~ Lessee in writing of the
amount of such taxes, licenses, assessments, penalties, charges or expenses paid by Lessor, as well as an administrative fee. Increases or decreases in
sales or use tax rates will affect all lease payments after the effective date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
harmless from and against any loss, cost or expense arising out ofor relating toany such tax, import or levy, including, without limitation, any penalties,
interest and fines relating thereta
               14. FINES. Lessee shall pay all fines due to overload, overlength, overweight, lack of plates or permits, speeding and any other charges
which may be imposed or assessed in respect lo the Vehicles and/or Lessee's use thereof The provisions of this Section 14 shall survive the expiration
or other termination of this Lease
               15. LOSS 01~ DAMAGE. Lessee shall bear the entire risk of loss, theft, destruction of or damage to any Vehicle from any cause
whatsoever ("Loss or Damage"). Lessee shall promptly notify Lessor in writing of any Loss or Damage. No Loss or Damage to any V chicles sh al I
relieve Lessee of any obligation withrespect to such Vehicle under this Lease. In the event of Loss or Damage, Lessee shall. at the option of Lessor: (a)
put such Vehicle in good condition and repair in accordance with the manufacturer's recommendations, and to the reasonable satisfaction of Lessor, at
Lessee's expense; (b) replace such Vehicle with a like Vehicle (same value, utility and useful life as damaged Vehicle) in good condition and repair as
approved by Lessor in Lessor's sole discretion wilh clear title thereto vested in Lessor; or (c) pay Lessor on or before the next rent payment date as sel
forth in accordance with Section 3 hereof (such payment dale, the "Loss Payment Date") in cash the sum of. (i) all amounts then due Lessor by Lessee
under the Lease relating to such Vehicle, which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
of the TRAC Residual, if any, relating to such Vehicle (as set forth in the Summary of Lease Terms), discounted at 5.0% computed from the expiration
of the Initial Term of the Lease to the Loss Payment Date, plus (iii) an amount equal to the present value of the unpaid future remaining Rent.~ for the
Initial Tem1 of the Lease, relating to such Vehicle discounted at 5.0% computed from the scheduled payment dates for such Rents to the Loss Payment
Date (the "Casualty Value Amounf'). Upon receipt of the Casualty Value Amount set forth in (c) above, Lessor shall assign to Lessee (or Lessee's
insurer) Lessor's interest in such Vehicle in its then condition and location, "AS IS" without any warranty whatsoever, express or implied. If Lessee is
required to repair any Vehicle in accordance with (a) above, or to replace any Vehicle in accordance wilh (b) above, the insurance proceeds actually
received by Lessor, if any, pursuant to Section 16 hereof shall be first applied to pay any umounts then due under this Agreement, and then shall be paid
to Lessee upon proof satisfactory to Lessor that such repairs have been completed as required hereir(in the case of (a)), or of adequate purchase and title
documents in Lessor's sole discretion (in the case of (b)). ln !he event that Lessee is obligated to pay to Lessor the amount specified in (c) above, Lessee
shall be entitled to a credit against such amount equal to the amount of insurance proceeds actually received by Lessor, if any, pursuant to Section l 6
hereof, on account of such Vehicle.
               16. rNSURANCE. Lessee shall obtain and maintain insurance on or with respect to each Vehicle at its own expense and in the amounts
and forms satisfactory to Lessor. In no event shall any insurance coverage be less than the following: (a) physical damage insurance insuring against
loss or damage to the Vehicles in an amount not less than the full replacement value of such Vehicle; and (b)(i) in all States except Florida: (I) not
greater than $500 deductible for collision, fire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injury liability and property
damage; or(b)(ii) for the State ofFlorida: (!) notgreaterthan $500 deductible fur collision, fire, theft, and comprehensive, and (2) $250,000 per person
f $500,000 per incident bodily injury liability, and (3) $100,000 property damage liability. In addition, the following require $1,000,000 excess liability
coverage (umbrella): (a) truck/tractors over 45,000 lbs.; (b) trailers/semi-trailers; tow trncks; and (c) limo uses for livery. Lessee shall furnish Lessor
with a certificate of insurance evidencing issuance of such insurance to Lessee in at least the minimum amount roquired herein, naming Lessor and such
other parties designated by Lessor as additional insured thereunder for liability coverage, and as loss payee for property damage coverage. Each policy
shall require insurer to give Lessor30 days prior written notice of any material alteration in tcrmsofpolicy or cancenation thereof, and shall provide that
no action, misrepresentation or breach of warranty of Lessee shall invalidate the policy. If Lessee fails to provide such insurance, Lessor shall have the
right. but no duty, to obtain such insurance, and Lessee shall pay .Lessor all costs !hereof; i~cl~ding all costs incurred by Lessor in obtaining. sue~
insurance together with interest at the Default· Rate from the date paid by Lessor lo the date paid m full by Lessee. Lessee shall not use any Vehicle 1f
the insurance required herein is not in full force and effect with respect to such Vehicle. Upon Loss or Damage as set forth in Section 15 hereof, Lessee
                                                                         Page3 of6




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                 shall receive credit for any amounts paid lo Lessor by !he insurer against Lessees obligations hereunder.
                                17. INDEMNITY. Lessee shall indemnify Lessor against, and hold Lessor harmless from, any and all claims, actions. damages,
                 obligations, liabilities, liens {including any arising or imposed under the doctrines or strict liability in tort or product liability), and costs and expenses
                 (including au.omeys fees), arising from or out of the manufacture, purchase, lease, possession, operation, condition, return, or use of the Vehicles, or by
                 operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
                 upon written notice by Lessor of assertion of any such claim, action, damage, obligation, liability, or lien, Lessee, at Lessee's expense shall assume full
                 responsibility for the defense thereof, provided thllt Lessor shall have the right, but not the obligation, 10 participate in any defense conducted by Lessee
                 without relieving Lessee of any of its obligations hereunder The provisions of !his Section 17 shall survive termination of !his Lease
                                18. ASSIGNMENT. Except as otherwise pcnnitllld herein, without Lessofs prior written consent, Lessee shall notassign, transfer, pledge,
                 hypothecate or otherwise dispose of this Lease, the Vehicles or any interest therein, or sublet or lend the Vehicles, or permit the Vehicles to be used by
                 anyone except Lessee or Lcssoos authorized employees Lessor may assign this Lease or any interest therein in whole or part without notice to Lessee
                                19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of !he following events or conditions which shall
                 constitute ~Events of Default": (a) Lessee fails to pay wiy Rent or other amount when due; (b) Lessee fails to observe, keep or perform any other
                 covenant or provision of this Lease required to be observed, kept, or perfonned, by Lessee; (c) Lessee removes, sdls, transfers, encumbers, creates a
                 security int.crest in, relinquishes possession of the Vehicles, or performs any act which impairs Lessor's title to any Vehicle or allempts any or the
                 foregoing; (d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lease; (e) Lei:see fails to satisfy any traffic
                 ticket or summons or fails to register any Vehicle; (f) Lessee becomes insolvent, bankrupt or has a trustee or receiver appointed for Lessee or for a
                 substantial part of Lessee's property; (g) Lessee experiences a material change in its business or affairs (including termination of Lessee's employment
                 or termination of the contract under which Lessee provides services or a change in the control or ownership of Lessee or Lessee's employer or the party
                 wilh which Lessee contracts to provide services) which in Lessor's sole judgment impairs the security of any Vehicle or increases the credit risk
                 involved therein; (h) Lessee attempts to assign this Lease without the consent of Lessor; or (i) Lessee fails to notify Lessor of any material change in its
                 business and affairs, including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
                 Inc. and its successors and assigns, the true and lawful at10mcy-in-fact of Lessee, with full power in the name of Lessee upon the occurrence of an Event
                 of Default, (i) to demand and receive any and all moneys and claims for moneys due in respect of or relating 10 the Equipment, (ii) to assign or lransfer
                 any of Lessee's rights under this Lease or in the Equipment (including assigning the rights of Lessee to any replacement lessee hereunder andfor causing
                 any other person to become the registered owner of the Equipment) and (iii) to take any other action·in respect of this Lease or any oflhe Equipment.
                 Lessee ratifies and approves all acts of Bush Truck Leasing, Inc., as attorney-in-fact. Bush Truck Leasing, Inc., as attomcy-in-faet will not be liable for
                 nny acts or omissions or errors of judgment or mistake of fact or law. This power, being coupled with an interest, is irrevocable until all obligations
                 under this Lease have been fully satisfied
                                20. REMEDIES. Upon the occurrence of any Event of Default, Lessor may declare this Lease to be in default, and at any time thereafter,
                 Lessor, at its option, may do any one or more of the following (a) cancel this Lease; (b) proceed by appropriate action to enforce perfom1ance of the
                 Lease at Lessee's expense or to recover dwnages (including attorneys fees) for the breach !hereof; (c) demand that Lessee, and in such case the Lessee
                 shall, return all or any part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereof; (d) enter, with or without legal
                 process, Lessee's premises or wiy other premises whcrc the Vchicles are located, and take possession of all or any part of the Vehicles without any
                 liability to Lessee by reason of such entry; (e) sell, lease, or otherwise dispose of all or any part of the Vchiclcs al a public or private sale, which may be
                 conducted where such Vehicles are then located; [l) demand that Lessee, and in such case Lessee shall, pay to Lessor as liquidated damages for loss of' a
                 bargain and not as a penalty an amount equal to the sum of (i) all amounts due and unpaid under the Lease (including without limitation any indemnity
                 obligations) plus interest thereon from the due date thereof at a per annum interest rate equal to the prime rate of interest then in effect as published in
                 the Wall Street Journal plus2.0% [the "Default Rate"), plus (ii) !he present value ohll future Rent payments for such Vehiclcs,discounu:d al 5.0%, plus
                 (iii) the present value of the TRAC Residual, if any, discounted at 5.0%, plus (iv) all costs and expenses incurred by Lessor in enforcing Lessor's rights
                 hereunder (including, without limitatio11, all costs of repossession, recovery, storage, repair, sale, re-lease, and attorneys' fees}, together with interest
                 thereon at the Default Rate from the date of demand to the date of payment in full (the "Liquidated Damages"), or (g) exercise any other right or remedy
                 which may be available to Lessor under the Unifonn Commercial Code or any other applicable law The proceeds of any sale or lease of the Vehicles by
                 Lessor shall be applied in the following order of priority (I) to pay all of Lessor's expenses in taking, holding, preparing for sale or lease, and disposing
                 of the Vehicles, including all attorneys fees and legal expenses, then (2) to pay any late charges and all interest accrued at !he Default Rate; then (3) to
                 pay accrued but unpaid Rent payments, then (4) to pay any other unpaid sums due under this Lease including Liquidated Damages. If the proceeds of
                 any sale or lease are not sufficient to pay !he an1ounts owed to Lessor under this Lease, Lessee will pay the deficiency. Lessor may also, without
                 liability, take any personal property stored within the Vehicles and may store any such property at Lessee's expense for 30 days. Lessee will be
                 obligated to reclaim such property within 30 days and hereby waives any rights in such property thereafter. Any unclaimed property will be deemed
                 abandoned after 30 days and will be discarded by Lessor. Lessor's remedies hereunder shall be cumulative. Any security deposit paid by Lessee lo
                 Lessor in connection with this Lease shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied lo Lessee's
                 obligations under this Lease pursuwit to this Section 20. Lessor's remedies hereunder may be exercised instead of or in addition to any other legal or
                 equitable remedies. Lessor has the right to set off any sums received from any source (including in.<urance proceeds) against Lessee's obligations under
                 this Lease. Lessee waives its right lo object to the notice of the time or place of sale or lease, and to the manner and place of a11y advertising therefore.
                 Lessee waives wiy defense based on sLatutcs of limitations or !aches in actions for damages. In case of failure by Lessee lo pay any foes, assessments,
                 charges, or taxes arising with respect to !he Vehicles, Lessor shall have the right, but no! the obligation to pay such amounts, and in that event, the cost
                 thereof shall be payable by Lessee 10 Lessor upon demand, together wilh interest at the Default Rate from the date of disbursement by Lessor
                                21. SECURITY DEPOSIT. The Security Deposit shall be held by Lessor during the entire Term of the Lease, including the Interim Tenn
                 wid any renewal term, as security for the full payment and perfom1ance of the terms, conditions and obligations ofl..essee hereunder and under any and
                 all Schedules. The Security Deposit shall not excuse the perfonnance at the time and in the manner prescribed or any obligation of Lessee or cure a
                 default of Lessee. Lessor may, but shall not be required to, apply such Security Deposit towards discharge of any overdue obligation of Lessee. Lessor
                 shall be entitled to commingle the Security Deposit with any of its own funds. No Interest shall accrue on the Security Deposit and Lessor sh al I have no
                 liability to account to Lessee for any interest If Lessor shall apply any of the Security Deposit towards any obligations ofLesscrundcr !ho Le1L~e. Lessee
                 shall, upon demand, pay to Lessor an amount necessary to return the Securiry Deposit to the sum specified above. In funhcrancc thereof, Lessee hereby
                 grants 10 Lessor a security interest in the cash comprising the Security Deposit from time to time and wiy and all interest thereon, together with the
                 proceeds thereof, to secure the prompt payment as and when due of all indebtedness, and the prompt performance as and when due of all ohl igations, of
                 Lessee now or hereafter required under the Lease. lfno Default has then occurred, upon the expiration or earlier termination of the Term of the Lease,
                 the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee
                                22. SEVERABIUTY. The invalidation of any provision or provisions of this Lease as unenforceable shall not operate to invalidate the
                 remainder of the Lease which shall remain in full force and effect
                                23. NOTICES. All notices relating to this Lease shall be delivered in pcrson to an officer of Lessor or Lessee or mailed to the respective
                 addresses shown above on the first page of this Lease, or to such address as otherwise specified in writing by the appropriate party hereto
                                24. W AIYER. Lessor's forbearance of exercise of any right or remedy on Lessee's breach of any terms, covenants or conditions hereunder
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shall not be deemed n waiver of such right or remedy, the requirement of punctual performance, or any of its remedies upon any other or subsequent
breach or default                                                                                                  ·
              25. GOVERNING LAW. This Lease takes effect upon its acceptance and execution by Lessor, and shall be governed, interpreted and
construed under the laws of the State of Ohio. Ohio law shall prevail in the event of any eon fl ict of law without regard to, and without giving effect to,
the application of choice oflaw rules LESSEE WAIVES ALL RIGHTS TO TRIAL BY JURYIN ANY LITIGATION ARISING FROM OR RELATED
TO THIS LEASE, AND LESSEE SUBMITS TO THE JURISDICTION OF THE FEDERAL DISTRlCT COURT FOR THE SOUTHERN DISTRICT
OF OH10, OR ANY ST ATE COURT OF COMPETENT JURISDICTION WITHIN MONTGOMERY COUNTY, OHJO, AND WAIVES ANY RIGHT
TO ASSERT THAT ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE
TRANSFERRED TO A MORE CONVENIENT FORUM
              26.       WAIVER OF DAMAGES. Lessee waives to the fullest extentpennitted by law any right to or claim of any punitive, exemplary,
indirect, special, consequential, or incidental damages against Lessor. Lessee agrees that, in the event of a dispute, claim or controversy against Lessor.
Lessee shall be limited to the recovery of actual direct damages sustained by it, subjecl to any limit>n direct damages set forth in this Lease. Lessee will
not accept or attempt to collect through the courts or otherwise any punitive, exemplary, indirect, consequential, or incidental damages from J .essor
              27. SUCCESSORS AND ASSIGNS. This Lease shall be binding on and inure to the benefit of Lessor and Lessee and their respective
successors and assigns permitted hereunder.
              28, FORCE MAJEURE. The obligations of Lessor hereunder shall be suspended to the extent that it is hindered or prevented from
complying therewith because of labor disturbances, acts of God, fires, storms, accidents, failure of the manufacturer to deliver any of the Vehicles, coun
order, governmental regulations, or other interference or any cause whatsoever not within the sole control of Lessor

                                                           JSIGNATURE PAGES FOLLOWJ




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                                                                                                                Vice President
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'EQUIPMENT ACCEPTANCE                                                                                                                         .
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purpo1l~ir of this·Lease as br this cf~. ln !lie event that !he. Equ.ipmeJjt is ncrJ;. ~tfv.~ in)g accepted within thirty'(:~O) days ofL~sse.i;'s ~'>ignlng•.Qftjtis
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                                                                                                                           Mason, OH 45040


•                        TRUCK LEASING, INC.                                                                               800-766-2874
                                                                                                                           www.bushtrucks.com
                                                                          LEASE AGREEMENT
                             Contract Date:                                                                 Lease ID No.                      DN135989

                                                                                    LESS.EE                                                          '   ::           ·.
                                                                                                                                                                                   ..
Individual Legal Name (if applicable):
Company Legal Name (if applicable):     Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA    Zip: 91950
    ..              ·   ..        .. ·                                           EQUiPMENJ              .                                                       .                       ·.



Vehicle Year                                      I Vehicle Make                         IVehicle Model                                      I Vehicle Identification Number
                                                                                                                                                                          .,
2013                                              I Volvo                                 iVNL670                                            14V4NC9TG6DN13€J!ll9~; . .·'

            Refer to Schedule 1 oft/1/s LeaseAgreementfor Equlpme11t details in the event thtd no Equipment i11formatio11 appears above
                   -· . -·- .            ·-        .                                        -----   -                              .

                                                                     SU-MMARYOF LEASE TERMS.. ..                  •   :   ••   d       -                                   ..·     ·.·· .
Commencement nitial Term Rental Periods [Ni Toi:al f Down                                    Advance        Basic Rent                     Doc Fee       Security           End of Term
Date & 1st Basic                          um ero Payment+                                       or           (without                                    Deposit              Option
                                         Payments Taxes at
   Rent Date                                                                                  Arrears         Taxes)
                                                     Closing
    /;>... I. ;;i. .. J"$"
                   36    MONTHLY                                     36       $1,500,00       Arrears       $2,047.43                      $400.00            $0.00              TRAC
     1-1·"),~JJ. MONTHLY

H Option Upon Expiration of Initial Term of Lease is TRAC under Section 4A herein, the "TRAC Residual" shall be $261 150.00

         1HIS LEASE AGREEMENT ("Lease") is hereby entered into as of the Contract Date above by and between BUSH TH.lJCK LEASlNG, 11"'4C.
         ("Lessor"), and LESSEE referenced above.

                       1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipmcnl described herein, together
         wilh all replacements, repairs and additions thereto (individually and collectively, lhe "Vehicles") on the tenns and conditions set forth in this Lease,
         Lessee agrees that Lessee leases the Vehicles "as~is". and confirms that as of the dale of delivery of each Vehicle, such Vehicle is of the design and
         manufacture selected by Lessee. and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
         has selected the Vehicles on the basis of its ownjudgmcnt, and L-xpressly disclaims reliance upon any statements, representations, or warranties mude by
         U:ssor. and Lessee acknowledges that Lessor is not the mw1ufacturer of the Vehicles. Lessee certifies that the Vehicles identified herein will be used for
         commercial purposes.
                       2. INITIAL TERM. The term of this Lease for each Vehicle shall commence on the Contract Date and shall continue for that number of
         months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month, in which case the
         Contract Date shall be the date on which the term of this Lease commences) ("Com1ncnccmcnt Date") each as set furth in the Summary of Lease Terms
         (such period as extended or sooner tenninated by Lessor as provided herein. the ''Term").
                       3. R.l!;NT. The rental payment amount for each Vehicle hereunder (the "Basic Rent'') is set forth in the Summary of Lease Terms. Bnsic
         Rent on each Vehicle shall begin to accrue on the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
         in advance or arrears for the periods (each a "Rental Period") and for the total number of payments as set forth in the Summruy of Lease Terms, in each
         case, on the first day of each such Rental Period. Tfthc Contract Date does not fall on the first day of the month, the rental for that period of time from
         the Contract Date until the Comn1cnccmcnt Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
         One Biweekly and 30 days for One Month Rental Periods, as applicable). multiplied by the number of days ftom (and including) the Contract Date to
         (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
         Rent Lessee is obligated lo pay hereunder (the "Supplemental Rent" and together with Basic Rent, the ''Rent") when due or if no date is specified
         herein, on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of lOo/o of
         the late rental payment amount, and the maximum amount permitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
         OF ALL OTHER OBLIGATJONS ARE ABSOLUTE AND UNCONOITJONAL AND WITHOUT SET OFF, COUNTERCLAJM, OR ANY DEFENSE
         WllA:fSOEVER, JNCLUDING, BUT NITT LIMITED TO, ANY RJGHT OR CLAJM TI!AT LESSEE MAY NOW OR HEREAFTER HAVE AGAINST
         LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR, OR TI!E MANUFACfURER OF TI!E VEHICLES FOR ANY
         REASON WHATSOEVER, SPECIFICALLY INCLUDING. WITHOUT LIMITATJON, ANY CLAIMS THAI' LESSEE MAY HAVE AGAJNST
         LESSOR, ANY OF LESSOR'S AFFILIATES. OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
         AGREEMENT REFERENCED IN SECTION 7 HEREOF.
                       4, Ol'TION UPON EXPIRATION OF 11\'ITIAL TEH.M OF LEASE. Upon expiration of the Initial Term of the Lease, Lessee shall
         comply with the provisions of Clause A or B below, in either case, as specified in the Summary of Lease Terms.

                             A.          Terminal Rental Adjustment Clause ("'TRAC''). Lessee agrees that there shall be an adjustment of the Rent to be paid
                                          Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                                          "Estimated Fair Market Value") will equal the TiiAC Residual set forth in the Summmy of Lease Tcm1s, Upon



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                            expiration of the Initial Term. Lessor will anempt to sell the Equipment In the evenl 111111 the Ne! Procoeds. (as defined below)
                            are less thWl lhe Estimated Fair Market Value, Lessee shall pay to Lessor tl1c ft.Ill amount of such shortfalJ. Jf the Equipment
                            has not been sold on the last day of the Tnlllal Term, ll1en the Net Proceeds shall be deemed to be zero and Lessee sl1all
                            immediately pay to Lessor the TRAC Residual. If lhe Lessor thcreallcr shftll sell the Equipment, the Net Proceeds shall be
                            paid by Lessor to Lessee. Any sucl1 payment by either Lessee or Lessor shall be deemed to be a Terminal Rental Adjustment
                            with respect lo the Vehicles. As used herein. "Net Proceeds'' shall mean tl1e proceeds received by Lessor, after dWucting (i) all
                            costs and cxpeitses Incurred In connection wilh the recovery, repair, storage, and sale of the Vehicles, including any and all
                            attorneys' fees end legal expenses, (ii) all late charges and all interest accrued at the Default Rale (as 11ereinafter defined), and
                            (iii) all rent payments and other obligations of Lessee due and unpaid under the Lease BS of the date of the sale or dispositi()n,
                            As 10 each Vehicle, if the Net Proceeds received by Lessor Lessor frmn the sale or other disposition of such Equipment after
                            expiration of the lnitiaJ Term are Jess than die TRAC Residual amount for such Equipment as set forth in the Summmy of
                            Lease 'JMns, then Lessee shall immediately pay to Lessor the amount of such deficiency BS additional Rent hereunder. If the
                            Net Proceeds are in excess of the TRAC Residual amount, then 100% of such excess shall be retumed 1o Lessee as 11: reduction
                            in the Rent for such Equipment, provided, however. that Lessor shall be entitled to retain all or any portion of such amount to
                            satisfy any of Lessee's obJigations under the Lease.

                               Lessee llereby certifies, under penalty of perjury, that:
                  (I)   Lc:ssc.c Intends that more than 50% or tho use of the Equipment subject 10 this TRAC is to be used In a trade or busine11s of the
                            Lessee,
                  (ii) Lessee has been advised by tax counsel or olhcr tax advisor, nnd
                  (iii) Lessee undorsllmds and agrees 1h11l, Lessee will not be treated as lhe owner of the Equipment idcntincd above for fodcral income
                            tax purposes.

                  B.          SJ.00 Buyout. Lcssoc hereby uncondltionaJly agrees to p11rchWie nil, but not less than ell, of the Equipment for $1.00 upon
                            expiration of the Initial Tenn of the Lease. Lessee and Lessor agree that Lessee is owner oftlle Equipment and shall file and
                            pay all license. registration fees, and documentary. sale and use taxes, and personal property tmces 11nd all othci taxes, fees end
                            charges relating to th~ ownership. leasing, rental, sole. purchase, pOS8CSsion or use of the 'Eqnipment.

                    With respect to any option upon expiration of the lnltial Tunn of the Lease set forth herein. if wrilten notice of Lessee's intention to
                    exercise such elected oplion is not received on a timely basis, then such failure shall constitute an Eveot of Default, and to the exlenl
                    that the Lessee fails to return to Lessor the Equipment in accordance with Section 7 hereof, Lessee agrees to puy a daily rental fue
                    equal to J.50% of the dally Rent for each day I.hat lhc Equipment is retained by Lessee; provide~ 11owovor, such payments shall not
                    extend h:ssw'b 1ighl to have and use the 'Equipment beyond theinit.ial Teim of the Lease as pmvidcd hwein, U11w1 exeiciw of llur
                    option elected by Los see and payment In full by Lessee of any related purchase amounts and all Rent, Lessor will execute and deliver
                    to Lessee lhc title to the Vehicles, and any other documontatlon n~ssary to transfer title to Lessee, nns SALE WILL BE                                 ,.
                    WITHOUT ANY REPRESENTATION OR WARRANfY OF ANY KINO BY LESSOR, WHETIIBR EXPRESS OR IMPLIED IN                                                           "
                    FACTOR LAW Bild, Lessee will accept lhe Vehi~les"AS IS" and"WHBRB JS".

                S. TAX JNDEMNIFJCATJON. Except lo lhc extent Sc-Otion 48 Is applicable upon expiration at the lniti111 Turm, it is understood lllld
 agreed that Lessor is owner of the Equipment and that Lessor shall be entitled to such tax bcnefils that RJC available as owner of the Equipment through
 depreciation ol lhe total capitalized cost of the Equipment thereof for federal income tax puJPOScs. In the even1 th111 l..cssor suffers any loss,
 disallowancc. unnvailability, or recapture of such depreciation for any reason wl1atsoever, then, after written notice thereof by Lessor to Lessee. Lessee
 shall pay to Lessor an nddilional incremental amount payable on each date th el tlm Busic Rent is thcrcoficr due, which in the opinion of Lessor, will
 cause Lessor's ncl aftcr-tnx annual cash now and net aRcr-lax rate of return respectively, that would have been available if Lessor had been entitled to
 full utilization of the depreciation. Jn the event thet WlY payment is required to be made pursuant to this Section S, and such payment is to be made on
 succeeding rent payment dntes, but at such time this Lease shall J1avc been lcnnlnaled or Roni otherwise no longer sh8'1 be due Bild payable on the
 remaining rent payment dates, Lessee shall promplly pay Lessor ony amo11nt equal to the incremental increase in Basic Rent whicl1 would have been
 required if such tax loss had occurred immediately prior to the IBSt rental payment date on or prior lo the expiration or other termination of the Lease.
 Lessor shall promptly notify Lessee of the commencement of any proceeding by the Internal Revenue Service in respect of any Item as to which
 indemnity is sought herei:mder. l.esseo•s agreement to pay any sums which may become payable pursuant to this Section S shall survive tho expiration
 or other terminution of this Lease.
                6. USE OF VEmCLES. Lessee shall use the Vehicles only in Its business and in compliance with all laws, mies, and regulations of any
 jurlsdic1lon wJ1ere the Vehicles arc used or located. Lessee represents end warrants to Lessor at all times that (i) Lessee has the right and abUlty to enter
 into this Lease; (ii) this Lease constitutes a valid, legal, and binding obligation nnd agreement of Lessee, enforceable against Lessee In accordance with
 its tenus; and (Ill) that the entering into anti pcrfonnani:.:o of this Lease by Les.see will not result in a breach, violation, or defbult under any judgment,
 order, law, regulation, loan, mortgage, agreement, indenture. or other instrument applicable lo l..c!3ee, or result in any breach of. or oonstllule a default
 under, or result in die creation of any lien. chill'ge, security inlerest, or other encumbrance upon 1he Vehicles pursuant to any iilslrumcnt to which Lessee
 is a partY or by whioh it is bound. Lessee sbaU (I) use and operate the Vehicles in a careful and prudent manner for the purpO!lcs and in the manner
  Intended to be used; (ii) Shall keep the Vehicles properJy housed or olhenvise protected ftom dlUllagc; and (iii) shall pay for all maintenance of Vehicles
 to keep them in good and efficient worldng order nnd condition during the Term of the Lease, Including, but is not limited to, l.essee's supplying all fuel,
  lubricants, and othCJ" parts, supplies, maintenance and services, and/or Lossce, upon Lessor's request. entering into a service and maintenance agreement
 with Lessor or an affiliate of Lessor upon such temis and conditions provided by Leasor, After nolice to Lessor, Lessee may, at its own expense. make
  alleralions or add attachments to the Vehicles, provided that such alterations or attachments are removable and do not rtducc !he value, utility or useful
 life of the Vehicles. Upon the expiration or termination of lhc I...cuse, all alterations or auachments affixed to the Vehicles shall become lhe property of
  Lessor if not removed, and If Lessee does remove such al1achmcnts, Lessee shall be liable lo Le.ssor for any damage to the Vehicles as the resull Of such
 removal Jn the event that ony federal, state, or local Jaw, ordinance, rule or regulation shall require lhc Install al Ion of uny additional aCCC!sories to any
 of lhe Vehicles, including, but not limited to. anti-pollu1ion and/or safety devices, or in the event lhat nny other modificnlions lo the Vehicles shall be
 required by virtue of such law, ordinaneo, rule or regulation, lhen and In any of5uch events, Lessee shall pay the full cost thereo.( including installation
 expenses. Lossor may, at its oplion, arrange for tho installation of such Vehicles or the performance of such modifications, ond Lessee agrees to pay the
 full cost thereof immediately upon n:ccipt of an Invoice for the same.
                7. SURRENDER. Upon either the (i) fnilure by Lessee to eKereise ony purchlllle option for any Vehicle set forth herein, or (ii) upon
 denand by Lessor made pursuant lo an Ev<:nt of Default (es set furth in Section 19 hereof), Lessee shall, nt its own expense, relum such Vehicle to
 Lessor to such location within the continental United Slates as Lessor shall designate, in the same condition as when delivered, reasonable wcor .and tear
 excepted and oll1cnvisc in the eondilion required by this Lease. Upon return of the Vehicles, Lessor, or such entity designiUed by Lessor, shall perform 1

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                                                                                                                                                                    Exhibit A
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 physical and mechanical inspection of the Vehicles, Lessee shall be responsible for the payment of any and all costs assOciatcd with the lnspcclion, and
 for any and all repairs necessary to place the Vehicles in the same condition as when delivered, reasonable wear and !car excepted and olhmwisc in lhc
 condilkm required by this Lease.
              s. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or ldenllrying Insignia, provided that,
 upon 1he expiration or termination of this Lease, and in the event lhat Lessee docs not purchase the Vehicles purauant to Section 4.B hereof, Lessee shall,
 upon the request of Lessor and 111 Lessee's. expense, restore lhc Vehicles to original condition, ordinaiy wear and tear excepti:d.
              9. WARRANT ms. LESSEE ACKNOWLEDGES AND AGREES THAT LESSOR HAS NOT MADE, AND SHALL N<Yr BE DEEMED
 TO HAVE MADE, ANY EXPRESS Oil IMPLIBD WARRANTY AS TO MERCHANTABILITY, FITNESS FOil ANY PURPOSE OR USE, DESIGN
 OR CONDITION OF VEHICLES, QUALITY OF MATERIAL OR WORKMANSHIP, OR AS TO ANY OTHER MATIER WHATSOEVER
 RELJITING TO THE VEHICLES, AND LESSOR SHALL NOT BB LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
 PUNITJVE DAMAGES ARISING OUT OF THE USE OR INABILITY TO USE THE VEHIC!.ES, OR ANY INADEQUACY, DEFICIENCY, OR
 DBFECT 1N THE VEHICLES. l,F..SSBE AGREES IBAT LESSEE LEASES nm VEHICLES "AS IS". Lessor agrees, lo the extent possible and
 without increasing its liability hereunder, and upon request, to assign to Les.see, llll)' warranty of a manufacturer or seller relating lo the Vehicles
 available to Lessor, provided, however, that the foregoing rig111s shall uulomatlcally revert to Lessor upon the occurrence and during the continuance of
 any Event of Default hereunder, or upon return afthe Vehicles to Lessor. 1..essee agrees to settle all claims with respect to the Vehicles directly with the
 manufacturers thereof, and to give Lessor prompt notice of nny such settlement end the details of such seHletnent.
                 10. TITLE AND INSPECTION. Lessee., 111 its expense, shall protect and defend Lessor's tillc and keep ii ftee cf all claims and liens
 except those claims and liens oroated by Lessor in connection with any assignment or financing by Lessor. Lessor may inspecl the Vehicles al WlY time
 without prior notice during regular business hours. lf. at any time during the Term of lids Lease, Lessor supplies U:sscc with labels, platea Qr other
 markings stating that the Vehicles are owned by Lessor, Lessee shall affix and keep the same in a prominent place on the Vehicles.
                 11. LICENSES. Lessee shall at its expense obtain all necessary licenses (including motor Vehicle plates) and registrations, roquirod for tho
 use and opera lion of each Vehicle. All ccrCificates of title or registration of eacl1 Vehicle shall name Lessor as the owner thereof.
                 12. INTERFSTS IN VEHICLES. Lessee's rights with respect lo this Lease and 811)' Vehicles leased hereunder will be subject lo any
 rights and interest in and to said Vehicles wh.Jch may be granlcd by Lessor (or Lessor's affiliates) lo any assignee or tender of Lessor (or Lessor's
 affiliales}. Lessor may assign to a lender or any other assignee all or any part of Lessor's rights hereunder, including a seeurily lnlcresl in the Vehicles
 and lhe right lo receive rents Bild other sums due hcrcuntlc.r. Upon tiolti:c ufsuch assignment in writing by a lender, asslgmce and/or Lessor, Lessee shall
 pay all rents and othCJ sum_s due ur lo become due under lhls Lease directly lo such lender or 11Ssignee without set oft', counlerclaim, or any defense
 whatsocves.
                 13. TAXES. Lessee shall pay all personal property, sales or use laxes, business licenses, assessments, penalties, and chaiges which may be
 levied or asserted with respect to die Vehicles (e"eept inoome Wes levied on lease payments to l.essor). In the event lhat any such taxes, licenses,
 assessments, penalties, or charges ere paid by Lessor, Lessee 5hall reimburse and pay Lessor immediately after Lessor notifies Lessee in writing of Ute
 amount of such taxes, licenses, assessments, penalties, charges or expenses paid by Lessor, es well as an administrative fee. Increases or decreases in
 sales or use tnx rates will affect all lease payments after the effective date of the change by the taxing authority. Lessee shall indemnify and hold Lessor
 hennless from and against any Joss, cost or expense arising out of or relating to :any suoh tax, import or levy, including, without limllation, any penalties,
 interest and fines relating thereto.
                 14. FINES. Lessee sholl pay aJI fines due to overload, overlengfh, overweight, lack ofplutes or permits, speeding and any other chorges
 which may be imposed or assessed in respect to tho Vehicles nnd/or Lessee's use thereof. The provisions of this Section 14 shall survive the C"J>iratlon
 or other termination of this Leuse.
                 IS, LOSS OR DAMAGE. Lessee shall b~r the entiro risk of loss, theft. dcsb"Uction of or damage to MY Vchlo1c from any cause
 whatsoever (0 Loss or Damage"). Lessee shall promptly notify Lessor in writing of any Loss or Damage. No l..o.ss or Damage to any Vehicles shall
 relieve Lessee of any obligation with respect lo such Vehicle under this Lease. Tn the event of Loss or Damage, Lessee shall, 111 the option of Lessor: (a)
 put such Vehicle in good condition and repair In accordance with the manufacturer's recommendations, and to the reasonable satisfaction of Lessor, et
 Lessee's expense; (b) replace such Vehicle with a like Vehicle (same value, utility and useful life as damaged Vehicle) lo good condition and repair as
 approved by Lessor in Lessor's sole discrclion with clear title !hereto vested in Lessor; or (e) pay Lessor on or before the next rent payment dale as set
 forth in accordance wllh Scclion 3 hereof (such payment date, the 11.oss Payment Date") in cash the sum ot. (i) all amounts lbcn due Lessor by Lessee
 under the Lease relaling lo such Vehicle, which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
 of tho TRAC Residual, if any, relating to such Vehicle (as set forth in the Summecy of l..ease Terms). discounted at 5.0% computed from the ~piratlon
 of lhe Initial Tenn of the Lease to the Loss Payment Date, plus (iii) an amount equal to the present value of the unpaid future remaining Rents for the
 Initial Thnn of the Lease, relating to such Vehicle discounted al 5,0%1 computed ftom the scheduled payment dates fur such Rents to tho Lo!IS Payment
 Date (lhc "Casualty Vah1e Amount"). Upon receipt of the Camalty Value Amount set forth ln (c) above, Lessor shall assign to Lessee (or Lessee's
  insurer) Lt:ssor's interest in such Vehicle in its then condition and location, "AS IS" without any warranty whatsoever, expreas or implied. If l..essee is
 required to repair any Vehicle In accordance with (a) above. or to replace any Vehicle in accordance with (b) above. the insurance proceeds actually
 received by Lessor, if any, pursuant to Section 16 hereof shell be first applied lo pay any antounts then due under thisAgroomcnl, and then sh111l be paid
 to Lessee upon proofsatisfaelory to Lessor that such repairs have been CQmpleted as required herein (in the oase of (a)). or of adequate: purch_nso and title
 documents in Lessor's sole discretion (in the cuse of(b)), In the event that Lessee i:s: obligated to pay to Le3sor the amounl specified in (i;:) above, l..cllsee
 shall be entitled to a credit against such amounl equal to !he amount of insuronce Jlroeeeds actually received by Lessor, if any. purauanl to Section 16
 hereof, on account of such Vehicle.
                 16, INSURANCE, Lessee shall obtain and maintain insurance on or with respect to each Vehicle at ils own e"pense and in the amounts
 nnd fonns sotisfactory to Lessor, Jn no event shall any insurance coverage be less than 1hc following: (8) physical damage insumncc: insuring against
  loss or d111m11gc to the Vehicles in au amooot not less than the full replacement value of sU<:h Vehlcle; and (b)(i) in all States except Florida! {I) not
 greater lhan $500 deductible for collision, fire, theft, end comprehensive, and (2) S:S00,000 cotnbined single limit for bodily injury liability and property
 damage; or (b)(il) for the State of Florida: (1) not greeter than $500 dcduotlble for collision, fire, lhefl, and comprehensive, and (2) $250,000 per person
 f $1,000,000 per incident bodily Injury llablllty, and (3) $100,000 property damage liability. ln addition, the fol.lowing req11lro $1,000,000 excess
  liability coverage (umbrella): (a) truckllraclOrs over 45,000 lbs.; (b) lrailersfsemi-trailers; tow trucks; and (e) limo uses for livery. Lessee shall Iiunlsh
  Lessor with 111 certlticate of insurance evidencing Issuance of such Insurance to Lessee in al least the minimum amount required herein, naming Lessor
 and such olher parties designnled by Lessor as additional insured thereunder for liability coverage, and ns loss J:myec for p10perly damage coverage.
 Each policy shall require insurer to give 1..essor 30 days prior written notice of any material alteration In terms of policy or cancelJellon Ihereof, and shall
 provide that no action, misrepresentation or breach of warranly of Lessee shall invalidate lhc policy, If Lessee fuils to provide such insurance, Lessor
 shall have the right, but no duty, to obtain such insurance, and Lessee shall pay Lessor all costs thereof,. including all tosls incuned by Lessor in
 obtaining such Insurance togetlier with interest at the Default Rate from the date paid by Lessor to the date paid in full by Lessee, Less~ shall not use
  11ny Vehicle if the insurance required herein is not in full force and effect with respect to such Vchic;lc. Upon Loss or Damage as sci forth in Section 15
  hereof, l..csscc shull receive credit for any amollnts paid to Lessor by the insurer against Lessee's obligations hereunder.
                 17. INDEft-1NlTY. Lessee shall indemnify Lessor against. and hold Lessor harmless from, any and all claims, actions, damages,
 obligallons, llabilities, licns (including ony prising or imposed under the doctrines or strict liability in tort or product liability}, and costs and expenses
  (including attorneys fees), arising from or out of the manufacture, purchase, lease, possession, operalion, condition, re111rn, or use of the Vehicles, or by
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;;     operation of law, excluding however any of foregoing rcsulling solely from the gross negligence or willful misconduct of Lessor. Lessee agrees that
       upon wriltcn notice by Lessor of assel1ion of any such claim, action, damage, obllgation, liability, or lien, Lessee, at Lessee's expense shall assume full
       responsibility for the defense thereof. provided thot Lessor shall have the righl, bul not I.he obligation, to participate in any defense conducted by Lessee
       without relieving Lessee of any of its obligations hereunder. The provisions of this Section 17 shall survive termination oflhis Lease.
                                18. ASSIGNMENT. Except as otherwise permlned herein, without Lessor's prior w1itten consent, Lessee shall not ruisign, tr&n!lrer, pledge,
       hypothecate or otherwise dispose of this Lease, lhe Vehicles or any interest therein, or sublet or lend the Vehicles, or pennit the Vehicles to be used by
       anyone except Lessee or Lessee's authorized employees, Lessor moy assign thls Lease or 1my interest lhereiti In whole or port wilhout notlcci to Lessee.
                                19. DEFAULT. Lessee shall be in default of Ibis Lease upon t11e happening of any of the following events or condilions which shall
       constitute "Events of Default.. : (a) Lessee fails lo pay any Rent or other amount when due; (b) Lessee falls to observe, keep or perJbnn any other
       covenont or provision of this Lease required to be observed, kept, or performed, by Lessee; (c) Lessee removes, sells, tramifers, encumbers, creates a
       security interest in, relinquishes possession of the Vehicles, or perfonns any act which impairs Lessor's tillc to any Vehicle or Httcmpts any of the
       foregoing; (d) Lessee makes a misrepresentation to Lessor of any ma11er or covenant connected with !his Lease: (e) Lessee fails to satisfy any traffic
       licket or summons or foils lo register any Vehicle; {f) Lessee become.."I: insolvent, bankrupt or has a trustee or receiver appointed for Lessee or for 8
       subsluntiol pnrt of Lessee's property; (g) Lessee experiences a material change in its business or affairs (including lennlnation of Lessee's employment
       or termination oft he conlmct under which Lessee provides services or a chang-o in the control or ownership of Lessee or Lessee's employer or lhe party
       with wJ1ich Lessee contracts to provide sorviccs) wllich in Lessor's sole judgment impairs the security of any Vehicle or increases the credit risk
        involved therein; {h) Lessee attempts to assign this Lease without the consent of Lessor; or (i) Lessee fails to notify Lessor of any materiel change in ilS
       business and affairs, including a change in the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
        Inc. and its st1ccessors and assigns, die true and lawful attorney-in-fact ofLcssc:e, with full power In tile name of Lessee upon the occurrence of an Event
       of DefauU, (i) to demand and receive any and all moneys and claims for mone)'S due in respect of or rel aling to the Equipment, (ii) to assign or transfer
       any of Lessee's rights under this Lease or in the Equipment (including essigning the rights of Lessee to any replacement lessee hereunder and/or causing
       any other persoo to become the registered owner of the Equipment) and (iii) to take any other action in respect of this Lease m nny of lhc Equipment.
        Lessee ratifies and approves all acls of Bush Truck Leasing, lno., as attorney-in-fact. Bush Truck Leasing, lno., as attorney-in-fact will not be liable for
       any acls or omissions or errors of judgment or mistake of feet or law. This power, being coupled with an intere:it. b irrevocable until all obllsations
        under Ibis Lease have been fully satisfied.
                                20, REftfEDJES. Upon the occurrence of any Event ofDefaull, Lessor may declare Ibis Lease Lo be in default, and at any time thereafter,
       Lessor, at its option, may do any om: or more of the following: (a) cancel this Lease; (b) proceed by appropriate action to enforce performance of the
       Lease at Lessee's: expense or to recover damages (including anorneys fees) for the breach thereof; (c) demand that Lessee, and In such case the Lessee
       shall, return all or nny part of the Vehicles promptly in the manner required by and in accordance with Section 7 hereor, (d) enlcr, wkh or without legal
        process, 1...cssce's premises or any other premises where the Vehicles are located, and take possession of all or any part of the Vehicles without any
        liability to l.essee by reason of s11ch entry, (c) sell, lease, or othenvise dl9pose of all or w1y part of the Vehicles al a public or private sale. which may be
        conducted where such Vehicles are then located; (1) demand that Lessee, and in such case Lessee shall, P"Y to Lessor as liquidaled damitges for loss ofa
        bar in and not as a cnalt an nmounl-e ual tn lhe sum of 1 alJ amounts due: and un aid under tbe Lease inoludln without limitation an indemn·i
      -:o:i'<bl~ig='o1"'1o='ns°'")'°p1C:us:'1i='nto~re=s1=1Ci'.'h==o='nfr>'o'::m:Clh;fe~di'ue::"'i:do"=10'""1h'°oreo~f~at"=a"=p'=er°'an'=n=u"=m-fin":'to="..,'"-1C:'ra0f1o~o=q'=ua'fl=107.11":'10'=pnz·m='e"'ra51e~o5r"'1n"-'1e=':ro'Ost~th2on""'Ein=eiiilfe~eta,=s~puci'bii'l&hi'e'id'iin~- -- -- ----
        the Wall S1m:t Journal plus 2.0% (the "Dofaull Rate"). plus (_ii) the present value of all future Rent payments far s11ch Vehicles, dlscuunt._,d 111 5.0%, plus
        (Iii) the present value of the TRAC Residual. if any, discounted nt S.0%, plus (iv) all costs and expenses incurred by Lessor in enforcing Lessor's rights
        herc;iundcr {Including. wid10111 limitation, all co:ds of reposS<lsslon, rccovczy, storage, repair, sale, re·lcase, and attorneys' fees), together with interest
        thereon nt the Defoult Rate from the date of demand to the dote ofpoyment in fiJll {the "Liquidated Damages"), or (g) exercise QRY other tight or remedy
        which may be avnilable to Lessor under the Unifurm Commercial Code or any other epplicable law. The prooeeds of any sole or limse of the Vehicles by
        Lessor shall be applied in the following order of priority: (1) to pay all of Lessor's oxponscs in taking, holding, prepming for sale or lease, and disposing
        of the Vel1icles, including all attorney:; fees ttnd legal expenses, lhon (2) lo pay any late charges and all interest accrued at the Default Rate; then (3) to
        pay accrued but unpaid Rent payments, d1en (4) to pay any other unpaid sums: due under this Lease including Liquidated Damages. If tllc proceeds of
        any sale or lease are not sufficient to pay the amounls owed to Lessor under this Lease. Lessee wiU pay the deficiency. Lessor may elso, without
        liability, take any personal property stored within the Vehicles and may store any such property at l...c!scc's expense fur 30 days. Lessee will be
        obligated to reclaim such property within 30 days and hereby waives any rights in sucl1 property thereaf\er. Any unCloimcd property will be deemed
        abandoned after 30 days and will be discarded by les5or. Lessor's remedies: hereunder shall be cumulative. Any 5cCUrity deposit pnid by Lessee lo
        Lessor in connection with Ibis Lense shall be forfeited by Lessee upon the happening of any Event of Default, and shall be applied to Lessee's
        obllgalions under this Lease pursuant lo tllis Section 20. Lessor's remedies hereunder may be exercised instead of or in addilion to any other legal or
        equitable remedies, l.ellsor has the rlghl to set oil' any sums received from any source (including insurance proceeds) againsl Lessee's obllgetions under
        this Lease. Lessee waives its right to object to 1he notice of the time or place of sele or lease, and to the manner end place of any advertising therefore.
        Lessee waives any defense based on sttttutes of limitations or lachcs In actions for damages. In case of fallute by Lessee to pay any fees, asscssmcn1s.
        charges, or taxes arising with respect to the Vehicles, Lessor shall have die rigid, but not the ubligntlon lo pay such atnounts, and in that event, the cost
        thereof shall be payable by Lessee to Lessor upon demand, together with interest at the Dcfaull Rate from the date of disbursement by Lessor.
                                 21. SECUltl1'Y DEPOSJ1', The Security Deposit shall be held by Lessor during the entire Term of the Lease, including the Interim Tenn
        and any rene\wl tenn, as security for the full payment and pcrfonnance of the terms, conditions and obligations of Lessee here.wider end under any and
        all Schedules. The Security Deposit shall nol excuse the pcrfonnancc al the time and in the manner prescribed or wiy obligation of Lessee or cure a
        default of Lessee. Lessor may, but shall not be required lo, apply such Sccurlly Deposit towards discharge of any overdue obligation of Lessee, l..cssor
        shall be, enti1led to commingle the Security Deposit with any of Its own funds. No lnterest shall nccrue on the Security Deposit and Lossor shall have no
         liability to account to Lessee for any interest. If Lessor shall apply any of the Security Deposit towards any obliglrtions of Lessee under the Lease, Lessee
        shall, l1pon demand, pay to Lessor an amount netessnry to return the Security Deposit to the sum specified above. In furtherance thercOf, 1.essoo hereby
        grants to Lessor a security interest in the cash comprising the Security Deposit f\'om time to time and any and all interest thereon. together with the
        proceeds thereof, to secure .the prompt puyment as and when duo of all indebtedness, nnd the prompt perfonnance as und when due of all obligations. of
        Lessee now or hereafter required under the Lease. Tf no Default he.s then occurred, upon the expiration or earlier termination of the Term of the Lease,
        the balw1ce of the Security Deposit then held by Lessor shs11 promptly be paid lo Lc.ssee.
                                 22. SEVERABILITY. The invalidation of any provision or provisions of this Lease as unenforceable shall not operate to invalidate the
        remainder of the Lease which sholl remain in full force end effect.
                                 21. NOTICES. All nolices relating to this Lcnse shull be delivered in person to tul officer ofl.essor or Lessee or mailed lo !he respective
        Hddrcsscs shown above on the ftrsl page oflhis Lease, or to such address. as othernrlse specified in writing by ihc appropriate party hereto.
                                 24. WAIVER. Lessor's forbearance of exercise of any right or remedy on Lessee's breach of any terms, covenants er conditions hereunder
        shall not be deemed a waiver of such rigl1t or remedy, die requirement of punctual performance, or any of ilS remedies upon any other or subsequent
        breach or default.
                                 25. GOVERNING LAW. This Lease takes effect upon its acceptance and execution by l.essor, and shatl be governed, interpreted and
        construed under the laws of the State of Delaware. Delawai'e law sholl prevail in the event of any conflict of law without regard to. and wJlhout giving
        effect to, the nppliCHtion of choic~ of law rules. LESSEE WAIVES ALL RIGHTS TO TRIAL BY ruRY IN ANY LITIGATION ARJSJNG FROM OR
        RELATBD TO TillS LEASE, AND LE,SSBE SUBMITS TO THE JURISDICTION OF DELAWARE, AND WAIVES ANY RTGHT TO ASSERT THAT
                                                                                                                              Page 4 of6




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 ANY ACTION INSTITUTED BY LESSOR IN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE TRANSFERRED TO A MORE
 CONVENIENT FORUM.
               26.      WAIVER OF DAJ\fAGES. Lessee waives lo the fullest extent pennillcd by law any right to or claim of any punilivc; exemplmy,
 indirect, special, consequential, or incidental damages against Lessor. Lessee 11grocs that, In the event of a dispute, claim or controversy against Lessor,
 Lessee shall be limited to the recovery of aclual direcl damages sustained by it, .subject to any 1imil on direct damages set forth In this ~ase. Lessee will
 not accept or attempt to collect through the courts or otheJWlse any punitive, exemplary, indirect, consequential, or incidental damages from Lessor.
               27, SUCCESSORS AND ASSIGNS. This Leese shall be binding on and Inure to 1J1e benefit of Lessor and Lessee and their respective
 successors and assigns permitted hereunder.
               28. FORCE MAJEtm.E. The obligalions of Lessor hereunder shell be SU!ipcndcd lo lhe exlent that it is hindered or pn-vented         .      from
 complying therewith because of labor disturbances, acts of God, fires, storms, accidents, failure of lbe manufacrurer to deliver any of the Vehicles, court
 order, governmcnlal regulations, or other ioterferenc.c or any cause whatsoever 11ot within lhe sole control of Lessor.

                                                             [SIGNATURE PAGES FOLLOW)




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                                                  I   '




 IN "'ITNESS WIIEREOF, the parties hereto have entered inlo thJs Lease Agreement os of the date first above written.
                                                                                                                                                                          I.1·
                                                                                      LESSOR:            ii~ "ftuck Leasln& Inc.                                          'I

                                                                                      By:           ·:::s::-, ~                 422.~
                                                                                      Nome: Diana S. Cornette

                                                                                       Title: __,_li_c_e_._Pr_e_.s_i._d_•_·•_•t____




 EQUIPMENT ACCEPTANCE
 Lessee hereby confirms that lhe Eq11ipmcnt has been delivered, d1.dy asSL'fnblcd and in good working order end condition. Lcascc conf'ums that llfter a
 rc11sonoblc opportunity to inspect the EquiJ)lllem, it has solely selected, and unconditionally and irrevocably accepted the Equipment as~is, where· is for all
 purposes of this Lease ft! of this dale. ln the event that the Bqulpmenl Is not delivered and accepted within thirty (30) days of Lessee's signing of this
 Equipment Accep1w1ce, Less ire hereby outhorizcs Lessor to Increase the Paytncnts to reDcct any Lease rate increase appllcablo to the Lease.




 (X)Dnted:




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~'BUSH
                                                                                                                   6961 Cintas Blvd
                                                                                                                   Mason, OH 45040

~TRUCK                         LEASING, INC.                                                                       800-766-2874
                                                                                                                   www.bushtrucks.com
                                                                  LEASE AGREEMENT
                     Contract Date:            / J. ), D ·;J. ~    i')                                Lease ID No.        DN558092

                                                                  '•
                                                                            LESSEE·              .·
                                                                                                           .
                                                                                                                               '
                                                                                                                                   '     .·
                                                                                                                                                        ..
                                                                                                                                                             ..    . ..
                                                                                                                                                                   ·.·
Individual Legal Name (if applicable):
Company Legal Narne (if applicable):    Sonet Transportation and Logistics Inc.
Mailing Address: 22 W 35 Street Suite 205
City: National CityState:CA     Zip: 91950
                                                 .     .      .          EQUIPMENT                             .
                                                                                                                                              '
                                                                                                                                                                          .


Vehicle Year                             I Vehicle Make                          IVehicle Model                           J Vehicle    Identification Number
2013                                     I Volvo                                   jVNL670                                j 4V4NC9TG3DN5589J!~ ' { •.··
       Refe1· to Schetlu/e 1 ofthis LeaseAgreeme11tfor Equipme1tt details 111 the eve11t that no Equlpme11t ieformatio11 appears above
   -·--- -- -  -----         . - ------·-----
                          ''   "'
                                           SUMMARY OF LEASE TERIUIS-~-·--- .. ·- .··                                                                  ··---~----

                                                                                                                                                                   ....



Commencement nitial Term Rental Periods N To:I f Down   Advance Basic Rent Doc Fee                                                     Security        EndofTerm
Date & 1st Basic
                                                            um ero Payment+              or           (without                          Deposit          Option
   Rent Date                                               Payments Taxes at          Arrears          Taxes)
                                                                    Closing
 /2,·I' ;;i._- l"S     36              MONTHLY               36        $1,500.00      Arrears         $2,047.43        $400.00           $0.00               TRAC
 1-1 ·?.,-/y         MONTHLY

If Option Upon Expiration of Initial Term of Lease is TRAC under Section 4A hereiii, the "TRAC Residual" shall be $26,150.00

   TlllS LEASE AGREEMENT ("Lease") is hereby entered into as of the Contract Date above by and between BUSH                        Tl~UCK         LEASING, lNC.
   ("Lessor"'), and LESSEE referenced above,

                 1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
   with all replacements, repairs and additions thereto (individually and collectively, the "Vehicles") on the terms and conditions set forth in this Lease.
   Lessee agrees that Lessee leases the Vehicles "as-is", and confirms that as of the date of delivery of each Vehicle, such Vehicle is of the design .and
   manufacture selected by Lessee, and as of such date, Lessee bas unconditionally accepted such Vehicles in all respects. Lessee fii.rther confirms that it
   has selected the Vehicles on the basis of its ownjudgment. and expressly disclaims reliance upon any statements, representations, or warranties made by
   Lessor, and Lessee acknowledges that Lessor is not the manufacturer of the Vehicles. Lessee certifies that the Vehicles identified herein will be used for
   commercial purposes.
                 2. INITIAL TERM. 'The term of this Lease for each Vehicle shall commence on the Contract Date and shall continue for that number of
   months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month, in which case the
   Contract Date shall be the date on which the term of this Lease commences) ("Commencement Date") each as set forth in the Summary of Lease Tenns
   (such period as extended or sooner terminated by Lessor as provided herein, the ''Term"),
                 3. RENT. The rental payment amount for each Vehicle hereunder (the ''Basic Rent") is set forlh in the Summary of Lease Tcnns. Busic
   Rent on each Vehicle shall begin to accrue 011 the Contract Date and shall be due and payable in U.S. dollars in immediately available funds by Lessee
   in advance or arrears for the periods (each a "Rental Period") and for the total number of payments as set forth in the Summary of Lease Tcnns. in each
   case, on the :first day of each such Rental Period. lfthe Contract Date does not fall on the first day of the month. the rental for that period of time from
   the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
   One Biweekly and 30 days for One Month Rental Periods, as applicable). multiplied by die number of days from (and including) the Contract Date to
   (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
   Rent Lessee is obligated to pay hereunder (the "Supplemental Rent'' and together with Basic Rent. the "Renf1 when due or if no date is specified
   herein, on demand. If any Rent payment is not made within five (5) days after its due date, Lessee shall pay a late charge equal to the lesser of 10% of
   the late rental payment amount, and the maximum amount pennitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
   OF ALL OTHER OBLIGATIONS ARE ABSOLUTE AND UNCONDITIONAL AND WITHOUT SET OFF, COUNTERCLAlM, OR ANY DEFENSE
   WHATSOEVER, INCLUDING, BUT NOT LIMITED TO, ANY IUOllT OR CLAIM THAT LESSEE MAY NOW OR HEREAFTER HAVE AGAlNST
   LESSOR, ANY OF LESSOR'S AFFILIATES, ANY ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF TIIE VEHICLES FOR ANY
   REASON WHATSOEVER. SPECIFICALLY INCLUDING, WITHOUT LIMITATION, ANY CLAIMS TllAT LESSEE MAY HAYE AGAlNST
   LESSOR, ANY OF LESSOR'S AFFILIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
   AGREEMENT REFERENCED IN SECTION 7 HEREOF.
                 4. OPTION UPON EXPIRATION OF II\"TllAI. T~RM OF LEASE. Upon expiration ofthe Initial Term of the Lease, Lessee shall
   comply with the provisions of Clause Aor B below, in either case, as specified in lhe Summary ofLease Terms.

                     A.         Terminal Rental Adjushnent Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                                 Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipntcnt (the
                                 "Estimated Fair Market Value'') will equal the TRAC Residual set forth in the Summary of Lease Tcnns. Upon



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                                                                                                                                                                              Exhibit A
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                               expiration of the lnitie.I Term, Lessor will attempt to sell die Equipmcnl. In the evcnl that the Ncl Proceeds (as defmed below)
                               arc less than Ute Estimalcd Fair Market Value, Lessee sbull pay to Lessor the full amount or such shortfall. If the Equipment
                               has not been sold on the lest dny of the Initie.I Term. then the Net Proceeds shall be deemed to be zero and Lessee shall
                               immediately pay to Lessor the TRAC RcsiduaJ. If the LC$sor d1crcaftcr shnll sell the Equipment, lhe Net Proceeds shall be
                               paid by Lessor to Lessee. Ally such payment by either Lessee or Lessor shall be deemed to he a Tenninal Rental Adjustment
                               with respect to the Vehiclus. As used herein, '"Net Proceeds" shell mean the proceeds received by Lessor, after deducting: (i) all
                               eosls end expenses Incurred In connection with the recovery, repair. storage, and sale of the Vehicles, including any and all
                               attorneys' fees and legal expenses, (li) all late eharges and all in1erest Q~ed at the Default Rate (as hereinafter defined), and
                               (iii) all rent payments and olhcr obligations of Lessee due and unpaid under the Lease as of the date oft he sale or dispo!lilion.
                               AJ to ench Vehicle, If the Ne! Proceeds received by Lessor 1..cssoi from the sale or other disposllion of such Bquipmont after
                               expiration of the Jnltial Tunn arc loss l11an the TRAC Residual amount for such Equipment as set forth in the Summary of
                               Lease Terms, then Lessee shall Immediately pay lo Lessor the amount of such deficiency as addilionat Rent hel'C'undcr. lf1hc
                               Net Proceeds are in excess of the TRAC Residual amount, then I00% of such excess sh1tll be returned to Lessee as a reduction
                               in the Rent for such Equipment, provickld, however, that Lessor shell be entitled to retain all or any portion of such amount lo
                               satisfy anyofL&sscc1s obllgat:ions under the Lease.

                                Lessee hereby certifies, under penalty of perjury, that:
                     (i)   Lessee intends that more than 50% of the use of the Bquipmcnt subj eel to this TRAC is to be used in a trade or business of the
                               Lc,..c,
                      (ii) Lessee has been ndviscd by hue counsel or other tax advisor, and
                      (iii) Lcssee understands and agrees that, Lessee wlll not be treated as the owner of the Equipment identified above for ft:deral income
                               tnx purpOllcs,

                      B.         51.00 Buyout, Lessee hereby unconditionally agrees IO purchase a11. but nol ltlss thttn all, of the 'Equipment for $1.0D upon
                               expiration of the Initial Turm of the Lease, Lessee and Lessor agree that 1.essee ls owner of tho Bqulpmcnl and shall tile and
                               pay all license, registration fees, ond documentary, sale and use taxes, and personal property taxes and all other taxes, fees and
                               cl1arges relating to the ownership, leasing, rental, sal~ purchase, possession or use ofthe Equipment.

                  With respect to any option upon expiration of the Initial '1trm of the Lease set forth herein, if written noti1:e of Lessee's intention to
                  exercise such elected option ls not received on a timely basis, then such failure shall constitute an Event of Default, and to the extent
                  that the Lessee falls to return to Lessor the Equipment in accordance with Section 7 hereof. Lessee agrees to poy n doily rental fee


                                                                                                                                                                         I
                  equal lo 150% of lhc daily Rent for each day that the Equipment Is retained by Lessee; provided, however, such payments shall not
- - - - - - - - e n d l.esscL''s rig1ll-t0~d-use-the..Equlpml-00yead-Uw-Initia~mi--ef-tbe-l.oase·-&11~~"emisc-efitt&-------
                  option elected by Lessee and payment in full by Lessee of any related purchase amounts and all Ren(, Lc.ssor will execute and deliver
                  to Lessco the dllc to the Vohioks, and any other documcntalion necessary to transftr title lo Lessee, THJS SALB WILL BE
                  WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, Wlilll11ER EXPRESS OR lMPLlED IN                                              '
                  FACT OR LAW and, Lessee will accept tho Vehicles "AS IS'" and "WHER.E IS".                                                                 ~~

                   S. TAX INDEMNIFICATION, Except to the extent Section 4B is applicable upon cxplraflon Ill the 1nitlal 1Cnn, it is undcntood and
    agreed Ihat Lessor is owner of the Bquipment and that Lessor .shall be entitled to such tllX benefits that arc avail able. as owner of the Equipment through
    depreciation of the total capitalized cosl of the Equipment thereof for federal income tax purposes. In the event that Lessor suffers any loss,
    disallowanec, unavai1abllity, or recapture of such depreciation for any reason wl1atsoever. then, after wrlllen notice. thereof by Lessor to Lessee, Lessee
    shnll pay to Lessor an additional incremental amount payable on each date that the Basic Rent is lhcreancr due, which in the opinion of Lessor, will
    cause Lessor's net after-tax annual cash now and net after-tax rate of retlltn respectively, that would have been available If Lessor had been e·ntl11ed to
    full utilization or lhe depreciation. In the event that any payment Is required to be made pursuant to this Section s, and such payment is to be made on
    succeeding rent payment dates, but at such time this Uluse shall have been renninated or Rent otherwise no longer shall be due and payable on the
    rematning rent payment dales, Lessee shell promplly pay Lessor any amount equal to the incremental Increase In Basic Rent which would have beon
    req~dred if suoh laK Joss had occurred immediately prior to lhe IBSt rental payment date on or prior to die expiration or other termination of the Lease.
    Lessor shall promptly notify Lessee of the commencement of any proceeding by the Internal Revenue Service Jn respect of any item BS 10 which
    indemnity is sought hereunder. Lessee's agreement to pay any sum!l which may become payable pursuant to this Section 5 shnll survive the expiration
    or other termination oflhls Lease.
                   6. USE OF VEWCLES, Lessee. shall use tho Vehicles only in its business and In compliance wilh ell laws, rules, BDd regulations of any
    jurisdiction where the Vehicles arc used or located, Lessee represents and warnmts to Lessor at all times that (i) Lessee has the right and abHity to enter
    Into this Lcpse; (ii) this Lease constitutes a valid, legal, and binding obligation and agreement of Lessee, enforceable egainst Lessee in accordance with
    its terms; and (iii) that the entering inlo Md performance of this Lease by Lessee will not result In a breach, violation, or default under any judgment,
    order, law. regulation, loan, mortgage, agreement, h1dcnturc. or other instrument 11pplicable lo Lessee, or result in uny breach of. or constitute a default
    under, or result in the creation of any lien, charge. security Interest. or other encumbrance upon the Vehicles pursuant to any inslrumcnt to which Lessee
    is a party or by wJ1ich it Is bound. Lessee shall (i) use and operate the Vehicles in a careful and prudent manner for the purposes and in the manner
    intended to be used; (ii) shall keep the Vehicles properly housed or otherwise protected from damAgc; anti (Iii) shall pay fm all maintenance of Vehicles
    to keep them in good and efficient working order and condition during the Tenn of the Lease, including, but Is not limited lo, Lessee's supplying all fuel,
    lubricants, and other parts, supplies, maintenance end services, and/or Lessee, upon Lessor's request, entering into a service and maintenance agreement
    'vith Lessor or fin affiliate of Lessor upon such terms and conditions provided by Lessor. After nolice to Lessor, Lessee may, al its own expense, make
    altern.tions or ndd attachments to the Vehicles, provided thllt such alterations or altachmcnts are removable and do not reduce the value, utility or useful
    life or the Vehicles. Upon the expiration or tem1lnatlon of the Lease, all alleratlons or auachments affixed to lhe Vehicles sball become the property of
     Lessor ifnol re.moved, cmd if Lessee does remove such a«aclunenls, Lessee shall be liable to Lessor for any damage to the Vehicles as lhc result of such
    removal. In lhe event that any federal, state, or locQI law, mdinancc,. rule or regulation shall require lhe Jnstallalion of any additional accessories to any
    of the Vehicles, including, but not limited to, anti-pollution snd/or safety devices, or in the event that any other modifications to the Vehicles sball be
    required by virtue of such law, ordinance, rnle or regulolion. lhon ~din any of such events, Lessee shall pay the :full cost thereof, lm;:ludlng lnstallatlon
    cxpcrn;es. Lessor may, at its option, arrange for the install st ion of such Vehicles or the perfonnance ofsuoh modifications, and Lessee agrees to pay the
     full cost thereof immediotely upon receipt of M invoice for the same.
                   7. SURRENDER. Upon either tho (I) failure by Lessee lo exercise any purol1ase option for any Vehicle set forth herein, or (ii) upon
     demand by Lessor made pua:suant to an Event of Default (as set fonh in Seclion 19 hereof), J.essee sl1all, at its own expense, return suoh Vehicle lo
    Lessor to such locution within the continental Unilcd Stntes as Lessor sha11 designate, In lhc same comlitio11 as when delivered, re$0nable wear and tear
    excepted nnd otherwise in the condition required by this Lease. Upon return of the Vehicles, Lessor, or such entity deslgrmlcd by lmsor, shall perform a

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 physical and mechElllical inspection of the Vehicles. Lessee shall be, responsible for the payment of any end all costs associated with the inspection, end
 for w1y u11d all repairs ucccssary to place die Vehicles in the same condition as when deHvefcd, reasonable wear and tear exceptod and otherwise in tl1e
 condition required by Ibis Lease.
                8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner and affix advertising or identifying insignia. provided thal.
 upon lhe expiration or termination of this Lease, and in lhe event that Lessee does not purchase the Vehicles pursuant to Section 4.B hereof, Lessee shall,
 upon lhc request ofLessor BDd at Lossco's expense:. restore the Vehicles to original condition. ordinary wear and teer excepted.
                9. WARRANTIES. LESSEEACKNOWLEDCJES AND AO REES THAT LESSOR HAS NOT MADE, AND SHALL NOT BE DEEMED
 TO HAVE MADE, ANY EXPRESS OR IMPIJED WARRANTY AS TO MERCHANTABILITY, FITNESS FOR ANY PURPOSE OR USI!, DESIGN
 OR CONDITION OF VEHICLES, QUALITY OF MATERIAi, OR WORKMANSHIP, OR AS TO ANY OTHER MATTER WHATSOEVER
 RELATING TO THE VEHICLES, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT. CONSEQUENTIAL, INCIDENTAL, OR
                                                                                                                                                                         I
                                                                                                                                                                         !

 PUNITIVE DAMAGES ARISING Olff OF THE USB OR INABil.lTY TO USE THE VBHJCLBS, GR ANY INADEQUACY, DEFICIENCY, OR
 DEFECT JN THE VEIDCJ.ES. LESSEE AOREES THAT LESSEE LEASES 1llE VBHJCLBS "AS JS". Lessor agrees, lo lhc extent possible and
 without incmtSing its liability hereunder, and upon request, to nssign to Lessee,. WlY warranty of a manufaclurer or seller relating to the Vehicles
 available to Lessor, provided, however, lhat 1hu foregoing rights shell automatically revert to Lessor upon the occurrence and during lhc eon1inuan~ of
 any F.vent ofDefalill hereunder. or upon return of the Vehicles to Lessor. Lessee agrees to s1.1tle all claims with respect lo the Vehicles directly with the
 manufacturers thereof, and to give Lessor pr.ompt notice of any such settlement and the detulls of sucl1 settlement,
                10. TITLE AND INSPECTION. Lessee, at its expense, shall protect and defend Lessor's tide and keep it free of all claims and liens
 cxctipl those claims and liens created by IAssor in connection with any assignment or financing by Lessor. Lessor may inspect the Vehicles at any time
 without prior notice during regular business hours. If, at any time during the Term of this Leese. Lessor supplies Lessee with labels, plates or other
 markings slating that the Vehicles are owaed by Lessor. Lessee shall aftlx. and keep the same In a prominent place on 1ho V8hlclcs.
                11. LICENSES. Lessee shall at ils expense obtain all necessary licenses (including motor Vehicle plates) and registrations, required for the
 use and operation of each Vehicle. All certificates of title or registration of each VeJdele shall name Lessor as the owner thereof,
                 ll, INTERESTS IN VEffiCLES. Lessee's rights with respect to this Lease ond any Vehicles lcucd hereunder will be aubjcct to any
 righls und interest in and to said Velllcles which may be granted by Lessor (or Lessor's affillntcs) lo any BSsignee or lender of Lessor (or Lessor"s
 affiliates). Lessor may assign to a lender or any other assignee all or any part of Lessor's rights hereunder, Including a security interest in the Vehicles
 and the right to receive rents and other sums due hereunder. Upon notice of such aSllignment in writing by a lender, assignee and/or Lessor, Lessee shall
 pay all rents and other sums due or to become due under this Lease directly to such tender or assignee without set off, t;:Ounterclalm, or any defense
 w11atsocvcr.
                 13. TAXES. 1..cssee shall pay nll pcrsonel property, sales or use tuxes, business licenses, assessments, penalties, and charges which may be
  levied or asserted with respect to lhc Vehicles (except inc01nc laxes levied on lease payments lo Lessor). In the event that any such taxes, licenses,
 nssessmenls, penalties, or charges en: paid by Lessor, Lessee shell reimburse and pay Lessor immediately after Lessor not!Res Lcssi:c In writing or the
 amol.ITlt or such laxes, licenses, assessments, penalties, cl'arges or expenses paid by Lessor, as well as an administrative fee, lncrcnscs or decreases in
 sales or use lax rates will affect all limsc peymcnts after the clTcclivc date of the change by lhc ta>ting authority. Lessee shall indemnify and hold Lessor
  h~nless lfom and against any loss, oost or expense arising out of or relatmg to any Sl!Ch tax, Import or levy, includmg, w1ihoul llmhaimn, any penalties,
  interest and fines relating thereto.
                 14. FINES. Lessee shall pay all rmes due to overloadi ovcrlongth, overweight, lack of plates or permits, speeding and any other cl1argcs
 whloh may be Imposed or assessed In respec;i1 to the Vehlotes and/or Lessee's use theJeof. The ptovisions of Ibis Sec.I.ion 14 shall survive tho cxpirallon
  or other tcnnination of Uds Lease.
                 ts. LOSS OR DAMAGF... Lessee shall bear the entire risk of loss. theft. destruction of or damage to any Vehicle fi"om any cause
 whatsoever ("Loss or Damage"). Lessee shaU promptly notify Lessor in writing of any Loss or Damage. No Loss or Damage 10 any Vehicles shall
  relieve Lessee of any obligation wilh respec1 lo such Vehicle under this Lease, In the event of Loss or Damage. Lessee shall, at the option of Lessor: (a)
  put such Vehicle in good condition end repair in eC(:Ordan~ with the manufacturer's recommendations, and lo the reasonable satisfection of Lessor. at
  Lessee's expense; (b) replace such Vehio!e with a like Vehicle (same value. utility and useful life as damaged Vehlclc) in go:od condition and repeir es
  approved by Lessor in Lessor's sole discretion with olenr title thereto vested in Lessor;. or (o) pay Lessor on or before lhe next rent payment date as set
  forth in accordance with Section 3 hereof (such payment date, the "Loss Payment Date") in cash the sum or. (l) all amounts then due l..t!ssor by Lessee
  under the Lease relating lo sueh Vehicle, which amounts shall be proralcd through the Loss Payment Dale, plus (ii) an amount equal lo the prcacnt value
  of the TRAC Residual. if any, relating to sllCh Vehicle (as Set forth in tho Summary of Left!lc Thnns), discounted at S.0% computed from lhc expiration
  of tbc Initial T<mn of the Lease lo the Loss Payment Date, plus (iii) oo Bmount equal lo lhc present value of lhe unpaid fiiture rcm1:1ining Rents for the
  Jnitint Thrm of the lease, relating to such Vehicle discounted at S.0% computed from the scheduled payment dates for such Rents to the Loss PByment
  Date (the "Casualty Value Amount"). Upon receipt of the Casualty Value Amount set forth ht (c) above, Leasor shall assign to Lessee (or Lessee's
  insurer) Lessor's inte1cst in such Vehicle In its then condition end location, "AS IS" without any warranty whatsoever, express or implied. If Lessee. is
  required to repair any Vehicle in ncoorda1\cc with (a) above, or to replace ony Vehicle in aceordnnce with (b) above, tire insuraneci proceeds actually
  received by Lessor, if anys pursunnt to Section 16 hereof shall be firsl applied to pay any amounts then due under this Agreement, and then Jlmll be paltl
  to Lessee upon proofsatisl'actory to Lessor that such repairs have been completed as required herein (in the case of (a)), or of adequate purchase and title
  docum1mtit in Lessor's sole discretion (in lhe case of (b)). In Ille event lhat Lessee Is obligated to pay to Lessor the amount specified in (c) above, Lessee
  sholl be entitled to a credit against such amount equal 10 the amount of insurance proceeds actually received by Lessor, if any1 pursuant to Section 16
  hereof, on account of such Vehicle.
                 16. INSURANCE. Lessee shall obtain and maintain inmrance on or with respect to each Vehicle al Its: own cxpcnso and in the amounts
   and fonns satisfactory to Laism. 1n no event shall any insurance coverage be Jess than lhe following; (a) physical d11magc insurance i11Suring a~inst
   loss or damage to the Vchh:lcs In un amount not less than the full replacement value of!\1ch Vehicle; and (b)(i) in all States eJCcept Florida: (J) not
  greater lhan $500 deductible for collision, Oro, theft, and comprehensive, a1td (2) $500,000 combined single limit for bodily il\lury llabiJlty and property
   damage; or (b)(ii) for the State of Florida: (1) not grcate1 then $500 deductible for collision, fire, theft, and comprehensive, and (2) $250,000 per porson
  I $1,000,000 per incident bodily injury liability, end (3) $100,000 property damage liability. ht addition. the following require $1,000,000 excess
   liability ooverage (umbrella): (a) truclt/tractors over 45,000 lbs.; (b) trailers/semi-trailers; tow trucks; and (c) limo uses for livery. Lessee shall Jlimish
   Lessor with a certificate of insurance evidencing issuance of such insurance to Lessee In at least tl1e minimum amount re.quired herein, naming Lessor
   and such other parties designated by Lessor as additional insured lhereunder for liability coverage, and as loss payee fOJ property demage coverage,
   Each policy slmll require Insurer to give Lessor 30 days prior written notice of any material alteration in terms of policy or concellatioo thereof. and shall
   provide thnt no action, misrepresentation or breach ofwarranly of Lessee shall invalidate the policy. If Lessee fails lo provide such insurance. Wsor
  sho.11 have lhe righ1, but no duty, to obtain such insurance. and Lessee shall pay Leasor all costs thereof, including oil costs incurred by Lessor in
   obtnining such insurnnce together with interest at the Dofault Rate ftom the date paid by Lessor lo the date pnid In full by Lessee. Le.ssco shnll not~
   nny Vehicle if the insurance required herein is not In fi.111 force Md effect with respect to suob Vehicle. Upon Loss or Damage as set forth in Section 15
   hereof, Lessee shell receive credit for any amounts peid to I.essor by the insurer against Lessee1s obligations hereunder.
                  17. INDEMNITV. Lessee shall indemnity Lessor agninst, and hold Lessor hannless from, any and ell claims, actions, damages,
   obligations, liabilities, liens (including any arising or imposed under the doctrines or strict liability in tort or producl liability}, and costs and expenses
   (including attorneys fees). arising from or out of the manufacture, purchase, lease, po!IS~ion, operation, condition. return, or use of the Vehicles, or by
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 operation of law, excluding however any of foregoing resulting solely from the gross negligence or willful misconduct of Lesoor. Lessee agrees lhat
 upon written notice by Lessor of assertion of any such claim, action, damage, obligation, liability, or lien, l.essee, al Lessee's expense shall assume full
 rcspomdbility for the defense then:of, provided dtat Lessor shall have the right, but not 1he obligation, to participate in any defense conducted by Lessee
 without relieving Lessee of any of its obligations hereunder. The provisions of this Section 17 shall suryivc tcnnh)ation of this Lease.
                   18. ASSIGNMENT. Except as otherwise permitted herein, withoul Lessor's prior written consent. Lessee sha11 not assign, lramfer, pledge,
 hypolhecnte or olherwise dispose of this Lease. the Vehicles or any interest therein, or sublet or lend the Vehicles~ or pcnnil the Vehicles to be used by
 anyone except Lessee or Lessee's authorized employees. Lessor may assign this Lease or any interegt thcroin in whole or part without notice lo Lessee.
                   19, DEFAULT. Lessee shall be In dcfaull of this Lease upon lhe happening of any of the following events or conditions which 11holl
 constitute "Events of Default": (a) Lessee fails to pay any Rcnl or other amount when due; (b) Lessee fails to observe, ktcp or perfonn any other
 oovcnanl or provision of this Lease required to be observed, kept, ot pci'fonncd, by Lessee; (c) Lessee removes. se1ls, transfers, encumbers, creates a
 llecurity interest In, relinquishes pDll:rossion of lhe Vchlolcs, or performs any act which impairs Lessor's title to any Vehicle 01 attempts any of the
 Jbrcgolng: (d) Lessee makes a misrepresentation to Lessor of any matter or covenant connected with this Lome.; (c) 1.cssce fails to :;atisfy 11.11y traffic
 ticket or summons or fails to rcgislcr any Vchiclc; (1) Lessee becomes insolvent. bankrupt or has a trustee or receiver appointed for Lessee or for a
 substantial part of Lessee's property; (g) Lessee experiences a material change in its business or affairs (including 1ennination of Lessee's em)>loyment
 or tcnnlnalion of the contract under which Lessee provides services or a change in the control or ownership of Lessee or Lessee's employer or the party
 with w11ich Lessee conlracls to provide sc.-vices) which in Lessor's sotc judgnient bnpairs the securily of any Vehicle or Increases the credit risk
 involved therein; (h) Lessee attempts to assign this Lease without the oonsent of Lessor; or (I) Lessee fails to notify Lessor of any malerlal change in Its
 businc.ss mul nffoirs, lnoludlng a change In the ownership or control of Lessee. Lessee hereby irrevocably appoints and constitutes Bush Truck Leasing,
 Inc. and its successors and assigns, the true and lawl\ll ettomey-ln-fact of Lessee, with full power in the name of Lw.;ee upon the occurrence of an Event
 of Default. (i) to demand and receive any and all moneys and claims for moneys due in respect of or relating to the Equipment, (ii) to assign or transfer
 any of Lessee's rights under this Lease or In 1he Equipment (Including uslgnlng the rights of Lessee to any replace.men1 lessee hereunder and/or causing
 any other person to become the registered owner of the Equipment) and (Iii) to take any other action in respect of thls Lease or any of the Equipment
 Lessee ratifies and approves all acts of B11sh Truck Leasing, Inc.• as attorney-in-fact Bush Truck Leasing, Inc., as attorney-in-fact will not be liable for
 any acts or omissions or errors of judgment or mistake of fact or law. This power, being coupled with an interest, is im:vocab1c Qntil all obligations
 under this Lease have been fully satisfied.
                   20, REMEDIES. Upon lhe occurrence of any Event of Default, Lessor m11y declare this Lenso l<l be in default, and at any time thereafter,
 Lessor. at its option, may do nny one or more of the following: (a) cancel this Leese; (b) proceed by appr<Jpriatc action to enforce perfonnance of the
 tense tit Lessee's expense or to recover damages (including attomt)'S fees) for the breech thereof; (c) demand that Lessee. and in such case the Lessee
 shall, return all or MY part of the Vehicles promptly in the mnnncr required by and in accordance with Section 7 hereof: (d) enter, with or witho11t legal
 process, Lessee's premises or 81\Y other premises where lhe Vehicles ere located, end take possession of all or nny part of the Vehicles without any
 liability to Lessee by reason of such entry; (e) sell, lease, or otherwise dispose of ell or any part of the Vehicles al a public or private sale, which may be
  condueled where such Vehicles arc lhcn located; (f) demand that Lessee, and in such case Lessee shall, pay to Lessor as liquidated damages for loss ofa
  bargain and not as a penalty .iin amount equal to the sum of (i) all ammmts duo and unpaid under the Lease (inoluding wiU1out limitation any indemnity
  Dbhgeilons) plus mtcrest lhcroon Uom lhc due 08ic therooi al a per annum interest mlc equal lo Irie pnme inlc ol 1ntcrcst then m Cllcct as pubbshCd in
  lhc Well Streel Journal plus 2,0°/o (the ''Dcfaull Rate..), plus (ii) the present value of all future Rent payments for such Vehicles, discounted at S.0%, plus
  (iii) the present value of the 'l'RAC Residual. if any, discounted at S.0%, plus (iv) all costs and expenses incurTed by LeHor in enforcing Lessor's rights
  hereunder (including. wi11lout limhation. all costs of repossession, rccovery, storage, repair, sale, re-lease, and attorneys' fees), togelbel wllh interest
  thereon al the Defa111t Ralc fium lhe date of demand to the date of payment in full (lhe ..Llquida1cd Dmnages"). or (g) exercise any other right or remedy
  which may be 1w1dlable IQ Lessor under the Unironn Commercial Code or any other appliettble law. The proceeds of any sale or lease of tlle Vehicles by
  Lessor shall be applied In the tbllowlng order of priority: (1) to pay ell of Lessor's expenses in taking, holding, preparing tor sale Dr lease. and disposing
  of !he Vehicles, including all auomcys fees and legal expenses, then (2) to pay any late charges 11.nd all interest accrued at the Default Rate; then (3) to
  pay accrued but unpaid Rent payments, then (4) to pay MY olher 1mpaid sums due under this Lease including LJquidatcd Damages. lflbc proceeds of
  any sale or lease ere not suffielen1 to pay the amounts owed to Lessor under this l.ellse, Lossee wUJ pay the deficiency. Lessor may also. wllhout
  liability, take any pemonal properly stored within lhc Vehicles and may store any such property at Lcs.sce's expcose for 30 days. Lessee will be
  obligated to reclaim such property within 30 days attd hereby waives any rights in such property lhercafier, Any unclaimed property will be deemed
  abandoned after 30 days and wlll be discarded by Lessor. Lessor't remedies hereunder sha11 be cumulative, Any security deposit paid by l..CS!ee 10
  1.ossor in connection with this Lease shaH be forfeited by Lessee upon the happening of any Event of Defilult,. and sl1all be applied to Lessee's
  obligations under this Leese pursuant to this Section 20. Lessor's remedies hereunder n1ay be exercised instead of or in addition to any other legal or
  equitable remedies. Lessor has 1hc right to set off any sums received from any source (incl11ding insurance proceeds} against Lessee's obligations under
  this 1.eose. Lessee waives its right to object to the notice of the time or place of sale or lease, end to the mBnner and place of any advertising ibercfore.
  Lessee waives any defense based on stah1tes of limitalions or lachcs in actions for damogcs. b1 case of fuilurc by LcsS<:e to pay any fees, 11ssess1nents.
  charges, or taxes arising with respect to 1hc Vehicles, l.cBsor shell have 1he rl.g;11t, but not tho obligation to pay such amm1nts, end in that event, the cost
  thcrcofsha11 be payiible by Lessee to Lessor upon demand, together w1U1 lntercsl at the Default Rate from the dato of disbursement by Lessor.
                    21. SECURITY DEPOSIT, The Security Deposit shall be held by Lessor during the entire Term of the Lease, Including the Tnledm Tenn
  and any renewal tcnn, as security for the full payment and perfonnance of the terms, conditions and obligutions of Lessee hcrcm1dcr and under any end
  ell Schedules, Tl1c Security Dcposil shull riot excuse the performance at the time and In lhe manner pre.scribed or any obligation of Lessee or cure a
  default of Lessee. Lessor may~ b11t shall not he required to, apply such Security Deposit towards dischnrge of any overdue obligadon of Lessee. 1..cssor
  sl1all be 1.'lltitlcd to commingle the Security Depasit with any of ils own ftmds, No Interest sba11 accrne on the Security Deposit and Lessor shall have no
   liability to account to l.cs!it1' for eny interest, 1fl.e.s~or shall apply any ofthe SCCllrlty Deposit towards any obligations of Lessee under tho Lease, Lessee
  sl1all, upon demand, pay to Lessor an amount necessmy lo return the Security Deposit to the sum specified above. ln furtherance therco( Lessee hereby
  gr1mls to Lessor a security inteICst in die cash comprising the Security Deposit ftom time to time and any end all interest thereon. together with the
  proceeds thereof, to secure the prompt payment as and when due of all indebtedness. and die prompt peffonnance as and when due of all obllgatloos. of
  Lessee now or hereafter required under the Lease. Tf no Deftlult has then occurred, upon the expiration or earlier tenninotion of the Term of the Lease,
  the balance of the Security Deposit then held by Lessor shall promptly be paid to Lessee.
                    22. SEVERABILfi'Y, The invalidation of any provision or provisions of this Lease as unenforceable shell not operate to illVi!lidatc the
   remainder of1he Lease which shall remoin in full force and eft'ect.
                    23, NOTICES, All notices relating to this Lease shall be delivered in peison to an officer of Lessor or Lcssco or malled lo the respl'ctive
   addresses shown above on the flrsl page of this Lease, or to such address as othenvlse specified in writing by the appropriate party hereto.
                    24. WAIVER. Lessor's forbearance of exercise of ouy right or remedy on Lessee's bruach of uny tenns. covenants or conditions hereunder
  shall not be deemed a waiver of such right or remedy, tho requirement of punclual performance. or any of its remedies upon any othu or subseq11enl
   breach or default.
                    25, GOVERNING LAW. This Lease takes effeot upon its acceptance and execution by Lessor, and shall be sovemed, iilterpreted and
   construed under the laws of the State of Delaware. Delaware law shell prevail in the event of any conflict of law wilhout robrnrd to, and without giving
  effect to, the application of choice of law rules. LESSEE WAlVES ALL RIGHTS 1U TRIAL BY JURY JN ANY LITIGATION AIUSJNG FROM OR
   RELATED TO 1H1S LEASE, AND LESSEE SUBMJTS TO THE JURISDICTION OF DELAWARE. AND WAIVES ANY RlGIIT TO ASSERT '!HAT
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 ANY ACTION INSTJTUTED BY LESSOR IN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOUlD BB TRANSFERRED TO A MORE
 CONVENIENT FORUM.
               26.       WAIVER OF DAMAGES. Les.see weives to lhe fullest ex1enl pormittcd by law any right to or claim of any punitive, cxcmplmy,
 indirect, special, consequential, or incidental damages against Lessor. Lessee agrees that, in the event of a dispute, cleim or controversy asainst I..cssor,
 Lessee shall be limited to the recovery of e.ctual direct damages sustained by it, subject to nny limit on direct damages set forth in this Lease. Lessee will
 not accept or attempt to collecl through the courts or otherwise any punitive. exemplary, indirect, consequenllal, 01 lncidentel damages from Lessor.
               27.SUCCESSORS AND ASSIGNS, This Lease shaU be binding on and Inure 10 the benefit of Lessor and l.c!see and their respective
 successors and ~signs permllttd hereunder.
               28. FORCE AfAJEURE. The obligations of Lessor l1crc1,1nder shall be suspended to the extent that It is hindered or prevented from
 complying therewith because of labor disturl>anccs, acts otOod, fires, stonns. accidents, failure oftbe manufacturer to deliver any of the Vehicles, court
 order, governmental regulations, or other interference or any cause whatsoever not within the sole i;:ontrol of Lessor.

                                                             (SIGNATURE PAGES FOLLOW(




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 JN 'Vl'FNESS WHEREOF, the parties hereto have entered into this l..ensc Agreement as of the date first above written.

                                                                                    LESSOR:


                                                                                    By:

                                                                                    Name: Diima S. Cornette
                                                                                    Tiiie:, _ Vice
                                                                                              ___  President
                                                                                                    _ _ _ _ _ __




                                                                                                                   rtritlon and L0g1sbcs Inc.




 EQUIPMENT ACCEPTANCE
 l.easee hereby confirms that the Equipment has bcon ·delivered, duly assembled and in good working ordl.lr and condition. Lessee confirms that after a
 reasonable opportunity to inspect the Equipment, it has solely selected, and unconditionally and Irrevocably accepted lhc Equipment as-is, where-ls for all
 purposes of this Lease ns of this dftto. In the event th Rt the Equipment is not delivered and accepted within thirty (30) days Of Lessee's signing of this
 Equipment Acecptanco, Lessee hereby autborirtS l..e9sor to lnereuse the Payments lo reflect any Loose rate increase applicable to the Lease.




                                                                                     :~~oglstl"bc.
 (X)oated:        f - 3 tJ-/ !:>,....                                                u-         SIONATIJRE




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                                                                                                               6961 Cintas Blvd

~>_BUSH
~,             TRUCK LEASING, INC.
                                                                                                               Mason, OH 45040

                                                                                                               800-766-2874
                                                                                                               www.bushtrucks.com
                                                                     LEASE AGREEMENT
                    Contract Dote:                  /I   ·;Ao ·)_.,,I     5                           Lease ID No.          DN562453
                                                            .                 ·LESSEE            ..                                                ·..   --~:   ·_ :'   -
               -                                                                                                       ..



Individual Legal Name (if applicable):
Company Legal Name (if applicable):     Sonet Transportation and Logistics- Inc.
Mailing Address: 22 W 35 Street Suite 205
City:National CityState:CA      Zip: 91950
                                                                     .
                                                                           EQUIPMENT                               .                     .
Vehicle Year                                  I Vehicle Make                    I Vehicle Model                             Vehicle Identification Number
2013                                          I Volvo                                IVNL670                                4V4NC9TG7DN56tJ~~· .· .·•··
       Refer to Schedule 1 of tl1is Lease Agreement for Equipment details in the event tllat no Equipment information appears above
                        --   .    - ---                                                                                                      ...
                                                                801111.liiiAR'i' OF LEASE TERMS ·.·...                                                           .
                                                                                                                                                           --------~-

           .                                                                                                                            .
                    .
                                          .   -                                                                                                                             ..



Commencement            nitial Term Rental Periods IN• To:I f             Down         Advance        Basic Rent       Doc Fee        Security                  End of Term
Date & 1st Basic                                     um ero Payment+                                   (without                       Deposit
                                                                                         or                                       .                               Option
                                                    Payments Taxes at                                   Taxes)
  Rent Date                                                                            Arrears
                                                              Closing
 /J..·l·?.~1;;;   36    MONTHLY                                 36       $1,500.00     Arrears        $2,047.43        $400.00          $0.00                           TRAC
   /·1·:i_~11,. MONTHLY
HOption Upon Expiration of Initial Term of Lease is TRAC under Section 4A herein, the "TRAC Residual" shall be $26,150.00

   THIS LEASE AGREEMENT ("Lease") is hereby entered into as of the Contract Date above by and bet\vecn BUSH TRUCK LEASING, lNC.
   ('"'Lessor"), and LESSEE referenced above.

                 1. GRANT OF LEASE. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Equipment described herein, together
   with all replacements, repairs and additions thereto (individually and oolleclive1y, the "Vehicles") on the terms and conditions set forth in this Lease.
   Lessee agrees that Lessee leases the Vehicles "as-is", and confinns that as of the date of delivery of each Vehicle, such Vehicle is of the design and
   manufacture selected by Lessee, and as of such date, Lessee has unconditionally accepted such Vehicles in all respects. Lessee further confirms that it
   ha~ selected the Vehicles on the basis of its ownjudgmcnt,. and expressly disclaims reliance upon any statements. representations, or warranties made by
   l.essor, and L¢Ssee acknowledges thal Lessor is nol lhC manufact1.1rer of the Vehicles. Lessee certifies that the Vehicles identified herein will be used for
   commercial purposes.
                 2. INITIAL TERM. The term of this Lease for each Vehicle shall commence on the Contract Date and shall continue for that number of
   months from the first (1st) day of the month following the Contract Date (unless the Contract Date is the first (1st) day of the month. in which case the
   Contract Date shall be the date on which the term of this Lease commences) ("Commencen1ent Date") each as set forth in the Summary of Lease Tenns
   (such period as extended or sooner terminated by Lessor as provided herein, the "Tenn").
                 3. RENT. The rental payment amount for each Vehicle hereunder (the "Basic Rent") is set forth in the Summwy of Lease Terms, Basic
   Rent on each Vehicle shall begin to accrue on the Contract Dale and shall be due and payable in U.S. dollars in immedialely available funds by Lessee
   in advance or arrears for the periods (each a "Rental Period") and for the total number of payments as set forth in the Summary of Lease Tenns, in each
   case, on the first day of each such Rental Period. If the Contract Date does not fall on the first day of the month, the rental for that period of time from
   the Contract Date until the Commencement Date shall be an amount equal to the daily rental (Basic Rent divided by 7 days for One Week, 14 days for
   One Biweekly and 30 days for One Month Rental Periods, as applicitb1e). multiplied by the number of days from (w1d including) the Contract Date to
   (but not including) the Commencement Date and shall be due and payable on the Commencement Date. Lessee shall pay all amounts other than Basic
   Rent Lessee is obligated to pay hereunder (the "Supplemental Rent" and together with Basic Rent, the "Rent'') when due or if no date is specified
   herein, on demand. If any Rent payment is not made within five (5) days after its due date,. Lessee shall pay a late charge equal to the lesser of 10% of
   the late rental payment amount,. and the maximum amount pcnnitted by law. LESSEE'S PAYMENT OF RENT AND LESSEE'S PERFORMANCE
   OF ALL OTI!ER OBLIGATIONS ARE ABSOLUTE ANO UNCONDITIONAL AND WITHOUT SET OFF, COUNTERCLAIM, OR ANY DEFENSE
   WHATSOEVER, INCLUDING, BUT NOT LIMITED TO, ANY RIGHT OR CLAIM "JlIA:r LESSEE MAY NOW OR HEREAFTER HAVE AGAINST
   LESSOR, ANY OF LESSOR'S AFFTLIATES, ANY ASSIGNEE OF LESSOR, OR THE MANUFACTURER OF THE VEHICLES FOR ANY
   REASON WHATSOEVER, SPECIFICALLY INCLUDING, WITHOUT L!MlTATION, ANY CLAIMS THAT LESSEE MAY HAVE AGAINST
   LESSOR, ANY OF LESSOR"S AFFJLIATES, OR ANY ASSIGNEE OF LESSOR WITH RESPECT TO THE SERVICE AND MAINTENANCE
   AGREEMENT REFERENCED IN SECTION 7 HEREOF.
               4. OPTION UPON EXPmATION OF INITIAL TERM OF LEASE. Upon expiration of the Initial Term of the Lease, Lessee shall
   comply with the provisions of Clause A or B below, in either case, as specified in the Summary of Lease Terms.

                    A.           Terminal Rental Adjustment Clause ("TRAC"). Lessee agrees that there shall be an adjustment of the Rent to be paid
                                  Lessor under the Lease for the Vehicles. It is presently anticipated that the fair market value of the Equipment (the
                                  "Estimated Fair Market Value") will equal the TRAC Residual set forth in the Summary of Lease Tenus. Upon



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                                    expiration of the Initial Tenn, lessor will attempt to sell the Equipment Tn lhe event that the Net Proceeds (as dcfmed below)
                                    are less thnn the Estimated Fair Market Value, Lessee shall pay to Lessor the full amount of such shortfall. Tf the Equipment
                                    has not been sold on lhe last day of the lnilinl Thnn, then the Net Proceeds shall be deemed to be :r..cm and Lessee shall
                                    immediately pay to Lessor the TRAC Residual. If the Lessor thereafter shall sell the Equipment. lhe Net Proceeds shall be
                                    paid by lessor to Lessee. Ariy such pnymcnl by either Lessee or Le.!lsor sha11 be deemed to be a Terminal Rental Adjustment
                                    with respect to the Vehicles. As used herein, "Net Proceeds" shall mean the proceeds received by Lessor, after deducting (i) all
                                    costs and expenses incurred in connection wilh the reoovery. repair, stomge, and sale of die \o\:hlclcs, including any and all
                                    attorneys• fees and legal expenses, (ii) all late charges and all interest accrncd 111 lhc Default Rate (as hCJcinaftcr defined), end
                                    (ill) all rent payments and other obligations of Lessee due and unpaid under the Lease as of lhc date of the sale or dlsposillon.
                                    As to each Vehicle, If the Net Proceeds received by Lessor Lessor from the sale or other disposllion or such Equipment after
                                    expiration of the Initial Tem1 ere less lhan the TRAC Residual amount for such Equipment as sci forth in the Summary of
                                    Leese Terms, then Lessee shall immediately pay to Lessor the ammmt of such deficiency as addl1lom~I Rent hcn::under. If the
                                    Net Proceeds ere In excess of the TRAC Residual amount, then 10()(1/o of such excess shall be returned lo Lessee as a reduction
                                    In tile Rent for such Equipment, provided, however, that .Lessor shall be entilled to retain all or any portion of such amount to
                                    satisfy any ofLessee's obligations under the Lease,

                                      Lessee hereby certifies, under penalty ofporjury, that:
                           (I)   Lessee intends that more than 50% of the use of the Equipment subject to this TRAC i5 to be used in e trade or business of the
                                    Lessee,
                           {ii) Lessee has been advised by tax counsel or other tax advisor, nnd
                           (iii) Lessee understands end agrees 1hat, Lessee will not be treated as the owner of the Equipment idcntif1ed above for federal income
                                    tax purposes.

                           D.         $1.00 Bu)'out. l..cssec hereby unoonditionelly agrees to purchase all. but not less then all, of the I!quipmcnt for $1,00 upon
                                    expiration of lhc lnilial Term of the Lease. Le!;Sec and lcs5or agree that Lessee is owner oft he Equipment and shalt file end
                                    pay nll liccn5c, rcgislrallon fees, and documentaty, sale and use taxes, and personal property laxes and all other taxes, fees and
                                    charges relating to the ownership, leasing, rental. sale, purohB!le, possession or use ofthe Equipment.

                             With respect to any option upon expiration of the Initial Term of lhe Leare 5et furtJ1 herein, if wrinen notice of Lessee's intention to
                             exercise such elected option 15 not received on a timely basis, then such fililure shall constitute. an Event of DefBu1t, and to the extent
                             thnt the Lessee fails to return to Lessor the Equipment in accordance wilh Section 7 hereof, lessee agrees 10 pay a dally rental fee
                             equal to 1SO% of tho daily Rent for each day that lbe Equipment is re1ained by Lessee; provJded, however, such payments shall no1
                             exh:nd I:iessee's iighl lo have und use the Equipment beyond lhtrtn.itiul Te:im of die Lease as piovidcd lic1eiu. tJ)1m1 exe1eise ufd1e
                             option elected by Lessee and payment in full by Lessee of any nila1cd purehnse an1oun1s and all Rcil.t, Lessor will execute: and deliver
                             to Lessee 1he title to the Vehicles, and any other documentation necc.ssery lo transfer Ullc lo Lcssoo. THIS SALE WR..L BE
                             WITHOUT ANY REPRESENTATION OR WARRANTY OF ANY KIND BY LESSOR, WHETHBR EXPRESS OR lMPLIBD IN
                             FACT OR LAW and, Lessee will accept the Vehicles "AS JS'' and "WHERE IS".

                         !5. TAX INDEMNIFICATION, Exccpl to the eKtent Seotion 48 is o.pplh:ablc upon expiration at U1e lnldal Term. it Is understood and
         agreed ttiat Lessor is owner of the Equipment and that Lessor shall be cntitlDd to such 1ax benefits lhet are available as owner of the Equipment through
         depreciation of the total capitalized cost of the Equipment thereof for fi:derel Income tax purposes. In lhe event that Lessor suffers any Joss,
         disallowance. unavailability, or recapture of such depreciation for any reason what5oevcr, then, after written notice thereof by Lessor to Lessee, Lessee
         shall pay lo Lessor an additional incromcnt11T amount poyable on eBCh dote thot the Besii;: Rent is 1hereafter due, wl1ich in the opinion of Lc:ssor, wUI
         oause Lessor's net after-tax annual cash Dow end net after-tax rate of return rospcctively. that would have been availabh:: if Ussor had been entitled to
         fnll lltilization of the depreciation. In the event that any poymcnt is required to be mnde pursunnt 10 this Se<ltion 5, and such payment is to be made on
         succeeding rent payment dales, but at such time this Lease shall have bctn tc1mim1ted or Rent otherwise no longer shall be due and payable on the
         remaining rent payment dates, l.e55tc 5hall promptly PllY Lessor any amount equal to the incrcmentn1 Increase in Basic Rent which would hQVe been
         required if such tax loss had occurred immodiatcly prior to die last rentol payment date on or prior to the expiration or Qther lenninatlon of the Le:ase.
         Lessor shall promptly notify Lessee of lhe commencement of any proceeding by the lntemul Revenue Service in respect of any item as to which
          indemnity is sought hereunder. Lessee's 11greemcnt lo pay nny sums which may become payable pursuant to this Section s shell survive the expiration
         or other termination of this Lease.
                         6~ USE OF VEHICl.. ES. Lessee shell use the Vehicles only in its business and In compliance with all laws. rules. and reguletion5 of any
         juri5dlction where the Vehicles are used or located. Lessee represents and warrants lo Lessor al ell times that (I) "Les5ee has the right and ability IO enter
          into this Lease; (ii) Ibis Lease constitulcs a valid, legal, and binding obligation and agreement of Lessee, enforceable against Lessee Jn accordw1ce with
          its tem1s; and (iii) that the entering into and perf'onnance of this Lease by Lessee will not result In e breach, yJ()lation. or dofaidt under ony judgment,
         order, law. regulation, loan, mortgage, agreement, indenture. or other instrument applicable to Lessee, or result in any breaob of, or constitute a dcfa111t
         under, or cesult in the crea1ion of any lien~ charge, sceurily Interest, or olher encumbrance upon the Vehicles pursuant to any instrument to which Lessee
         is a party or by which it is bound. Lessee shall (I) use nnd operate the Vehicles in a carcflll and prudent manner for the purposes and in 1hc manner
          intended to be used; (ii) shall keep lhe Vehicles properly ho11sed or otheJWise protected from dwnage: nnd (iii) shall pay for all maintenance of Vehicles
         to keep them in good and efficient working order and condition during the Term of the Lease. including. but Is not Hmlled lo, Lessee's supplying all tuel,
         lubricants; and olber parts, supplies, maintenance and 11ervices, and/or Lessee, upon Lessor's request, entering into a service and maintenance agreement
         with Lessor or en efliJlate of Lessor upon such terms and condition5 provided by Lessor. After notice to Lessor. Le55ce may, et its own expense. make
          alterations oc add attachments lo the Vehicles, provided that such alterations or anachmcnts arc removable and do not reduce the value,. utility or 11seful
         life of the Vehicles, Upon the expiration or tenninatlon of the Leese, all alterations or attachments affixed to the Vehicles 5hell become the property of
          Lessor if not removed, and if Lessee docs romovc such attachmenhi, Lessee shall be liable 10 Lessor for any damage to the Vehicles es the R:5Ult of such
         removal. In lhe event that any fCdcml. state. or local law, ordinance. rule or rogulation shall require the installation of any additional accessories to any
          of the Vehicles. including, but not lbniled to, anli-pollutio11 wid/or safety devices, or in the event that any other modifications to the Vehicles sholl be
         required by vlrt11e of such law, ordinance, rule or reguletion, then and In any of such events. Lessee shnll pay the full cost thereat: including installation
         expenses, Lessor may, al its option, arrange for the Installation of such Vehicles oc the performance of such modifications. and Lessee agrees to pay the
          full cost thereof immediately upon receipt of an invoice for the same.
                         7. SURRENDER. Upon either the (i) failure by Lessee to exercise any purchase option for tmy Vehicle sel forth herein, or (ii) upon
         demand by Lessor made pursuant to an Bvent of Default (as set forlh in Section 19 hereof), Les.sec slmll, at its own expense, return such Vehicle to
         Lessor lo such localion within the continental United States as Lessor shall dcslgnetc, in d1e same condition as when delivered, reasonable wear and tear
         exceplcd nnd otherwise in the condition required by this Leese. Upon return of the Vehicles, Lessor. or such entity designated by Lessor, shall perform e

                                                                                    Page 2 of(;




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        plrysioal w1d nuxihanical inspection of the Vehicles, Lessee shall be responsible for lhc payment of any and all costs associated with the inspection, end
        for any and a11 repllirs necessary lo place lhe Vehicles In the same condition as when dcli\o'crcd, reasonable went ond tear excepted and otherwise in the
        condition required by this Lease.
                        8. PAINTING. Lessee may paint the Vehicles in Lessee's customary manner 11nd affix advertising or identifying insignia, provided lhal,
        upon the expiration or termination of this Lease, and in the evenl that Lessee docs nol purchruie the Vehioles pursuant to Stotion 4.B hereof, Lessee shall,
        upon the request of Lessor and at Lessee's expense. restore the Vehicles to original condition, ordinary wear and tear excepted.
                        9. WARRANTIES. LESSEE ACKNOWLEDGES AND AGREES TlllJ LESSOR HAS NOT MADE, AND SHALL NOT BB DEEMED
        TO HAVE MADE, ANY EXPRESS OR IMPLIED WARRANTY AS TO MERCHANTABILITY, FITNESS FOR ANY PURPOSE OR USE, DESIGN
        OR CONDITION OF VEHICLES, QUALITY OF MATERIAL OR WORKMANSHW, OR AS TO ANY OTHER MATl'BR WHATSOEVER
        RELATING TO THE VEHJCLF.S, AND LESSOR SHALL NOT BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, OR
         PUNITIVE DAMAGES ARISING otrr 01' THE USE OR INABILITY TO USE THE VEHICLES, OR ANY INADEQUACY, DEPICIENCY, OR
        DEFECT JN THE VEHICLES. LESSEE.AGREES THAT LESSEE LEASES THE VEIDCLBS "AS IS". Lessor agrees, lo tho exlenl possible and
        wilhoul increasing its liability he~undcr, and upon request, to sssign to Lessee, any wmranty of a manufacturer or seller relating to the Voblcles
        11v11ilable to Lessor, provided, however, lhat lhe foregoing rights shall automntlcally revert to Lessor upon the occurrence and during the continuoncc of
         any Event of Default hereunder, or upon return of lhe Vehicles lo Lessor. Lessee agrees to seule all claims with respect to lhe Vehicles directly with the
         mun11fuctqrers thereof, ond to give Lessor prompt notice of any such settlement and the details of such settlement.
                        10. TITLE AND INSPECTION. Lessee, at its expense, shall protect and defend Lessor's title and keep it tfcc of aU claims and liens
        except those claims and liens crcalcd by Lessor In connel.llion with any assignment or financing by Lessor. Lessor may inspect the Vehicles at any time
        without prior notice during regular business hours. If, at eny time during lhc Term of this Lease, Lessor supplies Less" with labels, plates or other
         markings Slating that the Vehicles 1ll'C owned by Lessor, Lessee shall affix and .keep the samo in a prominent place on the Vehicles.
                        11. LICENSES. Lessee shall at its expense obtllin a]J necessary licenses {jtlcluding motor Vehicle plates) and registrations, required for the
         use and operation of each Vehicle. All certificates of title or registratio11 of each Veblcle shall name Lessor HS the owner d1ereof.
                        12. INTEHES'l'S IN VEHICLES. Lessee's rights with respect to this Lease and any Vehicles leesed hereunder will be subject to any
         rights and interest in and to said Vehicles which may be granted by Lessor (or Lessor's affiliales) to any assignee cr lender of Lessor (or Lessor's
         affiliates). Lessor may 8S'sign fo a lender or any cther assignee all or any part of lessor's rights hereunder, including a securily interest in the Vehicles
         and the right to receive rents and other sums due hereunder. Upon notice of such assignment in writing by a lender, assignee and/or Lessor. Lessee shall
         pay all rents and other sums due or to become due under this Lease dlreclly to such lender or assignee without set oil', counter<i1aim, or any defense
         "4!atsoever,
                        13, TAXES. l..essee shall p11y all p"1"Sonal property, sales or use taxes, business licenses, assessments. pcnallles, and charges which may be
         levied or usserted with respect to 1he Vehicles (except Income taxes levied on lease payments lo Lessor). Tn the event lhat tiny such hfXes, licenses,
         assessments, penalties, or cliargcs are paid by Lessor, Lessee shall reimburse and pay Lessor Immediately after Lessor notifies Lessee in writing of the
         amount of such taxes, licenses, 115scssments, pcnal11cs, charges or expenses paid by tossor, as well as an administrative fee. Increases or ducreases in
..--.--.sales or use tax rates wlll aff"cct all le~ naymcnlS nfter the effeetivc date of the chansc by tho tax.ins: authority. Lessee shall indemnify and hold Lessor
         harmless ftom and against any loss; cost or expense arising out of or relating lo eny such tax, Import or levy, including, without limitation, any penalties,
         interest end fines relating lhcrcto.
                        14. FINES. Lessee shn11 pay all fines due to overload, overlength, overweight, lack of plates or permits, speeding lllld any other charges
         which may be imposed or assessed in respccl to the Vehicles and/or Lessee's use thereof. Tho provisions of this Section 14 shall survive the expimtion
         or other termination of this Lensc.
                        15. LOSS OR DAMAGE. Lessee shall bear the entire risk of Joss, theft, destmclion of or damage to any Vehicle ftom any cause
         whatsoever ("Loss or Damage"). Lessee shall promptly notify Lessor In writing of aoy Loss or Damoge. No Loss or Damage to eny Vehicles shah
         relieve Lessee of any obligation wit11 respect to such Vehicle under this Lease. In die event of loss or Damage, Lessee shell, at lhe option of Lessor: (a)
         put such Vehicle in good condition and repair in accordo:nce 1vlth the m11t1uftlcturer's rccommendetlons, and to the reasonable satisfitction of Lessor, at
         Lessee's expense; (b) r\lphwe s11cl1 Vehicle with 11 like Vehicle (same value, ulility and useful life as damaged Vehicle) in good condition and repair as
         approved by Lessor in Lessor's liole discretion with clear title thereto vested in Lessor; or (c) pay Lessor on or before lhe next rent payment date as set
         forth in accordance with Section 3 hereof (such payment date, the ''Loss Payment Date..) in eash the sum of: (i) all amounts then due Lessor by Lcsscc
         under the Lease relating to such Vehicle, which amounts shall be prorated through the Loss Payment Date, plus (ii) an amount equal to the present value
         of the TRAC Jtesldual, If any. relating to such Vehicle (as set forth In the Summary ofl.easo Terms). discounted at S.0% computed ftom the expirallon
         of the Initial Turm of the Lease to Ute Lo!S Payment Date, plus (iii) an amount equal to the present value of the unpaid future remaining Rents for the
         lnlUal 1\inn of the Lcase, ttlating to such Vehicle discounted at S.O"A computed from lho scihedulod payment datos for such Rents to thi:i Losa Payment
         Date (the "Casualty Velue Amount"). Upon receipt of the Casualty Value Amount set forih in (c) above, Lessor shall assign to Lessee (or Lessee's
         insurer) Lessor's interest in such Vehlcl1:1 in its then condition and location, "AS IS" without any warranty whatsoever. express or implied. lf!Msee is
         required to repair any Vehicle in BCCOrdance with (a) above, or to replace any Vehicle in accordance with (b) abovo, the insurance proceeds actually
         reeeived by Lessor, if eny, pur.mant to Section 16 horeofshttll be first up plied to pay llllY amounts then due under this Agreement. and then shall be paid
         to Le&see upon proof salisfaclory to lessor that such n:palrs have been completed as required herein (In the case of (a)). or of adequate puroha.se and title
         documents in Lessor's sole discretion (in the case of (b)). In lhc event that Leesce is obligated to pay to Lessor the amount specified in (c) above. L~ce
         shall be entitled to a credit against such amount equal to the antount of Insurance prooeeds aotnnlly received by Lessor, if any. pursuant to Section 16
         hereof, on account of such Vehicle.
                        16. INSURANCE. Les!icc &hall Qbtain pnd maintain insurance on or with respeet to each .Vehicle at its own expense and in the amounts
         end forms satisfacfory to lessor. Jn no event shall any insurance coverage be less than the following: (a) physical dania,gc insurance Insuring against
         loss or damage to the Vehicles in an amount not less than the full replacement vulue of such Vehicle; and (b)(i) In all States except FJorida: (1) not
         greater than $500 deductible for collision, fire, theft, and comprehensive, and (2) $500,000 combined single limit for bodily injury liability and property
         damage; or (b)(ii) for the State ofPloridn: (1) not greater tlum SSOO deductible for collision, fire, theft, and eomprehc:nsivc, and (2) $250,000 per person
         I $1,000,000 per incident bodily Injury liability, and (3) $100,000 property damage liability. Jn addition, the following require $1,000,000 excess
         llttbilily covemge (umbrella): (a) truck/tractoni over 45,0DO lbs.: (b) lrailcrs/scml-tmilcrs; tow trucks; and (ci) limo uses for livery. Lessee shaJI furnish
         l.essor with a certificate of insurance evidencing Issuance of such insurance to Lessee in tit lea.'>t the minimum amount required herein, naming Lessor
         and suc11 other parties designated by Lessor as additionlli insured thereunder for liability covcmgc, and as Joss payee for property damage coverage.
         Bnch policy shall require insurer to give lessor 30 days prJOI written notfce of any material alteration in terms of policy or cantiellation 1hereof, end shall
         provide that no ~ction, mlsreprei;:entatioo or breach of warranty of Lessee shall invalidntc lhc policy. If Lessee falls to provide such insurance. Lessor
         shall have the right, but 110 duty, lo obtain such insurance~ end Lessee sboll pay Lessor nil costs thereof, including all wsm incurred by Lessor in
         obtaining such insurance together with interest at the Default Rate fiom the date paid by Lessor lo the date paid in lbll by Lessee. lessee shall not use
         any Vehicle if the insurance required herein is not in full force and effe(:t With respect to such Vehicle. Upon Loss or Damage as set forth in Section IS
         hereof, Lessee shall receive credit for any amounts paid to Lessor by the insurer against Lessee's obligations hereunder,
                        17. JNDEMNITV. Lessee shall indemnify Lessor against, and hold Lessor harmless from. any and all claims, actions, damages,
         nbligations, liabilities, liens (including any arising or imposed under the doctrines or strict liability in tort or product llabflily), and cosJs and expenses
         (including nttomeys fees), arising from or out of the manufacture, purchase, lease, possession, operation, condition, relum, or use of the Vehicles, or by
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              '   '

 operation or law, excluding however any of foregoing resulting solely from the gross m:gligcnce or willful misconducl of Lessor. Less.cc agrees that
 upon written notice by Lessor of assertion of any such claim, action, damn~. obligation, liability, or lien, Lessee, at Lessee's expense shall assume full
 responsibility for the defense thereof, provided that Lessor shall have tl1e right. but not the obligation, to participate in any defense conducted by Lessee
 without relieving Lessee of any of its obligations hereunder. The provisions of this Section 17 sha11 survive termination of Ihis Lease.
                 18. ASSIGNMENT. Except as otherwise pennitted herein, without Lessor's prior written consent, Lessee shall not 8Ssign, transfer, pledge,
 hypolhccate or otherwise dispose of this Lease, the Vehicles or any interest therein, or sublet or lend the Vehicles, or pcnnil the Vehicles to br; used by
 anyone except Lessee or Lcssce~s aulhorizcd c1nployccs. Lessor may assign this Lease or any interesl !herein in whole or part wllhout notice to Lessee.
                 19. DEFAULT. Lessee shall be in default of this Lease upon the happening of any of the following events or conditions which shall
 constitute ''Events of Dcfaul1": (a) Lessee fails to pay any Rent or other amount when due; (b) Lessee fails to observe, keep or perform any other
 covenant or provision of tltis Lease required to be observed, kept, or pcJformed, by Lessco; (c) Lesi>ee removes, sells, transfers, eocumbeni, creates a
 security interest in, relinquishes possession of the Vehicles, or performs any act which impairs Lessor's title to any Vehicle or attempts rmy of the
 foregoing; (d) Lessee makes a misrepresenmtion to ~sor of any matter or covenant conne«ed wilh this Lease; (e) Lessee falls to satisfy any traffic
 ticket or summons or fails to register eny Vehicle; (f) Lessee becomes insolvent. bankrupt or has a trustee or receiver appointed for Lessee or for a
 substBntial pal1 of Lessee's property; (g) Lessee experiences a material chnnge in its business or nffuirs (Including tennlnation of Lessc:c'11 en1ployment
 or termination of the contract under which Lessee provides services or a change in the oontrol or ownership of Lessee or Lessee's employer or the party
 with which Lessee: contracts to provide seJVices) which in Lessor's sole judgment impairs the security of eny VebioJc or increases the credit risk
 involved therein; (h) Lessee attempts to assign this Lease without the consent of Lessor; or (i) Lessee fails to notify Lessor of any material change in its
 business and affairs, includh1g a change in the ownership or control of Les~. Lessee hereby irrevocably appoints end constitutes Bus11 Truck Leasing,
 Tne. und ils successors and assigns, the true and lawful 11ttomey-in-fact of Lessee, with full power tn the name of Lessee upon the occurrence of an Event
 of Default, (i) to demand and receive any and all moneys and claims for moneys due in respect of or relating to Ule Equipment, (U) to assign or transfer
 any of Lenee's rights under this Lensc or in the Equipment (including assigning the rights of Lessee to any replacement lessee hereunder nndlor causing
 any olher person to become the rcgislercd owner of lhc F.qulpment) and (ill) to take any other action in respect of this Lease or any of the Equipment.
 Lessee ratifiC.!I and .approves aU acts of Bush Truck Leasing, Inc., as atlorncy-in-fact. Bush Truck Leasing, Tnc., as anomey-ln-fact will not be liable fbr
 nny ttcls or omissions or crrol'l of judgment or misli1kc of fact or law. This power, being coupled with an lntcrcs~ is irrevocable until all cbligatlons
 under this Lease have been f\Jlly satisfied.
                 20. REMEDIES. Upon the occurrence of any Event of Default,. Lessor may declare this Lease to be in default, and at any time thereafter,
 Lessor, at ils option, mny do any one or more of the following: (a) cancel this Lease; (b) proceed by appropriate: action to enforce performance of the
 Lease at Lessee's expense or to recover damages (ln~uding attorneys fees) for the breach thereof; (c) demand that Lessee, and in Buch case the Lcsscc
 sh"ll· rehlm all or any part of the Vehicles promptly in the mBDner required by Bild In accordance with Section 7 hereof; (d) enter, with or without legal
 process, Lessee's promises: or any other premises where the Vehicles are located, and take l)OSsession of all or 11ny part of the Vehicles without any
 liability to Lessee by reason of such entry; (e} sell, lease, or otherwise dispose of all or eny part of the Vehicles at a public or private sele, which may be
 conducted where such Vehicles are then located; (f) demand that J.essee, and in such case Lessee shall, pay to Lessor as liquidated damages for loss of a
 bargain and not as a penalty an amount equal to tho sum of (i) all amounts due and unpaid under the Lease (including without limitation ony indemnity
 obligations) plus interest Ulcrcon from the due date thereof at P per annum interest rate equal to the prime rate of interest then in effect as published in
  the Waft Street Journal plus 2.0% (lhe "Default Rote'?, plus (ii) the present value of all future Rent payments for such Vehicles:, discounted at S.0%, plus
 (iii) the present value of the TRAC Residual, if any, discounted at S,0%. plus (Iv) nll costs and expenses Incurred by Lessor in enforcing Lessor's rights
 hcreundtr (including, without limitation, an costs of repossession, recovery, storage, repair, sale, re-lease, and aHomeys' fees), together wilh inlercst                ,.
                                                                                                                                                                          I'
 !hereon nt the Default Rate from the d11te of demand to lhe dale of payment in full (the "Liquidated Damages"), or (g) exercise any othu right or remedy
 which may be available to Lessor under lhe Uniform Commercial Code or any other applicable law. The proceeds of any sale or lease of the Vehicles by
 Lessor shall be applied in the following order of priority: (1) to pay all of Lessor's expenses in taking, holding, preparing for sale or lease, and disposing
 of the Vehicles, including all altomcys fees nnd legal expenses, then (2) to puy nny lale charges and all interest accrued at tho Default llate; then (3) to
  pay accrued but unpaid Rent payments, then (4) to puy any other unpaid sums due under this Lease including Liquidated Damages. H'the proceeds of
 any sale or lease arc not s:ufficienl to pay the amounls owed to Lessor under this Lease, Lessee will pay the deficiency. Lessor may also, without
 liability, take any personal properly stored within lhe Vehicles and may store any such property et 1..cssee's expense for 30 days. Lessee will ho
 obligated to reclabn such property within 30 days und hereby waives any rights in such property d1erenflcr. Any unclaimed pruperty will be deemed
 abandoned after 30 days and will be discarded by Lessor. Lessor's remedies hereunder shall be cumulative, Any securily depDSit paid by Lessee to
 lcs!lor 111 connection whh this Lease shall be forfeited by Les:sco upon tho happening of any Event of Default,. and shall be applied to Lessee'll
 obligations under this Lease pursuant to this Sccdon 20. Lessor's remedies hereunder may be exercised Instead of or lo addition to any other legal or
 equitable remedies. Lessor hes the right to set off any sums received trom any source (including h1surancc proceeds) against Lessee's obilgatlons under
 this Leuse. Lessee waives its right to object to the noUce ofthc time or place of sale or lease, and to the manner and place of any advertising therefore.
 Lessee waives any defense based on statutes of limitations or )aches in actioos: for damages, In case of failure by Lessee to pay any fees, assessments.
 chRrges, or taxes nrlsing with respect to the Vehicles, Lessor shall have the right, but not the obligation tt> pay such amounts, and ln that event, lhe cool
 thereof shall be pnyablo by Lessee to Lessor upon demand, together with interest al the Default RJ1te from the date of disbursement by Lessor.
                 21. SECUR.rrv DEPOSIT. The Security Deposit shall be hold by Lessor during the entire Tenn of the Lease, including the Interim Tenn
 and any rencwnl tenn, ns security for tl1e full payment and perfonnoncc of the terms, conditions and obligations of Lessee hereundu and under any and
 all Schcd11Ics. The Security Deposit shell not excuse the pcrfonnancc at the time and in the manner prescribed or any obligation of Lessee er cure a
 default of Lessee. Lessor nmy, but shall not be required to, apply such Security Deposit towards discharge of any overdue obligotion of Lessee. Lessor
 sh till be entitled to commingle the Security Deposit with any of its own funds. No Interest shall accrue on the Security Deposit and Lessor shall have no
 liability to account to Lessee for any interest If Lessor shall apply any af the Security Deposit towards any obligations ofl.essee under the I.ease, Lessee
 shall, upon demand, pay to Lessor an amount necessary to return the Security Deposit to lhe sum specified above. In fnithemnetl thereof, Lessee hemby
 grants lo Lessor a security interest in the cash comprising d1e Security Deposit from time to time and any and all interesl thereon, together with the
 proceeds thereof, to secure the prompt payment as and when due ofaU indebtedness, a11d d1e prompt perfonnance as and when due otnll obligations, of
 Lessee now or hereafter required under the Lease, If no Default has then occuncd, upon the expiration or earlier termination of the Tenn of the Lease,
  the balnnce oflhe Security Deposil then held by Lessor s11all promptly.b11 p11id to Lessee.
                 22. SEVERABILITV, 111e invnlidation of llJlY provision or provisions of Ibis L<:asc 11.ll 11nenforceable shall not operate to invalidate lhc
  remainder of the l..co.se which shall n:maln In full force and effect
                 23. NOTICES. All notices relating to this Lease shall be delivered In person to ao offie:er of Lessor or Lessee or mailed to the respective
 addre.'i:ses shown above on lhe first page of this Lease, or to such address as otherwise specified in writing by the appropriate party hereto,
                 :24, WAIVER. Lessor's forbearance of exercise of any right or remedy 011 Lessee's breach of any tenns, covenants or conditions hereunder
 shall not be deemed a waiver of such right or R=medy, the requirement of punehlal performBllQe, or any or Its remedies upon any other or subsequent
  breach or defau11.                   ·
                 25. GOVERNING LAW. ibis Lease takes effect upon ils acceptance and execution by Lessor, and shall be governed, interpreted and
 construed 1mdcr rhe laws of the St11te of Delaware. Delaware law shall prevaU in lhe event of any connict of law without regard to, and without giving
 effect to, lhe application of choice of law rules. LESSEE WAIVES ALL RIGHTS TO TRIAL BY 1URY IN" ANY LmGATION ARISING .FROM OR
 RBLATHD TO TlllS LEASE, AND LESS!IB SUBMITS TO THB JURISDICTION OF DELAWARE, AND WAIVBS ANY RIGHT TO ASSERT THAT
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 ANY ACl°ION INSTITUTED BY LESSOR IN ANY SUCH COURT IS IN THE IMPROPER VENUE OR SHOULD BE TRANSFERRED TO A MORE
 CONVENIENT FORUM.
              26.       WAIVER OF DAMAGES. Lessee waives lo the fullest extent permilled by law any right to or claim of nny punitive, exemplary.
 indirect, speciaJ, consequentiel, or intidental dl'lmages against Lessor. Lc:isee ngrees thal, in the evenl of a dispute,. claim or CtJntrovetSy again!I Lessor,
 Lessee shall be limited to the recovery of actual direct damages liustained by it, 1mbject to WlY limit on direct damages set forth in this Lease. Lessee will
 not accept or attempt lo collect through lhc courts or otherwise any punitive, exemplary, Indirect, Consequential, or incidental damages from Lessor.
              27. SUCCESSORS AND ASSIGNS. 1bis Lease shRll be binding on and inure to the benefit of Lessor and Lessee nnd their respective
 successors and assigns permitted hereunder,
              28. FORCE MAJEURE. The obllgatlcms of Lessor hereunder shall be suspended to the extent thftt it is hindered or prevented ftom
 complying therewith because of labor dli;:turbanccs, acts: of God, fires, slonns, accidents, fililure of the manufacturer to deliver any of the Vehictcs, court
 order, governmental regulations, or other interference or any cause whatsoever not wlthln the sole control of Lessor.

                                                              (SIGNATURE PAGF.S FOLLOW]




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 IN WITNESS WHEREOF, the parties hereto have entered into Ibis Lease Agreement as of the date first above written.

                                                                                     LESSOR:          BU&h 'nuok Leasing, Inc.

                                                                                      By:

                                                                                     Name: Diana S. Cornette
                                                                                                        .• _Pre
                                                                                     Title: __Vi_1_r._.:e_  __s_id_ent
                                                                                                                  _____




 EQUIPMENT ACCEPTANCE
 Lcsset hereby confirms that the Equipment has been delivered, duly assembled ond in good working order 11nd condition. Lessee con:finns that after a
  reasonable opportunity to inspect the Equipment, it has 11olely seleotcd, and unconditionally and irrevocably accepted the Equipment as-b, where-is for all
  purposes of this Lease as of this da=. Jn the event that the Equipment Is nol delivered and accepted widlin ihirt}' (30) days of Lessee's signing of Ibis
  Equipment Acceptance, Lessee hereby authorizes Lessor to increase lhc Payments to reflect any Lease rate increase applicable to the Lease.




                                                                                      LESSEE: Sonet Transportation and Logistics Inc.


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                                                                                      '<J     _..SIGNATIJRE




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